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               Exhibit A
           (Part 2, Pgs. 675 - 923)
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                        Exhibit 23

       (ATF Quarterly Roll Call Lesson Plan)




                                                               Exhibit A, Pg. 675
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                               LESSON PLAN OVERVIEW

     COURSE: QUARTERLYROLLCALL
     LESSON: A BETTER UNDERSTANDING OF THE NATIONAL FIREARMS ACT
     DEVELOPED BY: FIREARMS TECHNOLOGY BRANCH
     DATE DEVELOPED OR REVISED: JULY 2012



PURPOSE:      To better understand the National Firearms Act, to recognize the proper and
              improper means of disclosing tax information and to ensure that the "Staples"
              requirement is met for criminal cases.

LESSON OBJECTIVES:

The student will be able to:

1.      Understand the history and background of the NFA.

2.      Firearms subject to regulation under the NFA.

3.      Understand when making, transfer, and special occupational taxes are required to
        be paid.

4.      Understanding the registration provisions of the NFA

5.      The unlawful disclosure of NFA tax information to outside law enforcement
        agencies and the failure to comply.

6.      Understand relevant court decisions and proving knowledge of possession in a
        criminal case.


METHODS:             Lecture w/Questions; Power Point Presentation; Guided Discussion. ·

EQUIPMENT:           Whiteboard; Projector; Computer

MATERIALS:           INSTRUCTOR MATERIALS
                     Instructor

                     STUDENT MATERIALS
                     Statute and regulations

ROOM SET-UP:         Classroom Style




                                                                                         Exhibit A, Pg. 676
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                                NATIONAL FIREARMS ACT


TIME: 45 minutes


INTRODUCTION

STATE Objectives.

I. HISTORICAL BACKGROUND

      A. NFA enacted in 1934 during Prohibition. Proliferation of machineguns, short-barrel
weapons to assist bootleggers in their trade.

        B. Congress not yet comfortable with their authority to regulate commerce, so responded
by putting NF A in Internal Revenue Code.

        C. NFA requires registration of all "firearms" as defined in the statute. We will discuss
those weapons later. Imposition of prohibitive taxes on making and transfer of weapons in hope
of taxing them out of existence. A $200 tax was substantial in 1934.

        D. As originally enacted, NFA required all possessors of firearms to register them.
Failure to register would subject the possessor to criminal penalties.

        E. In 1968 in Haynes v. United States, 390 U.S. 85 ( 1968), the Supreme Court held that
the provisions of the NF A that required possessors to register their firearms and, in doing so,
disclose to the government their unlawful possession, violated the self-incrimination clause of
the Fifth Amendment.

               I. Congress responded by amending the NFA in Title II of the GCA of 1968 so
that only a maker, manufacturer or importer may register firearms, but not a mere possessor.

                2. The NF A was also amended to include section 5848, which provides that no
information obtained from an application or registration shall be used as evidence against the
submitter in a criminal proceeding with respect to a violation of the law occurring prior to or
concurrently with the filing of the application or registration.

               3. The 1968 amendments also established a 30-day amnesty period that allowed
possessors of firearms to register them. Since the Haynes case resulted in all pending
prosecutions for NFA violations being terminated, the amnesty period did not do any further
damage to such prosecutions.

II. FIREARMS SUBJECT TO THE NFA

       A. "Firearms" defined in 26 U.S.C. § 5845 to mean:

               I. Shotgun with a barrel or barrels of less than 18 inches in length.



                                                                                           Page 1

                                                                                          Exhibit A, Pg. 677
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                                 NATIONAL FIREARMS ACT


               2. Weapon made from a shotgun if the modified weapon has an overall length of
less than 26 inches OR a barrel or barrels ofless than 18 inches .

               3. Rifle with a barrel or barrels of less than 16 inches.

               4. Weapon made from a rifle if the modified weapon has an overall length of less
than 26 inches 0 R a barrel or barrels of less than 16 inches.

               5. Any other weapon.

               6. Machinegun.

               7. Silencer.

               8. Destructive device .

        B. Section 5845(a) exempts from the definition of "firearm" any "antique firearm"
(defined in section 5845(g)), and any device (other than a machinegun or destructive device)
which, although designed as a weapon, the Secretary finds by reason of the date of its
manufacture, value, design, and other characteristics is primarily a collector's item and not likely
to be used as a weapon.

               I. Weapons removed from the NFA as collector's items are listed in A TF
Publication 5300. 11 , "Firearms Curios or Relics List."

       C. Weapon made from a shotgun and weapon made from a rifle.

               I. If weapon has no stock, does not meet the definition of "rifle" or "shotgun" in
§ 5845(c) or (d). If stock has been sawed off, resulting weapon is weapon made from a rifle or
weapon made from a shotgun. See photos.

        D. Stocked handguns - Pistols with attachable shoulder stocks are classified as short-
barrel rifles.

        E. "Any other weapon" defined as: A weapon or device capable of being concealed on
the person from which a shot can be discharged through the energy of an explosive, a pistol or
revolver with a smooth bore barrel designed or redesigned to fire a shotgun shell, weapons with
combination shotgun and rifle barrels 12 inches or more, less than 18 inches in length from
which only a single discharge can be made without reloading. THIS CATEGORY IS A
CATCHALL CATEGORY FOR CONCEALABLE WEAPONS THAT DON'T FIT WITHIN
ANY OTHER CATEGORY.

               I. Transfer tax of $5 - ($200 for other types of NF A firearms § 5811 (a)).

               2. Example - Marble Game Getter - combination rifle and shotgun barrels from
which only a single discharge can be made; H&R Handygun - smooth bore shot pistol.


                                                                                             Page2

                                                                                             Exhibit A, Pg. 678
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               3. Tear gas gun, pen guns, gadget devices (holster gun), "secret agent" type
devices, such as cane guns, belt buckle guns, umbrella guns, briefcase guns.

       F. Machinegun defined in § 5845(b):

              I. Any weapon which shoots, is designed to shoot, or can be readily restored to
shoot automatically more than one shot without manual reloading by a single function of the
trigger.

               2. The frame or receiver of any such weapon. ("frame or receiver" defined in
179.11)

              3. Any part designed and intended solely and exclusively or combination of parts
designed and intended for use in converting a weapon to a machinegun.

               4. Any combination of parts from which a machinegun can be assembled ifthe
parts are under the control of a person.

             5. Recent problems with imported parts kits that include improperly destroyed
machinegun receivers.

       G. Destructive device defined to mean:

               I. Explosive, incendiary, or poison gas bomb, grenade, rocket having a propellant
charge of more than four ounces, missile with explosive or incendiary charge of more than Y4 oz.,
mine, or similar device. (Molotov cocktails regulated as incendiary bombs.)

               2. Any weapon which will expel a projectile by the action of an explosive or
other propellant, the barrel or barrels of which have a bore of more than Yi" in diameter,
excluding sporting shotguns or shotgun shells.

               3. Any combination of parts designed or intended for use in converting any
device into a destructive device.

               4. The term DOES NOT include any device which is neither designed nor
redesigned for use as a weapon, such as signaling, line throwing, or safe devices,~ 37 mm
flare guns. See ATF Rul. 95-3, which held that 37mm flare guns possessed with antipersonnel
ammunition (wooden pellets, rubber pellets, bean bags) are destructive devices which must be
registered.

        5. Striker-12/Streetsweeper and USAS-12 shotguns classified in ATF Ru!. 94-1 and 94-2
as destructive devices. 12-gauge shotguns that are nonsporting. Rulings were issued
prospectively as to transfer tax, which resulted in giving possessors an opportunity to register.
Registration period closed on May 1, 200 1.



                                                                                          Page3

                                                                                         Exhibit A, Pg. 679
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                                 NATIONAL FIREARMS ACT


        H. Silencers defined in section 921 (a)(24) to mean: any device for silencing, muffling,
or diminishing the report of a portable firearm; any combination of parts designed or redesigned
and intended for use in assembling or fabricating a firearm silencer; and any part intended only
for use in such assembly or fabrication.

                 1. Firearms Technology tests silencers with a sound meter to determine whether
there is any measurable diminishing of the report of the firearm. However, case law indicates
that a silencer does not need to work well or at all to be classified as a silencer. U.S . v.
Syverson, 90 F.3d 228 (7th Cir. 1996) - by using language in the definition "any device for
silencing, muffling, or diminishing" the report of a firearm, Congress indicated that it intends to
regulate all devices purporting to serve as silencers, not just those devices that actually work to
silence firearms .

Ill. TAXES

        A. 26 U.S.C. § 5811 - imposes a transfer tax of $200 on most NFA firearms. $5 transfer
tax on "any other weapon."

       B. 26 U.S.C. § 5821 - imposes a making tax of $200 on makers of firearms.

        C. 26 U.S.C. § 5801 - imposes a Special Occupation Tax (SOT) on persons engaged in
the business of manufacturing, importing or dealing in NFA firearms.

      D. Exemptions from making and transfer taxes in §§ 5852, 5853, 5854 (transfers
between FFLs, transfers to and from government agencies).

IV. REGISTRATION

        A. 26 U .S.C. § 5841 requires that the Secretary maintain a central registry of all firearms
in the United States which are not in the possession or under the control of the United States.

       B. § 5841 (e) requires that registrants retain proof of registration which shall be made
available to the Secretary upon request.

        C. § 5841(b) provides that manufacturers, importers, and makers must register each
firearm he manufactures, imports, or makes. This provision prevents mere possessors from
registering.

                 1. Exception in regs for firearms seized by or abandoned to a law enforcement
agency. These agencies may register such firearms on A TF Form I 0 tax-free. Such registrations
are restricted so that the firearm may not be transferred out of the law enforcement community.

        D. § 5812 makes it clear that a firearm may not be transferred until the transfer
application has been approved by ATF. Section 5812 also provides that applications to transfer
firearms will be denied if the transfer, receipt, or possession of the firearm would place the
transferee in violation of Federal, State, or local law.


                                                                                             Page4

                                                                                            Exhibit A, Pg. 680
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                 1. Section 5812 implemented in the regs at 27 C.F.R. § 179.85. Requires that the
transfer application include a certification from the local chief of police, sheriff of the county,
head of State policy, State or local district attorney or prosecutor, or such other person whose
certificate is acceptable to the Director (some judges have been found to be acceptable).

                 2. Every court to consider challenges to the law cert requirement to date have
found that it is a valid interpretation of the statute and that signing the certificate is a
discretionary action on the part of State and local officials. U.S. v. Steele, 755 F.2d 1410 (I Ith
Cir. 1985); Westfall v. Miller, 77 F.3d 868 (5th Cir. 1996); Lamont v. O'Neill, 135 F.Supp.2d 23
(D.D.C. Feb. 5, 2001); 285 F.3d 9 (D.C. Cir. 2002).

V. DISCLOSURE RESTRICTIONS

        A. 26 U .S.C. § 6103 makes it a felony for an employee of the United States to disclose
"returns" or "return information."

       B. Disclosure to the taxpayer or designee of the taxpayer is permissible.

       C. The statute includes a number of exceptions to the prohibition, including disclosure to
other Federal agencies whose official duties require such disclosure upon their written request.

               1. Ask for official request
               2. Ask for letter from other agency acknowledging requirement to safeguard info

        C. Disclosure to State and local law enforcement agencies is generally not permitted,
w ith the exception of disclosure in certain emergency circumstances involving imminent danger
of death or physical injury to any individual.

        D. FTB classification of weapons as NF A firearms is considered to be tax information.
As stated above, such information may not be disclosed to State and local Jaw enforcement
agencies.

VI. RELEVANT COURT DECISIONS

        A. Staples v. United States, 511 U.S. 600 (1994) - Court reversed a conviction under§
5861 (d), holding that the Government must prove beyond a reasonable doubt that the defendant
knew that his rifle had the characteristics that brought it within the statutory definition of
"machinegun." Case involved an internally converted AR-15 rifle. DOJ takes the position that .
the same mens rea requirement applies to all NFA prosecutions.

               I. Improvised devices, such as silencers and bombs - fairly simple to meet
Staples standard if there is evidence the defendant is the one who made the weapon.

                2. Short-barrel weapons may be more difficult to meet standard, especially if the
barrel length is close to legal length.


                                                                                            Pages

                                                                                            Exhibit A, Pg. 681
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        B. U.S. v. Meadows, 91F.3d851 (7th Cir. 1996)-defendant convicted of possessing
firearm not registered to him, a short-barrel rifle. Relying upon Staples, the court reversed the
conviction, finding that the government failed to prove that the defendant knew the weapon had a
rifled bore.

       C. Prior to submitting to FTB for determination, make sure you are able to prove the
defendant knew he possessed an NF A weapon.




                                                                                          Page6

                                                                                         Exhibit A, Pg. 682
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                        Exhibit 24

 ( How Firearms Registration Abuse & the “Essential
Operational Mechanism” of Guns May Adversely Affect
                 Gun Collectors )




                                                               Exhibit A, Pg. 683
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          18     March      1998

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                                                           y concerns about reg-      lation of the NFAis a felony carrying a          il



                                            M              istration evolved from
                                                           my research on smooth
                                                           bore pistols, which was
                                                           published in two se-
                                            ries of three-part articles in CADA
                                            Gun Journal (August, September and
                                                                                      10-year, $10,000 fine penalty upon
                                                                                      conviction.
                                                                                           NFA firearms are controlled un-
                                                                                      der Title II of the Gun Control Act of
                                                                                      1968, and are said to have no legiti-
                                                                                      mate sporting purpose. NFAfirearms
                                                                                                                                       f,
                                                                                                                                       'I
                                                                                                                                       c
                                                                                                                                       fi
                                                                                                                                       c
                                            October 1994; and April, May and                                                           I
                                                                                      are often referred to as "Title II" fire-
                                            June 1995).                               arms. Conventional rifles, shotguns,             n
                                                 In 1997, my research triggered a     pistols and revolvers, which are con-            i1
                /:o/'>                      Congressionally-directed audit of the     sidered to be sporting firearms, have             fi

                '~an S()fiiij';PD.s on.
                                            firearms registration practices of the    considerably fewer legal restrictions                1
                                            Bureau of Alcohol, Tobacco and Fire-      and are controlled under Title I of the
                                            arms (BATF)-the first ever by an          1968Act.
                the basis of "thei:t        outside entity. This audit is occurring                                                        a
                                            because of my testimony before a Con-          In 1934, a provision that would
                   essential opera-         gressional subcommittee regarding        have included pistols and revolvers                   0

                                            the BATF's administration of the Na-     under the NFAfailed to pass the Con-                  d
               tional· mechanism.''         tional Firearms Act (NFA) of 1934,       gress by a single vote. For technical                 c
                                                                                     reasons (because they were deemed                     v
                  Both issues may           and involves mismanagement, mis-
                                                                                     concealable, but not to be pistols or re-             lJ
                                            conduct and criminal wrongdoing.
                   adversely affect                                                  volvers) the Treasury Department                      l:
                                                 The NFA is designed to control ruled in 1934 that a small group ofun-                      v
                    gun collectors.        firearms thought to be mainly used by usual or specialized firearms fell un-                     v
                                           criminals by requiring registration of der the NFA. Most were relatively                         l:
                                           the firearms, and using prohibitive low-powered small-game guns, such                            l
                                           taxes to reduce their manufacture, as Marble's Game Getter Gun, the
                                           distribution, and ownership. It is a smooth bore .410 H&R Handy-Gun,
                                                                                                                                            ]
                                           harsh federal law to discourage illegally and various animal trap guns. They
                                           manufacturing, selling or possessing were not--even in 1934-normally                             I
                                           hand grenades, machine guns and identified as "gangster weapons."                                s
                                           similar weapons, and the cutting Most others, such as knife-pistols,                             r
                                           down of conventional shotguns or ri- were obsolete long before 1934 and
                                           fles (regardless of their caliber) to were designed more as gimmicks or                          v
                                           make concealable firearms. Any vio- gadgets than as firearms. All are                                I


                                                                                          Exhibit A, Pg. 684
                          SOURCE: Gun Journal, Vol. 7, No. 5, March 1998, pages 18-19, 78-79.
                Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 12 of 250
                                                                                                March       1998        19

classified as "Any Other Weapon"           moved 50,000 to 100,000 firearms        tration documents, for which BATF
!AOW) under the NFA. I estimate            from the NFA. Most are valuable         lost or destroyed its records. In 1996,
that fewer than 17 ,000 still exist to-    shoulder-stocked Luger and Mauser       a federal district court dismissed five
day. AOWs manufactured in the              semi-automatic pistols, or short-       convictions for posession of unregis-
United States in or before 1934 are        barreled Marlin or Winchester "trap-    tered NFAfirearms on appeal because
among the rarest of firearms, and are      per" carbines. After their removal,     of the unreliability of BATF's firearm
highly prized by collectors.               virtually none have been used by        registration records. Significantly,
                                           criminals.                              BATF did not appeal the dismissals.
      What some people have told me
regarding their discovery of one of                                                                      In May 1997 I
these AOWs (usually a Game Getter                                                                  complained to the
or Handy-Gun) in the estate of a par-          " ... under Mr. Magaw' s logic,                     Treasury Depart-
ent or other relative was disturbing.                                                              ment Inspector
Upon attempting to transfer the
                                               BATF could outlaw the Ru-                           General (IG), and
o'.vnership, ATF alleged the firearm           ger 10-shot semiautomatic                           requested an inves-
was not registered-rendering it il-            target pistol because "there                        tigation. The IG re-
legal contraband that nobody can                                                                   sponded by refer-
own. But, after searching, some peo-           is no practical difference be-                      ring my complaint
ple said they found the registration.          tween the two types of                              to BATF- which
ATF then allegedly declared an error          weapons in terms of design                           was something like
had been made, and processed the                                                                   putting my request
transfer. It is well-known that ATF            and function."                                      into a bottle and
will not allow any firearm, even a                                                                 consigning it to the
rare collector's item, to be voluntar-                                                             ocean off Cape
ily re-registered.                               My intention in testifying in Horn. I made a further complaint to
                                           1996 was to: (1) put a well-researched the Congress that the IG simply
      On April 30, 1996, I testified be-   case on record disclosing the law and wasn't doing its job, and that BATF
fore the House Subcommittee on             legislative history that supports a would probably simply exonerate it-
Treasury, Postal Service and General       more reasonable treatment for "Any self. In early October 1997, the House
Government Appropriations, which           Other Weapon" firearms which were Committe on Government Reform
funds the BATF. This opportunity oc-       manufactured in the United States in and Oversight directed the IG to inde-
curred because the Collectors Arms         or before 1934, and (2) provide BATF pendently audit the BATF's firearm
Dealers Association (CADA) included        vvith an opportunity to do the right registration practices. Further infor-
me as a witness, at the invitFt,ion of     thing. Perhaps predictably, BATF did mation about my 1997 testimony and
its then-President, L. Richard Little-     absolutely nothing, although I also the current IG investigation may be
field. I'd known Dick since about          presented some evidence that BATF found on the Internet at the following
1989.                                      had made errors in its record-keeping address: http://www.cs.cmu.
                                           on these guns.                         edu/afs/cs.cmu.edu/user/wbard-
      Dick was aware of my research
and thought it was time to make a                So I came back and testified wel/public/nfalist/index.html
case for a more reasonable treatment        again on April 8, 1997, almost a year       How this case turns out will be
of these guns, as the law provides. In-     later, before the same subcommittee. critically important for gun collectors
deed, in 1938, 1945 and 1954, the          This time, I provided more details of and the issue of firearms registration
Congress amended the NFA to pro-           evidence I mentioned briefly in my by the federal government. What
vide for a more lenient treatment of       1996 testimony, by documenting happens when the government
many of these firearms, and in 1960        credible instances of mismanage- messes up the registration records?
unanimously declared that all AOWs         ment, misconduct and wrongdoing by And what happens when the BATF
were mainly "gadget-type and unique        BATF in administering the NFA. I breaks the law? At the least, in my
weapon.;, vvhich are often sought after    found evidence that BATF employees judgement, the Congress will unques-
by gun collectors," and unlikely to be     have: (1) destroyed firearm registra- tionably not allow machineguns and
used by criminals.                         tion documents rather than \Vork on similar firearms to continue to be reg-
                                           them; (2) illegally registered nearly istered to persons that the BATF has
     Under the Gun Control Act of          2,500 NFA firearms after the 1968 stated are dead.
1968, the Congress provided that           amnesty period expired; (3) since
BATF could adminstratively remove          1981, continued to allow thousands of        Just as critical, in my judge-
rnch firearms from the NFA if it deter-    machine guns and other NFA firearms    ment,  is the issue of banning firearms
                                           to be registered to people that BATF   on the  basis of"their essential opera-
mined they are mainly collector's
                                           knows are dead; and (4) added fire-    tional  mechanism." I have quoted
items and are not likely to be used as
                                                                                  this phrase from a White House press
weapons. Under the 1968 provision,         arms to the NFA database because
BATF may have administratively re-         owners confronted BATF with regis-                       Continued on page 78


                                                                                                              Exhibit A, Pg. 685
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                               How Firearm Registration
78     March       1998        Abuse & the "ESSENTIAL     Continued from page19
r.:::::=======~                             OPERATIONAL
                                    ,       MECHANISM"
  release dated November May Adversely Affect Gun Collectors    Mr. Magaw's state- Production of the .410 Contender
  15, 1997. It contains the bvErnM<,mon                      ment regarding the soon resumed. Today, the .410 Con-
  text of a Memorandum to the Secre- .410 Contender is "interesting' be- tender is one of at least a dozen differ-
  tary of the Treasury, directing him to cause for 16 years, BATF field agents ent modern handguns designed to fire
  conduct a 120-day review of"whether took exactly the opposite posi- .410 shotgun ammunition being cur-
  modified semiautomatic assault-type tion-despite the fact that no less a rently manufactured and sold in the
  rifles are properly importable under person than then-BATF Director Har- United States today. None are subject
  the statutory sporting purposes test," old A. Serr had ruled that the .410 to the NFA because their barrels are
  and to suspend all imports of these Contender was not subject to the rifled. Perhaps most importantly,
  guns during the 120-day period.           NFA. Mr. Serr made this ruling in an none have to my knowledge ever been
                                            official Memorandum dated February identified as weapons of choice used
        I am concerned about how the
                                            11, 1969, which was distributed by criminals. I believe there are hun-
  BATF will ultimately interpret politi-
                                            throughout BATF, including all ATF dreds of thousands of modern .410
 cal directives such as this one, be-
                                            agents and other employees with law handguns in circulation today-the
  cause of its past activities involving
                                            enforcement or regulatory responsi- vast majority tucked in a fishing
  handguns that are designed to fire
                                            bilities.                                tackle box or hunting jacket to take on
  .410 shotgun ammunition. As I will
  show, there are important similari-             Nevertheless, on June 18, 1969,    a  hunting or fishing trip, for use
  ties and potentials for abuse of discre- BATF agents Cecil Wolfe and Paul against snakes, vermin or small
  tion.                                     Westenberger (Washington, D.C., na- game. I have found no credible evi-
                                            tional office) and Victor Fezio (Boston dence that any of these guns are com-
        During the early 1990s, I unsuc-
                                            Office) threatened Kenneth Thomp- monly used in street crimes, or that
 cessfully petitioned ATF to remove
                                            son and Warren Center, of Thomp- they are weapons of choice by crimi-
  the smooth bore H&R Handy-Gun
                                            son/Center Arms, that BATF would nals.
 from the NFA. There is no credible
 evidence that the                                                                         In a 1981 prosecution, BATF ar-
 Handy-Gun would be                                                                  gued in federal court that it was le-
 likely to be used as a                                                              gally impossible for a firearm such as
 weapon. Indeed,                                                                     the smooth bore H&R Handy-Gun
 there are more than a                                                               and a sawed-off shotgun to be re-
 dozen handguns de-                                                                  garded equal under the NFA. The
 signed to fire .410                                                                 law, BATF argued, requires a firearm
 ammunition on the                                                                   like the Handy-Gun to be given "spe-
 market today. None                                                                  cial and more lenient treatment" than
 are subject to the                                                                  a sawed-off shotgun. (In this particu-
 NFA because their                                                                   lar case, a person sawed off the barrel
 barrels are rifled;                                                                of a 12 gauge shotgun, installed a pis-
 however, more im-                                                                  tol grip, and claimed it was an AOW.)
 portantly, none have been identified rule the .410 Contender to be an NFA The BATF presented an ironclad case
 as weapons of choice by criminals. A firearm if they didn't stop manufac- that a sawed-off shotgun and an AOW
 single-shot .410 is a perfect small- turing it. "Terminate production," are not identical, and cannot be iden-
 game or rodent gun, and not good for Mr. Wolfe said, and instructed: tical according to law and legislative
 much else.                                "Whatever your story will be, please history. Although a sawed-off shot-
                                           refrain from giving the impression gun, a .410 H&R Handy-Gun, and a
        In a letter to me dated July 20, that the 'Contender' is a firearm un- .410 Contender are all capable of fir-
 1994, BATF Director John W. Magaw der the NFA." Mr. Wolfe's threat was ing identical ammunition through a
 denied my appeal. The reason, Mr. flat out illegal, but effective. Mr. barrel of nearly identical length,
 Magaw stated, is that there is no Thompson and Mr. Center complied, those shared characteristics are le-
 "practical" difference between an as do virtually all people who are gally meaningless regarding their le-
 H&R Handy-Gun and a sawed-off threatened with either a criminal ac- gal classification as firearms.
 shotgun. Interestingly, Mr. Magaw tion or the economic disruption of
 rejected my contention that there was their livelihood by a federal law en-               A similar example makes the
 no "practical" difference between an forcement agency with unlimited re- point another way, and also illus-
 H&R Handy-Gun versus the .410 sources.                                             trates why BATF's position is legally
 Thompson Contender pistol, a popu-                                                 incorrect. Consider that the NFA pro-
 lar sporting firearm. "We fail to see            Mr. Wolfe's threat worked until hibits the unauthorized cutting down
 the basis for this comparison," he 1985, when a Freedom oflnformation of a conventional shotgun or rifle (re-
 wrote, "because the Contender pistol Act request by attorney Stephen P. gardless of caliber) to make a conceal-
 is not a smooth bore shot pistol sub- Halbrook revealed the existence of able firearm. Thus, a person who
 ject to the NFA."                         the February 1969 memorandum. sawed off the barrel of a Ruger 10-22

                                                                                                               Exhibit A, Pg. 686
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                                                                                                               March         1998          79

carbine to a length of 10", and fash-           ally every sporting firearm in the erational mechanism" is obviously
ioned its stock into a pistol grip, would       United States.                     identical. Where does that leave us?
violate the NFA if he or she did not
pay a $200 tax to "make" the firearm,            Which bring us to 1997, and the               To confront the "essential opera-
as well as obtain advance approval          White House memorandum to the tional mechanism" issue, I have ex-
                                                                                                              plained why firearms
from BATF before making it. Note
that a standard Ruger 10-shot semi-                                                                           like Marble's Game
automatic target pistol with a 10"                                                                            Getter Gun and the
barrel is functionally identical to the                                                                       smooth bore H&R
sawed-off carbine. That is, each fire-                                                                        Handy-Gun are valu-
arm is a semiautomatic, capable of                                                                            able historical arti-
firing 10 rounds of .22 caliber ammu-                                                                         facts, and the fact that
nition through a 10" barrel, and is                                                                           the Congress deter-
                                                                                                              mined in 1960 they are
concealable on the person.                 Treasury Department regarding "Im- mainly collector's items and unlikely
       It is clear, however, that the Con- portation of Modified Semiautomatic to be used as weapons by criminals.
 gress, by requiring that a $200 tax be Assault-Type Rifles," which was writ- Why are they valuable historical arti-
 paid to "make" a concealable firearm ten at the order of President Bill Clin- facts? In short, they: (1) were created
 by cutting down a conventional rifle ton. Again, consider the language: at a time when there were virtually no
                                           "Manufacturers have modified many laws regarding firearm design; (2) are
 or shotgun, requiring advance per-
                                           of these weapons banned in 1989 to re- very specialized firearms that had a
 mission to "make" such a firearm, and
                                           move certain military features with- limited commercial market even at
 requiring its registration, that the out changing their essential opera-
 Congress intends to reduce the legal tional mechanism" (emphasis added). the time they were manufactured; (3)
 manufacture of firearms made by cut-                                                 unlike any other NFA firearm, the
 ting down conventional shotguns or              I believe this is a pretty slippery  Congress          repeatedly lessened con-
 rifles. The Congress has not, how- slope. I predicted this would happen and          trols    on    them,     although the NFA vir-
                                                                                      tually     destroyed       the retail market for
 ever, enacted a prohibitive tax and said so in an article in the June 1995 is-
                                                                                      these     types     of  firearms;     (4) represent
 burdensome legal restrictions upon sue of CADA Gun Journal, and I quote:
                                                                                      a unique niche in U.S. firearms evolu-
 the manfacture and sale of a conceal-           "The NFAis relevant to any citi- tion, design and genealogy, and
 able, 10-shot semiautomatic firearm zen who owns a sporting firearm-not there's nothing else like them; and (5)
 with a 10" barrel, such as the Ruger just to people who choose to own a gun are extremely rare-I believe that
 .22 caliber target pistol.                for self-protection. The "assault fewer than 17 ,000 still exist. Yet, in
                                           weapon ban" has lots of regulatory
       Yet, under Mr. Magaw's logic, tensions, because "assault weapons" 1997, these pre-1934 AOWs are still
                                                                                      controlled as strictly as machineguns.
BATF could outlaw the Ruger 10-shot are classified as Title I firearms. NFA
                                                                                      I am committed to trying to achieve a
semiautomatic target pistol because firearms-machine guns, and the
                                                                                      more reasonable treatment under the
"there is no practical difference be- like-are classified as Title II fire-
                                                                                      law for these particular AOWs.
tween the two types of weapons in arms. Under the Gun Control Act of
terms of design and function." In this 1968, firearms that don't have a                       Given the difficulties I have en-
example, the point is clear and the "sporting purpose" are supposed to be countered, I believe that gun collec-
language is much less emo- classified under Title II. This is why I tors are on the verge of beginning to
tional-and no less correct than in the believe there will be continuous diffi- experience serious problems in ex-
example involving an H&R Handy- culty over how so-called "assault plaining to the government why cer-
Gun. It is legally incorrect for Mr. Ma- weapons" are regulated. And if past tain semiautomatic rifles are collec-
gaw to use the terms "design and history is any guide, ATF will misap- tor's items. I also believe that gun
function" to place a firearm in some ply the law to include sporting fire- control law and policy should be
classification that is different from arms exempted from the 'ban.'"                 guided by facts, rather than by emo-
what the Congress has specifically de-                                               tional     appeals which bear no relation-
                                                In my judgement, gun collectors ship to the particular firearms being
fined. Should an ordinary, perfectly are on the verge of facing the grav-
                                                                                     regulated. II
legal .22 Ruger semiautomatic target est-and, perhaps, the most bi-
pistol with a 10" barrel be outlawed zarre--challenge ever concocted by Eric M. Larson is a contributing Editor to t~e Blue Book
                                                                                     of Gun Values the Standard Catalog of Firearms, the
simply because a sawed-off Ruger .22 the government. Namely, how can Official                 Price Guide to Antique and Modern Firearms,
semiautomatic carbine with a 10" one differentiate between collector's- and has been a Life Member of the National Rifle Asso-
                                                                                     ciation of America since 1968. His research has been
barrel and a pistol grip is capable of item semiautomatic firearms and so- published in The Gun Report, Machine Gun News,
firing the same ammunition and is called "assault weapons" if the basis Guns Illustrated, and he 1s author of Variatiorys of the .
                                                                                     Smooth Bore H&R Handy-Gun: A Pocket Gwde to .Their
also concealable? IfMr. Magaw's logic for making a decision is "their essen- Identification. A journalist and demographer. by training,
were followed, then BATF could tial operational mechanism"? It Texas                 he graduated with honors in 1974 from the University of
                                                                                            at Austin, where he also earned a Ph.D. and three
probably successfully outlaw virtu- seems to me that "their essential op- master's degrees.


                                                                                                                                 Exhibit A, Pg. 687
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                         Exhibit 25

(U.S. Government’s Brief in Support of Cross Motion For
  Summary Judgment And In Opposition to Plaintiff’s
           Motion For Summary Judgment)




                                                                Exhibit A, Pg. 688
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  EVANSVILLE DIVISION

 FREEDOM ORDNANCE MFG., INC.,                  )
                                               )
         Plaintiff,                            )
                                               )
 V.                                            ) Case No. 3:16-cv-243-RLY-MPB
                                               )
 THOMAS E. BRANDON, Director,                  )
 Bureau of Alcohol Tobacco Firearms            )
 and Explosives,                               )
                                               )
         Defendant.                            )

      BRIEF IN SUPPORT OF CROSS MOTION FOR SUMMARY JUDGMENT AND IN
         OPPOSITION TO PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

         Freedom Ordnance Manufacturing, Inc. ("Freedom") is a firearms manufacturer

 headquartered in Chandler, Indiana.    In this case, Freedom challenges a decision by the Bureau

 of Alcohol, Tobacco, Firearms, and Explosives ("ATF") that a device Freedom seeks to

 manufacture and market is a "machinegun" as defined under the National Firearms Act, 26

 U.S.C. § 5845(b).    ATF's decision is not arbitrary and capricious, but is supported by the

 administrative record.   Based on the foregoing, ATF is entitled to summary judgment.




                                                  1




                                                                                           Exhibit A, Pg. 689
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                      STATEMENT OF MATERIAL FACTS NOT IN DISPUTE 1

         Freedom Ordnance Manufacturing, Inc. ("Freedom") is a federally-licensed firearms

 manufacturer with its principle place of business in Chandler, Indiana.     (Docket No. 1if2.)

 Freedom designed an Electronic Reset Assist Device ("ERAD") for commercial sale to the

 general public.   (Docket No. 1if9.)     The purpose of the ERAD, as described by Freedom, is to

 "improve firearm design" to assist the firearm user's "ability to continually pull the trigger in a

 rapid manner when a high rate of fire is desired."    (Administrative Record ("AR") 0025; Patent

 documents.)

         The Firearms and Ammunition Technology Division ("FATD") of ATF, through its

 Firearms Technology Industry Services Branch ("FTISB"), provides expert technical support to

 A TF, other Federal agencies, State and local law enforcement, the firearms industry, Congress,

 and the general public.    ATF, Firearms Ammunition and Technology (2017), available at

 https://www.atf.gov/firearms/firearms-and-ammunition-technology.          FTISB is responsible for

 technical determinations concerning types of firearms approved for importation into the United

 States and for rendering opinions regarding the classification of suspected illegal firearms and

 newly designed firearms.     Id.

        There is no requirement in the law or regulations for a manufacturer to seek an A TF

 classification of its product prior to manufacture.   See Bureau of Alcohol, Tobacco, Firearms

 and Explosives, National Firearms Act Handbook 7.2.4 (2017), available at


 1
  As discussed in Legal Background, Section D, the typical Fed. R. Civ. P. 56 standard and
 procedural structure does not apply in an APA review case. Accordingly, the Defendant is not
 required to marshal evidence showing material issues of fact in dispute and the typical
 "Statement of Material Facts Not In Dispute" does not apply, but is offered for factual context.
 Specific sections of the Record are cited in the relevant portions of the Argument section.

                                                   2




                                                                                             Exhibit A, Pg. 690
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 https://www.atf.gov/fireanns/national-firearms-act-handbook.          ATF, however, encourages

 fireanns manufacturers to submit devices for classification before they are offered for sale to

 ensure that the sale of such devices would not violate the Federal fireanns laws and regulations.

 Id.   A TF responds to classification requests with letter rulings that represent "the agency's

 official position concerning the status of the fireanns under Federal firearms laws."       Id. at

 7.2.4.1.

            A.       The November 2015 Submission

            In November 2015, Freedom submitted a request to FTISB to examine a "trigger reset

 device."        (AR 0002; 0005 - 17 (photos of submission).)     Freedom submitted a prototype of the

 device, along with correspondence, and a Bushmaster Model XM15-E2S AR-type fireann to be

 used in testing the prototype.     (Id.)

            FTISB closely examined and tested the prototype.      (AR 0003.)    As part of the

 examination, FTISB staff fired an AR-type rifle 2 with the prototype attached.      (Id.)   FTISB

 staff noted two instances of machinegun function with the prototype device attached.         (Id.)

 Specifically, FTISB found that trigger reset device, when attached to the test weapon, converted

 it into a weapon that fired automatically - "firing more than one shot without manual reloading

 by a single function of the trigger."      (Id.)   Based on the examination and testing conducted,

 FTISB determined that the trigger reset device was a "machinegun" as defined in 26 U.S.C. §

 5845(b), and notified Freedom in a letter dated March 23, 2016.        (AR 0002-4.)

         B.         The April 2016 Submission and October 27, 2016 Classification Decision



 2
  FTISB ended up using an A TF AR-type fireann to field test the prototype device because it
 noted a deformity in the Bushmaster Model XM15-E2S AR-type fireann submitted by Freedom.
 (AR 0003.)
                                             3




                                                                                                 Exhibit A, Pg. 691
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         In April 2016, Freedom submitted a new sample prototype of its trigger reset assist

 device (referred to as the "ERAD").      (AR 0001.)    According to Freedom, the new sample

 prototype "is a total redesign" of the initial prototype.   (AR 0001.)    In the submission,

 Freedom included two sample prototypes of the device, along with 9-volt lithium batteries, and

 DVDs showing demonstrations of live firing and disassembly of the device.         (Id.)   Although

 Freedom did not explicitly request a classification from FTISB on its prototype, FTISB treated

 the submission as such because the letter referred back to the Agency's March 23, 2016,

 classification and stated that Freedom "worked very hard to correct" the issues identified in the

 March 23, 2016, letter.    (Id.)

         On or about September 7, 2016, Freedom submitted a supplemental letter to FTIS~ in

 support of its April 2016 request for classification of the ERAD.    (AR 0018-24.)        The

 supplemental materials included a letter from Freedom's counsel setting forth Freedom' s

 position that the ERAD should not be classified as a machinegun.         (AR 0018 -24.)    The

 supplemental materials also included a sixteen minute demonstration video of the ERAD, and

 written materials, including Freedom's purported patent application for the ERAD.         (AR 0018;

 AR0025 -46.)      In the video, Freedom states that the ERAD permits the shooter to discharge

 450 to 500 rounds per minute. (AR 0047.)

        FTISB examined that submission and supplemental materials, including the

 demonstration video. (AR 0070- 71.) Specifically, FTISB disassembled and examined the

 two sample ERAD prototypes. (Id.) FTISB examined each component part of the ERAD and

 its design features and characteristics. (AR 0071 - 72.) FTISB staff also conducted field

 testing of the ERAD by attaching it to and firing from commercially-available Remington and


                                                   4




                                                                                                Exhibit A, Pg. 692
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 PMC rifles and a Bushmaster Model XM15-E2S AR-type firearm. (AR 0072.) During the

 test-fire portion of the examination, staff observed machinegun function six times. (Id.)

 Specifically, FTISB personnel observed that a single pull of the ERAD trigger - designated as the

 "primary trigger" - initiated the firing sequence, which caused firing until the trigger finger was

 removed. (AR 0073.)

         By letter dated October 27, 2016, FTISB issued a classification on Freedom's ERAD

 trigger system. (AR 0070 - 82.) In the eleven-page letter, FTISB described (1) the

 composition of the trigger and grip assembly, including its several constituent parts; (2) FTISB's

 process for examining and testing the ERAD trigger system; (3) its observations of the ERAD

 trigger system functionality and the firing effect that was produced when the ERAD was applied

 to a firearm (i.e., the prototype sent by Freedom) and test-fired; and (4) a breakdown of the firing

 sequence with and without the ERAD, including several accompanying illustrations. (Id.)

         FTISB concluded that the ERAD is properly classified as a machinegun. Significantly,

 FTISB found that "the firing sequence is initiated by a pull of the primary trigger and

 perpetuated automatically by shooter's constant pull and the reciprocating, battery-powered

 metal lobe repeatedly forcing the primary trigger forward." (AR 0073.) Thus, "[a] single pull

 of the trigger by the shooter therefore starts a firing sequence in which semiautomatic operation

 is made automatic by an electric motor." (Id.) FTISB found that because the shooter does not

 have to release the trigger for subsequent shots to be fired, the firing sequence is continually

 engaged as long as the shooter maintains constant rearward pressure (a pull) on the trigger and

 the motor continues to push the shooter's finger forward. (Id.) In other words, as long as the

 trigger is depressed, the firearm continues to fire until either the trigger finger is removed, the


                                                   5




                                                                                               Exhibit A, Pg. 693
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 firearm malfunctions, or it runs out of ammunition. (Id.)

        FTISB therefore concluded that the installation of an ERAD on a semiautomatic firearm

 causes that firearm to shoot automatically (through the automatic functioning made possible by

 the electric motor), more than one shot, by a single function (a single constant pull) of the

 trigger. FTISB therefore properly concluded that the ERAD is classified as a combination of

 parts designed and intended for use in converting a semiautomatic rifle into a machinegun under

 26 U.S.C. § 5845(b). (AR at 79-80; 80-82.)

                       THE COURT MUST STRIKE AND DISREGARD
                        FREEDOM'S EXTRA-RECORD EVIDENCE

        Freedom brings its claim under the Administrative Procedure Act, 5 U.S .C. § 704,

 challenging ATF's decision that Freedom ' s ERAD device be classified as a machinegun.

 (Docket No. 1; Docket No. 24.) As discussed further below, review of the agency's decision

 under the AP A is conducted using an arbitrary and capricious standard, and the Court's review is

 limited to the administrative record lodged by the agency. Fla. Power & Light Co. v. Lorion,

 470 U.S . 729, 743-44 (1985) ("The task of the reviewing court is to apply the appropriate APA

 standard ofreview, 5 U.S .C. § 706, to the agency decision based on the record the agency

 presents to the reviewing court."); Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.

 402, 420 (1971) ("That review is to be based on the full administrative record that was before the

 Secretary at the time he made his decision."), overruled on other grounds by Califano v.

 Sanders, 430 U.S. 99 (1977); Highway J Citizens Grp. v. Mineta, 349 F.3d 938, 952 (7th Cir.

 2003) ("the reviewing court considers only the administrative record already in existence, not

 some new record made initially [in that court].").

        In support of its motion for summary judgment; Freedom submitted the declarations of

                                                  6




                                                                                             Exhibit A, Pg. 694
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 Michael Winge (Pl.'s Ex. D, Docket No. 24-4) and Richard Vasquez (Pl.'s Ex. E, Docket No.

 24-5). Mr. Winge is one of the owners of Freedom Manufacturing. (Pl.'s Ex. D, Docket No.

 24-4.) Several paragraphs of his declaration recount correspondence between FTISB and

 Freedom, which is already contained in the Administrative Record and which is the best

 evidence of its contents. (See Pl. ' s Ex. D, Docket No. 24-4, irir 18 - 20.) The remaining

 paragraphs contain Mr. Winge' s opinions about the ERAD and his arguments regarding why the

 ERAD should not be classified as a machinegun. Mr. Winge's opinions are merely that-his

 opinions - and are not part of the official record containing the information upon which A TF

 relied in issuing its decision. The Court should strike and disregard these opinions because the

 Court' s review is limited to the administrative record lodged by ATF. Freedom did not

 challenge or move to supplement that administrative record; therefore, it is complete. Highway

 J Citizens Grp. , 349 F.3d at 952; see also United States Postal Serv. v. Gregory, 534 U.S. 1, 10

 (2001) ("a presumption of regularity attaches to [g]overnment agencies ' actions."); Spiller v.

 Walker, No. A-98-CA-255-SS , 2002 U.S . Dist. Lexis 13194, *26-27 (W.D. Tex. July 19, 2002)

 ("any legal conclusions and post-[ decision] evidence within the declarations and argumentation

 offered simply to contest the agencies' experts are not admissible.").

        Richard Vasquez appears to be a witness who was retained by Freedom to provide his

 expert opinion regarding the ERAD's classification. (Pl. ' s Ex. E, Docket No. 24-5.) Expert

 reports are generally not permitted in an APA review case. Vt. Yankee N uclear Power Corp. v.

 NRDC, 435 U.S. 519, 555 (1978) ("the role of a court in reviewing the sufficiency of an

 agency's consideration ... is a limited one, limited both by the time at which the decision was

 made and by the statute mandating review."). Both the Supreme Court and the Seventh Circuit


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                                                                                            Exhibit A, Pg. 695
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 have emphasized that "the focal point for judicial review should be the administrative record

 already in existence, not some new record made initially in the reviewing court." Camp v. Pitts,

 411 U.S. 138, 142 (1973); Cronin v. USDA, 919 F.2d 439, 443 (7th Cir. 1990) ("it is imprudent

 for the generalist judges of the federal district courts and courts of appeals to consider

 testimonial and documentary evidence bearing on those questions unless the evidence has first

 been presented to and considered by the agency.") ; see also Airport Cmtys Coal. v. Graves, 280

 F. Supp.2d 1207, 1213 (W.D. Wash. 2003) (holding that APA was intended to preclude

 "Monday morning quarterbacking").

        The Vasquez Declaration simply criticizes the agency' s analysis, but under the APA the

 Court must allow the agency to rely on its own experts' opinions even if a plaintiff has other

 expert opinions. Marsh v. Or. Natural Res. Council, 490 U.S . 360, 378 (1989) ("When

 specialists express conflicting views, an agency must have discretion to rely on the reasonable

 opinions of its own qualified experts, even if as an original matter, a court might find contrary

 views more persuasive."). Therefore, even if a so-called "expert" conclusion would contradict

 the agency's expert' s conclusions, this Court can give it no force. Greenpeace Action v.

 Franklin, 14 F.3d 1324, 1335 (9th Cir. 1992).

        Based on the foregoing, the Court must strike and disregard the Winge and Vasquez

 Declarations.

                                     LEGAL BACKGROUND

        A. The National Firearms Act and Gun Control Act

        The National Firearms Act of 1934, 26 U.S.C. Chapter 53, and the Gun Control Act of

 1968, 18 U.S.C. Chapter 44, comprise the relevant federal framework governing the firearm


                                                   8




                                                                                              Exhibit A, Pg. 696
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 market.     The Gun Control Act generally makes it unlawful for a person to transfer or possess a

 machinegun manufactured on or after May 19, 1986.         18 U.S.C. § 922(0).   ATF is charged

 with administering and enforcing both the National Firearms Act and the Gun Control Act.          28

 C.F.R. § 0.130(a)(l)-(2).

           18 U.S.C. § 922(a)(4) states that it shall be unlawful-

        (4) for any person, other than a licensed importer, licensed manufacturer, licensed
        dealer, or licensed collector, to transport in interstate or foreign commerce any
        destructive device, machinegun (as defined in section 5845 of the Internal
        Revenue Code of 1986), short-barreled shotgun, or short-barreled rifle, except as
        specifically authorized by the Attorney General consistent with public safety and
        necessity;

        Accordingly, with the limited exception of State, Federal and local law enforcement

 agencies, it is unlawful for any person to transfer or possess a machinegun manufactured on or

 after May 19, 1986.     Moreover, machineguns must be registered in the National Firearms

 Registration and Transfer Record and may only be transferred upon the approval of an

 application. 26 U.S.C. § 5812.       The National Firearms Act makes it unlawful to manufacture

 a machine gun in violation of its provisions. 26 U.S.C. § 5861(f).      Specifically, the National

 Firearms Act requires that a person shall obtain approval from ATF to make a National Firearms

 Act firearm, which includes a machinegun. 26 U.S.C. §§ 5922, 5845(a).       Similarly, licensed

 manufacturers are required to notify A TF by the end of the business day following manufacture

 of a NFA firearm.     26 U.S.C. § 5841(c), 27 CFR 479.103.

        B. The Definition of a Machinegun

        The National Firearms Act, 26 U.S.C. § 5845(b), defines a machinegun 3 as



 3
  Although more commonly spelled "machine gun," the applicable statutes use the spelling
 "machinegun."
                                                   9




                                                                                            Exhibit A, Pg. 697
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          any weapon which shoots, is designed to shoot, or can be readily restored to
          shoot, automatically more than one shot, without manual reloading, by a single
          function of the trigger. The term shall also include the frame or receiver of any
          such weapon, any part designed and intended solely and exclusively, or
          combination of parts designed and intended, for use in converting a weapon into a
          machinegun, and any combination of parts from which a machinegun can be
          assembled if such parts are in the possession or under the control of a person.

  See also 27 C.F.R. § 478.11 (stating same).

          The Gun Control Act incorporates the National Firearms Act's definition of machinegun

  and defines machinegun identically to the National Forearms Act.        18 U.S.C . § 922(a)(4).

  Both statutory definitions of a machinegun therefore include a combination of parts designed and

  intended for use in converting a weapon into a machinegun.       Id    This language includes a

  device that, when activated by a single pull of the trigger, initiates an automatic firing cycle that

  continues until the finger is released or the ammunition supply is exhausted.     See ATF Rule

  2006-2 (AR at 630-32.)

         C. The Administrative Procedure Act

         The Administrative Procedure Act (APA) requires that the Court "hold unlawful and set

  aside agency action, findings, and conclusions" that are "arbitrary, capricious, an abuse of

  discretion, or otherwise not in accordance with law."     5 U.S.C. § 706(2)(A). The "scope of

  review under the 'arbitrary and capricious' standard is narrow and a court is not to substitute its

 judgment for that of the agency."     Motor Vehicle Mfrs. Ass'n of U.S., Inc. v. State Farm Mut.

 Auto. Ins. Co., 463 U.S . 29, 43 (1983).    The Court must be satisfied that the agency has

  "'examine[d] the relevant data and articulate[d] a satisfactory explanation for its action including

  a rational connection between the facts found and the choice made."' Alpharma, Inc. v. Leavitt,

  460 F.3d 1, 6 (D.C. Cir. 2006) (quoting State Farm, 463 U.S. at 43).      The agency's decisions


                                                    10




                                                                                               Exhibit A, Pg. 698
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  are entitled to a "presumption ofregularity," Citizens to Pres. Overton Park, Inc. v. Volpe, 401

  U.S. 402, 415 (1971), and although "inquiry into the facts is to be searching and careful, the

  ultimate standard of review is a narrow one," id. at 416.

         Federal courts are particularly deferential towards the '"scientific determinations"' of the

  agency, which are "presumed to be the product of agency expertise."       Franks v. Salazar, 816

  F.Supp.2d 49, 55 (D. D.C. 2011) (quoting Bait. Gas & Elec. Co. v. Natural Res. Def Council,

  Inc., 462 U.S. 87, 103 (1983)).   The Court's review is confined to the administrative record,

  subject to limited exceptions not at issue here.    See Camp v. Pitts, 411 U.S. 138, 142 (1973)

  ("[T]he focal point for judicial review should be the administrative record already in existence,

  not some new record made initially in the reviewing court.").     See also Sig Sauer, Inc. v. Jones,

  133 F. Supp. 3d 364, 371(D.N.H.2015), aff'd sub nom. Sig Sauer, Inc. v. Brandon, 826 F.3d

  598 (1st Cir. 2016) (recognizing that classification determinations "require expertise that is well

  within the ATF' s grasp" and that "its conclusions are entitled to substantial deference from a

  reviewing court.") (citing Marsh v. Or. Natural Res. Council, 490 U.S. 360, 378 (1989)).

         D. Summary Judgment in AP A Cases

         Under the APA, "courts are to decide, on the basis of the record the agency provides,

 whether the action passes muster under the appropriate AP A standard of review." Fla. Power &

 Light Co., 470 U.S. at 743-44. Because extra-record evidence and trials are inappropriate in

 APA cases, courts decide AP A claims via summary judgment based on the administrative record

 the agency compiles. Cronin, 919 F.2d at 445 ("Because the plaintiffs are not entitled to present

 evidence in court to challenge the [decision-maker's] decision ... , there will never be an

 evidentiary hearing in court."); Nw. Motorcycle Ass 'n v. USDA , 18 F .3d 1468, 1472 (9th Cir.


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                                                                                              Exhibit A, Pg. 699
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  1994).

           Although summary judgment is the procedural mechanism by which the Government is

  presenting its case, the limited role federal courts play in reviewing such administrative decisions

  means that the typical Federal Rule 56 summary judgment standard does not apply. See

  Citizens for Appropriate Rural Roads, Inc. v. Foxx, 14 F. Supp. 3d 1217, 1228 (S.D. Ind. March

  31, 2014) (Barker, J.) (citing Cronin, 919 F.2d at 445); see also Sierra Club v. Mainella, 459

  F.Supp.2d 76, 89-90 (D. D.C. 2006). Instead, in APA cases, "[t]he factfinding capacity of the

  district court is thus typically unnecessary to judicial review of agency factfinding . . . . [C]ourts

  are to decide, on the basis of the record the agency provides, whether the action passes muster

  under the appropriate APA standard ofreview." Florida Power & Light Co. , 470 U.S. at 744-

  74.

                                                 ARGUMENT

           Plaintiff raises several challenges to FTISB' s classification decision. As discussed

  below, FTISB conducted a thorough examination of the ERAD, and fully disclosed the findings

  supporting its decision. FTISB' s decision was not arbitrary and capricious, but is supported by

 the facts as presented in the administrative record, and is a reasonable interpretation of the

  statute. Defendant is entitled to judgment in its favor on all of the Plaintiff's claims.

           A. ATF's Decision Is Not Arbitrary and Capricious.

           A machinegun is defined in part as any weapon that shoots "automatically more than one

  shot, without manual reloading, by a single function of the trigger." 26 U.S.C. § 5845(b). The

 term also includes any "combination of parts designed and intended, for use in converting a

 weapon into a machinegun." Id. In the definition of machinegun, neither the National


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                                                                                              Exhibit A, Pg. 700
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  Firearms Act nor the Gun Control Act further define the phrase "single function of the trigger."

  The test fuing of Plaintiff's prototype-an AR-15 semi-automatic rifle (Bushmaster Model

  XMI150E2S) with an integrated ERAD grip-demonstrated that, once the grip button was pulled

  (activating the motor) concurrent with constant rearward pressure being applied to the trigger

  extension (which Plaintiffs refer to as the "reset bar"), the weapon fired more than one shot

  without manual reloading and without any additional action on the shooter' s part. Indeed, the

  weapon fired continuously until the shooter stopped applying rearward pressure to the trigger

  extension, or the ERAD ' s ammunition supply was exhausted. (AR at 79, 47 (demonstration

  video).) Additionally, when equipped with the ERAD, the weapon fired at a very high rate of

  speed, discharging up to 500 rounds per minute. (AR 0047.) Thus, the nature and mechanics

  of the ERAD support FTISB' s finding that it converted the semiautomatic firearm to a

  machine gun.

         FTISB ' s conclusion is consistent with the National Firearm' s Act's legislative history, in

  which the drafters equated "single function of the trigger" with "single pull of the trigger." See

  National Firearms Act: Hearings Before the Committee on Ways and Means, H.R. Rep. No.

  9066, 73rd Cong., 2nd Sess., at 40 (1934) ("Mr. Frederick.[] The distinguishing feature of a

  machine gun is that by a single pull of the trigger the gun continues to fire as long as there is any

  ammunition in the belt or in the magazine. Other guns require a separate pull of the trigger for

  every shot fired, and such guns are not properly designated as machine guns. A gun, however,

  which is capable of firing more than one shot by a single pull of the trigger, a single function of

  the trigger, is properly regarded, in my opinion, as a machine gun."); see also George C. Nonte,

  Jr., Firearms Encyclopedia 13 (1973) (the term "automatic" is defined to include "any firearm in


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                                                                                              Exhibit A, Pg. 701
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  which a single pull and continuous pressure upon the trigger (or other firing device) will produce

  rapid discharge of successive shots so long as ammunition remains in the magazine or feed

  device - in other words, a machinegun").

            FTISB's decision is also consistent with the ordinary meaning of the term "function,''

  which includes "any of a group of related actions contributing to a larger action." Webster's

  Ninth New Collegiate Dictionary, 498 (1986); see also Random House Thesaurus College

  Edition, 297 (1984) (a synonym of function is "act"). Here, the action, or act, is pulling the

  trigger, which leads to the automatic firing.

            Courts have also interpreted "function" as the action of pulling the trigger. See Staples

  v. United States, 511 U.S. 600, 600 (1994) ("The National Firearms Act criminalizes possession

  of an unregistered 'firearm,' 26 U.S .C. § 5861(d), including a 'machinegun,' § 5845(a)(6), which

  is defined as a weapon that automatically fires more than one shot with a single pull of the

  trigger,§ 5845(b)."); see also id. at 602 n.1 ("As used here, the terms 'automatic' and 'fully

  automatic' refer to a weapon that fires repeatedly with a single pull of the trigger. That is, once

  its trigger is depressed, the weapon will automatically continue to fire until its trigger is released

  or the ammunition is exhausted. Such weapons are 'machineguns' within the meaning of the

  Act.").

            In United States v. Fleischli, 305 F.3d 643, 655-56 (7th Cir. 2002), the Seventh Circuit

 held that a "minigun" was a machinegun even though it was "activated by means of an electronic

 on-off switch rather than a more traditional mechanical trigger." Despite Fleischli's arguments

 that the minigun was not a machinegun because it was not fired by pulling a traditional trigger,

 but rather was fired using an electronic switch, the court found to the contrary: "Fleischli's


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                                                                                                Exhibit A, Pg. 702
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  electronic switch served to initiate the firing sequence and the minigun continued to fire until the

  switch was turned off or the ammunition was exhausted. The minigun was therefore a machine

  gun as defined in the National Firearms Act." Id. (superseded by statute on other grounds); see

  also United States v. Oakes, 564 F.2d 384, 388 (10th Cir. 1977) (rejecting defendant's argument

  that because he had constructed a weapon with two triggers, it would not fire by a single function

  of the trigger, finding "it is undisputed that the shooter could, by fully pulling the trigger, and it

  only, at the point of maximum leverage, obtain automation with a single trigger function. We

  are satisfied the gun was a machine gun within the statutory definition both in law and fact.")

          Similarly here, the ERAD is a component that, when attached to a rifle, causes the rifle to

  function automatically. The ERAD allows the firing sequence to be initiated by a single pull of

  the primary trigger, which is continually engaged as long as the shooter maintains rearward

  pressure on the trigger and the motor continues to push the shooter's finger forward. (AR 0073;

  79-80.) Because the ERAD is a combination of parts designed and intended for use in

  converting a semiautomatic firearm into weapon which shoots automatically more than one shot

  by a single action-the pull of the trigger-it is a machinegun. A TF' s decision is not arbitrary

  or capricious, but is consistent with the facts based on a thorough examination and testing of the

  ERAD' s functionality.

         B. ATF's Classification is Consistent with Public Policy.

         Because of their rapid rate of fire, machineguns have long been considered inherently

  dangerous and are therefore strictly regulated and generally unlawful to possess. See 18 U.S.C.

  § 922(0); United States v. Brock, 724 F.3d 817, 824 (7th Cir. 2013) ("Congress has grouped

  together sawed-off shotguns, machineguns, and a variety of dangerous explosive devices for


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                                                                                                 Exhibit A, Pg. 703
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  stringent restrictions on possession and strict registration requirements for those that can be

  possessed lawfully."); United States v. Brazeau, 237 F.3d 842, 845 (7th Cir. 2001) ("The point is

  that most firearms do not have to be registered-only those that Congress found to be inherently

  dangerous."); United States v. Kruszewski, No. 91-0031P, 1991WL268684, at *1 (N.D. Ind.

  Dec. 10, 1991) ("The categories of firearms covered by U.S.C. Title 26 include only particularly

  dangerous weapons such as machineguns .... In District of Columbia v. Heller, 554 U.S. 570,

  627 (2008), the Supreme Court discussed a machinegun (M-16), and recognized a "limitation on

  the right to keep and carry arms" that includes "dangerous and unusual weapons." See also

  United States v. Spires, 755 F.Supp. 890, 892 (C.D. Cal. 1991) ("Congress believed these

  particular weapons, as opposed to firearms in general, are extremely dangerous and serve

  virtually no purpose other than furtherance of illegal activity.").

         The device at issue in this case - the ERAD grip - enables a firearm to produce automatic

  fire with a single pull of the trigger, and therefore makes an otherwise semiautomatic firearm

  into one of the "dangerous and unusual weapons" recognized by the Heller court.. A rifle with

 the ERAD will continue to fire automatically once the trigger is pulled and remains depressed,

 with no further action by the shooter required. The widely-available Bushmaster Model

  XMI150E2S fires at a rate of one shot per trigger pull and up to 120 rounds per minute. 4 When



 4
  Although there are no official documents establishing a maximum firing rate, it is thought that
 120 rounds per minute would be a ceiling. Obviously, the rate of fire depends on how fast the
 shooter can pull and release the trigger. The Department of the Army has published 45 rounds
 per minute as the maximum effective rate of fire for AR-type weapons, meaning the number of
 shots that allow the shooter to effectively engage the intended target. See Department of the
 Army, Field Manual (FM) 3-22.9, Rifle Marksmanship M16-/M4-Series Weapons, Ch. 2-1
 (Characteristics ofM16-/M4-Series Weapons), Aug. 2008, available at
 http://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd= l&cad=rja&uact=8&ved
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                                                                                              Exhibit A, Pg. 704
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  the ERAD device is attached to it, however, the same rifle is capable of firing at a rate of up to

  500 rounds per minute. (AR 0047.) This unhindered automatic firing capability is the very

  danger that the National Firearms Act was intended to protect against. See 149 Cong. Rec.

  H2944-02, H2950 (Apr. 9, 2003) ("these weapons ... are inherently dangerous"); United States

  v. Newman, 134 F.3d 373 (6th Cir. Jan. 21, 1998) (unpublished) ("Although the National

  Firearms Act is ostensibly a revenue-generating statute enacted under Congress's taxation power,

  it is clearly designed to regulate the manufacture, transfer, and possession of dangerous weapons.

  Although the means by which Congress advanced its objectives are somewhat roundabout, close

  analysis of the relevant provisions reveals an unmistakable intent to prohibit possession of any

  machine gun the manufacture or importation of which was not explicitly authorized by the

  Bureau of Alcohol, Tobacco, and Firearms."). Nor is such easy transformation to an automatic

  firearm consistent with the prohibition imposed by section 922(o) of the Gun Control Act. See

  United States v. Haney, 264 F .3d 1161, 1168 (10th Cir. 2001) ("banning possession of post 1986

  machine guns is an essential part of the federal scheme to regulate interstate commerce in

  dangerous weapons."). Accordingly, ATF's assessment of the functionality of the ERAD grip,

  including its ability to convert a firearm into an automatic weapon, support A TF' s finding that

  the ERAD is properly classified as a machinegun.

         C. Freedom's "Reset Bar" Terminology Does Not Alter the Outcome

         Freedom argues that FTISB's analysis is flawed because the ERAD's "reset bar" is not a

 "trigger." Freedom specifically claims that, "the trigger finger reset bar is not the trigger, nor



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                                                                                              Exhibit A, Pg. 705
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  can it activate the firing sequence. Only the shooter's conscious and deliberate pull of the reset

  bar that subsequently engages the trigger that causes the weapon to fire and the ERAD cannot be

  made to function any other way." (Docket No. 24 at 8.) To this end, Freedom admits it has

  created a device that incorporates the traditional firearm trigger as another intermediate

  component in the firing mechanism.

         Nevertheless, Freedom's position has been rejected by ATF before, and this rejection has

  been upheld in court. As discussed above, in United States v. Fleischli, 305 F.3d 643 (7th Cir.

  2002), the Seventh Circuit rejected the appellant's argument that an electronic switch did not

  meet the traditional definition of a trigger, holding as follows:

         This is a puerile argument, based on hyper-technical adherence to literalism. We
         are not surprised to learn that Fleischli is not the first defendant to make such a
         brazen argument, although he appears to be the first to do so in this circuit. We
         join our sister circuits in holding that a trigger is a mechanism used to initiate a
         firing sequence. United States v. Jokel, 969 F.2d 132, 135 (5th Cir. 1992)
         (commonsense understanding of trigger is mechanism used to initiate firing
         sequence); United States v. Evans, 978 F.2d 1112, 1113-14 n. 2 (9th Cir.1992),
         cert. denied, 510 U.S. 821, 114 S.Ct. 78, 126 L.Ed.2d 46 (1993)(trigger is
         anything that releases the bolt to cause the weapon to fire). Fleischli' s definition
         "would lead to the absurd result of enabling persons to avoid the NF A simply by
         using weapons that employ a button or switch mechanism for firing." Evans, 978
         F .2d at 1113-14 n. 2. The dictionary definition of "trigger" includes both the
         traditional ("a small projecting tongue in a firearm that, when pressed by the
         finger, actuates the mechanism that discharges the weapon") and the more general
         ("anything, as an act or event, that serves as a stimulus and initiates or precipitates
         a reaction or series ofreactions."). See Webster's Unabridged Dictionary Of The
         English Language (2001). Fleischli's electronic switch served to initiate the
         firing sequence and the minigun continued to fire until the switch was turned off
         or the ammunition was exhausted. The minigun was therefore a machine gun as
         defined in the National Firearms Act.

 Id. at 655- 56.

         Similarly, in United States v. Carter, 465 F.3d 658 (6th Cir. 2006), the Sixth Circuit

  opined on the definition of a "trigger" under the National Firearms Act. There, Carter appealed

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                                                                                               Exhibit A, Pg. 706
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  a conviction for illegal possession of a machine gun and other parts designed or intended for use

  in converting a weapon into a machinegun. Id. at 660. Carter argued that the jury instruction

  on the definition of "trigger" was faulty because the indictment "did not mention a trigger

  mechanism among the parts he was alleged to have possessed" and thus the indictment failed to

  state a charge pursuant to the Federal Rule of Criminal Procedure 7(c)(l) because "the definition

  of 'machinegun' given at 26 U.S.C. § 5845 specifically includes a trigger." Id. at 661.

  According to the testifying expert, the weapon was complete except for a trigger mechanism.

  Thus "[a]fter inserting a magazine with three rounds of ammunition, he said, he was able to

  make the gun fire all three rounds consecutively by pulling the bolt back and releasing it by

  hand." Id. at 661-62. The court held that, even in the absence of a traditional trigger, the

  weapon fell within the definition of a "machinegun."

         The reasoning adopted by other circuits, as well as simple logic, compels the
         conclusion that the district court's instruction was proper and not an abuse of
         discretion. A trigger is generally "anything, as an act or event, that serves as a
         stimulus and initiates or precipitates a reaction." Webster' s Unabridged
         Dictionary 2021 (2nd ed.1997). Within the realm of firearms, it is commonly
         understood as "a small projecting tongue in a firearm that, when pressed by the
         finger, actuates the mechanism that discharges the weapon." Id. However, the
         latter definition is obviously a context-specific articulation of the former.
         According to the testimony of the government' s expert, the manipulation of his
         hands on the assembled weapon initiated a reaction, namely the firing of the gun
         and two automatic successive firings. This manual manipulation constituted a
         trigger for purposes of the weapon's operation. The district court's "trigger"
         instruction to the jury was not an abuse of discretion.

 Id at 665.

         Finally, in United States v. Camp, 343 F.3d 743 (5th Cir. 2003), the defendant modified a

 semiautomatic rifle by adding an electrically operated trigger mechanism, which operated as

 follows:


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                                                                                              Exhibit A, Pg. 707
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          When an added switch behind the original trigger was pulled, it supplied electrical
          power to a motor connected to the bottom of a fishing reel that had been placed
          inside the weapon's trigger guard; the motor caused the reel to rotate; and that
          rotation caused the original trigger to function in rapid succession. The weapon
          would fire until either the shooter released the switch or the loaded ammunition
          was expended.

  Id. at 744.

          An ATF expert testified that a true trigger activating devices, although giving the

  impression of functioning as a machinegun, are not classified as machineguns because the

  shooter still has to separately pull the trigger each time he/she fires the gun by manually

  operating a lever, crank, or the like. To this end, the court stated:

          We reject Camp's contention that the switch on ... his firearm was a legal
          "trigger activator". As discussed, those activators described by the ATF Agent
          require a user to separately pull the activator each time the weapon is fired.
          Camp's weapon, however, required only one action - pulling the switch he
          installed - to fire multiple shots.

  Camp, 343 F.3d at 745 .

          Similarly here, even though Freedom refers to its ERAD as a "trigger reset assistance

  device," a firearm fitted with the ERAD does not require separate, mechanical pulls of the trigger

  (i.e., pull and release) to discharge more than a single round. The trigger is moving at such a

  rapid rate that the shooter's finger does not pull the trigger each time to fire each shot, but

  instead pulls the trigger once and then remains stationary, resisting forward pressure, as the

 motor causes the weapon to function automatically, and continue to fire rounds. It is undisputed

  that when the shooter's finger remains connected to the "reset bar," and an electric motor is

  activated, the "reset bar" functions as a trigger in and of itself, and controls the pace of the firing

 sequence. The only action required by the shooter is that of continued rearward pressure. To

 this end, the ERAD is capable of firing at a rate of 500 rounds per minute and does not require

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                                                                                                 Exhibit A, Pg. 708
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  any additional act by the shooter after the motor is turned on and the shooter pulls the "reset bar"

  (or what FTISB describes as the "primary trigger") once without releasing pressure. (AR 0047.)

         Accordingly, in spite of its branding and terminology, the ERAD meets the

  definition of a machinegun.

         D. The ERAD Is Not The Same As "Bump Fire" or "Slide Fire" Stock.

         Freedom also argues that its ERAD is similar to "bump fire" or "slide fire" stock, which

  has been found not to be machinegun technology. (PL ' s Br. at 24 (citing AR at 231 and PL's

  Exhibits A, B, and C, Docket Nos. 24-1 , 24-2, 24-3).) "Bump firing" is the process of using the

  recoil of a semi-automatic firearm to fire in rapid succession, simulating the effect of an

  automatic firearm when performed with a high level of skill and precision by the shooter. Bump

  firing requires the shooter to manually and simultaneously pull and push the firearm in order for

  it to continue firing. (See PL ' s Ex. A, Docket No. 24-1 at 3-4; PL' s Ex. B, Docket No. 24-3 at

  4-5.) The shooter must use both hands to pull the trigger rearward - and the other to push the

  firearm forward to counteract the recoil - to fire in rapid succession. While the shooter receives

  an assist from the natural backfire of the weapon to accelerate subsequent discharge, the rapid

  fire sequence in bump firing is contingent on shooter input, rather than mechanical input, and

 thus cannot shoot "automatically." (PL ' s Ex. A, Docket No. 24-1at3-4; PL ' s Ex. B, Docket

 No. 24-3 at 4-5.)

         Conversely, the ERAD does not require any such skill or input from the shooter. A rifle

 equipped with the ERAD will utilize a battery-powered motor to continue to fire automatically

 once the trigger is pulled and remains depressed, with no other action by the shooter required.

 Indeed, in its classification letter, FTISB noted that the AR-type trigger functions as a


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                                                                                                Exhibit A, Pg. 709
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  "secondary trigger" in that "it merely becomes a part of the firing sequence." (AR at 0071.)

  Freedom argues that the ERAD allows the shooter to make a "conscious decision to apply or not

  apply rearward pressure to fire the weapon by initiating a trigger function," (AR at 47

  (demonstration video)). This argument is technically correct to the extent the shooter may make

  a purposeful choice to cease applying rearward pressure to the reset bar/primary trigger. In fact,

  this is true of any machinegun-a shooter makes a conscious decision to pull and release the

  trigger. What is misleading, however, is any assertion that the shooter may make a conscious

  choice to pull and release the trigger for each individual, subsequent shot. In accepting this

  argument, the shooter would presumably be able to control the precise number of shots he

  intends to fire. For example, he could intend to fire a precise number of rounds of ammunition,

  such as 263 rounds, and actually expel that exact number of rounds. With the ERAD engaged,

  however, the number of rounds fired is the result of automatic functioning so long as the shooter

  is applying pressure on the "reset bar," and therefore the number of rounds expelled cannot

  accurately be characterized as conscious or deliberate. (AR 0047; 0073.)

         In contrast, bump firing requires the shooter to manually pull and push the firearm in

 order for it to continue firing. Generally, the shooter must use both hands-one to push forward

 and the other to pull rearward-to fire in rapid succession. While the shooter receives an assist

 from the natural recoil of the weapon to accelerate subsequent discharge, the rapid fire sequence

 in bump firing is contingent on shooter input in pushing the weapon forward, rather than

 mechanical input, and is thus not an automatic function of the weapon.

         Freedom also argues that FTISB's decision regarding the ERAD is inconsistent with its

 decision regarding the Akins Accelerator, which was an accessory attached to firearm that


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                                                                                            Exhibit A, Pg. 710
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  accelerated rate of fire. Akins v. United States, 312 F. App'x 197 (11th Cir. 2009). On the

  contrary, ATF's decision is entirely consistent with its decision regarding the Akins Accelerator

  and ATF Ruling 2006-2. 5

         To operate the Akins Accelerator, the shooter pulled the trigger one time, initiating an

  automatic firing sequence, which in turn caused the rifle to recoil within the stock, permitting the

  trigger to lose contact with the finger and manually reset (move forward). Akins, 312 F. App'x

  at 199. Springs then forced the rifle forward in the stock, forcing the trigger against the finger,

  which caused the weapon to discharge the ammunition until the shooter released the constant

  pull or the ammunition is exhausted. Put another way, the recoil and the spring-powered device

  caused the firearm to cycle back and forth, impacting the trigger finger, which remained

  rearward in a constant pull, without further input by the shooter, thereby creating an automatic

  firing effect. Id. The advertised rate of fire for a weapon with the Akins Accelerator was 650

  rounds per minute. Id.

         The Eleventh Circuit found that A TF properly classified the Akins Accelerator as a

  machinegun because:

         [a] machinegun is a weapon that fires "automatically more than one shot, without
         manual reloading, by a single function of the trigger." 26 U.S.C . § 5845(b ).
         The interpretation by the Bureau that the phrase "single function of the trigger"
         means a "single pull of the trigger" is consonant with the statute and its legislative
         history. After a single application of the trigger by a gunman, the Accelerator
         uses its internal spring and the force of recoil to fire continuously the rifle cradled
         inside until the gunman releases the trigger or the ammunition is exhausted.
         Based on the operation of the Accelerator, the Bureau had authority to "reconsider
         and rectify" what it considered to be a classification error. That decision was not


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    Initially ATF classified the Akins Accelerator as a non-machinegun, but after a subsequent test
  fire, it was determined the Akins Accelerator converts a semiautomatic rifle into a weapon
  capable of firing automatically by a single function of the trigger and was therefore in fact a
  machinegun. Thus, ATF overruled its earlier classification.
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                                                                                               Exhibit A, Pg. 711
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          arbitrary and capricious.

  Id. at 200.

          Pursuant to A TF Ruling 2006-2, any device that is truly analogous to the Akins

  Accelerator - i.e. , a device that allows a weapon to fire automatically when the shooter pulls the

  trigger - is properly classified as a machinegun. (AR at 630-32.) Specifically, the Rule

  provides that a firearm with the following functionality constitutes a machinegun:

         A shooter pulls the trigger which causes the firearm to discharge. As the firearm
         moves rearward in the composite stock, the shooter' s trigger finger contacts the
         stock. The trigger mechanically resets, and the device, which has a coiled spring
         located forward of the firearm receiver, is compressed. Energy from this spring
         subsequently drives the firearm forward into its normal firing position and, in
         turn, causes the trigger to contact the shooter's trigger finger. Provided the
         shooter maintains finger pressure against the stock, the weapon will fire
         repeatedly until the ammunition is exhausted or the finger is removed. The
         assembled device is advertised to fire approximately 650 rounds per minute.
         Live-fire testing of this device demonstrated that a single pull of the trigger
         initiates an automatic firing cycle which continues until the finger is released or
         the ammunition supply is exhausted.

  (AR at 631.)

         Like the Akins Accelerator, the ERAD requires a single pull of the trigger to activate the

  firing sequence, which continues until the shooter' s finger is released, or the firearm depletes its

  ammunition supply. (AR at 354-68, 395-97.) Because the ERAD is a part designed and

  intended for use in converting a semiautomatic firearm into weapon which shoots automatically

  more than one shot by a single action- the pull of the trigger- it is a machinegun. Thus, ATF ' s

  decision is not arbitrary or capricious, but is consistent with the facts based on a thorough

  examination and testing of the ERAD' s functionality.

         With regard to Plaintiffs Exhibit B (Docket No. 24-3), the 3MR reset trigger device

  submitted to A TF was an internal mechanism, which operated to push the shooter' s finger

                                                   24




                                                                                               Exhibit A, Pg. 712
       Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 40 of 250
Case 3:16-cv-00243-RLY-MPB Document 28 Filed 07/27/17 Page 25 of 26 PagelD #: 177



  forward. It does not run on a motor, and although the mechanism assists in manually resetting

  the trigger, the shooter is still required to release the trigger to fully reset the trigger. Thus,

  during inspection, ATF determined that the weapon could not be fired automatically. The item

  was tested by seven individuals at A TF prior to the classification, and no individual was able to

  generate automatic fire. Because the reset trigger required a release of the trigger and

  subsequent pull before another round was expelled, the 3MR was not classified as a machinegun.

         Based on the foregoing, FTISB has not rendered inconsistent decisions, but has inspected

  and analyzed each prototype or device presented to it by Freedom for classification, and has

  issued its decisions based on the unique characteristics of each. Accordingly, ATF ' s

  classification of the ERAD device as a machinegun is not arbitrary, capricious, an abuse of

  discretion, or otherwise inconsistent with the applicable law.

                                                 CONCLUSION

         Based on the foregoing, the Court must enter judgment in favor of the Bureau of Alcohol,

  Tobacco, Firearms, and Explosives as to all of Plaintiffs claims against it.


                                                  Respectfully submitted,


                                                  JOSH J. MINKLER
                                                  United States Attorney

                                          By:     s/ Shelese Woods
                                                  Shelese Woods
                                                  Assistant United States Attorney




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                                                                                                  Exhibit A, Pg. 713
       Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 41 of 250
Case 3:16-cv-00243-RL Y-MPB Document 28 Filed 07/27/17 Page 26 of 26 PagelD #: 178




                                   CERTIFICATE OF SERVICE

         This is to certify that I have served a copy of the foregoing upon the Plaintiff herein by

  electronically filing a copy thereof through the Court's CM/ECF system, which will transmit a

  copy electronically to the following on the 27th day of July, 2017:

         Brent R. Weil
         KIGHTLINGER & GRAY, LLP
         bweil@k-glaw.com

         Timothy R. Rudd
         Scott Braum
         SCOTT L. BRAUM & ASSOCIATES, LTD.
         trr@braumlaw.com




                                                       sl Shelese Woods
                                                       Shelese Woods
                                                       Assistant United States Attorney
                                                       10 West Market Street
                                                       Suite 2100
                                                       Indianapolis, Indiana 46204




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                                                                                             Exhibit A, Pg. 714
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                        Exhibit 26

                   ( hogan 7 m16.wmv )




                                                               Exhibit A, Pg. 715
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                        Exhibit 27

(Testimony of ATF Senior Analyst Richard Vasquez)




                                                               Exhibit A, Pg. 716
     Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 44 of 250
United States of America v.                                                                              Richard Vasquez
One History Arms Model 54RCCS, etc.                                                                    September 10, 2009
                                                     Page 73                                                       Page 75

 1      Q Martin. So is it fair to say Mr. Martin's             1 ones that were manufactured before a particular
 2   and Mr. Spencer's participation was at a fairly high       2 date?
 3   level more or less reviewing and approving and not         3    A That's correct.
 4   actively participating in the decision?                    4    Q But whatever number of those there are,
 5      A Are you meaning high level like their                 5 they're out there?
 6   superior ranking or --                                     6     A Yes.
 7      Q Well, I was more getting at they reviewed             7   Q Now, based on your inspection and
 8   the final product, maybe made changes, maybe didn't        8 observations of the defendant, did you conclude
 9   and approved it without getting into the substantive       9 whether it was intended to be installed on a
10   details of the decision.                                  10 particular firearm blower?
11      A That would be correct.                               11      A Can you say that again?
12      Q Okay.                                                12      Q I mean, did you come to any conclusion of
13          MR. MONROE: Let's take one more break.             13   what the purpose of the defendant was?
14          (Thereupon, a brief recess ensued at               14      A What the intention of the manufacturer was?
15      approximately 11 :43 a.m. and the proceedings          15      Q Yes.
16      subsequently resumed at approximately 11 :50           16      A Or what our interpretation of what the
17      a.m. with all parties present).                        17   defendant weapon was?
18   BY MR. MONROE:                                            18      Q What the intention of the manufacturer
19      Q In Exhibit 1 which are the operating                 19   was.
20   procedures that you wrote, there's a reference to         20      A Yes. And it's indicated that there's a
21   two rulings, 82-8 and 83-5, do you recall that?           21   portion of a MAC upper welded inside the receiver.
22      A Do I recall the rulings or the reference?            22      Q And so what did you conclude the purpose
23      Q Well, first of all the reference.                    23   of the manufacturer was in manufacturing the device?
24      A Yes.                                                 24      A The purpose of the manufacturer in
25     Q Do you recall the ruling?                             25   manufacturing the device is that he wanted to install
                                                     Page 74                                                      Page 76

 1   A Yes.                                                     1 it on to a MAC receiver.
 2   Q 82-8 ifl remember had to do with some                    2    Q And then what would that accomplish?
 3 devices that were determined to be machine guns but          3    A Well, with our classification, that would be
 4 that the ones manufactured before a particular date          4 the classification of two machine guns, the registered
 5 were not I guess treated as machine guns for                 5 MAC or -- would be a machine gun, or if it was a
 6   purposes of transfer and possession; is that right?        6   semiautomatic MAC, that would be converting the
 7   A Let me find it. (Reviews document).                      7 semiautomatic MAC into a machine gun. And since we
 8 Correct.                                                     8 classified the upper as a machine gun, that would also
 9   Q What is the proper treatment of one of                   9 be a machine gun in and of itself.
10 those firearms under that ruling if it's ... I mean,        10    Q And the caliber of the defendant is what,
11   I guess A TF considers it to be a machine gun but         11   do you know?
12   it's freely transferable without even a Form 4 ifl        12      A Of the defendant weapon?
13   understand it; is that right?                             13      Q Yes.
14       A If it was manufactured before that date as          14      A 7.62X54.
15   an open bolt pistol, then ATF said we're not going to     15      Q And that's not the caliber of a MAC; is
16   apply the machine gun classification to it.               16   that right?
17       Q So I guess the conclusion is that means             17      A Correct.
18   there's a, I don't know about the sizes, but there's      18      Q So the result would be a MAC that shoots
19   some bucket of firearms that are machine guns that        19   7.62X54; is that right?
20   aren't registered, don't have to be registered and        20      A Yes.
21   are freely transferable without a Form 4; is that         21      Q There was some discussion in the responses
22   right?                                                    22   to our third discovery request about the possibility
23       A Well, that is correct but they are no longer        23   of returning the defendant to the claimant for
24   allowed to be manufactured.                               24   modification, do you recall that?
25       Q I understand. So we're only talking about           25      A Yes.

                                       American Court Reporting Company, Inc.                        (19) Page 73 - Page 76

                                                                                                      Exhibit A, Pg. 717
Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 45 of 250




                        Exhibit 28

            ( Bump Stock Analytical Video )




                                                               Exhibit A, Pg. 718
Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 46 of 250




                        Exhibit 29

    (National Firearms Act: Hearings Before the
          Committee on Ways and Means)




                                                               Exhibit A, Pg. 719
Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 47 of 250

NATIONAL FIREARMS ACT


                          HEARINGS
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 COMMITl'EE ON WAYS AND MEANS
   HOUSE OF REPRF.BENTA.TIVE5
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          TIIOUAS H. CULLP~'I, New :rorl<                   . lSAAC BACIJAltACB. New Jeraoy
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          MORGAN G: SANDERS, Tuu                             .JAMES A. FREAR, Wl1roaalD
          JOllN w.. HcCORlf}.CK, l!aQ&cbueetll                ll.~ROLD KNUTSON, lllan..0111
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          ABUTON C. SDALLENBlmGltlt, Neb~n                      THOMAS C. COCJ'!RAN, PenllBYl•allll
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                         NATIONAL IIREARMS A.CT

                            M01'1DAY, APB.IL 16, 1934
                                     HousE ov REPnEsEN'rATIVES,
                                    COIUIJlrtEE ON WA.YB AND MEANS,
                                                  Waahington, D.0.
    The committee met at 10 a.m., Hoii:lwbert{L. Doughton (chair-
.man) presiding.                              ·
· The CHAIRMAN. We have met. this mom.fu.g". to con.sider Sl)ven.1
 matteTS, one o{ whicb is H .R. 9066, to proviO.e for the tax&;tion of
 rnanufacturers, importers, and dealers in snllill arms o.nd maChine
. guns, and other weapons.         .·         ·':                    ~·
    The Attomey General of the United Stat.es is here and I under-
 stand sponsors and is very much interested in this or in some simila.r
 Jegis)ation. We will be glad to ha.~e him pioceed to explain the bill
 and make any statement with reference to- it-the.t he may deem
  proper:                        ·

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Amtrica iR COf41/TUI .Uoembltd, That for tbe purpoeea of this act t.h e term "~
amt'' mean& a pistol; revolver, Shotgun having a baJTel lcu than alxteen inches in
length, or any other firearm capable of being eoncealed on the pen1on, a mtlfller or
silencer therefor, or a machine gun.
     The term "11:18Chin.e gun" means any W!lllpon dcaigned to shoot automatically
or semlautomaticaUy i.velve or more shots without reloading.
     The term "person" includes a partnership, compa:ny, assoc.latio.o, or corpoTa.
tioo, aa 'll'ell as a· natural person.             ·•     1
     Tho term. "contineDf4) Uruted States" me&DS the States or the United Statee
and the l>iatrict of.Columbia.                        "   '1                          - •
     The term "importer." means any person who import.a or briDp firea.naa into
  he continental United States for sale.                    \    ,:....,.
     The term "manufacturer'' m'ea.ns any person who ~gaged within the
continental United States Jn the manufacture oC firearms, or who othcrwiae
produces therein o.ny firearm for sale or. disposlti.o n.     \
     The wrm "dealer" mean.s any person not a maoufaa_turer o~ importer engaged
within t)le continental United States in the business or selling firearms. The f.j:an
 .. deo.ler" shall include pa\TJ\brolrorsand dealers in ueedlirearms. ,
     The term "inteT11tate commerce" means tran.sportatfon from auy State or
Territory or District, or nny insular possession of the United States (including the
 Phill'pplnc Islands)', to any other State or Territory or District, or o.ny insular
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     SEC. 2. (a) Within fifteen days after the elTecth-e date of this act, or npon lini
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Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 52 of 250
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   {~) To any peTBOn wfio ha9 eompUed with tho flrovUlona ol 900Uona 3 and i In
~t to the .lirea'lm ao M111t, shipped, carried, or deUv~-i by him;
   {3) To 11 common eamer In the ordinary t'OUl'88 of it.a bu..lneaa M I! oommon
carrier'
  (4) To an employee, acting within the acope of hie employment, of any person '
no~ violr.tlo.g tlUa section;                                           •
• (5) To " pm!On wbo hAa 1Awftlll$ 'nbtAlucd a lle!1lnee for auch ti~arm trolll tba
S&ate, Territory, District, or poeactllion to which such lll'eM111 Is to be sent,
shipped carried OT dellW!ret:I;                                                                  '
    (6) To any ltmted        St&tea, State, co11nty, municipal, Di.atriat, Teniwrlal, or
lnaular o1ficer or o11'icial llCtillg within the ecope or hla nfficial duties.
    (b) AppUcatlon far eu.ch ~t m;t~ made to the Coo.mla•ione:r ol Intemal
 Revenue at w~ or to eucb 0                                    u
                                                   at auch plAeee }le 1118.y designate !11
~ODS to be pr9)n'bed by him, with the l<.pproval of the 8ic:retal)'. of thll
~. for the llloance of auoh _permit. S.w;,'1 regulatlol)JI shalt provide Cqr a
~tten a pplication containing the photograph and llngeg>rinta or the appUca11t.,
& em;il oyee, tba aeriAl number and deactipt1on of the lire&rm to be transported •
..,id other lnro!'UlB.tion iegueated ~ the Qlmmi•ioner of Internal. .ftevenua Or
 hie qaot.                             -_
    (c) · 8uoh permit. abAll be llauod. U(IOD payment. of a fee ol $         I provided tho
Comml•ioner of lo~l Revenue "' S&tlafied that t.be propoeed tnw.ar.c'tion le
 lawf_u!:
    (d) Auy-person found lo P<J• e151on ot a firearm aliaII be preaumed to ha'1•
 tra'Moorted such 6reanD in fntentate commerce contrary to the provfaloM
hereol, ullless such peta00 bu been a bona :fide resident for a period of not 1 - ,
 &ban. lliny daya ot the State wherein be Is •found In poBI rion of dllch 'lin!ann.
or unleo such pei'eon baa ID Illa pa 1 Ion a etaml>&llixed order therefor requlred, -
 by t his act. Thia preeumpfion uu.y be rebutielf by eomootent evidence. ·
    Sile. lL The Commisaionec of Internal Revenue, with th.e aJiproval ol tlie
 Seeretary- of the Treasnr,y-, ahall make all nceMul ruJee and regulatiol\.I for C&l'T}'•
 lnit the provi.s[ona of thls act into effect.                             -
    Bzc: 12.. Thie act Rhal.l not apply to the llala, 11811igoment. traD11fer, gi{t, or otber
 ditlpo8al of firea>'lllll (l) to the United States OoverD1Dent, any Stat.a, Territory,
 or pcaesaion of the United States, or t.o any polmcaJ etlbdivialon thinof, '<>r to
 the District of Columbia; (2) to any peace o llicer or any Federal nllicer deaignaUid
 by nlgUIAtl<mB of t he COmm!asioner of Jntl!rtlAI Revenue.
    Sr:c. 13. Any pel'80n who violates or faUa to compl_v with any of tha requfr.
 menta of this 11ct a~l', upon conviction, be 1ined not tnore tban. S                  or be
 l:nptieooed for not more than             yeAn, or both, In tl!adi.9cretion of the couct.
    SEc. !.\.. The taxes im.Pl*d liy pr.l"l\gl'llpb (2) o( -tion 600 -0/ tl\e Revenue
 Act. of 10?!} (U.S.C., Supp. Vil, title 26. see. 1120) an.Ii by a.etlon fllO or tho
 B.evem1e Act or 1932 (47 Stat ... 169, 2M), shall not aJ>'p!Y to any fireanll on which ,
 the tax provided by section 3 of t l\Iit net hr.a been patd,
    8.£C. 15. If a ny provi&ion of this &Ct,-or the ap.plioation thereof to any 'pet8'1Xl
 or circutnat&noe, is held invalid, the ttmainder or ihe act, and tbe npphcatlnn
 of such provision to othel' penmns nr clrcumatancea,- ehnll not be afl'acteil thereby.
    SEc. 16. Thil act "1tuill take effect oo the 1i:diotb d n.y niter tho dato of ite
 enactment,                                                        ~
   Sec. 17. Tlllo act 1nJ1.1be<ited118 the " Natioi:Ul1 Ffre1ums AcV>




                                                                        Exhibit A, Pg. 725
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  ••
    BTATlDU!llT OP BOll'. BOJOB 8. omrVrRos. AtTOlUiEY GUl:aAL
                       OP THE OAITED B'l!ATl!S
         Attorney Genera.I CCJ1U0.Nos. Mr. Chairman and members of the
      committee, I do not think it is necessary to make any very elnborAte
      statement at lea.s.t at the beginning.                                   ·
         This .b ill is a .P~ oC,n provam that h~e been ~ormulate~ by .the
      Department of.Ju.etice, lollowwg our experiences with the cnme Bltu·
      ation_ l think it is 8. very essential part of it. There are pending
• before other committees, as of course you are aware, quite a number
      of bills which are deaignell to enable the Department of Justice to
      deal with ·what 1 thllik. is generally recognized as a very serious
     l:IAtional eme?gency.                           .
         All of these bills, as well as· this bill, are predicated upon the propo-
      sition that there bu .developed in this coUQtry a eitt111otio~ y;hich ie
      fAr beyond t he power ol control of merely local autbonties. All
      these bills have been drafted with an eye to constitutional limitations,
      and have been kept within a scope which indicates that there is no
      desire u~n the part of the Department. of J ustice, or of anyo11e else.
     eo far as I know, to take ov.er any powers, o.r exert any adminietrative
      functions beyond those absolutely necessary to deal with thie situation.
         The development of late years of the pl'tldat'ory crimina.l wh«>
      passes rapidly from State to St.ate, 'has created a situation wmch iS
      giving concern to all who llr& intel'Clllted in law and order. We have
      gangs o~, as o( couree you all know, !l~n a Nation.wide basis
     .and, on acicount of the shadowy area or twilight 7.one between S_tatn
  . -and Federhl power, many of these very woll instructed, very skillful,
      and highly intelligent criminals have CoWld a certain refuge and safety        -,
      in that zone, and there lies the heart of ou.r problam-the roaming
 . · groups of predatory criminals who know, by experience; or booauso
 , they have been instructed and adviSed, that they are safer if tl1ey
      ·      qti.ickly acroBB a State line, leaving tile scene of their crime in a
            -powered car or by other means oI quick transportation. '
           ow this situation, gentlemen, has become exceedingly ·serious.
      I stnte4 in a- moment of zenl on .this q_uestion that there wn e more
      people 1n the underworld armed than there are ln·tbe Ne.yY &.nd the
       Army of the United StateS. I afterward sought to check up on t.he
      accura<:.! of my own statement: This proposition is, of course, some-
       what difficult to colculate. Yet, on the bnsis of the reco.rds of crimes
      of violence which have been pel'Jletrated, taken with our statistics of
     "the number of persons in prisoti'a for ~rimes of violence and st1ch other
       colle.ter~ de.ta as it is possible~ secure, I nm prepared to sn.y thn.t the        •
  • statement which I made was exceedingly conservative. It would be
      much f~er to saithat there n,re more pe?ple in the underiVorld t-0d~y
      armed with deadly weapons, m ·fact, twlce llll many, as there are m
      the Army and the Navy of the Ui:nted States combined. In other
     ·words, roughl7 speaking, there ani nt. least 500,000 of these peoP1:e
       who are wnrnng against society nnd who ate cnrrying nbout mth
    • tnem. oY lu\ve a-vaila.ble at hand, wenpons of the most deadly character.
         Mr. Ooo'PER. Pardon me, General, but what was. the number you
       estimated?                                        ·
         Attomey General CuMlllNGs. A half a million. Now to deal With
       that situation, of course, requires thought and stuey nnd a serious, con-
       eertoo pmgrrun. Early lo.st ye!ll' the Department of JusLieo began
                                                                      Exhibit A, Pg. 726
              \                                                                               l
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      ·an e&mest study of this problem. We have been at it for more thim
        a year1 With some degi:ee of succes11'in oµ.r actual operation.8, and ~e
        have, 1D additjon to t,hat, collected a lot or data. and inrorma.tion:of
        one kind or anothel'. 1nto the Department· of Justice have flowed
        thousands &bd thousands of letters offering suggest.ions as to bQW
        to deal, witli':this problem. The a.mount of _public interest in ~ -
     . effort to ~uppress crime is s.atounding. . u~ you have been jn
        contact with 1t, perhaps you have not fully realized. that1 but we do;
        because .we a.re at the storm center of this activity.                   !
           Now, we have. establishe.d in our Department an org~ation to •
        segregate this material, to separate out the worth1ee8 suggestio~,
        the extreme suggestions, the untenable {>ropoaitions, and t.he'n
        gradually to concentrate on a. ?rogram ths,t 18 conatitutioruil, that:is
     · reasonable, that does not invite local communities to relate their . ,
•       problems to the Federal Government and·burden the F~eral Go\'-
        ernment unnecessarily with expenses, per$0nnel, and all the fbings
        tha.t go with widened authority. .At the ea.me time 1 we h-ave en- .
        deavored to provide ~ means for meeting this very real problem.~:-· ·
           I have not the slightest pride of' opinion in ilny of these bill&-.not '
        the least. I nm interested only in the problem and how.best to meet-..
        it.. If you gentlemen can improve .those bills, or make them mo~
        workable, or more useful, I am very happy to have you do th&~. '
        All that we have eougb' to do in this puticular is to formlllate tbetle
        bills and submit them to tlie Congtel!ll for its consideration. ,          ~
           .Amongst the bills is, of oomse the.one that is before the ooDllllit.~
        here today, This bill deals, I tbiik it ia fair tO say, with one of th&
    , most serious aspects of the crime situation, namely, the anned under..
        world. How to dea.1 with that wu and is a difficlllt propoeition. I
        do not lmo'f that t.bis bill meets it entirely to our aatis!11.et.ion; l do
       ·not know' how it. wUl work out. All I can say· is that it is the result
        of ou-r best tliouttht on the subject.                                   · ··
           Now this bill 18 drastic in some mspect9-               .          ·      ::
           The CHAIRVAN. Qeneral, would you care to complete your Jn&in.:i
        statement without interruption, or JS it all right for members,to as~
        questions as you go along?                               ·              . _-
           Attorney Genew CUlDIINOS. Supp086 I go along for a little while.-'
        I do not mind interruptions, of oouree                          ·             ~
           Mr. LEwta. 1 would like to he!ll' the general's statement first.           ~
           The ·CmmMAN. Suppose you complete your main statement and ~
        then yield to questions.             ·                                        -i
           Attomey General CmDUNos. All ~ht, Mr. Chairman. AB :Jwu~
        saying, .I ~o not know exactly how this bill will work out. No~ ~
        ca.n·. tell. We must feel our way tlm:iugh these big problems.. But, ~ -
        after all, it represents a lot or thought, and a lot of atud;v.                ~
            Frankness oompels me to say right at the outset that 1t is a drastic ~ (
        bill, but we have eliminated. a good ma.ny suggestions tbo.t were made ;:
        by people who are a little more enthusiastic about this tban we ate-I .~
      me.:an     enthusiastic about the possibility of curiiig eT'erything by JegiS.- ~
        lation.        ·              -                                                 .,_
           Jt:ol' instanre, this bill does not touch in a,ny way the owner, or i
        poseessor, or dealer. in the. ordinary shotgun or riile. There would ·~·
        manifestly be. a good deal of objection to !\UY at~pt to dea.1 with :~
        wea-pons ol t~t .kind. The spo.rtsman, who desires to~ out and ~
        shoot ducks, or the marksmao Wlio dEIW'ES to go out lllld pnLCtice,.~
                                                                     Exhibit A, Pg. 727
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     6
                              ..
 _. Mb~ wistiinlt to~ from one St.ate to a.n1:1&.h.er, "'ould.,~ot like~
    be embiutass.ecf, or1roub!ed1 or dmyed by too much detail. While
    there are·argu.IDenla for indud.i11g wcapom oI that kind, wa do nol.
     ~nnce that suggestion.             _
            This bill deals, u the very first part or it llid.icatea, with firearms,
         but_de.6nea "firearms" to g_iean a pllltol, a revolver, a sbotgmi ha'liog
         a barrel lesa than 16 inches in length, or any other firearm capable oI
       ·=concealed on the p6nlon, a muJBer. or silencer tnerefur, .or a
 ·~             • gun.. In the next paragraph it defines a machine gun as &Jl1
         wea · n · designed . to shoot automatically, or eemiauto1rU1tically, 12
         or more abota without reloading: The inquiriee we have made o1
         expert.a on &he subject of the length of the bairel of 11awed-off shotr
         guns indicates the general belief amongst ·such people that. 18 or
         even 20 inchea would be a better matimum length than the 16 incbm
         suggested mour bill.                                                             '    .
   •        A sawed.off shotgun is one of the most dangerous and deadly
         weapobs. A machiiie gun, of course, ought. Dever to be in the hands
         of any private individual. There is not the slightest excuse for it,
         not .the l~t in·tbe world, and w;e m~t, il we. ar~ going to be succe;;s-
         ful m this effort to suppress cnme m America, take these~nebme
         guila out of the bands of the criminal class.
            ~ow we Proceed in this bill generally under two P<?weJ'S-Qne, theJ
         fanng: ~wer, ai.nd the other, the power to regulate mterstate co~
         lnerce. ,The advantages of using the taxing power with. respect to
         the identification of the, weapons and the sale, and go forth, are quite
         manifeot. In the- fil'Bt place, there is already in existence a certain
         machinery for dealing•with the collection of ta..'Ces of this kind, anq
         these po_wera are being preserved ·in this particl!lar act. ·1n additi@
         to that, it is revenue-producing. I ·presume that is the reason this
         bill is before this particular oommitieo. I suspect there ought to be
         enough revenue produced tel cover o.t least the cost of administration
         and as much more as'·i s necessary in the opinion o{ the committee ~
         constitute an effective regulato17 arrangement.                       .     ,
     ~ • 1 am informed that under ~tmg Jaw, there is an ad valorem IO-                        1
. • - percen.t tax on pist.Qls and revolve:ra nnd that this law produced
,        $35,388 in the fiscal yeal' 1933. This existing law,. if the pending bill
      , should passJ will be_c ome inoperative so far u it imposes a tax on fire-
 . ·arms incluue'd in the proposed leciSW.tion: So we shall have to take
       ' into account the fact th11t. with tiie pas.•J11ge of this bill there will dis-   •
         appear most iI not all of that $35,0001 but it will reappear in a larger
         measure under ~be t~ proviSions and the licensing provjsions that
         we would have ril tbis act. ~ _
  •         I do not~ gentlemen, th'at I can hefp _vezy mucl1 in the det.ails             I


• · of.   t¥8      bill. we hare followed,_.where we could, the lo.nguago of ·
         emtmg laws as.to revenue _terminology; and we have followed the
      · .Jhrri!:iOn Anti-Nareotic-Act"in language so as tO get the benefit oC
         tmY polillible interpretation. that .the courts may have made of that
   - . act. We bave' giveii thls- bill the best study that we coul<J, and'1We
.'       want yi>urJiiJp. We are very IUl-'tiou:s to obtain its p11888g6 and, it
-. 1thare are any things-thati ought t.o be changed, or any features or it
          which ought to b.e improved, as 1 said before, we are only too happy
       • to b&v& it done.                              .                    \
             Now that is·really nil I have to say, Mr. Chairman, unless there
          are lome gueetions which some of the '1Delllben desire to uk.
                ...       '   -   .-                      ~
                                                           •              Exhibit A, Pg. 728
                                                  -
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                                                                                    •
                                        lfAT101'AL flRBAnlit8 ACT                                         7
                 Mt. Fu.\11. Gen&ral, I think every member of this committe& who
               bu ~n a prqsecu!-ing officer at any time appP!Ciat.es t.he work that
               your .Department has ~n doio~ partioularly on kidnaping e.nd
               matters of that kind 1 and I speak of that because I had for yeara a
               near relation to police '>fllcials in St. Paul, o.nd the· difficulty of
               gett.ing prisoners over State lines haa bean t!lnPhasiud in the pa.at.
               I~   was helpful, whether they were responstve or not.                       You have . •
               great diffi.cUlty, of course, between Federal ~d State laws.          "
                 Attorney Gen.eral Ctn.naNoa. Yes, sir.              -             .
                 Mr. FaE.AR. I notice in all of the work tltnt h1113 been done you
               have been veey hetf ful to the State authorities.            · . .~   ..
                   Attomey Gmera CUNlllNOS. Yes, sir.                     ·
                   Mr. FaBAR. .An<l I think we appreciate tba~. I Will! just wond11"' ,
                !ng- you have not pu,t n provision in here by ntenns of wbldi t\ man
        •       like Dillinger who goes into police headquarters and gets :vests. und'
                arms-you have not providBd anjthing in this ·bill that COV619 a ' ..'
                situation like that, and there is this suggestion: .Those coats and those
                vestsb·tJu~t are for al'1Dament !Uld purely a matter of erim.ixial uae, if . ·
                this ill could be broadened in any way to co"9'er those thing&- ~
I               whether your office had considered that.          ·
                   Attorney General OUlOiliNos. !At me answer ~ur interrogatory, •,
                                                                                    -
              · Mr. Con~, m· two .seoti.ons. Fir.It, with regard t.o ~$.Clllng- a ·· ·
                man like Dillin~.r: There is nothing specific in this act that dwe .
                with t~at situatton. There !a pendpig..oowever1 before the Judiciiuy· .
                Committee o( tbe House o. bill making 1t an offense, o. Federal offense             ·
                to flee across a State lino to-escape'/roseeution !or a felony and~ if
                that bill should be enacted, we woul be able•to reach crinunal$ who,r
                a:re passing npidly from one St11to to another. The mere raot of
                going across a StatAI line for ,such a · purpose would in 1hel£ bo an
                offense.                                            ·                •     .' •
    t              Now in regard to vests and otbel' pl'l.>t(lcti ve annlllJl·ent, the reMOn
    !           we did not go into that, to be perleeay frank with you,.sir, ie becauae '
                we were not confident that. i.he committees woufd go nlollg witb UIS.
                          a
                There is great deal of hesitancy in expanding the Federal powera
                too much and these things that you mention were -merely foft out""
                a matter o! judgment. Now if the conunittee Whnts them .in, it is
                all .right with me.             ·                      .        ·-      , .:    •
, '         •      Mr.   FREAB. 1 was wondering if it had been CQnsidered.
                   A.ttomey,Genersl CtntMINaa. It has been ooilsidered nnd left QUt
                merely because I did not want to gQ before any comnu          .· •ttee and. ask
                for too much. I wanted to ask for nil that l thought Should ne
'       .       ~nt.ed to U.8. If tMy want. to giye UB more in the Wll'J of J)\)W81',
                we shall try to diaeh11.rge the duties which mn..y be imposild.upon tts.
                It wna merely a m11tter or judgment whetheT we should ask\ for it.
                   t.lr. FREAR. With an. officer of the law trying toge.t a ma.n who ii . :
                a desperate oriminat, who is clothed with protective 'do.thing,· of
                COUJ'lle the officer is at n disadvn.n~e: It seems to me that 'ihero nre          ,
                very few people who aro innocent wearing clothes of that kind, even
            "- for t.beir own protection.                             , · ··          ·      ·
                   Attom~ Genetru CUMllJNGs. Tbot is trvc. The things that the
                uodorworld do t.o camoull~e th.cir ii~vities and protect their penious
                are astounding. I do not know whether we fl.two it· here todny, but.
                we have a photograph token of a gangst4lr's ~n.aJ that would me.k~ .
                )~ou~ blood run cold lo ook At, Amongst other cq~Jpment found were
                                                                          ·'   •   Exhibit
                                                                                     'f/". A, Pg.
                                                                                              • ' \. 729'

                                                                               \   .}   ~
                                                                                                 '   ..
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                     '
...a
    uniform.a of police officers; uniforms of the Western Union Teiegrl\pb
  . Co.'s delivery boys; and Automobile license plates, manufactured by
 - 't.he '~angslAlru themselves, which' they use on their                      cm
                                                                          to divert
, •uep1cion. We llJ'tl confronted, gentlemen, with a very serious problem,
  _ and if tile committee, as our distinguished fri1.1nd suggests, could devise
     a wa.y of dealing wtt.h these annaments, these bullet-proo( vest8-
    there are various types of them-if that could be made a matter                        or
   1>?0hibition under eome theory that pennits the. Federnl Government
     to handle it, this would be Qf great Bl1Silitnoc0. But thoro is somo
     difficlilty there, you see. .                       ·
       1!1-r. FllJ<AR. I quite agree. · .           ·        .
       Attorney General CuM,MlNllB. It would be quite all right with me;
     but, of course, we have no inherent police poweTB to go i.nto cer t uin
     localities 11Dd deal with local crime. It·is only when we can re1u~h
     thoset:;!!f:'
     or the
                      under the interst.ate colll?1erce provision_, or under the use
                    , or-by the power of taxation, that.we can act.
        Now, f9r instaitce, we am asking for amendments to the Lindbergh
     Kidnaping Art eo as to make communication not only,by letter, but
    .also by radi~r_!l_r_ telephone, o~ othel' means, by c~e.ls demanding
   rewards-m~ that a Federal offensei we are trying to strengtheo
   the law so as f.o plug up aa many of thosa l09pholes as possible.
      Mr. FB~a. W&iill lollowyoul: work and ! ,believe every member or
   e.be comnuttee co~tulates you on what you have been nble to do.
      At~ Genert1 CUKXINGB. 11. is very gracious of you to say so,
   sir. I must say ~ &re very much in' earnest about lt,, working very
   bani with it, and there is a fine morale in°the Department.       ,
   . MJ-. CooPEB. Mr. .Attorney General, I am thoroughly in sympathy
   with the purpose sough~ to be accompli8hed. I feel that the situa.-
   tMin }lftllellted by you here is Tea.Uy a challenge to goverrunent8.l
   auµiority and org~ed sooiety and that we have to m~t llD.d solve
   this prof>lem. Havmg such a \Profound respect for your views, I Wiil)~
   to ask one or two questions in connection with thia bill. I invi~
   JQUr atteuti.on to the language appearing at the top of page 7, begin·
   Ding in line 3-                                .. ·                                         I
       •· •   •   Whenever on trial for a vlolAtioo of thil eeat.loo the defendant !JI
   liboW12 to haft or to have had ~on of such imported firearm, auclt ~·
   Ilion aball be deemed suffieieot t:Videoce to au~h_prbe co'!v!ctlon uoll!llll the dJee!.
   fe'odaot exp~ 1ucb pOil
      .....
                                      · Ion to Uie eatldaetion of the Jilly.
                                                                   '            ~                  ,
      I would appreciate your legal opinion on that provision, as
    whether the bu.nle:n of proof i4 placed upon the defendant in the trial
  , of the case, or wh.etbw it in any way aJfcets his presumption of
    innocence, that we all recognize a.s being thrown. around .him as II
   protection.                .
       Att.o~ General CumaNoii,. No, it does not -shift the essenti
                                                                                           J
   bmden nf F.<>Of OD tbe trial, but it doii!it ~hen oneet?!"tablisbed;~uir-6
   ui explanation by the defendant. Aria m formuJatmi; that particular
   ~. we followed preceisely the language of a similar provision
    of tlle :N&icQtic Drug Act o{ Februar.v 9, 1909,, cha11ter 1QO, as amendl!<l
   :e:
    re1-t.ing to the importation or nlll'COtic drugs. That J>rovision was
              in the. case of Yu H~ v. Unikd StaltB, 268, U.S., 178. We
             t that lf we followed the language of that act, m1181U\J.oh as lhe
    Soplt!Dl& Court had passed on the-language, ib WllS safer for us-so to
  . do thafi to attemp~· to formulate IB.nguage of our own.                   j
                                  '                                                 Exhibit A, Pg. 730
                                                                                           I
                                                                                           I
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                               lU.TJOl'f.U. JTBB•BllJ! A.CT                            0
                                                     "
         ~ir. Cool>ER. It was my     mpression this provision was siinilJlr to
       the nAl'COtjc provision refotnld to by you, and that bad been up~d.
      _ Attorney General CmunNae. That is .it exa.ctly.
         Mr. CoOPl!IR, l thought, for the·benefit or the record, that should
       appeB1' specifically at this point.                -                 · ·
          Attorney Genera.I CcMJUNoe. That ie quite truo.                      .
        · Mr. CociPER. ·Now ju&t one. or two other questions. 1 would ho
      ,interested to get your opinion about meeting the probleDl with.refer-
.I    ence to arms already in the J;>OSS8R!lion of the criminal element of the
      country. As you stated, it lB your-estimate there are some 500~000
      of these .firearms in the hands of the criminal element o( the COtlnf.17
      11ow. Is it your tho~ht that this bill would .o.ft'ord some effectiYe
       means of meeting a~d dealing with that problem, whcre the arms lll'll
       already in the ~ion of those crimin8.ls?                      ·    ·
          The OaAiaMAN. ·Mr. Cooper,. I understood the General 'to etat.e
       th8J'e wero 'soo,ooo_ ~of theso unde~orld criminn.ls who were anned;
       not 500,000 firea.nns. ,,                                        ' ' ·
          .Attorney Ge::LOral · Ct114MINoe. Five hundred thousand individuals•
          .Mr. CooPER. I am clli.d to liave that cleared,up.
          Attorney General Cfuvu'moe. Ono individual might have a dozen
       different types of armament. .
         Mr. Co'oPER. Yes. I roo.J..ize that, or course; butl wa.s wonderi!)g
      y.rhat Y!?Ur opin.ion.' would be~ to the eflective~ess or th.is measure.
      m meeting the pro~lem ~hat , is presented ~Y. this large number of
      weapons now bemg m poesess1on of these cri:l1linals. -
         Att.omey Generiil CuMM.ll'Jos. Well the only· answer I can give to
      you, M.r. Cooper, is that I racked my brain to try to find some l!inJple
      and effective manner· of dealing with those already e.rmed. Thia
      bill ie in two parts, The first part, tinder the internal revenue measure -
      deals with weapons as they now are coming out of the factories, ~
      it soomed to us t hat tho establiahment of a ~Yl!tem for_ tho ~ of
      the weapons from owner to owner bf a certificate of title miltbt iilio
      be attempted with reference to arms already in exietenoo. lfwe can
      on~ make a start and begin ~f:h the manufacture-and ~posal eo . '. '
      that each person hereafter obtammg a weapon of ·the rrescnbed t1JMI :·
      woulc! have to show'his t1tle t.o it and the proplie.ey o its poes'esSion,
      that is about nll we can do wit.h tlui.t part ofihe problem.                            ,
        -'rho' other part of the problem iS dealt with under the lnteretat.e
      Commerce p~ovision, which makes .it an offe~ to enrry in interstate
      co1;11Jllerce nny of the weapons which arn under tho ban of tho law, •
      \'lith C11rtnin exce{>tl.one. · So, it, for instance, Dilliniser1 o.i:....any other · 1
      ol those roving cnminuls,. not having.proper oredentuils1 ehoulcl cnrry.
      ~ .revolver, a/istol, a [;~wed-off shotgun,. or machine gun, across a
      State Jim~ nn we could demonstrate ~hat foot, that 'Of. itself would ·
      be an o.ffenS&, and the weapons would be f.orfeited. . .And that is tho
      only way I can tliink of to hnndlo this where the weapons n.re already
      In existence. _                                                                     ·
          Mr. CooPER. I realizoi of course, .thi difficulty involved and I had
      this thougl1t .in mind-w uch, of course, you will l"Qndily npJ>.rocinte-
       tbat whatever legisla~ion is reported-will have to be eus~ned to a
      very_ great extent by the membets o, this committ.ee in th!l debate in ~
      the House.                                                                            •
          Attorney General Cm.tmNos. Yes, sit,                                   "' .
                                                                     Exhibit A, Pg. 731
                                                                        I
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                                               -- ·--
                                                                            '
      Mr. COOPER, And I am. just trying to anticipate 0. few quostionl!
        that 1 apprel1end will be BSked during that timo. And it occurred
        to me. t·hat was one veryi mportmt thing to bea.r In mind, that is. the
        large number of these weapons that are already in the hands of t.ho
      · criminal element cJf the country, and whether or not it is your opinion
    _ that this bill affords an effective means of meeting that prohlcm.
             Attorney General CullJ.l.lNOB. I think it is 11.S far as I would bo
      - warranted in ·nskitig a committee t o go l\t tho present time.                     •
             Mr. Coo~ER- I see.                                              •
             Attorney G~eral CuMMINOB . I think that it does two crucial
        thiDgs. It dea.J.s with the tracing of these weapons if traded or tran17-
        ferred after this aot goes int.o efftll!t~ it deals with the requiremen~
     - of licensing if a eenK>n is to take any.weapon ircross State liries.. And >
    ~ 1; am assuming m all this, of course, that the criminal elements are
    . ~n_ot going to obtain permits and they ·a re not going to obtam licenses,
       llUld they are not going to be able to bring themBelves· within those
        protective requirements. Therefore, when '!VO capture o~e of those
        people, we have aimply a plain question t-0 propound to him-where
        JS your license; where ts your permit? If be cannot shQw it, we have
        got hin;i and .his weaP.Ons and we .d~ not b_a ve ~ go tlu:o~'h an elab~
        rate trial, with all kinds of complicated questions answg. That JS
         the theory of the bill.
'..          Mr. CooPER. Then it is your thought that this bill presents the
         best method that the Deparbnent of Justice has been able· to work
        out, in view of its long- experience and intensive efforts a.long tlmt
• line that have been made?
             Attorney General Ct1mcINoa. Bearing in mind our limitat.ions or
         the coustitutiooal character, bearing in mind.pur limite.tiorul to extend
      · our power beyond the immediate requirements of the problem, thia
         i.s our best thought on. the Subject.
            . Mr. CooPER. And this, as indicated by your opening remarks, is 4
         ~important part o( your whole program?                                        •
             Attorney Gen6ral CumttNos, Absolutelt-
  i
              Mr. CoOPEit. For mooting the criminnl situation now existing in the
         «'.ountry.                ;
              Attorney General CuMMmos. Yes, Mr. Cooper.
              Mr. Cool'ER. And"is an important administrative measuu?            ·
             Attorney.General Cl".rM1111Nos. Yes, sir. I ~ht add tbnt the
         President has authorized me to say be was. strongly in fnvor not only
       ·of this mensure, hut of all the other pendi.ngmensutes the Department
         of Justice has suggeated.            ,
              Mr. CooPER. Now, then1 one other phase of the mo.tter if I mo.y,
         please, and tlmt i8 with referenee to the truces and penalties imposed   -7       -
         by the.bill. Would' you feel disposed t-0 give us some idea BS to what. ·
         you think those'tnxes ahould be?- You have observed, of course, thn.t
          the amounts are left .blank in the bill. . I invite your attention to pnge
        .3, where there are soine 4 blanks appearing on tbat page; pnge 8, wheJ"e
          there is a blank With reference to the fine and the lIDprisonmont to ho
          imposecl;.p~ 9, where there is a blank. 'Vould_you feel disposed to
          ~v'e ua r::-views M to what would be the p~per amounts to msert in
          thoee p         ? •                 ·- .                         .
              Attomey General·Omoa:INGS. Yes, SU".
              Mr. II.ti.ts. Would you supplement I.hat by asking lor an estimate of
          the .rev~ue which would be produced?
                                                                      Exhibit A, Pg. 732
                                           •
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                                )'U,TlONAL !'lREABM.8 AOT                        ll
             Mt. Coou:n. .Yes~ I would be glad to have 8J3.Y estim•te made of the
          runoun t to be yield ea by this legislation.
             Attorney_General Cuaoo.Nos. .Answering for t.h:~ moment your
        ·question, Mr. Cooper. On page 3, line 5 of the bill, there is & special :
         't ax of blnnk dollllfll Ii year foced upon importers or manUfacturers,
          and a'll unnamed annual tax upon dealere. We hesitated to make- .
          any specific suggestions as to amount. because they are mere.mattere
 •        of opmion. But, for what it is worth,. we would suggest that a tax
          on importers or manufacturers of $5,000 a ye·u would be proper.
          There nre only four bBSie manufacturers in the country, large manu-
          facturere. I see no ree.son why it should not. be $5,000 a year, and
          dealers $200 a year,                                       '
           : The! CeAtR1o1AN, General, would you not include for l.b.e record
          th.a names of those four large manufaeturct'B you referred t.o?
       · Attorney Ge.n enil CtrvMtNos. Yes; I will supply that.
             ?\fl'. COOl'ER. Then, oli the bottom or page 3, General? . .
             Attorney GENERAL Cu1o1111Nos. On the bottom of page 3t ~line 23,. ·
          the1'8 is the ta.,: ,on fiitle.rms sold, and~ forth. F or maclline guns,
          $200 and, any Q!her fireatms, SL                                            -
             Mr. CooPER. That is $200 in the first blank i.n line 23, and $1 in
          the second blank?.                                     .
             Attorney General CmouNGB. Yee. lt rather pe~es the ma--
          chine gun. N<>w in the next blank-·-            .                        '· ·
             Mr. WooDaun. Mr. Attorney Gene'tlll,· you suggest a tax oI $200 .
       .on the sale o{ a 1!1ftChine gun. l undetatood a moment ,ago you ea~ .
          that t~oso m11ebine guns Wllf8 mnnufoctured almost exclumvely by .. ·,
          four dift'erent concerns.            ·               ·
             Attorney G11nenl CmooNos: 'Yes.                                   . .
             Mr. Wooo~un. Now it seeine tO me that possibly jt would h&ve &
          somewhat wholesome eiteet UJ?.On these partieulu manufacturers to
         increase that 11tabstantially. They can not have mueh•to say; they
       , woufd not b&ve. much reason :to complain if the t8x w~re made much
         larger than that; because, as we know, machine $\ln8' are in the pos-
         session or pni.etical.1,- all or the crimin.,ts in tl1e oou,~'try who desire .
          them; the fact that they have them mUlit be due, to soine·small a'l:tent
         at least, to either carelessness "r worse on the part of the people who
          manufac.ture those~-       rs      that a reasonable deduction?
             Attomey Gime:ral CmtwNos. \VeU let me.sayja few words on that
          ii y~u will, sir.                          .       I',
             Mr. Wooonon. I would be glad to !\ear you, General.                    ·
             Attomey General OuMlUNGS. Iii the pas; tliat has been 'truO-
. '       th.e presence of machine gunsin the hands'ot the.criminal classes      baa
          been a re.llection upon the ~ufacturers of those weapons.                    i·
             Mr. W 00011un. It certainly has.               · .                         ·
             Attorney General 'Cu1UONoe. Now there is only one, reajly, the
          Colt Co., of Hartford, Conn. -my own State-I think that is the •
          only manufacturer now or the type or machine gun used by gangsters
          and' they ~ve entered into a gentlema.n's agreement with the De--
          putment of Justice by which far·greater care .is now being taken. ilh
          conneoti,on ·with the ·distribution of machine guns. Therefore I did\
          not·want to have-it thought that they were entirely responsible. · · ;
             :Mr. WooDaUJT. I do not say "entirely".               .
             At~mey Gene~ <?~Nos, They have: b~n_quite cooperative o! \ _
          late1 mr, and I .think 1t l8 becaUBe they have realized what a dreadlul
                                      .                   I          Exhibit A, Pg. 733
                                                                    -·'!
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     12                  JfATIOlf.U. rm•ABVB •ar

     thinsl i~ baa been for thoee deadly and dangerous weapons to be in
     the 6anda of those criminals. ·
       Mr. Woooaun. General, I do not chArgt th6Jn with the entire
     reeponaibility.                                         ·            .
 .     Attorney General 'CtnnnNO&. No, sir.
       Mr. WOODRUl'J'. But I did  rrrand     do now fool t hey have been-to,
   a gteat exteo t reepomibl.e..                               ·
       Attorney Oeneial Cmo1u1oa. You are quite right.. . Now you
   could J>Ut that. higher if you wanted to as far u I am concernod.
       Mr. Woo»ttun . I would like to ;;le alMlot the provision in the
   lu.t. J>~Ph on page 1-
       Mr. Cool'EJL Mr. Chairman, I onl_y yielded for a question.
       Mr. WooDRtrn. Juat before h e leaves this, then I am through. r
       Mr. CooPER. ~fy point ie this, that I only yielded for one qu~
   tion and I would like to have iD the  recoro,  i.n one plaee, about these
   taxes, and then we can go back and pick up theeo other mattere. IC
   the gentleman will pardon me, I prefer to keep this matter together
   in die reeord.
       Now just one question, if I may, in reference to the suggestion
   offered by you u to the tax provided in line 23, on page 3: That is
   $200 per machine gun'i        /
       Attoruey General CuuanNos.. Yes.                  .
       Mr. COOPER. Io that connection, would y0u be p1'8pated to givo us
 , sonie information 118 to the avemga cost of ono of those machine guns?
       .Attorney General Cuw1nN011. Tho cost n ow is about. $200.
       Mr. CooPER. \That is, delivered to tho p urchaser?
       Attorney Gen6ral Cuuunrns. ·Yes, sir.               •
       Mr. CoorER. Then tho prop0&ed to.x of $200--
        Attomey General Ct1MMlN08. Would be about a ·lOO·petcent tax.
       Mr. Coov~ About a \()()-percent. ta."t?
        Attorney General CuMMtNO&. Yes, sir.
       Mr. CooPER. Then pass on if you will, please, si.r, to page 8 and
   g:f'Ve us your idea as to the amount of fee that should be imposed in
   the provision in line 16.
        Attorney General CuwM1Noa. In line t 6, on pa.,~ 8, 1 think a dollar
   for each pennit is 1t1asonablo.
· • Mr. CoOPllR. Then on page 9, General, the amount. of the fine and
    the length of the imprisonment.        •
   · Attorney General Cuu~n Nos •. Jn line 14, the amount of fine1page 9,
   is suggested •' $2,000, and the imprisonment, in lino 15, not more
    than 5 year&. I will supplement that by saying that. that.is the penalty
    tha' is prescribed in the Harrison Anti-narcotic Act and we were
   foll'>wing that su~tion. The oommi ~tee m~v think it is not
    sufficiently drastic.                                          ·
        Mr. CooPJ:R. I thank you, General, and Mr. Chairman, I will be
    glad to yield the General back to tho gentleman.
        Mr. Hn.L.. Did you want t.o ask him for an estimt\te o( the revenue?
        Mr. OoOPER. I would be glad if yo11 could give u s your estimate of
    the revenue to be yielded from those various rt.ems s~ggested by you .
      . Attorney General Cn11nnsos. \Veil it probably would npproncb
    $100000.
          Mr.
            COOPER. All or them together would approo.ch, in your opinion,
    about SIOO,poo a yeu?                              -

                                                            -    Exhibit A, Pg. 734
' ' Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 62 of 250
                              "NATIONAL l'mEARMS ACT                            13
        Attorney: 9eneral Cuwmoa. Yes, sir.
       . ~lr. MCCLINTIC. Will you yield for a question In connectio11 with
        that7                    ·            ·                 · ·            -
            Mr. CooPEn: Yes.          .
            Mr. McCLtNTJC. I would like t.o ask just one question. I am ;
        v~ry much interested in tlus subject. What in your opinion would
        be the constitutionality of n proV!sion added to this bill which would
        require regjstration, on t~e part o~ t.b~ '!ho now own the type or
        clll5S of weapons thnt are mcluded m tlUll bill7
            Attorney General C'UMMINGS. We were afraid of that, sir.
            Mr. McCLmnc. Afraid it wot.lid conflict witJi State laws?
            Attorpey Geneml Cuu1«1Nos. l am afraid it would be · uncon·
        atitu tional.        ·           .
            :\fr. McCLINTJC. That is wl1at I wonlt to know.                   _
       · · Mr. Cool>ER. Now tbe.n, Mr. Chnirnum, 1 will be glnd to yield
        bock the gentleman to Mr, Woodruff.
           .Tho OnAIRllAN. J: understand you are thro11gh now?
            Mr. Cbol'EB. Yes.          \
            Mr. CULLEN.. Pardon ~ suggestion, but my colleague Mr. Cooper
         understood, ae he was collecting this data to have it assembled in one·
         place in the record, that the $351000 being collect.cd now by the Gov-
        ernment would be eliminated?
            Mr. Co'oPER. -Yes; l understood from the Attorney Genersl it       was
         his estimate-a6d I am hsving those ft.gw:es checked now-that the
         presen t yield from the tax on revolvers, lln$1 eo fort.h, is about $35,000
        a yenr. .And of course, as he•euggested.)lere, that would be eliminated -
        if this new tax were imposed. ·            ·
            Mr. HtLL. Will the ~entleman yield for o. question?
            Mr. OooPER. Yes, BU'.
            Mr. HILL. Where is there in this bill a .provision for the repeal of
         those ~es? ·
             Attorney General CmnUNOB: Section 14, page 9, appe&n1.to be the
         place.                                                                         •
            Mr. KNUTSON. General, would there be IUlf,objection, on. p~ l,
        line' 4 after the word .. shotgtJn,, to add the words •or rifle" hsvmg a
         b~ less t~~ 18 .inches? . Tqe reason I ask th.at i~ I bap~come
         from a 8ect1on of t}\e State where deer hunting 1s a -venr. popular
         pa11time in the fall of the year and1 of course, I' would not like to pass
         any legislation to forbiil or make it impossible for our people to keep
         arms that would permit thorn to hunt deer.                                   ·
             Attorney General CUMMINGS, Well, 3s long as it is not rnent.ioned
         at all, it would' not interfere at all.              .                   .
             Mr. KNUTSON. It seems f.o me that an 18-inch barrel woultl make .
         this provision stronger than 16 inches, knowing what I do about
         firearms..            ·                       .           ,            ·
             Attorney Genenl Cu.mu.Nos. Well, there is no objection as l11r ns
         we ate concerned to including rifles after the word "shotguns" if
         you desire.                       ·                                        .
             Mr. KNUTSON., Why should we permit the .manufacture, that is-
         permit the sale of the machine guns t.o any one outside nf·the several
          branches of the Government-for instance, the Federal Government, . ·
          the sheriff's officers, and State constabulanes?       '            ~·    ·
     •       .Attorney General Ct11111INos. Well, there are otherconceivable·uses.
          For instance, in banking institution.q, we want to protect the bank&.
             llUT8 U     I                                        Exhibit A, Pg. 735
                                                                                --~     1'
                '"
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     1~

       ~fr. Ktro1"90N. They could 11wear their guanl11 at t.llll'a"'nka in l&.S
    deputy aherifta, which would allow them to uae macbl~'gun.s.
   . Mr. SVMl'fEl!.8 of Texu. Pardon a s~tion, but ~not this th~
    anawer, that this is a revenue measure and yt>u ltave to make it
    poesiblo at least in theory for these things to mo\•e itf•order to get
    mtemal revenue?                                             ~           \
       Attorney General Cua.1111Noe. That is tho anawnr exactly.
.      Mr. SuwNER& of Texas. Mr. Attorney Gooeral, with the per.-
. . mi.aaion of the Chair, may 1 uk t.-his one question: I notice you put
    in .. the description or a machine gun a gu.o Uiat will shoot autcr
    mal.icall.f 12 or mo:resbots witibout nlloading. Would you-anticipate
    the possibility, if this bill should be pa"eed, oC some W18Crupulouu
    m&r1ufacturer of these machine guns cutting it down to 11?
       Attorney General Co111UN08. No, sir; 1 ao not. tbiok IO.
       Mr. SVKNEJlB of Toxu. 1 do not-know enough nbout it, but· thnt
    po!l!libility occurs to my mind.                                   '.
       .Attomoy General CoMK1Noe. They are only made                 br
                                                                     tho Colt
  · peo11le and the Colt people hAv~ been very cooperAtivo o lat(l and I
    would not believe Cora moment that they would try to O\'ode t~ law
    b1 any auch device. . .                   r                  •        .
       Mr. Woo1>aun: I will se.y, Genenl, tha' &be question raised.by my
    friend Crotn Te.~as. Mr. S umn11t11, is exactly the question that I wtShed
    to~ropound to you a moment ago. You._, that tho Colt Co. is thu
    o one that manufactures machine guns!                            ·
         ttomey General Cu1111uwos. Yes, eir.
       Mr. WooDRtrrP: Are you sure about that?
-      Attomoy General CuwurNoe. That ia tho 1;1ubmachioc gun, tho
    emaU Jcind-thatis correct.
       Mr. WooD.RUl'F. Well there are otner machine guns, however, that
     a.re used? -                               ·
       Attorney General Co1uuwoa. There are m.acliine guns that some·
· . tJ.mea got in by importation.
       Mr. \V'oo1>.RUFP. Is tho Browning machine gun manufoctured in
     this co1mtry?        ~                                      ,
         Attorney General CuMu1Noa. The lllUl\e company, iC I teonll
     <:0rrectly, the Colt Co., tnonufacturl'S the Browning ~un. B11t tho
     Browning gun 'is not eo.aily troosj.iortablo; it is n lo.rgo, cumbol'Some
      weapon that would probnbly not 1be used by the criminal clnss. So
      the.tit is not absolutely necessary to bother witli i t.
         Mr. '"oonauFP. I sec. \Vill you induJg~ rue, ~fr. Cbaimum, iJ I               .   I
      tnu.ke a short st.atement?
         The OnAm.i.u;. Go ahead.
         ~lr. WOODRUFF. 1 '1\-ish fu sov, General., that !or tho last 5 or 6
      years I hnvo bad before tbe Holise 11 bill to <lo exnctly what you 1u~
                                                                                     ,.
      now proposing to do. I w&nt to congratulato you on that. You
      can imagine the yleaauro it givl!s me to know that ati lost the Depart-
      ment ol Justice IS recomn1cnding t.o tho Congress legislation that wilJ
      give the Federol Government authority over interstote crime.
          Now I have addressed letters to every .Attorner. General for l.110
      le.at. G or 6 yeam enclosing a copy ot my bill, ask.ing department.&l
      approval ol that bill. 1 tliink my friend irom T &x:as, tho Chairman
      of the Judiciarv Committee, who is present, will boar mo out. when
      I eay Dl)' bill hoa been beCoro his committee dtnins this pori~ of
    • time, .~d I ~ l even ad~ · a communication .to                   you.A,
                                                                    Exhibit l air,
                                                                                Pg. 736
                                                                            I
                                                                            r
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                                                                                     16
           when. you 1iret bet-nme Attorney General of the' United States, and
           end~ a copy of my bill. And that IMt bill that I introduced at
            the beginilmg·of this Congress provided 11- penalty tor any man flee-
            ing across State lines who was accused ot crime. I am b~ppy to
            know you have such a bill as that before the Judiciary Committee.
            I hope you will have much greater influence, though, \\itb the very
            honorable chairman of that committee than I hav!S.had in the past; -
            I hope you have more inJluen:e with tbc committee and that the
            legislation gets out ol that committee and before the Congress and
            becomes a law in· this session.                      '             -
                I believe we arc engaged in a war again.s t crime and I believe w-e
            ought to bring up every element of strength we have to win that wat.
            Again, I congratulate J'OU.
                Attorney General CUVlllNGB. I thank you most sin.oorely , . Mr.
            C~gressmM.             ·                         ·      -
               Mr. Fui.Ll!R. General, 118 I understand from your statement, this
         - bill does not contemplate that private individuals will have to regjster
            or have stamped their pistols that they now own.
                Attorney Gen~ral C}o.t~NGB: Not unless they sell them, or give
            them away, or otherwise dispose of them.              ·
                 Mr. FULLER; J{ they dispose of them, then they hav<> to transfer
             them with a bill of sale, or something of that kind?
                Attorney General CuntNas. That is it.
                Mr. FULLER. For inst&Dce, if a Member of Congress drh'1.Jig to
            Washington would put a pistol in hie car, he would have to tiave
        - - that registered before he stu.t ed, would he, nnd have it ete.mped? .
                 Attorney General CuMMnros. No, sir; in section 10r sir, subsection
             5, poge 7, prohibiting cert.nin acts without a permit1 it indi~tes thit
             it does not apply to a person who hes. legally obtamed a license fC11'
             such firearm from the State, territory, district, or possession to which
             such firearm is to be sent shipped, earned, or delivered. 1n other .
             words, if he has thus compiied v.ith the State law he is E'xempt under
             the Federal law.                .         .                             .
                 Mr. FULLER. But he would have to have some Instrument to shsw , ·
             it and in most o{ the States, I imagine, they haV"e no Jaw to require .
             an owner of a pistol to show he.is the oWller of it. Thero is no regis- .-
             trat.ion, for instanc~, in the State of Arkansas. We had a low'requir-
             ing the regialration of pistols. and 1 year we did do that; but it was
             so unpopular that at last the legislature repealed it.
                 Now, l.,have a pistol; soy, U:i my home whoro I live 1U1d. I inter-'
             pref.ate under this bill I . cannot give ~hat awn,y, l cannot sell ii, I
.' I'        cannot dispose of it, without rQgisterin_g it or ¢ving a bill of sale•
                 Attorney General CUMMINGS. That lS comet. "
                 Mr. FULL~R. Nor _can 1 cqny it ac:ross a State line.
                 Mr. VrNeON. ·Wm the gentleman yield right at that point?
                 Mr. FULLl>B. Let him ans~er ,the question, first. .        ..      .       ;·
                 Attorney General Cuwjf\Noe. You woult;l not bo requJrcd to have
   I          a license-or go throu~h     y other fonnafi.t,ies.excopt in the disposition ·
. l          (lf·the weapon to so             else. And _to go across a State line, you ~
              wou!d find yoursel! sub t _to no inconvenience whatsoever, if you ·
              complied: with the law of the pla~ you were going to. . •                · -
                 Mr. VmsoN. Now!.. q,eneral, in that connection, the gentleman'
              from .AJ:kana&e (Mr. .l"'Uller) -ref~ to the State or Atikansas haTicg

                                                                         Exhibit A, Pg. 737
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16                       lUTIOliAL ]l'lllBABMS •O'l'

no law grant1ng.pormits t-0 carrJ pist.ols. This subsoctiot1 5 of sect.Ion
 10, to which you l'llfer, m.a kes it necessary for you to hav0 obtained o.
license from the State, Territory, District, <>r possession f.o which s uch
fu'3arm is to be sent, shipped, carried, or deliv<1red. That does not
~pply to the State from which tho iiNarm is carried, as I ro11d it.
   Mt. HJLL. Thai would apply to half a dozen different Stntes.
   Mr. VmsoN. Yes; ihat applies to States into whinh the pistol or
revolver ls t.o b& carried.
  Mr. HILL. lncludinir the District of Columbia.
  l1r. VmsoN. And I do not tl1ink it is confined merely to sales;
because tb11 Jan.guage in section 10 refers to tl\e ~n<ling, shipping,
<'o.rrying, or delivering o( any firearms~ l.nte.rstate comme?tm.
  Attorney General -Cu.MMINQ8. To whflt seetion are ·you referring
now?    .        .                          ~
  Mr. V1~N . 1 om referring to t.b e one you quoted, subsection 5
of section 10 on page 7 of the bill, et t11e bot~om of t!1e page. . .
~.
                               ~
                                      .
   Attoat&y Genera.I Cuu.ldtNos. And wl111t is the d ifficulty wit.{). it,
.• ?

  Mr. VrNBON. Well it does not refer to the granting ot a. pennit in
the State where the person lives and hl\S llis revolver legally. That
language refers to tlie aecurinf! of a permit frnm the State, Territory,
District, or possession in which the firearm is to' he sent, shipped;
carried, or delivered.
  Attorney General Cuu:MlNGS. Yes, sir.                    ~     .
  Mt. VrNsoN. Th~ you would' ~ve to get a Permit, if you were io
Arkansaa and eommg to Waabin.gton, you would bavfl to get, I\
permit in every State between Arkansas and the District of Colum-
bia, and in the· Diatrict·of Columbia; or you would be violating the
law. I would like for you to refer t<> subsection 5 of tJ1at section and
say if that ill not true?
. A.ttomey General Cmnmms. If you are going from your home,
we will 8ay, in some remote State, to Wo.sliington, D .C., it is not
contemplated you would have to have a permit .from every inter·
lnediate State.                                       .           ·
   Mr. ViNsoN. It is npt a question of wh1lt is in contemplatio~ it is
a question of the lang:Uage, General.                           ·
   Attorney General CUVMJNOa. 1f the.re is any doubt about it, you
 may, of course, clear it upt I have no objection. That certainly was
.not the p1lrpose. It was tne purpose not to compel a permi~ so long
 asy9u complied with the law of the State to w~ch you were ~ing.
   Mr. V1b!soN. That is right. The State to whirh yo\l are gomg.
   Attorney- General CuMJ.ltNcs. I think it very clearly states that.;
 but.if y-ou have any ~oubt a~ut it, c;lear it up.            .
   Mr. VUiSON, No; It does tliat, It states the Stat.e to which yo11
 are going; · but .You, in answer to the query of the gentleman from
 Arkiinsas, said 1t was a question of securing a pemut in the State
where the·party lives-in Arkansaa, !or instance, as he asks.
  Attome:f; General Ouu:mNos. Oh, well, you woul<,l not be exper.i ed
to obtain a permit from a State that does not issue .thein.
  Mr. FuLLEll. But if you were. going into a State tbat did reg'Uire
a ~rmit-!or instance, I have f.o come through Missouri and Illfuoi.s,
and I would have to secure a permit from each one of those .Stat.es.
   Attorney General Cu»M!Nos. .Oh, Z..o. I do not thlnk that would
be the rair interpretation.    .
                                                              Exhibit A, Pg. 738
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     -)                                    .
                                   lU'!'.t<>lUL ftBBABHB A(l't
                                                                               .. 1'1
             Mr. hut.ER. You do not mean tliat that is the inteot,ion of tbe
          !Aw?         .
             Attorney Oener&l CtrM~we. Oh, no ; and neiLber ie it the la~~e.
             Mr. Ft1LLER. And if the language of the law is such that 1t d<>fl6
          require it, you would not have any objection to corrooting it? · .
             Attorney General CoMM1Nos. Absolutely not.
             Mr. FULL"ER. Would you have any obj!llltion to an officer of tl10
          Jaw who has a warrant. or is in pursuit o1 a crimi.ne.l, carrying a weapon
          i.nto another State? He has no time to atop and hesitate abi>ut getting
        " ~~ey General Coinamas. That is includedm 'he ac~ -                          -
          Mr. FtrLLl:R.. Wb~?
          Attorney General Om.i.1uNo;s. Page 8, ~e t- - · _
          Mr. Ft.Lt.ER. That keeps him from rcgist.anng, but does not keep
        him from transporting.
          Attorney General Co1u.nNoa. If you will look at pag<i 8, line l,
        section 6, you will find the act ~luring a (!Ormit in mterstate com-
      • merce does not ~pply. to An'.'1 Unet'<d Statee, State, county, municipal,
        district, territorial or insula1' officer, or official AC ting within the scope "
        of bis officis.l duties.
          Mr. Fm.r.sR. Now ia that lor tra:nspor.t atinn; or is that. for having
          a~t!
            Attorney G~eral Cu10Cmos. ~port.at.ion.                                    ·
            Mr. VmaoN. Now, General Cnmmmg,i, let us aeaume you have a
          State officer and he goes out o{ hie State, across the line, into another '
          State; As soon as he eroases the line, he beeomee a private citizen.
          Now would he be violating the provi&ions of~ act if he had a ·
          pistol on him?           ·
            Attottley General CtJ1UO.Noe. I see the ~t you make--u t.o
          whether   the   language "within the scope or his auties" would be
          sufficient t.o protect. him. Well it might be you could improve &ha$
          ··~age.
             M:r. Ftn.LEa. Now you would have no exemption, as I undtn-
          etand-·r ha-ve just borri~ looked at this bill-for a eherifJ, a mart
          in thie Department of Justice, one o{ your lDen, buying a machine
          P.11 .and\,!: long $8
          cnmtnal
                                   you!}ave to combat       thoee
                                                            peo.Jllt!i when !he
                        one, do you thinkthey ought to be penahzea by paymg
          this e.xorbitant eum of $200 ii a man is going ~ut just to combat
          eritaina.18T
             Att.omoy General CU¥1Wros. The answer is found on page 9, lift6
          6, section 12, which exempts such officials. -
;.
.            Mr. Ftn.LJia. The question was asbd         J.'::
                                                             about the condom""
          evidence of his guilt ii a lfiAn did not have · petlnit, as provided 1>1·
          the narcotic law. Ae I understand,        thatis notlWig more than the
          prevailing law. in practically every State in tho Union, and the old
          common ~~1 .tbat the po!l8098ion of stolen goods is prima.        racie
                                                                             evi-
          dence of giillt; by the burden of proof in tho entire case does not .
          ehilt by reason of that law.·           ,                           · .
             Attorney GeD.eral CUllO(ING~. That w" the substance of the an-
          swer l thought I bad given you; yes1 sir.        .
                                                       or
             Now some, one l'.IBlce.d me for the names of the manufacturel!I
          :·~:&1l~:fa:~~~!raii~~:!t ~:n~~~trtv':!ot:, .,. -:: /
                              ;.

                                            . .- A, Pg. 739.....
                                          Exhibit
                                                                                    .. ~ ,,    "
                                                                                           • ' '1
                                      ' .
                                                 ,.          'I
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             18
·     .    of SJ!ringll.ed, ~fl.!!$., Hanington & Richardtlon, Gloucester, Mass.,
     -~:,  and Ivci-Johnson, of Boston. ·                , ·
    r,:' ' ~.•L1:wis..General, do~btless you bav~ com.pR.?ed the h_o~cidnl
       • stat.illt.ica of this country with o~her countnes like Great Bntain.
       ~, • Attorney GenflJ'!ll CtJ11.Mmoe. Yes.                 . ·
              Mr. LEWI&. Will you t>Ut thorn in the record, in connection with
           your st.lltemcnt? .            •
              Attorney General Cuiam:oe. Would you like those stat istics put
           in the record? ·                                           ·
            " Mr: L'EwJe. Yes.                                           .
              '.\ttomey Gencrml C:UMHJ.NQS •. Them, witl\ the p.ermis~io.n of tl10
         · ohamnnn of tho committee, I shall file o. memorondum.
               Mr. L~w!s: Do you ro~ll· wh;at tl!e comp arison is, so.y, bet.ween
           G~at Bl'lta1n and the United States, in a genetnl wny?
            . Attorney General CtrMllINGB. I could nott11peak otl-hand on that,
             SU'.
      r
                Mr. LllwtB. I have seen compariaon,<1 in whic\ it was said t-hat one
             ci~ in the Uoiteii States, not the Jo.rg~"'!t. had mo.re mul"ders crtc:h
             year "th.an the whole of .Great Britain..           ·        •·       ·•        ·
               · Attorney General CuJOlJNcs. 1 can 11ubnu ~ the 4101(.urnt&figures on
             that.· bu1' I prefer to submit them a.fte.1' consul~ation· of tb'e r ecords. · •
                · M'r. L£wts. .Now, in the study of this subject douht.less you ha\"e
             bad under consideration· tbe method. of denlini: with these deadly
             we~pons in other r.ountries-say Great Britnin,.F.-once; Gennnily?·
                  Attorney Geneml CuJWINos. •Yes.                            .
                 Mr. LEWIS. Would it be a matter        or  great difficulty to !rive the ~ .
             committee the bene.lit of a eornpari.son'cf aueb. methods of treatment? .
            . Attorney General Cm.IMrNos. I suppo!ll1 l could supply data on
      ' • that subject; but from my own exJXlnence, my judgment is that wo
              are a-pt to be mislead bY stntistia.._ that have 'been compiled 1inder
             different theories in 11n en·tirely di!Jcrent count.ry, having very dif~
              reicnt problems. if ,;You will pennit mo to recur to one of my fovarite
         \ illust~tions, t.41k11 fJlls situation, for instnnct: Take the Urscb<'ll
       •      kidnaping case. Urscholl wns lcidnapcd in OkJnhoina; he wns
              carried into a remote section of Texns; the demand for the rsmmm
              monoy came Crom Missoliri, nnd th<'ro wos 4lrelldy p!'\'porcd a ~nng
              of eon!cdc.rates in ~linnf.'SOta to mukc disposition of the rnnsom
                                                                                               "
              money. Thero were otker groups in 3 dilfc~ent ttdditionnl .Stall's
              nnd our representntiv<.'S hnd to trnvcl in 10 S.tnt~s in roundiii~ llJ>
               those cri1ninnls. But ~nlculnting only tho 7 orlgi.nnl Stntes; cxc}u!lh:o
              o(the oddilion.ol Sfates 1n wJlich our reproscntntives trn'\"cl<'d, tJaoso
\     •
              7 ;:,tn.ws h n.vc nn nrca of about. 683,000 squnre mil<'s, nnd t hnt 683,000 .
           · squll.J'1) · milllS !nipcriniposcd upon the mA.p     or.l~tlropc- ,foulcl · c(lv"r
              Germany, .Frnnce, Italy, Austria, Denmark, Hollnnd, ~witiet111nd, •
            · Er\g1ond, Scotlnnd1 nnd '\Vnles.            ·              · - ~             \
                  Now, thnt' is our crime problem, i;11ntle111e11. 'flum~·i is not nn:vthing
               comr>nruhle to it 11nywl1ere on the fAco of Uie globe. ·             · · 1
                  Mr. L1~w1s. \\11ot l hn'"e in mi11d mostly, GcnerltJ,- js this: Th11
               theory of individunl 'rii;ht.s thn.t is hwolved".. Tl1oro is n disposi.tiot\
    '          nmoui; <w1·Ltiin_pcrsons to ovc.rstnto thcir ri:;lts. Thqre is n provision
               in U1e Constitution..-for c.'\nmple; abuut t.he rig!1t to cnny fu-earms,
               Olld it would be helpful to me in .renol1in_g n judgment in.supportin~
               this bill to find just what restrictions u 1nw-nbiiling citizen of Great
                                     •
                                                                               Exhibit A, Pg. 740
                                                                             ,
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                                                                                     19
        Britlrin and tb~se"othf)J' countries is.willing to accept in the way of his
         duty to society. .
        . Attorney Genernl CUMMINGS. I will_be very glad to supply nll the •
         infornmtion I cnn on tbnt subject.                                .
            Mr. L£w1s. Now a very brier statement on this subject: ·to.wyer
      . though .l O.ml I have·'never quite understood how the lo.we of the
         various Stntes have been r.econciled with the provision in our Coneti-
         tlition denying the privilege to the legislature to take away the right
         tocnrrr       arms. Concealed-weapon laws, of course, are fnmilio.r in'
         the vnnous States; there is o. legnl t~oty upon which we prohibit the
      · ,carrying ol .weapons-tbe smnller weapons.                    · : .
            Attorney General CuMllUNos. Of 'course we denl purely with con-
         cenlnble weapons. Machine guns, however, ure not or that clnss.
         Do you hnycr nny doubt us to the power of tlie Government to deal· ·
         with machine guns ~s they 11re trnnsportcd in int,erstnte cqmmeree?
            1\-[r. LEWIS. I hope the courts will find no douLt on a subject li..ke
         this, Genera.I; but I wns curious to know how we e.scnped thnt pro·
         visibn in the Constitution.                         ;1
            Attorney General Cul.sMcNas. Oh, w.c dt> not attempt to escnpo it.
         Wo ate denlin~ with nnother power, nnm'ely, tli.e power or inxntion,.
     , ·nnd of regulation under the interstnte commerce clause. . You see,
         if we rnnde n statute ubsolutely forbidding o.ny human being to have
         n machine gu.q, you might sny 'there is some constitutionnI question
         involved. But when you say "We will . t~ the machine gun" and -
         when you SllY thut "the nbseilce of a. license. showing payment of the .,.
         tnx ho11 been mnde indicates that a cdme has been perpetrated", ··
         you iuc ellsily within tlle lnw.
            }.1r. LE'wis. Jn other words, it does not o.mount 'to prohibition, but
         nllows oLregulntion.            ·                        .
             Attorney, Gcnernl CUMMJNOS. Thnt is the iden. \Ve hn,ve studi1id ·
         thnt \'cry. cnrefully. ·'-.,
             l\fr. LEWIS. Just 0110 ot.l~qucstion: If tho bill were to require offl. ·
         person now holding one <lf thesb wcupons U1nt in ordur to truvel in
         another Stut~. with thnt pistol in his l>ossession ho should first hnve.tQ
         get a Fe_deral perniit, .•would you 1 not then hllV!'.l rcnched, in It ver;y'
         substnntinl way, thoso wl10 nm,·, hundreds of thousands, entry these
       . small firearms?                        •                 ·
           · Attomov Gl'nerot' Cc~nu:-;cs. \\"J1y, there is 11 question of policy
·,       uncl t11ere. are n l~t of Pl'OplA who think tliut \\'onld be too drnstic;.
          tbnt it \llo\tld rcnd1 too rn.ony' innoci'ni peo]>le who d~§_ire to carry
          wenpons for whnt tll<'Y.'tlunk.nre proper ·purposcs. Now I do not ,
          tlilnk it \1·ould be proper for 1)10 to go into it very deeply, lrnt we have
          gone us· fur · us we tho\1i;ht wo ('0\lld Hnd yet flncl. support for our
          propositions (IS 11 mutter Of poJl.cy.           ,        ,                    :
             The.re i.s m1c mntt<.'t, :\Ir. Cl1:1irm1111, 1£ you will purd()n n1<', thnt I
          nrgl ed .rd .Co mont.i.on- -                                        .            '
              1 lr. S'uM.Ntns·of Texos. Ge.ncrol, with I.ho pN'ntlssion of th<' Olu1ii'-
          ninn, something lu1s occul'l'ed to me.
             Tlic CNAlflMAN. Proct'ed.
              :\,fr. Sum-;1,;ns of Tc~ms . "1111.t -do yo\I think abo11t tlw bHllct-proof
          Yests.that iut' .pnrt of tlio t'q11ipincnt of these pers011s1         •     '.
             Attorney Gen'crol Cu:.iMtNGS. Thut , suhjcot, Mr. Sum11e1-s, wns ,
          b.rought ut> hy one of th~ nuimbC'rs of tho.committc1~. · .
                                                                       Exhibit A, Pg. 741
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                · Mr. SuvNEns ot Texas. Then please excuse me • . PlcMe di&mies i~, -
               und please do ·not cover ·it~                                     .
                  Attorney General Cuio.nNoa. Thero is. one other m.1~ttc11 tlu1t ·I
               would like to·drnw to vour uttention, that. I think sou will approve of.
              The bill ought, in my judgment, at some appropriate spot, for instance
            • as section 7 (b) on page 6'--l would. sugges't that on pnge 0, line 1
             . seotion.7 be chunged so thut' nfter ~eetion 7 the lette,r "a" be inserted
               and tho present lnnguage be coilSldered as paragraph (&.)1 and then
               that a subsection (b) be added containing the following language:
                  - (b) lt aliall bo 11nlawfui for nnyo!le to obliterate, remove, change or 11eUet
                  such. n\unbrt or other id'elitificntion mnrk. Whenever on hrfol Ccir a violntio11 of
                  thie eubaection the defendant i~ s11ow11 to hnvc or to have had f>OIJ&'88ion of aitch
                  llream1,. upun w.h ich such number-or murk sl111tl lan.vc been obli ernted, rcmo.,ed,
                  changlld or allcrcrl, such }>OAAOl'-"'on ahnll l)e <lccmctl sufficient cvidcncl' to nuthor-
                  ue eonvictfon, unl~s.' the. rlcfcnd11nt e'(plains such possee~lon to the ~tisfactton
                  of the jury.       ·                                           ·
              . · That, of conrse, speaks fo~ itself. We deal with criminnls who will
               file off the numbers of the weapons so as to m1tke it impossible to
•              truce them, much as they do with automobiles now.             .
            • ~1r. McCLlNTIC. The distinpiisl1ed Attomey General has re£crred
               to the so-called "Urs('}1el cnse' , whi<'h wns tried in t11e State nt Okla-
               homa. I. want, to say to the mesnbets of 'the committee it was my
               privijege_to attend that tl'ial. 'fhe dosing argument for tho Govern-
               ~et)t was JD&de by thA distinguished ~istnnt Attorf1ey General who
             ·1s here, Mr. Keenan. It was handled ln sur.h an effic.tent manner tbut
               all of the dtizens of my State deeply apprefiate the able prcsentlltlon
               and the fine results' obtained in thnt pnrt.irular instance.
                   Attorney General Cu~!MINGS •• On behalf of my ·assoriat.e, I extend
                thnnks to you, Mr. Congressmnn.                                ·
                   Mr. VINSON. General Cummings, I want to read paragraph (d) .
               of su bsertion 6, section 10: .
                    Any person found l.n p08seaaion <:>f 11 firearm al11ill be presumed to h~vc t rans·
                  ported euch fi":"earm In interstate com1ncl'ee contrer~ to tlin provi.ione hc·rcof,
                  unless tbat person l18a been.a bona tide nisidcnt for a period or not less than sixty
                  days or tbe State wbcrcin he is found in possession of euch firenrm. or 11nlc1!8 e11ch
              . t>Cl!'On hair in ~is poasel!sion a stnmp-nffixed order therefor required -by this Act.
                  Tlti11 p.reiiumptum m11~· l)e rebu~tcd by co111pet-011t cvidcncC>.           .
                     Now is there any provision in 11ny Fed<:lral or St1ite .st11tute similar
                  to that?
              Atunoney General CUMM1N.ns~J'.'fhe fnse ol Mobile Ra17.rood Co. v .
        ,. ·Ttlrllip Seed (219 U.S. 35) d.i.Sc'U.Sses such 11 proyision. 1f you will
           glance at that cnse, ylou wil~ that it sustains tihe proposition tl1at
                   t~ere niay be I\ lcgis ati vo.p;;,.C9.!:iliiptio11 based on.one foet followed lt_y
                   another fact.               ·        ~
                    • Mr~ Vu1s~N. \.\11n~o~t. ~1;.c:ijme hnll been committed ln the r.nse
    "              ~o wh1rh you refer?              ~ ·                                      ,
                        Attorney Gcnernl CUMMtNqs. Suppos~ I .send for .tho c11se:,.sir.
                     ~ .Mr, Vn1soN. f will .sll..Y' l n'm ' familiar in a generul"w1~y With thQ
        ,          r1l)e of presumption tkrat obthlns rclntive to stolen goods nnd pos-', l\
                   ~sioll ef ill)l'Coticy: and ppssi:ssion of distil!ed spirit..8, ~~nd pn~ticularly ,,.
                   ,..tJln referen~Jxi"Stal.e, laws 1i\ regard to hquorn. But r no\·er c111nc
                   iti'lbontact w.itti ·anytllinit tha~ even looked like n. presumption such as,
                   writtcn»l.f!iHi.citl tbis _bill in 'thut, pnragrnph. , .         ._ . .          .


              ,
                   ~'l' Nlt¢Tioy G~nQrnl CuM11!1NqS::: :i'hc n~swc1• is coufoss!on nnd 11~01~­
                        c_IY{ ~J1ctc ~not nnytlnng thn~ spc~1!1cnll~·· l eun p01f)t
                                                           1                             ti) wb1<'J1. ';'
                                                                                      Exhibit A, Pg. 742
            '..              ..              -             I ,                             .           /
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                                                                     '
                                                                                   .-
                                                                                            21
      'eimilllf' IA thls porticular,provision. Tl1ie 9uestion arose iii connection
       with a. provisi.on in another )>ill that        we
                                                    ,have pending; dealirtg with f
       lcidnaping, in which wo raised n presumption that the peraon wns
       transported in interstate commerce if no~ · returned within 3 dn]ll.;
       And when that wa$ before tbe Senate committee, . Se1111tor .Borahj :-.
       who was very inuch interested in· the matter, raised tl)e same question
       thnt you have raised, sir, as to this general power to create such pre- -
       munptions. And nt that· time we sent for 'this case nnd read 'it over.
       together and both rcncbed tl1e conclusion that it was fl constitutional
       provisio~ : So', pe~onnlly, I have no doubt that upon test it would
       be sustained. .                     .              ' .      , r
          Mr. V\NSON. or CClllrse I may reo.eh tbnt snme conclusion ~ but, •
       nt the present timo, I om just as fnT distant from such a .conclusion
       ns 11 person. couJ~ be. ·         ·     ·                   -
          .Attorney Genero.l CuMMLw;s, '.Vell the test is this, tlint it is only
       essential that tlipre shall be some rationo.I connection: between tho .
       foot proved nnd the fact presumed, nnd that tl1e infiirence .or one
      tfe.ct {rom proof· of ,l inother shall not be so 11nre11Sonnhle ,ns to be a.
      )>urely nrb1tTa:ty mandate. . ·                   .         ·     .
         Mr. ViNsoN, Tbnt provision there puts 'n citic.nu of the United
       States on triol, .innocent, however, as be moy be, nnd compels him to :,,
       rebut . by_.compete~t evidence sm:ilb'thing tlrn~. is ·not part nnd ]'>at()el
       of tl\e Cntne; tbl\t 19 1 II. 60 dnys.' bona fide residence.             '
           Attorney General CmnnNGS. Mr. Congressnian1 it ii! pe.rCeetly
       nat11ral to look nt. this crime problem from two 11nglcs; ono, the nnglo
       o! the derendant who may get into trouble-
         . ~ir. VtNSON. J om looking nt 1t from · t.!19 nngle ol n lnw-nbidmg ' •
       c1t1zen.                                                                                   ; J.
           Attorney Genentl CUMMINGS. Tho.t i~ whnt I s1ty, nnd J bn\"o no
        fenr of the lo.w-obicUng <.'itizcn getting into troubl1.>. Tlie other angle                  ".
       is that of the prosetuting 11gency
       practices. :               , ·
                                                   'vho   desires to stamp out criminal
                                                                     ·       ·              ·
       • Now we nro dealing w'iUI nrme'd people; criminnls, who 11-ave 11ille-
       out3 in vo.rious spots. They will stay in one plo.ce n li ttle while nod
       in mioth~T pluce a lit~l<J while, nn~ mo':e nb~ut~·illWl\.Ys with . n~~;
       nlwn.vs w1ll1 nnn!l. \Ve ho:ve rnccntly broken mto pluccs whore1r.nm1·
       nols hnd recently ll',ft. nnd found regulnr nr.;cnols. of mnd1i11c guns;
        re\"oh-ers, pi$tols, dips, vests, nnd f.hc· {,ord knows whnt. Now this
        p11rtic:ul11r />rovi~ion ,wn;; <'nlculn~e<I t,o t:nnb!(\ us to J1nvc 11 ens~ lllojt1inst
        pl'OJ>\c oft Hit lond. ) our fr11r 1s tl111t 1t 1111ght be used us 1111 t'!1gmc or. :,
     · oppr!'ssion n~liin;;t some innocent citizc)I~                              ·              · "
          . :\Ir, V1N1:10N, Let) nc ;;tiy to you G(•ncr11l, l _luwo hcen on U1c pro,se- -
        cuhoo. t'OO of th!' Ill\\' myseU ttnd cttn view 1t from 1!111 pro,,ecutor'sl.
        side of tho rnsn nod', so far ns the p11rposc in tho pl'<'vrntion or re;;trn.int .V
        o{ this rriml' wa\'P.i is eonrt'rnt~tl, of• rourse we nrl.' in complete ncco1'<i. ; ·
       :But we hove hnd some recent. expt:fimwrs:'in rrgm1I lo ~plcnclitl pur.· .
        pofl'i< th rit huvn l>hcm writlt•n into th<' lnw. I i-irnld rcf1•r vo u to tl10 ! '
       5-11rul-JO·y1·nr pro\-i!'ion of tho .JonM ,\rt .. '.':<~bo(fy quc..~tionrd tho \· I
       purpo~c of tliMc of us.wuo vol<'cl fur tlrnt lug1slntion; huL, wh1•11 we ~ot : ·
     1
       <llT in th~ co<>hwss nncl rolmnl':<s of r!'tro~pcct, w1•h11d iiornt1thin1< thcro-\"
       thnl I 1!0 not tl1ink noy En~li.$h S(l<'oking people lond <~ \· er ~t't'll prior' ;
       lo t1111L ti111<', :nut I know luwC' not sc:>('n "'incir.                     ·

•'
                    -                                                       .
           Altorn<•v (;<''ncml C1: ~1~11KGS. l will le1tve Uml to t1111 ('nmmitfcr,
                                                                      Exhibit A, Pg. 743
          22
                          .-
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                                  lfATIOl'iAL J'Dl.EABMS ACT     -

            Mr. Fm.t.n. As I under8tand Crom this bill if I bad a pistol of
          my 0"'11 and I wanted lo sell it., orgi-re it away, I would have to have
          a pictUJ'l!I taken..      -
            Attorney Gimera.1 GovauNos. Yes.                 .
             Mr. Ftri.r.i:R. And have to give my fingoi:prints?
             Att-Ornoy General Ct1WJlING8. Yes, you would.                  .
             Mr. F<1LLEIL Do not you think that will cause nn awful revolt oU
          over the United States amongst private citii cms, that the· Federal
..        Govtrnment is taking too. much authority?
              Att-Ornev Generel Oum.rnros. Just o. moment. I misspo}m myself .
          You' wou1'1 not bnve to give your fingerr,rrints, or your picture. It
                                                                                          .

          would be the person who got the. weapon. -
         . Mr. Fm.1;En. The man who got t.he weapon?                                      ,
          · Attom1,1y General CmwmGs. The man who· .ree&fved the weapon,
             Mr. Fut.LER. Well~he             the one wbo w:onld have to get the permit?
              .Attomey General                  oa. Yl!S, ho ~ould have to get tho permit.
              Mr. FvLt.n. What a out trlln!!J>orting? 1f I ho.d to ~et a permit
           to transport, would 001. I ha¥6 to have my fingerprints made and a
          photograph taken, in order tO get tbat permj~ t.o tr.ansport?
             .A.t~mey General CuaoaNas. Yes1 I believ~ you would.
               Mr. Ii"tn.Lmt. Now, another question: You 1..-now that naturnUy,
           outside in yaw: private life, as a p,r~otitioocr_1 there is mom or less
           te!lelltment on behalf o! all law-abtdi.ng peopte to be regulated too
           mueh, especially about pistols. Would it in·your opinion seriously
           injuni .the object and purpose of this bill if you would elimineto
           pistols and let us get as strong a law as possible for sa.wed-<>ff shot-
           guns and . macb~e guns-t~e very thing you 11r.e t!Y1_ng to .reach? ·
           That 11e~t1.r.i.ent is reftect~d ll) Con,IP'ess here. ~d 1t is .no tr-0uble
           for a cnmtnal to get a pistol any tune be wants it, even if you pass
           this law; but it would have a wholesome effuc~ to stop him on these .
           JDachine gun."- tnd sawed-<>ff show.ins. ,
               Atll>rney General Guw.oNas. OI course, the COl:l'->n.ittee nnd the
           Congress will do a.s they plell.56 ah<>ut this matter. I can only say
           what. I think and I think it would be a IA!rriblB mistake to adopt any
           ba1£...,,.ay measnres about this. I think the soon:.u- we get to the point.
           whero we are p.'"l!pared. t-0 recogni1.11 the foot that. the possessiM'I 0£
           deadly wcapons·m•1st be regulated and checked, the better oft we are
           going to be as a people.
               Now, you say that it is easy for criminnlll to get weapons. I know
           it; .hut I want .to make it e(l.Sy to convict them whl'n they have t.l1e
           weapons. That is tho point of it. I do not expect criminals to com~
           ply with this law; I do not expect the ut11fotwotld to be going \\l'OUJld ,
           giving their fingcrprinU< and getting pcnnits to carry thcso wc1tJ>on\},
            but, I want to be in a position1 whin 1 And such R person, to conYiot
            him because he1ha.o; not compl10d.
               Mr. Fut.LER. or carrying . the pistol or we.npon, instead o{ th<!
            Off(lnsc ,,;th which he is ch1xrgcd?
           lai
                                                                                      ·
               ~fr. L&wis. General, you \~('re comp<'lletl, in the case .,r one o_ut..
                     wltich the Dep11rtm.cnt ha<i 1·onnclcd, to resort to prosccntHm
            un ~r lhv income-tax Jay;·?
                   t tomr1' Genrrol Cu~on :-:ns. 'l'hnt is C11pont'.
               •
                 1
                     r. L'i;\\·1s. You wcn:- compelled to rlo th11t b~ ntU•r lock of po11'cr
            to H... .,J with R nntion11l outlaw.
              · ttomcy Gcncrftl CtrltMl:"Cs. Y1111•
                                                                         Exhibit A, Pg. 744

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            ,
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                                                                                           .23
        ~                I             '          '>\ '                        •   +


       ¥r. Vtl'lsotit. Genersl, l' hnve been 'handed the cnse or the ·klobi11;
     Jachum & Kansa~ Oity Jlailroad ,,,.: Turn.ipued, 235 U.S.1 ' to .w hich
                                             is
     voi1 refor: , That case, briefly, n civil cuse for tort; nnd m it I firtd
     thil Collo''
              .
                 ' ing l angusge in regard to presumption. 1 f(llote from it: ,
                          .                          .     •\   ~

        To enact legl•lalton providing t hat p~oor of one fnc.t shall constitute prims
      facie evidence or the main fMt. In hume, la to ennct a rule ol e\'ldence 111\ll keep
      within the general 1>0wett1 or p;overnroent, Sl&tutea; Nationnl and !ltntc, dealing
      with .ouch methods or proof hi l>oth clvUand criminal cases, aro (01111d 1U1<l tleci•ion..
     'uplw\dlng tlteru are numero1.1s,               .          ·                ·               • '·
            Now that-is with respect to some· part and parcel or the_erirn~ for
       instance, tl)e P,OSSession of stolen goodEY. Thero may be n proper
       leg&! ,pre        pt1on that goods that have been !!tolen, thttt ate m the
        harids · tile parw charged with the c;rime, have come there illegally,
       an,P. t e Stato or Federal Government may make that possession I\·
       c.r ' . But this presumption that is referred to in parf!.graph (d) or
      ·s ubsection 6 o{ section 10 deals with a man's resideiwe-the qUC11tion
       of whether a man has resided for 60 days within a State: There is n<>
     · violation of law the;re; there is nothing· that even squints or crime in
       a. man's' living in 8. lState for 60 days, 6 months, or 6 ycnrs . ,\nd it
        just occurs to me ~hat this particular decision might not. be very
      ·strong authority Cothhat contention..                           '           .
            Attornev General~ Cm.n11NGs. We have a memort1ndum on tho.t.
       subject that I would\ be ~lad to submit. ·                 •                ·
            Mr. VINsoN, I wo~d. be very happy to see· it.
           ,Mr. HrLL. G~nera.l Cutnlllings, the quest~on. has been ~s~ed as to
        how· ~ou are gomg to check up on or deal with these prohiblted arms
        now m possession of the people. Now thefe is not any provision in
        this bill that l ho.ve found that deals witn clips, for instance, for a
      'machine gun. It occurs to me that probably to some extent you:might-
       check up on tho possessors o{machine guns by requiring some idt>nti-
        fication in the purchase or tho clips to furnish the ammunition for
     . those guns: ·                      · /
            Attorney General C 11~nNos. That is a very good su.ggcstio~~
        sir-'lery good.                    •
            Mr. .lilLL. I douht whetht>.r it woul.<l, he a ,-c~y populnr t ltiug., to
        carry thnt on to the matter of IUTimumt1on foJ' ptstols.
            At torney Genera! Cc;MMlNCs. No.·                                              ··
            ~u. H1J,L, And snwed-off shotJ,?:uns, ·1111d t11ings of thnt kind; but,
        QS tO IDllchi~<l gµi1s, it"TI!ij?bt he II \'Cry dt'sirnhle SUpp[e mcnt lo this
        hill.                                                                                 •
            AttomC'y Gcnull GtrllMlxGS. l thi11k thn t is .11 ,·er~· good sug~rs-
         tion .                     ·                                                    .
            !vfr. LEWls. Do they hu,·e n different type of cnrtridge?
.\          Attorney General Ct1ArM1xr.s. TheJ hove speeinl ec1uipn111nt t o Ito
        into these m11chine l?uns. It is n highly specir.lizcd 1mplelr1e1tL nnd
        <iught not to be in the hoods of nny i.nnoccnt person- I 11u11111 011gl1t
         not to be in tht• ltnnds or nny pl'rs:m who is not propN·ly \'tltit k<l to
         hnve posse.;sion of i1'..                              ·
            ~fr. Hn.t •. Now you. ore proceC'dini.: un \l('l' t wo p~od~ion~ of the
         Co11stjt11tion 11s 11 lmi;is for thi;o. ll'trislntiou. Onf.' is lh<' t11 ~ir1~ pnwl'r
         ond th e other is t.he n·~ul n tion of interstntt' connucrcr.
            Altotll!'.'V Grnernl C GM~11xc;s. Yr;;·.
            :\fr. HI LL. lfow· fot· 1loc>s t.hc chnrnctc>I' or lntt• rsl.llk ('Olllll H: rcc
         follow n lirenrm'! for ini;tnn cc., wi th n g un 1h11t is imp1irt1-tl, of couroc
                                                                             Exhibit A, Pg. 745
•          ....."                      ...
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I111I                24 ~ -               NA'l'.IONAL TIBEA.BMS ACT

1ri1l
  (I1•\,      , IJ1 t b· a t would '-- .    ' . l comrnerce an d wouId come un der t Ius
                                   ue 1J1U>mationa                                     .
      : , · ·: pro".'Won; but take Rc!omestic.prod~ct.. A; mrumfanturer ships a.IP!"
·I              '
               intQ another St.ate fron1 that m whrnh 1t 1s manufRcturcd. It is in
•fJ" \ '. interstate con~erce. Now if the person :rocciving that gun, pur<>hfts-
 '1'-1,    i·  in17. th'a,t gun, !!!Us it to some other person with.in ·the ~11 111c 8tnte ns
" · ·ii'       he 1!l, does tho mterstato comnu.•rce ch nrn dt~r still ohtRm?         ·
        · . Att~            . ey General Cu110HNGs, \V.ell·we wo1tl<l .get that: person, irlrc ·
               is a c rninal, under the taxing provision.
                  ~Ir.        ILL. Under the excise ta.it?
                  Attorney General Ou14M1NGs. Yes, sir.' · ·             •                .
                  Mr. HJLL. You would require thil' person selling. Che wenpon t-0 l>8Y
      _ \
                the tll.."'t? •               ,
                  ,Attorney General CuMM.nms. Y cs.
                                                           ,           ' •                                                       I   t
                  Mr. lhLL. . And in all these cnses, I tnkc it, where urms Aro imported,
               they will pay t.he import duty?               -              · ·
                        . Attorney General Cur.iMJNGS. Yes.                                                           ..
            · '           Mr" HJLL. And, in addition to that, wo\llcl pay the excisr. or in\ernal
                        revenue ta."<? .
                          Attorney General CUMMI'Nos._ 1 think it is so p rovirlcd speruir.ally.
                          ~Ir. HJLL. Under .the internal revenue t ax fenture, :you would re8C'h ·
                        the s11le of a weapon sold in the State in' }Vhich it is m1mufacture.d? ·
                          Attorney General C u m.itNGS. Yes. There you arc under the tn..'>ing
                        power. ..               _ , .          1                                    ••
'..        . '7       Mr!'BJLL. Tes; I say, under the tu:-.;ng .p ower.
                      Attorney General CuMMIN·os. You see, wo hnve to use l>0th Of t.l1os11
           11      powers to solve this p.roblmw.
                      ~fr. Hui.. Now, of couf'Se, this is a·prctty drastic measure. :-.Io-
     • t           body will q uesf;ion t.hat !or il momP.nt. And it ·mny nrousc some
           1
                   .resentment among ·certain-o( ou.r .porfe<;tly good l11w-nbidin~ people . .,
                   F or instance," it reqnires, n5 hns been snggesterl here., every pl'rS"on;
             )     regardless of whether h~be n erimiual or lnw-nhiding, if he\nints t-0
                 • t.ransporl, one of these prohibited nrms in intenitntc co}nmcrce,J,hAt
                   he must first secure a permit. And, to get thnt permit, he niiist
               1 . furnish  n photogrnph tmd fingerprints encl other mnrks of iclcnti-
                        firntion.
                    1      Attornc>y Generul Cmmrxos. Thnt ii; 1111!<:,;s h<' .conipli"s..\\°ith thl'
                    \ law of the Stntc to .which. he is ~oing.                                         ·
                          ~Ir. HrLL. Ye..<;. \\·en; if thot. Stnt e 1lor:> nnt hn\'I' nn,· n•quin•-
                      mcnts ns to licPnscs or prrmi't,., then he WO\l lcl lin\"(> If) :,!l't the• rirrmit.
                      from the C'ommissionrr or lntt'rnnl Rc,·cnuc'? ·                                               '
                        , ~\ttornr,y Grn<'rnl ('li~t~iixnl' . . ff ·you ~1i:-h, sit•, to lll!'ll-I 'thnt ,.:it·un-
                      tJon , 011 pn)?e 'i1 srction 10, line :?l ; ''iwrr Wt' rxr.mp t. Jl"l"01l" _who
                      hu\·t• ]uwfully obtnin<'d ll lkrnso for $HC'h fin•urm from tlw :-;1 ,11\',
                      1'elTitor,v' Di~trii•t I orpoSS<'!'SlO!I to wlcith !'.lll'h lil'f'liflll is In ht• !'<'li t -
..                    " yo1'1 urc rni~inl! tlm '\ueslion thi~ t th at. ~f11tt1 11 111~· 1wt' rr1111i1·r 1inY-
                       \i1·11n~f (thrrt• J~ no cl.ou 1t ns to \\'lint it.. lil!'•ln~) ~·ou. niiirh ~ :<11y:
 •
                           \\'hot h:1s ""lllJllil'tl wilh'thr• 11111'~ l'PK)l!.!tfi1111 firl':lrlM in the St:itr, T<-rr·ll"ry,
                          i:.1rit•t + ~ • r J111-<~1·.,.~i1111 to ~'\' hi<'h 11" i~ f,.!;o1 U,1!- ·••             •    •1
                           ) t i~. fuir 1•111111~h wht•ll \•011 ,:011re to ;111111\·1.t• ii, h1•1•11 11~t' 1•1·erv $111 I~
                        h11 • ·~ ri!!h.t , I !'houlcl l·h!rik, to ho pr11tN·tr\l 11i::.:1i11"l JlM!lk goi'n')i': i1110:
                        ti! :-;1i1t1· 111 contrnHnhon of thr Jaw" 1hr1•('(1f.
                            ;\Ir. 1111,1.. Tli~r<' is no .11ul';;\ion hut 1liu1 lh1,._!':'l11t1• h11,; th•• ·PO\\'t•r'
                    . , l o impo,:1• 11 ·rr:-trirtion· 111111 r:i·quir•• N·rt11i11, n·~11l11lit111" In ht• ru111- \
                                                                                                   ill'l'~Oll 1 A,
                        Jllj \wit h: hut if it111I :-;1 1•1." Jiu.- >1<11 cl11!11; lhnt nncl l h r Exhibit      II pt•r-
                                                                                                                   Pg. 746
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                         '     '\.            . \ ......_ . ' ;                                                       \  \
                                                 l'm~n~s                                -~\ -l
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 -·           •       •            N:TlON'AL                   Acr                 ••

 .fectly good riti:r.rn 11io~1ld CAnY 11 firo11rm intt\ th4t State, ho v.·o!IJ~
 or courM! tia,·o nothinp: to show ho ill th l'lte legal\~· in possession o~~~:' r
  bfo<'auso the St&to law will not rt'quire a permit.                    - ~·
     Attom.ey Ornl'rnl CoN111Nos. · Ho would nr,·rr h4' ronnc~dt or
  11rrestod 10 the world.                                       ~    :
      Mr. HILL. But ho would hn,·c nothing lo show specificnOy w the "
- Federal o!liccr who arrested bim for luwing a fil'C!I rm.                    .                 •l
       Attorney General CVNMlNG8, T ho lnw · would not conumpla~
  for a momont. rtlquiring a penion to ha,·o something that. does not. 1
  crisi. So I should 88S i( you wero in the State of .~ for
  instaoco, or going there, if it. Tl''JUiN!ll no permit, you would not havr0 •
  1,1 ven to ttUrmpt. to 1trt one.              ·                                \
       ~r. H1Lt.. But section 10, on p11g~ 7, rtad.9-                                 ~
       It •hall \)(II unlawful for a rw '~"'°" """" hu nnl f11'Al ohll!fned a rcnnlt]u
  btroinafttr pro1•hlt<l, tJ -t'nd; 1hlp, tArry', nr 1ltli•' M" am· 6re.srm io lntenlblle
  oommerce.                                                                             I
    Theo it goes on to 11ny-                                                            1 J
      •   •       •   oothlnJ COnlr.lntll In thre 1tetlnn •halt •flfll)"-               · ..:.
  to the number or different provisions whieb follow.                     \ I
     Attorney General Cou&UNG8, You con change ti.lat 8o t hat,
  instead or requiring a.license, it would reud, "complied with-the law~"
    Mr. H1Lr.. Well there i~ no lnw to be complied with. He has-
  ahsolutcly nothiog t-0 show; tl111t is tho point I am making. He has
  to get Ii permit rrurn the Commis.qioncr ond hns nothing lo show frolJl
  the Stntc, und whut iu thcro to keep him from being at-rested by n.
  Flldernl offici11l 1iy·hnvi11g violo.tl'lcl tlli!J law?
 ' Attorney General CuuM1N08. IC he wants lo get. 11 permit, -tbnt
  would p~olcct birn. Ho riors not. ho ve to get it.               •
     Mr. HILL. He hoe to compl,v with rcgulnlions prescrib\?d by ttio
  &."Cr<'tnry o( t.1.c Trt'n&11ry, wlut'b mii;:l1t indodc fingerprints, photo-
  gTnph11, and otlwr murk11 of ldel-ftlfirntiou. I um just simply cl\lling                       1

  8tlt>ntion, lo gt>t it iu lh<! r11rord, to who l t hi~ bill does, bet"o11s<' wt
  ore jtOing to h(- nskt'd II lot l')r 'lll<'~tinn!I OOOUt. it.       _
    Atlorul'y Cl'ncrnl Ct11>.1~a,.cs. \\'t•ll, I 'JJiJ nl thr tlutsct, :\l r.
  Cl111im1nn, nntl ~Jr. C:ongressmnn, thnl tl11!1 wns o dmstic l11w, nnd
  the IDW·nhicfing (l<'Oplr or this C'OllOf~· linn• J;Ot lo IX' (lrt'p11rPd fO
  i:o to some inco1wt'n1rnrr in dculing '' ilh lhr<r o<'ndly wen pons. The
  U1in;r i" not no irrnlionnl rt11jUCllt · LO lllflkl• or tl1c honest. citi7.l'n who
  wonts the rriminnl rln~¢ 5/lnmpNI out.                  ·    •    • - .         '
     )Ir. J>JC.:KtNBO!ll. Just. one quMtinn, CC'neml. On pngr ~. $CCtiQ11
  4, the fin;p line, wftt·rr it.srl\'51 " It ~hnll hi' unln1\"for for um· prrson", ·
  Joc3 the word·" l><'l'lloO '' 1lirlt11IP 11 1lr>11h•r? )9 it iutl'ndeJ' to inclw!o
  u dculrr; i~ it brand rnou;:h to cn\'rr u J1•11lrr?                             S.:!I
     Attomr,· Grnrrnl C'1·um xm;. YC'S, ~ir On J>Dl:J't' 2, line I , it :;ro·s                   •
  " T ht' ten ii 'JX'~ln' inclutle'l u p11rtn<'rsl1ip, rornpnnv-, o"'50Ciation,J.ilr
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  @idcrntinn with thC' Mh<'r?                                                           ·
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           Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 75 of 250
                                                    NATIONAL flREAllMS A<..wr
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              ~ple out. o( businC:11s, if l could.
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              for :vears.            ·      -                               •
                Attorney General CuMMJNOtl. \\Ill you prrmit 111t1 to t'xprr11,. mv
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                  Tho C HAIRMA N. Oenernl, wo 1tpprc1·i11to your l\lt en~ane(I nnd the
              informal.ion you have i;iven tho comm1Uee. I 1u111111ro\ hi! rom111it.tre
              is very deeply inlc~cstad io thi..; propoocd fo~i)<lntion, al d we prrh11p11
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                (Thereupon an adjournmrn~ wus tn.kt'n until W1•dur:<duy, .\ 11r. UI,
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tho burden of pl"l>Q/ oltall bo ·on tbe claimant or the 11ceiusetl to rebut eueJt
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             TLe Brlila11 l?lreann Act (a'c t of 10 and JI Oeri. 5. e. 43, Aug. 11\ 1920), uot unly ·
     .. ia more·r ig()roua and burderulomo upon.the i11ltabitants o r CiX-at Bril.oln tf\an Hae
         proptleed Natioaal F"areannalAct, H.:.R. 9066, wtiuld be upon the American people,
       · but, coneidering,au its proviiiione, it ill' more drastic tllnn any present atBte l1<gllll11·
         tion, inclualng New York'lf"Sullivt.n law."             -           •           ,
          ., Thi
               ' ritiah Act is' bMed bn rcgul&tJng the88le, as "'ell as the W!e<imd poo11c'llsion,
                                                    and
               !
                   ~       kind or firearm,      or tl1e IUJl.IQunition therefor. Only those iuilividu&ls
                           in a fire&nn certificate who are approved by the local c'1ief of police, witb
                      Ill except.ions auch als law ellforccment ollici.nla. 'l'he certificate fee i.s np-
               p     $tely $25, It .is good for 1,ut three ycal'll, 1\11tl is rovoc11ble. T,here lK on .
               AU lti1>nal hunting tlce1lse fee.                ·       ·                                            "
                 ~"''Bro rigidly ~rvised:a11d mo•t m11ke reptitt:..,. of t;!l .;,,1e8 of woopons or
               orimU:hltion within foiv-eight .hourg. /'Juch &ales ca1v m1ly l1<11111u!e to identified
               cekffiw;te !lolders and uet be punmant llJ iu•trucUun~ i11 the reniticutes. "'Fawn-
               b:bkera t'l\nnot.deal 11).\1 n::anrur, and all numufaeturor• uud rep1•lrmei1 1U'C· ~uper-
               v1sed.                    1\                                         /                              ~
                  A m:>re extended rc,..Cw or thi• Act follows. It Is 1n1ncccs..11ry to di~Cllfill the
               inftcq11ency or 'nrirut'S cl>mntitted \\ltll fi:rei>TJ\18 in J0:11gltu11\, for rc1fealcd ci1u1-
               1>ariso11s between such c·8~~1diti1111e tllcrc n111I in this eu1111lry urc l.11.'<'t1lllil1g 11111clt too
               unplc1w111t fur the law-a' i11iug Amcric1111 citil'.<!11.                      .
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                                                           FIRE.I.nu CERTIFICATE
                      I --
                  lh :England every perso , with certain exccritions; must have a tireann certifi-
         cate ~o Jlllrchase, po&Sef'S, use or· carry any ·llrearn\ Cr ammunition. Firearms
         Include any lethal 6rearn>. or other weapon of an:<:i q~scription from Which .o.nv
       · Bhotjlbullet or other missilb can be dischnrg<><l, o~ ai1y 1nrt thereof". It d.oeii. not
         jncludc Rl\tiQllC8 Of firearm~pO!\SCll!ICd Oil trophic.. or~ y Wfit, llltlloOgh, no ammu-
         nitfo!.' may be plircbaaed t erefor.                      '·
            .Ati'imuni~ion i& defined     be ammunition !or 811 litearm.~, Jlt>d o.!so inclll'llC9
         grcn~de11, b.ombsl!nd siipil~r rniN;iles, whcH1er rl\!lDI.\ ol 11"1: with a fircarmon1ol.,
         and tn!(rcd1cut. an~ «1!1'\f?Onents thereof.               ! ··            . . .
        · Tbe firearm ccrt1fical.C\is granted by the clalcf or I' ltcu or the d aslnet 111 which
         the.applica11't re~ldce, if the pollco omrcr u 3tili$1ic'f \h11t the 411>1.llirant
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                                                        ~ATIOl!fAL FIREAll?1S               ACT                               29
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              l'CA!lon foratcquiring the ccrtifica.tc o.nd tho.t ho t'.an be i)crmlttcd to havo tho 6.n>-
              ann wil11out do.11ger to ' thc public ufoty. and on payment o( 11. prescribed fe6;
              whjch is 5 pountls for th'll fil'iJt period of 3 ycl\rs and la renewable every 3 ycara for
              o. foe of' 2 pound• 6 shiilinge. ".                        . ·
                 The cortlllcnto ml,lllt also apeci(y .tho nat\a.ro rmd number or the Orllarlil to whicli'
              i~ relates, and tlie_quautity o[ ilrumuuition authoriroct' to be purcbaeed and to be
              held nt ·any Ol)C' time thereunder.                              ·
                            ~ QlJALtrlCATlONS TO CARBY ~MS A-'iO ORTAL'I C!ltl'l'Ql'ICATJ!l
                 (1 l A ccrUlieatc alulll not be granted to n person                              of Intemperate habits or
              un~nnd·roind, or who is fot any other reason unfit to bo fntrusted with flreamis,
               •(2) · A single> certificate lrtay be issued to n· rifle ~lnb or ca.dot corps, lf approved
           by a &cretarv of Stat<., for firearms to be ur;cd aolely for targot practice or drill, •
                                                                                                                                            ..'
           and no Cea is chni:ge<I.            •                        -                   . '
                (3) ·Certain gr911pa or officers and lndivlduala need not obtain a certl.Ocatc!
           J.n"· cn(oJ'OO!l\ent ollicers in the pt>rforroa".c'D of duty; g\lnsmitbe or Breann delllers;
           firearm and <ammunition testers; warehousemen, post.office officlate on · duty; .
        , persona accomJlanJed l)y a ecn:ti.ll.~tt> holder; butchl!Zll or otl)<:rl' who use ftrel\IDllJ
           only to kill 11nimalB; and rifle ranges which use rifi\!8 not .over 23 caliber. ·            ,
                (4) Persons under 14 yelll'lj of age ~hall not pur,chase, pOO!!eB8, use or carry
           ft rearms or ammunition.                 .             · •               -     . .
                (5) A person who h118 been sentenced for a term or 3 months or more for any
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           c~ime 'llhnll not, dining a period or 5 years froii! the dale of hia relcisse, b~ in
         · his possc11sion, .use or carry a fi're~m or Mnmumtion.
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               Pnwnbrokcrs.11hall not' take in pawn n firearm or 11mmunition, although whore
           \hey ha "e done eo before the act, -redemption thereof may be mnclc if the redeetne-r
           holds a firearm 'Certificate or is a registered dcaJer, and in imch case_& sale a!So
         • ID.llV be mad.ii to authorized pcrsoll.'I.                   .
               fJcnlcr. o.rc M rcgistf!t with · the chief or pol.fee o~ l11c district in wl1icJ1 their
           l1m;lnCt>S is. '                       •    • .         ..
               Mauurnctnre,,sllla, roprill-1 'iest, proof, exposure for sale, or possession for 61lle1
           repair, etc., is foi:bidden without registration.          .        •                ·        · •
              'No salo shall be made to of.her than 11 r,c gistcred ilc11Jeninlll68 the purcbnscr
"          1>roduces a ccrtificntc nuthol'~iug liim to 11urchase litCll.l'lWi or ammunition, nor
           shall n person repair, test or pllove liTCnrms or nmmunilfon fOr ot!>cr thnn dealel'B
           or oorlifiMte holder&. All vendors nmst., wit11in 48 hours, llft.cr a snlc, not,lry the
           chief or polio0o wl10 ~ucd the certlfieate, or the so.le, must kc<iµ n record of all
           trans:>.ct!nns within 24- ho\1'1'6 niter the, lo.kc ·pl4ce, ond must tlc.mnnd m1fficiC?1t~
           f)nrtieuinrs to i<lcntiry the purohn.<:cr. ·Such dcnlcrs nmsb allo\\: nn inspection by
           thn rhi<'f nf pc.>llcc u11d other officer~, ur nll Ktock ou hn11tl.
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              . (1) FoT not hM-in~ n \·~rtlficntc, or 1111rchosing amn1u11ition i'n c~ccs.~ i111alltlti<'s
              etc., the Brith<l1 Fitenrms Act 11rt1\·irks ·" p~nnlty 111> to :J monlhu lmnril;onmcnt
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                      (3) ·p · . ng a fi~ or amn11111ltion wlth intent to endnngel- or Injure nny.
                 · penion ur u~pcrt~· l1i a miMiemeo.nor.                   .       .         "{.
             ·         HJ Any .pc<:rctar.'" of state. can I"· or<lcr 11rohlhit the removal of fireami• lo
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    1'J.'\)--:!; , tnl·.: iu;w. J'· l t>-O~ uri'S tor lV'..'8-30. l nc..: l!J:SI. fl. \ti-·R~'ures fur l'tJI. '
        : Ulib-. Oirt1l<Jne l!t'Or<'al<' dC'll'I s.1 en..'(.1Jt~ Arinuorl11 :rttUi2!lit't) 1111Unqf!, 1~~:!~. I' • ~-O~o.res ,,.,r
    l!l'.!O-:!-•, lnr.: JU'JO. p. ~-fi~Utr$ fjlf'. 1u~~~11'1.1nt·.                                                                                                             ~
        11 \\-,-lf ~• l Alntnmut 1\.1.14 Gl l~~e 4;11..               •
        : ~'\"\•• ru\itl\I in s.Uhs~qu t'tH )'r:1f\ KJ111ks.
        • l .;_~h-·~.t \l.fH\11!!1 1'\'ttHuJ1le ~h J.tticilf)' c;A\'C!. ti~ fl~t.it('~ ltifc:r thtui IU'.!X.
I                                                   , Jr,· q t>/ Cai/rrl S/a(f~ (lm/ l':t•ropcan co.1111/rics
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     t:nitcd Sta.I"" (eontiucntnl) ___ . • __ -- -- •. _. _~·- - - . -- -- --- ~ _. .. . . ___ ·3, 026, 189
     Fronce __ ____-_____ • ___ -··--· __ -· --- .• _. _•. - -· · --- - ---, •• -- - · ·-, 212, 000
     G"rn11111'·- ~ - - - ---- - ___ _ .. _. _ •. __ • · - - _. __ •. - - ---- __ . __ • _. _: •.• -- . . 180, 000
     Great Hi:itni11, iucludiug l::nglnnd, lrish Fr~c State, Northern lrclnnd, ·
        ~cot laud, amt Wt1lcrs •••••• - ·- - •• --~-. ·-· •••••••••• • ·--. -- - •• _ : 124, 284
     Italy _-__ •• - ------- - · -- : - ~ - - - - - - - - - -- - - __,_.__ ----- - - - - -- - - - - - - ~ -                                                                                119, 7..t4
                                            l'opulalio11 of Umtr!.l Stalt8 (11111 F.uroptCl,n c;iu11lries
                                                           ......... IFi~rr.s tak'en f'l'm \\"~rhl Ahn-ena,c, U~34 )

     t ' 11 itcd Stnt c:1 (conti ucnt) (ccu•us 1930)--- - -- -- - - -- - --· -- -- ---- .122, 775, 046
     F rnurc (Census 1931)-- -.---- - --- --·----·--:-- ----···-·-- - ····- 4 :,S.'J4, 923
     Grr1»n.11~- (Census 19.'!3) • • : ••. -~ -· - . . -- . _• . __ •• ___ __ _· - ....... 65, SOO, 000 •.
                                                                                                                                                                                                                            .I
     <: rent I!ritnh1, including Euglnnd, l~Ish Free Stntc, Northern Ire- .
          1:11111, ;:;rotl:111d,ilnd W'11Jcs !Ccna11~ l93l)--·-··:---·---··-·--- 49, 000, oo0- -·
     1!a1,r fC,·u~a" 1931>--- ---------- ----------- ... ---- --- - - - --- - ..Jt , ·1 76, 671            ·•




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                                                                                                                                                                        Exhibit A, Pg. 753
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                               •               '          .
                              NATIONA.1. FIREARMS ACT
                                                                    •             •

                               WBl>NBSDAY, APRIL 18, 19S~·
                                       .                      .
.•
' '                                           HousE OP RE:P~l:sENTATIVEB,
                                             CO&WJTTEE        -ON"w
                                                                            ·
                                                             A').'8 AND ME~B .
                                                              ~ +       •   • •       '



            The conun.ittee met.at. 10 a.m., Hon. Rol)ert- L. Doughton (chair-
          man} presiding:        · · ·                   -       .     .
··          The CliAilU.lAN. The' conunittee Will be in order. ·              _._
 ., ,,. ·' \Ve.shall '.continue ·this morning. the hearings on H.R.'9066. We :,..,
          have \\ith us this morning the adjutant general of the State of Mary-       ·
          land, whom vt.e shall be glad ·to hear at this time.1•          •       ' '
            General, ·will you please come !ol'Wa.rd and for the purposes of the
          record give your ~name, address, and the capacity in which~ you
          appear?-           '                 ·
        STATEMENT OF. ADJT. GEN. MILTON A. REOKORD, ADJUTANT
          GENERAL. OF THE STATE OF. MARYLAND, EXEOUTIV.E VICE ·
          PRESIDENT OF' THE NATIONAL RIFLE ASSOCIATION OF 'AMER. · ·
          IOA, WASWNGTON, D.O.                        ·
                Geneni.l R.Ec&oao. Mr.. Chaim1an and gentle~en: My nan1e is
,           Gen. Milton A. Reckord. I am the adiutant general o[ Maryland
' · . and the executive ·officer of the National Rifle Association of America.
                :VIr. D1c.&1NSON. ·Will you please give us your address?                 .
      ·:        General RECKORD. I lia.ve an address at the capitol in Annapolis,
            as · the adjutant. genera! of ·Maryland, and in the Barr. :Buildingj
          . Washington, D.Q., as tile execul.1v<i· vice president ,of tbe Nations
            Rifie ASsociation of America.                               ·              .
                We have asked to be beard ·on R.R. 9066 because of tJ1e fact that
            !or many years our association bas been interllSted, in·legislation of
            this type. .                      ··        _                        ·
             . ,The CHAIRMAN. What is your- position with the National ·R.ifle "
      . _. Association?        ·     .     •          .         .         .            . , · "
   ··            General RECKORD. 1 am tne executiy.e officer the exeeutive· \•ice •
 · : ·.. president, the active·head of the National Rifle Association.                   ·
         . MJ'. Ta»ADWAY. May I ask, Mr. Adjuta.nfGeneral, whether you
            are ·appearing iu!· an. official of .that association. ~r as adjutallt ~eneral --
   • " of yo1,1t State? You seem to hold two poB1t1ons. How are . you.
            appeari'ng here, in what capacity?          · .                 ·.      ··        ·
" ,              General REcttoao. I am appearing in bot}l capacities.                 .· · .
                 l\{r.' TREAl>WAY••That is what I wanted ~. !mow. Thank vou. ' ·
                 General RECXORD. Becausil I ant the· chturman of.. the leg}slo.tive·
         , committee of the Adjutants General Association of the United States,; '"'
          .. The·CsAmMA.N. In that connection, &.re'Y.!>il appearing in oppositiOn '
            to or in .favor of the bill? ·                                                 - · '
                ~                                                                                 u
                                   •                                                      Exhibit A, Pg. 754
                                       '
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                                                                                                      ·.
                                          NATlONAL l'IBEARMS ACT
                                                                                                  '
                ·     Gener~ RJ:cKono. We ore in opposition to many or the provisions
      7
                 or this bill.                    '
                   · Mr., ~r~L. -Y!lu arc repr~s~n~ing ~he St~te or Maryland ns well ns
                 , the .Nntional R1fle.A!isocmt1on m tlus hearmg?           ·
                      General REcitono, I cannot say that 1 am representing •the S~ate
               · ot 1\ilarylond, because I have not been directed by the Governor to
                · eome here to present the views of the State. I run representing the
                   Association of Adjuto.nts General ot nll of tbe Stntes, n.s· I nm the
                   chnirmnn of the lcgisliwvc cpJ?Unittee.,of that body.
                      Mr. HtLL. Have you been directed by thnt ~rgJ(niza tion to llppcor ,
                   b ere-.? · ,                                        .        . ·
                                                                                           .
                                                                                          ..
                                                                                              ' '
                                                                                               .-:-.
                      General REcKono. ,Yes, sir.               .           .           :· . ~ !
                      The CH'AIRM.AN. You say yo,1 nppenr m the cnpoc1ty of n,diut.eJi~ ··
                   general of the State of 'M1rrylund?
                      Oenero.l RECKOJtD. I nm the adjutant general of the Stnte of Mory-
                . lo.nd o.nd chairman of the Li.lgislo.tion Commiftee of the Adjutnnts ·
                   Generul Association.                                           ·            ··
                • The·CoAIRMAN. I do not see the necc5sity of bringing thnt out
                    Wlless you nppenr here in that capacity. Exactly in what cnp11city <
                · do ;ou appear? Will you please state t11at ago.in f<?r th~ Tecord~         .
                      General REcxono. I appear hero !is the executive VIce presidrnt,
 .-                or the active head1 of the N11tional Rifle Association of 1\mericn .
                      The C~Al:RMAN. Then l u.nderstand thot you repre.">cnt n private
                   organization.
                      General REcxono. · That is true.                   .
                      The CuAlilMA.N. And you do not npp_cll1' here in ·any officinl govern-
                   mental capacity?                                                -.
                      General REcxonn. No, sir; 1 BIU' not here in noy officinl Gon•rn-
                    ment onpucity. '                   • .•           ·
                      ?\fr. WlilooRUFP. l 11.n derstood you to sav, Gencrn.1, tb11t you nre
                    nppe1\ring: hoth ns 11 representntive' of the Nntionnl Rifle Assorintion
                   and the Nationnl .A!lsociation of Aditimnts General. ·             ·
                      -0<'nernl._RI:cxo1m. Yes, sir.        ··
                      1'.fr. 'Voon.J\UFF. May I suggest that you confirm what I mn nbo.ut.
..i
      •'
          .. - tl1e executive officer of the •Militia or the N ntionol Guard or thnt
                    to sn.v, if you will, and thni is thnt the adjutant general oi n Stn~e is
                                                                                                       • l

''
                 State.                                      .                 .
                     General R£CKOnD. Yes, 'lir; that is correcL.                      ·"
                     }.fr. WooDBUFF. So you n.re here as a representotive of the Nntionnl
I                 Guard of nll the States?            .
I                    Geriera.l REeKono. 'l'hat is correct. I nm clfnirman of the legis-
1                ·Iative committee of the adjutants general of all the States. 1
I
I
                     1fr. Woot>RUFF. And you are aJfpearing in a duo} cnpncity, rt1pre-
                  Sl!nt}!lg that organization o.nd also representing the- National Rifle ·
                  Association. is thnt"correct?                      .       ·     ·
                     General RECKORl> . . That is correct                    ··            •
...                   ~fr. FnEAR. Did they tnke notion recently" authorizing you to
                  Appear in opposition to the bill?                .
                      General RECKORD. Oiily in ah informal manner.
              ---~ Mr·. FnEAR. In wbo.t mannc_r? ·                 ~ .           :     •
            /   . General REcxonD. · The president of toe assoc1at10°' told me that-·
                  tltnt is Genarnl lnunell~                             ·*         ~
                      ~fr. ·F iu:.ui. That is. Gene.rnl Immel!?       •
                        •    .. .                                         •      Exhibit A, Pg. 755
    Case 1:18-cv-02988-DLF• NATiONAti
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                                        •    · . ..                           +




        · Gen~a1 Rics.onD. That is General Jmincll, or Wisconsin, yes, sir. -
          The ~HAIRM.Ax. But .the orghni2&tion }10s not mot nnd considered ·
       this -bill? -                                  ·        ·                  .'    ' · \
             General ~ECKORD. No, sir.           -                . ·. ·         --       "
    ' · The CtlAJJlMAN, Then this is your individun1 opposition rntiher th1m '
          the opposition or your orgnnizniion?
       . General REoK'.onn» Ne, sir.                                 ·
        "' Mr. Woon~UFF. General, I \v,o.nt to get this pt'rfeoUy_ clear. I
                                                                               .
                                                                                                -
         tmderstood you to say n inoment ngo that .you l1nd been directed by
      ,, the cliicf of your :orgnnization of 11dtutnnts general to nppeot here ns"
         the representative of thnt orgimiznt1on?             -.
              General RECK.ORD. That is correct.
             Mr. WoODRUFJ'. To present tl1e views' or tbnt. OTgllllizntion llS
         perhaps indicated to you· by the president of tbe org1111iznlion? •
             General R £cKORD. Yes, sir; tho.tis correct.
         · l\ilr. WooDRUFF. Then you are not speaking in your individual ·
         ca'pacity;· that is, iI ,you. are 'in opposition to any provision of this -
         bill, it is not necessarily yb1ll' individual ·oppoSition, but 'it is the - ,
         opposition, as yo'!! un dei:stnnd it, of thos~ orgo.nizntions which .you .
         represent here?                                             .       ·          <1Jf'- ' ·
             Glneral RECKORD. That.is perfectly correct; yes1'!lir.                   '·
             1\Ir. FREAR. Genernl .lmroell is from my Sto.te' and district I wns . ·
         just.wondering wbetber lie nu~horized you to o.ppenr for thnt orgnni-
         znt!cn, by letter or otherwise. -              ·              "             - .
            'General R ECK:ORD. Not by letter. But he wo.s in.town-liist week-·_ ..
         nnd he told me then ·to appear . I ho.ve been the lcgi.slntive riprc-
         sentntive for a number of Yearn. It wns absQhrtely a verbnl com·
         mitment.                                                      ·   .•
             ~-1r, Fnun.. Let me ask you just "one question, if I may. Would
         you prefer to have tbis bill rejected as.it is now rather than passed?
           · General REcKORl>. Yes, sir; very much prefer to 'have it rejected. _. -
       " Mr. FnEAR. I wanted to get,. your position thht wns all.                    -
             :Nfr. TRE ADW.'.\Y. l do not want to mterrupl,your line of testimony, '
         but in further answer: to the question as to whether you· h n,d been '
         asked officiidly to be h ere, or whether eitber one of your organizations .
         had· to.k~n 11.ction on this bill, you rightly replied, no. l s not -0n·e ·
          reoson for that tha foct that this bill wn.S'inttoduc<'d enly April 11,
          which 'would · not have given you time to communicate with. the -
         officio.ls?                      ·        .. •   .                                . ··
             General· REC.KO.RD. That is the exact rea!1on-, because the Adjutants
         General met in convention ·h ere ltist week--
        . Mr. TREADWAY. And lmewnothilig aboutt1Ue? ·                              .
•            General .REcxonn. A.nd lmew n othing about this bill•. ·Had they
         kJiowntabo~t it I c~ll;ld e~y have gotten n reso_       lution directing me to ~
         come here m opposition to 1t.                      ·     '              .·          .
             Mr. T.BEADWAY. I think that explains it.                                       •
            T .he CHAIRMAN. How do you know that, if they have not met?
             General RECXORD.· l •beg your pardon?                                        . .
             The Ou.. mib!'i. How do you.know that, if they have not expJ;l!sseli ,
         an opinion?                                           'r.
            Gene raJ R!1loKoR1'. Well, Mr. Chairman, I know.it because I know
         those men, have known them for yeo.rS. We all think more or less •
     ' alike on the subject of fueo.rms. There are- 80 many provisions in
                                                                                   ..
                                                                         Exhibit A, Pg. 756
                                                                                             '•
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•        36                  NATIONAL YffiEAltMS AL'T      .'
         this bill that lll'O not good in my humble· judgment, that I am con-
         fident-ma¥be that would be n. bettor expre.ssiotr-1 am confident
          that hnd this bill been before the convention lost Monday or Tuesday,
•        I could have hnd such o. commitment..
            l\tlr. REED. Theso provisions to which you are opposed, have they
         ·appeared in other forms in other legislat.ioo i:!troduced heretofore,, in
          Pl!!cemenl Cnshfon?       .                                    .
,-           General REOKORD. }.luny of. them hllve not appeared, to my
          knowledge, until probably 2 or 3 weeks ago when an urinumbC"red
          bill wn.s heard in the Senate. That bill wos heard before tl1e Sennte·
        · Judiciary Committee.       ·                     ·       •           •
             Mr. REED. Containing provisions that ore in this bill nnd to which
         you obiect?           .                      ·       _              \
             Generul REcKono. Yes, eir; that wns the lin:L time we hnd e\·er
        . seen those provisions.
             .!Vlr. REED. Hns your orgao.iintion in the past consid,cred any of the
          feuturcs of this bi.11; or fcnt11res tbut nre contn.ined in provisions of this
          bill?                                           .      .          'I
            General Ri:cl\ono. You mean--                               .
               1'.fr. R _EED. That now .npp~~-in this bill; have yon diseussed}lfose
          matters m your conventions
             . General RECKORD. Not tbeso pnrticulnr . features· in. convention,
           because these features just npp'elU<'d within tho last, I should sny 2
           or 3 weeks or n. month.                           •
               Mr. REED. I did not Jaiow but ttll\t perho.pssome of these pioYisions
           thnt o.ppeo.r bore now ho.vo been discusiied pro and con in years gone by.
               General R Ecxonu. 1vf1111y of these rco.tures o.rlnew end bo.ve not..
         · been presented befor&.             ·                                ·
               M11oy I take thls opportunity, Mr. Chnirmon, t say thnt the 11sso-
           cin.tion I repres.ent is o.bsolut~ly fnyorable to reoso~able legisln~ion.
           We ure responsible for the uniform firearms ·a.ct being enacted mto
           lo.w by ygu gentleman in the District of COiumbia. It is on the b:>oks
           now. We are not obstructionists in D.ll.)' way. We wa.11t to belp,you.
           We otThred to help; we carried that offer to the office of tho Attorney ' ·
           Gener'nl of tho United States. 'Ve thought we were going to be called
           into conference to work with him. lnstend of thnt, we stumbled upon
           an unknown bill in tho Senato 0£ the United Stc.tes. We just bn;e
           not been hen.rd. That is the reason we are osk4tg on opportu.njty
           to be heard now.
               The CH.AlRM.AN. In that connection, you sny you nro !1wornhle to
           reasonable 1egislotion at this time.
          : .General REOK'ORD. Yes, sir.                        ~
               The 0HAJ1U.lAN. Therefore you must recognize its importance or
           necesility. Having recognized tl111t, whut steps 11nve you taken your-
           self to bring suah legislnt.ion aa th~t to the attention of Con.,aress, if
           any?
    -       . General RECltORD. We conferred with Mr. Keenan, of ihe Attorney
           General'11 office, o.nd we left him believing that we were going to be
           invited to sit in witl1 the Attorney Geneial, und to work with them
           in shaping somu legislation to bring before Congress. We were sur- .
           pris&P, thllTilfore, when we learned legislation had been presented
           without a.ny referonce to us whatever.
               The CnAmMAN. Your orgonizntion hne presented none? .
                                                                            Exhibit A, Pg. 757
                        . '
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~· .L   •

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                              <;; · --NA'l!ION'..U, l"fREARMS A(IT
                              I


    •              Gweral RECEO~D. The only Je~slation we h.ave. presented to.the.
 ;. '         Congr_ess is whnt Is- kn'own o.s the uniform fireal'ros 11ct, which ,wlis> •
.;,           ~assed, and which is now tho law of the District uf Columbia.                    .
    ~ t.i..       Tltc CrrAmMAN. That docs not have any affect outside of. the
    ~ 1 • District of Columbia?                       ·                    .
. 't1              Gcner8:1·REcKoRo. No, s~; tltnt does not. I m!n:oly,mention, that
              tot.how you and ·y(\ur uommlttee that we n.r e not here to obstruct tlle
              enactment of ·proper l~islntion. We wnnt. to h~p. We o.re against
              the crook and the"·rnoketoor the same as nnyoae else. '
                   The CJJAtRM..W. Who do you think would be in the best position '
             to deal with legislation on tlris subject? Wbat cngnnization, what
                                                                  l.
              official boi:fy do yo1J tlWik iG in best position to udg& who.t lel!islation .
              is necessary to deal wit.b tl1e !IUbjectmntter ~t ortb in. this blil? Do
              you think there is nny o~nfaation m the United States :n.o. better
              position to determine thtl.~ mo.tter thnn tho Dopar~ent of Justice?
            . I nsk that in order thni wo may understruid ench ot11erlit> start with .
                 . G~neral RECKOR~ Mr. Chuirmo.n, ~ mo.y bo prejudiced, but if this
              bill J.S o.n example, then 1 do no\ think t11oy have approached tho •
              subject properJY.                                       ·
                   Mr. TREADWAY. General Reckord, you said th• you bad been in
     • cOJ1sulttttion or contact with o.represent.a,pv~ of thelAttomey Ge11.ernl's
  •           office?            ·
                   General RscKoBD. Yes, sir.
                   ~Ir. TnEADW,>.Y. -And in "°hot ' ''llY wore you led to ,believe til1nt
              y'our organization would he ·eolll!ulted before legislntion wcxe pro·
              posed?                      ·.         - ·                                     ·
                   Generu.1 UEcKonn. 1'1r. 1'rentlwny, we at 0111· • · ·unl meeting held
              iJl \Ynsl1ington cnrly in Fobruury iln-ited the At1<.i oitjy Genernl to bu
               present witli us to t1\lk 'upon the subject o{ liNMll'll1S lcgislntion, so
               Ull\t. bo would meet us1 know who we were :i.nd wl1om we rcprcscnt.cd.
                   ~tr. Tu:&AD>l'AT. You volunteered thnt in,·itntion ; tbnt is, you were
              liol. osk~d to call in tho Attorney General's deportment?
                   Generill RECK6nn. No ~ir ; we did thnt. •                        ·
                   ~Ir. TnEADWA)'. You 1\id thnt of your O\Vll free will? ·
                   Genero.l R.EcKORD. :Ycs, sir. l'v!r, · C11mll.1ings wrote nnd snid bo
              w11s sorry but, bt>c.nuso o{ ~ngogcments, llc co11ld not attend, but
              would try to nrrnngo to ho.vc l'lifr. Kecnnn nttond. ~1r. Kcenuh did
              attond1 made nn nfter-diuoer tnlk to our body. We,enjoyccl hnving
              him with ·us and we· 11rJ111nged tho.t evening for Mr. 'Kn.rl Frederick,
              of New York,- who i:s hero today and is the prcsidl!nt of our nac;ooia-
               tion-
                   Mr. T11EADWAY. Whi.cb ll&Sociation? -
                   Oene.ro.I R E<:K<>RD. The Nntional Rifle Associ11tion oft.Ainerica.
                   ?v!r. Tiu::.&DWAY. I would like to get these llJ'..S.o ciations septlJ'o.ted •
               distinctly.
                   Gonero.l RECKORI>. .Ancl myself, to meet with Mr. Keennn the
          • to!Jowin~ afternoon.
                   Mr. 1BEADWAY. This wns in February?                       ·                ·
                   G~neral RECJ{ORD, YC$, sir. We spent nbout, I would sny, nt ·
I•             lt~si 3 hours· Saturdo,y: o.ftornoon with Mr. Keenan in bis office
               discussing this probleril(.buanuse it is a problem. It. is a hard problem•
               We realiie that- We ctisc\lssed it with Mr. Keennn f-01' 3 hours, nnd
            '"ru;
              It         o.t that time thn.t Mr. S:~noJl mode the remark tltnt h~ would
                                                                        Exhibit A, Pg. 758
                             -
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      38·
      p~fer io ~ slowly und geL J>roi>or legisfatfon ratltar thnn t-0 mo'\'6
     ralW!ly o.n.d get som~thi:ng ~hnt. wns not just right..      •      .-
          He gnve us every mdrnot1on thu.t he w01t1d r,0nfor w1th us and thut
      we would bG nllowod to mnke sugg~stions and present tlle thought
      of our nssocintion: We were never given any fort.her 1, pportunitv.
          Mr. TREADWAY. This bill was introduced by Mr. Sumners, Clinir-
      me.n of the Committee on tho Judiciary, marked "by l'Oque~t."
          Generru REcKon». Yes, sG-.
        ' Mr. TnE&DWAY. Do you know whether thnt, request WllS Mr.
      Keeno.n'st Did M.r. Keenan p~o.re thiS bill, so far .os you know, or
      are y0u oot awnreo[ tbnt.?                                          -
          Oenern.1 R11o&onn. If I ma.y say so, muy best knowlooge is lo the
      cffept thitt it wns prepared in the Attorney General's office; yes, sir.
          Mr. TirnAl>WAY. And if prepared in the Attorney 00ilernl's office
  . · you feel confident that .Mr. Keenan knew something l\bout, it?
 ·        Genaro.I Ritcttono. Well, Mr. Treadway,- J kno\v tl111t it was pre·
      pored there and I know that Mr. Keen.nu.knew oll about it.              ·
          Tbo CflAlRlltAN. W.ill yon no"! proceed to tnl.•o up your objections
      ono by one nnd explam them, vnth nny suggestio1111 that you .have to
      offer?             -                                                ·
 ·, Oenero.l REc.&.ORI>. Mi:. Douglt~n, if I mAy, l w9uld lik~topr-es~nt
      Mr. Karl ~en.ck, who 1s. the Pt·cs1dent of the N at1onal Rifle Associa-
      tion of Amerioo.. He is the vice president of t.lll! (Jnilild States Revol-
      ver Assooiution. H e is a momb61"of the Campfil'e Club. n.e is nlso Jt
      member of the New York FishJ. Grune, and Forest L.eni:ne and is. vice
 ' Pl'!l!!ideot of the New York vonservntion Council, Inc.; a former
      membe1· of the Commission on Fire Arms I,.egislo.tion off.lie National
      Crime Commission.                                                     .                 r
          The C!l:Lm:.!&.~. ~1.r. Frederick, will you pleaso com& fol'wnrd nnd
      give your n11me und addre!;S to the report.er, for tbe record?
                                  •
      ST4TEJlENT OP KA.BL T. DEDERICK, PRESIDENT NATIONAL
          BM.E ASSOCIATION OF AllWCA, 128 BROADWAY, N.EW YOBK
         ar.tY •
                                                                                              l
      · Mr. F'nEDETUCK. My name is K11rl T. F redP1-ick, 128 Broadwny,                      • I
       New York.       ·                                    ·
        l. think ~he Genero.1 hes sullfoiently indic4tE1d, unless some 0£ you
      wish me to elaborate upon it, tnY representation and background. -
        I have _b een l?ving tliis subj~ct of firelll'IJIJI regt1l11tiQ:1 intense st1td.y
       end oous1deration over 11 P-enod of l5 years, iu1d the suggest10ns
      --resulting fiam that study or mine and t he people with whom I have
     ·been 88S()cieted, ·such ns the Nntionel Oonlerence of Commissioners
      on Unifonn Laws, have resulted in tbe adoption in mADY States of
      regulato.r y provisions .suggest.ed by us.
        As-General Reckord initicnted, the national net for the District of
-:- .-Columbia is the uniform firearms act which wns first drnfted by me
· about 14 years ago; an'<l which .wll.S, in thnt early timo, brought to
    · the attent1on of the National Conference of Commissioners of Uni~
      form LJ\wa, wlio apyointed B sull4.1?mmittee under 1<he chairmanship
      o1 Mr. Imlay, who LS hero, and whicl.\'-gave abo11t, 7 .rears of study to
      the ruattel'; which produced t.l1e mostr~xtensive ariil thorougbgoiJJg
      invntigation of the subject of firearms. control thllt has ever been
      mode by atiybody iD this country; and resulted, nftcrExhibit   successive
                                                                           A, Pg. 759

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         Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 87 of 250
                                    .NA.TlONAL FlREAD..'l\fS AOT                        39
            revisions, in tl10 'final form of the uniform net whicJ1. hns heen 1 ~s I
            sny ndopted hy tho Congress for the District of"Ct:ilumbia.
            lt       is tlm ln.w in Pennsyh·1mi1t: - It h11s been the law in ColiCornfo
            !011 many    . _years. Portions, o! it nre to bo found in !New Yori< , New
            Jersey, Indinna, New Hampshire, and many other States.
     •           This subject is a subject to whioli 11. lilrge amount or on.reful n.ncl         •
       · · intensive thought has been given . • I mu.st, however, apologize to your ·
            oommit,tee if,.as I nnt.ioipate1 the remarks which I have to make with'
            respect to' this particular bill' appear t.o be somewhiit disconnected
             an~ not presented with the logical form with w~cl~ I w~uld other~ise
             desire to present them. The reason for tho.t is that smce I nmved
            this mo.rrimg on the nighj, train I have· for the first time soen the .bill.
            I . !111-ve l1nd earlier bills. whiob~~t. ~resented in the Senate and
          , l 'ho.ve had some typewrittetl 'notes~mi re!!pect tO some prospootive
            ~ontents of o. bjll ~vhich wo.s slip-posed or expected shortly to nppeRr
           ~m tl1e House..        • .           . .                   _                  .
                 ~fy consideration hns, therefore, be"en: almost wholly based upon
             thtlt · ea:rlier o.nd s9mewho.t scrappy information which ·l1ns come to
             me; beca.use, ns I so.y, this printed bill I have seen for the first time
             this tnorning.                                                       .         -
                ,As. Genera~.. R~ckru·d snld, we 1·~.J)l'et tho.t wc n.I'tl forced to nppeur
             w1t.hout lw.vrng had an opportunity to · completely formulate our •
             dews. 'Ve hnd exvected tlrnt we would bci ns he snid, inform~d its
             to, the J>roposnls emnnutin~ c_oncretely from the Attorne;y Oene1·of's
            o.fltce. Bt1t, apnrt from tne confere11ce which 1- had with Gem•rnl
             Rt>ckoi:d and wit.It l\lfr. Keenan nbout 2)f months 111501 an~ npnrt 'from
r            tt courteous letter .of o,ckno\vledgement of cortllin mformo.tJon which
            l sent t(l him nhcii1t 6 wcf~ks ngo, I luwe lu1d no informntion whntev!'.r
             with respect to t11eir proposn.ls ftom the Attol"ney General's oflke.
                 I will come 1mmedint.cly to certain concrotc urltfoisms whirh I                 •
             think should propel'ly be nmde of this bill, o.nd in tho co1u•se of my
             rem11rks I sbnll be glnd to rt ttempt to answer any que!;t,ions nnv ()f
             you desire to nddress to me, tlnd I may from to time brnnch ol1t n.
             litUe:. bit into oonsidm·ation o[ the more general Ic1t,t ures of such legis-
             lntion which 11nderlie tho entire subject. ·           .        '
                 The first criticism that I have to make is on page 1, lines 8 to 10.
             The definition of the term '' mnchine gun" I think is wholly innclo-
             quate and unsatisfactory. A gun which fires riutomntic~y or serui-
             automnticnlly less tbnn l2 shots is not under this definition tt u1achi.ne
..           gun. And yet,. in my opinion, itjs in fttct o. machine gun and should.
             be so classified.
                 The well-known Thompson submachine ~tlil which has figure'd in
             the papers extensiv~ ; the so-called ''B.rownmg" automatic rifle or t,he'
             Monitor rifle, which 1s a soruewbe.t similar \vee.pon designed for police
              use, arc both in fact capable of being operat~d automaticallY, and·sem!;
              automatically. The number of shots which they mo.y discharge 1s
             dependent solely on the size or the content of t he magazine and if
             you use those guns with magazines holding only' 11 shots they wo11hl
              not he, within the terms of this bill; a machine gun•
                • Mr. Wo01mUFF. Will -you yielcl for a question the.re?
                  Mr. .iltED'ERtcit. Certi,inly.    ·                               •
                  Mr. Woc>DRUFF. }.s a: matter of £net, the only tlti·o g t,hat controls
              or limlts the number of shots that an automati<; rifle or shotgun con
              fire ie tile magazine itseU, is it not?                          -·
                                                                                Exhibit A, Pg. 760

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 ""'L-
         40                        NATIONAL FIDEARMS ACT

               Mr. Fn.EDElllCK. I think thnt is corcrect.
               ~fr. W.oonlu.Tl'l''.~ That· is the only way in which you cnn limit tho
          number of shots Mint can be fired. An<l it is 1~ very simple mnttor,
          is it aot, to challge J,he mngnzine or the ~liP. or whatc,vet Lhoy lliro to
          hold theso. cnrtndges, l.o meet nny restr1ctions1 particularly (l'1:1trlc-
          tions suc.h ns nre proposed in the pnrngrnph at tbe bottom of the first
          pnge of this bill?                                   -
               Mr. FREDFJUIOK. In gmic1·o.1 1 thnt is tl'ue. I propose, howc""r 1 ti>•
          du~gest n definition     or     mnchinc gun which l thinl;: obviotcs your
          oh111ction.
               l\1r. \VoonnUFF. l will soy tbt\t my position is exnctly tht1 snmc us               ' '
          the gentleman's in regard to this parag~·nph. I 111n in perfoct lmr•
          mon~· with yl>u on this.                  ......,_,        ·                ..
               Mr. F1n:oE111ctt.· And whit•h l vontur.- to s1tgg<1st will lny hcfort•
          yo11 n more concrete definitio11 of whnt is n mnchino gun.
               ]\fr. J~1n:A11.. \Viti you plen~e give it.'? Thnli is wlmt w1• nrr tr,ving
           to get.
            . !vir. GoOl'Klt. !\1r. Ch11irm1m, mu.y I n:;k 11 question bt'fm'(I t110
          witness pt•occeds to do thnt'!                            .
              ·The CtiAm11111.N. 1-.lfr. Coo11c.r.
               !vlr. Coortm. 'J\ho 'ir1111s to which you have reforrcd, how lllllllV or   0

          those are rt(lw mnnufoctureil with tho typo of mngnzinc 11wntinnt•(! hy
          you, firing loss thun I 2 F;bots?                                       -.
               ~Ir. FJu!oEinrcx. I cannot n1111wer your •111llstion, T do not. lmow.
          But l sny t.l1nt it would be ti p1;rfoctly simplo thing for srnnllet· 11m;::11-
          zine>l to ho prep:1recl.
               Afr. Coo1'1m. 1 understnnd ) '<Hf i>ny t hnt it is possible fol' s uch t.yrc         ~
         ,<>f w11npon to bo CC)nstrncwc\, hut I 1im nsking y1111 wlint t.l111.sit.11ntioi1
          is now wit.It reforl'nce to tlm nrnmtfncturc nnrl snle .-:r tho typo of
         Wf!l\)lOll to whicl1 yo11 refer.
            ~ll'. F111mE1ttCK . T cnnnot. nnswcr        thnt, be-0nust' I do 0111 l"111w,
         The definition which I SHf!gf.st is f,his: •                    ·
           A mM:hinc ~Im or ~11hm11ohl11Q !(Un 8J! use1l in this ucl. menus n11.'' fi11:nrn1 hy
         whnte"cr 11nmc ·ln10\\'11, lun<ltld M 111111111<1ofl , whlch Ahoots nutomnticnlly niorc
    ,    thnn m:c shot witl111ut ma.mm! rcloJUling, by n sin~lu funotlon of th~ trlggcr.
             The distinguishing feature of Ii mnchino gun is thnt hy 11 sli1~le pull
        -Qf the trigger tbc g1m continues t.o fire n!'l;long ns thcro is nns nmmnni-
         tlon !11 the bolt or in the mognzinc. Other ~nns roq11im'n !mjrnrnta
         pnl! of the trigger for. every shot fired, ond sur.n guns n~c no.t proJll'rly
         aest~nrite.d ns m11chmc guns. A gunl however, which JS cnptthlc
         ot firing moro thnn one shot by n. single pull of th<> trigger, n sinc;lo
         function of the trigger, is {>roporly regarded, in my opiniuu, ns n
         machine g11n. ·
            -~fT. HtLL. Mny I.ask you n quest.ion tbr.re?
             Mr. FnEt>EltlCK. Yes, sir.               .·
             Mr. BILL. Suppose yoU'r definition were ndopted. W:ould it ho
         prncticable to m1111ufncturc a gun that would be classed mther !1$ nn
         automatic or semi11utomaticn.Uy operated gun, (lven w.i tb more thnn
 ....._ one function of t.ho trigger, nnd still answer the purpose, in tL lnrge
L         wny1 of a machine gun which r equires only ono function of the trigger?·
             Mr, FnEDERICK. I do not think so. For purposes of exn.mplo,
          y,011 ml}y look e.t the e.utomo.tic pist1ol which is th~ stn!ldnrtl weapon
         of the United States Army. That hn..<! nn autom1,t1c dtschurge of the
        ·empty cartridgo and n re1oll(ling principle which is opornt-Od    Exhibit
                                                                               by A,
                                                                                   thoPg. 761
                                   ...
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                      <      1'A'r10NAL FlllEA.RMS AO'l'                         41
                                                      1
    {or.~o or the gas from tlso 0..'(pioded Clll't'ridgo. But with no singlo pull
    of tl10. t~1r only ono l!hot is f1rt1d. YoU>rnu!tt rolon.so the tl'i~or nnd
    rmll it ugnm foICtho second R~tot to be 6.ro~. .You cn.n k~ep firing U!ut
    1\.'i fost ll!i you can pull VOllf il'lgger. nut tJiat IS OOt properly I\ mncfl'ino
    gull 11ncl lil point o( ell'pciivon.oos .1111y gun 80 opt1r11ted will be vory
    much loss effor,tive t.hnn one which pours out n strenm or bullets with
    1i single pull nnd ns 1\ pel'foct, strc1im.
          M '" •ll 1LL: In one sonso ~ou 11ro limiting tho seopt1 o r this definition
    nnd In nnother you nro orom.lenipg it. \YhN1 Y?ll s1iy tl~n.t nny
    wcu\)(ll\ or 11.ny Jllln thut will shoot more tlmn orl<'c 1s n • mnclun(I g\111,
    you nn• hroiufonmg tho <lofinition. But wh('.n y1111 su.,v ' 'one.-0pcl'11ti1111
    of th" 1.ri~g11r" you mwr 110 limiting. U1e d11ll01tion as it is in this hill,·
    ll.S l i>rl' It, been use tlus SO.YI'\ nothing nb.011 ~ wbnt opC\rntion or ~ho
    trij?l•Cr is n11oossary t.o constlt11 t.o tho mnchino 1t1111.
          ~l1•. ~'JI ED ERICK. H I 11ndt•r:;t1md your rtlmnrk Mr. Hill, r think
    thnt is quite truo. I nm including within the delinitfon, howo\·<'r,
    OYN·ything that I think. i~ I\ mnchine gun instcnd of including only
    tho;;c mnchinc guns .which flro 12. or !Uoro sh~t.s with_out rolondif11;.             ,.
      . :\It'. HILL., The·p?mt I flnl 111~\lTIJ,\' IS, wni 11tcl111fo JO your dcfi111-
    t1on the phruso, .. W'tth 000 function or tho tr1i;1.;01·"f
          '.\fr. FnEDERIOK. l3cc1111so thut is tho l!SSCllcn o( 11 mnchin11 guu.
    Otherwise you 11nvo tho ordin11ry repenting ri111-. You h11\·c tho
    Ol'tlinnt)' sho~un wh.irh is in TI O l'!'m:o und 00\'0t h ll!>. IJee.n thought O(
    M n mnchine P,nn.
          '.\fr. Fnr.Ait. You nr4" nttcmpliug lo ro1•t>r mol'(I th:\I\. i;; <'mhodiNl
)   in this bill?- ,                                        .
          )fr. [<1rnoEmoK. l nm t1;yin~ t.o brini within this ovcrythin!! thnt.
t   in my 1>pinion should 1111 inc.l11dcd under th11 ti•rm "machine gun."
          )1r. l"rrnAn. Thnt wouJJ_Im dcRifoble.
          ).1r. FttEDEniCK. I l!ho\1lcl not likl', if thnre is t-0 lie legislation with
    f(l~pl!rt to machino g1mR1 to have mM'hino f<!11l1R l'npnlile of ftri:Jlt: ,up
    t o 12 !!hots exempted from tho operations o I.his hill.
          Mr. CocmtAN. Mr. Frederick, under your propoS<'tl delinitioh, "'_
    woukl the Colt automatic pistol he a. m1whioe gun?
          '.\Ir. F.nEDERfCK. No, Rir. I do not think ll'i11t. in tl\(I eyl'R or nny
     hn1Iisti1· cnginco:r it would br. 110 regardrd. I do not think it should
    h!\ w rrgn,rded,                     •
           :\tr. CocunAN. DocR not tbc Colt nutoml\t,ie pistol ro11tii11u1 l.o.
    flho<>t. f\11 long n.s yo11 (1-:<~rt ptO.<>surc upon the trigger?
          :\rr. l•',1mDElHCK. No, sir. Tt re(J'1irl's rt sepnrnt<i pull of the trigg<w
    for t'\' <',l'V i;hot fired.
     . ).fr. 1\JLi,._ 1£ tho Colt nul<!matie p~stol. r.oulc l f)m 12 time~ 1 woultl
     1t"hr n maohme gun umfor this dC?.lin1tion m the bill?
          >Ir. FnEnE1ncK. U0t)l\1" Lhn ddin1ticm 111< print.eel in tho bill?
           :\lr. Hn.i:.. Yes.
          :\tr. FnEne:n101<. 1 do riot know· wlrnt tl1C' faht:nngo menns, "nu l<>-
     nll\ticnlly or scmi11utom11ticnlly." The lnng1111~e is not.i as I re11d it,
     nnil from .my limit<'d knowledge of .firenrms nncl bnl ~tics-which
    1111$ some scope, but, 1 do not pretend to be I\ flnisli<'d master in thut;
     I nm A lawyer, 1 nm not. 11 fire11rms monufnoturcr-1 do uot know
     whnt "nutomaticnll.y or scmi11.11iomaticnlly" mcnns. T11t>rc nre
     nutomotic fC'ntt1ros about tho Colt. pistol in tl1e sense tlmt. when a
               is fired tbe ~ct.ion_ of tile gas not only oxpels tbc bullet from one -
                                                                     Exhibit A, Pg. 762
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      42
      end of tl1~ barrel, hilt jt expels fibo empty shell from the other end,
      and i• is llO devilind that upon the return of tho cnni&.ge throu~h n ·
      spring, i t puts another shell in place            or
                                                  tbo old one. That is in a I
      sense. automatic~.a~d t~o.~.Ptinclple is found in f!1o.chmc guns. But
      that 1s not t.he <Ustingwslun~ features of n maclune ~n.                  •
        Mr. FnEAn. The question m m y mind and I think m th.~ mnjori~y
      of the committee is what we Cl\D clo to aid in suppressing '1'iol at.ions
      by such men as Dillinger and others. Do yo11 think I.hat by your
      pro~sed 1U11endment you have aided in that. result?
         ~·fr. F IU!t>EJUCK. I bolieve i;o,                                           •
         !v1r. FluJAn. Thun whri~ is the purpose~ any Jong.or discussing-that'!
     . 'Yhv not go on to someth111g else?·            .
         J\l'r. Fn&DlllUCR. Il nooc ol yo1~ geutlo.mcn desires to discuss t.h nt
      pArticulnr feature--                                                       .
           Mr. Fur.AR." Youn.re a lawyer, vou ure nol a fll'enrms manufcwtnrer,
      ·as you have said. Lot. us n.ssume thnt we nccept yom',proposcd sng-
        gestion. ·I suggest. that wo pnss it and get to t110 other serious ques-
        tions thnt ere 11\V'Olvcd in tho hill.                          ·
    • • M;r. FnEDEmcK. Anotl1cr objection whi~h appears to me to he
     _ serious is that there ~pfll'OJ'S to be 110 distinction-'-! do no t know what
        figut'Cs it is intended to i.r!s1•1•t on pngo 3 in the rnnttel' ol taxes or
       Jicenses,·lmt.it would soon\ that It wns int~ded to insert n single figure.
            ~fr. HtLL. Wbnt·line?                                      .
            ~Ir. FnEDRlllCK. I run l:lflCllki ng oHine i;, p age 3. '      c·      ..
           1\fr. Jil1LL. lt hos been suggested that in t.] 1c first blnnk you tn!;crt 1
     ' $5,000 and in the SCt'ond blu.nk $200.• That. is <>nly n s11~gestio11 .           '
            l\1r,:JR"EDE1t1C)t. 'l'Jumi is, ni; J see. it, no proVision·mndc in t ho net
        for the 'obber, who is tho general distributor to denier.; of pistols.
        It see       to me that from the litt,le I know of tbe manner in which'
      . the buainoaa is' conductedi becltuso I have not and never have bad
        any wnnetition with the hllsiness of firearms- as I understand it,
        the jobbct plays an e~n~W p!lrt ~ tho fil'lll\rfns busine5S. I under-
        stand that lt would be quite unpoSS1bfo for the mnnu!nctu'.rer to pass
        upon the credit questions nntl tho ott.er matters which arise, as
        between ~be ultimate dealer and his suppli~. Jt has suggested itseU
        to ~ rnmd I.hat one or the purp-05.es of this bill was to destroy tho
       .jobber and to elimin11.tti all but the largest and tbe wealthiest nnd
        the·st.rong(!Bt individual doal.en;,                                  -
            The ClLURMAN. Do you mean dealers or mnnu!acture:rs?-
            Mr. Flt1:n21nox. 1 .mean ~nlors. I think an anJ\ual foe of $200
        a year will elimin o.t& 06 peroent or the dealers in pistols.
                                                                                                                   '
           ·Mr. Lswrs.. Wlat is your dcfini~ion of dealer?· \Vh;t does it                                          •       •
        include? Does it include tho vill11ge ;itorckeeper who sellstpislols?
            Mr. FnE.DSIIICK. Yes, sit'. •
            Mr. Ht.LL. The defUlitiou is ou pngo 2 1 beginning with linc_11:
           T11e term "dealer" mclln~ l\nY pt\TSQn uot 11 manufacturer or importer engnp;ed
       'Wiib.ib t he cor1tlo.e ntal Ut)lt,e(J 1'tA!:eil in &he busiDesS of .selling firenn:ns. The
       tenn "dealer" ahall ll\Oludc pa'l"!I br-0kcra and dc:alen In used firearms.
         Tbo.t would incl11du jobbers, l take it.
         Mr. FnEiDllnlO:&. It is possible, but the j obber does not. tit ,·ery
       logicnlly into tile pieture1 that is here dafined.
      · Mr. F l\BAR. If we iuse1·t tbo.t, wouJd t hnt ·be sufficient to meet your
       objection? Tho.tis, o.ftc1' the wo'teis "pawn brokers and dealers" ttd<l
.                                                                                    Exhibit A, Pg. 763
•
                                        - .... - .     .-                  ,                         • ..   ....       -   fl
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                 •               Document 1-3 Filed 12/18/18 Page 91 of 250
                                 • .• NATIONAL' FIREARMS AOt

               ;Cr'.  FnED~mc~. I would ~nvc to e:mmin~ the bill .i n order to gi;o
             n. rcnlly intelligent 1mswer. to your <1uestion:. . .
           _ · Mr. FREAR. Can you give uSjn. constructiv e nmendment7 ·              . .
          . · 1'\:Jr. Fm·JDERICl'.· I must agom J'eler.you to th·e fact that this 1s
             tbo li.rst morninl! 1 have seen this particular bill, and I ani not prepared
             to give 'you thr. t particular ·suggestion... But I tl1ink tbnt provision
             ought to be n ...de f?r't~e jobber e.n'd J think tl111t provision ought ~
             be ·mnde so tl1nt tblS will not destroy 95 percent of the small d. fet'$
             througliou.t the coµntry. .         :
                 Mr. FnEAR. On what do{uu base thnt statement?                    ·
                 Mr. FREot:RtcK. A tax, sav, of $200 pel" year will eliminate 95
             percent of the dealers, in my opinion.
               1 Mr, FnEAR:· On what is your opini~n based? . .         .     .      .•   ..
                 M:{. FREDEIUCK. My genernl expenence and practtcnl contact with
           · den.le"i~ nnd observation oft.hose who deal in firearms and such thlngir;_
             over a, good mnny yenrs.              ·      .                ·
                 Mr. HiLL. Wlio.t figure would you suggest?
                 Mr. FREDEIUCK. That tnkes me into the purpos\.]s of this. bill.
             This bill, as I see it, is intended. to be a bill for the suppression of
                                                                                                    ..
             crime and is proposed to the United Sttitcs Congress which ordi-
             narily l1ni; no power in such matters, under tue guise o( n. revenue
             rnising bill.                       :
                ~1.r. FnEAR . .Nlay I 1tsk a question?        .Are yon interestc<l at all in
               arms manuTacturing or anythin_g like that'?                                    .
               · l\1r. FREDERICK. Not at nil, tn an.y way.                                   .
                 ..Mr. FREAR. They why not· o(fer some constructive eriticism?
               Yoh are- complaining about the chnrncter of the bill, sQg-gesting what -
    {          is behind it, the motives' behind it, nnd so forth. Why not offer
               somelhlng constructive that will be -be.lpful to us anywhere ~ong
               tlie line?
                  Mr. FREDEIUCK. I nm try to ·def so, as l'npidly as I can.
                  Mr. FREAR. H you \\>ill read your rocord, you will find, I under-
               stand, that you are attackiIIR·the motives generally.                         .~
                  Mr. FREDEJ.UCK, Not at nil.                          •
                  I ana saying tlmt this hill, practically speaking, destroys the
               busin&>s in fircn.rms of 95 percent oI the dealers.         .             .
                  Mr. FREAlt. Then why not rcrommend something, as :M:r. Bill has
             · suggested?                     .                .   ..            . .
                  .Mr. FnEDE.RJ~. I shnll be glo4tosubIDJt11 recommendation m that
\
               respect, as soon ns I hnve had n. chn.n.ce to e-xnmine it.
               · Mr. FnEAR: Y~s; 'but do not att.ack the motives for its introduction.
. ·.,          We llJ'O not interested in that at this time .
                  11.r, F1n:0Erucx. I think thnt the l'CSult of this provision here
         · ' will Le to deprive the rural inhal:iitnnt, the inhnhitnnt of the muill
               town, the inhnbit1mt of the form, of nny o}>portunity to secure n weo.p- ,·
               on which he -perbo.psmore thnn anyone else needs for his self-defense ·
               11nd protection. I think tbnt it would be distinctly harmful to ·
               dostroy. tho opportunity for self-defense of the ordinnry man in the
               smnll comftluruty, wher~ police forces nre not adequate. .                  ·
                  :Mr."lb.LL. J111:tt tell us how this bill does thnt.
        •         Ml'. FnEDERrc K. It does it mtwo ot three ways, a.s I seelt. In the
               first J?!ace, it requires Federal docuinents to be filled out, procured          '
               from Federal officials, before o. pistol can be purchased. It requires

                                                                            Exhibit A, Pg. 764
                                                                                   •
             -~   -·----
                  ~--"'-·--­
                             -                   •,                                           ·-
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                                 NATIONAii l"mBARMB .A()'J) •

•.  that pistol to. be purohased from a licensed ~ealer. Now, if the
                                                                                                ..
    J~es~ !llld most importo.nt and _wealthiest dealers, those in the lu.~g~r
.---mt1~th..e only dealer.> to exJ.st wbo Cnt\ bn.ndle fueal'Jlls, nnd if 1t
 . ~s requirlia~°'l°':~°' ~eder.al official '!ho is not. to be Joun<! readily _
    Ul rural commurut1es-1·111...the country, m any except the ]il.rger com-
    munities-iJ they onl:y afe, nllowed to handle firearms, it ooems to
        me that the practical result will be thnt the countryman absolutely
        will be unable, in n prnctic-1\l sense, to obtnin nny firearm. Th.ere nre
        so many impeditneots put in his wo.y, Ba will be unablo to secure
        a weapon that he needs for his own defense nnd the defens0 of 11is
        home and lamily.                 •                                                  ..
         . Mr. HtLL. Do  you have reference to t.he large license fee of $200
        as suggest.ad.in line 5'l                       .         .
 ~-        Mr. FREDERICK. I llnve 1tt this moment1 yes.
           Mr. Hu.L. Suppose you mnde tlutt fee $5, wbnt would be the
        ~ituntion? 1
           Mr. FREDERICK, I do not th.ink tbnt thnt would be ns bnd. !
        thin}< it would be somewb.it serious, but I       .do
                                                           not think it would be
        very serious. l will tell you why I say that. The uniform firen.rms •
        net whicl1 we sponsored.nnd wliio.h was adopted in Pennsylvania had
        a provision for.$10 license fee for de1tlcrs in thnt Stnte. Thnt Jnw
        hns been in effect in thnt State for 3 or 4 ye~ . I om told tbnt the
        practical result is tbnt most of tl1e smo.11 dealers, country hnrdwnre
      • merchants, and so forth, refuse , to tnke out ti license nnd pny $10,
        because they sny it just is not worth it. They sell maybe three or
        four guns n year and it is not wortl1 $10 to get the privilege·of sellinil
        three or four guns. I think that any $Ubsto.ntial license fee wiu
        destroy the smnll denier in the small community.
           Ml'. HlLt.. That is, any n,pprecio.blc license fee?
           Mr. FttEDEttlcK. Any appreciable license lee for denJe:rs.
           Mr, BILL. Would the i·equirement for a license itself do that? .
           Mt. FREDERICK. I do not\.think .so. I think if it \Veren negliidblc
        (ee-imd as I see it, inasmuch as I believe the main purpose behind
        this bill i5 a police purpose and not n. revenue purpose, it seems to
        me that that chnrge should be mo.de quite nomin.al; it should be
        made so smo.11 thnt yo\J got actually tbe police rosult that you wnnt,
        nnmely, the registration or the denier nnd tl1e issuance o{ o. lit1e11sci
        to him, but that should not, bc:r made o. burden to him in point ot'
         dollars nnd dents.                                              .       ~
            Mr. HTLt.. H tlint should be corrected-·it ii not really n corrcc-
         tion1. bernuse there is no sum in there no,,·; any nmount tha.t ho..<::
         been spol<en ol l1e1·e is merely tentntive.. The.re IS no dctcrmi11ntio11
        'ns to whnt thnt fee shall be. But it we met t11e objection on th1it
         P!ll'tfoular phnse, you would be rendy to pass on to something else,
         would y_ou not?                   .
 · · · Mr. FnEDEillCK. Yes. I wnnt to sny one word 1dth respect to the
         n111n11fo.ctul'ers.        ,___,,.
           Mr. CoC'HRA~. Mr. Cbairnmn, before the witnt>,ss gets to thnt1 I
         desire to·o.sk if 110 will nt' ~his point in his rmnurks insurt 11 r.op:v of tho
         uniform fi~enrms bill 1\·hicb bis nssociution l1ns -si.:onsorcd illld whic.b
         bus been 11.d opted in vntiohs Stat~?
            M.r. liILL. How voluminous is tltnt docun:IO.lit?

                       - --                               - ·-' -          Exhibit A, Pg. 765
              Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 93 of 250
                                                      l'fA'UONAL PffiEARMS ACT                                                          45
                     .Mr, FBEDEBrcx. It ill about.four p~es .. It is pYactico.Uy the law _
                  ·as it stands in the District of Columbui. l have a. copy of it bete. ·
                   There are five pages.            •                         ,    ·
                     The CHAIRMAN. ·Withoufobjection, it wm be inserted in tl1e record.
                     Mr. ~EDERlCK. It is substantially tbe unifo11n net.
                      (The ·act refe1Ted to is l(s follows:)
                                                         (PUDL'l>-No. :!1:;-720 CONOUAS]
                                                                      1u.n.~1

                  AX ACT To <ODtrol Lh• po,.,..,.ioa. aalo:. t?~D•l•r. and""" or !listolsand olbu UllOIU'rOUi ;rOllpolfs fQ 'Ill~
 .. •                 DL,trJet ()f C-olun\bfa, to pro\•ht~ pennhtes. to prrscrfbe. ru1es or '''ldenc.-e. :i:a11d r'lr other JlUTPOSC~
                    Be it cnaclcd by IM Scnal~ artd JJouiu: of Repraenlalivci of l~e Uniled SialQ nf
                  A merioa in Congrll3• ~·Bemliled,                                 .
                                         '           OE:f>1N1Tf0~8

 ••                   SDcr1os 1. "Pistol," as used in this Ad, means nny 1iroatm with 11 harrol less
                  than twleve inches in length.           , •                               .
                      "Se.wed-off J1hotgu11," as used. in tins Act, means any shotguu •nth a barrel
                  less than t.l'l!nty inches in length .
                     "M11cbine gun," us usca in this Aet, m~ans 11.ny firCMm whic4 shoots auto-
                  matically or semiaut.omatically more than t1"elve a.hots wi,thout reloading.
                      " Penon," as used in this· Act, includes, individual, firm, association, pr
                  corporation.       ·        -                                                      1
                      "Sell" and "purcbaoo" aud tho vo.riou$ dcri ,·ati_,.os of suth words, n.~ used in
                  this Act, shall be construed to include letting on hire, i;iviug, lending, borrowing,
                  and otherwhe t r11.nsferri11g.     ·
                      "Crime of ,·iolence" as ll6Cd In this Act, rueons nnv of the following crimes, or·
                  fill attempt to commit any of the 6~e. u11mcly: Murder, mau slttu_g)llier, npc,
                  m11yhem, m11.1icio1isly dis6g1Jr\11g another, abduction.. kidnaping, bnrglary,
                  housebreaking, lareony, any assll.ult \Vith intent to kill, .c ommit rape, or robbery,
                  uss1wlt wit)l a dangerous weapon, .or assault with inwnt t:o commit any offense
                  punishable by imprisonment in the penitentiary.                    ·            •
                                                OOYYITTl:o!G CRIME WBllN AltYED

                     SEC. ;i. If any pcrsClll sh:lll cominit a crime of v iolcl'tce in the District of Coium-
                  bi:i 11·heq armed with .or hn..ving readily a.vailnhlc any pistol or 0U1l'r fiTenrm, Jiu
                  may, in addition to the punishn1cnt pro,·ided for the crime, be puuished by ilJ!Pris-
                  onment for B teJ'ID of not more than five yl'al'l!; upon a seeond conviotron for a
                  crime of violence so committed 110 may,                     in
                                                                   sddition to tpe punishment pr<wided
                  Cor tho crime, l>c punished by imprisonment for a term or not moro than ten years;
                  upon l1 third conviction for a crime or violonie so committed he may, in addit.ion
                                                                                                                                                 •
                  to the punishment prov!ded for the crime, be punished by imprisonment for a
                  term of not rnoro than flrt<?en yeafl!!; upon 11 forth or llllbsequent conviction for a
    ·.            crhue or violence so committed he may, in addition to the puni~lunent provided
                  for the crilnll, he punished by imprisoncment for- an e.ilditional period or not
                  more than thlrt)' years.                                                                -                                  ~

                                      rEltSONS FORBIDDES TO pqsses!I CER1'AL... FIREARMS

                      Sii;c. 3. Nu person \l'ho bas been convicted-in tho Dfatrlot ot Oohunbia or
                   elsewhere or a criJ11e of violence shall own or ho.~--c in his possc.siun " pistol,
                   ";thin the District of Cul111111>ia.
                         ~                           CAR.RVINO CONCEALED WC&rOS'~

                      Si:c..i . · ~o µersvn shall within the Di"triot of C,1l111nhin <:.arty cu1iciul.li:!il on ·Jr
                   sbmrt. his person, cxoiipt iu his d\\'CUing l1vusc or plncu of hll8iues8 ur uu uLber land
                   pusscsscd llY l1im, o. pistol, \\ithout a liccusc lhcrcfvt is!!Ued n.• hcrciunftar pru-
                   '·ided, Qr nriy dcadl;r ur dangerous weapon.
                                                                     L:'~CBl•TIOX!f


             Ssc. 5. 'l'hc p.ruvi!ion• uf tlJe preceding DllCtiou s~l uot nTJ11ly to runrsbuls,
              .
          sheriffs, pri5ull <>r jail we.r-dcns; or \heir deputies, policc:ucn or othcr.rluly appointee!
,,., t:,:EJii,\'-eofol"CelUl?ll~•olficen;io'c to.mcm_!>cts o[ the;Arm.}'~'<Nnv)',_or Marina CO~ o!
        ' •                  G8_21'&-ll4--4                                            -                            Exhibit A, Pg. 766
               Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 94 of 250
              46
       •       lhe United.Slates    or of tl\o N11tlo11al Cuard or Orgnnhcd ltcsorvcs ,111c11 o n duty,
           ol" to th'a regularly elll'Ollcd meml>eni or any OTg&ni%!1tlon iluly nuf.borl•otl l() p11r-
           aluuse or· !CQ"ivo.euolt wea.pona rrom tho 1J11ited States, provided au ch members
         ~ al'e at or a"1 going to or rJ01n t11elr plaoes of assembly or tArget lJTllotioe, or to
            officeftl or employoea ot ~he U11\ted States duly, u;uthorizod to carr)' a concealed
            Jllstol, or to any person eng~ed in the bl\aln"'lS of mnnufaeturlng; repairing, o.r
            dealing In ·fitllArma, or tlte agent or_representative or any such 'JleTI!On h&ving in
            his pol!OCMffln, using, nr .carrying a pistol in tl111 11•ual or ordinary oourso or 1meh·
         _ buelneM or to.any person while carrying n pistol u.nloadcd and in!\ secure wrapper
         · from the p!Aao ol purehllse to his home <>r place bf b uAlllOOil ol' lo fl r>l&Ce of ropull'
            ol' back 't-0 bh holl'l.e or pince of liuHincas 01• in movinl! goods rtoin nue pl11ce or
          • ab<tdo ol' busJneBB to another. ·                           ·                    ·
                                         •'
.~ .   '"I              • _,,                 1~u~.. o•   WCEN8ES TO CARnv

      •. · Sr;c. !!. 'l'l'le superintendent of poli~o -uf tf1e Dl~trtct of Cotuml~in.1ruly, upon
      ·· , tho applioation cf any person havinf{ A ho1111 firlo· rcsidcncn or pince of lmslnose
   '·       within the District o( Columbfn or of nny person having a hona fide re&idoncc or•
         - pla~e 6! blll!lness Within the United Stn~ and n·lice1Jse to curry o. piirtQ\ eonc:enled
          ··upon his ponion.i.ssued by the lawful nuthotitics of any State ol' s11bdivision°-0( the.
            United State!!, U,eue,r. liceme t<i aucl1 per&oll to cnrry.n pistol withlri the District of
            COlumbia for not· moro than one year Cl'o'in date of iaauc, if it e,ppco.ra that the'
            e,ppilc~t llWl,goodrewmn tu fear injury to his person or nroperty or has any>Clthet
       • · ·proper res.son !o'r c8l'l'ying a piBtol nnll that tie is a ~uitable pol'llon to lro so licensed.
            The license ellal) 'be in d11:11lir.11te, In form to bo pro.serihed lly the C111nu1ieaiciner~
            ot tho District of Col11mbia and shall benr the Mnie, llllilress-, description, photu-
            grapb, and llignatuTe uf t11e JioeDS(.'e nnd the TCMOn giVell fO'l' deslrlllg n Jieen!'!e.
           "Ilre original the'ceof shall b!l delivered t1> the licensee, 11nd tho duplillllte shall be
.,
            reta.jned by the superintendent of polico or the DistricL of Colw11ui11 nud pre&tlTved
          · ID 1iis tlflice for six yeal'll..
                                          BELLUoiO TO ?.1.1.NORS AND OTllERS

               . Ssc. 1. No person shall within tho Distdet of Colnmbin sell any plllbil to 11
              peraon wb.o he h.o.a reasonable cau'o to believe jR 11ot llf smmll mir1d, 6r is 11 dn1g
              addiot, or is .11 pCl'llOn who has t-cen oonvioted in the District or Co1umbi11 Ol' els~,.
              wbere.ot 1' crlmo,    or  vlolence or, e'-'Oept when the relation of pnre11t und c11ild or
              guar®Ul and ')\'ard exlata, Is under tb,e nge 111 eighteen Y,ears.          .
                                .                .>
                                                 'l'flANSf.ElltS llllOVLA.Tlill>
                .S~c.    8. No seller shnU within the DiHtcici of         C11lu~bin
                                                                                  deliv.e r n pisl<>l to tho
'•             p11rehs.ser theroor until forty-efght ooum shall Juwe oln11sed from the t ime o( t'he
               application 'for the ~urclJ.a.ee thel'fl<lf, except in the r-.ase or Mies to marshal£,
               sherilfa0 prison or j111l 'wardens or tbeir deputies, policcmenJ or other lluly ap-
               pointed lt.w-enforcement.officers, 1111d, £vl1en delivered, 811!d'J'iStol .sho.Il be securely
               wrapped tU>d shall be unloaded. At the time of 'applying for tlle p11rcl1ase of a
              j>l.stofthe purchase!' snail sisn i'n duplicate flnd deliver to the selle't fl statement
               containing hie. f ull name, addreSB, occupation, color, place of birth, the dnte and
               bo11r of applfcatlon1 tbe callbor1 mnlco, m oclel, nnd nia.nufocturer's num bel' of the
               pistol to be_purcbaeed and a a tatement that he h!!Jj iie1•or been L'OJlvlctod [D tho
               District of Columbia or elsewhere. or a. crime o r violence. The seller shnll, within
               eix hours alter ouch application, eig.n and attnch his' addi:oaa nnd deliver one copy
              •to aur.h person or persons aa the supcrlntendent of police or the.District or Colliln·
               b!!i' mny dcsig1111te, lllld shall ret!lin the other copy for six y~rs. No machin• ·
               gu11 1 .snwed-ni't snotgon, or hlnck1ack almll be eold to s.uy pereon -0tl1ar than t b e
               pe1'8ons designated Jn aectio~    · 14   ircor as entitled to posscsa the same, 1111d then
               only alter permi!lllion to mak a oh sl\lc hos been obtained from the supcrinfond-
               ent or pullce 91 the Diamct            olumbia. Tllis Sl!ctfon shall nolr apply to soles
               11t wholellll.1~ to liceosed denle .                   .
                                               DEALERS TO BE LICSN{3SD'

                  !Sze. 9, No retllil dcsler shnll within the Dl8trio~ of Golwnbla sell 9r e,,.poae for·
                eale or bave in hfe posseSBion witb ii1ront. to ar.11 1 n.11y ,pistol, ma.chine g\Jn, Bl>\~~- .
              , otf ehotgtfo, ,.,r blnckjack · witho11t ·bei11g lll!o11sed v.a llorelnnfter provided. --~
                                                                  or
             • who1Cf381c do11lar slulll1 withit1 the Dist1'1ct Columbia, sell, or have in his posses-
                sion with intent to sell, to 11rty person ct.her thnll a li.cenaed denler, ~ .Di•tol,
                mnobi.tie gun, aawed~lf shotgun, or b\llo~fnc.k.                              Exhibit A, Pg. 767
                                                                                        T,
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                                               . "
                                              NATlON'AL E'ffiEARM6 ACT                                    47
                                                                                                                        )

                                               ' .        .
                        l>EALERB' LlCEN8~8; BT WHOM: GRANTED <\NII CO"!IDITION8 TUBRJ!'OI'. ,
                                                                          . '                .        '
                                                                                                      .
                 . !':Ee. 10. The Comtnl8!llonere· of the District of Columbia, may, In lihelr,d·l~cr&.

        •
               tio11 1 gr11nt licenl!C& and me.y~preAcribe the form thcroor, clfcctlvc for not moro
               tlmn onu year f f!'Jn date of issue, permitting th!' Uccn8ee ~sell pistole,, machine
              b'11ns, Mwcd-off eooti;une, uud h!AckJnc~s at.retail wltbin the Dietrlot of Oolu1nlita
                                                                                                                        ..
             ~ ·ubjed to th& following conditlorlH 111 D.ddltion to those ilpeclfled In aeatlon O here-
               llf, for breach o f a.n y of "'hich the lfcenee shall be subject to forfelturo- .rnd the                 'J
              liccn~eo s11l>ject to p11niuhmont 'l\.lt provided in thie Act,                          ·
                   1. The buait.1c11S ~hull I.Jo .curied on on\y in the bullillng dealgna~il In the
                lir~11Ae.                '                                                     •
                . 2: Thu llceri6e or a :copy therc;or, ccr~lti~d by the lsooi11g nuthorit.1, ehn\l bO
    '   .    <!:.played.on the p1'CDl.ll!es where- it Cl'.ll\ be c11Blly rMti .                 - _- ...
                 ~ No pibtol ehall bo sold (a).·ir the scllei h4A rclli!onalJle 1~auAe to,belicyq that
              the pnrch"8er·is not o( sound )Dind or la a drug 'llddlefl or bas been couvieted ht
              the _Distriet of .Columbjn' or clscl~here or _n crime of J'iolence or le under the age
              or c1ghteewycare, and (h) .unlC:Ss the purrbnscr i.11 pemonally k.nown to tl1e seller
              or Ehall,prcsc:it cleat c\•idencc of ·his identl~y. .No mochhie gun, sowe·d-olf ehot-
    '   '    1(1111, or h lAok1ack stall be 11old to nny person other titan the persons dcsignntcd
              in section 14 \loreof as entitled to possess the eame, and then only a.tter pcrmj!llilon
              to mo.ke su.ch enlc. hBS been ohtnined· from the superin.tendent of poline oi the
              DistrJct of Columbia.              •                              - -                       ·
            • 4 ," A true record shall be made in a book kept for the purpose, th.e form cf<.-
              wl\i~l1 ttmy'be prcaoribcd by the Cotn,nilissioucn;, of 1111 pistols, maclli11e guns, 11.Jld -
             •nwcll·off ehot(!uhs i11 I.lie posscBSiou or the llce11se111 wbfoh eaid record sha,IJ oon-
              tniu the dnt.e ·or pur-cltnso, th~ caliber, tnnke, DJOIJel, o.11d ma1111rnoturer's numher
              of tho weapon, to which shall be nddNI, when sold, tho date of snlc.
                  S. A true record In d11plloa'to shall lie Ulade of every pistol, u11.1obine' gun, sawed~
              off ~hotg\lll, llild bla~kjack .sold~ said reoord· to he matfo iu a book kept for t fie
              p11r1>osc, the form of which may b<l prescribed by tile Com1niesi011er11 of the Dl11-
              t rlct 9t Columl>ia nud •blill bo Jl(ll'l!ounlly eig11cd 1,y the: purcbuei: aud by the
             •p utson -clfccting the..,,.,Je, each i n the presence or tho other and sl1all eo11to.i11 the ·
              tfl\t~ or 11alc-, the name, addrcsii. occupatloo, color, and place of birtl1 or the pur.i                 "
              cht1£er1 1>nd, .so far as applicable, the cnlilJcr, make, model, and man11failt11tC1fa
              number or the 'weapon, o.nd a statement sigJJed by the purchaser that he ho.a
              never been convicted in Ute District            o!Columbia or elsewhere of a crime or
              violence: One copy of r;aid record abnll, within se\·en days; be forwarded by
              mall t.o tl1e su,peri.ntend1mt of t)olfce of the D'iatrfot or Columbia and the other
             ·copy rciniTied by the seller Cor six ye&n1.                            ·
                  G. . No p iatol ol' lmitation thereof or plllcard atJvcrtialn~ t\10 &nlo thereof shall.
              be displayed in any part of said premises whore it can readily be seen from tlie
              outside. No license to sell at retail shall be granted to anyone except ae provllled
              in this sent.ion.                              , ..
                                             J>AL&g INFORMATION FOnBll>DllN

                   $ st'. 11. No person, .llball; in purclu1.siog a pistol or in applying' for a liecme to.
                ~11rry"the same, or in purchasllig a mMhlne gun, sawed-off sbot.g up, or blJ1Ckjaok
'       '        within the District of Columbh1, II'"" raise information or offer Calllo cvicle.nee of
                l;Jis identlry.      ,                 ·
                                  AL'ffJllM'tON Of ID&NTIFl'ING l&AllltS PROITIB.IT&D                           '

• •                 S_i:c.. 12. No person shnll wltblu tho Pistrict oi Columbin cha1>ge, alter, remove, •
                or oblfierate the wune o( the maker, model, manufacturer's number, ol' othci'
                111a.rk or ldeo'tifice.tlon on any pistol, maebine gun, er &awed-olf shot.gun. PO!Ses>o
                sion ot any. pistol, 'machine gun, or mwcd-ofl shotgun upon which any such ~nark.
                ahall hnvo been ch11nged, altered, removed, or obliterated ~b&ll be prime facie
                e,·idence that the possessor hae changed, .altered, removed, or obliterated the
                rome \\ithin the District of Columbia: P1ornd(d>/lowel'er, 'l'hat nothing conWncd
                i11 this Gcction shall apply to any officer or agent.of an-¥ of the departments of the
                United States or the District or Cohnnhia engaged in experimental work.
            ~                         ~.               UC£PTJON8                        ,                   '

                  S&C'. 13, Thla Act 6ht11l not ~!II>ly t.o toy or !l111Jquii 1)lstols w1.11ultal.Jle for use
                Ae firer.fms. ·    .. -

                                    -.                                                       Exhibit A, Pg. 768
                                                                                                                    I
      Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 96 of 250                            .•
    48'
                t      l'OBSJIB&ION Ol' ' CEll'l'.UN DANO~llOOA Wl!IAl'ONB
        Sze. M. lto per&dn ohall Within tbe'Dbtrfot of OJ1umh~ L)Qt!l!eas ·a ny mscbln&
•    gun, eawed-oU ehotgu11, or ariy lnstn!lnen~ oi ·WeApOn o{ the kind commqnly •
    · known a.a a blACkjack, elunR shot, eand. club, sandbag, or metal knuckles; nor
     tily·tnatrumeot, at~lunent, or appliance for eaueing the firing of any fl'roarm
      to be allent or Intended to le1111en or muffle the noise of the firing or any 6real'll1B:
      Prwiatd,, lloUJeVer,· That IDAOhlno guns, or l!l!"'ed-olf shotgun•, and blt.ekjMkH may
    ·be poeaessed b_y tho members or the Army, N&vy, or Marine Corpe of the United
      St.ates, the National Guard, or Organized Reserves when on duty, ~he J,>os~
    ·oroce    Department or' lt.iJ employees when on dutY, nun11hale, eherilfs', prison or
      jail wardens, or tli'eir deputies, po)lcem,enbor otlier duJy app9lnted lAW-ilnrorce-
    . ment officers, officet11 or em)?loyeea of the ' 11ite<l States duly authorized to carry
      auch.weapOoe, banklllg lnat1tution1J, public carriers who are engaged in tbli busi-               '   '
      neu or transp9rtin1t mail, money, securities, or other valuabloff, \V~(ll(tsale tloate:rs
      and retail dealers hcenMed under section 10 of this Act.                       •
                                                 PJ<.NAi8lEB
       Szo•. 15. Auy vlol11tlon of.11nv provision or thiS Ac'l., for whfcll no renalty is
     epeelfle&lly provided shall be'iuniahed hy a fine of not more than S 1,000 or
     fm11rieoninent !or not more than one year, or, b6th._                   ·
                                       •    CONE!TIT1lTIO!'tAJ.IT'L
                                          ' for any reason declared· void, suoh lr1vnlldJl.y
       BEc. 16. Ir 11ny part or this Act is.
     aheJl not affect the ve1irUty     or
                                     the remu.ining portlons of this Aut.
                                       \lERTAIN Ml'r.S ltEl'EALEO
       SEc. 17, The fotlowing ,cctloris or the'Code or J,aw for the District of Colu1nbi11,
     1919, namely, sections 835, 856, amt 857, an.ti 1111 other ;\Ct·s •or p11rh or Act3
     fnconsietent llerewlth1 are hcrebv repeated.      ·
       Approved, July 8, 1932.        -
        The C~MA.N- In wlrnt sense is the possession of a pistol esscnfifll
                                                                                                  ..
     to the self--defens1;1 o{ people who live in rul'al comntunitios, AS you
     have stated? Do you mean it is essential to the. self-defense of an
     individual who is out on              the
                                     highway, or in his home? In wJ1at sens«:'
     is a pistol essent.ial to the self-defense of an individual who lives in a
•    rural community'? Why'is not a riOe or a shotgun, the possession of
     which would not be prohi~ited unde.r this act, sufficient for the self-
      defense of .an individual or an individual's hotne? Jn what Sens& did
    . you mean that? You know, most or the Stutes have lnws. ngrlinst
      carrying concealed weapons.                           .
         Mr. Fnt:t>EttlcL Exactly. I think those tlre quite pi'opb )l\w!'
      and ara tl1e only effective laWS;                                       ,
         'The Ct1All~1>lAN. Then it can be tlltlt you '01·0 roforrlng ouly to Ute
      possession of e. pistol in the h9me.                    ·          ·
       • Mr. _FRlllt>EJuc:ic No; because many puople do find o':cnsion to onrr;
      pist.ols, and do so under license.             -.
          The CaAm&rAN. ' That. would not nMessnrily be ti 1l'lB.tt<'r of sclf-
      defense, would it? .
          Mr. FR'Et>EJUCK. Oh, yes, in many, many instances.
          The CHAIRMAN. ·I never heatd of it.
          Mr. FnEDERlCK. I have heard of it in lmndrecfa of instances.
          Mr. FnEAI!. My e:-..'])erfonce is the,t the nvern~e person who c!IJTies
      o. ravolver is not one wbo lives in n rurll:l district, but ill Xow Y<.li'k
      or Clucngo o.nd such 'places ~hn.t. Dilllnger and men 0£ his t.ype 111·<.>
      found.                       ·                   ·

                                                                               Exhibit A, Pg. 769
                                                                                                        ;r-"
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                                                                                                 49 . "-
                     .                                            i
                  tvfr. ~fcConMAOK. All of those fellows ara (m1mtry-born boys.
               They: do' not come from the big, cities. l understand that most or
               then' are country boys originaUy.              ,·  .               ·
                  Mr. FnEAn ...').'he -mo.n against· Whom We 'o.ro trying to fogislate· is
               Dillinger and men of his type. · ' ·                      ·
                 ·rvrr. FREDERICK. II there is any ferU!ihle wny or getting that type                         '•
               of man, I would like to know it. .              •
                  Mr. Fi\EA.R. We are trying to. In all of your experience in theJl(l .·
               matters,· have you drawn a bill wl~ich had for its purpo~ that end?
                  Mr. FREDERICK• • l have spent lfi ·;yeara· studying tho subject
    • .   l
               nnd 1 have worked with the National Orime Commission. One of
               the results of my work' bas been a: cont"tibntion toward the uniform
               ~ct-which, jn my opinion, has mllde - -
                  tvfr. FREAR. '!'Jave vou put. it in fori1e in New Yo,rk? .
    ..            ~fr. FnEDEn1cj{. I have tried to.
                                         0


                                                             · ·
                                                                                    ,
                 -Mr. FREAn.      We  are. tryjng          to
                                                     put some lnw i1tto effect.
                  .Mr. FnEnEit1cx.' Severa.I oI the provisions have been ndopted in
               the 1Jnv oI New York.· ·I hnve conducted campaigns for two successive
              ·years- -                           .                           .
                     MT. FnEA"lt. You said your expe11ience covered 15yoars.                      ·     .
                     ).fr. FREDEJUCK. I said that in··New York Stnto I have c-Onducted •
              - cnmpaigns in sUpPJlrt oi bills which I have caused to be introduced l n
                 the.legislature.                                                               -
                      ~fr. FREAR. We do not want to 'havo to'\Vait 15 years more,. do ·w.e"?
                     l\fr. FnEDERIC'K. 1Vfr. Chail'lnon, in respect to'; the manufacturer,
                 the manufocturer's license is $5,000 n year, and tlint mnsf refer solely
                 to the big mlUl.ufocturers, of whom there o.ra four or five jn this
                 countey. There are smaller 111nn11f11,c t11rcrs who would be put out of
,                business completely by ony such .t11x ns $5,~00 a yenr and yet w~P
                 perform an extremely useful !unctton, when looked ot froni. a ccrtnm
               -standpoint.                                             '     , ·-      ..;. •       .
                      l\1r. FnEAlt. Could we not base t]1afi on the amount, o"f soles?
                                                      r·
                      :.\Ir. FREDER[CK. Yes, think that enuld h e quite ensily Clone. I
                 11.rn refening to the 111..aket'S of handmade pistol barrels, of whom there
                 are a rt1unbe'.I' in this country, . They make the finest and h ighest type .. •
                 o.f target weapons t1111t tu"e to he found D"I\d they do .i t entirely by hand; ,
                 I mean, with&. hand 'lathe. Their guns h ave been used ·for 25 years
                 in both the National nod tl1e International shooting C!lmpetition. I
                 haYe myself been a i;nember of 'five or sL" intema.t ional pisto: teams and
                 in every one of those I have used hand-made guns, hand-made barrels,
               .          .
                 because tbey'were
                 m my op1mon. .
                                ..      a)ittlo;bit
                                         .'  ,;. ·~

                                            ·1 · l
                                                    finer than
                                                            .._
                                                                llny others thut could be bought
                      Evecy one of those bil1Tels WQS mu ile by A man who is n·past rooster
                 of thn.t field of ballistics, i\nd· who 1;1111, In my opinion, muke ·o. finer
                 bnne1. than any mdnufnc'turcr in the bqsiness. ·                                ··· ......
                     .The CnAIRMAN. · Do~ 1rhe make tihe entire gun' or just the barrel?
                      Mr. FREl>ERtcic. ·He makes the barrel.
                      T he OnAtttMAN. tl{e -would not come under the provision$ of thie •
                'liill, would he? . ·· :          ·                                            · .·~
                      Mr. Ji'R.EDERlC,K. ' I do not know. He is 11 mnnufnoturnr. Be goes
               · Over tl\e whole ~n , revi':leS the trigger pull, changes f.he hnmmer,und
                 does 11 lot 0£ thm~ "to it.                                        ~ '

                                                                                    Exhibit A, Pg. 770
                                                                          •
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     ' 50
                                   ' .                                                  ,
          The CeA,rnMAN. But he i;; not 11 mnrmfoct.urer of 1i gun : He
      assembles tbe ports 1u1d puts them togPt.her.         rr
                                                           e is nnt o. mn.nufo<'-
     . turer1is lie?                  ,
- . -.. Mrc, FREDERICK. I suspect thnt he is. ·
     ' T he C:HA1RM'A'N. I .suspect thnt he is not. I do not.see how lie t'nn
      'be considered a mnnufnct1:rcr o{ n gun if he only makes the bnrrcl.
          Mr. FREDERIOK. He migl1t buy the action from one mnn. If be
 "     made the barrel and then put it to~etlier with the other parts, be woulli
- b e a manufacturer of that gun, iust as much O,s· 11 man_who bought
_      ~utomobile wheels frotn o'ne place ~d a. wiring system· from nno~her
       o.nd .a motor from another manufnoturer · und assembled them and
       sold them·llDder his no.mir-h.e would be a manufacturer.
        · The CHAIRMAN. If he bougbt..aH the part$ and assembled tliem nnd
       sold the finisbed,gJlll,_l suppose he would be a mnnufacturer. .
    \ .Mr. KJ'fOTSoN. Tlus ipan to .whQm yow refer, .does'he assemble the
         '"'-~? . '
     ". gnn                              .                         <

           Mr. FREDERICK. He will t.nlee n gun, take off the old barrel ulld
        make a new ba.nel, put it on, make· over the hammer, mnke over the
        trigger pull, make over the. spring an d d:> a variezy of other things
       -witli it, so that the gun, you might sn:v. was a renssemhled gun n!ter
        he wa.s through with.it.                      ·                    ..
::         Mr. KNl1TSON. What we would call a rebuilt gun .
           Mr. FREDERICK. It really is, I.should snv so.0


           Mr. K!,'i'UTsON. And you think h6 would be a mnnufnct11re1•?
           Mr. FnEDER·1cs:. I suspect that 1'1e would be n manufl\ctnrcr wilhi11
        the tenns of this act.
            Mr. HILL, Assuming lie is a manufurturer, of course in a.smnll 11·:n·
        so far ns output is coilcemed, there hns been n !Hlggestion tnude ht1 i1·
        th at the situation might be met hy f\ wndun ted tnx, depending upon
        the volume oI tl1e output. .
            J\1r. FREDERICK. I think so.
            l\fr. HlLL. It that can be done, the objection you make tlloro do~,.
        not i,;o to the priJ:iciple of the le.gisl11tion, but sim ply to the pnrticulnr
        provision as to license.
            Mr. FREDERiclt.. That is quite tn1e.
            Mr. Hn.~. Your objection, then, is not to the 'Principle, but simplv
        to the prohibitive tax?               ..
            Mr. FREDERICK. It is to the l>rohibitivo nature of the tnx.
            Mr. HILL. So that if we met that by; o. graduntecl t ax on the mnnu-
         (acturer, your objection would be sn tis tied?
             Mr. FnEDERIOK. I think. so. I have no objection- to ))tit i~ this
         way-.to the principle of a Federal license tlesigned not to destroy, but
         to secure a police registration of both rnanufacturt'rs and dealers.
             Mr. Hn.L. r think the committee would be very mueh interested
         in your diret'ting our attention to the TC11l objections to the bill. Of
      . course, the .suggestions you are making now 11re helpful.
            ·T~e CHAIRMAN. !I.fay_ I ask, how long wo\tl~ it take you 1 if it _we_re
        feasible, to prepare a bill bettet then you think the lJendrng bill 1s,
         and one thnt wooJd accomplish the purpose we hnve in mind, for the
       . protection of society, to reach· the end. the D.epartment of Justit•e
         bu in mind, and submit it to the committee? That-would be con.-
        1rt.ructive, that would be practical, that would be helpfuJ....._...      -
             Mr. ~RJ:!>ERtc~ In my opini?n• the useful resu~ts. wh'lcb c an be
          eccomplishid by nrenJ'J~s legislat1Qn are e"trmne]y linuted.    Exhibit A, Pg. 771
      ·-                                                          '
         Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 99 of 250
                                 XATIONAli FmEAR..'1S ACT                         51
     •
           _The CHAIRMAN. That meo.ns iho.t there is littfo B'round_1e(t upon
•         whi~h to legislate or very little necessity for legislation, tba.t there ia
         little to be accomplished by it'1- Is thnt your view'? ·I nin not 11rgu-
           in(? with you., you u1.lderstand. I }'u st wnntJ,o understnn~ your.view-
         . pomt.                                                                    .
               Mr. FnEDERJc1c-. In my opinion; theye· is o. small m-en in which               I
                                                                                                  I
           le!tlslo.tion whicb is useful in 1tS Tesult.s co.n he prepared.         .
             °The CBATR~tAN. Why not submit o. bill.to us that in your judgment
           would accomplish all that is possible to. o:ccomplisltoi practical to
..         accomplish along that line?                            ·. , -
            · Mr. FREDElUCK. I sl1ould be very glnd to submit n written memo-
           rnndu.m contninin~ some concrete suggestions. · . · ·
               -MT. :k:NUTSON. Let me 11sk you a question right e.ttbe.t point. Do
           JiOU· kn.o w of many illicit manufacturera of firearms? I think I read
           m the pil'per' lo.st evening a ·sto.temen.t to the effect ·that the Dep&l"V '
           men~ of Justice bad ·seized an atsenlll:largely: mo.de ·up of guns manu-
           factured illicitly, or unregistered, howeyer they· terin tbern;
                ~fr.'"FREDERtCK. I do not know of any illicit manufacturers .
            . ~fr. LEWlS. Why should there be nny illicit mnnufnctilrers in. the
           absence o{ all law tbet now prevails in this field?                        _
              -Mr. FREJ:>ERICK. I did not quite.get your question.                    .
                Mr. LEWIS. 1 cannot fnncy the moth-e for illicit monufncture
           of these things when we nre almost. without MY laws on the subject
          whntev<'r.    •
   -- · :\lr, FREDERICK. I mo.y say t.bnt o gun is. n Yery ensy tl1ing to moke,
 •      t.!10.tll. tlurd-clnss 1rntomobi:le meehn.nic con moke a pistol which will
        do dendly 'vork, n.rid CllD do· it in nr:i. o.fternoon with the ino.teriols
        which J1e con find in iiny m1tomobile shop. And I co.n say tho.tit hns
        been done time and lime and time ngain.
           Mr. LEwis. Wbot makes it illicit?             ,
           :\fr. FREl»ERICX. l suppose who.t runkes it illicit is the purpose for
        which such guns arc mo.de. If it is not ago.inst the lnw to inn.kc n ~un,
        thC\n tl1e.re is nothing illicit· in connection with it. But wlll\n $UCb a.
        gun is munufoct11red in n. State prison nnd'.is used b:r nn inmate tor
        the purpose of perpctrnting his escnJlC from jail, I think thnt i:0 illicit
        manufacture, and suc11 guns lio.ve been mnde in prison, in prison
     ' runchine shops. '
           ).fr. FREAn. It turns on,t.he~tive?
            ~fr. FRE1>tllTOlt. Y!'s; it turn    n tl1e motive.
           Mr. FREAR. How nre you aoin0 to determine that in ndvancc?·
           )..Jr. FREDERICK. I do not !;ow or llb.y wo.y in which you can got
       'at that. I o.m.simply saying thnt the nctunl mnnutncture of pistols .. ·
       is an ensy tl1ing. It is not t.lie extrnordinnrily complicated trick which
       mo.ny _peopl~ think. ·In the snme \\11Y ammunition can be ensily mo.de
        or easily proeur~d. .       . ·                           ·         .
           Mr. CooP.ER. l\tr. Frederick, I understood you to SO..Y' that you
        drafted the act whi~h WllS passed for the District of Columbia?
           Mr. FRllDERIOK. I drafted tbe origirial act about 1922 and worked
    ' .with the National Conference of Commissioners on uniform laws in
        mo.king successive i:evisions and improvements of that s.ct up until
        the time of the futal adoption of thw redraft of-it. . This act in the
        District of Columbia hns 11. few minor changes from ·that standard
        form and 1 participated in the prcpai'ation of those chailges. I do not
                                    .
        want to say that I personally did it, because I' did not.. ' I helped .
                                                                         Exhibit A, Pg. 772
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        . 52                         NA'.l'IONAL FlllEAnMS ACT

                 Mr. COOPER. The act. rnssed for tne District or Columhih Wll.s llti
' .,         1,eBSt in~arti the product o your effort'l                      _
    ~-· . ~ ' .' Mr. FREDERICK,· I helped from the beginning.
                 Mr. Cool'ER. And bndyour completeapproval? ·
                 Mi. F nEDErucx. Yes, sir. And I belpO'd from t he very'beginning,
                 Mr. Cool'.ER. I understood you to criticize the definition of mo.chine
              guns contained In the pendinJ? bill. I invite your nt,tention to I.bis
     _ • provision of the District o( Columbia Act, under the bending
            · "definitions."      ., _              ·      ·
             "Machine gun", as used i' n this net, means any firclll'm whi~b 11hools nuto-
           matiCAlty or'eemi-automntically more t hnn ~ 2 shots without rc;lonrling.
             Then I invite your attention to the provision of the ponding bill
           as to tl1e defi.illiion or a. maohine gun..                .   '
       ·      The term "ruacl1lne gu11 " meaTUl auy woaJ)OIJ <fcsisned to 4l1oot 1tuiomnticnH v
           ·or semlautomatically 12 or more shot s without relolfiling.                      ·
                 I will &Sk you to killdly point out to the committee the difference
             between those t wo definitions.
               · Mr. FREDERIC~ I take it there is no essential difference. 1 may,
             however, answer what I take to he your suggested criticism, '1.Y
            saying 'that the uniform Fi.rearms Act related e.~clusive.ly to pistols
            .lllid it had not any provisions whatever relating to machine gwtS
             w~ch we. ~go.~ded as . p~op~r subject for .separate legislation i th nt
             tlus proV1S1on m the- District of Columb111 Act wns added nt the
             request of tl1e police toTCes hei•e in tba D istrict or Columbin. l h1td
             no/art in the preparati?n-of that clefinitio~ ,or that part, ~f the net,
             an I would not regard it as n proper definition of a mnclune gun.
                ·-Mr. CooP.ER. And yet tllab definition is contained in the net which
            you so.y had your npp'roval.
                  Mr. FnEDERJCK. As i. wl~ole, it had my approval; certainly.
                  1'.lr. Coo PER. And that \\rll.s t he de.finition tliat met your approvnl nt.
•            t.he time the District of Columbia Act was p assed by'Oongrcss, and iL
             contains essentia11y the same definition as is contained in tho pending
              bUl?            .
                  Mr. FREDERICK. Quite true. ~fy approval of that not wns tt
             general approval, o( course, nnd I m uy very well have had one or two
             mental resen-ntions as to minor i1ortlons of it. But ns a ·whole I
             approved the net.
                  Mr. CooPEll. PllSSing o n to other pbuses of this hill," ill you please
              point out the other objectfono.blc fe&tllres that you have, briefly, and
             without elaborntin~ to such greo.t e."ttont? Just point out to us whl\t
              you think the additional objectionable features n.re to the pending bill.
                  Mr. F rrnDEBlCK. The bill makes no provision whatever for r.n
              exception of antique OF obsolete wcnpons. I ,bnppen, and there t1re
           . ,thousands oC other people who happen, to he the owner of obsolete
               weapons.. They are pistols "ithin the definition of this net. Theo·
               retie'nl.ly, they might he used, but I have neve!· henrd....o! one being
               used in the perpetration c;lf a. crime. They a.re found in the museums
             .and in the collections of private collectors. You carinot imn.gine n
               hold-µp mun using a flintlock, or a wheel-lock pistol.                    .
                  Mr. LEWIS. How far back would y ou go in· point or time to drll.w
               the line between antique and present-day weapons?
                  ¥i°• Ji'n~DERIOK. I.would S8f ~b.at We should eXcept. nbsolete or
              ..mt1qua .p1stots possessed as cun.os1t.1es or ornaments. .
                                                                                   Exhibit A, Pg. 773
                                                                      t ..
     Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 101 of 250
                                    NA'l'lONAJ. PmEAJtMS A11'1'
                            .   .                                                     '
          T think there should M on f!l(emption relating to such collect.ions
                                                 as
       1ind I O'lll1 sugi;est tbAt if I h!ld, I hava-, 300 or 400 or 500 $UCb 01a
       weapons, and il 1 happened t.o move my reaidonco to New Jersey
       \Jnder this bill I would hnve to get 11 separnto license.for every one of
       those 300 or 400 'Or 500 weapons,. in order to lei;1illy tTanspo.rt ~hem
       to New Jersey.                           ·          .
          The CnAinlfAN. J{ thtit, were tnlcen cnr11 of, would that :romovo
       :yot1r ob'jcctJon?                   ".                    .              ~·
          Mr. FREDERICK. I nllly rem1.nd you that thi.! bnst.nes 0£ numbermg
       wc11pons is a inodem devico and it is·n ot found in the olde.r we.upons.
       lt is impossible in t.be cnse o{ many of the older 'venpo~ to oomp ly
       with the t.erma of this hUI by giving tho descriptive numbers. I have
       dozetls and hundreds of we().po11$ o.nd r cntlnot tell who made thnm
       There a:re no distinguishing marks upon therrt. They were mado by
       hnnd up until a little more tlulu n hundred ycara ugo.
          Mr. DtCKlNSON. I wilJ n,.qk you whether or not this bill interferes
       in u.ny way with the right of o. person to keop nntl bcnr arms or his
       right to ba secure ill his f!Crson ugninst unl'CllSOtlll.ble settrch; ill other
       words, do you believe tl11s bill is unconstituli<>no.1 or thnt it violnws
       nny coil!!titution&l provision?                                             .
          Mr. FnE1>"ERlOK. I bnvc not. given it nny 11tudy from tbn.t point of
       ,·iew. l will be glo.d Lo 1111bmit. in writing 1n,y views on th.at snbject,
       but I do think it is a subject which deserHis serious thought.
          Mr. DtcKINSON. My mind is running nlong the lines tha,t it is eo11-
       11titu tionnl.
          Mr. McCORMAok. You lmve been Jiving with- this legislntion or
       folloWin_g this type Of JcgisJu.tion for quite fl, lltllObel' of yenrs.
         Mr. li'nEDE:RiCK. Ye.a· I bo.ve.
         MJ'. McCo!UolACJt, T(\e foct thnt you hn.vo nolt ·considered the
       constitutional aspect woul<l be pret.t y powerful e.vidence, :so for as
       l nm concerned., thn~ you did not think Uiat qncstion was involved.
           Mr. Fru!o1uncK. No; I would not 8.8\Y U1t1t, beco11se my view hns
       been thot the Unite.a Stntes bas no juris<liction to .uttcck t.bis problem
       dir~tly. • I. think tli'1't und~r the q<>nstitutioo. the United States has
       no JUnsdfot10.n to lcgislt1to m n police sense with respect t-0 6renl'Dl.ll':>
       I think t hat is exclusively n mo.ttcr for Sta.to regulMion, and I think
        t.hnt the oniy possible wny in which tho Unit.id Stiltes can legi.ilate
       is through its trucing power, which is an indirect method of approaoh,
        through 'its control over interstate conunercie, which was perfectly
       proi;>erJ and through control over importations. 1 have notconsider<ld
        t.be ma.ire.ct method of npproaeh WJ being one ~·hi.ch was to be seli.ouflly
       considered until t.he bill began to be talked about..             ·
           Mr. M~Co!D'A~ Yo.u w~uld not ~rio'!alv consider that tbeN was
        any constitutiannl q11ostion mvolved m this bill. would you?
           Mr. FnllDEtUCK. I think this bill goes pretty for for a revenue biJI
       in the direction of setting \tp what n.r(t essentially police regulations.
       . Mr..McOoltllAOK. Congltlss possesses tho power, if it is reqtiired, to
        exorcise the trucing power for the regulation of social purposes.·
.-   ,     Mr. FaEDE1ucx.. l know, and it has been frequently e1tercised, and
       l suppose that Co.ogress cnn pa$, under its t&xirig p.ower, what nre in
        effect, ~atory statutes1 11.5 it has in iruu~ iostAnoos, sueb e.s tho
       IM:ls relating to oleomargAtine ~nd other thmgs..
           Mr. McConMACX. I q"Uito t\gl'OO with you. The t-houg.ht in my
        mind WRS the faot you had notcouside.red the const.itutiottBl    phase,
                                                                      Exhibit A,anit
                                                                                 Pg. 774
                                      •
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 54              ..      NATIONAL :FIBEARMS ACT                      j
 being the student you nre, nnd following this pllrticullu· t>y~ ~gjs­
   lation: as closely as you ho.ve, it would be n powerful pieety6f uvidexwe1
··and at least I would draw tbe ' inJerencc, iliat you did not' think the
   question ,was.seriously involved.             .                        /,
     . Mr••FRl:l>ERICK. I may say tho.t approached lls n tnxiug proposition
                                       n
   I am personally of the opiniop, as lawyer, t}.lnt Congress may legis-
   late in.the way of tnxing certain transactions witl1 respect to fireurms.
   That,.I tbink,' is clear.                 ·                  · ·
       ~r. LEWIS. Mr. Frederick, the automobile is n d1wgeroos, even n .
   deadly ,instrument, but never intention'allv ii <londly ll,1strnri1<'nt 1 of
  .course. ~tntes uniformly llll.ve taken notice of the danger to the
   innocent pedestrian and others involved in the us!!' of the nutomobile.
   They bAve £et up around the privilCf(C of i ts owne:rshlp and .o.rero.lion
   a complete regulatory system consistent with reasonnble nghts to
   the· use of the automobile. Approaching the subject of fuenrms,
   would you not consider thnt society is nnd<'r the ~nrue dut'' to prot0ct
   the inno·cent. that it is with rcgnrd to the automobile end 'that with 11
   viow to the attainment of that result, the person who wislil'S the privi~
   lege of bearing firen.r ms should submit to the same regulations os
   rigid as the .aut-0mobile owner and driver is required to nt"~eptf
       Mr. FREDEntCK. You l11wa rnised n verv interesting miology, oue
   which, to my mind, has a very decided bearing upon the prnctfou-
   bility and the dcsimbilil.v of th.is tvpti of legislnt.ion. A11l.0111ohiles ..
   nra 11. much . more essentfo.1 instrument of cl'in1e tlum ph;tols. Any, ·
   pol~ce offiC!er will tell yo11 tl1~t. They_ nre much n1ore dnn:::e1·011s ~o
   ordinary life, becnusc tl1oy kill 11pproxm111telv ~0,000 puoph~ 11 ,1;en\\
   The extent, so for as I know, to which tue Government, or tJ1e C1m•·
   ~rcss, ltns l\ttempt.ed to Jegislnte is with respect to the tttulSJ)'ort.ntiun
   ID interst1tte commerce of stolE'n \·ehicles, which appn;rently hos
   accomplished very useful results. Tltc rest of the legislation is i<'ft
   tu the Stntcs1 und in its effect and in its uwde of enforcement, it is n:-"':>
   wholly rcns(lnt~hle nnd suitnble approach, liecnuse, iJ I wont n license
   for "?Y cnr I can gen it in 20 .r,ninu tes, by co111plying with cel'tain
   defimte and well-known regulations.                             ·
       M.r . LEWIS. And qunlifyinrt:.
       Mr. FR~DE~tcK. ~And quolifying, yes, ~r.. I do not ha'';& to prove
   I am a driver in order to get an automob1le license. I dQ m order lo
   get a personal driver's fo~ense, of course. Complying with the re-
   gulations, I get tbat automatically, as a matter of course. If I want
   a pistol license, lllld I have bad one for a number of years in New
   York, it takes me 6 weeks to 4 months to get that license, und it
 . costs me nn enormous amount of persona] bother and tl'ouble. The
   difficulty in a. sense is in t he manner of administration and we know
   that that which is oppressive can be . put int-0 the administl'ation
    much more effectively than into the law; it is the wny the thing
   works. I have no objection, personally, to having my fingerprints
    to.ken, because my own fingerprints 110.ve been taken many times,
    but I do object to b eing singled out with the criminal element and
    havin~ my fingerprints taken and put in the Bureau of Crimiiial
    Identification because I like to use a pistol or because I may need
    one fQr self-defense, whereas automobile owners e.re not fingerprinted
 . and are, as a class, a much mor(l criminal body, from the standpoint
    of percentage, than pist.ol licensees.                  .
        The CeAtRliAN. Do you make that statement senously?
                                                                   Exhibit A, Pg. 775
..                       _,_,__
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                           XA'l'IOXAL FIDEARlIS ACT                         ·55
       '.\fr. FREDERICK. Yeei, sir. .                 ,-                .        .
       Tbe Clt.AJRMAN. Tli'at the ordinary man who owns and operates .~n
   automobile is more likely t-0 be a criminal th{ln-the man who aims
   himself?             ·          ,.                   ' -'              · ·    -
       :\lr. .FREDERICK. You hnve not krpt the sharp lines of distinction.
       Tho CHAIRMAN. Thc.v nre too slia.rp for. me to grnsp.-
       '.\fr. FnEDEntC1'. I said pistol licensees, those who hnve gone to Uu~
   tl'Oublo of securing o license .to cgrry .\vcapons, p.re n most lnw-nhicfing
    body, urid the· perpetration of 11 crime by s11ch n licensee is Qlrnost
   u n kno\\-n.                  ·
       The CHAIDMAN. Thr~t l111s 110 unulogy to your first statement.
      · '.\tr. FnEDERIOK. It 1s not by o.ny means unknown for· a person
   witl1 nn automobile license to connuit a crimo or to use t.hnt nutomo-
    hile in tho pl'rpotrnt.ion' of a crime.
       Tho CHAIRMAN. B'ut you say that the man " '110 buys a pistol is
    much more likch: to be u law-abiding citizen. On what do you base
   11111 t, stntcment't' }fo.ve you nny statistics upon whicl1 to base that,
   ar is it o. guess'? MY. guess is ns good as yours, b11t if you have any
   stlllistics we would like Co hn,·e tbem,
        ~h-. FREl>ERIC1'. There. nre no stntistics on thesu mnttcrs but I
   hnve tried-my best to get such inforinntion as is available Iroru the
   Xcw York City, police nnd from the records of ot.lier police authorities
   nnd from the State police, 1111d my statement that automobiles are
                          to'
   11mrh more essential cri.Jf\e thnn pistols is a statement tbnt bas been
   ninde to me by numbe1'S of high pohce·officinls and 1 say that in licens-
   ing nutomobiles no such degree 0£ caro is taken ns is exercised in gh-·
   in<~ licenses to cn.rrv pistols.        .   .
   · 'Tli.e CHAinMAN: Then, if I understand you 'Correctly, instend of
   !urtl1er limiting or restricting :.he tr11mc Ill pistols, maclune guns, and
    deadly. weapons used by tbe criminals and racketeers, you object to
    the restrictions which no\\· exist? l understood you to say that it ii;
    too difficult to secure a license to carry & pistol; that it t11kes 4 months
    to r·omply with the law, and I understand your position is that.instead
    of lun·ing furthl.'r restrictions ond limitat10n.s, you think the restric-
   tions are already too l1arsh?                                            ·
     . '.\Ir. FREDERlCK. I think they 11re, so for i;s my cxpetience goes in
   Xew York Stntc, 1md I am rl'fening to tl1e l\ew York statutes.
       :\fr. f\fcCon~tACK. You made an interesting remark in response to
   one of J.lr. Lewis' questions wh~ you said that weapons encl aut<r
   Jnobilrs nre an interest.in~ 1.1nalogy. You. recognize the denr line of
    distinction and demnrcation between · a weapon and o.n nutomobile,
   so fill' as \t.s being inherently da.n gerous is concerned?
       )fr. FuED'ERICK. 1 think the automobile is dangerous.
       '.\lr. McCORMACK. I understand it is dangerous il it is negligibly
    operated. \Yonld not the interesting analogy he more between a
   pistol and 'dop~ peddling? Would not that he a closer link than the
   link-up of a pistol w;tb an automobile?                   -
~·     '.\Ir. Fi:tEt>l:lllCK. I do not think so.
       :\1r. McCORMACK. Tlle use or dope is recognized by mankind as
   inlu."rently hnnnful to the human being. "
       :\lr. FasoEnLCK. Except IJ.S prescribed by ph.ysicio.ns.
    . .~fr. M;'CCoRMfCK. Thnt 'is the exception but, as a ~eneral rule, it
   13 recogmzed as mherently dangerous. The same apphes to weapons;
    they al'6 recognized as inherently dnngerous.                  •
                                                                     Exhibit A, Pg. 776
                                 •
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              56                     :x'ATJONAL F1JlEAt\MS ACT
         I,

    '·          ·Mr: FRED£1uox. I do not think so.
             Mr. McConMAOK. What do people buy weapons· for? ·
,            Mr. FR"EDEntox. People buy weapons for sevel'nl vurposes; 011e is
  •. .: · ·for the J>rotection of the person· or property.         ·   .
·          · Mr. McComuox. That clnss of people have no fo11r About ren-
    .         sonable licens~ requirements.                    ·-
                  Mr. FnEDEnrcx. Not reasonallle requirements.
                  M;'r. McO~nMAcK. They have no fear' of reasonable reg11Jotio11s A~
              to licenses,. tf the weapons are·· necessnry to meet. 11. cl1allenge t(I
              organized society.. ··             .                                    ·
                  ~· ~EDE~cx. They ~~Y pi(>tols a~so to use for the purpose of
              training,_IIi tlio event of nuhtary necessity.
                  ¥r. McCoitMAcx. Those perso~ nee<l not fenr rensonable re~11-
              lations.         l     .
                  Mr. FnEt>Ent011<. I beg your pardon?
                  Mr. McCORM;\cK. Those persons ncetl have no feat of reasonable
              regtilations.      t                                .
                 Mr.. FREDERIGK. I tfiink our difference ·may t.urn rntirely upon
              what is reasonable.                                     ·
                  Mr. McCoJtUAcK. You are not opposed to regulation?
                  Mr. FREDERICK. Not at an; I have.Jld\•ocnU-~ it.
                  Mr. McCORMACK. You are not opposed to a Fed!:'rnl bill?
                  Mr. FREDEnICJt. Provided the bill will accomplish \Jseful 1·l•s1tlls in
              tne suppression of crimE\, I am beartily in favor of it.
                  Mr. McCQRMACK. You have given two groups who buy pistols.
                  Mr. FREDEiucx. Anotl1er,group is those who indulge in the u&e of
              pisto1s in connection with sports.
                  Mr. McCon11.f cx. That group need not.fear nnyproperregul ntlon.
                  Mr. FREDERICK. Any difierellce t.h nt we may have, o.nd r do not.
              know whether we ha11e any, turns on the question of what is rensonnble.
                  MT. MoCoBMAOK. I agree with you; you ood I havn o. meeting of
              the minds on tllllt. What other group is interested?
                  Mr. FnEnERICK. At tho moment I do not think Qf any.
                  Mr. MoC'onMAcK. Then there is the crimfoal group.
                  Mr. FREDERICK. Yes; nnd that is the one group we 11to nfter.
                  Mr. McCORMACK. That is the only group who would object to
              regu)ations.
                  Mr. FnEDEtUCJ>. Ye!i; and it is the only group thnt has never been
               touched.
                  M.r. LEWIS. In your study of the State regt11ntory systems h ave you
              found that they provide th• men who h ave been convicted of cnme
               shAil not have licenses?               {n        J
                  Mr. FREDERICK. They have, nnd t. at is O.'Provlsion of the uniform
               ~.                                         /,
                  Mr. FnEAn. We nave spent abouy an l1our nnd n hnlr on this
               matt.er ~nd we hnv~ ~tt.en <;>nlY. to p~g~(3. JV~ wllJlt your objecti<?ns
               to the bill. All this discuSSion 1s vety ifiteresting, but why not point
               out the difficulties in the bill?    /~                     .
                  Mi. FREDl'micK. I am llfraid that ierely runnins ovev a brief list
               of objections is not~oing to accomp1ish much.
                  Mr. FREAR. Do (y.ou not wan t'o be beard by t11e eommittee?
                   Mr. FREDERICK. 1 am an~u          be heard.
                  Mr. FREAR. Con 'vo\1.4oint o t, without interruption, U10 'pro-
                vislon.s to which you object?
                                                                            Exhibit A, Pg. 777
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                       NATIO.!:>AL .EmEAilMS .\CT                   57
      Mr. FnED:Entcx. In my opinion: the provision !or 611gerprints mil
  11ot o.ccom·plish what is dllSiretl.           .           .
     -Mr. Fnun. Suppose w~ strilce that out.
      Mi. FrumERtCK. I would like'to mention ti.tat the hill relates to the
  taking or fingerj>rints and refers to corporations, assoeiations, and ·•
. partnerships. I do not know how the fingerprint of any officer of .
  such an association o:r corporation can have value.                •
 "· Mr. FREAR. Adntltting your answer is ~orrcct1 thnt is not serious,
  \Vhatisyournextobjection?                              .     .          ·
      Mr. FREDERICK. l llJil quite concerned al}out the amount which is
  suggested ~,n · p~ 81 line 15, for _a perm.it to transport in interstate
  commerce. .                                      •
      Mr. li'REAB. V'l1hnt would you recommend for that?
      Mr. FREDERICK. I-think, inasmuch as I deem the primary purpose
  ofthls bill to be purely regulatory that tliRt ought not to be bur<len-
  some. I should make it as nominal as possible. lt se0ms to me that
  25 cents is ample.
      Mr. FnEAR. Or 15 cents.                                                •
      Mr. .F)~DERICK.. Fifteen cents or 10 cents, or anything which will
  not prevent complinn~e with it been m;e of its ~}ll'delisome. nature.
      Mr. Fn&A.R. What IS next?                             ·
      Mr. FnEDEnicx. There is no provision in the ·net covering the
  situation of nn 01vner of a weapon who loses this stnmped order.
  As I see the operation of the bill, it will mean this: When a mnnu- · - .
  foctl!rer sells n weapon to a jobber, he ~ves a st~ped ord~r; when
   the Jobber sells the wenpon to the ret.ailer, ossurnmg we still allow
   jobbers to exist, he ~ves a second order toget11er with the first.
  When the denier sells to the buyer, he gives the t.hird order and the
   two previous ones, nnd the buyer gets the gun nnd three pieces of
   paper. It is essential to him, in order to keep out of jail, to keep
   tho'se together..             ·                          ·
      Mr. .FnEAn. How would you s~ggest bnving but one piece of paper?
      Mr.. FnEDERlOK. I thjnk the only piece useful is 11 piece ol pnpor
   where the transfer takes pince between two persons, one of whom is
 . not a. lice.nsed dealer. In other words, if I, as n private individual,
   sell a gun to a friend, n piece o( pa.per is necessary there. Where n
   denier sells to me ns a buyer, n piece of paper should be useful. I
   do not think a string of prior papers are of value running from the
   numu!aoturer who may be required w k'eep reeords. In the second
   place, when, a.s n matter of human experience~ the owner of n gun is
   going to lose papers, they nre going to get mistnid, they are- gomg to •
   get but.ned up, if be cannot turn them up when required to do so .
   he is liable tO go to jn.il. I think there oulilit to be ii simple method
   of Qbtnining n C(JPY of t.hat p11per from tT1e authorit.ies with whom
   the original was fillld.
      Mr. FnEAn. 're might attnch t'l 11u111ter plnte to thc- pistol like we
   do to the automobile, 11s sm11ll r.s is necessnry, nnd hnve thut be eri.·
   dence of the prh·ilei:re of ti·n.nsfor. You only wnnt ono?
      ~Ir. FREDERICK. I think the owner ought to be uble fu get one ii it
   is Jost. 1 think thnt machi.r.cry ougl1 t to be mr.c!e simple. U "n.t, io
    the 11et1111l operntiun, you ·Rrt' i;oing to crcntc orimiuols.
      1\1r. FREAR. Wlint IS tlic next objection?


                                                          Exhibit A, Pg. 778
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 58                         NATIONAL
                                 .   .FIBEA"BMS AOT  .
    MT. FREDERICK. On page 7 it sais: .-
   Whenever on bin! for a violation of this section t11e delcmdont is ~ho~ to h~ \'C: .....
 or to have bo.d possession of saoh imported firearm, aueh p6$fielJ8iq.i\~l1nll be
 deemed auffi.cient evidence to authorize conviction unless the- rlcrcmdnnt cxplnins
 sac~ posseaaioo to the satisfaction of the jur~'·   ·      ·
  · Mr. FnE.AR. That is taJ;en from the other 11e.t.
     Mt. FREDEIUCK. I do not untlerstnn<I why it, sho111tl hr ncr.rss~r.'·
. ror such n person. to go to tri111.             -.                                          •
     Mr: FnEAlt. You• think thut lnngungc is too loose?
     :Mt'. FitED.}:1ucK, Too loose n'ncl too· <lroi;tic.
   . l\lfr. l'ru~Alt. You migl1t write 11 suhstit11tt'; we w1111t your ~llf!)!:C'S•
  t10ns.                          . .                                             ·
     Mr. F1tED1:mci;. I o.n1 sklppin~ nrounci wmewlint, ns l nm soi•ry r ·
  have to <.lo_ On page 7, section .10, 1 do not know wl111t that J1111g1111;.:«'
  i•nothing·contnined. ili this section shnll apply to nny mnnufoctllJ'l'I',
  import.et, ·or denier who hos complied with the provisions of sl.'rtion
                                                                                        I I
  2 ", menns. I suppo;ie tb~t lllC~IS Lhnt he ~UIS takC'n out I~ license.
     Mr. FREAR. 'l'ho.t is satisfactory as far ns 1t goes?         •
     Mr. FREDERICK. I should like very mucJ1 to hnve the privjl11ge ?f
  submitting some suggestions in writing, if l may.              .                          •
     The 0HA1RMAN. Without objection, you may do so.                 ·
     Mr. DICKINSON. Let me so.y that I hnve received numerous tell'· ·
  grams asking me to support ~egisla.ti1m along the lines, of the recom-
 mendatiol!S of the N at1onal Rifle· Associatfon. Your Imo of thought
  is in accord with the things udvoontecl by the Nttt,ionnl Rifle Assodn-
. tion? -                       ~
     Mr. F_REDEn1cx. I nm pre~id0~t          prthe Nntionnl Rifle Associntion
                                                                                              •
  and I think l correctly vo1.ce its v10ws.
     Mr....DtcKJNsoN. Your .p urpose is to submit to· this committee
  recommendations desired by' the National Rifle Associfttion in con·
  neetion with this bill?
     Mr. FREDERICK. Among tha other organizations whoso· views I
  voice.          ·                                                                 ,
     The CaAtJWA.N. When may we have your written suggestions.?                             •
     Mr: FREDEn1cK. l will get at it this afternoon and try o,nd Jet
 you have it as quickly as 1 cnn. As a lawyer, l know that the drafting
                                                                     to
  of legislation is an extremely difficult job. Yott have.. do a loti of
  checking, and it is a difficult piece of work.         ·         ·      ·
     Mr. HrLL. When you do that, do not foi:get that we nre 1lfter th<>
  gangster.             .                                     _        ·· "           ,
     Mr. FnEuEtUCK. You ha:ve put· your fingllr on it. My. general
  objections to most of the re,,,aitlatory provisions nre,proposcd wit.It
  that in vfow. l 1Jtn just as much against the gangster as any man.
  I am just as much interested in seeing him suppressed, but I do not
  believe that we should burp dow11' the bo,rii in order to destroy the
  r~ts. I am in f~vor of some more skillfu.1 f!lethod of getting the l'l)ts
  withottt destroym~ the barn. In my opu11on, most of the proposnls
  the regulation o;" firen'rms, although ostensibly, nncLpropcrly o.i.moo at
  the crook, do not reacl1 the crook nt nll, but they do rearh the l1onest.
  man. In my opinion, tbc forces which are opposocl. to crime consist.
  of two general bodies; one is the organized polire n'nd the second is tlit'
  unorganized victims, the great mass of 1tnorg11,nizcd h~w-nbiding
  citizens, end if ~01t .destroy t.he efl'ei:tive oppos~tion . of either one of
  those,. you aro mev1t0My going .to mcreose n1me, _because ·os ron ·
                                                                           Exhibit A, Pg. 779
                   ..
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                         •   .YATfONAL FU!l3ARMS-ACT
                     )                                  -
 destr~y the forces of res.istnnce in th~ human body to disease, yoti· are
   going. to increase disease. So, by. destroying the resi.stance of any
   body \vhit'h is opposed to crime, you are going to incJ'e11Se orime.
   I think we should· be careful in considering the netual operation of
   regulatory meo.sur.es to make sure that they do not hamstring the
   law-abiding citizen in his opposition to. the ('rook:                 .
      Mr. KNtJTso~. There is.no oppositli>Ji on the part of the Victims?
      Mr. FnEDERICK. It is not a 100 percent effective~ or course, the
   riglit of self.defense js still n usefol th.ing.         ,
     Mr. KNuTSON: ' It is 11 right, but 11n ineffective right under the
   present si t1111tion.                                           '       ·
      Mr. FREDERICK. I would be interested to s l10\v you tl collection
   which I ho.ve made of newspnper clippings indicntmg· tl1e effective
   use of fireorms in self~efense, ns n protection ngninst·tho pe11pet.ration
  of <!rime. B ecnuse of 11rgurne.nts wbich lmve been advanced by those
  who ore ng1'1inst the' use of guns, I have made it my business to elip
 ,from Jlewspnpers pnssing over my desk su~ses ns T :run ncross of
. effective self-defense -with pistolj;, most o1 Utem pl:>tols. l have e.
  scrnp bock two thirds Cull and 1 <'nil show yon dozen!? and hundred
  0 £ CQ!:;6S happening CVOl'V' year.                    \           . ,
     Mr. FREAR. How mn.Ily in this room hl\VC pistols in ~heir pockets
  for sel f-defeuse?                        ... "·        · .__
     Mr. F.nEDEnrcK. I doubt if nny bo.ve.                                     •
     Mr. FnEAR. I doubt, unless 1i mRn nnticiputes danger, that he is
  going to cnrry a pistol. Y 011 lin.ve looked ofter t he clippings of t he
  man wlio has used a' revolver in·setr-defense. How mnny men cnrry
  revolvers? What percentage of men carry r evolW!rs?
     llir. H.ILL. Quite o. few'tro.veling in nutomobilos.
  . wlr.     FREDERICK:. There nre u. good mil.Dy.              ..
     ?vfr. Fin:.A,n. 1 !llll llSking under present conditions,
     ~{{. FnEDEnICK. I hnve Jlever believed in the general practi!•e of
  ('arrying w~npons. .I seldom carry one. I hilve when I felt it was
  desirable tio' .do 1;0 Cgr my o·w1l protection. I ,kr.10w t!1at appli~ in .
  most of the mstnJlC'es where ~s ar-e used effectively m self-defense
  or in plft'ce.-< o{ btt!!incss. 6.Dd ;n- the ho1nc. I do not believe in the
  general proniiscuous tvting nf glins. l think it should be sharply
 .restricted nnd only u;.ider, licenses.                                     •    , .. I
     The Cru.rtt~.AN. '\\1'heit d.ld )•01lr Kssociat.ion decide to .cal] on Con-
  gress for le.gislntion dealing ·w ith thfa subjer.t? Jud:;:e Di<lkinson 1e!ers' '
  to .telc~roms urging hiil1 ta ·suppo~·t such legislation, When did you
  determine to come before .Co~wess 11nd ask for su{'h legi~lation as
  you now have in mind?              .             ·   ·
     1vl r .. FnEDt:nrcx. I do not. understand thut our association has
  decided to urge n.ny nat.ionul l<•gisl.ntion by Congress, and if the tele-
  grams or mcP..sages whlch mny httve com4,1 to Judge Dickinson indicate
  ~hnt the sencfer:i hl!lieve thut we .arc sponsoring som~ particular .bill
  In Congrcs.'!1 or mtend to do ~o_. they n~e bMcd On' n l}USB'Pprehens1on.
   · The C11AmM.AN. Your only mtcl'cst 10 the matter 1s created by tho
  introduct<ion nml consider11t.lon of this bill? If it W61'o not for this
  bill you wo11ld .not be here, nor would you bo taking any inte.rest in
  the mnt.tcr' or bringing it tQ our nttention; am I right?
     Mr. FnEDEJUCK. Iri 011.r opinion, little of vulue can be accomplished
  by Federnl legislntion on l;hla point\
                                                                    Exhibit A, Pg. 780
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     60                       N ATlON AL FIREARMS ACT

             M r. Xt1o'l'soN.' Is it your i bougbt to submit a substitute measure
          for H..R. 9066 and at the same,time not infringe unliecessnrily on tbe
      , .rights of law-abiding citizens?                  '
            ·Mr,.FnEDEUICK. As I ~y, I have grave doubts ns to the effective-
   J ' ntlss of any such legislation.
  · ~· - Mr. HILL. You concede the:rs is n. necessity.for somcthmg. Jo
._ . politics we have e.n old saying tho.t you cannot beat somebody with
         nobody. You cannot hope to d1ifen.t 01· m11-terio.lly alter the legisla-
         tion uiileas you submit to the committee somethlrig that is better or
         tbnt will better attain the object that this legislation seeks to 11c-
         complish.
             Mr. FBEDE!UCK. I must differ with you in principle upon one point.
         l do not belicye tbo.t Congress or the ~pie back home want us to
         attempt miracles. lo my opinion, baaed upon a rather extensive
       . experience with this ~ubject and att1dy !'! it1. very little o! practical
         value can be accomP,lisb.ed by Federal legJslat1on on the pornt.
            Mr. RILL. I take it then that it is·your opinion that the crini.inal is
         going to get firearms regardless of any l aws.                     ·.
            Mr. FREDERICK. I thllik that is the opinion Qf any per.son who has
         knowledge of the subject. In moat instances, t he guns are stolen.
         They are not~ gotten through legitimate channels. Dillin~er s tole
         his guns. J have a half-dozen, cases where guns have been usedjn
         prisons to efi'ect a break; we hav e had that in New Yo1·1', and all over ,,,
         the country. If you cannot keep guns out of the hands of crinunals
         ill jail.a, I do not see how you can keep th.em. 01.1t of the hands.ol crimi-
         nals walking a.bout on the publio highways.
            The CHAIRMAN. If that be true, then. the lo.we of the various
         States of the Union dealing with the subject, are not accomplishing
         a good purpose because they do nof put them all out of business?
     - Mr. FREI>Enlclt. l do not talce that view of it e.t e.ll. l believe·in
         regulatory methods. I think that malces it' desirable that any such
         re~14atio~. imposed should riot impose undue hards~ps ,on the ~aw­
         abuling-c.'1tizens and that they should not obstruct hiin m the oght
         of self-defense, but that they ahouJd be directed. exclusively, so for
         as possible, to suppressing the criminal use, or punishing the c riminal
         use of weapons.            .                                                ·
            The CHAIRMAN. You spoke of your IDcperience, which we realize is
         valuable o.nd extensive, in dealing with this matter. This bilL con-
         t.em.plates the suppression of crime and the protection ot law-abid1ng
         eitizens. Do you consider that your experience and ·your· knowledge
         oi this subject is s:1perior to Uiat of tho Department of Justice? Do
         you consider thl\t your exl)ericnf,e puts ,you in a better position to
        say wlint is necossary to accomplish the suppression of crime than
         the Depnrtment or J ustice?
            Mr. FnE.1,,EnICK. I hesitate to set myself Ut> in any. compwative
         eensc, because I rec!lpize the p'restigo of the Department of J•stice.
            The CpAlRMAN. t ou reoogmze also thoir experier,ic-0 in dealing with
         this subject?                          ·
            Mr. ·FnEot:mcK.' Their experience, .l th~nk, has bee~ eom_pnratively
         rocent, I think· I may tfuthfuUy say this, and I think Mr. Keenan
         would agree with me, that I have given tnul!.h more study to the prob· '
         lem of firearms regulaiions, extending over a longer period of time l\D'd
         going into far greater detnil1 thlLll any man 00- an      of tl1e'mon in the
        D epartment of Justice.                                               ·        ·
                                                                     Exhibit A, Pg. 781
'   .    Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 109 of 250
                          :                     NATIO~AL   PIBEAllM'.8 AOT                             61
          'The CuA.1RKAN. H.88 your experlenoe been with l,M sole purpose
       of dealing with crin1e?                                • '
           Mr. FREDERICK. I have never beon a prosocuting attorney.
    ,_, Tho CHAIRMAN. One of the.purposes ,{the Department of Juatfoe
       is t-0 deal witb crime.                             ··
           Mr. FnEDElU<lK'. I have approached it as a cjtizen interested 1n tbe
       public welfare, and the au.b ject of critne has been a m1ttter I have been
       oeeply intel'ested in ever since my college days, 30 years ago.
           Mr. liu.i.. You expressed tho opinion that perhaps any legislation
       would not be effective to keep.firearms <>ut, of the hands of the criminal
       element. ·            ·              .                               '
           Mr. FnEJ>EnIWC. l am quite sure we cllfwot do tllat.
           ?vlr. HniL. Assumin~ that is corroct, Ellid I nm tiuro a greo.t·many
       might a~ with you1 if the fuc11rms a.re Iounci in the possession o! the
       <Criminal element1 amt they cannot, under the provisions of this act, or ''
       of !!Orne s.imilar legislation,. show that tliey o.ro in lawful possesaion o!
       those firearms, would tliat.not be a weapon in the pands of the Depart-
       ment of Justh:e in enabling them to bold .those criminf!o}s until further
       investigation might be made of the crime~
           "Mr. 1''RED~RIOK. I think so, 11t1d· I made this suggest;ion · to Mt-.
     " Keenan 2~ months ogo1 tbRt wlienever e. ·.weapon, a firearm of any•
       kin~ and I would not liniit it to pistols..:...r would say ri.f:les on shot-
       gune-.is found iri the hands of 1.1.ny person •who has been convicted .
       of a crime of violence,. because there are many crimes which have
       nothing to' do with tbe use of firearms· and tJ1ab is why I make the .
       tlistinction; and i think he su~ested that we add to that any person
       who is a fugitive frqm justice-that mere possession of such a weapon
       should be prim11 fade evidence of it;s transport6tion fo interstate
       commerce, and tluit tra.nsporto tio1t in interstate l!omme~e of Wl!&pons
       by t.b.ose people be made a c1imo.                           .
           ~fr'. Hrt.L. WJ1at do you do with a man who has never been coni..
       victed of a crime nlthougl1 he mny be a crimi11al?·
           Mr. FREI> ERICK. l' do not k11ow of any,, way in wlrich yott Ct\ll
       catch ell the dirt in U1e stream no matter what kind of a skimmer
       you may use.                                                   .
           Mr. H1Ltt. It is conceivable that some of the most desperate
       gangsters may never have been convicted because we have been
       ~1nablo to get the ~vidence .                                    ,._
           Mr. FREDERICK. That,will sometini.es ha11pen.
           Mr. H1t.1J, It might frequently happen.          ~
           Mr. .FREDERICK. I suppoile so, bec&iuee there is a first time for every
        erimin111. I do not.know how you can get at tluLt; if lie is found· curry-
        ing a gun, and it is in violation of tlte State law, that is a St.ate matter;
        I do not see how it is practi.clll, without doing mdnjostice to the much
         'g reater body of law-abiding citizel}s to Conn a statut~and I have
          not yet been able to think of 1q1.y \vay-which would be effective in
        .such 11 case o.s;ou 'pU~.                .
             Mr. H11J11. take it that your objection to thi:e character of higis-
          Jntion is that the restrictions which it would imJl<!se upon the lav.·-
          11bi~ing ~it.izen in t~e ~tte.r of •fire~rms outweigh ~be ndvnntuges
          which nughL be gamed &n the hunting down and cat~hing of th~
          criminal.                                          ·
           .. ,   •   •       •   ~   ...   '    • • •        • •   ~   •    •   .I.   •   •   .   .. . .




                                                                                       Exhibit A, Pg. 782
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  62                            NATJONAL Jl'ffiEARMS ACT
                                                        .
      Mr; FREAR. This iw~geetion hna been m1tdo: Do you nppenr here
                                                                                        '


  representing nny privuto marrntacturing compnnies or anycme lnter.-
  ested in ttiemnnufiwture or firearms?
      Mr. FREDEnrcit. You rnen.n in the commercial sense?
      M r. ll'nEAR. Yee, in ncommercinl sonso.
      Mr. FREDgn1cK. Nono who.tover, nor have I ever beon.
      Mr. FREAR. And no cQmpensation is being paid you?
      Mr. FnEDJ:RIC.K. No, air.                   -          .
      Mr. FnE~, I am glad-to hear that, nnd 1 think you nrc entitlo1i l.-0
  have that in the recortl nt this ~ime.     -
      Mr. FnEol'1ntcK. I hnvo n<1vor, dirootly or inillrcr.tly1 been intercet--
  ed cornmetcially in firearms. I nm engaged in the privnte practice
  of law. I have not anyone, among my clients, nor have I ever had
  anyone en_gn~ed in such enterprises. My mcpenses here anti back
  and. such mcldental expenses ~e I incur 11re borne by ~he Nation,µ
  Rifle Association oflwhich I am president. · Prior to 2 yea.re ago, when
  they peid some eipensea that I incurred .iu thie connection, I boro
  all of my expen'8s out Qf my persc;mal pocke~, nnd no one has ever
  peid me llllyth'ing     for
                            my services. I 11m entirely voluntl\l'y and this
  and other service· hM been n. s(lrvice pro bono publico. I might
  refer, if I may, to one more point.
     Mr. McOonMAOK. Who co1npriees ~he Natlon1.1l Rifle.Association?
     Mr. FREDERICK, 'flie N ationru ltifle Association is an incorpo-
  rated body qrganized, I think, in 1871. It com_prises no1ate111' rille
  shooting in the United St11t.cs·and. it is organiz~d (or the purpose of
  promoting emall-Arllle practice; it works with the War Depn.rtment,
  !1-Ild, in c-011junotion with the W nr Depar.tment, until the dep~ssion ,
  Jt conducted nation~ matches_ for which tho National CongreAS
  af propriatod $5001000. 1t is colnposod of lndividunl members and
  o Affiliate groups, thatjs, shooting clubs, etc. Our memlforship rune
  int.o the hundl'eds of tliousands e.ll over the country,
'    Mr. D1c1ttNBON. l have a. taiegram, not from my own section, tlu1t
  indicates that it is eent by members of some hunting Bfl90Qiation.
     Mi': FREDERICK. 1 mey say thn.t J. f\m also it1terested in the subject
  of conservation of forests and wild U/e. _1 know the sport.am.en of the ,
  country feel as 1 do.                                                   ·
    Mr. MCCORMACK. How did tb0y know you wero npp11uring beforo
  the cotnmitt.ee today?     .
    Mr. l<'REDERicl<. How did those organizations with which I am
  connected know it?
    Mr. McConMAcK.. · l am not criticizing; I nm glad to hnve ,you
   nppea.r before the· conunitteo1 as 1 Jiko to hefll' from thoso who nre
   shooting at tho bill. I value your contribution, whethor I ogre'e with
   you wholly or not .n t nil. I nm ourious to lcnow how thoeo peo1>lo knew
   that you were appearing here today .                                      .
      Mr. F1tED~JUC1t. ·I hnve no ide1~. Thero is a bill irl'ltho Sen11tu which
   wus proposed by tho eo-cnllod 1' rnokot.m:rring comn1itwo. '' I think
 . it. w'BS proposed quite a long tinie ngo. Thor<' hna boon i\ ~o(l denl
   of general e.l(citoment. witli ttspoct to that bill. I do not know wl1t1th~
   tliat is in nny way responsible.              ·
       Mr. lhr.L. l h11ve a l.tlfogrntn from tho Pndfici oonst, r4Jcoived ihid
   morriing, eigrtcd by o. n11mbor Qf persona, \Vhi<:'J1 s11Ys:
     We 11rg41 you· to ,glvo all po11Rlhlo eo1i•ltlomtlon . to 'rcr.nn1111onclntl<J11A proJH)llO<I
  !)}' Natlounl IUOo Aenoclatlon In eotlncct on with U. IL OOUU nt r.nnmilt~            ln~ctlng
                                                                                   Exhibit   A, Pg. 783
  Wednl!edli.,r mornln~,                     -       ·
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                                                                           63
       Evidently thc,y ·k now tliat this hearing is tn.lciug plaoo this rooming.
       Go11rrn1 RECKORD. l Ml responsible 1or that. information going- •
   out. 'l'wo days ugo, wl11.m fhfl chninnnn adviMo<l 'mo of this hearili!l'r
   l 11dvis(1(l a nwnbcr or poople by wiro thttt. 11. h1inring would bo bola
  on thii; bill.                            .
       Mr. McCoR~tAca:. Did these' pooplo luww that · ho w1111 comi11g-
  lll'ro?
       Gcnoral REcKonn. I do not know.
       ?.Jr. HtLL. It i::1 propognnda, then?
       Ornl'rol RF.cKonn. No.                    .
       ~fr. Mc(,'oRMAClt. Do intelligt-nt, people in t.Jiis country &ond tclc-
  grnm11 on n subject thry know nothing e.bo\lt?
       GNmrnl REcKonD. I thistk you will find tliey know & great doal.
  &bout it. They do not know anything about the particufor bill,.
  beonuso tho bill hos boon printed loss th1111 1~ week. We never 11111'\(
  the hill 0111"Relves, unt.il'2 or 3 do.ya ago.                                ·
      J\ir. OttOWTIU.m. For 2 months or moro I have hMn receiving soma
   tolegrams, and e great many letters Iroin rlflb asi;ociations o.nd win
  (llubs. One comes from a ln.rgt>. associntion connected with . thn
  General Electric Co. TbC1y IUI rel.at!\ to this general subje11t end tefe:l"
  t~ tho McLeod bill, the Oopclancl bill, the Ha.rtley bill, a.nd so fortb;
  n.n1l comment on t.l1om. So, it woukl npprM ·t hat)tis not nnow mat-
  l<lr bC1foro the gun clubs, bocm1so I know for at leai;t 2· months I hllvo
  bl'cn ro<ll'iving lcttera and tdrgrams, 1mcl SMn11 lengthy Jot.tore! in
  which thoy hnve givon the mnttcr great thought nnd considl'ro.t on,
  and they express tho hope thnt t.his lcgislatJon dnsignocl to nmch f,fi,,
  criminn{ might not t11ko such form as to 1;Joco nn undue burden on
  rifle clubs.
      ~{r. DICKINSON. It looks like the tolcgrnn1 \vhfoh J rnrcived from
  nrnnaon ~ f~o.m tlie $outJ1, whrro . tbey do b11X?iing; it i_s si~uod liy
  15 or 20 111d1VJduals; 1~ must. ho.ve b1100 snm& nfte orgu.nizo.hon.
      Mr. 1"fcCo~cx. Htw() .You had ht!urmgiJ on s~u1n.r lcgiHlntion
  liefnrc tho .Jud1c·inry C11m.rmi.t.ee? -
      Oonct·Al REcKoltt>. Thoro wos· a ll('itring but wo· wcro not adviimn
 nor did wo o.itenrl. 1 think tbo Attorney <le:nornl n.ppoo.rod in porsm1
  mul Mr. Keomm nlso. .AJ1swcring tl10 gcntlcmnn's 11uootion, thoro
  wns 11 Copclnnd bill wl1id1 wns i.utroducotl p<>seiblv 2 months ngo,
      J.fr. CnoWTHER, And a J.:lcLcod bill and a .Hattley bill.
      'l'ho C11AJRMAN. Tho.I> cloes not account for this stream of t~lo·
  i;rom~ in the Jnst day OJ' t.wo.. · ·
      Ornoml ]tEcltOitt>. Tho onlv person who r.oulcl possibly bo fo•
 .spo111tililo would bu toysl)]t CUld a!tor you t,41d 1110 you were giving U!J
  n lico.rin{? toduy--                        .       .
     ~fr. ~fcConMAcK (intorposing). Ymi ho v<• 1·011l11;itcd sud1 us vo11
  conl<I 111111 i,-;.;cd Um mtm1h<'rs of tho 11.sao(1i1\tion?        •        •
      Clo111•ro I RJ1JcKon1>. Jn NWh Stu to, or J>l'lll'tkully every Stntcl "o
  hnvo 11 Stnto rifle O.SStl<'intion, nn<i w11 a.dvilled a. n11mber of t 10MO
  111•npl11 ~lmt U..1.0 hruring WO\llll ho l10M toclny. Nol11ing wn.<i snicl
  11ho11t Mr. Frederick f>r 11.ny pnrtfou1at' indi-vitlut1I hC1i.11g prcscut.
      Mr. McConMAcK. Diel you mile tl1m11 to wirn in hr.re?
      Oof\l'l'!ll Rl'!cxono. I do not recnll the (lXDCt fongttng<I or tho t.dr-
  ~rnm.; I would Sll:V Y':,.'tz probnbly we did1 or l11tim1\.trd thnL n wira t<>
.Mr. 1.ewi11-J wrote Mr. Lowis myseH, l>llCIUl80 ho is from tho Sil<tb
 .l )istrict ~1ri'd l 1m~tic111rly requested h.i~n .~o b~ (>resent'.
                                                                  Exhibit A, Pg. 784
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 ,
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                                                                         •
     Mr. McCOBlofA.CK.· Did you wire the ·people oolli.ng them what. the
recommendations wer!l _going to be to the committee?                  .
   tJeneral REcxoni>. No, except tbo.t thelegislation is bad.
   Mr. MoCo.nJU.cx. _Ana they blindly followed it?                  '
   General REciront>. I would not say blindly.            .             ,
   Mr. McCoa.KAcx. They certainly had no information 1U1 w what.
the recommendations were to be.
   General REOXORl>. 'fh.ey could not possibly have the infor.motion.
   Mr. McC011MA.CK. They did not know wlien they sent the wires
in what the association was going to recommend?
   General REc&onn. Except that we were going to recommend
legislation.
   Mr. McConMACJC. Nobody interrupted you. I nm going to con-
clude, not as a result   ormy friend'~ s taetment, but becatise I ho.ve
finished.
   Tho CJtA:TRMAN. The Chair would liko to make an observation.
We have been in session 2 hc)urs which is 11s long as the· Department
oC Justice.htid the other-day. It is.requested that they.hii.ve time for
one witness to make .a. bnef statement before this session adjourns
today. IC you nrenot going to oonclude, we will have to con,e back; ·
   Mr. FREDEIUCK. l shall be glad to conclude with one 111ore observa-
. tion.                                  ·
    The CHAIRMAN. We are yery pressed for tin1e, 11s we.110.'V'e other
 matters ·to consider.
    Mr. F.llEDERtc.L 1t seems to me that any provision regarding a
 permit suoh as that contained in section IO, po.ge 7, to transpor~ e.
 weapon in interetote commerce should call for n permit good indefi·
 nitely, because it is in t.l_ie nature of o. restriction.and l tnke it that
 is ab,out tlie only purpose. 1i>_f it~ Ir~ should go to Camp· J!erry or
 Sesgirt, ~r ~y ot?cr place where t he p1Stol m.atches are held, it would
 be a ventnble nutse.nco- for me t-0 get a permit to get there,. and onoe
 there, to get home; it would be a nuisance to go to the couptry and
 be· required to get a. perm.it, and then be required to get anotl1er-when
 you come back at the end of tbe summer. •lt seems to me that. cinee
 a man has r o,,<>ist.ered his weapon, and it is known tl1st be has IawCully
 obtained.a permit to transport it, that it shou ld .be good indefinitely1
 so far as he is concerned, and so far as tile particulaT gun 1s concerned.
 I tliank you for the privilege of· appearing before you.
   ·Mr ..L~w1s. Mr. Koennn has stated tbat hQ would li.ke to be heard
 for a few minutes.
    T11e CHAIRMAN. We cannot stay in session m ore than 15 minutes.
 S'l'ATE:MENT OF 10SEP11
      ' .
                                B~GENERAL
                                    OEN.\N.- AsSISTANT ATTORNEY

    Mr. KEENAN. I will t~ke less than 5 minutes. So thttt tlJero will
  be no misunderstanding o.nd that tho record 'will be clear, the Depart-
 ment of. Justice was not.aware of nny O.ITTOemontiiimplicd or otherwise,
  to henr further °from Mr, Frederick or CJenoral eckord, inusmucli e.s
, approximately 4 hours were devoted to hearing tbe n11alysis ·of the
  unifonn bill which was ndvocnted by them nnd their views na to whnt
  would or would not consti tute unren.sonable end unduly b urdeni1ome
  restrictions upon·th1,1 obtainillg of firenrma. The view of the Dep art-
                                                            Exhibit A, Pg. 785
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                          NATIONAL FIBF.ARMB ACJT                                 65
                                                    I                         -
 ment, briefly, wlis this: That t he Depart.went represented all of tht1.
 people oft.he country,. in response to demands,that came in for a long
 penod of tlme :requesting that BOme effort be tnade to form some type
 of Federal legislation to curb the ealo of firearnts. At the beginning
 it wns recognized that no criminal would go to the expense of taking
 tile steps:necessary to comply with the regulntions.                   ,
      We cannot over-emphasize our views that we hope to get some good
 from this bill in its present form OI.' some modified. form. As Mr.
 Frederick stated .to me in my office, and as it appears in the record_, be
 spent 15 years of his life in the study of firearms l~ation 1 and he
 snid in t.l1e record that none· of t.his leirislation had ever reached or
 touched the cr~ul, and we ~pproa~1'ed it· from tbat standpoint.
 We are fully alive .to the grave Jiossib1hty that we will not keep the
 criminu.l from getti11g firearms, but we do hope to make it a simple
 matter, when we do apprehend the criminals with firearms, t.b at they
 will not be able to put up vague alibis and the usual ruses, but that
it will be n simple n1ethod to put them behlnd the bats when they
 violn.te these regulntioDB.                     .                        ,
      One word mote. · •We discussed pretty generally tlse basic prin.-
ci pies behind this legislation more than 2}' months ago with General
 Reckord und 1vfr. Fredecick, on the 20th day.of February there wero
intrcduced two bills in the Senate, by Senator ·Ashurst, Senate Nos,
 2844 and 2840, nnd I think Generul Reckord will n<lmit I.bat he had
 knowledge oi the introduction of these bills shortly afte1~ they were
introduced.                         ,
· · Gtmornl R ECK ORD, Of-those two.
      Mr_l{Ei~NAN. And both of tho9(l bills nl'e r.ombined in ~his one bill, -
 nnd tlaere are no changes, excepting <;ombining them in one bill>. at
tbe request of Senator A.slntrst.· So, if there is any .sugg61Jtion tna'
the Department of Justice lias been unfnir, nnd that tllese matters
lin.ve not been known t.o tlaose represent.ing tho rifle association, I flll.Y
ur1 c."n.minn.tion of. the Sent\te bills, nud tlie present bill will,,sbow the
present bill to be a. composite unit, oJ those two bills, with t4eir, bASic
 principles.               ,      ·   ,
     Further, with·no disrGSpect intended, we feel in tl1e Depnrtme1It of
,Justice that we represent the ·people 0£ the count.ry who demand that
some effort be mti,de to reach the Hroarlns oviL ·We have a tremen-
(lO\IS amount of. dato. and corretipondenco coming into our offiro. We
luwe hnd 'mc<'tings with the l nt.ernationRl Chiefs of Police Assoda-
 ttol:l of Amer\ca, that ropt·csonts tl10 chiefs of police of practically           "'
l'v&y city in the United St1~tes of nny size, ·o.nd they hn.ve approved
of il1is lcgisln.tion. They hl\XO asked us for it. 1Vc hnvo conferred
 with an execntive con1mittee th1it came from nll po.rts of tho Unitqd                 ' ,
St11lcs to coll upon t.ho Attornoy General and ~1scuss it.,, Approxi·
 u111wly 2 or 3 wecl<s ogo General Rookord came into tho Depintnumt                  ' '  .
 rind J was occnpied, 1md Mr. Surith1 my assistant, discussed with him
 I.lit\ fircnrrns lcgisl1ition. · At that t1me, it is my ·understandlng, that
General Reckofll snid tl'11~t ho would worJc with us if pistols QflU
 rov(llvets wore excludod cmd that Mr. Frederick would work wi,th ue
if we eliminated .tho registration .fonture. Wo did not-tice tho problom
oyt1 to eye. Wo think every possible opportunity Jui.a-been give~ to
                                                                                        ' '
 tltom. Wo think th1~t tltoso who l11lVo spent their livl'S in oolloo~ing
 I\ tromcndous a.mount oC d&tll, and Mr. Froderick, who- is the bnt                     ,I
                                                                  Exhibiths'Vo
11hot in Amt•rlc11, 111,id tho Olympir. <'h11mpion, of America, might       A, Pg. 786
Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 114 of 250
{;6                    NA.TIQNA!J JrffiEARMB AOT

 ~ view ofi' to th& left or to the right, whereas we who a.re more or
Jess in the center, and ;Who arc not experts and have .not given the
~ame amount of study would be in a better position to sa.y wha.t is
'IJ1e fair thing to do to eJj.minate the evil that unquestion11bly exists
with the lea.st burdensome provisions tQ effect some legislation that
would mean something. We had no morfl metJtings with Mr. Fred-
erick and we thought we should draw tl10 bill and submit it to this
honorable committee and to the Congress.                        .
    We have requested and we have received some figures on tl1e homi-
cides in this country as compared with Oreat Britaill and other coun-
tries, which we shall ask lea\Ye to submit for the-record.
    In closing, we cannot overemphasize o , position thfit we believe
that an earnest effor~ should·lJc made by some governmental body to
I&ach the crook nnd to trj to disarm him. We have.a witness here,
and we a.re gomg to try to save all the time possible. I think thls
gentleman can throw some light on w1lat might be expected from this
legislation, particularly with reference to machine guns.
    Mr. SHALLEN.B l!lKGBR. Did I understand you to say that you would
give the committee dnta on crime in Great Britain as compared with
this countrj?                              ·
    Mr."KEENAN .. That is true..          "      ·.
    Mr. SltALLENBERGER. I would like to have that for t11e teeo1'1l. .
    Ml\ CooPER. Let us hear the other witness to whom lie has re-
f~rred.                                                               •
STA.TBHEliT OF W. B. RYAN, PRESIDENT                   OP .THE AlJTO
                   ORDNANCE 00.                                   .
    The CeAIRw.N, Do .y ou appear as representing tl1e Depar.tmen~
o.f Justice?    •
    Mr. RYAN. I um preaident of the Auto Ordnance Co., which own
th~atent rights to the Thom1,>son submachine guns,
    We have studied the bill fllll'ly carefully and we believe that the
p_rovisions of it ,,111 materially a"ld in 'the disarming of the criminal.
The policfos'o f the company itae.lf have been exactly those as emboilfod
in the pending bill I.or a number of years, and we feel tha~ the restri~
tions in the sale and the taxes to be im:posed Will eventually result
in the disanning, ns far ae submachine g:uns ·a~ concerned, certainly
of all criminals who now have them;
    Mr. ·cool'ER. I understood you to say, Mr. Ryan,. that your com-
pany owns the pat.cf}ts fol' the Thompson suhmachir\e gun. ·
    Mr. RYAN. Yee, s11'.
    Mr. CooPER. '°And you 11ro engnged in the mnn11tncture 0£ t\1ese
weapons? .              ·
    Mr. R YAN. Nol-sir; we do not mA.nttf11oture.
    Mr. CooPER. 'You own the patent; rights?
    Mr. R'tAN" \Ve own the patents.
    Mr•. CooPEn .. H<>w P~any companies in tho United Stat.cs manu-
facture machine guns used by the gangsters or criminals today?
    Mr. RYAN. As 'fu.r us I know, there .is orily one company which
actunlly mnnufncturos tho small ,type 1iinchine guns, tho Colts Fire-
nrme Co., who m11u11focture for us, nnd they 11lso m1.m11fncture n snmll ,
gun called tho 11 Munl tor'' 1 1\ gun of th(lir.own.       ..
                                                           Exhibit A, Pg. 787
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                            .
                         NATIONAL PmEABMS ACT
                                                  .                       67
  Mr. CooP1in. lt is the smn.U. type _mo.chine gun referred to by you
thut the oriminal element or so-called 41 gangst~r" uses?
  Mr: RYAN. Yes.                                                    .
  Mr. CooPER. And the Colts Co. mnnu.fnctm·es tha.~ liype of weo.pon
nnd you own the patent rights on it?
  Mr. RYAN. That is right, sir.                .
  Mt. CooPER. Do you believe that· this bill· will aid in .keeping ma-
chine guns out of .t he h11.nds of gangsters u.ud· the criminal element?
   Mr. RYA!i. I do; yes, sir. ·         ·          ·
   Mr. CooPEn, Is there any possibilitY ot such guns ns these being
 imported into this country?                             ·                .
     Mr. RYAN. There. are two type11 of guns made in Europe which are
  b.eing imported, I om told, in some quantities into South .America
 and I have heard that they n,rc being brought in here; That I cannot
                                                         1
 substantiate.                      ..                                       •

    M.r. OooPER. Is it your opinion.that this ·type of legislation would
 prevent that?                                                         '
    Mr. RYAN. Itis;yes,'sir.                           .        ·
    Mr. CooPER. Are there any small-arms manufacturers that a~
 cov~ by such arms a.s are contemplated unde~ this bill, ~h!lt would
 be ser:)O\lslY Q.fl'ected by the llltlnula.cturel'81 tlix, tn your opiruon?
    Mr. RYAN. Not so far as I know. I .know of nobody else making
·them. l cannot answer for the other tyPeS of firearms.
    Mr. COOPER. Tbt1n, is it your opinion, as one familiar with a.nd
 interested in the mimufacture of this type Of W6a{>Oll 1 that.this pending
 bill would bo desirable and beneficial. m a.ttemptmg to meet the prob-
 lem that we reco~e exists·in this country?
  Mr. RYAN. It J:3.         ·           . '                     ·•
   Mr. SffALLENBERGER. Is th11re any country t,hllt arms its soldiers
with this type of gun?                         .     .          ·
   Mr. RYAN. Yes, sir; the 'Unite(.I States Army.
   Mr. SeALLENDERGER. And the peace officers of this country are
'1rrned with _tJlat gun?  ·
   Mr. RYAN. A great many are.                       _
   Mr. SHALiiENBli:RGER. Do you know if Great Britain arms pollce
officers with machine gun~?
   Mr. RYAN. Not this.gun.             .          ..
   Mr. SRALL~NBERO:ER. With any.kind of milohlne gims?
   Mr. R YAN. I do not know·that, Bil'.
   The ·caA.lRMAN• .Are you through with your· statement?
 . Mr. R\ .AN . Yes, sir.
           0

                                   .      '
   The CHAIRMAN. We thank you very.much . .
STATEMENT OF CHARLES V. DCLAY, MODE~ OF 'l'JIB NATIONAL
  CONFERENCE OF COltltISSIONERS_ ON UNIFOlUl :LAWS, 1•16
  F STREET, WASmNGTONi D.C.       -          ··
  Tho CHAIRMAN. Ploaso·givc your nnm~ nrtd address.         .         .
  Mr: {MLA Y· Charles V. Imlil.y. I ·11111 a niomber of tho National
Conference of C_ommissionors ·on Uniform State LllWS, and my
nddrcs.~ is Washington, D.0.    .·               .
  My connection, Mr. Chnirmnn, nnd 1i1ombe1:s of tho committeo,
with· the Nntjonnl Conlcron<;& of Commissil>nerl:r on UDiform State
                                                         Exhibit
Laws is ns a roprcsentntive on thnt body of the District-of      A, Pg.
                                                             Columbia • 788
                                                                •
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                                    .
                                  NATIONAL FmEABMS a 'O T

       The body h118 blien for some 43 or 44 ]'ea.re.meeting annuruly, dr&ttin~
       e.nd proposing to the 'Stat.es for aQoption so-called uniform .St.ate
       laws, being rep1'esonted generally by two or three commlfla\oMra from
      ea.ch of the States.
      . Some 11 years Qgo, na one of the members of that body, l wu
         designated chainnan 0£ a committee on a uniform fU'ea.tms act and
         that work ·was completed in 1930 with the drafting of the so-called               \
         unifonn firearms a.ct. ! ou will understand that while p., member of
         that conference, I am not here with 11.ny resolution from tbe comerw
        euce; I am speaking 88 a priv,ate' person from experience gained in that
        work ov.er a period of about 11 years on fi:real1n8 legislation. I after--
         we.rd acted as a member of the committee on the so-c$lled uniform
        machine gun a.ct1 which. was completed and promulgated by the
        conference in iw 1u33 session. .                                        ·
           V.ery briefly, mr. own personal objectioJl to the form of legislation
        in this propC)Sed bill is that it proceeds by u plo.n 9f requiring a ltcAnse
         to purchase which we saw fit. to abandon in the uniform act after a
        comparison of legislation during the entire history o{ this country in
       ·the various States of the Union we o.ppN;>o.ched th,e subject, as on&
       must alwa.ys approach the .s ubject of any t1niform S~te statute, oa
        the assumption that you must take what is the traditional form of
      'legislation that ht\S stood the test of e:q>erienco,and proceed on tho.t.
        AS to the course of that work nnd the course of observations lmade in
       'c qnneetion ·with it, I think I would like to file with th.e committee as
        an extension of my remarks, so·to speak, the official draft of the uni-
      ·fonn firearms act, upon which was modeled ·that act thav has. been
        rofcrred to as the sot for ·the District of Columbia.. l should like to
        file also some observations 1 niade in connection with the District Qf
        Ooltnnbia act in the11ummer of 1932 when it wus before this Congress,
        in the Federal Bar Association Journal at page 22.
           The CHAIRMAN. Uow many PllitlS does that cover?
           Mr. ]MLAY. There are several pages.                           <11
           TT1e OttAIRMAN. Have you several copies w11ich you could file with ·
      , the committee?                      .
           Mt'\ IMLAY, I hn.ve the·one copy. At .the time 6f ille reaffumntion
        Of the 1lnll01'ql fireSI'IllS net in the SUnfmer Of 1930, 1f prepared for th&
        American Bar .Associn.tlon Jouma). an article 'in wiiich I summarized'
        aU of the Stnte legislation upon the subject, and which~ is contained in
        the American Association Journal of Dec.ember 1930, on · pagos 71l9
     . to 801, and tl1oee pages l.:will also separate and leave with the commit-
        tee as part of the rocord.                           ··
          .The Cu,ua1114N. Without objection that may go in the record, '
           Ml". lMLAY,. If the time comes1 . Mr. Chairman when more oppor~
        tunity i$ efforaed to discuss these inatters, thend should like at that
        time an opportunity to discuss them from tlie st&11dpo'mt, aa I see it,
        of this a.c t Io.llowiQg the history of firearms legislation in thisroountry
        o.nd being unworkable on tbo.t account,
           (The.documents referred to urc' os follows.: )                            ,
                                    UNIJ'ORlf FIRJIAlUIB ACT
.,       Drafted by tho N'atlona!.Conforonco of Commiealoners on Unitorm Stat4 l.awJ,
       And .by It Approved . and recommended for en!Mltment In nil tlvi Sta~s II~ i'6;
      •Fortieth Annual Conference at Ohlongo, lll., Aug1111t n t.o 16, , 1930 with eK-
                                                                          "~Its meetln~
       planat.ory statomont. Approved by the Amc'rloan Dar AesoclationExhibit     A, Pg. 789
      "~   Chicago, 111., Auftust 20-23, 1080.
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                                    NATfONAL FffiEAllM8 .&CX

  The oommittee whfob acted for tha National Confete:nce o! COmmiuioru:ms on
 Ualfonn State Laws in prepai'iug tbe uniform fite1U1Dn act wa.e a.a tolloM1:
JQllCph F. O' Connell, B~ton, Ma119. chainn1u1 • Jahle& F. Ail8hie, Oceur d'Alene,
rdallO; cbainnan, unilorlll wrls and criminal law o.ots eeotion· .Teeae Jl. Millar,
Oi!J! Moines Iowa presidoot ex-officio; Charles V. lmlay, Wa:sliingt.on, D.C.;\)
Cbarlu E. Lane, Cheyeuoe\ \Vyo.; George B. Martinl patlettaburg, Ky.; A. L.
Scott, Pioche, Nev.· autl Ju la11 O. Seth, Santa Fe, N.MeJc.                           ·
   Copies of all uniform D.<Jt.8 aud other prirlted matter illlHlOO by the confcron<;1>  '
ni~ be obtained from .fohn El. Voorhees, ecc1'!ltary 1 lHO Nortn Dcarbpro
StNiet, Chicago, Ill.
A1< A~ Rt:otn.il'mo 'l"ltl: SA.t.•, T11,u1el'!!B, .um Po1111r.11S101< OF CEnTAI N Flas-
  A.l!Jl.ll, P&Bsc811111'10 P&1< .',1>1'1~ ANt> Rut.il8 o~ l';viot:P<c•, AND TO M....a.t! thu.-
  701u1 TIJll LA.w wn'll R1:rao£1'CE T~TO

  SsOTJOlll'•L DeJiniti1m1.--'' rtatol, '' as used i't\ lbis &ct, means &II)' llreatn)
19Jth barrel less tban J 2 ll'ehee In length.
  "Crime of Violence, '' as u~ed in tliis net, meant nny or the following crhnca
 ar an attempt to cotl\mit any or tile same, namely, murder ma.nelaughter, rape,
 mayhem, 888a11lt to do grcllt bodily haTm, rohb~ry, burg\ary [nouaebl'(!aldn'f,
 btcald~g and entel'ing1 kidnapping amj larceny].'                      ·                       ·
      •• Pereon," as ueed m this Act. includes litm, pnrlncrahip, association, or oor•
 poratton:
     Sr.o. 2. Committing Grltn¢ when armed.-1! any peoon shall commit or atU!ll)Jlt
 to eomm.lt a crime o! viotan~.c when armed with a p!l\ol, b.t' lllAJ. in addltioo ~
 Ibo punhsbmen~ provided tor ~he 1rrlme, be pnn.Itthcd also as provided by tbie Mt.
     Si:c. 3. Bting ar111ed prima /om mdmce of int.::111.- In the tdal of a penoo for
 conunittln~ or attemptJng Mi c~mmit a crime or vloltmcc, the fact thilt hi' 'l'fM
 armed with a pll!tol and had no lfocnse to carry tbu 111t.me shall be pri'"o focit
 tlvldence of bie intention to cummit sa\d crime l)f vfl)JCmce.                   .
     SEo. 4. Certoin.persont'/orllidden to poseiu 11.rr1tt,-No person · who has bclln
 eo11v!flt¢d Jn this State or elsewhere or a crimi> or \llol()nne, ahall own a pistol or
 hove one iii hie \)OSsedlon or under his control.                      ·
     8110. 5. Carryuig -pilltol.- No person shall carry 11 pl11tol rn any vehicle or eon•
 ccalcd on or aboui lii11 J)et11on 1 except in his place ol abode or fixed place of bulll·
 tlut, wlthoui a lloense tbetefor AB hereinafter provided.
     S11c. G. ~ion.-The p1"0v~ion11 of the preceding &e0tion shall not 11ppty
 t o manllAls, she:-itre, prlS()o <rr jail wardens or their deputies, policemen or other
 law-enforcement officet11, or to IJU'IJlben of the Army, Navy, or Marine Corp• or
 th11 U nlted State!! or oft.he N"tional G~ard or Orgt1t11;cd Reserves "1:1en on duly,
 w to 1110 reg1tlllrly enrolle<t members or .any org1lnll':lll.llln duly authorized to f•11r-
'()hase or rnceive such weapons rrom the United States or ltom thls State, prov <1e1l
-i.uol\ members are at or nre going to or frotn their fllanoo of assellibly or tMgf\t ·
 pmct(ce, or to officers or empfoyeee of the United Stntca duly nuthorl~ed to carry
 11 conuooled p1stol, or to &ny peraon engaged in thtl ~llRineAS of manufacturing,
 Tct1iiir!hg, or dealing in firearms or the aj!ent or repreueot.atlvc or ll'll'!_ such por·
~<111 hnvh111 in blspossesalon, llRing, nrcnrrying o. pistol fn tile llA\1111 oi:otd1nary c()lfl'llO
 of @ucb h turine!RI, or to any llfllllLln while carrying n t>llrt.ol unloaded and i11 a &c>elll'C
 wmppr,1' rrom the pll>ce of p11rch11o11e tci hiR 11omc or l'lAllt' of' busine911 OT 10 o
 flltl<:c or repair or bHk t-0 hl1 home or pince of buflincsa or in moving ftom one
 plA~ oC Abode or 'busln- to aoot.her.                ·                             •
     Sa:c. 1. laaue of lie(n-19 to 44"11.-Tbe judge of a \'Ollri or roeord, (he ohlul of
 poHc-o ot IS municipality, tbc "licriif of a count.y, mt9' upon the npplicatlon of 1u1y
 1>ore<>t1 IHt111e a licet1~" to eueh pcraon to carry 11 Jh~t,nl In e. vehicle or conccalr<I
 011 or about his person wJthto thitl Stnte for not mo-re than 1 yeD.t fr'3m dl\to or
 is~ul', Ir It nppears thnt thtl' applicant hM good rc.llllllll to fear an injury to hlN
 per~on orliroperty, or b!IU nny othur proper rcuson for onrryil>g a pistol, 1rnd· tlu1~
 he ia 11 aul .able person to ho ~o liccnijctl. The lico11eo Bl1t1ll be in triplicate, in form
 to be prescribed by th0 ucoreto.ry of State, nml nhoJl beaT. the 110.me, addro!lll,
 1fo11oriptio.!!i. ond e1gnGt111'1l of the 1icellt!ce 1111<! tho ~son given for dcslrlog ·O.
 llcune ~.    Tne orlgino.1 lhttrv<)! shnll be delivered ti> tll1> l!Qenaec, tlto d\J'plfcalo
 ~lif!.11 wltllln (7 do.ya) be ftOnt bt regjel~red mail to the l•ecretuy of Stotel and lho
 trlpllento ah.all be pYoedClTVod tor 6 years, by tho .11utbarlty is1ming so.id llocnllC.
 Tlic fco for issuing 1uc'h llo.onM el10.U be S -             ,.,hfoll t~ sha.ll bC paid tnlo tllo
1                           tttllllury ).
    •On- 1*9 tll<l!D¥lt.d IO bt tDOillO.d to 11Jlt ·IOC11l deOoJtlonJ,
                                                                                Exhibit A, Pg. 790
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    70                            NA'l'lON .U. PlRBAJl1dS ACT

       Ste. 8. Dtliw:r1r la "'i""'' anti atAmr Jur&iddro~Ntr j>ereon ehall don~r s
    pletol to sny perl!OD und11r the Age of 18 or to one, who llo baa reason11blo c11uae to
    bcllovo hAll been convtct«I of a crime ·of violence, or I~ 11 drug addict, e.n he.blt1ial,
    dtunkard, or of unsound mihd.                                                     ·
       Ssc. 9, Billet tegulat~~No eeller t1halt deliver o pie toI to the ,purch1111er thon:of
    1111tU 48 houltl shall have ol4pecd from the thne or ,the t.ippl!cation for tbe purcbu~
    thcNJof, and, when delivered, aalcl pllltol shall be eecorely wrnpped and aho.11 ho
    •mlo&dcd. At the tfrne of Applying for tho p11rehMe of a pistol the p11rch11Aar
    eball eign in triplicaoo 1111d deliver to the seller 11 ~t&tcmcnt containing his full
    11an1e1 Mldrese, oucup&tlun, 11olor, pillce of birth, ihv d&t.c 11ud bour of appl11U1tlc'm,
    Wio c~. IIUlke, niudcl, and wanuf!l.(:turer'a tlWJJbllr of the pistol to be pur·
    chMed ~d a etatcmcn~ th11t he h88 never bi!fn Clonvioted in thi8 St.ate or 4.11--
    wbore of a crime of ~violen<'.e.     Too    &eller .sbAll 11'1thln 0 houns after auc:h 11\PPllC!ll--
    Uoo1 eign a11d atte.eb hia ndd!'C811 t11Jd forward hy rc~atored mJill one copy of uuch
    ~ta~eut to the chief of police of the municipA!lty or the uberitr of tb.e coun~y
    or Whlol1 the b-eUer i.s " rcstdcut; the duplicaw duly a1~11ed by tbn seUOT Hholl ·
    witltln 7 days be scut liy h.f111 w1t!:t his addrC86 to tl1u sccreta.ry or S.tlltoJ; tllu
    trlplicnto ho shall rota.in for 6 yeaT'S. This scotion ~Im I not ,apply to all.Jo• tti
    WhOIMale.                          .                                                '          .
       Bini:;. 19. Dealera lo bt liccnted. -No retail dcaltlr 8httll ~oil or otherwise tr1111~rur;
    11r c.~pol!q for sale or tr11111for, or ~\'C i11 his p11.11¥~lo11 with Intent to ucll, ur
    oth(l~Wlsc transfe11 a.ny pllltol wiUiout bci11g liCl'llllCci 11J1 ltcreinnfter providlld.
       Si.ic. ll. Dealers' licm••~ b11 wltqm graflUd ond co"i:litiorur IM!-rof,-The duly
    c;omtit11ted liceruiing autborltres of a11y city, to"'11\ or txillt ical eubdi"J.lio;i of thf~
    State rna;f grant lice11Ml8 in roons {l!"eJlQrtbed b,y t Ill (ll(Grot.llry of St8foJ ~m.~t\\10
    t or not 111ore than 1 vear from date of isene, pc.m1Hti11g the licensee to sell piaWlll
    &~ oit.ail ivitbin th.is State ijul>jeot. to tbe followiJJ)t coudltlollll in addition to tbO!Ml
    ipedBed In aet't.iun .9 lioreof, for brc11ch of any ot wb.leb the. license ah.all bo
    forfeited and tile llcensoo subject to punishment 1111 provided in this: aet.
       t. The b1,1sine1111 aluill oo cnrrlud on only in tho bulldi11g dceign11tcd in tllll
    license.                                                                       .
        2. 'X'ho lfcenRe o.r a copy thQreor, certified by the i1U1t1ing authority, sball bo
    dl1pl11yad on the prcmiec.s where it can easily be read.,
        a. No pistol shall be &old (o) in viol&tiou of any provision of this net, nor (b)
•   ahall a platol be eotd under any ~ll'cumetances UnJee• the purcllasc:r is pet'llono:U,y
    known to the seller or eball preae11t ~tear evidence of bis Identity.
        4. A true record in tl'ipllc&te aho.ll be made of every pfatol sold, in a bQQk
    bpt for the purpoee, the ton:n of whtch ma:y be pr«cribed by the {acc~t&ey or
    Slat.ti) and 11hilll be penonally al~ed by lbe puroh48cc and by the J>C1110D e1J~lln1t
    tlu) fWl' 11&oh in the preeuuce of tile other, and ahall cu11tfln the date or sale,
    the caU6cr, make, model lltld utanwacturera' oumoor of tb.e weapon, the llA.fDC
    AddtcSR, IJ<!Cdpa.tion, colQr n.11d pbt.~ or birth of tbo purob~J, and a statomoot
    •lgnod by the .purchaser i\111t Ile bas never bee.11 conviotcd in this State or 0180·
    where of" crime or v!olenco. Ono copy sbllll ~ithlo O ho11rll be sent by regi•t()l'l)d
    Jllllil to the ohieC of police or the municipalij,y Ol" thb Jlhel"ill of the county o(
    which tbe dealer is a resi<le11t; the duplicate the dealor "hall within 7 d~~ ll()Oil
    to the l~cret.ary of St.&t.e}; the t riplicate 1he dealer 8lln.ll nitaln for 6 yeare.
        b. No pl1tol or (mitAtion t hereof o r pl&card o.th•t1ttJ•ltlg tlm sale ther00f Aho.II
    be dlllp!Ayed in any part of any 1>remlse1t where I\ u.n ttadily be eee.n from the
    out<llde.
        Tho fee for issuing 88.ld lice1181) eh11li be $ .....• which fee shall be paid 11\l~
    tho!--- - ·-- ----- ~-- treaa11ryJ.
        Si:c. I i. Cutain tratwferi Jo16td1lt11.-No pel'l!on elu~ll make any loan seo11ro11
    l>y a mortgage, depoiiit or pied.go of a pistol; nor ~lu~ll Any penon lend or l.(iVll a
    f)llltol io anqther or otf•l!rwloo d~llvor a pistol coutrl\l'y to tho provieiona or tble
    act.                                                ·                              ·
     . Sile. ~3 .. Jlalac inf"rtt1111iot1 fMl>i1l1ltn.-No perso11 ~hl\\I, In purchasing or oihol'-
    wleu ll(lOUnng delivery of 11.plAtol or Irr appyfing ror a llcC.Tlllo to carry the a111110,
    give CAloo Information or o!rel' falna evidence oc 111* ldontity.
       Sxc. a . .Al~ati<>n ef iddfll(hring marko ptoMWJfll.-No Pl)mon 11!1a.ll ch&nJ'O,
    •lwr, ~ove; or oblltorlllo t.bo noruu. of the 111JJlct1T1 111udul1 ru:anuf-&otltl'\lr'a noni·
    1i11r o r 1,lhOT mark of h1t111tlflwUll11 on any pistol. Pt-1.'!lon of any pistol llj?Oll
    111h?cl1 any such marlt Hhall Iii>~~ llClln ch:mged, 11ltcre11 ro1novcd, or o1Jlrtorat.cd1
    Aliall bo prlmi. fa.de evCdaoco tllAt tho ~r hao c111\ngcd, altered, l'ClnlOYIMJ
    or obliterated the aa.ruo.               -        ·
       8110. 16. Enating liunet• re!io/<,d.-MI llceu~llll heretofore l88oed within i111~
    1tu.w l)Onnittlng tlui ciurylnK ur pietole conoealuil upon Ule por6on ell(11l oitJ>lro 11.t.
    mldnl3bt of the-· -··· d11y of,_ .. ·-- •J---• Hln .         ,      .      Exhibit A, Pg. 791
                                        -   •    0

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                                      N'AtrIONAL :Flll..EAflMS 'ACT                                   71
           SE<:. lG. F..xaapliona.-'fhU. nat shall not apply to nnti<11ie pistol& 1111suitable for-
       11se as firearms aud pussoosecl 111> curiosities or·ornamente.
           SEc. 17, P~'IUIUief•-Any vlolation o! any provll!lon of thill act. constitutes an
       offeus.~ p11oil)l)Jlble by [A fo1c of not more tha!1 (~- .- ___ .) or }m11risoil'!lent..for not
        more thall (••• - - ••• - ••••• . • JOf both, or by nnprll!Olllllfmt tn the vemtc11t1sry for
        not leS& ih11n [___ ________ __ _: ], nor more than l--- ~ - -~------ ---11.
         · Ssc. 18, Co11atilutionalit11.~[If any part of this act is for any rHAOtt declared
       voic1 1 such ;.,_,·alid.ity aho.11 not Affcd the \'alldity of tlle resnninillg portiot11i or t l1l1J
       act.)                     ·             '
           SEc. 10. S/i11tl tille.~Thls nct~av t,c cited as the ll Unifonn FiTeuma Aet.'1
           St:c~ llO. llnif11rm.{11lctprdnlinif......::TµU. act slull! be SI) intCl'pretcd end eonstr11ed
       011 to c!Tcc:tnate ite gencrnl tmrpu!lc ·to make unifonu ~he law ol those .states,whic,h
       enact it.                               \ ')     ,       .
           SEc, 2l. E;ffeeliil• r/ate.--!fbis · net slml1 f.11ke u1Te1•t 011 tlte · r--~ rlay or
       - ----- ----~----- · 19 __ _
           SEc. 22. Ct>'fnin act.. repfali'd.-_.\11 laws or parti; of iaws i11<'011sist.ent harowith
       11re licreliy Te.pealed.
                 l':XPLANATOl!Y l!TATE&IENT m m.l.RDlfllO t ll'l lf'Oll&f .rlJl~An.is A<''I'

            The Nat,ional Conference or Commissioners on 'Tniform State Laws is c9mposed
       of comrnissio11el'8 appointed by legjsJati,·e or executive Authority frtlm Uic Statee,
       the District of Columbia, the 'l'erritorv of Alaska, ~he Territory 11f Hawaii, 11nd
       the insular poaaeeeions of the United Stat.eii. The orga11i~atJon meeting wee
       held .at Saratoga: N.Y., in Augilat 1892; and armnal meeting~ have heCJ'I reg11latlY
       held since that _time, immediately preceding the meetings of the .i\Jl1ericM Bar
       Association. IJ'hc pm-pose or the orgaJliiation, as It~. name imports, is to J>ru010te
       uniformitv or Jegielatiori on subjeot.~ or commou interest throughout the United
       SUI.tea. Proposed 11ct11 attJ carefully drawn by ·sf)!leial eommitte!!5' of trained
       lnw~•cre, assistc<l by r.xperts In many instan~, and are printed. distributed, and
       riiscul!l'ed jn the oonfe'n'ntc at more than one ammal scssien. Wheu finally ap-
       J)ro\'etl by thti rourereni:e, tlte uulform acts are submitted to the American Bar
       .'\t'-'!ocintion and recommended for general adqption tbtoitghout tho jurisdiction o!
       the United Statcia. Eilch uniform act i&thns the fruit ·or one or more 1entntive
       dtarts submitted tQ the crlticism of the. CommissionCl'll in,annual conference and
       nf tl1c American 1'ar A.ssoeiatio11, and Te.present<! the experience and judgment or
       a sekct body uf law~·crs ohoscn from .e \'cl'y jla.t~ of the United States.
                Xflt.ATlON OF J,CT 1'-0 l'A9T ~NO llJjJCENT -l'lliEARMB r,moiBLATJON

· 1.        The l!onCercnce at ih fortieth 11nr111.Al meeting lield at Chi'cago, .A11g1rnt 11-lli,
         t 930, approved tho Unirorm Firearr11s A ct and \'<>kid that it be recommended to
         the State~ !or Arioptioo . . On August 21 the American ~Ar AE!80eiation, mooting
        at the same plac11, -1\l>ll•o''ed the a~t. Thte was in offoct " second approval nf
         the s uhjeofrmatter by hot,h bodies, innam11ch ll!l the 0011f<"nnce ·and bnr aeaocla.-
         tio11 linci at a previous rn-ed!ntt l1elrt at Denver. Colo., in July 1926, n.pprovcil till
       .act In s11hntnntially the •nme fonn. Tbe matter was, 11owe\'er1 after the Den\'er
        meeting ta.ken 11nder reconsideration by both bodh!A and for that tea8Qn tem-
        porarily withdrawn from Stntc legislatul'l!s. After 4 adrlit lonnt yenrs of recon•
        siderat!on tile principles of the former draft hnve·bcell ~ffirmod in'tbe new dmft
       .llnd that new dmft with only 11 Cew change!! from the fom1cr drart Is naW'r!!com-
        mcnded to.the.States for adoption,
             When the sublect-1nntter or the not wM firet brought to the attention ot thn
         Nation·a t CCnfcrence ~t Minneapolis in August 1923, mm1l1 had alnmd:y ·l>een ac-
        t'Dmplfshcd in the dlreetioll or nniforru firearms J11g1slatfon by the Vnitcd S-tatcs
         Revolver Ass-ociationi I\ <liaintereated noncommercial organi~ation or marksmen.
         Jts tcgiHlattvc comm ti.cc hnd draft<?ri ti. uniCurni !Aw whi~h hAd already been
        adopted with HOIDC fclV chl\nJl.es by North DakotA, and New Hampshire. Cali-
        fornia had a.lau 111lo11ted It with some·q11alitlcatione 11.nd adtlltlons. The !Aw Willi
        thcrcnfter adopted in ludiann in l Ol!J>i nnd muo!t of itlt Allbjer.t-mattet waa enacted
        Ju the Oregon, West Virginln, nnd Miolafp:an 11ete ol tl1c 61\Joo year. Tho oxtent           . . .• "
       1.°l Wl1ich the revolver association uct 111\d time already 113itied ground· as wcU os
        tho intrlueic merlt~ of tlu1t net. inc!ucc.d tho cot11mittcc or the conference ta se.leat
        i.t as 1.ho model or the draft or the uniform &ct approved by the conferoneo in 10Z6.
        D uring \heao 4 $'ell.rs In which the subjecf...mat!A::r has been ondcr reconui(f~mtlou
       and prior to the final 11111woval by l,ljo conference and the ha!' aeeocia11lon lo 1030,
        tho ui.tbstailce and form of tho act hlllt gl\locd Additional l'OcogJlltlon. • Much or lte
        f.Q"~ hM boon incorporl\tcd I n t"Cccnt act.. hi Maeeachueetts., Mlot1(ga11,   Exhibit A, Pg. 792
                                                                                        New Jcr-
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     72                          NATION AL l"fRE<l'&M$ i\CT

     84lY, and Rhode Islond1 11n1l t-0 11 very great c1ttont In I) 1927 oot. of Hawaii. The
     IMlt with sotne minor cnanges WM adopted by tho Unitod Ststcn House or Repr,e..
     aenlolililv~a in 1929, too la to, however, t-0 reach the Senate. 'With some changes [t,
     again passed the House ear\y lo 19301 Aud at the.end ot that year i&etill pcndl!)g it1
     t .he &mate.                         •
          It Is bolio\·ed that tl1e faitor tnus nlrct<d,y sl1own to the principles of the aot la
     due to recognition IJv tl\e ve.rio11s S~ate lcgislntutcs of th\' necessity of unifor111
     h1gi!sl11tio11 on the subject or small firearms. nnd tl10 soundncah of the principles of
      l't\gulation cmbniliecl In tho aot. These prfacipl06 are holic\'crl to b<: conRonaut
      with legialatl\•o precedent nnd .practienl cxperieuco, nnd strpcriOl' to mlnorit.v
     viow& relledcd in so1110 pJISt legla1ation and iu s fol\• reee·u t enactments. For
     example, the uniform a~t adopts. th u 1irlncir.Je qf u strict reg11lation of the enlc and
     purel1ase of pistols at the sRme time •hut it rejects the compamtively rare pro·
     vision of a license to purchl\Se, on the t11cory that. the sccurlnl!' of' o plstol' b \· a
     hotii!eholder 119 a legitimate mcanu .of defense should hot 110 mncle difficult.. 1'he
     p rinciple or license t o purchase wua for a long tllnc lhi1ited to New York where. it
     waa first adp,pted in 1888. It hna in recent vears re~cived recognltioa In Ma11e-
     6110huaetts, Mic:higan, New Jersey, nod Hawaii. and bas been approaobe.d in West
      Virginia and perhaps one or h\'O other places. But beyond tha~ the ~11trory or-
     ilcenl:lll to 11urel1111Je bM not hecn recogqized. The uniform act also rejl'l'te.1;11ch
     extreme tlteories of regulation as that embodied in the Arkanuas lMv or 1923,
     re9ulrfng a Stat.a-wide registtl'tion of pistole, which f1Tinciple1 th.oup;h repented
     eu~ueu~ly in .Arkall!las,_ !las more recently fo~n~ .some ~ecognltion iu Ule
     .M1chiga.n iu:t or 1927, an<;l ts approached bit the V1rgt111a act of 1926,     •
        It 'lllill be noted tbat the act deals with pistols and ravolvel'll onl)-. 'The cion•
     ference after careful considerati.on decided to cqnfinc the act to emt\ll 11n11a or
     Ude nature 115 .a st1bicct by itself, ten,·ing tlle ma.ttet of other dangerous·Wllllfl<>Utl
     of not ll!g:ltimat.e use to be .regula~ed ia. eepara~ ~ts.
                                 O&Ni:R.\J, 'f,ltl~CTl'loES OP A(f'I'

          TIU!~general principles emlJodled in. the act lll".V be s11wm11rizeil as follows:
          1. Without making It difficult for a l&w-alJiding citiien to secure arms for t he
      protection of his home, Bii' by the fnoonveoieni requirements 0£ a license to p u.r--
      ah8114l1 ~he act seeks by strict regulation of dealers, illentilication ·of !Jurch4sers,
      1md nrict licensing of those wbo onrry concealed ftreaf'lllJI, to ke11p such 11·Mpo11s
      out of the hand of ·criminals a.nd other prol1ibited classes.                    .     ~
          z.. A heavier penalty l.eJ1rovlded for n crime or ,·iolence b.y one who is n.rmed,
      wbctherleg&lly or not, 1;n the 'possession of 11. pistol by a cl'imillal ·i s made prima
      f•cic evidence of iotent .               .
       " 3. Tbe universal principle is ad()ptcd as in .all State statutes Coruidding thee
      can:ylng ol ~ncealed weapons with a complete e.oumerntlon of. clus.sea of el(cepte<l
      J>l)nona and without sufficient e:xcep~i9ns to suit •pecial u&cumstanccs. H pto·
      hlbita ootTYCng platols in a vehi cle whether concealed or not.                     ·
          4.. The 11.ct forbids. the Jl04!6easion under any circ1nn•ta11oes or pistols hy tiet·
      eons who llnve 11omm1ttod crunes uf violence a~ defined by t l1e act ..
          6, The general prlbciple of forbidding the t.ransfer or plst-Ols to l ninors ill in·
      eluded.                   ·                    ·
          6, A detailed method or identilicatlon ii! pro1ided 1n the caije of ealcs by
      111iv11te persons and transfers by deniers, requiring Ucenaes -Of de11lera.
          7. J\ cumplete system is set up for granting lice nl!lls t-0 enrey ooncenlcd wenponn
      In cuses where the character -0f the applicants sod eiuergenciea juatif.)I the Sl\Ult!.
          8 . The provisions of tile aet ere me.de effcet l\le by P.tohibitioos against the
      glvlt1g or fnls~ mforml\tion tiy purchaaera and applicants for licenae?s, nod lhu
    ' alterntlon or icientilication marks on wcopons.
          9. Pawning pistols· or trndin~ ln thllm by WllY or lllO~llJl:e {e forhfddeu ••
          10. A general pe1111lty provlaion ls contained in the act 'll'lth terms of Jmprie.011-
       m11nt nnd 11n1011nta or linetJ left blank so M to ~uH tho needs or the p nr-ticOIAr'
      Stat.a er111.etlnp: the lnw.          '
          Jn general, it Is eubmitted that the proposed Uniform act e1nbodlc&A61U1d Jol'ma
      or regul11tlnn which have etood the test or experience in this country 1mil tlu1t h
       cmbodioe suob TIOW idcaa as lulve boon prosented from time to tlmo t)y lndiv lduald
      and orgru:1\latio11e worldng lo the 111Hi10 s11bjeo~ mAtter. Thus at the ·B11mo um .. ·
       ib&t It proaervea the traditional methods or fireanns' reg11lp,tlon it . tAke~ 11dvnnta~
      or enUIJ.httiried oxperlenoc or recent. yeara. 1t comes as near, it ia belioVltd as 1t
       It P<>ftdlble to come In moe~lni tho 'two diverK')nt views of a too d"""tlo reg;;latio11
      on lllB'one hl!lnd !!Ind a too \Jbefal lack or regulatio11 on the other. Exhibit A, Pg. 793
"                                         ..
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                                   l<A..TlONAL FII!EARMS ,\CT                                  73
               ~               COllAl"EN'TS ON l'NDlVID1'AL St:CTIONB
                                                '
       Section I. A 'piat-01" 1a defined as.a fiteArm with bsrrel leM thon 12 lncho1d~1
                       1

     length, in accord1Utce wit.ii ilefinition8 already prevailing in State. statutea. lt
    thus inolmles a revolver or nny amnll firearm capable of being ooncealed on tile
    person. Other kinds or dangerous "'eations nre not included. " OrilJlll of vio-
    lence", which Is u.aed' in numerous places in the act, is defined to cover such.
    crimes as ere ordlnaril,Y committed with the a.id or firearms;             .
       Scetron 2. An additional penalt.y is provided for persons couunllUng crimes of
     vioJen~e when arm~. Thla provi~ion ie found, nut pnly in recent enactments.
    following the revolver t168ooiatio!l 'net, 1>.ut In other 15tntes, .some of tong s~aruliD!f- ·
       Sootfon 3. The faot that & 11run!1111l es armed w1tl1 a pistol without l1ceotle ui-
    deemcd pri·m a faoic e\'ldonoc or his Intention to oomroit tho crime or violence
    with which be Is c;hargcd. This provision fe nleo found not only in I.hose SM.tee
    whlch have followed Uie revolvor' association act,, but in a number of otlier
    Sta.~s.                               '         •                                     •
       Section 4. One' convictecl or a crime or ~olence ia absolutely forbidden to own
    or possess a pistol err TeVolver. TUIA provision alstt llaa numerous 1ireccde11ts In.
    ex_iJtt)ng St11te lcgis!Rtion Md is useful in keeping firearms o\lt of the bandA of
    cr1m1nala.
          Section 6. This sections rorbids the csrtyi.ug or coocea.I~ weapons a.nd ia
     11imilar to ptOvil!loos pl'\1valllng 111 pmcitlcall~· every jul'istlictloQ iii this co1mtey,
      It 1ulopts the modern theory of making the prohib\tjon ei..-tend not only to weapons
     conccnleel on the'pcreon .but also we&pons oerried In vehicles whllther comiealed
      OI' nut. It is'intended th11s to remove the easy method by \Vhfoh n criminal 011
      hcing puamed may tmnsret ll \'tenpon l'«Jtn bis.pocket to a concealed place in u.
      vehiele,
          Section ll, 'l'.bls section enumerates. all the clnsses of pereouF who, ib eecme,
     should be excepted from the pro,·iaions ol ~ection ·51 tl\e Ii~ bein~ e.dop!,ed 11fter
     a comparison or persons n11med iu e,'<"1St i11g State etll>tul08. The ~ception of ii.
     concealed Wt>.&pon fn a dwelling house or place of bosinl!Bs is contained i~ ~he
     pret•cding section: Thie ~tion extenc1s the except ions f,o cases ~\lhere the "''capon
     may be in proces9 of. being cll.l'ried for mere purposes of legitimate transfer or for
     repair.                                                            ·
          Section 7. This section detineS\ the method for npp llctition and it:suance of
     liccnsea fo carry· concealed woo.pous andJor the preservation of the record or the·
     same. It is in line witH existing provisions. No bond provillion l1a.s been added
     bccall!)e ! till believed that, if A proper et1u...ing is·made on the }>art of the appJ(cant
     118 to chnriictcr and .n ecessity, the bond provision should not be lntl'<lClttced to
     make the ol>tainlrig of the l icense difti~ult 1i.nd burdensome.
         Section 8. 'l'ho provisions of thiij aection forl.litlding tlte. delivery of .a woapou
     to a minor, a crimino.1,. or incompetent1 are ainiilar to t.h ose now generall.r.- pre-
     vailillp;. Th(! age or 18 r c11rs named in t11c section has bt;ie11 deemed mo'(e deairut>le
     than the younger nge named In I\ numher or statutes and the hfghcr e,ge named in
    norne. It is believed . thllt' in ordinary instances youths will be or ·sllfficieui
    m11turity at IS, and thnt the nnmU\g or a higher age might makcitimpoasible
     to deliver weapons to mature youifig who might need them.
         SeQtlon 9. The 1>rovision of this eect.fon forbiclding a seller to trannfer Oil tho
    day of purchwre is l,11tended to nvold the sale or a firearm to a person in a fit or
    passion The section furtber re9ulrcs identification of purohwicr and WeApon
    and lbe prel!Crvatlon of this fdentffication.
         Sec lion 10. Thia.section requircs 11, license ot dealers and·is in line with ~isti11g
    stjlt11tes.              . - ·.                       '
         Section 11. Thid section con.stitutes tb·e conditions under wliicb lieer1Ses will ~
    granted t.o dealers anil' fot' the breach or which such lfeenses ·will be forfClfed, •.
    'I'J11>.11e conditions .ere in line w'ith" all modern legislation on the subject and con·
    stitute the d1ief safeguard 11gainat lireimna coming in·t o the possession o r 11nde-
    eirablcs.                  ·       ·           . ·                                         ·
         Section 12. This sootion in prohibiting a loan of a. pistol ~ured by "ny ol tile
    methods mentioned ls Jntondcd primnrily to.proWbit dealingviQ piotols by pawn-
    broken. ·                   . .                                        ·
         Section J a. Thfs Ao'lilon prohibite,tlie giving or false lnfor.lllatl.>n in purc~aslng:
    a firearm or ft\ applyIng .for a licenAe to ca.rrr tile &AID(!. The. principles of tlie
    a~otion have bfe.n tldo1 •ted not unly by tbOIJC Statce adopting thu rovolvor RiMKlci~
                                   or
    tiun act, llu~ by II nun: hel- other States.
      ' Section 14.' This l!cc\ 1.on, alilo designed top::escrve·tbe fdentfficatiOn or :Weapllllll
    In connection with · tn;nafore, fotbfde the clulnging of Identifying 'marlca and
                                                                                     Exhibit     A, Pg. 794
                             ~ .                             .
    provltlee that the po.!1111'11aion of pistole from wbToh. auoh identifying marks        have
                                                                                             '
                                                           ·• 122 of 250
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                                     •
       74
       t>e.en obllteral.erl shall be prilDJl racie evidence tlusl the·p<>Mcesor has changed the
      ...me. It baa been adopted 'bY e.U States whloh l~ve enacted ·thC revolver A&!O·
      elatiou act.
          Secllon 15. Thia aeotlon revokes all exlatlng lioeIUJes on a date to be iuserted
       by tho enacting Stat&.                 -
          Becl.lon 16. This section is deeigned to remove from the operation of \he act
       Breann.a that are kep~ llllll'lllJ" a.e .:u.riosiilea. 'It hAll l..>e1ln adopted already in
      t.hoee States which have pu!led'th.e revolver 8880Ciation act.
          Section l7. Thia is tbe.cgenetal"3eetion which provides {'Cnaltie& for violation•
      of the ,,rarioua provlsio11a of the act. The amounts or fuiee and the lengths of
      impruonment aro left blank so that these IDllY be fixed aeeotding to the needs
      an(l Ul!llgea or tho particular State. Tldl' seati.on is eo framed as l)o applicable      w
      to dllferen~ State definitions of wisdcuneanors and felonies. A ~<-ueral penalty
      aection baa been thought more scientific t .ban tlui n11mlng of 1ie.rlalties in <1on11ee-
      ti<1D wit.h specific sections.                •
          Beef.ion 18. This eeetlon la iut.endLod to avoid thu l.nvaJ(dlt.y of the llutire act
      Ji.y a judicial holding thnt a particular part Is unconatitntionAl. It hAB beeu
      included by the eonruence aa one or its model scetiong con'tained in mo!lt uniform
      acts.
         Section 19. Thlli eention, in Ae<col'dartce n·lth the practice ot tho conforcnce,
      PfOVidea /ozr 11 short dcsi"1o.tion of the act to avoid the longer d11l1nftiw 1 at tlJu
      beginning. , Iu the selection ot iJte words " Uniforin Fireat11U1 Act", the deli11ite
      Jllticle ,. lhe '' flM beetJ omitt.ed fn oroer to red\llle the abort t\tJs to if.a sruallee'
      tenn.s.
        Section 20. Thia section is Hie 111nta.l aection in unifonn aete .m1bodylng thll
      legialati'e intent that the act shall he ao interpreted as to make uulfom1 the !Aw&
      of t he Ste.tea.                                                         .
        Section 21. Thia !!edion is the U&lllll section found iu uniform acts provldillg
      for an effective daf.t!.
        Section 22. This section ill the usual eect.io11 In unifoTm act.a and contained in
      the revolver ABlloehtio n act , repealing e:<isting la\\'11 inccm(U1ten1, with ~be tll}iform
      act.


      Tim CAPl"llR F 11111Al!lfs BJLlr--'lTs. ~lON ~ U<itt UNll'oaM' Flltll1~s Acr
      !BY Obatlil!I V. tmlar, \r1c:11/prM1<1eot NaUnnaJ Cooft111n.ce or Oomm~ontn1 on Unlronn :i!tal< L.aws
                                 lll lb• l'.i01el Bar ~tfo~"3oum•l, MQrcb Ul'J2)        ,
          'l'ful t)1ll .ttcently introduced lzy SenntorCapper in the United Stutes Sc)oatir to
        control the J>O&&eSSion and trani!fcr of fire11rms aud other dAngero1111 weapons in
        the DiAtrict ot Columbia• ts Intended to replace t.he very inadequate l11ws upon
        that subject now prevailing nnd to supply for the District for the first time a
        thon>ugh and sane S)"lltem of rogulatlng traffic in~fireanns, in plU'tieulAr 8111aU
        arms e&Jl'llble of being concealed on the pen;on, with which the bill is chiefly
        concerned.. The bill has the endorsement of the Commlsslonc"' of the Dietrtet
        ot Columbia and or a numher of inftuential organizations which have studied lta
       ·provlaJons. HU. ,·cry similar to a bill which plll!l!ed I-he House of RepreseJttatlvClB
        In 1929 bµt wbioh falfed to. get consideration by ~he Senato that year bccauso of
       ·tbe short time t'l!mainlilg fn the legislative session.'                      •
        - The preaent Senate bill and the fomu1c Hot1ee bill, are with some additions and
--,.._ minor chan_Eea the Uniform Firearms Act. promulgated b_v tbe Natiomt.l C~m-
  • lerenee or Commialliooera on U niform State Laws, iirst in 1920 and upon ~f>­
      cfrideration again in 1930, 11pon each oceaaion receiving the approvnl of tfu: i\meri-
       cm 1161' .AasOelation. •
                                         ll:J8TJ1JO n1tl"f)t1cT t.~WS

        'l"bt> present laws of the 01,trict or Oolumbln • are ns followa;
        One fa forbidden 11nder a penalty or a f!ne of SftO or bnprlsonment for not more
      tbaJi • Y'l&r OT botli. to can-y a ')"e&pon "concealed a\>ont ltl<J pereon" '(no mentfcm
      ~g made or A vehicle) , or openly with Jntent unlawfully to use the 11&me; with                                    I
      exceptions In cue or n - r y arme for.t he Army, Navy1 pollce, and aome othera.
      ~tlo1111 aro alao made of carrying weapons concealea In a dwelling house and
                                                -         .                       .
      '° and from • pl~ of plltohaee ur ftJ>9<IJ. A lioo1J8Cl to carry concaaltd wul)Ona
        I B. '1~ 7911 C..., lit -   , JaG. 7\illlll. o blll (o _,lrol t:lle _ . .... alo, l.nwlils, aocl """ ofplalola
       Mldotbt<~--IDln,D                     trlclofOoll&mbla..tn-lll•penslll... M-lbeNl•UIM!Ollll...
       ~~~~-._,.,..
        f
        " ·O' OOI» mii. IAU. 41llJI, i,._1U. U$.               '
                                                                   -                                       .
                                                                                                  Exhibit A, Pg. 795
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                                 .NATIONAL FmEARMS AC'.1'                                  75
     m&y be granted for OA!lljC by jadgea of ~he puUce oourt upon the furnillb.ing- 1)( •
     bond by the applie&11t. Weaponll 1,a1'en Crom pen1ons aouvloled undor l be 1>tt>-
     vt4ion1 pf law may be eonfiacated by the judge. Selling danger9U1 'l\'O&pone to
     minora is prollibitOO (no mention being made of inoompetenta, cfuninal11 or drug
     addicts). A dealer in weapons must obtain a lictlJ.80 and fun1ish a bond. He
     muat keep a writt~n register,. open to lnspectioo lly ~1e police, or purclwiers and
     weapons.
                                   8tlllMARY 07 CArt>ER BILL

          The propoaed law aa regards' piatols provides in the mafn 8li' foliowa;
          The carrying in a \'Chicle or concealed on the peraou (except ln l.bll llomo or·
      place of h11sinea11) or a pistol (defined 8li' any fircATm 'l\itn b1u:rol lca Onm 12 lnahee
      1·n length) is forbidden to all except law officera and certain others and thOBe
      specially ilecnsed under rigorous safeguards, and e~cept under certain conditions
      a11 ,going to and Cl'om a place of re1>11ir.     A crime of violence committ~d by one
      armed with a pistol carries a furt.her penalty In addition to that prceeribed for tho
      crime, gr11duatcq from tho first to the fourth oi: au~quen\ offense from maxima
      oC 5 t.o 30 feats. The fact thd O'ne charged l\;tb auch crim.a i8 lmued -without a
      license ill primA facie evidence or inte1ition to commi& the crime.
          Po8Be88ion of piAtola by those convicted of crimes of \ 'iolence ia forbidden and
      clelivory M platolA la forbidden to such convicts, drug addict<i and incompetents,
      ag well as1 to minors under the age of 18.
          Delivery under BAies may be made only alter 48 hours from application &o tlie
      ~er, durin~ which interval a complo~ ffilOrd or the intendhig purcbuer and
      the weapon 1s eent t o the police. Dealere are 11ubject to r igorous fe!}uiremont.1
      as co111llt!ona for licenses to sell. Muong other things the purebuer niuat be
      pemooall)' li:nown to the eelle.r or furnish clear evidence of hl8 identity. No ales
      mav bo madc to tbe·prohlbited claBlles mentioned abo\•e.
          Penal~iea 11re provided for giving false mformation in connection with. a JIU"'
      cb&8e of a pmol and alteril!I{ the identifyill'g marks thereof. Proviaion la made •
      for liceneea to be. il6ucd by the 1mperintendent ot police fon:arrying pistols llOO·
      cealed, lor cauoo.                  . ·
          In addition to t\le regulit.tiol18 mentioned above ..uh relurenoo to pfatolil, 88 to
       whiohi a legitimate uee is recogui%ed, certain other dangerou~ w~po1111 arc. wJth a
      few o:\acpiione, entirely proaeribed. These are tho machine gun, &ear•p.11 guD1 or
      tear-gas bomb, or any instrument or weapon of the klnd commonly known as a
      blacli jilok, sling shot, billy, sand alubJ eandbng, metal knuckles, ol' ~ firearms
      aile:ncer. The exceptiorui are made in t ne case of machine gune and eeYenLl other
     -or the contrabe.ud wea~rui ruuned in favor or the Army a nd Nan'1 the police,
      and certAfu other l1Jdiv1duals and organbatlons.                               •
                   •
                                    UNU'Olllll Fllll!:AllMS Am'

        The Natio1lat ConrereJ1ce of Commiaaionet11 oo Uniform State Laws lle~q it.
     worl< In 1023 upon a request made of it to fr1unn a uniform la\\· which might be·
     adopt~ by all the States for t.be purpose priman1y of ellininating the- e\•il of the
     purchase of firearms in St:ot.c!r w'here regulatiou \\'ae la:\ 'l\;th the consequent
     nullil1catlon of the stricter laws or other States. A sttid)· was made of etatuf,es
     on the subject p?Cvalling in thls country aud the hiatory of the matter of fil'eanns
     regolation,. It was found that all State constitutions as 1vell as the Federal
     constitution • guarantee the right to luwe and bear &nil&. Jt ll' 88 round that
     practicnlly without 0:1coptlo11 nil jurisdictions interdict 'the carrying or concealed
     weapons.                                  ·
        Thus It might be said tlia.i all jurisdictio11s recognize JI lugjtimato and illegiti-
     roat.6 1186 or arms: Thia :is A \'ll"Opoeltlon tha.t firearTUB re:ronnon1 6ometimes lose
     $gM of. Colonel Goddard 1 baa rcfe"rred to ille "lime wbeIJ I he rlOe hung over
     every mantel, and tho. p\$:.Ol held an honorable place .as .a setondary "·espon of •
     defense aod offe1111e." An attempt then to ooutrol the llleglthnatc nsll' of the
     firearm m lU)t not <>verlooli ltA legitimate use.
        Tbelegitimate ll.ses of the pl.ato1 and otb® Breanne have l>een aummar:iud bf
     Mr. Preder:lck.• one .,, tlle lepl and t.!clu1lcal advh<en \o *e conference, as
.~   lolJOWl!t
        "l. .By the po\lce, l!COl'C~ eervfoe, arid other law-en!otteme11t officers.
        11 :?. 'J>y the Ar#I)', Nav1, Marl'ne Corpe, Nati.o nal Gnard, and Orgel:illd
      a-rvea.

                                                                                  Exhibit A, Pg. 796
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76                                                       NATIONKL li'lREAltMS ,._CT
                                                                                                           '            .
  ir3, By bank guards and bimk employees, ~resa and mail ligentRt WAt<ihmell',
met1eengcns, And others similarly employed,
  "4 . •By target.ehooters And marlt8mcn1
  "Ii. .BY houacholders tor tll.e Ri•otectlon of ~he lwme, ~ use which n°'v BB fo
the plLSt le large and important.
                                                    UNBOUND MET1100S 011'                   11 6GUl ,A'l'l0~

   !'he conference tound existing In the State qf New York the 8111livo.n law
w!'lfoh for ma1~y years had .rcQ11lred n.• it does now a }mrchaser to ~f\euN! a llcenso
to purchase, under somewhat burdensome requirements1 e.g., ~he filing-of o. photo-
graph by.tne purehaser and hls eubmlssiop to fipger·Pri11ting. That law, llowevet;
has not prevented the Increase In New York of crimes of violence committed with
firea~. as Mr. Frederick co11cluaively shows.l While sllililo.r. Jo.ws have rece.ntQo
been p,assed in Massachusettsi West VirgiJ1ia, New J11rsey, 'Michigan, and in
Hawwlt th!$ method or regulat.lon hll!I not fl111nd extensive rul!>ptfon, It w1111
believed by the conforence that such a regulation is unworkable Rnd leads ~o a
11y.stem         or
             pistol bootlegging, lt puts a burden, on tl1e legitimate purchaser and
does not kcci> the pistol out of the hii!ldB or the criminl\l, It was for that reO.Son
not embodiecl in the Uniform Firearma Act and Is not therefore p part or the
Capper blll.
                                                                                                                                              •
                      .MEAN llllTWl:llN TOO LOOSE ,\ND
                                                                            .           /od Qlt~8Tl.C REGU.IL\TIOll
                                                                                        ~



    'l'brough rejcotlng what W!l.! believed to tie tb_e u11eou11d $ysrem of roglllalJon
 fn the Sullivan lllw And laws modeled1thereon the draftamen or the Uniform Act
 sought to incoiporate therein the sound principles of rigid regulation tbat were
 fincllng their wo.y i nto the eta.tut~ law of the•8tat.cs. Much of ihi8 hlld been
 brought into the proposed Uniform Aet drafted."bY tho Uni~ St.ates Revolver
 A!ll!Odatioo, which act had altcady been µ1188ed •fn 1923 In New lfa!I\pshire and
 North. Dakot~· n.nd tunned the 1:>111'1$. of \)le Califo'fAja law of the same year. Thus,
 at tJ1e &rune time that the dra(tsmen of the Unifo."tll Act preserved the tl'e.Wtlonal
 methods or firearms reg11lation which had stood tho :.est of time in this oountrr,.
 tihey took advantAge or enlightened experience· of recent years. Tho Capper bill
 mny therefore be said, as may be said of the Uniform Act upon whlcll rt 18 blll'Mld,
 to come as near 118 possible au meeting the two divergent views of a too dmatlc
 regulation un Ute one hand, nnd a too liboral ta.ck of :regulation .on the other.
·Like the Unifom1 .-\ot it 1J1t1.kes for uuifonntiy -0( legislation by incorpor11tiog
 within its tel'l:ns provisions that n~ll receive acceptance generally. And lt !9                                                             •
 obvious th11t 11nlfotmity canuot be ~eeurccl ,in State legjalation unless tnerc ia Iii
 hasfo ngrcement flinong ~e Stlltes on the !)rinci(lles Underlying a proposed uni·
 form law.
                             •                                                    •
                    i>Rtl'IClPLEt! OP CAPPEU lll'Ll.I A.LJU!lAD'I'. BXTEN8fVEl.Y Al>Ol'TEI>

    .Attention h.os alreu,dy b~n cailcu                                     to tlie fact. ti.u1t the proposed new legislation
was already In olfecit iu C.Uiforilia New lJnJl'\PShire, •afld North Dakota, when
the conference bcE&ll liJI work in 1923~ It was thereafter .ooac.t ed lh Indiana in
1925. After tbe firs~ approval bv tho ooJlference in 1926 the Uni/Orm Ant, except
tor the licen11e to ptu'Ghll&t featii~,                                     wBB
                                         &dopte:<l by Hawaii rn- 1n21. Sl11ce the
second npproval in !930 tbe U11iforo1 A~t has been ad.opted in Pennayl\IAlliA.1
Many of ftY provillio11S have been e0$Cted into the statute Jaw or other StllU!s.
lhno.y therefore be s1lid .that the provisions of the Capper bill have a.lren4y re-
ceived e.xteoslvo -ACceptance elsewhere. It ie believed th!it the favor alread.y won
rcfr tl\111 type of legislatfon will increase nnd that the en~tment of tbo Capper blll
by Congress as a focal 11\W for the Distriot of Co\umlJU. will plnce ~be District Jn
the clo.sS or prog)'elllfive juriedictlone un thle s11bjeGt.                ·       •


                                                  Uimro.n v Fu111An1111               Am flE)\f'rt11Mi:1>                          •
tn1 CtwlM v , lmla1, _,,,l..,. M CommltU.. oo Unlro,m F i r - AC!! ol <:ommti<>lolMln an Unlloaa
                       Stal~ Lari In the )\merlrno ftAI' AsooclllUon lounW)   .
  T·he Ur.trorm Fireanns · Aet, 0110 oTseverru M(a 11dopkd by thu ~&tlo11aJ
Conrnrenre of Commitssloncn on Unllonn Stllte Ll\w& at Its sessions lo Cbfoago1
                . :,... . ~~""• I\ '41
  • Piltol DeglllaUoll.,               ... .                       . ,.....
 •t:..,   _ , , _,1t't1. > . . . . : : .,.   I~ .... ~   _ -   t   ti       1-
                                                                                                               .   .;
                                                                                                                            Exhibit A,I •Pg. 797
                                                                                                                                       ''11
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                                                                                                          71
       A11,g11At U-16 and approvod by the .American Bu ~aliOo fo it.i-100 there
       i\\1gu~~ 21, is in llllbl.t&nce and in f~nm alm06L identical "'itb A lomiet dro.Ct
      lldOPted b.y the con(erenQn &tld approved by the bar a&>OeiJLtion a' tlleir reirpe<ltlve
      8C~81ons ,at Denver in July 1926. The intervcnhJg 4 yean have been employed
      ill a Cull reeon.sidl!l&tlOu by the conference or \ltrt.iu controversial featurea (to
      which reference will bu made) which had promJ>tOO the bar associat.iOll Ukewise
      to ru~onsider its opprovn1 of the Conner draft8.                                          ·
          'l'ho 6ual <lrafb with 011\)• a few depari.urtlB f'ro111 the former, whioh llAll been
      rllvll)wed before iu tlli• Jourual,1 may be sunl111Arited ln ita im:portant proV'islona
      ~follows~                                                                        •
          "The earryil\g in a vehicle or ooncealed OJI the NJ'lfOn of a pillLol (defined as
      1111y firearm witli barrel I~ th411 12 inches 111 length) ia forbidden to all ~cept
      law officers and f'ulaln Otltcra and those s1~flll.>' llcenl!e(f under ri8l)N>U• a&fc-
      gUA.r ds. A crime of \•loJenee 'committed by 011c; 11rmed with '" pilll.ol ctmlcs a
      fur.tiler penalty ln addition ~ that preaciibc)d fol' the crime. Tbe fact tbAt one
      charged wil h euch crime is 11rmed without a llconac ia prima facie cvldcnoo of
     .i nteut.ion to commit tl1e crime.
          "Delivery or pistols i~ forblclilcn to convict;;, dru(J aildict!!! hal.>ltulll drut1hrda,
     and lucompctents, M well as to minore uudur tho 11ge or lts. The nrst rla11a are
          " SB!es lll&Y be     mflg
      forbidden to po6t!C8S pM q\e.                                                 .
                                  only alter 48 houT'tl from 1111pJio&tlon to the wlter, d urlng
      w}1id1 inter"al a coin lcl.4> record or the inte111llng purchaser is sent to till' ~lltt{J.
      OcAlen1 are sul.>ject       rigorou!t requiremeni. ~ 0011dilion11 for l!cen!it.'I t.o ~­
      Auumg other 'thingg he 1111rth.11J11?r must be pqn1<>n"1ly known to the ..clter. .No
     <11>lca may be made t:q the l'rohibited classea encnUcmed above:
          "PAwning pilltolb ia !orb1dde11. So., arc riving faltie lnfoanation in 0011nec..
      tlou with a purctu-. of a pisU>l and alterir1ii: the ldentlfyltig marks tllcttol. A
      gl)nQrtl peruiU~· s.ictfon provides puniehmenb for violations of theljf! provl•lon11
     M well air for th11 vlolAtlon of other proviaiono of tile llC>t."
•                                            0111.ECTJONS TO 1"111 D.llAl"I'
"
         The subject m11tttr of A Fll'tlnrms Ant WM Rrllt brought tq the attentior1 of the
     contcrcnt'e at iti J\llr111CAApoliM meeting it1 l IJ2a Ill the. form of .A mod~ IAW
     r.lroJt.cd bv the Unit«! St11tc~ llivolve.r AssNllAttou, t.he &ubstancc of whlch had
     Alreacb• been e1111ckd to tile California, North Dakotll\ fl.t\d New lilUUp&hlre
     ACtl ol that year. (h wu 1.tiereii.fter~tllll f11 t.he 1>1aiana Act of 11>26'.) It
     wu bttause or t.110 lllvor "'!th wbie.li the model law hnd already been ~tved
•    tluot the coJlfcrlll'.lce ad111<r~ t>O doscly to it lo thu t>en~er dran of 19'.l<> 1<1ld hAll
     dooa 'lfO also in the n 411w draft. But no\wltu8i3ru:Uug the momentum
     ga.ined for the uruforui a c t by the previou~ lldl.lptJQtl or tbe model h~'I" 8lld the
                                                                                                     "'"'lid.Y
     1mdorsement o! the ccir1for11nce and bar all&OOlation, t.he ai:t immediately u.pon
     Its promulgation late 111 1926 was severely 1·ritl¢.lt.c:d In .some quarters as not
     bcJ11g snfljciently draetic. These. critic.isms were In the main ftom law~nforce­
     ment officers, notably Mr. G. V. l\foLaughlin, tlJQ police commiesjooer of New
     York City. The critlci81Jl~ were presented hi folL £0 tlte conference by it.ii oom•
     Jn{ttec !tot tbe Buff1<lo na<!ell11g in 1927.' 1'1.111 obj!lc:Uons thus made prou.ipt'ed
     the conierence ~nd in tum the bat 88SOdatio11 to wttl~draw the .aci tcm1>0rntily
     for reeoni;:ldetation.• Another lea60n for rtcon~!(l.-iNhon WIUI the faet tJ1at the
     OJ&tt.e.r of littarmA l~aiJon wu beiug 0011-ltlctl>d by the National Crim&
     Cowtnl88fon which early rn 1927 produced an ~t wWcb inoorporatecl 11\mt u(
     the uniform act but deJ>~I therefrom in aome tmportant pattictil811l, notabl,y
     in the requirement or A 1foClllao to p11rclJU11e. (It AllJO introduced the new ma.tier
     ot machine guDB.)                                 .         I •
         Dud11g the 4 yeare interve11lng betwe:eu tho two ilrilJU. there llavc been frequent
     0011.ferenoeti between committees or the Nl\UOn11>I ~rime Conul)isalon 1'11i.l thn
     llonCereuce. · T he critir.la1ns of ttie aot and th() fiUfl~Cllltlons made by tho Grltne
     C(>inmission helve bOOu MrefuUy considered auel hrtv In eotne instances influ()1•Ccd 1
     the redraft in aub~tanc11 and form. 1n trus r.xou lduatlon all r~ent 11tii.tuW3
     11<nc.I judicial decisions h1ive been compiled a11d pl'i r te.d In clc.Qornte annn~U11t1~
     111 tllo committee re:port to the Chicago contcrcul'C.
         Ono criticism waa t hal. the d<1Jlnltlon eJptnol 1l1ould not oo confined to "any
     t\r(IAOll wfth a ~I 1&11 titan 12 incl1Cll iu f0)11gtb." B ut thbl Is tho d1tOn1llon
     [ltevalling iu a great 111ar1y ~tatee, indie&tlug tl\J!lt the lcgislatlon refers to &m11>ll
     flrea.mia. The dljfinltlo11 h         therefore been rolAlnoCI. It was Mid ll11Jt tbo
       t 'A ....,.... Bit A;...Ji•doo I Ol.lnltl,       . n. pp. 707-7'!11.             .    •   '
       • llllAClbooli: Na.I. Coor. conimll!>lootlf't on Uollotm 8toto l.•w•1 1027, pp. ~n.   Exhibit
                                                                                              .      A, Pg. 798
       • l61d. JI. fMIO; A.D.A: 11opor11, vol. a:t, 1927, p.m.
              08278-U-:-O                           '
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        78                                       NA'tlONAL PDtEAJlMS ACT

        addlUonal pllnaltv Jor crimll!I <:ornmltted while on(I IR 11tmed i.hi>uJd oot be eon•
        611fd l.o ''crimes           of
                               violenf.e" Jl!<c murder, mau8l1H1gllt(lt, Cllo., !Ill defined in lhD
        aot, but ex~nded to cover ~ri1Ms of other kind$. lt was thought, llowevcl')
         tbat the pr<)visiou 11bould bu 111udo applicabl1t to tho{HI orime11 mentioned In thn
        aot beo11111M1 they are tbo110 In whloh the pistol ~poclfie&lly figures. For the 1111me
        rcAnon tho Conference hae Reen lit to interdict the anlo of tho pistol only to cora-
        vlob of tl1At class, as against t ho contention that it el\ould be interdicted to 811
        wl10 havo committed BIJY crime. '£hla ls on tll\I tM<lr,v thBt tlie pistol· hs• a
        legi_tlmAta u•e to a hou&eJ1older and should not he prouibited to him wHl!.out                                            1
        eumc:lent ca1L11e..                                         -
          The obj-O~tion of Commi&sioner McJ.aug)\lin tlu~t tl10 Denver draft fell short
        of thu t«lllif'l!ruents in mc.lrelv forlliildlng &ofe.r 8s a "~htcl11 IJ co11cemed the Cutf•
        Ing of 8 plJ1tol "concealed"' w11~ 1111tnttted to be aouod. • .\nil the com1nittcc of
        ~bo ooufflrence was more rie,...11&clcd tq admit tbi~ t1hfccllon llecawre the ulme                                            •
        COlll.mJ8'<ion had in i te drnft Corbldde11 the Cntcylng by Any person 'Of 0. pf&tCll
        "iu any vel\lole" without a ·u~oiU!, that is, 'Whether eo11ceo.lod or unconcealed.
        The lin1>l draft of the Unlrorm Act thorefore cont.Gins ll ~lu1llar provi~iou. 1'l1lls
        proventil tho po.ssibility RM Oon11nl~Klo1u~r M11Lll•1Khlln poiob! .out,.of crlmlol\lh
        placing pldtols on tho ltoor qr o.11\omub1les and <!Onto11db1g that they are not
        conec11lcd.                                     1
           The objection raised by otborv that the act did not t1rooeed OJI t-be theory of
        prohibiting m1111ufactu?'I) Jl.Jld .a11lc of pilltols, 'l\'hlah. .-m- at one time to h& ve
        l'«ICtvcd at lea.st the tacit AlllCfl~ uf t he bar 888Qcl11tlon 1 llOUld not be 11dmitted
        bccauu l t la opposed tn pdnolple to all tlieorics of ~1Jtlo1t 1Joretofore prcvaili11g.
        ThcN llO\' cr h8s bee.II •l\Y 1K11iom1 lllfort !Dllde tv OI>M\t 11:¢alat jo.n proWbltinlt
        tho. '-'111L6csluro and BAie of J)iiltcls, The 11eamrt al)111"(>11cl1 to ttiis wa.8 • hill
        eommonly known aa the Sbiold~ bill iutroduced in tb.o Ulllted St.tee Senate 011
        April 25, 1021,• which was' intended to reatriet tbo m1111ufacturc of firear111s w
        wcnpous of ~tll1ld11,rd Nmy 1111d l\nvy make!J. Tl\11 hill fil.tled of f)888age. TlilA
        Jogi~lfttiOn has Of COUl'8e frequeutly been dirocl.ccl Agnh111t OC111trab1111d WCll)lOll~
•       thf<t llllW> no legitimate 1JAti l11 the haudo o.r pri\'111.c altlZ!lllB, e.g., recent stJ1 t11te~
        11g11lnut the rulinufaclurc and J)Oll<lelll!ion of machine gw1~.•
                                     LlCENaJI: TO      CAJlllY-NO~ t.108XSlo: T O r VJICl/lASll
                  T he ohjceticm moet al'rong.ly urg~"llgaiMt ·th<: lllllform f'it1'arms .\ ct hall
        Wll'll' ft(>D\ l ho•c Who have fa>'of'Cd the theory Of t.J'lo J~on~e ln Jlur'Cltll&! u-b.lth
        list bMl11 ~ettecl by lhe <:onfc-renre in l!f,th dtafh. Jt was 1iointcd 011l i11 _tile
        mvl~w 1n this Jonrnal <1t tho former .IM'.t that New Yorlt lud long stood virtuall;'.
        alone In ti.voring tlie Conn of rogolntfon I)~· licen!!C to flllffha.'le nnflcr the "0-t'allcli
        "Sulllv1111 law." 6TRt enactl'<l 111 tllll8, 11'nd 11ow cxi.6Ung there wit.11 certain amonrl·
        montl. It was alRo po!l\t~'<I out that, MIW!at'lm~ctl• h11ci rc<:l'11tl1· c.nart«I II' law
        111011~ Oto •11me linc,1 uml thM 11 ~t11t,11te of Wc.•t Vlrl!inin uf 192~ 1<eemccl to l\P·
          roiwh tho 11rinriple.1 l:!h11•ll thnt !"CYluw the Statt.'t! ofMkhlg1111 • and Now J<'..,.tiv
         r.
          ave 11m1cted legialatio11 Tequiriug a lic'<~uso to p11rcha11e.10 Snrh a pro\'i~lou t~
        aleo co11tal11~'<l l11 ·t he aCt of the ll•waii .4.gill)ature horufllll' moulfoncd. Do,.1111<1
        tlU1l, 80' far u the comm!l~'C 111 11(h'IA<..'<i, the pri11ri11lo h_..,. not prevailoo; the "r11111'
        and file ol tho State.e in tb.ib cq1111I~· aTC oppo!!Cit w Ii. I.Au Oregon Jaw of !Illa
        nl(lu1ring 11 license to p 11rch111<c II&>< bwn 11uperscd~tl hv • l!•w modeled ~lo.wl\' of\
        tlio U11iru.,11 Act.fl) It"'"" 011 1111~ j)riudplu that tllu ciornrnllloo of the co11f(!~u1ie
        waa une.IJI" to reach. au 11g1W1l11mt with the counniLIL'<I of the Crime Con11nl""1011
        . whl~b 111 flic draft inrorpOf'!ilt.'<l •tic lhcor.1· o( a llc1111•0 I~ lllll't'llllJ<O.
             In td(l('tiog t ho theon.' or tJ1e lirc11Ao to purehiw:i tho r.on(crcnce l1as not 011tr
                                                                                           or
          atlhtJrt'lll 1.4 what hai; ahvayij hl>UO th., prc ...aiHog form 16gl~latioo In thl~ country .
          but to what this committoo h1111 rontticlcrcd to ba tho Mtnm<1n eenllO ot pi~lol
         rt1iul1t1011. Tho requirement of o, lit·o1111e to purchMe with ii.!! eon11equcnt l11co11 •
         veulcnre and notoriety of unrh things aa J>hotottranhe1 aocl thumb prl11tc1, In
         acoordaooo. with the metllod prevl\iling 11n er the> Sullivan law iu New York,
         eub)Clf'te ~be l•"·..tiidiui cllJMJn ~o ha.rdilhlp and t11com·11ntcu(C, aod thue rondarw
              • 8 - U A.JI.A,, <Of. XLVll, 19'11. l>P· m-4U, OI.

         . , r· . .... . .,.cij.,. -,
              •l'Tlh~.. lll-8. 11...
              • o....JA. . ~al. ·1 m. ell. 662; ....... .ic. M-. 1177, cb. HI; ~ldll, "'"' ""' 1177, -
              l     -  O.. L,,                Mt lll_, iia, IQ ,
                                                                                                                         J   .
                                                                                                               JTI: NJ, 1"111),


              •*"""'·
              •  ,v.._ 1a... 1116, r!h. lNI. ..t ,-~ . :a, 1m. •1110ndlDJ: 8. ;. ob. ,.._ fi:(!l)At 'IV.Vt •
                       l'\i.I).. Al:Q 19'17, DO. 11-. t , ~ Cc>'"P· """' MW>., • • 711!< ('IV), fl04 IT•»
              " N .J, t.,..t 19'l7, tb. UI, 1. e,
    '         " o..,.on lo""" At21·W llupp.. ell. r.. o. 9,                                                    Exhibit A, Pg. 799
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                                                                                                     79
  m•1rl' 11lllk11U Illa o\.ttAining a pt~tol tor the tc11:ltlm11tc purpose of the derc1itc ot
  1ho holflo &u<I Al 1.be ea.mo time d oe11 not .kl'<u> tho ti!Jtol out of the hAfld. ot the
  11rlmln11l. Fo.r Jic. will uot obey {he law~ but wUI ohtllin his pistol und~ All)' clr-
  vmu•l1111cc, Her does not stop at purr1111.1fng, like the re><ptttahlc l.'lll&cn, bui
  will miC>rt to therta of pietols, pistol hootlogging, •nd for laek or anytb.iog elae
  tt'.AOl't to ~hit UWed-<ift .!!hotgnn.
      Several dra.tt.G of tbe reviSed U11ifo.rw Act auring tl1ese 4 years of reconsider,..
   Hon, ti.((., I.Joe dmft presented ot Seattle tu 1028" nnd that at Memphis in 1929,''
   bud t1nbodfed ~ditional i::rudAlr'ial with rerorunco to machine guns, as hnd ~n
  du1111 in the ri'imc ciommission bill. An uot ndhcrlng closely to the lllll&-21> dr4ft8
  nnd umhcxl~·ir!g l?rovislona wit~ retcror1cc tu mnclilno g11na intended aa 11 locnl
  lnw for the D1atr1ct uf Columbia bad pnsMcd the United States H o11se ot Jkprc·
  rontutl"ea" ill the spring of 1929 but failed of pn11Snge in the Senate. It wn• ·
  <11m•ldored , howe,·er, by the commtttcu be~\ to co11611e the Uniform Act, u tho
  Dillt\'llf dr11rt or 1026 hnd been eouflnud, tu plstols, imumrneh BS the regulation ol
1 emnll flre11rrn~ c01U1tituted n aubjeot {11 ftft1M, 1'he matter of the regulation of the
  l"'ll"''"''olt llnd tulle of ~aehine g;un~ ~nd ollmr l1igl!l¥ dnnge~us wea~nB (I( lh11i
  1u1foro 1111• l>cN1 comautted by tlte cv11r11r4'ncc to 1t11 committee 011 lircamJB for
  tl1~ tllll'J)OftC of" report at the 6eS8iQ11 wloiclt \dll be J\l'fd iu Atlllfltic City in Sep.
  tomfJft 1031. 111 this interveuiug >'""r thfll 3lllo)tol will therefore receive the                            •
  <:liPCr.tI nttcutfou of tbe oomruit''4.-e.
                  :11.IUX' Bt:TWE&N "l'OO 1.00~11 ASD TOO DllAllTll: llEG'CLATIO:<

       'l'l1e Attention of the commit~e \\'llA 1Utccled to lagi~lation of the kil•d known
 -11~ 1l1c "Etlmond WRles bill" or" Bau me:• hlll " 1" the text or which w11.11 pre9Cnted by
  t11e ccimm{ttoo to the conference il1 u11c of its n1)ortA. This proposed Jnw nn!l
  .Otll!'r» of tho name type have been before tho New York legislature a numbe? of
   tlmeA hut hn\·c never heen paMed . The~· go so fAr RA to require a license to f>Olllllllll
· ~ pl•t~1l nnc1 to .iffcctunte tbnt purpoJIC wcml<I require. 11 State-wide reglatmtlon.
   An Ark1111•11n Mt of Maroh 16, 1923, so prO\'iding, waa repcnled 2 yca·ni l11tor 'all
   1111w11rkablc,11 Sucb a provisio11. i11. t1 Mlnhi111u1 Mt of Moy 26, 1925, Wall howev~r
   indudud in the most receut Michil!llll no~ of· 1927 mentioned alJo,·e.11 (The
   ror111ln1mc11l~ o~ the. Vi,rgioi.n Cude Su~11lt'1nc11t ~•f 19~6, S. 2324a, lmpo11b•g •n
   11111111111 t~K on p1&tols approacl1es the re111etri;tlu11 pmvis1011&.) ~o rerord tuu1 been
  follulJ uf e1111llt1f legislative attemJ>tli ~~vwhl)ru. Sueh vroposa.la o.re entirely otlt
  -0< 11110 with rt~ll8•li:.zed precedents autl coul1l 1111l rcceh<e general adoption by State
  l1't1"lat11rr...,.                   ·                                                                         •
       ll '1111 be 11okd that most or t he &d\'MIC cirlllelun lo. which reference hu bceo
  mode pro~e.111>011 the theory that the low In Jh pro,·isiona is too mild. On lb.a
   olhCJ' hand almost at the same ti111e th111. the critfoi,,Ulll mentioned above 'l"ent
   for tl1«'oml11g Jroru the chief of police ot Xew York Cl\y U.e Uoifonu Ad of 1!)26,
  Jun'lv1t pnssNl both legilllatu~ of U1c Sh.to Q( Arlzoua, was vetoed by C1>v.
   Gcor110 W p , fl unt in a veto mC1;11r,1W of M11~l1 4, l!l'Z7, fa \Vhicb be dillcnMes the
  Mt M 11 ~rio•1' Jn\'Mion of personol 1il>orLle11." He ('fasi;ca it with the New Y0rk
  Jc11i31r1t.Jo11 on die subject, and at<gue~ tlmt it i~ Mllreh· too draatic. ThlA l• lo
   lino \vjth numerous arl(uments adva)t~~·I ftou1 tin1(i to' time In pruentat1011A or
   ~hil tot\Ll\lr, ).K'lotc- tho Natioo11l Co11r<;ro11c:i:, rn1111;v r11m11bcn1 ta.l•Jng tlie point ol
  ''low that tlto 'lnw was too d rasti0. (This 11•11A thf! p11h1t of a ,·cno:-rnble mcmlicr
 .Qf thu ro11ferenco in casting the voto of his 4lnl.: t\(Cllln~t the law In the l'C)cent
   Chkugo coulc~nce.) This Ulustrateij very w11ll thi1 fact tl\11$~ldi:4'I 1111on the
  "ulJj~cli of firearms legislation take many rlilferont tum~. vary!qs.(\:om the cxtromc
   vlow 1111t fo'rward eon1etlmeA lJy 111..• oufottemcmt olficcni tb~t( firearms In tba
   JIOllM'Ulon of ordtnary citl2e1U1 .are 11.elc&11 to tho otht!r cxt.rel~'<)vie"' ao111etlrn~
 .nllvocAt.ed i hnt iiersone should be pt!1mlttcd to              &""   od lillititl!t.,' .~t..-~n the11e
   I wo ah111r1\~· contrutl:t1e; extre,mca t l10 v•>mmltt-O<J of tloe confllreo1l'.has. aollgM to
   "   U>J.1•100()~ l9'lll1 N>. ai-.211.                                                ~ ~. ~
   U I fM>dl>ooll IO'lll, pjl. ~.                                                       tj.
   "'lll"  n01>.-.•~' -· n.n. 1n11.
   " llal)!lhook lll'J?,_ Pl).llOT~Oll.
   '' .#,1 ..•a.•
   ,,_.   N-v.    -ot'
                    ·~ Act No. J.61. p. 1047.
   "1laft~b'M>• ,.,._ m>- •~m.
   11 ll•Mbd611; o n , -pp . ~
   •• 7ot1t t:on1 •• 1t1 flllClel •• tl.tl. 1111L
   1111andt1ool um, t•P· oOl-9•3.
   ,.. At'kAllllM•Olt •H6, Aet. No. 3.'\l, o. 10.7.
   1: v N~I~ 0                         ·          .J.         •
                                                                                    J, ''
   "11.TI~t.ooi.    tm. 11:'!"1; Veto M -. n~•CO llo11•0.1'hl)ofih, l\tb.. M~. IV, 10    ""'Exhibit
                                                                                             11-1&~ A, Pg. 800
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11 iui and &middle gro1111 d that wilt be coll8iatent wittJ badlt.lonal fon:ns of regulAtlou
 In llllO in tJll• country.
    1 ~ I• tll4I belief of 1he ·oommilt.te that the Pn>J)Otlt\<l Uolfonn Act-embodln
 4out11J form~ or regulation wliloh l)a\·o stood the teat of e..'<t>eriencc 1o tbiltco11nwy.
 and that It emboaiea suoh new ideas as have been presented from ' time to time
 inoludlog thoee ad\aocccl by Commlsaioner Mr.Laughlin, the National Crlmn
 Oomml111Jlon, 11nJ other orgnnlta.~lona working along thlA line. ThllA/.at t~e aamr.
 tlmo that It preserves the tro.d1tfonnl methods of firea,1ni$ regu1a~1on 1, t tAkr.w
 advr.niag<i of enlightened experience of recent ,yea!'I, 1t comes as near, in the
 O}>lnlon ol the commiti«, u It l'1 -po11nible to comet In mroiing the two diver·g~t
 \•lew• of a too dr8$tic regalatJon on the one band, nnd 11. t-oo liberal lack or TCgu~
tlcm on the other.                                                            -
    lt te ln~ruirng to note that- In the rcceni 1egi..~ation lllcntioned in Musacirn·
aotU and Michigan, tbo l4ngu11ge of • 11umber of section& of the Uniform Act llu
been adopted. · A Rhode llfADd 11et of 1927 hns lneoi'potaicd a number of section•
verbatim." The legiafature ot Ilawlrii in 1927 odo}'l~d moat of the aectiorui of
\110 ~t vf)rt1atim.~ Thu8 Uio prinolples and the fonn or the act, e,Ueady well
atlv11ncc1l In the legjslatlU'M prfor to the beginning ot ~he undertaking by th&
conr11mnco In 1923, have gained 11pprecmbly in Sttlt<) Oll!\Otlllent.s during the rottr
ycara that the matter lias been \tndeT ttconsideT11tloo. H ill believed that tl1i8
r11vn, 11lreAdy \Von will contlnoe and that the act, with ltk recent reaffimation hy
conftll'Cncc 11.nd the bar .usociation, will have a f.avo~blc reception throughout
tlle l'Ountry aa a :whole.

STM'EllDT or 100 '11lOllAS TAYLOB., lllnlSDTmG TD
                A1UIUCAR LEGION
  l.ir. TAYLOR. My n0-me i.s Johri Thom11s Taylor and ·r nipl"tleeot
the American Legioo. I should like to .!!_ro&ent a resolution which
the National Convention of the American Legion at Chicago adopted
in consid11ring this subject. l would like t.-0 read the resolution, if [
may {reading}:                                                                                 f
  lk ii rr~olrd, That the Ameriet.n Lclgion nlC()tnmeodJI that the Cot1greBS of
tb~ Unik!d States snd the legl.al.tures of the ecvc,.i States p&sa legiatatioD
tomml the end that the ~le of machine guns, 1uh~hlne guns, and lethal
wnp()l'lll bit re.gulal~ and cottlrolled, &.fld that ~he ownc?J and holders •nd pur-
chAM\111 of •ucb weapons be regulated and controlltd, tt.od that tbe owneni and
holdql'll and purchaaere o r ~11¢11 weaJ>0na and tbefl' ~ti"• tnmsfer be regitU,rcd
with tbc pl'Opet public 11uthorltlcs. and that· the P<*!Cl!lllon ot machine gune1
ot1bm11.eblnc guns, and letbal weapon• be restricted !.() tho organized military
lorooe ~nd Jaw cnfo~ment autboritill.'I of the United States and of tbe eeveml
Staten.                                                      ,
    Mr. Ch.Urman, and mombers oI the conunittOO, you w.iil note ~t
thie :refers to macbjno ~na, submachine guns, a.nd lethal weapollll.
We aw in full accord with the Department of Justice on this matter
tt.ncl ,wo ~ !e~d. every Aicl we can in carrying it out. Howeve:r, we
&r& ul thtS poSJ.tion: So f&r ea the small wea'pOns are coJ?.c.eroed, tb&
pi.stol or revolver, we do 11ot w&nt lligialation to be ena.ctea which will
m fno~ not reach the crinti111tl, against ~~om ~he legislation i~ directed,
but Wlll roach the groat mass of law·ab1dmg c1tlwns who are mtercsfott
in htwing revolve.rs and pistols of theil' o~ ae $protection. That i&
our inten;st. , lt is ev~dent that. everybody· !13 in f\Cc:ord fo~ ~he neces-
lllty'Of Jegudation of this cl111ract.or, BDd we hop«; th11t whon it ts dra!ted
it. will ronch the man it ia l\.fte1'-tbe cri:minal-bimse.l.f, a.nd not tbo
greut bo~ ollaw·abidingcit.izcns. We hope there will not be another
\Tol11~ ad Act., with t.he smuggling of the smt\ll amui, becaU9e tb11
crimin.Al ia going to get 11i.s unJ(l88 you· go after hiin. J know you
g.:mUamcn will bring out thnt type oI legislation.
 t• fl ,f, ell. Ui6:1, lAon nm.
 ,. u......u.....,,. ln7t 'ICt ~~                                          Exhibit A, Pg. 801
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                            .
                            NATXOY;\L Fll:EA.n~ ACT
                                                          ..                  81
       The CnJ.mMAN. The Chair would like to suggest that.in view of ih~
    statement.a made1 that you confer with the Department of Justice.
     You are all going to the same destinatioo.
  ,,' Mr:TAYt.OR. We certainly are..

    STATni:ENT ·oF SETH GORDON, PRESIDENT AXERICAN Gilll
       ASSOCIATION, INVF.ST!IENT Bun.DING, WASHINGTON,· D.C.
      Mr. GonooN. My nnme is Seth Gordoni I am president of the
    American Game Association with offices in Washin~on. I will take
    about a :minute. The 6,0001000 spor tsmen in the united_,States          are
    guite perturbed n!>out t~e po~sible effect of this viece of.legislation.
    I am sure that I vo1ae their sen tunent when I say that every o:ne of those
    G,000,000 'would li.l<e to see·legislation that will contrQl and absolutely
    reg1ilfl.te . the possession of the machine gun and submachine gun,
    but whe~u go beyond that you are going 1o infringe upon the
    tradition 1 ri hts of the sportsmen of America who have stood behi11d
    this co1m · 1n time of need. Every time we luwe hnd trouble they
    have como to front more quickly than any ·other class of. people.
    1 think you do riot need to pass .any legi;llation so drastic as this bill is
    in its present form but that it shoUld be restricted to machine guns-. ·
       Mr. SHALLENBERGER. How about sawed-off s hotguns?
       Mr, Gom>ON. If you can find a way to regulate them,· I am in favor
    of it. When you go into pistols and sideftl'DlS that sportsmen carry
    <>n t.beir ·hunting trips and require them every time they cross a
    State line to get a permit in order to do it, there will be 6 10001000
    sportsmen opposed to it.
       The CHAIRMAN. What excuse or whut justific11.ti<>Jl is there for
    anyone having a sawed-off shotgun?                                       ·
       Mr. GORDON, None. If you will permit one observation, tliere is
    some question about how f~ you oug1lt to go "·hen YQU s~y sn\~'ed-0'1
    s hot.gun, When you speak about a gun shorter tlian 18 mches or 20
  ·or 22 inches, that is one thing. If you indude a gun which h11ppens
    to ho.vo -the end of the barrel blown off because someone got snow or
    mud in ,.it, and the barrels nre cut off and thev continue to usa it, as
    I.hoy do in the country, it is another thing. \ · 011 havo to be rnref\Jl
    when you say sawed-off shotgun SO thut. you do JlOt iJiciude a gun
    wJ1id1 'is still useful--
       Generol RECKORD. \\re helicvc tbt\t the machine gun, submnrf1ine
    gun, so.wed-off shotgun, nnd dnngerolli! and dendlv wenpons could nil
    be indnded in any kind of a bill, nnd no matter f1ow drastict we will
    support it. II you will give us nn opportunity to sit clown nna discuss
    tlus matter, we believe we ran present two or three hills thnt will co\·er
    this situntion.neurly lis well, hero.use it is a hnrd problem, nncl it will be
    aimed O.t the crook, the mnn we nil want, hut it ~ill not hamstring
    and injure or interfere \\;tl1 the rights or tbe prerogatives of the honest
    citizen. '\Ve o.ro·sincere; we will work \\ith your sub('ommittee, or with
    ~he Attorney Geoernl, 1£ ·~ven an opport1u1ity, ru1d we nsk the orror>-
    tunity. We believe tl1is JS bad legislntion nnd that it fa unnect'ss1:·ily
  · burdensome on honest citizens and that it will no more l'<'ach the
    rro~k ~ho.n any lagisln~ion heretofore~ If we only hnve the oppor-
    tunity to present our views-
\      Mr. CooPElt. The Assisttint Attorney Geneml stnted that y ou ho~
   S6Yeral hours with him.                      ·                   Exhibit, A, Pg. 802
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     82                      'NATIONAL Tmllill\MS ACT

     Ge.neral REcKonu. Yes, sir.
     Mr. Coi>PER. You have had something like an hour today; how
  muc~onger is it going to take to be prepared to offer your definite
  and spedfic suggest.ion~ in 111eeting tbe problems?
     General RECKORD. I ' rht present specific recommendations by
                               n
                               . ng



  Monday o~be coming week.
     The CnA MAN. The Ohair would like to make this observation:
  In view of t e statement· just made by the adjutant general              or
                                                                         the
  State of Mar;Yland, who hae e:tpressed an interest in going as far
  as the Government cn,n go by legislation to·accomplish the purposes
  which are intended to be accomplished, I suggest that ·an effort be
  made with tbe Department of Justice to see.if he can work out some-
  thing this week along the line of an agreement whereby the committee·
  can have the benefit of Y<;iur jl.tdgment..    ·            ,
     General REcKono. I will be glad to do that.               ·
   · Mr. KE1:NAN. General Reckord, Mr. Smith tells me, stated tnut
  he could not hope to reach an agree..ment with us as long as we wanted
  to regulate pistols. I would like to kno.w if that is still your position?'
     General RlilOJCO.Rl). No; that never has been.
     Mr. KEENAl'/. There was evidently a misunderstanding.
     General RECK.ORD • . I went to Mr. Smith because I could not seo
  Mt. Keenan, and Mr. Smith can correct me if I am wrong; Mr. ,Smith,
  when I s~ted some legislation that we would propose ifjiven.
, an opporturuty, Mr. Smith t-0Jd me the Attorney General an Mr_                     - '•
  Keenan had made up theirminds and would not accept the su.ggestinn ~
     The Ce:uny&N, We will now adjoum.
     (Thereupon, at 12:30 p .m., the committee fi dJourned.)




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                                                                     Exhibit A, Pg. 803
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                                              NATIONAL FIREAR~fS AC'r

                                                   AIONJ>AY, KAY 16, 19JI*
                                          HousE OF Rsl'RESEN1'ATIVES,
                                         Co>.WrTTEE ON WAYS AND l\(EANS,
                                                                 Washington, D.O.
                 '1'h~ committee met nt 10 a.m., Hon. Jtobert L. Do11gl1ton (cbnir-
              mnn) presiding.                              ·
                 fJ'he CHAIRMAN. I suggest that Mr. J(eennn proceed with his
              explunntion of this drn.ft, as 11e did in connection with the original
              bill.                                      .
                 Mr. VINSON. It occurs to mt that it might. be well to insert in the
              record this amended drnft.
                 The CllAIRltAN. Without objection, it will be inserted.
                 ~Jr. VmsoN. I think the heading, H.R. 9066, should be stricken
              out and that it should be shown tl1at this droJt is being considered
-· '          o.s n substitute measure.                                         .
                  (The committee h1.1d under consideration the following druft bill:)
              A ntLL To 1JNJvld•·l0t tbe t..utlon of "'-nul®tllnlN, ll11J)OrtM. AJ>d' <lt•lllrs Ill ~ llttiu:1la •II<\
                                                                                                              ...,....le
               11u1dlloo Cll'OS, to tax the 1&1ci IJt ~lh<or illspooui or such weapoll9. .od to ""'trlct lmpormtoo ...a
                lllt•t<frat.o tnlll$part8UOD th....,!
                Oe ii ~nodll! by IAo. Snial« ond Houac of Rtprtunlali~u· of Ille Unut4 5'41u of
              Am<riM •11 Can11ru• autcmbltd. That for the pu,,_ ol thia aet the t:erm " fir&-
              4ml" mca11s a. JJialol or TC\'QlvcT of more than .22 e!lllbu rim fire, a llhotgull or
              rifle h.viog a. l.>&rrel lC!!IS Uum l & inches fo fongth, or any otbu fuearm capt'"
              blo or befog concealed ou Ui.e person, a firearm m\lmer or fireann &ile11cer, or
              a macl'liue gun.
                 The t-0rm "machine ~m" meanR 111iy "'capoil wlllell shoots, or is designed to
              ehoutil a.utomatically or •cmioutomatically, more thau one el1ot, ·without manual
              rcloa ing, by a sfngle function of the trigger.                               .
                 The tirm "person'' inolude11 a partnership, wmp11ny, association, or corpora·
              tion1 os n·cll as a ruttutAl pareor1.       -                      ·
                 Tnc term " 'continental United Slates" mean• the Sta.tea of the United Slatee
              a11d tlie District or Colurnhla.
                 The wm "importcJi' ' m®na any person 'l\'bO lmPorts or brinp fi~ml rnto
              t.lse ~ntinental Uuit:etl Stat.ca. for we. .                                                           .
                 Tltc term "ms.nufacturcr" means any per&on who ia cnlfll8ed within tho con·
              tJne11tlll United States in the mn11ufo.cture of fiN&l'lll)l, OF who otbenriac produces
              U'1ercln &.)ly 6reann for ®le or di3poaition.                           .
                 The term "dealer'' mcaos AllV person not a manufacturer or importer engaged
            • witllin the .continentnl U11ltcd 'Stat.cs in the bnslnc..s of selUng flrcanns.                     'fhc
              term "dealer" shall iMlude wholei<alcre, 1111w11brokors1 and dt'aleni h1 uacd
              tlro&rrus.                         •
                  'rho wrm "interstate cornmorcn" means trar1111xirlatlon from any State or
              Territory ·or DiaLrict, or 1rny ln•ular Jl06l5csr<io11 of the United Si.t<l9 (including
              Llru PhlUppino Iefauds)\ to any oUlc;r Ste.to or to tl\~ J)1elPlc) of Columbia.
                                                                                                                           -
       ''         Tho term "Commies oner" means lire Commluionnr or Jhternal Revenuo.
                  The term " Secrctarv" meaM tbc Secretary of tho Ttcuury.
                 Tho t.cru1"t.o trauatcr" or "lmmforred" nbtdl ir1cludc to eell, .&1111ig11, pledge,
              lell8tl, loan, give away, or other~ee dispose of.                    a
                 S&e. 2. {a) Wlthin 11noc11 dnya after the o!Tecth·c date of twrs Act, ol' upon
              llnt engaging in budlllcl!I!, 11Hd thereafter ou 01 bcloro tho lat dq of July ot
              cMh ycn.r, every importer, m1u111flleturcr, aud dealer lr1 l!rcanns shall register
                                                                                         Exhibit
                                                                                           83 A, Pg. 804
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•      1"1b U10 oulketor o( lo!(lrn•I revonue for .ea.ell dldriot In '"hich such bwlvme
     1 b to be urned on_, hia nt.me or •tyle, pri11dpal ptacc or buaineM, and p1-,C9 o(
        bU11f11~ In such diiitrlF!~ 1md pay a •peeial tax at thci followlng rates: lmporteT'!I
    \ or manuf1111turenr, $l,oou a yt'ltr; dcn.lctS, other than pawnbrokers, $200 a ycaT;
       pawnbro.k·e re, $300 a year. Where tho t&."t Ia payable on •he lat day Q(,,July fu
       any, year It shall be· co1nputcid for 0110 year; wbaro tl1a. t.U ill (lliyablo ..011 any
       othor day It 11bAll be oomput.00 propoFtionatcly from .tlle' t &,t ' illi.y" of' the' 111onth
       in whli;ll the lll\bility to the tax uooru11d to the lat di')' of July followinft.          ·
           (I)) n ~h_all be 1~wful for ony ~J'l!Oll requfTed to rus\lll!lf UIJd~r the pt<;wiaJ1>111
       or thI8 ~lion to 1mport, m"11uf&ol11re, or deal In fireMtlut wHhout having ~gi>!­
       t('rocJ •nd paid the t&x Im~ bv ~hie aoctioo.
           ~lte. 3. (11) There ab:&ll be lcvi~, collecte<t, anti pnM upon li.r~at'llll! tl'anafemid
      •~Our ~-outl11e.ntal Unite<! Stata1 a t&."t a~ the ra\e of S200 per machine gun and ll -
      ~ other firearm, su~h t8$ to be paJd by the peJ'llOn ~o dltp06fng tberc<il, and ~
      bO l"QPntMnted by appropri~to &tamJll- to be pro,·ided by the Commiwoner, wlU\
       t ho &J>f)roval of the Secretaey; and tl10 etlUllpe hemn prov[ded s)l&ll be &filsed to
       U111 Offlllr for such firearm, honiiJilll~r ptovided (C)f . Tbe tax Imposed by thfll
      M\Ctl()n •hall be in addition to Ally import dut•y imp()8()(1 on such lirearm.
           (I'>) All provisione or !Aw (h1l•ludi~ thO!iC n!l&Uug tu spei:ial tll.,ea, to th6
      ~rmmts, collection, reml11J:lon, 11nd refund oC internal-revenue ta.,es, to tho
      cnp"avfng, iaauance, 831e. a.coountabllity, cancelatlon, i.nd diatributblp of We•
      paid •iswpe provided for in ilJe ln~rn&l revenue la'llis, 1rnd to penalties) applicable
      •i~b. nw~t to the tiu:etl lml>CIK'd by acctlon 1 of tbc Aot of ~miler 17, 191 t, as
      tunllr•(ll.'Cf (U.S.C., Supp. vtJ, tit.le 26, secs. t<MO aod l383), and all o\her l!T'O-
      vi.\191111 o( th~ internlll re.-cnuo I.Ml'~ e'ball, imdsr 1111 not btaoNi&te.nt wftb tbe
      provlnlona oJ Ulia Act be applicable wttb respect to the tllU!I Imposed by thUI Act.
           Ste. i. (a) It aball be ttW.>Jful for uy peJllOn 1(1 tr&m1for a lireann e:1<cept In
                                                                           w
      punmaMe of a writwn order from the person seekillg obt.ain such artfoh.~, on •n
      "Jlpllt l'\ior• foTm issued in· blaJ1lc in duplicate !of tb3t purpoee by the Co1I11J1is·
      91()110r. Suoh order     shall   identify the 11pplicant bv ~uch moans· ot Jdentiflcatlon M
      11\Aj II& ))reecribed by s'eghlt;r.tlonfl under thiB Act:' Pffllli1h1l, That, If the atttillc•flt
      tA An Individual. such identifrcaUon shall h1ch1de fi11gcrprlnts thcl"t'of.
         (b) The Commisaiooer, with the approval or the !!ecrollU';)', shall cause suitabli-,
      tomta to he prepared fot 'he purposes &bnre mentlo11cd, and shall cause the .~
      to be dlalributro to collecton of ir1temal l'evenue. to poet offices, a.nd to 4UCb
      .u.soclAtlone, deitigMUd by the Com1nis8ioner, All· 111 good Cllilh. are Ol'gl>nited Cot
      tbb plUJlOi'C or, and arc ('JIPRt'd fu, target shooting oY bunging.
          (e) Every perw.n «0 tr&fu.-f~ng a firearm ahall AJCt (ol'th in each ropy or 1111011
      ordu t'ho mAnufacturor'1 uumber or other muk ld~1tifyiug aueh 6re4rm, and
      etiall furwurd a ropy of euch onler to the Conunl11,loner. Thu origj1111l tl\Cl'l.'Of
      wltll etlll11)1e affixed, sl1111l be T"Utl1rn~d to the appHr.s11t.
         (d) N u pet!IOJt shall f-r,.1111felr t) Rn•sun which h1111 1uv viu1isly been transfot'T\ld
      on or Arter lhr. effectivo 111\t.,~ nr t,hl• Act, unleivJ s11oh pur~un, in addition l.o r.om·
      plyln11 with s11lk5Ci:tion (II), tMt1•fc,.,. the=-ith tho ~tAnJ(l..affi.wd order provided
      fOt 111 thlM llCct.lon for Cllllh 8UC11 prior disposal, fo CQrtlpllnuce with such reg.\lln-
      tiollft &.ti nmy be prcscl'il>c)cl 1h1(ler tlu~ Aet for proof ltf l'~."t1!erttof all ta...:es 011 Sl1Gl1
      tltt.llflll..                                                                    .
          (fl) [f thn transfeY   or ,, lir~ur111 i• esempted (ro111 the 111vvisions of thls Ad 113
      pro vll!l'd in section IS hl'l\'ur, llte penion trorud~mttll ~ucl1 firearm shall notify
      tl'u\ Cutitmilclliooer of thl>111111111oJJd11ddl'!s.' of Uic opvllcaot , tbu :111.mber or ottwr
      P\l!otli: Jt.IJ111Ufyiog such fi1'1:1tnn, ""d the date o! ita d11Jpo~o1. nud shall file mth tha
      CummWll011cr anch clocub1 ..11t.. So proof thereof N ttw CommiJlaione:r mar bJ'
      r<:8UIAtlOllt Jltcecril.Je.                                            '
         m Importers, m1111Ut110tlll'CfJI Anti dcalern who have                ~i•ltred And paid the
      tai Ill! provid~d ror io tWotlun 2 (I\) of t h i& AO't sho.11 q_ut be ,required to eonrorm to
     tlta 11rvvlaions of this. oc-Ot!Ott wiUI r(l811Ct't to tran1<L•cflo11a In ftt'CtlJ'mij \\'it.h dealcl'!I, .
     lillt Al1111l ~l)cp such n ;Cof(l11 ·101d n lnky ~ucb ropor1-!I rc}g/)rdh1g su<'h tr&!Jlll,ctlons WJ
     rnA)' lie 11,...:a<:rlbed by rcg11'l11tlo11e 1111\ler this Ad. ,Fl                  ·
        Ste. r.. (11) WithiJI rour mo11tbn o.Ck\r' the elTcetlva d11te M tbls Act e,·~rf l)Cll>IOn
     J!OllllllUlllg ~ firearm •boll rcct.i~. wltll the coll~tor ot the dlatrlct in whlcl1 110
     1"td••1 1 lho number or o th('r m11.rk Identifying .e uab 01\'!LTm. t<i«othcrw!tb h!s t160ll't•
     addr('M, place where 81tClt "~\>011 I~ t~ually-kept, a11\J f>IAe.ll o r bwslne... o r emplur-
     mcnt, and, Ir aneh ~n la other U1An a natutAl J>enon, the name and homo
     addl'CWI -0( 11n executive ofilcor \llcrwf: l'rotridtd, That no ptrtOn ahall t;>c- ~ulttd
     to l'tlgf.11~r under thiallCOtlon wl~h ro"poot to auy finlarm 11cqu:i~ alt.er tbc elfktfro
     dllW vt, tut!l In con!onnlty with \hu riroviefona or, t his Act.
                                                                                              Exhibit A, Pg. 805
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                                                                                           85
    (b) Wbenever on &rial fat a viollltion of eeetlon 6 hereof the clcfondant Ill ahown
 to h.tlvc or to have Jiad (:'09-·i~n <1f 11Ucb firearm at &oy time Alter auell parlod
  ot f!)ur montha without having ~stered u ~ui.red by thle eeotlon, such~-
  1ion ahall create a preaumptlon that auah anwm came Into tho poaessloo of tho
  delencWJ.t aubeequent to the el'fedive date of thl• Act, but this presumption~
   no~ be conc!Ulire.
      SIC. 8. : t shall be unlawful tor~ pereon to meelve or poe-. iny firearm
  which ba ai ""1 to!me been tramfe              in violation ol eectiooe 3 aod 4 of thia AC!i.
      SU'. 7. Any fi:reann which baa at   .any     time be.en tnne!erred In ~olatioo ol the
  p rovU.iona of thia Act aball be aubject to eelsu~ Md forfeiture, and all the pro-
  vi&iona of Internal-revenue lawll relating to ooarcbes, eel1ures, and forfeiture o(
  unl1&alped artlcles are extended to and made to apply to the articles tued under
  \bia Act, And the pel'llOoa to-whOm. thia A" applies.
      S sc. 8 (A) PA.ch msnu!acturu and Importer of a .firearm 11hall identify it wl tb
  a n umber or oiber ldentifica.Wn mark approved by tl!e Commiuiooer, such
  zmmber or mart: to be stamped or othenriioe 111aced thereon in• ma.nner appnwcd
 bs the Commieeioner.
      {b) n shall be unlay,'fuL ror anyone to oblitemte, l'lllllQve, change, or .AJter auoh
  number or other identification tnark. Whenever,on trial tor a violation of tbis
 wt-.tioo the defendant is ,shown to hue or co nave had ~on or aucli                                •
  firearm upon which llUl!h number or matlt •hall have been obliterated, removed,
  cb.anpd or altered, such pc 11 ion aball bo deemed ·aufficient evidence to autho~
 be co.11yic~ion, unlesa the defend&ot explains such po68E'8aio11 to ~he satWactiop
 of the)~·                                                                                      •
      Sze. 9. lmpot1enJ. ma'nu[acturers, and de&lers shall keep such books and
  records and nnder such returne in rela.tfon to the tninsactiona in firearms apeci6ed
  In this Act as the CommiYfoner, with the approval of tlle Secretary, w~ by
 regUlatlons require_                                     ,
      SEc.·10. (A) No fireanns aha.11 be lmpo~ or brough.i Into the United States
 or any Territory under its conf.rol or jurisdiction (including tl\e Philippine Islands),
 t\l<Cllpt t~t,1 under ~ul&tiona J>t'escribed by the Seeret&ry, any &rearm rllAy he
 ao hnpon.ea or brought in ~hen (1) th& purpoee thereof is abown to be lawful
 a.nd (2) such fire&rm is ·unujue or o! a type which cannot be obtained -wlthtn
 the United States or such Territory.
      {b) It sholl be unl&wful (1) lraudulently or knowingly to ilnpon or bring ony
 ftreann into tfle United St.tea or any Terriroty undel' ita control or jurisdiction,
 in violation o! the ·p rovisions of this Aot; or (2) knowingly to asaiat in so doing;
 or (3) to niceive, conceal, buy, &ell, or in auy tll&llner facilitate the transporta-
 tion, concealment, or sa.le of any such firt!ann after being lmported or broug.ht
 in, knowing the ean1e to have been imported contrary to l&w. Whenever on
 trial for a viola.tlon of tllf& eection the defendant ill ehown to have or to have
 had~Hension of aueb illlJ>Orted lirearm, eucb. pcssearlon ahAl1 be deemed mffiaiont
 evfdcnce to authori.lio eonviotion unlees the defendant explahm 1uoh possession
.to the saUm&etioo ot tbc jurv.                         .
      S11:c. l U lt ahall be unl&'l\.ful tor any peraon who Is required to register 8.11 pro- •
 vided In section 5 hereof and who abaU not'have eo registered, o.r any other person
 who baa not 111 hie r - l o n a etalnp·i!.flbed order aa provided In aectfon 4 he.reof,
 to ablp,1carry, or deliv11r any lireann in intontate eo!Dllleree: Prtnridea, That a
 perscm n1ay. t1hip, carry, or deliver a firearm in interstate comll)ereeil such person
 hAd such firearm 1n bis poe6e8aion prior to . the eJJeoth·o date of thla Act .and
 notUies ·tb.e Commissioner thereof by aftidavlt within t.wo ~s prior to such
 shfpinent, eaniage, or delivery, setting forth in such Affidavit .bis sdd)'eM, t he
 uumber or otber·m&rk idcntlf1lng such WCAflflG. and the place to which it is to be
  ttanllported.                                                               '
    . 811c. 12. The Commlllllloner with the ap11roval o r th.e Seoretsry, shall make &II
 11iiedf1&1 ruleti and regulations for carrying the provielona of this Act Into ell'ecit.
      Sicv. 13. Thie Act shall nut am1ly w tile t11u•ufer oC ffmrma Cl) to the United
 Slatea Government, any State, Territory, or J>088eNion of tlle Oulted States, or
  to any political eubdlvl11fon thereof, or to tho D~tric~· or Columbia; (2) to any
 peace officer or any Federal officer designated. by reg11latlona of tno Comml,,.
  tioocr; (3) to the traMfer ot a11y firunn whfob ls uoaer'vl<!Ublo •1'd which fa
J1:11nJerred 68 a cutfo«Uy or onuuueqt.
   ·· & c:-. lf, A1,1y pen1U11 who violates or fails to comply ..,;th any of tho rcqull'&-
 1X1e11t. of this Act, ~cept eootlon ij, ah ..11, upon convlcUQn., ho ftned not mol'C than r
 t:l,000 or be Imprisoned (Ot not more than G yeat11 or bot)!, In tbe.dl11en:tion ot
&he colllt.    '                                                                •Exhibit
                                                                                      · . A, Pg. 806
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     86                           N ATTON AL FDUIAnMB ACT

         Sac. ts. The bLu9 lmJ>C*d by pa,.grapb (•) or aoot1011 600 or. the Revenue
     Act or 1926 (U.s.c., Supp. Vil, title 26. eeq. 1120) and by eect1011 610 or tho
     .Rev11:allb Ad ol 193i (47 Stat. 16~1 264), ehall 11o t •s>))ly to any ~I'm or\ whlcfl
     t.b11 tu JJrovlded by teetlpn 3 or thla Ac~ hM bollo pt\ld.
         Sao. 16. If 111>y provlalon of tht. Aot, or the apl)lloatlon thereof to a11y pel'llOn
     or elreumatance, ill held In valid, tho remainder ol tho Act, and the applfoe.tlon
     or 1ueb provielon to othcir pcll'IM>n• or clreumata11CC11, fthAll 11ot be all'octed tl1erob,y.
         8•c. 17. Thia Aet &hAl1 take elfect on tho als&lcth d-.y atw the dt0te of itll
     ooaetmcnt.
         e..c. 't8. Thill Ao~ mAY be cited u th~ "N.aUonal Flrunn.e Act."
     BTATIMRNT OP JOS.IPJI B, DRJJAll, ASSTSTUT A'rTOUJY '
                                             9DRRAL
        The OllAialilN. Mr. Keenan, you may proceed with your staW-
     m~.                                                                              .
         Mr. KEENAN. The bill has been read, and I desire to procct'd to
     point out the changes made in thia substitute·measure.                .,
         The CeAmVA,N. Do you prefer to answer questions as you gu
     along. or do you wish to complete your statement aIJd then answer
     que&\ions T             •      ·       .         "            -    .
 ,       Mr. KEEN.UC. I am willing t-0 ans'1o<er the quesrione as I~ along.
         Mr. TRUDwiY• .As a matter or record, Will .,.ou please tell tbe
     eten~pber.your official position.·                                         .
       •Mr. KEENAN. Joseph B. Keenan, Assistabt Attomey Genera\, in
     ~barge of,the Crimin&.J Division, appearing on behalf of the ,Depart--              I '
     ment of Justice.                                 .         ·,
         Mr. Ta&At>WAY. Tlfote is one other suggestion~ btltcmi the gontle-
     man ~; .why offer any rompariaon wit.h the original draft?
     Eviden th.at is superseded, and wbAt inUlrest is there in the original
     dr&ft?       e do not care how muCh you compromised with somebody.
     We can tell by the bill what you are aiming at.
        Mr. HILL. We ha"' had an explanation &f the bill whit".h was
     introduced, and we would like to know what the modifications are.
     · Mr. KEENAN: I think perhaps I would be nverstating i!- m ~ying
     that it is an entirely now bill. I think it followa the old· hifi witl\
     a few cert&jn changes tl\at I believe to be important. Before going
     into the details of th.e 4'haJlges of the bill, l would like to make a
     statement of what l oonsider to be the eeeeot.ial changes. As you
     will recall, the bill as origjaaUy dra.fted . exercised two powers, one
     under the taxation clause and the otbor under tbe commerce clause.
     Under the bill as noW' submitted, it foJlows the theory ·or taxation
     all the way through, and it contain& this one affirtnative change of
     atreme importance in that it ealls Cor a ~t.rAtion of ·a11 fil·earms ·
     within a prescribed period. This·new provtsion does not, however,
     require fmgerpr!nting, w~cb bo.s been considered to be the objoetion•
     able feature of 1dentificat1on.                ·
         Mr. FuLLEa. It does.                   .               .           .
         Mr. K:u:NAN. It doea not include llng11rprintiog of tho am1s now
     io exi&t ence.                          ·                       .
         Mr. li'vu.1:a. I had ihe other impre!)Sion.
         Mr. K sENA.N. Lot rne make thiS clear: In lhe old act we had no
     proviaio.n fo?" nigistration of e.'risting poss~!Uld firesn ns. In U1i3 ae~
     we h.l\ve, but it only tcquires tho namo1 address1 and the occupation
f.
                                                                       Exhibit A, Pg. 807
     of the possessor. It does not require i11ent.ifil'!e.ho1\ by fingerpri.ntihg
     oii', photographing. ,            ·
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                                     ?l'.iTIOl'lAL P'IJUU.BMS JlOT                     87
                 !.fr. TIUlA-DW.AT, ·In conner.tion- with that, r ·would like to cnll
..            .attention to t~oviso under sel'tion ·4 (a)1 ''Provided, i.hat, 1C the
               oppllc11nt is · on 1ndividunl, such identification shall include fingor- •     ~
               prints thereof."                                                     · ·
              . Mr. KE.eNAN. Thnt h11s to do only with those firoanns specified
               herein, that &rll acquired after the 0ft'e ctive dAt.e or this act.
                 Mr. TREADWAY. All you eliminat.G is Bn_gCll'Jlrint.ing of owners or
              •old firearms?
                 Mr. 'KEENAN. That is correct.
                 Mr. TREADWAY. If I went into a store today an_d sbowed that .f
               was a .responsible person for the ownership of .a pistol, then I would
              ~ fing~1:ted as o~ng that pistol?                      ·
                ·Mr.        NAN. That 18 corrnr~t.
                • ~r. VrNBON. The gentleman from Massachusetts speaks of elimi-
              nntlng fingerprints. It is not a ques tion of eliminating fingerprints,
              because under the original draft, H .R . 9066, you were not required to            •
              ~ster firearms owned by private persons.                 .
                  Mr. KEENAN. That is true.
                  Mr. VINSON. It is not a question of eliminating fingerprinting and
              phot.Qgraphs; that was not required under the old bill.             .
                  Mr. KEENAN. That is rigbt..
                  Mr. Vrii'eoN. As to those weapons now owned. is itiiot the taxation
              power which provides the basis for n>..quiring the mgistretion of the
     .. .. · firearms now owned and possessed?
                  Mr. KEENAN: Yes. In executing or administering the taxation
              provision it is import8.nt to be ·able to identify arms to see which pea.
              sessors have paid taxes 4lld which firearms have been .tlixed and
              which. have not.                          _
                  Mr. VmeoN. What is the perullty for vi olating aection 5?
                  Mr. ~EENAN. ,There is no pentJ.lt.~ at all.        .                  ,
                  M r. KNU'I'SON. In order to expedite matwrs, will you tell ua just
              what sort of BrDlS this legislation is aimed at, and what arms are
             ·exempt from the provisions o[ this act, or will you come to that later? ,
                  MT. KEENAN. I Will do that now. This act affects all fireanns ,
              wit.h the exception of .22 c.aliber rim fire pistols, and riftes and ahot- , · "\
             ·guns l111ving a bnrrel 1ollg(lr than 16 inches.                               ~ ;·
                  MT. KNUTSON. Sixteen or eighteen inches?                            fll'   ~
                 'M r. KEENAN. Eighteen inches,                                            1
                  Mr. KNUTSON. I t exempt,jj ihose?
                  Mr. KEENAN. Yes, it exempts tbose.
                  The CHAIRlllAN. II a deo.ler only dealt in the firearms not inaluded,
              in this net, would he be subject tQ this tax7 H he only dealt in sflot
             ·guns and rilles b&ving a barrel moro than 18 inches in Jength. and .22-
            . caliber rim fire rovnlvers, would he bo subject to this ta."t?
          ·     Mr. Kl:Et-"IA!':. Are you ·talking l\oout 11 n11mufi1r.turcr Ot' d<lalor
           ·or both? • .
               The CnAtRMAN. Both.
               Mr. ~ KF.ENAN. The term "manufart11rer" means any fl<'l'!!On who
            is engnged within the rontinental United Statl.'!I in the menufac-turo
           ·of fireRnns or who othorwi..'16 produ<ros therein 11,ny firearm for sl\lo or
            dis1>osition, hilt. firenrm, ei; defined, exempts tho ntns£t'S I h1we mcn-
            lioned before., I think the answt1r would be "no."             .
               Mr. Woonttun. According ' tn your dcf\,nitiom1, would I\Exhibith11rdwnre
                                                                                     A, Pg. 808
            mnrcbant who ·<™ill. in shotgun11 nnd rifloo, tho bsrrol11 of whirh wero
                                                            -
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                          llr.ll'l:OlUL.ynut•RMB .&er
              i                                    .                      -
  18 innhes11ong or longer, e.nd who did not deal ui m achine guns or
  rifles or shotguns with bauels shorter tha.11 18 inches, have t(,> pay the
• S200 tax?                                 ·          '              ·
    MT. KEENAN. I think not.
     Mr. WooDRUFll'. What is your definition of.a dealer?
      Mr. KEENAN. On page 2 t.he' bill states, "The te'rtn 'dealer' means
  8ny person not a manUfaotu.rer oi' importer engaged within the con-
   tinental United States in the business of selling firearms.''
     Mr. WOODRUFF. Would the term ''firel\mts'' include all those that
 ihad barrels 18 inches long or long0l'? ' . ,          ··   · · . .      ·           l .
     Mr. Ki:gNA.N. For the purposes of this act the defuut1on of t he
   term "fires.rm" is a pistol or 'reVolve.r of more than .22 caliber rlm fire,
  8 shotgun or ri.fte haVing a barrel less than 18 inches in length, or soy
 ·other firearm capable o( being cQncealed·on the person. ·
     ?.ir. WooDRUFF. 'Where are you reading?             1
                                                           •                  • •

     Mr. KERNAN. !The first paragraph of the .first page or the net.
  " Or any other firearm capable of being concealed on the_J>ei'son, a.
  firearm muffler br firearm' silenc.er, or"'& ma.chine gun." Therefore,
  shotguiui or rifles with barrela over 18 inches in length are not included.
     Answering the question,' I would say quite clearly that such dealers"
  would not be required to pay the. tax.          ·                   ·
     Mi-. WooDRtn'F. And any dealer dealing in revolvers of more thuo
  .22 caliber or automatic pistols o! ·grea.t er ct1liber would c-Ome under
  the provisions of the a~t7                                     •
     Mr. .KEENAN. Precisely, yes.        .
      Mr.. KNUTSON. Suppase a dealer, at the time this act is passed, has
  a or 4 shotguns or 3 or 4 Ji.fles which he)1as cattied over from last
  i;eason. Would i t be nil right to allow him to de(llaro tha1i'fact wit.b
   the collector? .. He,oould·i;i?t tum theru iD as. the m~.~u£ac~1.1rer would
·-not take them back. · . 1'                          •              -
     Mt. KEENAN. Int.he mstance you t'ite, it is assumed that t he barrels
  on these 1ifles nnd •sho~s will be over 18 inches.in length. ' •
 · Mr.· KNUTSON; He bas in his posse$Sion when this act goes into
  effect t.tiose· shotguns and rifles. In order to sell those two or three,
 -he would have to take out a license?                                            ·
     Mr; KEENAN. Assuming the sh otguns and rifles have barrels 18
  inches or more in length, and are not sawed off, they are 'n ot covered'
  by this BC~ . .      ·                                                              I     '

      Mr. W ooDRtrFF. The sawed-off shotguns are those on wbieh the
  barrels ba.ve been sawed off after.leaving the manufo.cturer a.nd nft~r
  leaving the dealer. .,.., ,                                               .
     Mr. M cCLINTic. µi tli~ first pa~egrn.P.li y.ou say a p~f-01 or l'e.v olver
 ·of more than 22 caliber ~n·fite; 'ts there any probnbihty o! the two
   words "rim fire" co.using conlu'3ion, tnking into consideration th.at
   pistols of greater co.llbei are all cap fire or center fire? Is the term
  "rim fire " DOCflSSDJ'y? , Wou)dnot 22 c~lbec be sufficient?.
      Mt . ·KEENAN. We adopted that proVlston at the suggestion of tho
   National Rifle .Association, as being the definition tba:t would exclude .
  from -the provisions of this net the typical target gun t11Bt had· no rcnl ·
   vnlue ns o. gangster weapon. I think pe.-baps Gener11I Reckord will
   be better nble to answer th&t thnn 1 can.                    · ·
      Mr. McCLtNTtC. A· centor-fu'e cnrtridge might be e.'l:oluded if y<>u
  specifically refer to rim fire 22 onliber.
      Mr. K~ENAN. It wc,uld be excluded, I am ID.formed.
                                                                     Exhibit A, Pg. 809
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                                  NATIONAL l!'DlBA.BMS ACT                         89
                          ·' If they are excluded, tbeu you would exclude a
            M.r. McCLtNTic.
          lot a! ~!°ls that you want to include.
             Mr.      llNAN . We would want to, but we feel if we get more tbao
          tbe 22 cl\lihel'IJ under the provisions of tbo .tt.Qt we would be aocom·
          plish.ing a great dee.I.
             Mr. Htc.c.. Would you understand that pistols or revolveni of oot
          more tbn.n. 22 caliber, whether center fi.ro <1r 'Tim fire are exempt. from
         this defmition 7           ·                           •
             Mr. KEENAN. I would think oot.
             1'f11. MoCLtNTIC. It seems to me that the two ~ords '' rim fare 1 ' ·
'.     •
         ougllt to come out, because you wo11ld be liable to exclude center fire.
             Mr. KEENAN. I am not particulo.rl,y interested in that. That wo.s:
         ndopted Crom o. provision request.ed by the Nl.ltionol Rifle Assoc?1Ltion.
         I! the Oongressmiln_would permit, r would rather those questions be
         nddre.1sen. to the proj>onenta of that. provision.                            .
             Mt. Rn.L. Under thii! definit.too, 1r 11 deoler sells ' a revolver thn.~
         tires o. center tire cartridge of nny co.liber, he. would come undOl' tbo
         J!rovisions of paragra]>h l o( the ac~ tl8 a dealer in firea1'lll8.
             Mr. Kxl:NAN. H the revoh·er is more tbnn 22 ealiber rim ft.re, I
         thlok the answer would b-e yes.
             Mr. McCt.r.NTtc. Suppose it 13 more than 22 nod cent-0r fire?
             Mr. KEENAN. I tbink·it would pl.llinl..f come within the provisioos
         of the Mt.
             Mr. CooPER. I hnve Que question on thnt. Is this determined by
         the ohllrnoter of the cnrtridge fired or tho ~J>e of gun that fires the
         Ct\ftridge? What I am getting at is this: Ww not a 22 ri.fte fire a rim..
         fire or center-fire cartridge just the same?
             Mr. l{f:&NAN. '\Te nre referring to pistols or revol~ers only.
            Mr. COOP!iR. What I am getting at is this: Ia the gun itself so
 ...     made and designed that it will only fin! rim-fire cartridges, or will it
         nlllO fiN center-fire cartridges? \                                         -
             Mr. "Kz.ENAN. I would p~fe1' to have that question answered b7
         tb1, expert.a who have ~uestoo µs to iricludo tliis language.
             Mr. WooDBUJT. I will 1'11, that a rifle designed for rim-fire cart-
         ridg~ will liro rim-~ cartri.dges\&tid no others. f\ ripe d~ed to
         fire cent.el'-fire cartridges, I am hOt sure whether tt. will fire run~fire
         cartridges or 11ot, but I do not believe-it will                                  ~.




             Mr. COOPER. Is it the tj'pe of.eartridge fired that controls, or is it
         the gun?                             I.
             Mr. KlllENAN. I understand it ta tho gun; General Reckord tells.
         me it is the gun.                ,                           ·
           Mr. McCt.rnnc. The thought comes to me that if we ]eave tbooo
         two words in, "rim-fire", manufacturers might change the firing pin
         or change the eartridge and mal.(o that particular rifle in the future so
         tLat it Will fire center-fire cartri~. {f you take those two word!'
         out, it will refer to revolvere of more th&n· 22 caliber.
           MY. X:s:BN.u;. I do not ~we wo~td have any objeeti~m to ~at.
           Mr. WoODJU1n . There are some high·pOwered 2~bel" noes,
         not of n type for target practice.                             ,
           Mr. V1NeON. This provisioo onls l"tl(Ol"8 to pistols and revolvers.
           Mr. LEW1e. Whnt IS the reason for ex~pting pistols ol 22 caliber?
         Wl11\t kind o( a p.istolis that?                                      ·
            Mr. KEENAN. It is the 22-caliber rim 6re1 used {or target praotice.
           Mr. L-.:w1s. As pistols are they deadly?                  ~
                                                                        Exhibit A, Pg. 810
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     Mr. KEEN~N. They are deadly, but they nre not so Ionnidnble ns
  the hcaviel' co.Jibelj O.nU tfils is I\ C0tlCeSSiOn 1 i{ it may br. 1:10 termed~ to
  those who hnve a !lobby' of tn.rge't shooting, tallowing I!te suggestions
 that v;e at~mpt to get together a bill.on                                     .
     ~r. Li:wie. Would 11. '22-calib er pistol ~e used for target. practice?
 I t Is readily concealed on the person and JS deo.dly. Could &t be used
 for tiu:g~t practice?
     Mr. KEENAN. The rim fire;7es. This js ihe mcss~o t1h11ot comes to
 us from the representatives o the sportsmen and f,hose who hnve a
 hobby of using pistols as well o.e rifles for tatget P.rnctice. . It has been
 represented that while thi& weapon is techii.ically a deadly \veapont                         •·
 it is .not a foriniCl11;ble '<>ne, compared to the other o.rms found on the
 gangster today.                                  .
     Mr. LEwis. Is it required to be register~ under the new provision?
    Mr. KEENAN. It would not be required to be registered.
• Mr. TREADWAY, May I ask o. que8tion'l I want to get at two
 things; first, what present regulation ot law is there appli<;able to the
 owners1?Jp of deadly weaP.ons such as we ~nv~ ~ascribed ~ere? I
 :would like to know what ' the present regulation JS m connection with
 those-weapons: I would like nlso to know, when you'spenk of giltting
 tJj?ether with somebody, whether tbnt included 1111~ business enter-
 prisas, manufnctm.ws, etc., who have up to now been allowed to
 manufacture these goods under certuin restrictions. Havb ·they been
 consulted at all?
    Mr. KEENAN. Yes.                                                  -·
     Mr. TREADWAY. I mean the fulks you are endeavoring to put out of
  b usiness. There a.re two separate questio11s; I ~011ld like to have
  you handle them separately.        ·             -
     Mr. KEENAN •. l assume the Conw-essmnn hos l'eference to Fedel-al
  laws.                                           .
    Mr. TnEAD'\"fjAY. I nssume thni is D)l we clln discuss.
    Mr. KEEN.AN. I know of no rcgitlnticns except the present ad
  vnlorem tax ol 10 percent on s11les. Other tlnin t.brougll the inatt-0r
  of taxation, I do •not believe that there i!J 4ny regulation i bow uf
  by the Federnl lnw.
     Mr. TREADWAY. You are la.ying emphasis on t11e F~dernl law. As
  o. side matt er, there are State reg'ulations?       . . '          ·
     Mr. KEENAN. Oh, yes. Of course, it is n very broad 1111bjoot, if ~-e.
  go into tbe details or different forms of firearms reguln:tion. We h1we
  the Sullivan lnw in New York, typicul of the law '~itb teo ~h. Wo
  have the so-called "uniform pistol !ttw" nJ.o~tcd by 14 or 15 Stntes.
  That }1as beeQ presentedo,t o the committee, without nn opportunity
  being given to nll the members for adequate oxaminnti<5n. · Answer--
  ing the second pnrt of the quest.ion~ I have hnd n op!lference with tho                  ~
  representative of tho Colt Co., wlu,eh is tl\e,lm:gest doml'lltic mnnu-
. focturcr. l. think tihe Colt Co., the Remington .Anus Co., Smitl1 ,'(:
  Wusson, and'· Iver Johnson aro the only manufacturers of pistols.
  Wbon you tnlk to tho Colt.Co., I thillk you nre talking to the coinpnny
  tlmt; mnnulncturcs 1md sells t\10 grent lmlk or lirnnrms., tbe grentN·
  pl'oportion of pistols in this country. The machine-gun people were
  represented here at tho In.st sC11Sion of 'this committee. · I nm n ot
  representing to"tbis committee thnt f.bis bill ns drnftod 11nd submitted
  r eceived the npprovnl of the Oolt Oo. I do i;;ay thl\t o.n earn.est effort
  wl\s made~ get togetho,r. The repx:esQntativo of tho Colt Co'..is beie
                                                                           Exhibit A, Pg. 811
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        now, and he seemed to be interested in lowering the tn.lt upon mnnu.
        Iacturers. We have suggested cuttina the mo.nulo.cturers' tax. from .
        $6,000 to $1,000. The mo.nulacture qlpistola and revolver.i,is not il
        profitnble pnrt of the firearms industry. It is in .red mkf 01~ far 1111 the
        manufacture nnd sole of sml\ll fiteorms are Concerned.
           Ml'. KNUTSON. Do you not thihk $200 ta." on n smftll tle11ler•is too
        much?                                                                     ·
           Mr KEENAN The question 11sRiid is whether a ta.-< of $200 oa the
        small dealer is not excessive. I am inclined to tlll<e this, position, as
        far as tho Dop'a rtment of ,Justice is concerned: Whatever amount ol
..      money meets the approval of this committee in the taxing of the
     . dealer meets our approval:                                          •
           Mr. W ooqnuFF. As a mattel" of fact, the purpose of tafing is ·for
       co~ trol only. That is ~he erinurry p~pose; that is the m~di~m th;rou~h
        wluch we hope, constttuti@ally, to take charge of this m'tua.tidn, ts
        it not?                                _
           Mr. KEENAN. Also th&, desirability of getting control ~ firearms
        away from paWllbrokers. ·
           Mr. WoonRUFF. I understand. 1 say a~aih tbnt theJ> · nry pur-
        ~se of puttin&: the tn..'t it.em in, this bill 1s constitution y to take
       charge of t.hia sttuation?                            .
         . lvh·. KE»N1oN. If that question is asked--           .
           Mr. WooDRUFF (continuing). WJ1ether applied to pa~'Ilbrokers or
        enybody else?                                                  /
           Mr. KEENAN. That question is asked directl,y, and I bn.ve to 1mswer
       frankly;. yes.               .      _          .      .           ..         .
           Mr. Woot>itUFF. The amount/Of tax is.not rmportao_t?
           Mr. KEENAN. The n.mount o( tax is not im11orta.nt excep't from this
       standpoint; it would be desirable t.o have the sale of gil.ns in the bands
       of as few people as possible as o. matter of efficiency to keep track of
        these weapons and see whether t11ey are ilold t,o the wrong people.
           Mr. WooDRUFF- That is a debatable question . and .I say that be-
       c.ause I come from a district rather spai;sely settJ;f, and tho merchants ·
       doing business in the various small towns in my district1 who handle
        these firearms as described by this bill, who have a desire to supply
        peaceable law~abiding citizens \\ith o. means. to defend themselves
       could not possibly pay that $200 a year.                      .
           Mr. KEENAN'. Our• position is that we would like to see ·OJI high a
     • tax ns is now suggested_ -We recede ii-om that; for practical purposes
       we ore willing to fi.y the tax at any n~ount the committee sees fit.
       That is one of the points that we agreed \vith the C-olt Co. on; thoy
       .were tbe ropresentatives of the general humuJo.cturcl's and were also
       interested in their de11lers1 since tbey"havo no soles org1U1i11ution of
        their own.                           .    _
           Mr. WooDR'UFl". My point is tJ1is: So for o.s the Constitution of t.b.e
       United States is concerned, th~ Department of Justice is just as Slife
        with a tn._.._ of $10 o.s it would be with a tax of $200?             ·:'
           Mr. KEENAN. I th.ink there is no q_uestion about tlrnt.
           l\lfr. McCLINTrc. li !read tllis biU riglll, tho m.an ufoctoror who only
       makes shotguns is not subjoot to the to.it.
           M r. KEENAN Thut. is right...                          ·
                                                                             '
                                                                                        ,
                                                                                          "   .
           Mr. McCLlNTic. And neither would be the d(laler, unless ho sells
       pistols and these. short rifiea and shotguns. It would leave shot.guns
                                                                  ..
       and riOcs with ban:ols gi'cater thari 18 inthcs out ol the pictnro.            ·
                                                                         Exhibit A, Pg. 812
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   m1~
      ..
   .. Mr. KD:iiA.M. They are out Crom begioDing to end and nclver
                                                             ,~
                                                                  were
      Mr. TB:&A.DWAY. Do you !eel t.hnt this finger prinmig, as a matter
   of identification, is essential?           ·
      Mr. KEENAN. I think i'.is of great importance. What is, and what
   is not eBSential-                                            /
      Mr. TREADWAY '(interposing). You provide for regjstration, his
   name, and ·all that !JOrt of thing, from the purchaBeT, -&nd on top of
   that you want to fingerprint hi.ul.                -·
      Mr. KE!mAN. Ou.r po;iition is this: The fireann today is ca\tsing a
      'great deal of d83truction and cieath in our land: We think anyone who
       wants to procure a fireal'J'..i of the nature deseribed in this legislation
                                                                                      '   .
       oUg,ht to be willing to go to that trouble to make h.is contribution to · ·
       the safety of the other people. We have not had any telegrams sent
       to this committee; we have not'atte.mptcd to genefate any pro~aganda .
       We have received literally thousands of letters from womens organi-
       zations and other public-spirited 6rganizations asking that something
       be done about the firearms evil, and we submit, that even though it is
       a little trouble t.o have fingerprints taken, we believe it is not too great
       A dmiation to ptake to the general safety of the public.
          The Cn.miMA.N. Do you believe that the crimin8l olasse3 will com·
      ply with that provision? .                                ··
          Mr. KEENAN. We do not,
          The. c~~N. Those who obey the lnw will, o{ oou:rse, comply,
       but the cnmnat classes will not do so.
          Mr. KEEJ'iAN. We have recognized that from the beginning. We
       do not believe that this bill will disarm thl\-hardened gangster, nor do
       we believe that it will prevent him from obtaining firearms. We do
       believe , that,it will permit effective and adequate_prosecution, and
       take that ms.n 'o ut of circulation when he does not comply. we think.
      it will be mqcb more difficult to do that if we do not have this l.lleans
       or identification. We are cognizant of the fact that those who oppose
• , ,this type ot' legislation all make the argument that this is going to stop
, the good citizens from getting firearms, but that the crook is going to
· get t.blim. We do not agree to the first premise. We are inclined to
   " agree. Bli far ss the hardened criminal is concerned, but we think t hose
       wtio·ms.ke the assertion fail to ts.ke .into cons.iderntion that the har·
 · dened criritlnaJ was not always a hardened criminal. He was once a
       youngg!Alr, and he bought or got & gun and be learned to use the gun
    •at the time when he was not a b;;;iened c riminal. Probably the
       young hoy who·is now faced with no penulty for possessing a firel\l1n, if
  "'· there is a penalty, might think'once or twice before ho runs afoul of
       the Federal laws                              ·                      .
          Mr. FuLtiER.'l have a very bigh..clo.ss gentleman• wtio is in my
       home. At one time be was recognized as the expert pistol shot of
    . the world. He hns a pistol of every make in..tbe world, and he owns
       over· 101000 pistols now. For instance, i1 sdme notorious gangsoor
       had o. pistol he would go nnd bu.y it. He has tball collec~ion of .pistols,
       and he has exhibited it at world foirs a111d State fo.il"S. Under this bill1
      as I see it, ho would be rtiquired to stump and regiirter each one nn<t
       pay a dollai; for each.                                                •
          Mr. Kl!IENAN. He registers them, but l!e pays no tn.x on· them.
          Mr. Fm.LEK. For e11cJ1 firearm he pays· o. dol~ar. ' , .        ·

                                                                     Exhibit A, Pg. 813
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      Mt. Kl:.&NAN. ·The CoQgTeSSm.an is fisking about that [eature of t.he
  regjstrntion law'T
      Mr. FULLER. ! · want to know how it 11.ffoct.s that man. Bo will
  have to register each and every one, o.nd ho will have to have each
  and every one stomped, o.nd tbe.n ho will ht~ve to. pay a dollar eao.b
  for' tho registration.
     Mr. Kl!lENA.N. I do not thir.k that is wiraasonable, because llOme
  enterprising gangster might leo.ru about those pistols and might go
  an..J equip himself. We would lik~ to know who owns those. He .
  would ~ay no tax on·tllom.
     Mr. F\;t..LBR. Sectioli 3 states tha~ theM shall be levied, collected,
  and J>Wd upon firearms transferred o tax of $1.
     Mr. KEENAN. He just ropsters t 1.iem. The regjstration feature ia
  confined to giving information, such ll.S the name, address, and occu-
. pac.iOJl of the poSSOSSOI' of such fueo.nns AS are entimerated io this
  not. There is no peual~y for ·1 ts violation. There is no cost for .
  regi11trntio.n. That gentleman who owns 10,000 firearms might be
  P.Ut to considerable troub1~1 • but he v•ould be able to hire a clerk t.o do
  tl1nt for hlm, in e.11 J>i'ob'ability.        .
     ?I.fr. WooDRUFF. Tbore is somethini said aboot Lbe difficulties of
  f!Dgerprinti.ng. Having been fingerprinted n number of times in my
  ~re, fol' n _very ~or~by purpose, 1 ~ prepan:J to suy that t!ie p:ropoSt·
  I.ton of fi.hgerpnnting is a very sunple ono. Aoy'tfeo.ler m firea.nt1s
  could bnve a. fingerprinting ·outfit, o.nd whoo you buy firearms all you
  b11vo .to do is to put youl' htind on n flat stone with a little ink on· it.
  and transfer it iO a puico of.paper. Tliere is no difficult); of any kind
  whil.tsoever in connection with that 'phase, 11nd there will be none, if
  tb~ net becomes law.
     Mt. KEENAN. Every postmaster today bas thnt equipment in con-
  nection with the Postal Savings System. nnd we have not hen.rd niiy
  complaint.                                            · .         ·
     Mr. WooDRUFf'. Every denler should hnvo tbut equipment; it i3
  inoxpon.s.ive and. or no trouble.
     Mr. VnrsoN. The· photographing oI tbr. npplicnnt ho.s been strinkon
 <)Ut.                 ,
    Mr. KEENAN. Tlul>t is right.
     Mr. VINSON.' Mr. Keena.n, when. Mr. Cummings, the At.totnQy
  General, was testiC)'ing on tile. original bill the question was raise(!
  o.s to -paragraph. (dJi subsection 6 of section 10, which dcnlt with the
  presumetion of ros1donce. As I undcrs!.nud, thnt presumption is out              •
  of tho hill?
     Mr. KEENAN. Tbot prosumptfon is out; y113.                .
     Mr. VwsoN, In foct-, tho entire in~erstota commerce bnsis is wlth·
  drn.wn from the bill?
     Mr. KEENAN. The permit as such. ci()( conrsc, I bave·not como to
  tb1d, pnrt yet, but if; 1s mndo unlawful for anyone to transport nriy
  flronrm descnbed in this act in interstM.-0 commerce unless ho , bas
  r-0g,iswred, as provided uncler tho ·reiti:etrotion clnueo, tlio existing
  fironrms1 o.r unless ho Jms oompli<;d with t.bo .P.rovieions, thnt is; tuo
  ti.ngerpnntmg, and so forth1 relative to acq lunn~ firoarme aftor ~ho
  pllSS~e of tl1e o.ct..                                                     .
      Mr. VJ.NsON. I tJ1inky~m stnt.ed origioo.lly tlint H .R. 9060, as intro-
  duc:iod .on April 11 of thia yoo,r, bod as its foundation taxntion and
· i~wr&td~ commorco, b,ut thnt the int.erstnt.o eornmerce·.!eaturo ha~
                                                                                         1,
                                                                    Exhibit A, Pg. 814

                                                              ...
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                            NATlOlUli FffiEAR.~ AOT

     boon withdrawn and t hat it WRS presented pt!rely with the ta.....ation
     !eatme.
        Mr. KEENAN. I meant by that statement, that now you are not
     1'6quired to got a P,el!lllit to bring a firennn from one State to another.
     You are required t-0 register all existing arms, and you are required
     to observe illl the formalities for the pul'Cliaso of arms- described in
     tlia act, o.ft~r its passage.          "'
        Mr. VINSON. Now you ate requiring thnt all existing 6.reamlll bo
     registmld?
        Mr. KEENAN. Under thut act.
        Ml'. VmsoN. Under thut aet. Under section 5 of the substitute,
     it is provided that all firoanns now possessed shall be reghitered;
     tha"t is correct, is it not?
        Mr. MENAN. Yes.
        Mr. 'VtNSON. But1.as you have stat-0d, there is no penalty attached                 I
    for failure to Tegister sueh firearms?
       :Mr. Klil'ENAN. Yes.                                    ~
        Mr. VINSON. Is the main purpose which actiuated you in providing
    Ior tegi,stration of existiutt firearms to i>rovide the basis for the
    preslim{:on that appearn m para.graph (b) of section 5?
        Mr.      ENAN'". I would rather say this, Congressman, that the
    pnr-poee of section 5 is to aid those charged with the administration
    of this act in determining whether or not tues had been paid on
    firearms that should be taxed.
        Mr. VINSON. Wlien you- fail to have a peoalty for nonregistro.tion
    of firearms, I am in thoioi1gh accord with tbat· thougl1t in the l>ill.
        Mr. KENNAN. I would assume so.
        Mr. VwsoN. It seems to me that the only purpose tbnt you could
    have in providing for registrations of firearms now owned lllld pos-
    sessed would be to pcnnit this pi:esumption in pal'agrai;b (b) of section
    5, that whenever a d.e fendant "is shown to have or to have had pos-
    session of such firearm 1lt any 'time after such period of 4 months.
    without having registered as required by this section1 sucb possession •
    shall create o. presumption that such fireo.nn came into the possession
    of the defendant· subsequent to tbe effectiv.e date of this Act, but
   -alls presumption shall not l)e conclusive."
        Mr. KEENAN. The purpose is to determine whether or not o. gun in
    11 certain instance wa.s purchased before or after the passnge of this
    act, to determine wtfether or not the tux bas been· properly paid upon
'· it. , We also propose to attempt to dewrmine who possesses tlronrms
    11nd whore the firearms a.re, so we can mnke n. stnrt on this proposition.
    In my ()pillion, it will toke a long time to control this 'traffic o.dequstoly.
        Mr. VINSON. Do you think that there will be anyaffirmo.tivc benefit
    t? .t~-e Depart;meht of Justice in .knowing tb~ nnmM ~nd nddm$se11 of
    citizens of thJS country who roport llJld reguiter a pistol en· rc1'<>lvor,
    thn.t tbey_,now legallv own'?
        Mr. KEENAN. Not directly; no.                                     -
        Mr. VlNBON. Tho crook or gnngst-Or will not' register t.hnt wonpon?
        Mr. l(El;NA~ · We. boliove not.                            .
        Mr. V1Nsor-r. 'I'he \Qw-libiding citizen will, if he knows abo11t this
    provision; if jt is cnllod to his attention, he will so.re{,rister thnt firearm,·
                                                                                        -
    but _it ~ms to me th11;t. the .only 'purpose. hero i~ Tllquiring ~his re~-=
    trntion is to use the regu1\i'nt1on ns tho bn8ls for th~ pi:csumptJon which
   ·will certninly be n£ bonofi t to you jn the trial or Q man aoousod or bavjng
                                                                      Exhibit A, Pg. 815
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                                  NATIONAL pmEAlUJS ACT                                95
                           .                                             .
       .in hls possession n firearm that is not regist~red. l s tl1ere no other
        purpose behind the roquirem1.1nt thnt all firearms now owned shall be
        l't\,aistered?                                       ..
               ).fr.l{EENAN. There is this additional purpose, ~[r. Vinson. I
           think it is not suffic.iently omphosized that a good m11nyof the8e pistols
          of the classifications described are stolen, not alone from onnories and
           commercial deofors, but:luso those wl10 possess firearms as indh-idunls.
          1\'e think it will help ·u s to have such matters reported. It will belp
           to have o. recoid of the owners.                                     -
               Mr. VtNSON. "To ho,·c such matters reported "; what do you mean
           by that?                                            .              .
              ·Mr. KEENAN. Wben reports are made of a gun bemg stolen, we
           \\-ill hRve that fnct brought to t he a.tten.t ion of the police. People will
           be more cnreful of the use of firearms. : They will realize that. jt means
          something to them to have a gun1 if they have to account for it. We
          think, too, t,hat it is a good t.hing to m11ke this start. It may take
          many, 1nany years before we milk.a real headway in the control of
          firearms .
              .Mr. V i.vsoN. As r understand pnragrnpb {h), section fi after the
          e}'."}>iration of the 4-mQnth period, after the time this would become a
          law, if I\ person were caught wi.tb a firen.rm, coming within tho purview
          of the net, without thnt firenrm having been registered, there is a lego.I
          presumption set up that such fue.n rm came into hls possession more
           t11on 4 months ofter the enactment of this law.
               1'fr. KEENAN. That is correct.
               M:r. V1NsoN. That presumption may be reblltt.e<lY .
               Mr. K~ENAN. That may be rebutted, yes,
               ifr. VINSON. It is not a. conclusive presumption j it is prirul\ fo.cie? · ,
               Mr. KEENAN. Yes.             ·
               Mr. McCLm:1c. Wbnt ";Ould. be tlte maximum penalty that could
          apply for cnr1-y:mg that firca.rm from one Stnte to nnotbcr? ·
              .Mr. KEENAN. The penalty is iliat within the discretion of the court.
          Conceivo.bly, a tr~endous u!ius~.ice .might be. done to a mi?'n c11.rrying
          a gun across State lines who hnd m bis possession a gun whir.h hnd not
          been registered as required; lie would be subjcet to the full pennlty
          pro.vided in the act.                  .· .                    -
               Mr. HILL. You have defined .. firearm•; in the firnt pnragrnpb or . •
          t11e new drnft of t11e bill. 'When t11e word ":firo11m1" is used in t his
          hill, does it refer hack to that d'efinition, and is it confu1cd to tile te.nns
          oI that definition?· ·              ·, I f
               Mr. ~EENAN. "Yo take it,tlipt nil f,Jui 'wn.y through; foi the purposes
          ol this net, the term 11 fireirfi1" Jl'lC(l)}S whnt the clcfinition stnte.s.
          \\·e linva used U1e term "firem·m " nn.d \\'e have not used e'n:v other
          lnngun.gc, confining its mcn.njn~ to t11at \\rhich it would bnve under
    ·". the aefinjtion l).S set, forth in tlie fiTSt. pntngrnph. I 11!1\·e nssumed
          t11ero is· no quL'Stion thnt hnving defin,ecl:t ho tern!' 11 firearm," wherever
          it is used thcr4.1.afte1• in the nc.E, tt would. be restricted tQ the limitations
          of tbnt clofillition. .... · - ·
      . .~Ir; HtLL: A shotgun with a batHll of 18 inches or n101JL\;\'ould not
•      ' ·be n. hrenrm ;>                          ·
               }.{r.'1{~:£NAN. It wt>ulcl not:        , ·,,...    ··-      .
              Mr. lit.LL. A ril!e,of JS inches or 11101·e"wo11t,111nt. ho 11. fil'flllnn tltidot
          this,definition?             •
                                                                             Exhibit A, Pg. 816
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       Mr. KEENAN. It would not.
       Mr.Hn..t. It is hard to use tbe word IJ fire1wm" without referring
    to the definition to know \vho.t are the fir~m= not inCluded in ,the defi-
     nition. As to such fireal'ms, used in the generally accepted sense of
     the term, tho.t do not co~e within the definition of firearm, as defined
    in the Act, no registration is required, and no restriction is impmied on
     carefmj! such u. weapon from 0110 State to another?
        Mr. KEENAN. You mean as long as they are over 18 inches?
        Afr. Hn,L. As long as they do not cor.ue within tl1e definition o (
,    "fireann" in the act.
        ~fr. KEENAN. That is right;:yes, sir.                                          I    '

        Mr. HILL. Thero is perlect freedom, the sam e as now e7'ists, aa to
     the possession and use of guns, under thls bill, so lo~ as they do not
    come within 'the definition of "firearm," 11s set forth m the bill?
        Mr. WoonRUFF. There is no limitation whntsoever as to the use
    of sporting anns.                   ·                                      '
        Mr. KE£NAN. None at all, unless you call a Colt .45 a sporting arm.
        ~Ir. REED. Wlult I i!ee in -this bill is, and it is brought out quite
    cleo.rly by Mr. Vmson's questiollS that when you .require the regis-
     tration and fingerprinting, it ennh(es :you RS n prosecuto,r to take the
     man who bas not c.omplied with the law and raise thl" presumpt.ion
    against him in the prosecution.
        Mr. KEENAN. Thnt is true. 1 forgot to sto.te, and 1 think I sboUld
     h8ve, that if by chnnce o. per.;on who possessed firelfm'is <loes. not
     register them within the 11rcscribed period o{ 4- months and desires
     t.o curry t}1em into another Stalie, be may have th€m re$i:;t.ered .art.er
     tho 4-month period, and if he does register them withm that time,
     then he carries them as thot1~h they were rei:istered prior theret().
        l\<lr. LEwrs. Is it not true' that neo.rly all of t he Sto.te-; have passetl
    laws agt1i.nst all kinds of concealed weapons?
        Mr. KEENAN. I believe that to be true.
        Mr: L'EWis. That evinces o. purpot;e ·on the port of the State to
    require notice to t he public, publicity with regard to 't.he carrying
    and the ;ossession of t!lnall wenpons?
      Mr. KEENAN. Tho.tis right.
      Mr. LEwrs. The suggestion occurs to me that in requirin.. them to
    register, we are only effecting tho purposes of these lnws in ti10 Stntos
    against carrying conceo.led weapons. Will not the.y be as completely
    concealed as if there were no rei;stration.                               ·
      Mr. KEENAN. 1 think the bill would be helpful in o~l~ining
    auxiliary facts, to aid the States.        ·                               .
        Mr. FULLER. As I understand) if any person should sclli llSllign,
    pledge, lease, Jon?-, or givq__awa¥ a P.istol, that, be would _be iable to
    11 fiue ·not t1xcecding $2,0001 or impnsonment not exceeding 5 yeatS,
    or both. .                                                    .
        Mr. KEENAN. Unless the provisions have b'c en complied with witb
    respeo~ t6 thu.t firea~ 1 jes. ll you ~ro going to rcgulnt.. tl10 tr!lllBfer •
    ut. all, it seems to me it must be       ·                                  '
      · Mr. FULLER (interposing). I! he 11nd fa1led to obtain a porn1it und
    po.y a dollnr for the loo.n or gift or pledge or assignment, he would be
    goll ty o( thn t penalty?,                                ,     · ·
        Mr. Kn:.NAN. He would it1 voku thn t per111ltiy-, yes. · Othe.l"lll'iae, tho
    effects o{ the bill would be otnaseulntcd. 1( you oxompt g\fts, an!'
                                                                       Exhibit A, Pg. 817
                  •' '       I


                  ·~ ;'I '.      ·"   NATIONAL   FIBEA.nM~ AC,!.'
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                                                                        ·•             97
                   '.~I ,'
          you t:ry the gmgster. for having the gun, he will interpose with grea~
                   1


          facility, as the past has sbown, tlte so.mo kind of an alibi tbot he has
          alw!iys bet:"1 able to cook up. You will .find somebody who has made
          a gift. t.o btm .
            .i\-lr. •F'ULl..ER. Do you think under tbo terms of tllls bill i~ would
          prohibib nn _o<lministrator or executor from transferring ·Rny of these
          WCl\~Ons't
             Mr. 1.V:ENA.N. I think so but, Mr. Fuller, we expt>ct to find some
          efo11,ent llJld some degree of conunon sense in the Federal judges and
          in the prosecutors.
· •           M·r. 1'-tcCLtNTtc. Referring b11ck t9 section 1,, on the subject of
          pistols, if you transposed the langu11ge, it: would say" a rim-fire pistol
          greeter thnn a .22 cnliber." That .would exclude tho center ftre pistols
          of lnrgnr caliber. It seenis l.o nur th11t so1no attention ought to ho
          poid l<> that IMgunge so as to clarify it in such way as to eliminate
          tho r.lcment. oI doubt.
              :..tr. Ks~sAl't. I w-0uld be glad to take a not.o of that.
              ~ofr. ~1c0LINTIC. You are referring t.o tJ1e particular I-ind o( pistols.
              Mr. 1\ l:ESAN. I am frank to gay1 '1L·ith ttforence t.o that particu.Jar
          provi!lion1 we have followed the lluiguoge .suggested by our good
          fri(!lldr. 1 tnc National Rifle Association, and those representing sport.-
          mg    men, G"neral Rcrord, ruid !Ylr.1''.rcderirk, 11J1d the others who hnve
          followr<l this legislation for some fif~en-tldd yl'ars, and \Vt1 l1ave tu ken
          thrir <l<'filution ancl their lMguage us to the .22-<ialiher riiu fire, just
          as we 1ulopt,cd the ltmguai;e    a!ljt11e marhine gun. 'Ve do not want
          t.o c;xclude from the provisions ' f this tl('t any other pistol over tho
          .22 cnlioor.
            Mr. McCLINTtc. ll you leav tl1e liuiguage as it' is written, J am
          afraid you do not do that.                                                ·
            Mr. lhi.r,. One <\uestioll rolatiYe to th~ definition of llls:chine guns.
          There is a distinction between 11n anto-londing and automatic gun,
          I toke it.?                                        .
              ~fr. KEEl'AN. I think so.                     ; •
              Mr. 1£11..L. An Rutomatic g1w is one tluit fires without pulling tbo
          trigger mo.re than once. An auto-loading might not be u aut.omatio.
          An auto-londing gun nught not be an autome.tic gun; for instance,
          you have these small rifbs, the .22-c!lliber riiles whicli are are aut,o..
          fonding, but you have t.o pull the trigger earh." time to fire them.
          That is not a ilUlchine gun.                   .                                   ,
              ~Ir. KEENAN. A mal'hino gun is ono tbat shoots more thnn ·one
          shot without mahuol reloacling, b~· 11 sin~lc function of the trigger.
          11 it ('Onics within the provision 01 t-hat, Jt woul<t·oo a macbinc. glUl.
             .}.fr. Jft'!L· If you · hav~ to hll\'C, "101'6 than one function Of , the
          tngg<irt~t 18 JlOt automatic.              .         .      .           ~
              ~lr. AEENAN. That is right.            '                 - - ·         ,
              ?vfr. Hn,r,, I know ib these .amalJ 1·iQe~, wh('n you fire by pulling
          i hc trigtrcr they reload autQmnti<-ally, but lbev do not nuto11t11tirullj
          (i~ O{,'flln wilcs.i you pull t he tri~(,'<lr.         •
              .\Ir. l\£ENAN. I npp~iat.o tho distinction.
              ~rr. H1LL. That is not n mad1inc gut1 11J1der this definition.
              i\fr. 1\ltENAN. No.             ·
              Mr. V1r1soN. 1 nm still thi11ki11g nhuut. the..li.tt'nrm tTmt is now
          owned nnd posse.ssecl Jcgnllv, lllltl reCt'rrini: to tho s upplemental stntc-
      '                                   -
          m out thnt you mnde whiJe.}\{r. Heed of No.w York wos tntcrrogoting
                                                                    ~             .
                                                                             Exhibit A, Pg. 818
                                                                                              t
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       98
                      v')
      yo-u, that sUch n weapon e<>uld he trnnsported in intet'Stllte (lommeree
      wit!io\1.~ being a violation of lo.w1 I find, on looking int.o that section,
      which 1-; seotloo 11 of the substitute bill, thnt befote that lDnn ma.v
      transfer ·t he firearm which he now owns and possesses legally in i_nter-
      11tate commerce, lie bast<> take the IllJlt ter up with-the cominissioner,
      noti£v him by affidavit, within 2 days prior t.o such sbip)'Jle11t, carringe
      or de)ivery, setting forth in surh affidavit his address, the number or
      other mark identifying such weapo1t, :nd t he place to which it is to
      be transported. In other words, ·1 citizen has n ot violotcd the
      law in the purchase or the possession of this firearm, hut. if lie trnns-
      potts it, (i41 does. H e may possess _it legnlly by registering it:
        Mr. K-s&NAN'. ~Iny I ask a. question there? You are refenmg to a
      class of those who possess guns not registered as required by this act?
        ?Yfr. VmsoN. Yes. That gentleman gets a penAlo/ for su<-h pos.-
      sessioo of the weapon 1'nd he will be guilty of a \iolntion of the Jnw i!
      he t.ransports tha t weapon in interstate commerce.
         Mr. KEfNA..."1. Yes,           ,                    _
,,          Mr. VINSON. If he live.3 oo one bank ot a river and was "ithin the
     ' law in the possession of th.is firelifm nod failed to register it, there is
        no pennl_ty a~1ed, bu~if hemoves_to the other s ide of the rh·.ci;•. then
        he h ns \'lolated the law ln that he h as transported the weapon lD mter-
        state commerce, unless he makes an affidavit and sends it to the co1u-
        missioner and tells him a.I.I about it.                            ·
            l\[r. KEENA.."i', That is right.
            Mr. VINSON. Wh1lt is the penalty for thnt violation? A fine notor
        more than $21000 or imprisonment of not more than 5 years, or both,
        1n the iiiscretlon of tbe court?
           lv1r. KEENAN. T11ose are the marimmn 11ennlties pmvidt'd gener-
        ally, and he comes within thnt provision. \'\"e have been hoping thnt
        the F.e dernl judge or the pro$eeutor would look into those matters and ....
        exett1se common sense.
           J\.[r. V1NSON . I u.nderstlUld the common-sense theory, hut you
        would not rely upon the whim~ of Federal judges in the 48 $ tntcs, nor
        prosecutors.                            r                             ..
           !\f r. KEENAN. {t must be awnitted tlmt thllt would permit, under
       some circumstnnces, a Very save.re penalty for whnt was nt lenst not...
       intended t.o be a violation of 'the lo\''- · It is n. stringent provision, I
        thinkyou will admit.                               "'
            Mr. VINSON. Assuming that section 11 were stricken out, would
                                                                                       ..
        that be vital t.o the purpose of. the Department of Justice? 'Ve hnve
        paragraph' (t) in section u with rcfcr-ence t.o the presuroption.
            M r. KEENAN. Will the Cc)ngressman please put thnt question                 c '
        e.g1lin?                                 .
            Mr. VJNSON. I am asking whether the abolition o f tlw.t lun$U~ii,
        the elimination of it, which sets.up nnd mak~ illegal what otdme.rily
       .:woul_d bo a la!"ful act~ the~ trans'p<>rtAtion of something which he bas
        ~ his pqsse!!Slon legndy, fro~ ~ne St11:te t-0 another. '\Vould thll.t
         v;tnlly affect thefureoses behind the bill?
            M r. Ku:-NAN. tlunk sb, for :this reason: If you t11ke tbut out,
        you might aa well take out tho rCgistrntiion provision entirely.
            ,_,[ r. \ 'i NsoJll. Not tl1e regist:rntfon provision.
            Mr. KeENA.N. I will withdraw thnt stalemeqt. It would still leav e
         the presumption o! those found with the fireorm, wiU1o ut llffeoting
         tho rogistrntioo,. it.tho weapon wns, procured before the net went into
                                                                      Exhibit A, Pg. 819
                  I
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                          f            l'iA.1'IOlUL J'IBlWUlS A<:r                   99 .
             okoct. I am inclined to think wo        cou!~afford to· give way on tfuat;
             there Is a good deal to what Ute Congressman ·ea_ys with refe.re.nee to
             eliminating that provision.. I do not think it would vitally afiect
             tho:R~t answering the quest.ion ~~rically.
                Mr.JltLt.. I suggest that i~r. Keenan started out to gi,·a tli~
             riinln dllfe rences in the bill.
                The Cu.unKAN. He may proceed.
              1l\ifr. Kl'lENAN. I think we have, in the course of the questioning,
             t~ched u))On every important element of this act, as we have gone•
'i.         a ong. I think I cllll brio.Hy state that. we rui,·e changed tl1e pre--
            c · ing act ·by a definition of machine gun, which already has been,
            b' ugltt     lipfor some detailed discussion.
                Mr. H1L1,. ln that con.oection., th~re wns o. suggestion made here
    t1           the previous session of tlie coninuttce that you might consider the
  · \            tteT of requiring the registration of clips !or machl:oe guns. You
     't.        y,c noi done 11.nithing about tbet7
      l · ~· !\·f r. KEENAN. 'l'b.~re has. boon n otJ\ing done. on that.
 ·~~ I I :• • . Mr. lhLL. You also referred to 1t1eta.l 11ests.
:t lli · .j':} l\{r. K.E"t::NAN. That might go in nnother bill.         ,
   • J~ l
. :? f t;rr
         ·'
             tiMr. Ht LL. YQu do not think machi~un clips belong in th.is bill?
              f Mr; Kt:ENA~'. I t hink. it could be includ~. We had thought ~r
  t ·_;" ~ ~ ndling ?lachine-gun clips and metal vests m a commerce clause m
~, "   f'.   ,olher bill.
 ,                Ml'. HtLt.. Do you think machine-gun clips should come in here?
                  ~Ir: KEENAN. I think they. should.
                  ~lr. H1Lt,. Where would they come?        ·                      ·
              J    IVfr. 1KEENA-~. l suppose it would hove to come in the definition,
              m J,ho tit'St clause, as part of the firellrms. · We would have to change
               tho net considerably to indudc as fiteurms machine-gun clips.
             . J ~ifr. HCLt.. Do you think them or s11fficient importance to be in-
              t:ludrd bete?
              ~ ~ir, J[&XNA.'f. I do not think so. I think if we had control o f tho
              finns themselves for the purpose w-e w-nnt, thnt. it will not be o[ any
               tt'ernCl.Oi)ou& assistance m following the 1unmunifion.
                   ~11r. Bu.ti. A gangster might be in lawful possession of a machine
              gun, ond yet he r.n~ have; am.munition for that gun. You mi~:
               trace the ammurut10n to him and thereby contribute t-0ward
..            identification as the operator of tho machine gun.
                   Mr. ltt:'ENAN. You ean readily tell if the ammunitiop was of auoh
              a nnture n~ to be d6l!igncd for mne,hlne guns.. We have been working
              to gt1t a bill othCJ'WJSe acc-Optnblo to tlio vanoua groups 'o f the ·oom~
 · ·          mtinity interested therem, and we Jrnd not considered that seriously
              up to this time.                                                        .
                 . Mr. F.1n:AJt. In the sub~tituto l>ill, you have left in revolveni1
              pl.Stole, and all that?
              · ~ir. KJ:~w;.:;. Yes.                            · .
                 Mr. FnzAn. The protests wcra dirnc.~d toward those, I~.
                 Mr. KEENAN. We will havCl ti (ow wOr<l!! from Geneml A.lfen'about
              the mRt~r of protests: We dislike. to get into that subject about
              the protests, because we find that co1nmun.icatioos have been sent
              out from Washington by tbo NGtion$l llille As$ociation, in oJTect
              n1ik.inj) the members to bombard thls Mmmittce with objections and
              ellowmg a rather definite knowled.ge of the temt$ of the act 8s originally ·
              drawn, nnd making some repre.sentntions which, we regret       to say,
                                                                        Exhibit      we820
                                                                                 A, Pg.
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   100
   tlllttk a.re not in accordance with the f~.ts of the case. We will h1•vo        •
   thoee to show the committee, if it is interest~ . I inwgine the Con>-
   ~an has not been hero before t.oday.
      Mr. FREAR. I was hero at the previous S(ll!Sion, but have not been ·
   here today.                                                                 .
      Mr. KEENAN. We htlve discussed the m1~tter of pistols. They are
   left in, excepting the .22-ilo.liber rim fire pistol. The suggestion was
   tnade tha.t t~y ough&o bo ~xcluded_, not boing n dead!y wen;lon lVJ
   compo.rcd Wlth the otti'er caltbere_d p!Sf.?ls and weapons included.
      Mr. ThEAX>WAY. You Bnl detlling with the small fuearn1s exactl:v                 •   I
   under the same cooditions ns you are the, ma.chine guns, are you not'l
   There is no ,djjferent. troo.tmeot. nccording to the danger -Of the ar ticle
                                                                          1\
.: . involved? ·· ·    ·              ,        ·    ·
     Mr. KEi!NAN. Thnt is true; they will both lci.ll.             .       \
      ·Mr. Tn~Al>WAY. Isn't a machine gun a vory muchmoro dangerous
   woo.pon to have in tho hands of a .gangster? You can do a lot more
   work with a machine     g\:nthan with an ~rd}nary revolver?
       Mr. KEENAN. There is no doubt that 1t 18 more dangerous.
                                                                     ·~
       Mr. Ttn:Al>WAY. What benefit is there in nllt>win.g machine gun
   t<i bo legally recognized at all1 Why not o~clude them from mllliu~
   !aoture'l      .
      Mr. KEENAN. We 11!lve not the power to do that under the Coh-
   etitution of the United States. Can tho Congressman suggest undor
   what thilory we could prohibit the manufacturo of machine guns?
      Mr. TREADWAY. You 'could prohibit anybody front owning them.
      Mr. KE&NA.N. I do not thlnk we can.prohibit anybody from owning
   them. I do not think that power resides in Congress..
      Mr. TREADWAY. It wo11ld be like t.be control.of a deadly poison,
   I s_uppose.                           ·               ·
                                                                                           \
      Mr. KEEN.&.>q.. That is controUed.
      Mr. TnlinWAY. Yes; that is controlled.                 .
     Mr. 'KEENAN. 'Ye have tried meticuloJJ!lly to follow the Hrurison
   Act, pnssed by the Congress, and the dec1mons "Under that act. We.
   hflve this strong analogy to poiso:n, but the poison only kills tho person
   who takes it, while the gun is d()Si~ncd to kill others.                   ,
     Mr. TREADWAY. That would. afford a basis of argument. Could .
   you not make a retetivNifferonce between the dangei:ous typM,
   acconlfug to how dangerous thoy are?                                •
     Mr'. KEENAN. In the penalty fo'r their transp<irtation?
      Mr. T1tEADWAY. Or in the control of thom.
     Mr. KEENAN. I suppose that could be done. The idea would bo t.o
   inctease the penalty for canying machine guos, or decrease it for
   CllJ't'Ying guns not so dondly as machine guns?  .    _.
      Ml'. TaEAnWAi. Wbonovor . Wff _hear of tboso terrible raids, the
   machine guns arc the ones which do tho most' dnmago, aro they not?
      Mr. K"EENAN. Yes; we usually find tho mnchino gun, b_utiwo always
   find a half dozeb or 8 or 10 Colt automatics or some easily concoalnble
   firortnn.                                      1-                           •
      Mr. Tnv..owAT. That is a matter of convonienoo, is it.not?
    Mr. K:ssNAN. J,t. is 11 matter oI convenience. Uthe ~a'lman
   would pennit. me to suggest1 in addition to I.he machine gull the
   modern go.ngtiter i'I not 1.6clm1cally w"ll equippc11l i£ ho does not hn\'11
   ee-vo.raJ conceable smnll al'llls for uS-O instnntly.   \• '
                                                            \
                                                                    Exhibit A, Pg. 821
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                                      NATIONAL !'IREAJt)'(S AOT                             101
            Mr. Th.EAJ>WAY. How large is a machine gun? How!coo.spicuoue
           must it be for a person to c.,ey it. aroun.d 7
             Mr. KEENAN. I have socn a Jot of them.
             ?\fr. TnEADWAY. Jt. wouJd be about bow long1
             Mr. KEENAN. About 2 or 2}' feet in length.
             ?vfr. ·T1UJA.DWAY. How large are they? WhtLt would they weigh?
             Mr. KEENAN. lt hoa a buU..-y stock; I would say it is 4 or 5 or 6
          inches across and j t has a dr\LDl. ·
            Mr. TREADWAY. What would it weigb?
             }vlr. Ki:EN.uT. 1 i:annot answer that.
'   .          ~!r: TuliDWAY. It i.s \!ery inconvenient Co:r a man to conooalf
               Mt. KEENAN. Th<1Y II.ave con·ceaJed them in ~-::-li bags recentl,y.
           You may.remember ml\ding thatDilliogerreoonUy went lA> bo treated
           for a gunshot 'WOUJJd by Dr, Mortenson, head of the Minnesota State
           Welfore ·Department.•, At thlt.t time J)jllinger's ·companion h&d a
          .mnohino gun sticking'out from his·coat, wh.icfi,·many people thought,
           should have indicated tbat he wa's dealing with a gangster. It was
           difficult to conceal the g\)n. ·
               ~Ir. TREADWAY. You do not feel that tboro is any way in which.
           more severe penalty could be imposed again.st tho machine gun, either
           its puroh.nse, snle, or possession, fhl\ll any other kind of a dangerous
           wev.pon?                                                           ·
               Mr. K1:t:NAN. I think that is en excellent suggestion. I think it
           rnigl!t be regulated in tho penalty.
               Mr. .lltLL. Section!! 3 (o.) of the substitut;o bill provides that there
           shall. be levied;_ collected 1,and .t>oJd upon fir(')arm.s tmnsferred: in the·
\          contmental United Stntes 11 tnx ·ai the rnte -of $200 pei:' mnehme gun
           o.nd $1 per other firetirm . Th:-:e is ·a diBCrimination there in the IJLt&
           of tlie ta..'t.        •       .-< • .. ·• ·          •              .,.,          ,
    •)
               Mr. KEENAN. There is-:- J still: tlrink tboro is-a groat deal to wb\t
           t11e Congressm~ ~s abOut the penalty (&r carrying a mac.bine 'gun,
           J do not think hfo un~nmailt ·would be too much. .                                    •
               J\ir. TREADWAY: 1 connot see what e. machine ~m would be for
           unless it was for breaking tho law. It' iS not an arttcle !or protection.
           Foi:_ i~stnnce,\if you. or t hnd a-permit to have a rovolv;e:r in. 6ui, home,
           t11nt\1s for our de!ense. I cannot see wl1ero a mncbine gun cnn 'be
           used 'in n legitimate way. •                       '                    ..
               Mr. KEENAN. The N.ivolver 11.nd pistol are dQSigned to frill .some
           being and so fa tho rnncbine gun. Lt is a matter of 'wliiclt kills the
           more effecli-vely: ·Thai is why we D.m a.s1cing tbe.eorpmittee to con•
           i-idor wbnt may seem to oo drastic ·regulation of all .fireanns. I bnv•
           '!ltnted @out nll oft.he important.points with the e~ption of m11tters
           such as ~ntiques.                          "• · ~ "        ~ · ·
            . The Ca.unMAN~The wooden pistol ece~ to ,have been u~ with
                                                                                     1

           grent'effect.             ,        ·         .·                             \; "
              ·Mr. KEE.NAN. 'l'he wood<1ii pistol migbt have gicnt eJfeet.\ witb                   .,
           poople with wooden hea'ds.                  ·               ·., .            t
                                                                                             1
                                                                                                    -~
               Mr. Fu1,LBR. What wo'l.tld you think,of a law which prohi4ita: th&
           numuftict'\Jre or sale of pist.Ols to Any Jf<v50n clt'Cept the Govemm~nt
            or nn o.llicn -0! tlte l1nvt                   · •                           .      , _
               Mr. K.EEN.A.N. I thi11k that ou!d bo *l)n e:ccellent provision if tJ1e
            Con~ss had powor to eon.ct suclV~Tu1ation. . \Vo tbjnk it would be.~~
           good thin!?. '11ie wny th1tt cnn· ~e nttncltcd, nutumlly,. is by some 1 1 •
            aotion of the Stnte assemblies.        '.                        · · ·         -          .\
                                                                               Exhibit A, Pg. 822
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                                                     •'
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                                    . '·
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       Mr. FuLt.E n. 'We could enact a law -declaring 'it a . felony to seU
     them .
       . Mr. -;i(l!lENAN. I do Dot think thnt power resides in the Congress,
  " The Federal Government.hllS no police powers.             ·            ·   ·
         Mr. FULLER. It co\1ld require them to be registered ana .pny t'hem
      full value and then d«itroy the weapons.
         Mr. K~ENAN. I do not tbink thnt power resides in Congress.
         Mr. Vmso.N. It :S because of that lack of power tbu.t you appear in
     SUP.port.of the bij.l to do.something indirectly. through the ta.'iiD~ power
      which !()U cannot do directly under t.be police power?
         M f . KEElllAN.' I would rather n.nswer that we are foll<>wing . the
     &nison Act, and·tho opinions of the Supreme Court.
         Mr. VtNSON. tn other words 1·yon are ndvoCiitin~ the crentfon of a
   · llew felony in the fnil11re to regist~r n firearm ucq\llred subsequent to
      the enactment o! the law, with a Jine of not more thnn $2,000 i>l'              • ·
     imprisonment of not more than 5 years or both. '-.
         Mr. KEENAN , That is right.
         Mr. VrnsoN. Under the taxing power of the Constitution,
         Mr.·KEENAN. Yes, following the Harr.ison Narcotic Act; Urnt is
    right.             ·-                            .
    STATEMENT OF 1. WFSTON ALLEN, CHAIRMAN NATIONAL ORIMB
                  COMMISSION, NEWTON, MASS.
        •rne C.ELUnJll.AN. Plense· give your niime and whom you represent:
       Mr. ALLEN. My_name 1s J. Weston Allen, and ·my residence 1s
    Newton, Mass. • I am a practicing lnwyor in Boston. I w'a~ Attornoi.
    General of Mnssachusotts when. Calvin Coolidge wo.s Governor, o.nd
    I am a.ppoo.rin~ here as chuirmnn of the National Crime Commission,
    under the aegis of the Department of Justice, becnuse the Nntionnl
    Crime CommJssion has, during a period extending bnck to 1139G; beon
    direc't.J:y in.terested in the problem of the adequate control of fuellJ"ms,
  · both under.Federal and State legislation.                             ·
        The Nationnl Crime Commission was established as a voluntary
    association on the initilltive of Judge G!ll'y nt. the tune that tihe
    problem 0£ crime was disturbing the country, and in 1027 the Nationo.l
    qrime 9 ol!U!1i'>Bion appo~ted a special commit.tee ·W d!aft a firearms
    bill which nnght be aubnntted to the States. A.t th11tt time, there had
    been a. uniform firearms bill J'ecommended by the Commissioners on
    uni!orm laws, which organization has boon gomg !orwnrd for·a qunrter
    of e. century; and tha~ bill has been approved by th9 Ame1-ican Bar
    Associn.tion and hos been submitted to the Stutes. It aroi.lsod so
    much opposition; prowsts co.me from so many St'll.l.es to the National
    Crime Commission, that the adoption of' thu..t bill by the Status would
    he a reactionory measure tbn.t would tuke t ho teeth 9ut of existing le.w
    in so many of tho Sttttos, tlu~t tl1e N ntionll) Crime Commission osked
   .lJl!l if I ~vould orgn,nize a com!uitteo wh.ich :-vould st11dy tlte · que~~ion
    W1tli a 'VlO\V of makm.g suggest1ons 11s t,o n umform lnw to bo submitted
~toJhe States which would lulvo more efficient power to control the
1   situntion.                                      ,
        'I'Jrn personnel of t hat committee which cnrrioit on tho study and
     me.de. the dr!llt of ~he bill was cnr~Iully selected to roprcscnt all . the
    interests which were concerned. When the Commission accepted.the
    responsibility of' forn1in1.? such 11 committcci, it nnmcd three repre-
                                                                      Exhibit A, Pg. 823
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                                                                         - ,
                                      :S-ATIONAL FffiEARIII~ ACT                      103
               sentativils: A\1gusi Vollmer, llhlef of police of Berkeley, CalU.1· who
               was e;.recogniud aut.horit.y on police. problems ; P.hifi_R S. Van Dise1
               foriner_polonel of the United States Army during 'the World Wur. anu ·
               who ~chieved a reputation 1l.S a prosecuting attorney of the-city nnd
               county of Denvor; and myself. Later, the.Honorable Ogden L. Mills1
               who was in Congress.i:}Onsented to · act in an advisory rapacity on
              Federµ! legislation. .uon. George M.. Nnpier, attorney general of
               Georgia and president o'f the Assoriation oi States Attorneys General
              t1nmed as representatives of his 11Ssociation, at the request of the
              Commission, theHonornbleJay R. Benton, attorneygen(frol of Mnsstt"
'       I
              rhuS<>tts; the Honorable. H .,L. Eckern, atf,()rney general 'of Wisconsin,
              and 0. S. Spillman, attorney gene.rel of Nebr11.Ska.                        .
                 At our reqtrest, the Secretary of.'.\V.nr designnted Brig: Ge.n. Colden
              L. R\1ggles 1 chief of t he Ordnance D epartment, Washington, D.C.•
              to srn·c· on t he committee in an nd,isory capacity. The American
              B11nkl'rs' .Associtttion, which is deeply concerned,. drsignnted · Jll.lllcs.
              B. B'num, deJ>uty manager, to represent t hut body.
                 The N ntional Rifle Association Blld the United St11tcs Revolver
              Association sele'cted lvlr. Charles T. F rederick to ·sen ·e on the com-
              mittet> for both!associations. }..1r. Frederick, I unrlersto.nd, has been
              before your co11unit.tee, nnd b e has stated, nnd correct)y statco , that
              he wns largely film author of the bill whlrh has been approved by the
              COJlUnissioners 6n 1miiornt laws.                                         ·
                 The Reajngt6n-Arms Co., Inc., Jyei Johnson ,,\ rms & Cvcle '\Vorks
              t.he l-lau-rington '& Richardson Arms Co., Smit.Ii & Wesson, Inc., 11J1d
              Col l/a:; P atent Firearms Co., which comprise the leading manu!o.e-.
              turers of firear~s i~ this rountry, ag1·ec.d on ~r. S. M. Stone1 president
              of Colt'&' Patent Firearms Co., as their offir10J reprcscntatlV(! on the
              committ.ee. That comml'ttee met in New York City: we had s rssions
              in which tho question was fully taken up, and from that tune on the
              N ntional Crime Commission bas. followed legislation, both Federal
              and State wit.h respect to this subject.                        •
                 Concorning the bill in question , during the few minutes which are
              assigned to me, I '\Iii.sh to speak on tho question of fingerprinting nnd
              the importnnce of having section 5 in the biU, which provides for
              registration, nnd if I hnve time., to refer to tl1e arguments that this
    .   '
              legislation will take the prote..ction away frorn t.Jic home 11nd will
              n ot prevent t.lie gangster from gott\ng .gulls, wJ1ieh is ono of the
              argumcnt.s,E the ·other nrg11mcnt thnt it interfers with honest
              sport in rifle r anges and in hunting.                      :          .-
                 '\\"itb reg d to section 5, gentlemon,-t.11ero will .no,·er be tj!i?ie,nt
    •         contt.ol of fu      ns in this .co'un try until Stl\to and Federnl lcgislnLion
              aueeeed    in securing,   in some fotm 1 r~strn.tion of firen.rms which nre
            ' possessed l.>1 thll peoplo in t ho United States. Thn.t is, until we cnn
              hn1·r tlrn.t mfor mut ion the poliee and all Haose who · bclieYe in the
              ~rl.eq\1n.te control of firearms nro n.t n. disadvnntnge. rnris hill proYidt>s
              jn Ii most admirable wny !or tJ1is rcgistrlltion: It providrH for no
              penn)ty; .it simply in offoct says t.o tho ci lh:cn, ''you sho uld nnd tnust
                                                                                                \
                                                                                                •
              register your firenrme so tJrnt we cnn know wi_th r cg11.rrl to wh(lrc tJie
              firearms nre in this rot111try.'' Ot eo11rse, illl llrcnrms Hint nl'c not
              cfTcctivr for use nre elimin11tcd. All shnti;;uns 11nd r~nes nro rlimirrnkcl.
              The onlv thing that the eitiv.t'!o is nskcd t Q rrgisteJ.are firearms that
              foll within those dossee. '\'hy? One rcRson is Uint whria y nu gt~t I\
                                                                               Exhibit A, Pg. 824
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                                                                         - -·
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     criminal and he has a fi.tea'rm, tt is 1mpor-tant to find out where he got
     that.firearm, nut! when, ail tiine goes 011, wc are able to get a. ran.son-.
    • able degree ·o! tegistratiol), t.he important question· which comes ·
       up first, in getting informatfon with regard to criminal activitiy is,
     ' where did he get the.firearm, will be capable of more prompt solutjon.
       It docs not hMdicap onyone at all .to merely ref!ister the fact that they
       have these fircarn1s, provided they a.re serv1ccnble firearms. The
       effect will be in a smrul nnumbcr o.f years, and as time goes on, all
       modem firean:ns, s uch as crimfoals must have, will be l'egjstered. As
       for the purpose of this raw, which provides for the registrution oI all
       firearms sold hereafter, RS you supplement it by the registration of
       firearms now in exi~tence, you '~II soo!l have something we ha,, o never
       had bMore, an efficient mc11.ns of locnting firearms.
           Mr. HILL. How are you going to enforce the ' req'u iremcnt for
       registration'!
           Mr. ALLEN. You 11re not going to enforce it. by penalty. If a mM
       has firearms and docs not r<>gister them until he wants to trunsport
       them, you do not know. Wit h every year, you are going to get Jlli>re
       registrations. It is because this bill seeks to be re9sonable ttrntit does
       not put n Fenalty on a person who does not register.
           WiU1 tcg.a:rd to fingerprinting; when wo prep1i.red a uniform lnw
       which was submitted to the States, the only objection that wo.s made
       finally by Mr. Frederick, reprc-senting the associations, and by Mr.
       Stone, representing the manufacturers, was the fingerprinting; they
       did not want fingerprinting. The War Department at that time said
    • that they did not want to impose nny requirement, which would
       seriously handicap manufacturers. The vote was something like
       nine to three in favor of fingerprinting at that time1 but in order to
       meet tbe Wishes of the manufacturers and the associations, I tele- ,
       graphed all members of f,be committee, after tho meeting, nnd got
       their permission to omit fingerprinting from that bill. In spite or
       that, they went in and opposed the bill in every State l know of, where
       it was introduced . 1 went to Maine to be heard on tile bill. Some-
       body spoke against it and objected to fingerprinting and talked abo1H
       rifle ranges. I asked what his business was and he said a salesman. I
       asked what he .sold a_nd po objected. Ile fmally stated that he l'Cl'Te•
       sented the Remington Arms Co. 'Vith respect to fingerprinting,
       the tinie is coming, and I think most of us will Ji\le to see it, when
       fingerprinting will be recognized as essent.ial for e\1 cry cit,izen. Tboy
       ate liugerprinting babies in hospitals, in till th1,1 1caditig hospit~s.
       In Argentina, where finge:rp:rlnting is required, tho perce11t1~c of Jll'rc-
       sons who die and are buried in unknown g1·0.ve.s 1 is nil, where i11 this
       country they nro not able to identify_u. great many people, ond tJicre
       1).1'~ loi:go-nun1bers of people buried .. beeause of that, without being
       known.
           ln MnSS11.chusetts, we have bad fingerprinting, as a re1\uircment in
       tho registration of.firearms since before lll07, when t tis bill WM
       po88ed. Now Y ork h!lS it in tho Sullivan Act, and Now Jersey hns
       recently ndopttid it. Co~missioner McLnoWin of Ne\Y York, and
        Mr. Wilson of Mnssnchusetts, nnd practionlly ovc.ry police commis-
       sioner. in this country will stnte tJ1at thoy believe fingerprintin~ is
       essential. Recently m .Mnsso.cl1usot.ts we have cnllcd for fingerprint-
       ~of all taxi d rlvcr;i. No.nil oue cnn 11riYe 1\ ~axi with~ut being- finger-
                                                                          Exhibit A, Pg. 825
I
        prmted1 nod tbero ts no difficulty. Tho sent101cntnl eden bnck       of tho
r
      Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 153 of 250
                                "N&'l'IONAL J'IRl>tiR.:MB A.Cl'                    105
           -                                                               .•
       ,objection to fingel'printing is .that they think it. i.s liklfbe~g phuto-
        graphed f9r toe rogues gallery, nnd thnt· ls pnSSlng .~ . rapidly tbat
        there iS'' no longer any ronson to prevent the only effic1ebt menns of
        identificntion. I know of no one who does not rep~ent the manu-
        facturers or ossocintjons who, today, 'object to          fing]'rioting ns the
                                                                       ~~rd
        only menJlS of identification.                   "       .    /
            With respect to the. stntement that• is everywhere '             whenever
        these matters come before the legislature, thnt. you ' going to take
        the pistol nwny from the innocent mnn, you are going to deprive him
..                                                                    to
        from protecting bis home~ but you are never ·going' '{~(It the guns
        nwu.y·from tho criminal element, they are unrensonnhle u.nd -foolish
        enough to sny that we are not going to keep the gun from the crim-
        innl; but, gentlemen, this o.otmtry has ~ot yet come to rtloµzi: how
        much cnn be done to make the possessJ.o~ ot a !:?In by n crunmal a
       ·very serious thing for him, nnd the provisions m this bill, supple-
        mented by provisions in State l~slation, are going to make 1t a
        mC11ns of putting the criminal· behmd t he bars where he cannot be a                  •
        gunman any more, provided you will pass such regulations in this bill
        to make possession of the fireonns by tbe man who has not complied
        with the lnw a criminal offeru!e. Of course, the gunman is not _going
        to register. That is the rel\Son why the registration is useful; t he
        gunman ~ould not rogister, because he is ~own in the un!lerworl<!.
        but even U you ctinnot prove he hAs conumtted an act of violence, if
        Ile owns a gun you e11n put him a.wny for 5 yea~ and unless he has a
        wooden pistol, be will not malce trouble for 5 years.
            A pistol will be found iii an automobile and there will be three
        ~mne-!1 there who will say that ~ey do not ?WD it. We have .PJ?-                 0


        v1ded m Massachusetts that a ptstol found m nn nutomohile IS ta
        constructive possession of the man driving that automobile, nnd we
        stopped that loophole.
            If you will register guns, and the g\mmcm rannot Yegister, and if .
        you will nmk.e H1.ese p~visions in the Federal law which will fortifv
        our State leg1slahon with respect to t he control of firearn1s, you will
        go a long way to make it hot for the rtiminal to be caught with a
        gun. You are not going to keep the crirninul from having a gun,
        hut wl1en he hns it., you will catrh him and then you ";u send him
        away. Yoi1 cnnnot· do it now. In my opinion, the most valunblo
        !Wsv1ce this hill will reiider w;u be in putting teeth into every State
                               in
        lnw whirh we have all 48 Sta tes, which are endeavoring to meet
     - Uic problem or t.hc miminnl beil1g in possession of p. gun.
            \Villi rC!Sped to protecting n mun in 11is home. G1mtle1Ticn, if ~·ou
        want !<>" prote<'li you1· wife and c.-hildre~ a~n't, you p:(lin~ to bc·willin"
        ~6 register yn11r.tt}sn? IC yo~ WnJlt t.h1s kind of n. ~un in<'h1tlcd lie~<',
        1f )'Oil aro not w1lhng lo do th1s, vou do not npprcr111tc th<.' t remendous
        imJlortnnt•c of hn,·ing those la\\:folly in possession of gflns known to
        he IO\\'l\IJly in pof>Ses..,jo11 of gun!':, 1n order to get ut those who are
        nnt lawfn lly in possel'lsion of guns.           .        '
            The Into \\'illiom ~ft'Adno, of New York, wlio was 11n smthority
        during his lifetime on this problem,io ~1 INtt'l" written to :\fr. Wil"ker-
        illrnm 'sttttetl thnt lio hntl ' 111-gucd nnd would continue to nr:guc thnt if
        11U the law-11hiding pcoplo of t·hO r ity of N~w York wero <·rnek.shotE
        and were 11rmed with two rovoh·er5 apicco., that. it would not stop
        armed robbery tl1ld m\l'rd('.l' '''it.h flrrnrma, The faet. that the· poli"e
        in EnglMd do not <·11rry firearms, nnd the fac.t that. the           chiefsA,ofPg. 826
                                                                           Exhibit

 J
                       ,,
                      1, ' .
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   'l06'         ..    .1! NA'.t£0N,\I'.; FiREARMS ACT
                        ,_ 11


     police o! cities like Mr. Mulready think it w<h1ld be bette1· if ~be
     police were not aimed ~ith pistols or revolvers snows how Ut~e tbere·
   · 18 to ·tJie argument that the private· citizen .is going to be protected ·
     by rev~lyeis. ,                                .    .         . '
     • Sometime a~o we had a bank !'°bbery on ~encon St~e.et lil Bostou
     m · broad daylight, and the policeman outside went mto the bank
     with his . gun. They took hls gun away from him : IU!d they t.hen
     had one more gun than they bad before. Someone has said that he
     would rather ' be a. live coward than a dead hero. There are some
   men      who would. The whole recent discussion of bank robberies is.
   ·due to the.fact f.h!it. t.here is no way of beating the gunmen who plan        ' ,
     such a robbery, when they a:re aimed with mac.hine guns, by shooting
     them down, ' because they bave the jump; they liave selected the
     timei etc. The theoy;y is a policeman should not go in where 1here
     is a Dank robbery: going .on; he should stay outside and shoo~ them
     d own as. they conliout. You are not going to prevent t.he tremendous
     criminal wave of robberies, hold-ups, and so forth, by armilig our
     policemen with guns"
        The CHAIRMAN. Assuming that it is true, and I believe it is t rue,
     that there is " ·comparatively small percentage of hon1cs ever entered
     by burglars, if. the occup1U1t feels more' comfortable and s11!er liy
     havmg a gun; if it relieves him to some extent and i.;ves him I\ sense
     of security, why should not.he be permitted to have 1t, for the 1i1ental
     relief it ·ntror'ds '? .      J\
        Mr. ALLEN, lf he feels ·~afer, he sho11ld be willing to register it.
     There may come a tirne whpu 1 will went 11 gun in my home. I nn1
   •perfectly willing to register 'it.            .
        The CuAIR1'£A.."i. Have you about concluded your rtntement?
..      Mr. ALLEN. Thel'o is more l'had expectod to s11..y.
        The CnArtntAJI:. 1 ou can cxten<l yom· remarks rn the recol'd, or iI
     you have further thoughts to present you niny contimrn for I\ few
     minutc~s 111 the morning at Hf o'clock.                   · .
        Mr. Aw.E~. If I stay over, may I hnvc 5 minutes more · iu the
     morning?
        The CHAJl'tllt.U:. Yes. \Ve V1'1.ll now udjoun1 until toJUorrow ot
     10 o'clock.
        (Thereupon, a't 12:201 the c0111mittee ncljou:r;1ed Until to11am·1·ow,
     May 15, 1934,' at IO a.m.)




                                                             ..


                                                                   Exhibit A, Pg. 827
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                                         NATlONAL FIREABMS. ACT
                                                     '.
                                             TUESDAY, HAY ta, l984
I       I
                                                     HOUSE OF REPllESENTATI VES,
                                                      COJIJMITTEE ON WAYS A.ND MEANS,
                                                          .                      . ll'tUhingtcm, D.<J.
                  The committee met nt 10 a.rn., Hon. Robert L. Doughton (chair-
                man) presiding.
                  The Ca AIRMAN. The committee will p!ense be in order.              ·
                  When we rece$Sed yest.erdny General .Allen, of Massacbuset~, was
                testifying but had not completed bis ·statement. Il he is present and
                rendy to resume, w·e should be plensed to henr him at this ti.me.
                  Mr. KEENAN. Mr. Chnirrnnn, General Allen is not here. I would.
                suggest, if there is o..nybody from the Rifle Associntion presen t, the
                committee might he,nr him in the interest 0£ saving time.
                  The CHAIRMAN. Ve.rywell. We will hear General Reckord.
                           STATEMENT OF MAJ. GEN. MILTON A. RECKORD
                   Generu.l RECKORD. Mr. Chfilrmnn and gentlemen, with yollJ'
                permission I should like to make a statement which will take only a
                tew moments nnd then nnswer any qt1estions1if that is sntisfnctory.
                   The CHAIRMAN. Tlmt will be sat.i sfoctory, General.
                   General REcxortb. Tbnnk von, sir . We understand and have
                understood from tJie be,gin.ning·the difficulties with which the office of
                the Attorney Genera.I is confronted in ranching the crooks and the
                gangsters. We are sincere when we so.y that we wo.nt to assist in
                e\•ery reasonable way.
                   The Attorney General himself'nt the committee hearing on April 161
                snid:
    I
            _      The development of late years of the predatory criminal who passes rapidly'
                ~rrom State to State hllll created a situation which is giving concern to all wha
                 are interested in law and order. • • • There lies the he~rt of 0111'..prohlem.
                 The roaming groups o~ predatory criminals who know * • • that they 11~
                114/ct if they pass quickly acroas the S,t ate llne, leaving the scene or the cr ime.in a.
                high-powered car or qµther means o! quick tran.sport.,ntion:                ·
                 · Later in his tcstilitony tho Attorney Qonornl snid:
                  Now we are dealing. with armed people, criminals who have bide-ouf.a in various               t
                spots . .. They will stay in 0110 pla.co a ltttlo while .a nd in another pince a little while   \
                and then move about, alwl}yll with lll'ltl.8.                                             _

                                          in
                  At nnothor ytnce his testimony, in response to a question by Mr.                                  \
                Fronr, Oenern Cummings 'said:
                  With regard to reaching a m~n like Dlllin·ger, there Is nothing- ePeciflo In th le
                net that deals with tbnt sltuntion. Thero la pcndintt, however, before .t he Jua1.
                                                                                                                    \
                cln.ry Commilt.ee of tho llouuc a bill mukiug it n. Federal olfcnao to flee Ml'OSll lho
                814lt.o line to esQape prosecution (qr a felony, and U that bill should be enact.:d we
                                                                                            107
                                                                                                                            \
                                                                                              Exhibit A, Pg. 828
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   '108                      NA'XJOl!fAL FmEA.RM'S ACT

      would be n.ble to reach criminala wbo are po.s.qing ro.pldly from o'De State t4
     aoother.
         r lui.ve mnde these re/CrC'llCl!S t.o the Attomcly General's testimony
     bccnuso thoy have very immc<linte bc.uring on tho question of thu bill
     we ore llo\v consideri.ng-H.R. IJ066. It hos been the 01ought of our
     Associotion tbnt effective lcgisltlt.ion must bo nimed dil'ectly nt tbo
     criminol. It is t.Jie desire of ii.II of us to npply tho n111.ximum pressuro
     on people like Dillinger.                       ·
         The Att-0mey General rondo tho point very clonr1 with whi<'l1 \VC nre
     in henrt.y nccord: Thnt the criminnls with whom the Deportment of
     Jnstloe mny propedy concem it.self are the roving type, moving con-
     st antly ncross stat.e bo1mdnries.
                                                                                              '   .
         The bill to which tho Attorney Gencl'nl bnd roforcncc ns hcing in
     tbo J11dicillfY Committee of the liousc nt the timu or this statement Oil
    .April 16 wns Senate bill 2253. · This bill, if pnssed, •tbe Attorney Gen-
     ernl snid, would strike diroor.ly nt Dillinger n.nd others of his kind.
     '.J'he bill was pu.ssed by tho House Inst 'vcek 11.nd '\\•ns I believe ~potted
   · m ngreement to the Sonnto by the Senntll conferees on Fridny or
     Snturdny of lust v."eek.
         S. 2253 makes it unlawful for anv person l.O ftte from olle State
     into nnotber witb inteot to avoid prosecution foT murdc.r, kidnnpio_g,
     burglary, robbery, ll.9Sault with ~ dangerous wenpon and cert.om
     other CTtmes of n. felonious type, JJ.nd provides a pennlty of not more
     than $61000 or imprisoninent for not·loogoT thnn 6 years or both, for
     violntio.ns. This bill is a dir~ct attnCk and un ensily enforcibla •
     attack on the criminal use of firearms becnuse in n \'ery lni:ge pro-
     portion of the cases in whiob t.be Department of Justice needs to be
     Called in, t.he criminals move continuously oeross State boundaries.
         S. 2080 provides tbnt ·anyone killing n~ United States marslu~l
     or deputy egent of the Depurtment of Justice, Post Office inspector,
     &!enit. ~re operntive, otlicel', or enlisted man or the Const Guard,
     or any employee of auy United States pen11l or 1.'0rrectioTial instit.u-
     tution, or who shnll forcibl\' resist, intimidate, or interfere with any
  ' such. employee of .the United Staws while engaged in the perfoi:mnn_co
     o( his offic111l duties, sholl be ftned not more tl1an $5,000 or unpr1s-
     oned not more tho.n 3 years. This bill is nlso o. direct attn.ck, nnd n
     prol)11r frc:leral ntt1tck on th11 crintinnl use of /irenrms.
         $. 2573 proVides that aoy person who conv&ys or cuuscs to be
     conveyed into any Fedornl penal or oorrecliont1 inst.itution or who
     nids or ussisf.s in such conveyunc.e; or who co11i;1>' re wil.h any othar
     ~non or J?Crsons to so conyey nny f.ireAl'}ll 1 w              n , or e:-q~losi\'e- ,
\    into tho pl'lSon shall bo punished by unpr1sonmo for o. period of
     n ot more thnn 10 yt'ors. 1'his is another direct Mt k nt the critnitinl
     uso oJ fiN-nrms which thro11gb tho provisions cone ning connivnnco
     will briv11 the Federal officers wi.do powers of nrrcst nnd conviction.
       • S . 28'1 l provides tllnt anyono who by force nn<f' v:iol<'mlo or l:iy
     pntting in fear Ielor,iously tnkes l)r l\tt1.1mpta tl'l tnko llny Jlrnpllrty or
     munoy t1r nny other thing <lf vnlue .:vhi<'h is in .~ho c.nstody, c.n htrol,
      mnnni:ement or possession nf eny meml>cr hnf1k of the Federnl Re-
     servo Svst.em, or nny bnukiug institution orgnni1.cd nnder dlo lnv.s
     Qf tho l111itod SL1ttes, 11hnll bo fined not moro thnn $5,000 or irn-
      prisonod not. more thnn .20 "CnJ'S 8llcl fnrtl1cr Jlmvicles tnnt !r n
      Jn11gN'o11e weapon is 11sod ho· shnll be fined !'tom $1 1000 to $10,000'
      or im1>risoncd 5 to 25 yenrs. Tho net" Iurthor provides tba,t          nnyono
                                                                           Exhibit   A, Pg. 829
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                                                                                            109
              who J\ns committed the offense .l\s dt6ned in the act end in avoiding
              or at tempting to avoid e.pprehenfilon or in fret'ling himselC or attempt-
              ing to Cree h1mse1f of confinement for such offens.e~ kills or kidnaJ>8
              any person, he shall be punished hr ..inlprisont)'.Jent, for not les11
               thnn JO vears or by dent11 if the verdic-t of the jury ehall so direct.
               This is certainly II direct, <concrete, enforcible law, strildng directly at
               the criminal tise of firearms in 11.n extremely broad innnner, because
               practically all criminals depend on bank roliber-ies o( thA type defined
               lR the act to maintain themselves in funds. The penalties provided
,,   '
               &to more severe than ~~ose pro'rided in the l>l'OJ>Os.~ H.R. 9066 and
               the act has- the add1tionel advantage of tn<.'luding all dnn,gerous
               weapons.                                                            _
                  The Nn.tional Rifle Association considers the abo.v e bills as sane1
               reasonttble and efl'ecth-c approaches to the problem of the use ot'
               firearms by criminais. When these bills are ~onsidered in conjunction
               with S . 224~, prohibi tin~ the interstate communi<.'ation of extortion
              mesaeges, s. 2252, forbidding the interstate transportation of kid-
               naped J?enions, S. 2460, concerning the eAiension of the Statute of
               Lltnitnt1ons in certain cases, S . 2845, ~ending the provi!lion s of 'be
              national moto~ vehicle th¢t act to other stolen property, and B.R.
              9476 empowenng agepts of the J ustice Department to make arrests
               without warrants for felonies, we belieYe that the major portion of
               the criminal element , armed and otherwise, in this count.rv, who may
               be prop.erly ·~nsidered as coming within t he jurisw<' tion ·of the Fed-
               eral pobce,.wdl be completely covered.                  .              ·
                  \Ve feel that iI R. R . 9066 is amended so es to be eppli<.'eble in ell
              or    its provisions to m achine guns only and is fnrtber amended as
              suggest.eel by our associntion to bring within the Federal jurisdiction
               the interstate transportation· of firearms of any type by pre\'1ously
              convicted felons end to prohibit the interst'nte transportation and
              pawn.in~ of stolen fire~nns oJ any type, no further Federal legjslation 111
               concerning firearms \nil be neccssnry.                                                 I
                                                                                                    , I
                  We can pledge the wbole-hcnr ted support nnd cooperation ol the
               sportsme,n m this country with tlte n"ents ol the Governmcmt in the
              .o_pp.rohension nnd ronviction of cnmi:'inis und~r tho laws ab(>ve men-
               tioned nnd under H .R. !>066 if nm~nded ns we request.. \Ve do not
               believe thut th e gmierul inconvenience, the resentment UI muny enscs,
               against unnecessary Federal supervision which would be cnuscd by.
               t he! registriit.io1i requirement of H.R. 9066 will ndd iu1ything worth
               wJ1ue to tl1e Fcdl'rnl poliro j11risdidion inscJfor ns the artunl suppres-
               sion o( crime is cont't!m!!d. ,                                                 ·
                  Tho Attorney Gcnct,nl in n svr.dicukcl ncwspnprr, nrticfo under
               \}nte ns lntc: ns April 20, indlrl)t~ ll111t H .R . 0066 WI\$ u1teoded. to
               cov('r mnd11J1c guns. 'I he A ttorncr Gcncmi l wns <1.!_1otcd as ~nvmg
               tl1nt the intontion of tbc Depnhmcnt of Justice and the ne'cils o/ t ho
               D~pnriment wci:e "l'xpr<'Sscd hy n series of bills now brfore Congress,
              ·wjf,Ji the endorsement of this , bcpnrtment. Tho first in order may
               !10.t ho so impqrtont in ~ho lon~' l'\111 ns som<1 of t110 o.tbr.rs, bot we ti~
         "     it m ~order t-0 .rneot nn 1mmcd1o:tc emergency. It 1s t he one haVUig
               to do wi th machine gons." Tho ).\ttorney Oencrnl 'lescribed tho
               pro visions' of this hill to t'onqd0111bfo lcnj:'tb, Jnc-11ti011ing the t.o..~
               provisions and tho•licensi~~ ptovisio!ltdor 11urnµffi~t.urers, deniers end
               consumers. He then bnelly 1dc.JS<•nbefl t.ho provisions· bl tl10 other
               bills wlilch hnve nlrcndy heer1 plnco.U before tho Sennto            Exhibit
                                                                                        and A,tho
                                                                                                Pg.
                                                                                                  - 830
                    bs!l18-S4~8
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                                                                                                 I

 House. But at no rnm~ did General Cummings refer to the ordinary-
 pistol arid n<volve:rs. It would appear from this nationally broo.dcl18t
 statement that the. Attomey Genel"fll himself djd not consider tho
 pistol and revolver· provi\lions of this net n.s being of n.ny great
 imporlAn1ce.                         .
· It rnay be of interest to t ho members of t ho committee to know
 that only a week ago, at t,he request of Mr. llonver'e bureau in tho
Depa.rtment of J ustica, our association furnished tl~at B ur_eau with
a list of men_, sll eportsmon and members of the N atLonal Rifle Asso-
ciation and all tnuned rifle nnd p.istol abot.s, ofToring them as volun-
teers to work with Mr. H~ver's special e.genUI, instructing them in
 the proper use of the \)ist.Qls and revolvers issuecl them by the Depart-
 ment. The local potica could not in most, cases train the agOIU.s of
 the Dep!lr,tment who are charged. wit~ the duty of sbootin~ it <?Ut witl1
 J ohn Dillinger and others o( his kind, beco.uso tho police m most
 caa&.1 do not t hemselves know very much about marksmanship. Jn
 this emergency, as in 1918, the Government of the United States has
 tumed to the civilio.n sho'oters organized undur the National Ri.tlo
 Assooilltion to Iumisb instructors nnd teach marksmanship in ti.to
 ea&e of & National em0rgency. I mention t..bie ti.$ an indication of
 ~e value o~ arm:in~ llni.f tr~g •our av:orug0 reputable citizim!i
 UUl~~d o( diseouraguil{ an~ restncti_n~ thrur armn!llent and p~per
 trammg. I also mention 1t ns additional proof, if the commit tee
 needs any· ad<ll"on nl proof of the earnest desire o! our association to
 coopernte in every pniutic:ablo way in the suppression of a.rro(ld
 eriminnl activities in this country.                                                                .,.
    The amendments which we now pl'opose to U.lt. 9066 are accord-
 ingly Lo eliminate pistols and revolvers entirely from the bill, c<>tl•
 finllig it to me.chine !!Uns, sawed-off shot guru. anCl mu.fliers or silencors
 and not. otherwise changing the bill a"tcept. to strike out sectiori l 0,
 I.be interstate transpo:rl.nt.iou section~ suhst.i~ut.ing t.herefor tho
·following Jo.ngunge:                      ·                 .
    611<:. 10 (o) . Whoever sho.11 tm11•port br cam>« to b6 Lru11~p<Jrtetl in it1h1rst3tu
01" !11tci~n cQmmcrce any fireaN11 theretofore st.olen or tllkctl feloniously by lm11d
Qt with ltllent to steal or p11 .. toi11, knowing the 111unc to havo been w stolen or
t.l•kOn or whoever noi. being o. common currier, el111ll Ao send or trnnsport, or
att.empt to send or transport, nr cause to be sent or ttll.nHpnrled any •uch fircnm1
under $11ch Circumato.ncca as shcn1ld pnt him upon Inquiry whetl1cr tbe Slln\c had
l;e()n .90 al.Olen of" taken, wit.!1out mAking_.rewionablo 111q\llr)' fn itooll ·raitn ).o llSCCr-
taln tho ract, sho.ll be punished by a fine or not mor<i thi.n SI0,000 or by im•
prilf(inmen~ or not more t hnn 10 )'CM& or both.
   Mr. Coon :n. Mr. Chninminl i f l ma_y intcrrupt!or just I.\ momonb;
it is proposed to strike out sect.ion 10 (o.)l'        •     ·.
   General RJi:CXOnD. YCl3, sir.
   Mr. CooPEn. I undorst<10d you to any t.lmt thut rolntod to t110
interstnte transportation of lironrms-. 1 t strikos mo thut section 10
 (n) of the now draft rolnt.es to importlition.
 · General REcKono. I am sp<1nlring of the old dtn(t.
   Mr. CooPmt. I understood you to rcfor to C,ho no'" draft.
   Genenll l<zc1tonn....f arr'l rolorring . to tho old draft, H .ll. 906(1.
The now draf t. as presented yes t.orday hnd no number.
   Mr. CooP~. Tf10 now drolt ho.s a numoor, ~ho same number ns
the .olJ bill, H.R. 9066.                               ·
   Mr. TnEADWAT. Tho now draft, of course, hO.B oot yet boon lniro-
du(ed, so it ~loes not havo a T\Umb<lr.                         Exhibit A, Pg. 831
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                                                                                             111 - -
               M:r. CooPER. 1 &Ill meki.cg no ci:itfoism, but I wanted to keep· the
             record clear.
               General REcxonn. I want it to be clear, too. I wo.s speaking of
             the printed bill.
               Mr. CooPER. Wl1at you are suggesting there, then, is in relation
             to tho interstate transportation and uot t-0 importation?
               General REcxoBD. That is right.           -      ·
               Mr. FuLLEn. Your redraft touches the transportation of sllwed-off
             shotgun's, silencers, and mn.chin.e guns--
               Genm·olREcxo~D. ,Yes, sir.
'       -      Mr. FuLLr:R.' Only?
                General RECKORD. Yes, sir.                           ·
                Mr. FuLLER. Why' do you insert the language "knowing the same
            · to have been so stolen"? \Vhy do you not make it altogether pro·
             hlbitive?
                 General REcxono. We are willing to make it so broad that this
             section would refer to all firparms, all gnns. )Ve are perfectly willing,
             if n. gun is stolen, that that be used against the man who steals it.
                 1'1r. FVLLEn. You are covering tho only section tba t seeks tu reach
             tho man who transports a machine gun, are you not?
                 General R ECKORD. No. My language, Mr. Congressman, says au
             firearms.
              ' Mr. FULLER. All firearms?
                 Genero.l RECKORD. Yes, sir.
                 Mr. FULLER. I think the operation of tlie lliw sbonld.be more severe
             on the mun who cnrries the' sawed-off shotgun or machine gun than on
             tlte man who carries merely a pistol.                           ·
                 Gcnernt REcionn. Wo are willing to go ns far as tho committ~e
             wishes to go on thnt.
                 ~·lr. FuLLEn. H a man is carrying thnt type of weapon, if he is not
             an office:, he ou~ht ~o be tnken into custody any,vay, be.-au~ we know
             thllt he is carrying lt for nn unlllwful pu~ose; I nm refemng to such
             a weapon ns n sawed-off shotgun or muehmo guu, or n silencer.
                 General RECKOIU>, 'Ve agree with thnt.                            _
                 Mr. FULLER. \Vo c1nmot comp1H1i those with n pistol.
                 General RECK ORD. \Vlmt~ver the <iommittee tlemres on that, we will
             be in accord with the judgment of the committoo.
                 Mr. FULLER. You would have no objection to putting those in
    '        ditreront cntcgorios?
                 G·enoriil REcKonD. No, sir. I think the language that I use here
             was prepared by tl10 office oC the A ttomey General after we had bad
             one of our conferences, and we accepted that Janguogo.
                 The CnAJRMAN. llnvo you completed your main statement, Genaral
             Roulconl?
                 Gonerol REcKonn, Not quite.
               • 'l'ho CHAIRMAN. May I say to tho members of tbe committee that
             tho witneS!! has roq ucsted thnt bo bo nl!Qwod tQ complete lliJJ.atatement·
              boforo being nskcd questions.                                        ·
                 1\1'.r. FuL.LEn. I bog tho gentleman's pnrdon. 1 wns not bol'(I wherr
             ho stnrtcd.                                   .
               General REcJtonD. In section 10 (b) we suggost a pnrngrnph that
             would covor t bo pawning of stolon tiroanns, We SUggl)St iho following: _
               (b) Whoever eluill receive, oon.ccal, store, barter, 11011, dispoee of, or pledge or
             UQCCJ>t 119•euc1.1rlty for n loan any firear~ moving In or wlllcb ls a part of hiten~te
                                                                                      Exhibit A, Pg. 832
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                                 l!fATIONAL FlB:EA.RMB1 ACT
                                                                .
                                                            ·, ~.
     OJ' foteigii commarce and which, while so moving ~canstit\1ting such PAtt. h4c!
     been stolen or taken re1011iously by rraud or with   rr,
                                                           11t to steal or rurJola, k'now-
     1.Dg tho eame to !\ave been w stolen or talc.en; or 1    ver eh:ill receive, oonceal,
     1tore, barter, sell, dispose or, or pledge or Moe1>t a     curity for a loan, any such
     fireaflll, under such circutn'ltances as ahould put h      11pon inq11iry whether the
      t1a1110 had been so stolen or blken, without rea.sonlililo Inquiry in good fs.itb to
      ~in the fact, ehAU be pu11l8'1ed by a Jine of not more than Sl0,000 or by im-
      prisonment of not more than 10 years or both.                                 ·
          {cl l. Ji RhAll be nnlA\\1111 /or any person "·ho has been cohYieted of 11 r.rlwe
      of violence In 11 court of eompetr.nt jurisrliction or the United St11teH or or n11y
    - State, Territory,. or the District. or COiumbia, ot or auy i11sular possetAsion ot tllo
      United Stat~. (meludinR lhe Philippine Islauds) to send, sWp1 curt~·. or dell1•cr
      apy 1ireai-m in int(!nltate comm1?rce..                                              ,,
          (e) 2 . Any such person found iu poBSe88i'Dn of a firetlrm shall be presumed to
      haYe !mnsportcd such firearm in intcrstafo commerre contrary to the provM011g
      hereor, 11nlCR11 such> per!!Ofl hu been " bona 6do •tealdent for a period of not. leS!!
      thAD 60 daya of the State 11•herein he is found in poaM1<Sio11 of such tiretlrlll, or
      baa in his ~on· a stamJHllfiXcd 'order therefor lncJic11ti11g thnt it bus lx.~11
      P,Utthaaed m euch Stnte.            ·
       . This language that ~e. hiive suggested hero i.s lt~nguage that Wt\8
      prepared in the office of the Attome.Y General as substitute Ian~
      gu_a ge, but later was not used.                         ·
         Mr. VtNsoN. And that the Attorne1 General's office hns s t ntetl
      that they have not submitted it to go into the bill.
         General REc1tolio. They did not submit it yesterday. ,
         Mr, V11'!8QN. In ·otber words, .reCerrin~ to the memorandum ~hat
      they submitted at the former hearing,' after they thought about tlie
      constitutional rights .of citizens ~d the laws_of prosumJ?tion, they
      could not nnd !UJ.ythlng that squwted at such a presumption M wns
     'contained in that language, ~d so tl~ey were willing to leav(I it out.
     · General RJ;CKORO: They did leave it out, Mr. Congressman.
         Mr. VtNsON. A11d you want to put it b ack in?
         General REcxcino. We~si:ggeating thatH.R.9066 as print.eel - -
         Mr. VmeoN. I am asking if you want that language, that pre-
      sumption in regaid to residence, in? -                    '    1
         General RECJtORI>. I thllik tbis wouJd be much better il1an 'the
      ltulgunge of the bill as presented yesteriliiy.                'J
         Mr. V1NsoN. Are you 0: lawyer?
         General REciton1>. No, air.                                 J'
         This language"will, like the bills o.lready passed, strike directly nt
      the criminl.l.l witnout the roU.nd-about method of tryiJ\g to get the
      criminal through the 'horrest citizen. . •.                       \
         I would like to say t,bat du.ring our initial conference with Mr.
      Keenan this amendment to section 10 was tentatively oirreed upon,
      but subsequent developments, I ,belitive, in the Trensury Depllrtbulnt
      r.ausecl the Depo.rtment of Justice to withdraw ita tcmtativo npprovnl
      ol tho nbove fongunge, substi!tutiri(\ t11e-:(cquiremont discussed 1cster-
      dny tl1nt nil citizens now owning pistols ruul revolvers bo J'O(l_turad to
      regiil!A>r them or to. fi~ 11:,n aflidavi~ with tl1e C~mmission61' of Intemfil
      Revenue before sl11ppmg.qr ca'JTVmg the gup mto 1mothor State.
         I would also liko to ear. thnt immediato(y following our hearing
      before this committ,co on :April 18, we did c()nfor witll Mr. KC<'DIU\
      and roo.cbcd whnt appcnred to be n subato.ntio.l accord in severol·
      directions concerning . the registration and identification methods
      provid-od jn the orig1[\o.I drnrt of tho · bill. Subsoqucintly, however,
      eevcrnl ob1U1gcs were suggested, I believe, by tbo Treasury Dopar!•
              '                  ••   I



                                                                                 Exhibit A, Pg. 833
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                                  NATIONAL JPillBAIUtS ACT-                          113
         mr.ut which rnquired a rl\th&r extensh•e rodro!ting of the mensure in
         tho form ·as prosenWd to the committee yMterday by ~fr. Keen&.n.
         Mr. Smith, of 1vfr. Keenan's offico, mnde a consciontions effor t to
         keep us ndv'isod or these numerous changes nnd corrections, and we did
        our best to keep up with them. But it was not until yC.Sterd~y, when
         t,~c rovi!lO<i ilraft was presented by Mr. Keenl\n1 that we bad a cl~r
        picture of tho clJl\nges that were to be proposea. I do not say t.lus
        an ony criticism of Mr. So1ith or ~fr. J(aenAn, but merely to inilicat.e
         to tho conunituie somethinp: of tile difficulty wJlich we have bad in
         trving to keep abreast of what we wero supposed to discuss l\t this
        committee bearing. 'Vo do. feel, 11owevar, tlio.t tbl1 recoot action ot
         th(I House in np(ll'oving tho Senate bills above referred to Iii.IS so
        co111pletely clumged the picture and hw.1 so materially broadened
        tlul power of tho Depnrtnwnt of Jrn1t.ico to tuke jurisdiction over
        prnct.icnlly the cnt,iro (lrmed criininal clnss ~n this country tbnt
        nttempts to reoch I\ compromise on the pistol and revolver provisions
        or H. R . 9006 are no longer 11ecessar.1.                                            .
                                                                                             '
            \Vt' fl'cl tJ111.t if thh; bill is limited to moi•hine guns and &awrd off
        $hot guns, cxropt !fir tho intl'TState trnnsportation by criminnls
        dl)use, tbe Coni;fC$S will have done all ~bAt can be done to nsl!isti the
        Stntes in the suppression of lclonfos ,
            In closing, I would like to say for Ute purposes of the record that.
        1\fr. Ket'ue.n yrslcrd11y stawd that tbe Dopnrtlnent of Justit•e was in
        t<>reipt of nu1ncrous requests, notnbly from Wc>men's organizations,
        r<.>qncsting antiflre11rms fogislntion . At the s ame tin1e, he seemed t-0
        fel'l .that. the roc·cipt hy Membl'rs ol Congress of .commu1tirotions
        from ' members ot men's organi1.ations op~ising this sruuo type of
        lt'~slntion tonstitutcd propngandu. 1Vo Itavc cndea,·orcd to keep
        the members of out asrociation advised as to I.he progress or the va n -
        on~ bills propo~ wJ1irh would nfTec:-t t11c uso and rarrying of firearms.
        'Vo hcliave.. thnt tl1is is both onr pri,·ilr1to 11.Jld our dnt.v lo our men1bers.
        " ·e do not consider. th.nt it is 11ncthict\l nor that· suc:-h action con·
        !\tilutes. inl'idious prop11g1Uld11:
            'Ye wtmt the. rrrord t.o ho •JlPr{eetly dc11r on this point--tl111t wo
        forl it is <tuite ns proper fo'r mr-mbers of men's organizntions to
        hynb!\Uy nnd opc.>nly oppogc nntifirenrms lc~i>llation of this ch11rn<-tcr
        RS it ig for wonwn's or~11ni:r.11tions to propose surh legisll\tion.
            hi .Jud~o Allen's lltatc.-.ment he.- raised some <JUt'!ltioa 3S to th4) valuo
        of nlpistnl or rcvoJvrr in tlio hands of lho pnvllle citizen in CR~ of a
        bold 11p. Th.e l.'nnnniU.~'<' mny be inl-0restod to know that u1 U10
             0

        t'itv pf Chirngo in 1!}3:2, a3 hold-up m!'n and burglars W!'re killed by
        ftunfirl'. Of that nm11hcr1 26, or aP.pmximl!.lely 4.0 pett<'nt, wer&
        kiHt•d by armed r.it.ir.ons. In 19:l3, 7 i th11~"8 we.re killed in Chicago,
        Qf wliich number 33, or prrttv nearly 50 petcent, w<.>ro killed by
         nrine\I citizt.'ns. Tht\so figurl'S,'<>f course, luwc no rcf<.>rc.-n('O to Rl\ng
        killing11 1 but to th.11 kiUin~ of bandits dnring attempted hold-lips or
        burgl~nes. h1 tho pnsL 3 years thorn hRve hr.en rllported to us,
         thrcntgh the inooium of ne\Vspapct clippings and per!!lln11l ltlttC'rs,
        Bl'."\'oml lrnndrt'<l Cl\.8C9 in wlait"ll nih'1npt.ccl hn~ll\ries and h old-ups
        hnv<' born frtratr~wd by tho fact t.hM tl1<1 citizen against whom the
        fclony was aH-0mpud. or n passer-h~·, wa1111rmC'd.                    .        •
            \Vo do not (1wor pl'Q rniscuous !!Un-toti~, hut it is n. !net whicb
        cnnnot be ttfuted thnt n pistol or rovoh-or m thll hnnclll or n 111110 or
•·I..                                                                   Exhibit A, Pg. 834
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woman who knows bow to use it is one thing whiah makes ~ho smallest                    "
man or tbe weakest woman tho equal of tho burliest thug.             ·
    That is tho position of the association which I represent ond tl1at is
th~ reason we are here opposing the proposal with respoot; t-0 pistols
and re\'olvers. W-e b01ieve, if sour committee will weigh carefully
the bills that have ulreo.dy been pnssed- nt lenst I understand that
the conferees have agreed on tl1e~n nnd tboy will shortly be signeil-if
you will tnke all t.hoso bills thnt I luwe enumor at-0d( you will find
thnt you hove covered the hooJ)lum, tho racketeer anc the crook.
   \Ve think in every way tlini tho Attorney Gonor'll1s office lms
stated that they wish to cover that pnrticulnr elcthent, you will find
it .coverecl by ·tho lnngun.go of those bills.
 , In addition 1 if you Will ndd mnchlno guns, ·we tlti.nk yon need 11ml
they need no.thing more.                   .
   Tbnt is olir position. I . slut.11 be glad\ if I citn, to a nswer 1\11y
question with respect to the <letnils of the oill.
   Mr. HI.LL, I underst11Dd you have gi,·en the numbl\rs of those bills
in your statement?
     Genernl RECKORl> . Yes, sir; I did.
    The C e,\lnMA.N. You speak of n law to p1'tlvent criminals from
 fleeing nftt\r the crime, nnd that such Iogislntirm is pending_ before
 Congress, or hos been reported i1,1 n bill out o f tbo [!'1111.1te. You sny
 thnt bas your e.pprovnl. Is that correct,?
     General REc;1t.onn. Y cs, sir.     J               .               · .
     The CHAI RMAN • .As I understand ,one .of tho clue! purposes of tlus
 bill e.s proposed by the Depnrtment of Justioe is io prevent the com-
 mission of tho crime; instead of dealing witl1 a criminnl fleeing from
 the scene of the crime, which you seein to accentuate, tho Departmen t
 is trying through the control of the use of firearms and,. the restriction
 of the use of firearms to prevent the co.m mission of tho crime. There
 is a $f011t difference between dealing with n. n1an who bus committed
 o. cnme and drnfting a law to make more difficult tho commission o(
 the crime.                                                                  .
     General Rt:eronn. 1 <lo not-see how tbnt would be reached by this
 proposal, Mr. Cbnirman. The Attorney Gonernl bus noYor mode o.
 statement like thnt to me.                 •
     The 0RAJRlllAN. I mny be in error, b u t -
   . Genernl REC KO RD. H I may refresl1 •you r rnin<l-
    The CnAJRMAN. It was my impression thnt- -
     General R ECKonD. Only yesterday Mr. K'ccni1n made t f10 state-
 ment right here •thnt this now proposal they knew v;ould not get the
 crook. The crook would not obey the -ll\W1 but the honest citizen
 wol.lld obey the law. Therefore tliey could ('onio in-I probabJv did
 not' use just the correct language there-hut what I understood i\Tr . .
 Keenan to say was this: 'fhat tho] rcsiize t.hnt wlien you pass this
 bill the honest citizen would obey 1t encl thoro!oro when they onught
 \he crook they would be able to toke c11ro of bitu under tho J>roYisions
 ol I.his bill, bc;co11Se he had no~ complied with its rcquiroincnts.
     Now, we so.r1 and I honestly belle\'e, if you {(cntlemcn will study
  the two prine1pnl bills among those whicb I nnmc<l, you · will find
  thnt thr,y Juwo tho power n<>w under tho.new l~l,rj~Jntion t~ do J·ust
  whnt the.y arc nttcmpting to do lrnro. '\\ e nro m nt:r.onl with t 1at.
  We do not ~1i:e\"{'1 ~Ir. Choirme11 and gimtfomon, tbnt tho!'(! is any
justifiont.ion for di$.commodil1g 1111ndrcds o{ thousnn<ls--andExhibit tl1cre A, Pg. 835
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                                                                   -   ,          ..
     \
           II.TI' that many-honest citizens and sportsmen who honestly        po.ssess "
           8lld rightfully posses$ a pistol nnd a revolver.    •
                 l\fr. YJNsos. Gonerol, I ·do not understand that in thoJl6 bills thllt
            were reported out. of the Judiciar y Committee, the nnticrime bills,
            B felony is created when a law-abuling' citizen bas a revolver in hia
            possession'.         ·                      . ~ .                             •
               . General R_EcKono. No, sir; not in any £those. . We are in accord
            v.-.th those bills.                       ,         ·   ·
                 ~Ir. VINSON. You st1v thnt the·s11111e t · gis done h ere?
                 Gent><rel REcKOJID. No, sir; not the some thing.                         ·
                 ~[r, VINSON. That is, nttemP-tt>d to be done bere?
                General RECKOlt,D. No, sir; 1 do not mean to sny thnt. · l say
            the DepsrtnU'rrt ·of J11sl1ice throngh thm;e bills. renches the men thnt.
            thC'y ,say they are t-rving w reach un<lcr this bill. Therefor<.'., tf1ia
           bill is not necessl\ry. •
                 ~1t. VINSON. So inr as :Fcde.ral leJcislotiun is concerned, this bill is
           probably the first ever presented mnking it n felony for n citizen to
            ha,·e in his pos5cssion a pistol.
                fieneml REcxonn. Yes, sir. :But you did not. understand my ~
           point.                                   .                              .
                ,;\fr. YwsoN. l think I understood you. ·                .
                General R ECKOIU>. 'This .bill, we believe, Is wmeceasary becauso of.
            tho foot that they alrcrulv hn\·e lmder t he new legislation all the law
            t.hcy will need jn ordert.o   reach the crook. '
                N[r. FULLER. There is nothing in the new lnw· about buying,
           cllttying, O'.r possessing machine guns nnd SD'l\--ed--Off shotguns?
                General REcKont>. That is true. But . we are willi.llg that you
           amend it. 'Ve 'do not care how se>ere you make R.R. 9066-and it • I
           is a very severe hill now. 'Ve do not care how severe you mnke it,
           if you will .strike three words out oI the bill. ··
                l\{r. CooPEn. "\\11y do you .sny tihllt this "!>ill is not necessey if
           yon agree thnt that ouS{ht to be done?
                General RECKORD. " "c sny this bill is not' necessary in its present
           language. At the same moment we also say· t hat we are glad to go
           !llo~ with them on machine guns, dangerous weapons, sawed-ofi
           shotgun..s, as far as they w11Dt to go, whether it is neeeiisary or not.
                }.'{r. FULLER. · But eliminating pistols? · .          .
                Genernl RECKORD. Pistols ·nnd revolvers.             ·               .
              · ~?w, i{ you want to omen~ the printed bill in the fiTI!~ !le~tion by
           ah iking out three wo."C.1.s1 "pIStols :md re~·oh-ers" we will go alo11g
           with i t, even though wt: oo not believe jt is necessary.
                lvfr. FuLLEn. Have y;m a copy of your suggcst.00 amendments to
           section 10?                                ·                                 .
                Gcne~nl RECKORD. rmny be able to fitrd some copies. I llm suro
            they can be gotten for you.                                    -
                Mr, TnEADWAY. I understood yon to say-and ·you now soom to •
            ho confirming it-that you support this bill, H.R .. 90661 insofar BS ic
            npplics to machine guns?                  ·                        ·
,,              General REc11.01u>. )"es, sir..               .· ·
                Mr:. TnEADWAY. And yon s ay th11t if we strike out three words.
           S(I for ns you Rro concerned, tho bill is sntisfnctory.           I llSS'Ume tlmt
            those thrco w-0rds Rro-
                 Gencrnl R£cKonn. P istols nnd re\"ol vors..
                                                                        Exhibit A, Pg. 836
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   ·Mr. iJ'RE.lDWAY. Let us looato them. They IU'o in line 4; "pis I,
 revolver, abotgun''-Me thosl\ the three words? It seems to lll6_you                      I
   should strike out more thf\tt three words.                                              \.
        General RECKORD , No, air; .1{1'.. Treadway.
        ~1r. T~EAD'\VAY. Just whnt do yott wo.nt to strike out?                     ·
        Genernl REcKono. Just Jet me n.uswer it in nn intelligent way, Mr...                J
  Treadwa.y. Following that.you bnvo the lnngungo "shotgun huving
  a barrel less tbu.n 18 inches ih lengtli." vre would lell\"8 that in the
   bill. Thllt is ti dangerous weapon.              .
        :Mr: TnEADWAY. ·wnnt is tlui third word in Addition to "pistol" .
  and "revolver? 1'                      •
                                                                                           ..
        General R.EoKORD. 'Ve \\-"ould take out the wo1·de "n. pistol,
   revolver."                              .                              ·
        Mr. lfnEADWAY. Then 'y ou nre not strikipg out thPee words.
  . Genernl REcKono. I snid tliree words. t thought when I wns re-
  ferring to the bill that the longua.gc read "pistol· nnd revolver."
        Mr. TREADWAY. 'l'hen the h1.ngungc as you would have it wottld. be
 •that "For the purposes of this net tbe tenn 'firennn' menns a shot-
 ~n having n barrel less than 18 inches in length or n11y other ii.J:enrm
 ):ilpnble of bein~ concenled on the person, a mu111er or silencer tliere-
 lf~r or ~machine gun."                                                 ·
 , 1Oen<itnJ REcxono. Yes, sir; that is correct.
      · Mr. TREA.DWA'Y. So that the wor<ia to which you are renlly re-
   fen·iqg nre, ns I ho.ve snid, "pistol" nnri ' 'revolver ''Y
        General REcxono. That is correct. ·
        Mr. Vnri;oN'. In that connection you cm.'ld not lenve in th er.e ''or
  any other fire1trm cnpn.ble of being conccolet: on the person" because
   thn.t would include pistol or revolver, if it is vou·r intention to strike
  out pistol or revolver.                                  •
        G.enernl REcv.ono. I think that.· point is well ~'4ken-. TJ1e Jo,ngm1ge
   there i·ould hnve to be cl11rnged.
        Mr. TREADWAY. You lrnvc covered in gcnc1·n1 yom· objection to
   H.R. 0066'?                           ·      ·        ·      ·
     · Gene:ral REci;onD. "fe.s, sir.                                 .
        Mr. r"f1lF.ADWAY. Ancl uny suggested <'hnnges nnd nmendmcnts                            \
. woi.tlci, of r.ourse, be left to our drafting force nnywo\·?
     " General R&ciono. Yes, sir.                                   ·              •,
       Mr. TnEADWAY. You.\vould approve the gcncrnl purposc..s of lf'.R.
  9066, provided those t\vb}words wm·o stricken out. and wlu\to\·cr olso
   might be necessary to harmonize tho rost of tho bill i is tltnt correct?
        O~nernl RECKOlto. Ycs i' sir; tlrnt is correct.
        Mr. Tn£ADWAY. That being tbo cn;;e, und inusmucb 11S VO\I say
   that tho nino j1idiciey bills, so ct\llo<l, ;.o,·cr nll of tho rcquu't'monts
                                                                                   -      .,
  sought tt'I he co,·cred by 'I.bis bill1 oxoopt t.lrnt fouching mnchino· guns,
   if those bills nro not nlllc'11dy lnw, why not insC1rt "muchino guns"
  .in some ono 'o f thoso ums;'lind not ~o to 11'11 tho bother of trying to pnss
  such n long IJjlJ 1\$ this, tlint hns objcotlo'nnblo fontures to people olhcl'
   than yoursolvM?             ,     ·            '                                 .
        Gcnornl llscll:ono. Tlrnt would bo \'crv uccoptnhlo to us. '\Vo nro
   DOt Offering this hill. 'fh t~t..M·oiilcl be, \\~O t.hink, · n 11\0At St\(isfoClQr\·
   way of COV<'l'ing tho situntio)l.       .                       ·                  •
         Mr. T.1n;AowAY. lf1Lv11.yo11 not trh:d j,o nmform with tho vimvs of
    tho DepnrllllClnt  or   J'ustite?.                               .
                                   . . y ()II l<'SiiCio1l' h l'ro 501\10 limo ogo, I .

                            .'                                              Exhibit A, Pg. 837
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                               NATIONAL FIRE.ARMS A01'                          117
      1 remember; 1is to efforts th11t hnd be1m mnde to hnrmonize Urn various
     I confilctmg interests here.         •
           Gcnllrnl REcKono. Yes, sir, wo hnvo t'rie~. Wo hnve found .it
        rather difficult1 though, 1md I do not mean that jn a spirit of critic/sro
        nt 11ll. Bitt we hnyc found this,. that whenever we ~o over tl:)the
        Depnrh11ent of Justice-and we h1wo 11lwnys been rendy und willing
        to go nt nny time-we find ~hnt Mr. 1\cennn who·is 11andling this
       mnttor is vi;1y busv. And he is 1l lmsy mnn, we renuzc that.
           Mr. 'l'nEAoWAY: 1 do not d011bt thnt nt nil, hccnuse they must"all
•       be very busy to keep up with this ·n!phnboticnl proc~sion thnt is
       under wnv.                                                   •
           Gener1il REcKono. I ogrt'o with you; bufr--
           Mr. TtU:l AUWAY. Th<'.v onnuot laolp but, ho busy.
           Gencrltl REcxonl). -\Yo h11\·o found hint bu>'y, and tbfn we denl
       wit,h Mr. Smit11.                                       '               ,
          }vfr. TnEADWAY. Right nt thrd, point, 11r. Kcf.'nnn hns.bcNi here
       fo1· 2 do.ys. You so.y you cnnnot t'<rnch Mr. Keenan on nccount o( his
       bt,ing so busy 'vitl1 ot.her mntters. Me is right h<>ro. now. Let me •
       nsk 1'1r. Krennn, Mr. Chnirmon, what thero is in H.R. 9066 that his
       Depnl'tment is nsking Congress to pnss, other thnn the rcforenco t.o
       mnchinn guns, thnt is ,dot contnined in the other bills thnt 11nvo hccn
       rc/c:!rre.d to.
          Let mo put it n. littlo difiercntly, and ask ·this question: Do you
       agree with the present wit.ness th1it the 11ine jndic.iary bnts, so-cnfled,
       takii en.re of the situ.a tion s.o.fnr ns the nuth o1,ity of your Deportment
       if? rcnch gang:;te1-s the best you cnn ~y legislation, i£ included in those
       bllls were n. direct reference to mnclune guns?
          1vlr. KEENAN. We do not.
                                                                                           ~
        Mr. TnEADW.i\Y. Whvt                              ·
          Mr. K~~AN. :Seenusc \\~o fincl in cvciry cnso wh1.>re ·w!l .get a                1
       gangster he hns not aloncamncbine gun 1but he hns tho In test and finest
     'developed pistols and revolvers with which t.boy cnn kill 11.$ well ns
      ·t hey c.an w1tli a ·mnchine ~nn. It wo·i1ld be very helpful, of cot.1rse--
       t reme11dously so-to.,get rid of machine guns, But we do not believe
       that the job cnn be done onlcss wo mnko it oxpcnsivc for the gnngster
       to bnve the highly improved, dnngerous wcnpofl, either tho pistoh.o r
       the revolver.                             ·                                 \
          Mr. TR"EJtDWAY: 1\1r. Kccnnn, ns to the matter of e:q1cnso-, T do no~
       think I cnn go along withJc'n1 on .v our argument lit ull. Tho gangster ·
      is going to rni<l a bank n.n )1 0 might kill somobody trying to get to the.
•i     mon(\v in tho bnnk, but I.to io; .trying te> get thoµs!\11ds.nnd thousl\nds ·,
      of dollo.rs. You could 9ot mnl<o ·a pistol expensive enough so , t)mt '
       he could not nlio.rd to get itr Tho mntter of dollnrs and' cents would
      not he impo rtant to him. 1£ bo lS n hi~h-grndo gangstor,.·si1ch· ll5"-
      S(iems to bo opern.ting around these doys, bo i~ not going to be ·de-
     . tcrred l>y the price of tho pistol.                      .  ··    ·            .
          ~tr. I{EENA.N , '\".o do. not wnnt our pQi:1ition misstntcdin tJrisrccord ·
       bv nny or tho 'Witnesses who npp·car before tho committee. vv'e
       ll~mit frnnkJy from Ollf oxporienco thnt WO do not bclic\·Q thfa Or any
       other hill cnn doter n~ tho pre.sent ti111e tho hnrc'c.nc~ criminp\·and tho
       gm1gstcr from pro ~urmg uny l.ypo o( wcnpon, mel.11<11111! m11el111111 guns.
      .l311t Wl' <lo bl'Lie\·o thu.t ovor a pcrioil of tin10-i\nd wo hclicvc it· will
       be n long hnrtl row-wo c11ll stnrt nL the hc•ginniniz' nn<l tl).1m 1111 invcn•

                                                                      Exhibit A, Pg. 838
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  tory and find out who have these pistols, and in the me1mtime make
  it very expensive to be found i n possession o! a pistol.
     For e~11mple, 1£ I mny tell thi.c; committee very l>Ticfly our e:x"']leri-
  ence in trying probably the worst mob..in this country. They had at
  least one man with just us bad n record ns Dillinger. That was
  Schaeffer oi tbe Touhy mob which-included B1mgliard and 1\:ator, rc-
  cen~ convicted in Chicago, in Cook Countv, and scntenc•c<l to 09ycnrs
  in prJSOn. They \\·ere fo~md on the higliwny, !our of them, in an
• automobile. They. had rifles, they l1ad. rope, they hnd nil of the
   kidnnping pnrnplternnlin, the tnpe,' all ~endy for tho job. They hnd
   five or six automatics, but no mnchi.J1c guns.            .             ·           '   '
    . At the ti!ue thnt we found them they had no mnt1hin1J. gwis with
   theJn, but u1;.doubtedly i.11 n C41cbo some plnco thoy did lu~11e ronchine
   guns that they could get. But it was shotkin~ to tbe people in that
   court roo1ii when those pistols were brou~ht aut nnd lnid on t be tnhlt>
   and a bng of fl1lllllWlition thnt W11$ so heuvy it would be diffic11lt to
   cft.r rv in your arms, thnt there wns no Fedcml lnw undeT whic11 they
   col~ld be       pmsecuted for transporting those pistols, t hose dcndly
   wenpoi1s, this moving nrsenul, literully.
        I b enl'(l a. gr2!lt many people, including Feder al Court judges nod
   some of the prominent writers of the country \.-110 lrnpponcd to be at
   thnt trial, express themsf)!ves tlu1t wny,                       · ·
        Thero was no way tbev could be effectively prosecuted. It might
   be interesting to ktiow that one of tho men wns not connected with
   tbis crin1e in Chi(logo, the Factor kidnnping, nnd the only t.hing
   they could do '1\--ith him w.ns to send him back to \Viscunsin to be
   tried on u chn.rgo involving n mnximum sentence of 1 .~'our, bernusc
   be was found in that Slntc in the possession of some fi:rcitrms.
        ~fr. TnEAfiWAY. \\"hat I d.m tryiJ1g to do is to help you pnrtics to
   get together.                                                              .
        ~fr. ]~U&NAN. Since you hnv<'I nskcd the question, ·1 ,;.>uJd like t o
   make t his statement fo1· t ho record. I h nve listcued pntientl.v and
   earnestly lo Goncrnl RerkordLo.nd 1 sny roost r cspoctfully 1 fill for as
   the AttoTney General of the liruted States nnd his pn$ition in ('(111-
   nection ,,;ith t his le~isla tion is conr.omcd, it is not ncccssnry for ~[r.
   Reckord by dcduct10Jl or othriwise to intcrprrt whnt the position of
   the Attorney Gencrnl of I.he United Stutes i<; in rcfl'J'<'ll<'e to thi.~ hill,
   It is nlrend.y stnted in the recol'd hcfore tll!l 'rommittcc.. I nm hcrCI
   as his reprcsentntivc 1 duly o.uthori?:ed hy him to say thnt ho r.onsidors
   this bill n, very impo'rtnut pwt of the lWO~l'l\lll of tho Dcpn1·tmcnt
   of Justice to do its full pnrt. Pcrhnps WC ore wrong,, hut. this is the
  ~restil t of our study.
        Mt;. TnEADWAY. Just one moro question' in connection with somo ·
   matters thn·t yuu bTought . up 'in illustration.       ·
        With these nine judicinry bills which hn\'O been rofon:eu to, will
   you then 11nvo covered-tho c11ses t.l11ij yo11 hn\'c dto'd ns illustrnting
   tho need of this legislation?                    ,
     j Mr. KEENAN. ·Not ono or Llwm.               :
     1' Mr. 'I'u ~ADWAY. You wo11ld not hn\•c cbYercd tltllm'!
    't Mr. ltE&NA.N. Jn not ouo of t.h em, rmTtiuul nrly tJrn glnrin~ instnnco
    tnnt l spo11k of, in which tlw T ouhy moh wns oon<10rnod, who were
    (~und in tho nutor.nohilo. Thoy wo110 ob,·iottsl.v- '111.n t 111>ou crime,
/) t oy , .,,. ool "'"""<•       tl>0y '"" nnt •hooting.                           ,
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     ' ~fr. TnEADWA:,-. It seems to me we nre getting some\vherl' now.
    Tl111t is contriiry to t-110 statement made by tbe present wit.nrss tb nt ,~­
     th!!- nine judiciury hills will cover what you wttnt covered.
        )Tr. KBE~AN. \Vith nll tlue respect to t ho witness, we think we are
     abll' t-0 interpret our own position p, lit.tie better thnn h(I is,
        :\1x. Tni-:AoWAY. I w~s just trying to sec whether the conflicting
    oleml\nts c-0uld ho hnrmonirod. App nrently they do not ngrec.
        Gcnernl Ri-:cKono. No; we do no t, ~tr. 'i'rcndwny.                     . ,
        ~lr. V n:so:-:. Fot tho purpose of the record, there is no t.hini; riow
     to pre,·cnt t he St:itc of Illinois, where these mrn were foun<t with
    these rifles und revolvers, from nmking it n penalty pu11ishnble with
    dol\th to cnrry a l'cvol\'cl', ii; there?     , "
        :\fr. KERNAN. I suppose thnt i s wiLhan thdr (IOlico power; that is,
    there would be no restriction on n sovereignty to pass a Jnw with
    rt>spPet ·to ans thing thut 11frecfod the publi.: welfare of that ·sover·
    C'i{-'llty'                                                                      •
        ~Ir. VINSON. Even to the oxtcnt of inflicting tho denth penalty?
        \fr. KEENAN. I do not t}1ink there would ~ nnytl1ing un!awful
    the.re. lt is iutoresting to know, l\fr. Vinso:i, that in rending the
  '°report of the C rime Commi!lSion, meetings· of · whieh were held io .
        nshington-nnd of which Gcncrnl Allen was chairmnn; and some
    ot lhe 1nost· distinguished man of the country attended-          · one of the
    first things thnt I remember rending wns t.hnt at t hat time the State
    of I llinois through its legislature hnd refused t-0 pass nn act making
    it. unlawful to possess mnchine guns without n -p ermit. E·1en though
    tl1ev han~ t he powe.r, they do not do those t hings alwnys:
        ~Ir. ~[cCLINTIC. I would like ·to nsk tho 1Vi.tncss a question. If I
    1m1i11rstancl your position corre.ctly, you are interestecl in jlistol clubs;
    n nd I tnke it you nre interest~d in tbo subjec~ of pistol 1nttrks1no.nsbip?
        Grnernl R EcKono. Thnt is correct; yes su·.                   .       ·
        2\1r. ~lcCLtNTrc. If that is true, could there not be fo1u1d son111
    w1i:1· whcreliy n dul~ orgnnized pistol clt1b could Jinve exemptions to
    tht• t•xtent thut thfa kgislnrion would not ncce!\snrily 11pply. to tl1em?
        Gl.'ner..il R ECKORD. 1-lr. McCJintic, l shnll be de:lightecl to answer
    t.Jint r111C':> tion. The fac1, is thnt. in c-onfercnco with ?l{r. ·Keenan's
   ,office we thought we lil\d rt'ached n conclui:ion, and al though wc d~d
.. not wnnt it, because we did not wnnt uicmbers of our association to
    lie t>Xemptctl os such over nnd above onY other hones t citizen-we
    rt'allr clid not wnht it-wo ngrccd to accept it and \\"o thought .they
    Wi'r<' ~oing t.o hrlnf tlil1t down ns one of tho new pro,; sions yesterday. '
    W~· wl.'re surp1iscc when it wns not in thcrl'.           "            .
        Mr. itcCuNTtc. In other words, your 01'g1miznt.ion docs cot d¢siro
    to takt• the pooition thllt tJio ri~l1ts of nJJ the public ,;hould-be s11_b·
    jugotNl in i;omo such manner tllnt you would hnvo n special privilcgo
    tJ•llt t,hcy..would not. hnvo?
        Oencrnl ltt:cxouo. Thnt is corl'ect. · Th1.1t is our ·honest position.
    \\'<! rlo n ot. wnnt nny privileges for U)~ !i111mbers of our'. ossociotion
    1 hnt nrc 110t f('iven to nJl other holl<'sl c1h1.rns. B11t ~·rt. wh<'n I lold
    ),fr, l\:ccnnn thnt, Jrn go t nngcy onll sni1t wn Wt'rO not, "illing 10 e.ccC'pt
  nnY responsibility:       -                 ·                  .     ·
    ~fr. i\l cC1,1s1•1c .. U W<' wcro to pl"co n provision in this hill which
  would ullow d11 lv 1'l'co.~'lli1,rd nnd p1'0P<'1'h· ·o~imi r.Nl pistol rlul1s to
  cnt-r,\• cm tl1o~c hi11('lil"lllB i11 1\·hich yqu 1irc i,1nrt1('1tl(lrl:v inh'rrstc1!, nnd ~
                                                                           Exhibit A, Pg. 840
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                 then e.xd11d0 nil otl1ers-thus making the law applicnblc only lo those
                baving·the:ic weapons with criminnl intenlr--
                    ~1r. VrNsoN, V1'1ll tbe gentlemnn yit1ld tlH•re?
                    lvlr. McCL1NT1c. I yield.                             ·
                    ~Jr. V1NsoN. What status · haa fl <lulv org(lni7.cd piatol chib ovrr
                that, of n lnw abidi~ citizen?                    •
                    ~11'. McCLJNTrc. The point I hnd in rnino--
                    h-fr. \'1Nsox. In rcgnrd to possession of that which no" it is l1·~t'll
                to p ossess, such as n pistol or n rcYo!Ye..r?                                    ~
                    Mr. 1\fcCLINT!C. The p,o int I hod in mind ill this. It seems to me
                the public intl'rcst is so much greater, wl1en it com!'s to protecting
               Jife! thut some regulation ought to be put into rfTect concerning
                pistols nnd the currying of pistols nnd the Tegistrntion of pistols.
                    .l\ifr. VrNso~. H thnt wQre stricken from the bill, it would toke cor0
                of wlint the Genen1l hns in mioo.
                    :Mr. McCLL""TIC. I do not lb.ink JOU cnn properly put into dfoct
                n lnw ni:ninst crime imlcss you deal with pistols, becnus-o 11 thou~outl
                criminnls will use pistols where one will use n innchinc gun .                  .
                    Air. V1NSON. ~Ir, 1llfoCLintic, list ening to this 11rir11me.nt i.tt r('gnrd
                to mnk1ng it n felon.v to hnvon pistol, my mind reY(lrts bnck to felonies ·
                tbot were set up in Russin at the- time wl1cn the Cznr wn~ the rnlN' of
                Russin. I imngino thnt the Cznr nncl his depnrtm<'nt, of justice bo(i.
                t5e most_splenaid purpose lli mind when they picked up n Rn!>sinn
                citizen nnd tried thot Rnssinn citizen on i:omc.trivinl offen;;e nml tl1en
                transported him to Siberio. when, ns n. ma.ttrr of fnct, whnt they wore
        ?       trying to get nt wns n conspiracy nirninst the Cznr. 'I'l1ev j1istilicli.
                t he punishment ond thot method of dc-nliog it out hy saying thot tl10
                end justified the means.                                                              '
    •
                    1'1r. ~1c0Lii-:TIC. I do not th.ink thut is compnrnhle to Uio sit11ntlon
                thnt exists in lhis country.
                    1\fr. VtNSC·N. T r nther imnginc thnt thnt d1•scrihcs the mentnl
                processes of tho people <>vor th<"rc w]it1n they s('nt the.it' cit.izr.tis to
                Slbt?rin for tl·e curnmission of tl <:rirninn! offense of ono kind when thev
                could' not gel the e\·idenco to convict them for the o{feuse which U1C'\'
                we.re really trying to rencb.                           -                            •
                · Mr. :vfcCLrn1rc. It is my tlio11ght thnt in11sm11ch ns th~ grntlrnrnn
                is intere-stcd in pistol orgoni?,otions rintl the pcl'fcction of nrnrk,,11100-
                ship, nnd so Iort.11, it ought to be pc>ssiblc to uirr<'e upon soiuo riro\·ision
                whereby those orgnuir.ntiorn; would not be rumnlizcd by th e· prn11osctl
                lcgisfotion.                  •                                       ·
                    Genc>rnl R EcKon.o. J\fr. J'vlcClintic, nns\\'t>J·iu~ \'our <l•l<'sti<m. we.
                Rre willing to o.cccpt~on.10-such proYisioo, nlthougliit is onr hrst jnd[(-               r
                ment not to hove it. " rll- did nt.'Tee to do tl1pb iu on eifort to :;!Ct
                together. vr e did ngreo to nr.ccpt thnt nhumcfincn t . TliC'11 the
                Attornry GcneFnl, for f'lomo rcn son, 1lid 1101. includc it in tht' hill.
                    :Mr. McCLrnT1c, 'J'his committee hns th11 jm-!sdicf,i on 11nd wo c11n
                work out somolhing of tlrnl, kin'l'I to don l with I.ho subjoet <if pi,,tols
                in. thatw0:..v.          .                             .
                    Gcnornl REcKono. Pfonso h11v11 it in 1.hc· mcm 1il thnt wo 11ro not
                 nsking nny such pri1·ilogo for tl10 1\\omhct·s of our n~soci11tio11.
                    !ll r. :\lcCLJ:>;TlC.. Ilut J think your 11s~or.i11tion ou~ht tn '111\vr. :<omc
                 ki-n<l c>f 1>rivilcgc in re:;nhl to tho 11~•' of pistols f11r 1H11·poso~ of n1111·ki:;·
                 mllnshlp. J~uL I 1lo nut think tho 1nl!'d " rist,ul " sl11111Jcl ho <'li111in:1t.•d "
               .Jr11111 U1i~ . 1n-opo~e1l lrl!isln t i.1111.            •
                                                                                            Exhibit A, Pg. 841
-       - L.
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        lVlr. CooPER. Lot us see if we can get to something tangible as to
..- where you stand on this nui.tter. A considetnble po.rt of your state-
    ment -hos been more or less {,'(IDeral in nu.tul'e. I have no criticism
    nor huve I disposition to discredit you at ulL Let us see ii we can
    got down to something that Wo can take hold of in dealing with tJ.is
    subject. ·. "\Vhnt is your understnndin_g as to the provisions of thi.S
    new bill wif.h reference to owners of pIStols nnd revolvers?
        GeneTal RECKORD. \'Ve think it is very bnd in that respect..
        ~Ir. CooPER. I did not ask for your opinion about the bill. I
    asked for you to please tell me what your conception of the applica-
    tion of this l>ili was to pistols nnd revolvers.
        Geneml REci.ono. My conception? I hnr<lly know bow · to
    unswer you.                                                                          •
        ?.Ir. CooPEn. ·what do ,you understlllld. tbe bill docs, in so far as
    n mnn owning' a pistol or revolver is concerned? · '
        Gencro.l REcxoni>. It 'makes t ho man do things that any honest
    citizen is not going to be able to do. · One of the provisions provides
    thnt•if a pistol is sold n dozen times, every time it is sold-nnd I t.m
    spanking of the new dl'itft-a bill of snle, 11 stomped hill of sale must
    go along with it, tind the Inst mun who buys it, ever.v .time you find
    h im with tho pistol on hini, he lrns to hnve nine bills of solo in' his
    pocket. It is a silly provision.                                                  .
        ~11'. CooPk:n. Docs not tJie l>ill pl'ovida thnt the owner of n rc\•oker
    01· pistol shall register it'l .
       .Oener1\\ R EcKono. Yes, sir.                                          ..
      · :vrr. Coor.en. II he doe's tlmt, isn't thttt ull he has to <lor
        O<.>ncr:nl R£cK010>. Tbc owner of n revolver prior to the ennchncnt
    of. this low, within 4 Jl\onths theronfte.r must registl'r .
"       11r. Coo?En. Th11t is what I ain talking about.                                    '
        Gr.ner11l REcKoau. Vihen he se.lls tl1nt pistol, 'then J10 comes within ~
    tho other provisions of 010 net. He could no't, givo it 11wnv. Under • '
    this bill t iI I lh·ecl next door -lo a goou fri('n.cl of rnino, nnd 'I Jrnd un:.
    cxpl'ck<lly n forge. 011101111t of.mmtt\) in ll\Y house nnd no :reroiver_,
    I coultl not w11lk next <loot· uncl borrow' his pistol for t.hc night. 1f .l
    did I would be Sll bj('Ct to n fin~ of $2;000 or ilnp1i.>onmont for ij ycl\tS
    or b0Ll1. \.Yo\ s1iy th nt iS too severe nnd we. should not luunstling
    honcat citizens tlin~ wav.                                     ·
        11Ir. CoorElt. Wbnt other criticisms do vou hnvt>?
        Gcncrnl R ecK01ui. "~c scvcm~v crit1cizn the rrgistrnfion pro,ision.
    lf you \\;n pcrlllit, I will rcf<'r t.o t he first hcnring on l:-LR. UOtiti, 'rhich,
    I think, was in cx<>cn tive srssiou nnil thn Attomo:v Gen(•rol \l'!ll> b~foro
    you himsel(, nnd :t.1r. !.ilcClintic nskt~d this (jt1l'st\011.
       I 'l\'Ollld like tons~ just one q\ll'Jlt)on.. I t\ru very m11ch intcresicd in this 1111bjcct
    nnd whnt in your opiniou, would ho the uoustitu~ionnlity .of n pro\'islon nddo<I to
    this bjll \vliicl1 would require rcgistt1\lio11 on the pnTt of tltosc who uow own ttiu
    cl:iss.llr typo of wcnj1011s thnt nrc hcludcJ in thl• blll?            . _
        Mr. ·cuMMrNna. We \\'ere nrraid or th11t, sir.                     ·
        Mr. ~McCLINTIC:. Arrnicl it woulrl conflict with Stl\tc •aw~?
       Mt. .CuMmNas. r 1110 n.fruld it Wllllld bn unco11stf~utiono.I.
       !\fr. Kf:l·::>rA~. \Vhnt pn~c is tlrnt?
       Gencrnl Rl~C KOltP. Thnt is pngo l!l, tllCI to}l or th r pn~<'. I lllll 110~
    n J111\1·cr,' ln1t tl1<•1'ft is tho Atton1<1y 'Grnrrnl :;pruking.


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                                                                                                                ..   .
            ~lr. Vt}TSO!';. It sccn1s to me that when they .fniled to.put a penalty
         in this substitute bill for the foih1rc 'to rt>gister, that is another.way of
        'making it b11rder to test the constitutfonality· of it.        .
                                                                                                           , '
           Gcnernl Ri::cxono. Thero is no question nbout it.. •
           lVfr. VmsciN'. Then, not J11wi11g the 11cn11lty, ancl not.Jicing able to
     test t'ile.oonstitutionnlity, they get n presuinption under paragm)lh
   ' (b) of sect•ion 5 in the 'substitute bill, ns 1 recnll ie, in regard to the
 ~
 '.ll
    .
     time when the man became sossessed of it.             '        .:     .. .
           ~rr. H1LL.'. I nsl~cd Yi:ster ay )low you would e1,1fot·r..c th~· rt'q;u.it-e-
      ment for. rc~strnt.10n with ~o pc;1111ty. :~~\qtnt would, h~ppcn ~<! an
                                                                                                                     ..
   l. owru.•r of n pistol or revolver.for fnilurc to•registcr under the prov1s1ons
   J of this actZ . ·                                ·    :       . ..                       · ·
   ,    -Gener9.l :R.Ecxonn. This would }1appen, ns' I rcncl tlie bill; if I nr11
  ,, incorrect I wnnt to be corrected: As I rend theJbill 1 if a. man foiled
      to ·registc;r; -assume he livetl in Baltimore ·11n<l he \vns JmrricClly· cnlletl
      to Washington and ;wanted to bring n pistol with him whioh he •hncl
      not registe,red. H1i could not bring that pistol into.°"rnshington on' n
      trip, no matter how )11Ucb be needed it.                                           . · '
         Mr. VmsoN Unless he violated t.he lnw.                              ·                    •
          General Rc:ekono.          Unless      he  violated   tlie   ln\•' nnd    becnme    nmen-
      4ble to t.hc fine lln4 imprisolltl)ent.
         ~fr. H1LL. So long 11s he did not cross the Stntc line Jae would 110L
      violate the law.                                                                                 ·
          General REcxonn. That is n smooth wn.v they nre t1•,ring to !!;t't
      that in in <'onnect10n \lith transpor ta tion ; tlicv nxc trying. to get tiint
      in which the Atto111ey General himself snid i1e' believed wns uncou- , ·
      stitutionnl. They p_u t thnt in; thry say within '4· months you must .
      register, b1tt f,hcre is no 'pennlty if you foil to regisi~·r, nnd they then .
      go 011, if you e1·os5 the Stnto border nud lrnve·,uo't TC;!istcred, tfum ,vou
                                                                                                           ..
· · , mny register within 48 hours prior to crossing the .Stnti1 )1owlrr,
      S\lppose you do not have time; 48 bo'urs is 2 du vs; suppose yo11 l111'' 6
      to cross in It hurry, 'then you 1u·e fl law'brcnJrnr. • I um 1ust. ns sinrc-n.'
      nbout this us I cnn be.                      ·                 . ·, ·
         Mr. 1-fILL. So long us you do not go out of'thc Stutt-, you wall nnt
      be violnting uny Jaw by not registering.                    ·
         Generul REcxo1w. Tlu.tt is true. Yon" "'ill vi•>lat.(I (), provision
      whi<'h they s11y is 11nuo11stitutfon11l. I.f yon sQJI the pistol, t.llt'n vm1
      rnust r'omo within tha rfot'Vicw of the other stll)Lion.'                           ,      • '
          ~tr, HILL, or tfa,c t1~xi11g scctio11 't                      .              .       '
          Genernl Jlv.oKOnn. Yes .. This hill is n s11hterf11gc. 'l')1e1· nrr tn·-
      ing to !'<lt n0oks iav n r011iiJ~nbo11t 11"n;v. 'I'ltoy sturtNl ont' hv lmil;I- .· .>
      in:,; the hill on t,hc Nnr1·otic At·t. No hone.it ~itir.co sl10\1lcl h;tw• nnr-               J


      cotics. Bnsicnlty n pistol oi· rP.Yoln•J' is no t d11ugcro11s; it. is un iv
      dnn~('ront-i in. 1.l!t~ f1n11tls of I.he:' N'ook ; i.t is ))Ot dni1g~1·ou!S in the hfl uds
      0£ the !ionc~t Clh7.l'll.
          ~Ir. D1c 10:-.sos. Yo11 s11y th11t the At tm·1w~· Gcmcl'OI <.·ourlt1J<'if
      thnt thnt prm· i~io11· wns UtHJ.on~t.it,11tio11111. Did 111\ not HUY ];c f1•11n•tl
      H \\"llS 11111·011stit11tiont1'l,) 111111 lauR 11ot .tlu' Dt>p111·t111<'11t ':1C .tustica 110\\·
      <·onc.'h1dl'il .tlwt it is 1wt1un(-.1u1::1tit11tion111 ?, ·
          Clt•rwJ·nl HI:c:Konn. I 1111vc not l1c11nl t111•J11 sny tl111t, but this i~ the
        'lnJlj±\111~"·                                -                      .
           :\fr. 1\.Jo:1.;N-AS. 1' lic .,\tton1ry Gcu ~rnl s1lid , " l 11111 1urnld it would
         be 0111'<111s titul,01111I."
                                                                                        Exhibit A, Pg. 843
                                                    ..
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                                                          ,. .                I


                                       NATIONAlJ FIREARMS ·ACT            1                    123
                                                     -     '
          . l\'("r. D1cKJNSON. He did not say positivelv thnt it Wll.S unconstitu•
         .. tiopnl. lfo.ving included it in the substitute bill, lins not the Depart-·
         · ment of Justice conr.ludecl that it is '. not in violation of the Consti-
            tution 'l                              · ! ' ,
                Genern11b:c1\0nD. I cannot nnswcr for them; they nre here. .
                :\fr. D1c1'.'lNSON. I wu.s cnlhng attention to the fnct that the
           Attorney Gcuornl did not stnt.e., thnt it' WOll unconstitu:tional,·but that
           he feared it wns ur1constitut.ionnl. Upori fw·ther i.Iivestigntion, nnd
    ,.   •·having included it. in this bil~ ·would no't.j.ou say thnt they huvo
         · renrhcd the conclusion thi1t it is not unconst~tutionnl? · ·
              · General REcKORD. No, sir,                                             .
                :!\·fr. H1LL. TJ1e rcnl effect of this tegistrntiort requirement is to
           mokP- it tmlnwful, \\;t11out regist.rntmn, to t ransport n pistol or re-
           "(l)\>N' ot otner t:ri>.arm neross 'State lines?
                General REcxonn. I thinl' the renl renson is to attempt' to get the
           r'egistrnti_on.' As I understnnd it, they would like to Jinve every fire-
           ii.rm in tli~ U11ited Sto.tQS rc:gistered.
                1'.fr. .HILL, Of co11rse, if you re:g'istercd volul,ltorily~ t.1.rnt would. be
           fine from the stnndpoint. of the Elcpnrtment of Justice. H you do
           pot do it, tl1ere is no woy they can !01'Ce you to· do_it.                       -
                Gcnernl RECKORD. No, sir.                          ,
               ~1r. HILL. If you fnil to «'gister nnd then transport the fireo.rm
           o.cross the State line, you nre· doloting the Iini.
               Genernl Rr-:cKonn. Yes; you n;e violating the lnw. I will te.Jl you;
           gentlemen, if you ~ass this le~slntion, I '~ill- co.m~ bnck in 5 yeru:s
                                                                                                        -·
           nnd I know you will ngrell with me that 1t 1s going to · be · nnother
           Volstead Act. The lionest citizens ure not gomg to. be bothered "ith
           sucl1 .restrictions. . They won't obey the ]itw 11na you are. going to
           )e~islate 15 rnillio:i spor tsmen into criminnls; vou nre g_oing to mnke
           cnminnls of lhem with the stroke of the Presiacnt's pen ..
               ~1r. litLL. It is nnt u very onerous opPrntion to register o. pistol.
             ~Gerternl ltEcKORD. You inust remember thnt when they started
           out with this Mil, it wns n m11cb worse bill thnn it is now, nnd they
           hn.vc wl1ittlcd it nwny nnd whittl.ed it. 11\\'.llY because of U1e objections,
           nnd if we Juwc time eno11gh, 11ot in this sl'ssion, but if we hnve time
           enough nnd cnrry tite bill OYCr until next Jnnunry,                    ond
                                                                                  if they \\~J
           tillow us to work honestly nod c11rnestly to rench n. conclusion, we
           will do it.                           .                                      ·
          . · 1,tr. HILL. lt is n. dilferencc of opinion ns to wh<'thor· Uint might
           not cmnsclllole t.11e bill, SO fnr llS its utility is concerned.
"              Genorol ltJ·:cxono. Ylls, bnL the committee JJ(ls thnt rl.'sponsib1lity;
           that. is for the committee.                        .
               The CnA 1ll lfAN". lL is no grent l1twdship for- nny, hon<'st citiz(\n to
           rrgistt•r u pist.ol if lil' needs· it for n fogilimn tc ]Hliposo. And, ~o for
           nsl cno sec, thht is the onl.vw<:np(m . Ho dot·~ not 11·nntto trnclcit; be·
           <\hes nnt wn n t if, 11s n mnl tN' of bllrtcr 1md sn lo; he wnnt~ it ns ol\ mnttcr
           u! pro lcclinn. Ir he is I\ ~port smun, lee wonts it. for .1drntrvcr USC ho
           rnny hove for it nlong fhtlt line. In view of tho prc~nnt very srrious
           con di tjon with rl'gn nl tot lie <; riminnl F-i tnn t i {10, the rnckctcl'r.<, 11unk rob-
           bor"!, kitln11pvr!{, nml so fol'lh, i~n' L it inen mhrnt upon th{l ln.w-obirling .
           citizt•ns for lhl'm to Im willing to !:'llrrC'ndcr ' sornr. minor privilege,


                       -
         · ~01netlu11g th;it do('s i11 1t imp(lsc nny cnt1sidt•rnblc hnrdsliip ujmn
           tlu•m, for tht• irf'nrrnl )!O•>tl'! I rnrm ot. 1mth•r.:t11nd 1 if th<' J)rpnrtnum ~
L~" C~ci" Im it ;, ""'''""'' '"" tho p•o«<I ion of "'""Y '" put o
                                                       Exhibit A, Pg. 844
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 124                                NATIONAL FIRE..-RMS Acr

  limitation upon tho· ownership of a weapon such ns is proposed here,
  why l should stand p and say that U1at is too much trouble, not-
                               Q
                               .·

  wit,hstanding it is on attempt to protect someone's life notwith-
  st1rnding it mny protect someone from being kidnnped, o.nd not-with-
  st.anding it ma_y prevent some bank robberies~ Yet it is argued that
  on the great broad frinciplc of pcrsopal libe.r ty, I run not going to
  regist.er the pistol.             think you misconceive the spirit o{ cooperation
  of the American people. If this is the answer , and I do not know
  whether it will o.nswer the purpose or not, p ut I cllDDot believe thnt
· the lnw-nbiding citizens nnd t.he ttue sporti;men would hesitate going
 ·to tha t incon~eniencc if it would accomplish the desired results. I
1 tliink that point hos been muah overdr awn.                               -                          -
      Gencrul R ECli:ORD. Thnt wns never present.od until yesterday; the
 1.r~gistrntion of tht> pistol now in oxistence was never pte.sente<l until
  yesterday_ Along with it is this provision that every lime ll pistol
  i!i sold 1i°bill of sOle must go ulong; no mutter how mnny times it is
  sold, all of those bills of sale must uccomppny it.
      Mr. LEWIS. \Vould not tha be true of nn i1Utomobile?                                           ,
      General R ECKORP. l\o, sil'; the Inst ono is. oil thoy curry. Tbe
  lnst is nil they need tr• co.r · here. Tl1cn they come nlong "ith
  fingerprinting.
      The C11A11u1AK. lf th t requi1·em~nt were eliminated, would you
  object to the bill"l
      Ge11ernl Ri::oKono.               10!._would help.
      Tho CH.AIR M A~. l ~n<lerstond you object to nnytlung- relt\tjng to
     istols?
  P Gcnenu R EcKono. The bill is hod. Ui our judgment. \\'e clo not
  beli<h·e it will help to get the c1·iminnl.
      ~lr. SH·ALLEKBEJlOEn. As 1 t ec11ll your stntcmeot, you do not
  object to its including ma.chine guns oud sl\\\'Cd-off shotguns?                                 ·
       Gcn01·nl rt&CKOnt>. Yes, WC will go nlong-on 'm11ohine guns nud
  sawed-off shotguns.
      ~lr. S HALLE~B~;nc£n. I wnnt t.o know why you ohject to including·
  nutomntic pistols. Alter ·1111, this little machine "f;Un is only on im-
  provement ou the nutornatic pistol; it shoots rhor11:1times~ but it hns
   the same nhility and kills in the snme wny. 1 run n b1v1k for 20
  yell.TS, nntl I wo11l1l ns soon ho shot by n mncliinc g11h tts on u11tom11tic
  pistol. H you nbolish tho 1111u•hinc gun 11nd l<:nv<l tho ~nngstcr to i;ob
  the uutomntic pistol nntl ~i,·e bim two, he i!I just ns tlnngorous tlB if
 ·he hod tho -nutomntic llHlchine g11n, which is nuwr. or loss of nn
  intimidntin!! wcJtpon. I c1mnot um\crstund -why you object l11 the
  nu t omn tic pistol. ·                             '
       Gencrnl R l:lCKOno: \Yo holi(l\'O tbh.t it. i!l co,·01 101 l hr one or two
  other bills nlrt>ntlY ptl.Ssed.                              .                . .
      iir. SH ALLE:-on.J-:rtGEn. Tho Drp11dnmnt o f .T11sli<'c wo11!1l like ' to
   hnYe e\-cry fh-enrm in the \.Jnit<!cl Sto_tcs r<!::jst01'6tl.
       Gcnornl .R 1".CKonp, Yos. ·                   ··                     ,
       11r. S1111Ll-oJ::-Nfl.1:J11oi,:1t. Isn't this thr. wn>· to11·11v<I which wQ nrc
   working in mnr1y c1r~cs? l\ohucly cun lish in my Stntc witho11t
   gott.ing- I\ license. Ko 0110 <'1111 hunt', ov<m with II rl10tgu11 or n rillc,
   unless he h11 -; it ro:tiSf.(ll1fl1l. r h1I \'I' nhS(' l'\' f!(! 11\n't wh1•n \\'(' hCj:!lll ~hiA
   iJ011 of gcLtillj{ Clllltrol of \;l'l'lllill thil:j!~ hy n•i:i~lhl!LC.111 thnt those
   )l\lutor>1 tliu, when ' wo bti).(un ~11 1•t•r111irc liccn:;cH         'l'
   who 111·0 nlfoclll<l h)' it ut Jlrst 111'joct. The lishr1°m11t1 did nnd tho
                                                                              thom. I 11sk if
                                                                                        Exhibit A, Pg. 845
                                                                                     ...
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                                 -
                             :<i:A'£ION.U. FffiEAllMS .\Cl'

 you do not think it '''oul,d bo renll,y n. flne thing f or every fiream1
 whi<ib could he used t o tnke humnn lifo and.!'! <j>mmitting robberies.
 lUul. o'ther crimes, to bo registered so we wo~ow where they are
 in the .United States?                 /
      GeJleral R Ec1'0RD. I do·not think it would do a bit o! good. The               •
 reason you -haw~ not h11d obje~tion with respect to fishing licenses is
 because th at money is tnkcn,und used to rnlsa fish whi_ch a:re thrown
 into the streams about thnt long {iudicnting] so . tbRt fishermen _get
 something for their iuoney./
      ~Ir. SaALLENBERG1'."Il. Lt' is to pren.>nt tl1e violation of certain rules
 o! law; and this is for th~' s1une plJrpose. I just wnntcrl to "ask yon ·
 thnt question to sati.sf..y; myself. In mv· judgme~t, it would be •the
 hest thing that could h appen , so faros the regulation of firearms, and
 their use by criminnls, .t<> hKve the ownership and the location of ·
 those firearms found 011t. 1 "ill sav this: The Government Qf i he
 F!iiled States, when we bad control 'in th<' Philippine Island!!, intro•
 duced n policy a! trying to promote order t here, and we hncl the                      •
 Philippine . Const.nbulnr~· for thnt purpose. The cnptnin "Of one of
 t.hoso organizations was from my home towr:i nnd he told me thnt. the
 best 1•egulation \\'hicb they had, ill order to stop sniping and the
 shooting o! .t\ntcricnns by t he Insurectos end those wl10 were,,engaged •.
 in th at business, which is something like our present day robbers.and
 bandits, was when. th ('~· insfillled- I do n ot prcsume they passed any
 lnw-but by deelarntion or edict. they installed the. practice of re- 4
 1111iriog e'>ery person with nn implement of dent.h to have it recorded,
 so they knt:w where t.IJo~e 't~ings '\~re . .                 ·          '
      Gl!neral REcKonn. l ilm m 11ccord with that _
      :\Ir. SHAI.LEl\BBRGJ::):{. Th11t \\'as 11. very essenl-iHl t hing in control-
 ling the killing of A111t•ricru1s in th<' J>hilippi.nes . Thnt is the purpose, ·
 ils I ,·iew it ; ?f this net. ~t;; Jlllrpose is to fln<l out; as soon ' ~s W!J can,,
 wh ere these tnrpll\JUM LS of de11th 11r1.1 locntcd. - As 1,he Chnirman .has
 s11id, it seems t.o me tl•l\t the good A11wric1m citizen will b e willing to
 ~o througli the forcrn uli ty of hKvin~ his gun· rt'cordcd, and that he will
 1iot. objt•?t to 1lojng. so. In cunncrlion with this idea ~f rccordin~·1 ihe
 rf':nst.rnt,ion o! trlHls!er,;, you c11n go th1-011gb 1111111.Y lines of busmcss
 wht•re .it wus not reqttjred hcforc, so t his prilldple which it is now
 proposed to incorpo'r11tc in this bill is 11Jo11g the Jine of n ~ood many
 other rcquircnit'nts in conncl'tioir>wicl1 tltt' husinrss of tins co1wtry. '·', t•
 A record is requited :of ever~· lrnnsfl'i- urnde of nnythin~ which it is
 t':,;!\1>ntinl to hnvc recordt•1L                                            ,
      Ol'!Jeral RECK~no. 1 do not think ~·011 will lind nn~:t1*ig us sc\•cre
 HS thU!.            . .-                               ·     •' '    '
   ~!r. SaALl.i::t>nEma;11. This mukes it. 11 crime uot to record l\ t ruiis-
 for : it is n li ttlo different. '                              .
     ~Ir. VINSON. Go,·ernor Sh11Ucubergcr refers to the Cnct t hat we have
 Hslling lic<roses. Thot is under ·n State law. \\"e· hoYe no Federal
 l11w rc'<111iring licenses to bo tu.ken out· to prrmit a person to fish. · \Ve
 h11\lo co111purubll' luws in regnrd to·thc rcgulution of weupons in Yarious
 8to.td1, pcnnl sttlt.lltes concerning We!lp0119 1 bu!, We hllVl) 1 08 yet, no
  f<'l'llN'lll lo w with refl'tliucc to 11 />istol or 11 revolver. .l\ow., l think
 tlrn q\~cst.ion 11nswct-s it!felL ill t il:!rll' u mnn on this conunittee, how-
 1'v(lr 1in~ i ~ might Lo, whtt wvuld s1111port u biJl that would mnk~ it a
 !lrf lll"1 to. fish without ii .F<!dllrul license'~ It is the li'c>dcr1H r.ontrol
 fop,tu~e.
   \ " " G8~7~ ·:LJ- i 1 .                                           Exhibit A, Pg. 846
    I       .
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 126
   Ml". RJLL, How about tho <luck sta.mp Jaw?
 . Mr. VINSON. 'Vhot iB the duck stomp low?
   Mr. SHA.LLE~DERGEn. Wo have some analogous Federal lows.
    .l\fr. VINSON. I rememher, in the 10 vears that the migratory bird
 legisfation has come before the Congre$s of the United States, every
 effort mode to place n ta.'t or to require the folks who live out in the
 districts, and who happen to vote-and that is somet.h~!lf quite im-
 portant-to Pfl.Y n th.""t or to aeeu.te o license in order to · migratory
 ~ir<ls thnt lire under tbe control nndsupen;ision f!Jld subject to reinila~
 t1on by Congress, those efforts ho.,·e died tgnommous deaths. There
 is no lo.won the books requiring a Federal permit before you can hunt.
     Mr. l\1cCLtNTIC. The gentleman has lnid great stress upon the
 necessity for registering a pistol everv time it. is sold. I ha-ve lived
 in o. section of the country wbere a pistol was a part of every man's
 equipment. for a. great muny y~re, nnd l venture to assert. that. 1
 never heard of 5 pistols, in 30 yellI'S, ever being; sold. Does the
 gentleman have in mind any instancel! where indiv1duuls sold pistols
 to others?         ·
     General R~cKoso. Answering the Congr.e.sSmnn's question, my
 lll!soci'.'ltion publishes n magazine, and I venture to say thut there are
 thrc~ poges··of ndvertisements, little squibs, about rifles nnd pistols
 in thntmng8.zine "very month, where one man wnnts to sell o.nd another
 ~~tobcy.                                                                     ,
     Mr, McCt.mTIC. There miJ?ht be a few insf.ntices where they would
  want to sell rifles, bllt the different individuals do.not sell -pistols. ·
     General REcKono. Out in your country o, man wo1dd buy o. pistol
 o.nd keep it all his life.
     Mr. McCLINTIC. Thot is a mount.ain mode out of o. mole hill.                .
     Generol REciono. Let me point out this: \Vhen the Attorney
 Genernl came here \\ith the bill in the first pince, it p1•ovidcd that
 every time o. mnn in your country wonted to buy o _pistol, he Juul to ·
  throw his leg over his horse anil go' n hundred miles or so to the
 office or the eollector of intemnl ~evenue to get I\ . stnmp; ride a.
  hundred miles to get n.dollnr s tnmp -to put on that pistol,
     Mr. McCL1111T1c. You menn Urn.I. WllS in t he originnl <lrnf~T
     Genero.1 R~cxono. I sn.y to you, that if it hnd not been for our
 opposition to the ridiculous features of this bill-1 won't sny ridicu-
  Jous,-J will correct that-if it were not for opposition to the very
  severo fentures of ..this bill, os iippHcd to ·the honest citizen, theso
  chnnge.s would not bo.vo been mndc.                                        .
     Mr. CooPEn. 1 do not koow thot tl1at et.ntement is justified.
     General Ri:;c!lono. qihut they would not hU\'C bQ('n mode?
     Mr. Coo'P'i::n. You n iAlii:o tl1nt tl10 mcmlJN'S o r the committ('c
  were ull prooent, and we n111y lmvc done some o~ tho things \\'hicli
  you have pointed out os being objccl.ioonl>lo.
     General ll.Ec1<on.o. I itgreo.               j
     !vlr. M.cCJstNTlC. H your. pist~I nt·gnui~tit!ons, whid1 arn orgnni1.t'd '
  for the 'purposo or promot.mfl n1111•Jcemnqsl11p, 11ro ··~<'111dc<I, you dC>
  not h 1WI\ o log to stand on. l'horo Is nothing to tlrn nritmncnt 11bo11t
  sellini; p.istolR.        ·
     !\-tr. !.)1cxwsoN. " -ould there not l>1.1 rulrs nnd rrgulnljons 111lop1ccl
. hy which u d<1put.y c:oulcl ho 11nmNI so tho riti?,rns tlrsirin~ to rcglStrr
   thci~ WOl\llone wo11l<l not huni to {:o 11nywlu•r1• 1 rxr<'pt 110,sihly t11 the
 court.huu~c~
                                                                     Exhibit A, Pg. 847
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                            NA'l'IONAL Fm:BAnMS ::AC'I'                        127
       General REoxono. Those nmendro~nl8 hnve been c1nde.. They
   '\\'ere.not in. the originnl.
       ?-.fr. LEWIS. This question is J1ddressed generally to those· helping-
   the• committee. Does anyone know the statistics of homicides in
   the United States and other countries? · I have a _..v ogue recollection
   of figures like 20,000, which were due prob~bly -not only 4> acts
   of the gnngsters, buf. to acts o~ people wbo have ' pistols in their '
   pockets lllld who use them when they a~.dfunk Md.sci on, 'nnd those-
   bomicides would not have resulted il some kind of restraint Jiad been
   applied in connection witlt the pQSsession of pistols, such ·as tli~· ~
   restraint which is applied in the 1nost disciplinary way lo the driver
   of the l).Utornobile.         . ,-        I       •• .     n •           I

       ~fr. KEENAN. I have Ii incmorandum which wns submitted' to tho
  .clerk. \Ve got t he statiSti cs gnthered 'from t he lnfest sources avail~
 . able and I think t.he clerk ho.s a memorandum of them. The memo-
   randum wlis handed in.             .    ;• ,      . ·
       General RECKORD.' l will he glad•to ons\\·e1· snch other. ·questions · ~
   as the ~ommittee mny desiie 'to n:;l<-. I would like for MT. lll'.11ny
   to be heard. If he cnn be beard now, 1 will appreciate it.            ..
                                            1             ,
      1.fr. TRE At>WA\'. G eneral Allen is 'here and he bas not compfotecl
  his statement.                 ·
      Mr. COOPER. When we niijourne ·yesterday, WC promised General
                                                                          ·
   Allen 5 minutes more.                          '.
 '' General RECKOR!l. I clo not wc\n ~1 to tnke thnt trom 11i'ro.-:
      The CHAlRMAN. \fe will let hirti ·con clude his stntement. We
   thank yo~ foJ,-your app~111"ancc ond the te!'llirnony you have given
   the comirnt.tetf.            ·                     .       ·
      Gencrnl R ec&oXU>~ Bcfor~ the general makes liis stl\temen t! may
   I sny tbat in his t1:stimony .of y~~rdny, I tt.ink he. mnde a ·mistake
   in connection ";th one ma'tter nslto.lingerprinting·in J.1Rss11chusetts~
   I wired for information nod f bn~ a' t:eh•graru rea<lin~ ·as follows:
   ''Present Massncbusc~ts law does not re.quire fingerprints for pur-                  l
   cht1$C of revolvers or pistoN!' I thought he would probably want ti)                  I
   correct the record to tllRt extent.                                                     ·
                                                                                       (
            STATEMENT' OP J.-W~TON ALLp (r.oni~nue3)                                   \
       lv~r. ALL"EN". M.r. Cbairmon RJ1d gcn tlem.en of the committee, the
    discussion which hns just int<>rvened with re.speet to registration hits
    nt O(Je of tho fundamontnls in t his bill, wl1ich m1.1k<>.s it ser.vicoable-
    jn renchi11g the gru1gstcr. It has been snid tbat I was. ehainrian of
    Llio conference hero.. in \rnshingtoh where• thiri matter was covered. '
    At that ~ime, Mr. :Kowton D. Boker wns chairman. · He was chnir-
    mnn at the tlmo of drnftin.g this bill. I. would -like tO have {our
    con·111ittco know t,ho membership of t.he excr.utiyo committee o the
    Nntionnl Crime Commissio11, which wns composed of Hon. Newton
 ~ D. Ilok<'r; Ri<'hnl'ci ""nshh111•n Child, F. Trubee Davidson, E . 'A .
  . AM<•1·m11n, of tho L"niYersity of Vi,Wnia; ~Jrs. JUr.hurd · Dcr!>y,. a
    dau~ht-<•1· of t.h~ lnie former Pre1>idrnt Hoose,:1•lt; Grn . •J1i)11cs A. B.re<in,
    ll ul!h 1"rnnt•y 1 rrpn•st111ti11i.: l1~hor i llerhl'rt S.• Hnd lry, Charles'. E.
    lln{!h<'1' 1 Sn111ucl Lcwi$ohn, l~r1111k 0. J.nwden, Snm1wl l\lcRobrrtsr.
    nn<l t.hc 116.'\istout to tho clinlrnrn11 w11s Oolonl'I· Howe, whp Is sccrc-·
    tury to the J'l'<'!iid<>nt. Colon~l llowr wns 1.issi~tnnt -w .thc choirn1"11          ,
    frnm t.h1' t.imc 11. wns orco11iic1l until rcrcnily~ whl'n hls d uti<'s mndc
                                                                       Exhibit A, Pg. 848

                                                                      •
                                                                               ·- __J
                 Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 176 of 250
               128
               it necesia.r y for him to gi\•c up that work. It WftS "ith Colonel
               Howe that we organized this conunittee which drafted the law thl\t
               I referred to yesterday.
                   The nub of the whole situ~tioo with ro~pcct to registration has
               been met by what bas been smd by the chlllrlnan and by you, Gov-
               ernor, and by Mr. Hill, at tlie previous hearing, when l\·I r. .Frederick '
               '\\~as on the stnnd. 1 want to read a question thRt was nsked by l\:lr.
               Hill of Mr. Frederick. ~ft. Rill said:           ·
                    You expressed th.e uplnion tlu1t. pt'rhap11 an~· legislation wuuld nil~ he t'ff~th·e
                to keep firearms out of the hanct~ of !lie c~iminal element..
                    Mr. FazDEllHl &. 1 am quite 1nire we Cllnnot du tll4t.                            .
                    Mr. Hu.r.. A l!8umiJ1g tbnt ill correct. and I um suru a great 11uu1y migl1t 111<ree .
                with yo11, if the 6rcarnui are found in the f>0&;cN1IL111 of th~! criminal \!lemcnt, un<t
                they cannot., under tho 1>rbvleion11 o f tht6 tM:t, or o f ll'Jme ~imllnr lcgU.l .. tiu11,
                show t4&t they tire in lawful pusae1111iu11 of .t(w"" fil'V11rtru<, would that nut he u
                weapon i.11 tbe h:mdi! of the Department ur Justice ju enabling tltum to hold tlto""
                crimiu1116 untiU11rther investigation m i.1ehl be 1uJMle'or t he crillieT
                    Mr. F11ED£Ult:Jt. I think. 1;11, nucl { 111111lc th.iH ~ugp;estiun t o Mr. Kce11n11 twn
               .and a hair 111011ths llgo, t1111f whcnc,·cr 11 11-.::tt1Ut1, a firC!m11 nr any kin<I, 1111tI I
                would 1101· ihuit.it to p\atol&--:"l wnulll my rilletJor s hotg11m1- ia foond i11 the h1'nd~
               .of any person who hu l)IX!n COt1\·lch1t.I of 11 crime of ,-lolence, hecnuee thew are
               '.lllAny crimet< whicl1 ha1·e uothln~ lo do witl1 tho use of flrc11r111s, :.ud that i(! why
               1 make the diaUnctlou; 1111d l tbank he 1ftl!(gC6tcd tlmt WC aud to 0111t 811.f flt"l"KClll
                wh9 i.s a fnitit h·c from j11.11tic<.--that 111cre 1>0~li111-c1f 1111th 1• "''-'"Jl"" •h1111ltl lie
                prim& facle evidcnro uf it5 tn.r~p•>~lation lo l11tc111111lt1 comm\'rt'e, un1l t lui.t
                tro1111portatio11 in intcr~tnlo coumtt.-fn· of Wl!llJNll~ hy th~ l~~plc lie 1m11lc 11                 ~
                crime.
    ~,
                  Mr. VP:soN. Ha\'e yoa any s11<1\i liiuit n!!' thnt in "ithor the <>ri~intt.1
               hill Of tho s11bstitute?              •
                  Mr. A;.Li::N: Ttie bill before y1111 Jtow"!
                 M r . V1NsoN. Yes, either in tht> oti~nlll hill or the substitut{'; i:1
                                 u1
             •r that thought either one of t he bills?                    •
                · Mr• .Al.LE°!'/. That it must be a pc.>rson who h11s bec.>n ro11\·ictt•1l:'
                      Mr. VtNso:.;. Yes.       ·         ·                     ·             •
                    • Mr, A.Lt.EN. No, sir. I nU1, comio~ to ~at point'. Gentle111en,                                         "
                   this. is just the trouble; when you linut it to •~ person who has,l.1eco, *·
                  .:oOvicted Of Q cnme1 bCCUllSC a Yer~- !u.tge Dlltnhor pf these· gunm.e n .
                  in niy State, nn·d iu e\·ery State have not got n .recor<) 11t- the p~ent ·                             '
                  tim0. As-~Ir. Treadway il!          well
                                                      QWUff,,, wouuwe I\ murder trial going .
                  on now, o( the -tvfillens, 'who cpmmittc>d 0. b'rotnl bnnk robbc>r.r nna ,,
                   theater robbery in ~tassnehusotts. \Vhero \\'ere._those men taken?;
                  In New York, nnd they were nrmed 1 nnd they hlid .no r riminal rt'Cord, ~.
                 ~od tht>y lfid, not hiwe tfofebino .g uns on their pcl'llons.. Thf'~· were
                 .urtned with these t\utom.ntics. •              ·                          •
                      ~fr. TnEADWA l'. \Vould it no t' ho well1to udd thut there wert\ two
              ' ·dress sttitcnses filled· with nrmt1 nnd.11n111wnition; which were Councf 1\t        "
                  .the Union Station in \Vnshingtou'! ·                  " ·     · ', '
                      Mr: ALLEN. Yes; artet' they Wf.'r e !iali.t'!tl, tb~r(I wns u reg1ilurarscn11l
                  ol 6r«1rms found'_in the Union Station in \\'11shinjjlon . ~ot on!' of             ••
               t.hem had I\ .criminal record'.                   ·•    ·
                   ?vlr. YINllON. Aro they on t rial no.~·~
                   Mr. ALL.EN . "fes.               "
'        '         Mr. V1NaoN. F<ir whnl'~ . ,
                  ·Mr. .ALL11s. !<'or m1rrder. .r        •
                , Mr. VtNllON, Wh~t is tho prn,11lty for .mU!'llrr in ~1a.ss11ch11scLts t
                   ~f.r. ALt!EN. \Ve io'v e tho 1lciath penalty.         •
                                                                 -      .
                       .
                        -                                                             r
                                                                                                    Exhibit A, Pg. 849
                                                                                                                                 ,
                                                                    •
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                                                     NATIOK.U, FIREAnJ\IS ACT                                           129
                      . l\lr. .\-~sox~ Thut is qoit-P n Sl'V1!rl' pennlt.v, nnd ,if 'they ntt' gliilty .
                    of t.hnt crime, s!X'ir.ty will not ht" numnct"d with them any longer. .
                    This Iii\,.. wonld not ntf<'ct thl'ir r011Clit ion on\'.
                        ~·lr. l\.EENAX'. Suppose thev nre 11cqoit.ted?                                 •
                        ~·fr. ALLEN. \Ve W('lrc fort1in11te in getting confossions from them.
                    Jt. is 11d111itted tl1n t that. whoie series of robberil's wns so cl!'ve1•Jy·
                    hrought nbout that wit hout their ndmissions: it would be a very
                    diflicul t thin!! to co1wict t.h!!m, \Yhn t we want to get, when we (ind,.
                "   n fi ren.rnr in the lmnds of n mun who is 11 g11nmnn or eriminnl; we do-
                    not \\;nnt toJvnit nntiJ he h ns beep con,·ided before you rnn reoeh him
                    for cnrrvin·g these wenpons.              ·                         .     ,
                        'fhf' CRAUIMAN. J:Vght t.lu>re, ~·011 would havC1 somcthinf? to hol1l
                    him on, until you m11dt• n f11rt h<'r ln\'estigntjon, if yon found bim with
                    firl'nrms, contrnr" to low?             ·    ,,            .            ·
                        1\1 r. ALLt:!';. yrs, sir; but 1f 'we rnn hove thl' right to rt>gister' runs,
                    60 thnt II nlnn who h os unregis!!'red {(\Ins ir. thereby ~uiJt.y of ii fo,onv,
                    vou or(" going to put,, in mv opinion, morfl gunmen nod gri.nsters in
                    ]11il thnn bv nnything thnt tlus conunit.tel' c11n do. 1 hn,'e rend the'
                    ot her bills b)· t.beDCJlorlrn!"nt of Jusficc, und I ngrce with thl' Att.omcy
                    General; in liis ·opinion, t.hn t this situnt-ion is not lnP.t b)· the oth<ir'.
                    liills.                             ··
                       ~Inny    lt\ticrs · hnvc been recf\i\'ed bv CongreSSl{um ; they have·
                    spoken to rile si.oet> I ceme ,to \\nshington. Many letters have bec.n
                    J't>ceh·cd from mt>n who ha,ce writt~n 11,; sportsmP.n , nnd article~ have·
                    ii ppeared in tht.' nrwspnpen; ";th TC?!lpt>et t9 hunting ht.>ing imperilod
                    just hecause Dillinger begs ii fow sh.eriffs. · I wnnt to r.nll the attention
                    of th e committee to the fiict thnt lettl'rs •1·cro sent ·out h_v the N.ntionnl
          \.'       Rifle A~s<>ciation of .<twerico, in· which i't wos stilted t.lmt the officers
                    in \Vnl'hingt~n wHI do itl~ tJwr <'nn. but ;that-                        ·
                       A pc~onnt letter ur tclcgrnm of yourself · nnd 11\'Cr)" sport•mnn in Alhericl\
                    objecting to the l>lll is uece88llty if l\'C,Jlre to wo.ge n dU CCC'asful light. ; With youf-
                    hclp WI) killed the Copclnnd bill, hut the eolmnittee t hinkK thi• 011e, H,.R. llO!il~
                    la goiug to be ho.rder to kill.
.•    I
                        Thl'n, in nnot-ht>r r6snn.H< of this hill, it wris sni<l ~hi\~ 'nil of the rl'-
                    stric tions whicn nre propoSf'd in Ho11se hill ~066,' nimed ot the pistol
                    11nd r1>Yoln·r 11re nlmost worthlrss, ns fnr 'ns proviclini? enyrc•n1 FNi<''ral
                    cbntrol of lirennns is concetnrd, thnt sll gun·s, shot~ms, 11nd, rillei',
                    ns ~"<'II ns pistols nncl nwolvl'ri;, mu;;t br 'in r,.lndrd ill' the Federnl
                    statutr.- if it is to.serYc Rny 11srfol p11rposr. . " lf not'inch1drd,_Ho11~ ,
                    bill !Hl!lG i.; not 'v-0rth tlie r•aper it. is prin\('{i on, fl;; n rrim('I p~ventivt"
                    mrnsur<'. JC they ore, inclndrd, t.he l1on<'st sport~nlQn in thi!l 'r mmtry
                    wilt ris<' 111> in nnns 11s 'th<'~' did over the 'C'opelnnd bill." lt is nl$0
                    11!1i<l tl111t th(I hill iRundoohtc-<11:1-· 1m-s1•nted in it~ presPnt form ; b<'t'ft11Kf'
                    tlwre . m·o frwt•r ownt".s of pisto)i; nnd rrvolvi'i"s .t hnn there Ill'<' of
 ••                 sllotJ?uns on•~ it is hoJ1NI in th11t wny to !!Ct. tho Jn)i· jlnsseil, ontl th11t
                    ()ll<'" on tho hoo~i:; tl.i<' :\ttm11ry CTeul'rnl cun g<i to tho nP:d C'ongrt'l'lt
                    nncl i;:1y tlint tlit• lirc•nrms hit! '1w1•ds 11 :-:light 11m1•mh1w11t !io· it c-1111 h1•
                    111mle to \nrh11I~ 011y fitl'Ol'lll nn<l th11t-                         :                   ·,        ;
                        'Fl•w C1l111<t'l'll!lmrn will lin''" lion~ fo nnlitu It 111111 wtthl1v11 ) '<'llr l\Ctc;t11e r•n~~p;u
                    of lfo11•u t.111 l)O!iO c•' rr,,; rrnr 111111 11ho~111111 O\\'llUf' it1 the rm111t.ry ll'HI flod hhn~dt
                    p1(yin~ 11 ~j1rcl11f t11x 1111<1 h111·!1111: 111tn•<•I( ll11ic1•rpri11tv1l nnll· pho(ol(rnpl.w•l for th;.•       r
                    l'cdcrnl fOll:n\·~ 11:nll\•ry V"cr.v 'U1111• Ii\• luoy• or """~ II !<'"' or""}' •!•·~rttptl1~11 -,
                       ~Ir. 1,111.1•. \\'bu i); !hn.t ,frou1'!                                                         ·
                                                                                                      Exhibit A, Pg. 850
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 130                         NA:r!ONAL l"InEARMS AC".!!
                                   - ..                                               .'
   Mr• .ALLEN. 'fhe author of the letter~ here, add it was .Ugned by
  the N ationnl Rifle .Association .of America,' home office Barr Build·
  ing,_Wnshington, D .C. _ .              ·      L
     Mr, C9ori:in. Who signqii elie letter?                .
     Mr. ALLEN. It is.signed ' 'Fratem11lly, National Rift.e A.ssoaia.Lion,
 c. n.     Lister, Secretary-Treasurer."                                      --
     Gentlemen, for 15 yen.rs I have Iollowed,-o-a beho.1.f of the Nntional
  Oritne. Coml}lission, the legislation in \\·bich we sought to . obtain '
  masonable regulation of firearms, and I wish ;to say to this committee
  that in all that 15 years I have never known tho American Bar Ass~                                I
· ciation, .the Coomussion on Uniform L.aws, tho National q~hne Com•
  mission, or· the Attorney General's Office lo ev-er suggest; the.t they
  ivere going to do 'just what it is said here tho Attorney General will
  slip over, and that b, reac}1 riOes aud shotguns.- It is not Aecessiuy;
  dtil rifle end shotgun are not c6ncealed weapons. I can sn;v tl\at ·I •
 'believe that· the good·Ct\ith of the Attorney Genero.l'sOffic:e is involved  -<'
  when it is said that this merely a stepping stone t.o inttwfcire \\ith the
 ~portsme.n'~ honest and prqper use of shotgo~ ancl ~rearms. -. .
     The press ~ease was sent out by the Nat1onal'•Rifle Association
  which caused news articles to be pul1lished'-Over .t he country, under •
  date of .April 30. That press release wa! sent out by the National
 "Rifili Association and it said, ·among .Other thlngs: ·
    B\lt the Attorney General .. ·• • has had inkoduced a bill wliinh & • •
11"ropoeea t.o give almost dictatoriil.1 control tQ an offi.cie.l of the Qovernment In
 W118hington whose tre.ining has·nothlng whatever to do with this phABe ·of gO\'lltl\•
1:i1ental activity.                                                           ·r t
    Gentlemen1 a.s a matter of fact p<>wer to enfonie this aet is gi\·cn to
.the s ,.cretarv of the Treasury and his nnder-offi cial, the Conuuissionel'
-of Internal Revenue.
   Mr. B.n.L. .Are you rending from the release? .                         .
   M.r. ALLEN. This is my statement. Their statement was that. it
was ~ing dict!'torial control to an official of the Governn1ent whose
 trnimng l1as nothin~ whatever to do with this phase of govern.mental
~etivity. I am -suying to !the committee that the Treasury Dep11.rt--
 r1tent is tnoto oap11ble and better experi~nc:ed in carrying out the p-ro-
-visions of this act than is any other department of the Government.,
 .All intenuil reve'*e laws are enlorced.lly revenue agents of tbe ',l'reas--
 urv Department. · All customs laws a1·e enforced by officials of thil                         .'
 Treasury Department. The regulation of narcotic dru{.rs is in this
 Department, and. so is the Secret Service. The 1nt1ans and methods
-0£ registration of dealer; and. individuals in connection v.rith occupa~
 tiohal ta.."es•nnd so.Jes ta.xes is properly and pecu1iarly within tho lmowl~·
 ~dge or this Department of tJte Oovo.rnmont.                         -
    The' ~ext statemont in ihis press release is:                   ·
   Under tho provisions of the ·sumflcrs bill pre11c11t ownero of the types of gu11a
 to whioh tho bill npplies would 111.vc to obt.a{rr tho lll'rmlsuion of tlunevcnue c.olluo·
 tor to 11hlp on.ell o. g1111 nnd rcgi~tllr their Sugcrpriut.8 nHd pliotogi>aphs und fl8Y
 • la".                •                                             .                     .
 This is o plain misstn.temont. ·Permission of tho revenue collcrcto.rs is
 not necessary either to ship, soil, or b uy a .flronm1. If a g\m upon
 which the t,r ansfer tu has not boon paid is ~hipped in interstate com·
 Jncrco it would be necessary to ohtoin a permit from any of the per-
 sons dcsignn.ted by tho Commissioner of Intiimn.l Revenue to iss11e
                                                                    Exhibit A, Pg. 851
 Jletmits, but "Such pN·ini~ miuit be g.r4ntcd to·ovei-yon11 if the proposed
                                                •
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                                      .NATIONAL :FIRRAllMB AC'l!                             131
            transportation is lawful. · IYiot-eover, pe'tsons · who sell or otherwise
            dispose. of a. gun are not required to regisWt' their fingerprints and
            photographs.                                             •
                1.ifr. VmsoN. You' say that under H.R.· 9066; you would not be
            required to make 'an application t.o the .Coinmissioner of Jntemal
            Revenue before .you couJa sell, o.s;;ign, traiisier, give away or other-
            'il<ise dispose of a firearm, except on application form issued•,in blank
            for 'that purpose by the Commissione.r of Tutemal· Revenu.,, and in
           ~noh applicatfon it would be necessary" for yon to be identified by
            mune,; addtes~, fingerprints, photograph, and suc11 other means of
           identification as may be prescribed.
                Mr. At."L»N. You make application to the Commissioner of.Tute:mal
            Reve.nue.               · l , 1.  , '                              :
     D          Mr. V1NBON. I 1mdersto·o<l you to say that the statement ll1 the
          _press relea&- wns inaccw·ate fo: regard to tbe photograph and finger.,
         '''printing, I nm ret~di.tig from the bill, which in section 4; ,eage 4,                        •
           which requireslou to make this applicat.ion and to be identified by
            ~rint,9 an : puotographs, so cert.a.inly the gentleman is in error
            when he says that· statement in the press release was inaccurate.
                Mr. ALLEN. The statemcBt said that permission must be obtained,
                Mr. V1NBON. That ·is what this says; 1t says it co.nnot be done- '
           ~cept io pureuance of a written order from the penon soeklng to obtain a1Jeb
          article, on an appl1011tion form i.5sued in blaflk for tllst purpose by the Commi&-
          sioner of loternal Revenue,
             Mr..ALLEN. The penni813ion runs to the Oonunissloner. That is
          true of most o'f the regulntions, where you make.applicat\on; you do
          uot make application to the local man.
             Then the press release said, "Under the bill, there is no right of
          appeal from the :d.ee~s\!)n. ~f the· Gonunissioner of Internal ·Revenue
          should the pamut be J't!fuse~." Tho1:!9 dl us who are ]a~ers know                              "
         J,hat there lS) of course( 0. nght or O,l)peel front the dec1s1on of the
          Commissioner in this case, just o.s there is in any other case where '
          tho'CommiSsioner is Selego.terl with o. discretionary power.         ·
             Theti the release snid "A citizen owning a gun before tl1e R.Cf. went
          into effect would be subject: to' artoiit, his·gun would be confisco.teCi
          and he· would \ave ·to ucc3pt the notoriety, pay the costs of legal4
..        counsel, nod lose the time from bis J:>usi..llcSs to prove to the satisfa:i-
          tiori of a. jury in •Fodernl Court .tbat- ·he hnd not obtnined the gnn
          ille1mll:v. II          r             '      .-   ', '
            The; onl.V' instance where n citizen owning a gun boforc the net
          went into effect would l:ie subject to arrest, and so forth, would be
          under th.c interstate '-n1nsport11tion provision if lie should be arrested
          for having transported the weapoo in interstate commerce end if it                         •
          should be proved that be hnd not been a resident of t.he Stnto for
          60 d.a ys . . Moreover, this.·presumpti9n· would not npply if be lutcl
          lawfully purchased the gun after the net went into effect. Even this
          proviRion· cont'.erning interstate triinsportntion without n permit hlls
          been removerl from the bill. 'l'hen it soys: ·                          , .
              Mr. Lister points t() the rank injlltil.icc the Sumners bill 1\'0nld ,impose 111>011
          farmers, ranchers, and borncstcad'c~o ·not livlr1g witbh• 11 r~Mb1111l>le dist1111eo oC
          an ill~rnal rovc1111e l>Or<JAo office. The bill provides that all purchasers or the
          flrn11rmu mentiont!d in the act be required to get 1111 order from luwwlil-rcveuue ,
          ag~uts !illoning a purchas(l h) be h1Adc.       ,              ,       • •          .
                                                                                  Exhibit A, Pg. 852
                             .,
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      The net merely pro\•ides tl10L before u gun can li.n purcba.eed n form
  must be filled out antl presented to the person who sells the weapon,
  These forms, ns well ~s the reventle stomps; will be o.vn~l~ble at 11ny
  post office or nt any mtemnl-revenue office, und quantities mny .b&
  obtaine·d by any shooting association or sporting-goods dealer by
  merely making the re9.uest.                              ·
      It further says, "Fmgerp;inting1 P.hotographl!l-~• ond the e~ellfb
  of a revenue-tax $t~mp are included m t.be pro\'1s1ons of the bill."
      Alt,hough a reven':'e-tax stamp is req11jre<I, trus 1~ress rel~llSe foils
  to state that the present tn.'< on the snle of lirearms Js.repeoled.          ·
      Mr. LEWIS. I have here the figures with respect to homiCides in
  the United States ail compared with other countries. For the year
  1928 there were 101050 homicides in t hl' United Stat.es; in France,
  520; in Germany, wit.h half of our popu!11t.ion, 1,264; in Gnmt Britnin,
  with one third of our pop\llation, 284; in Italy, 1,1.--ith ab(}llt one third
  of our population, 988.. The method of treatment in Great Brit11in
  of this small-arms subject is of interest to me and mAy be. to others
  who read the record. In England every person, with certain excep-
  tions, must have I\ fu'Oarms ~rtificote to purchnso, possess, uso, or
  ce.rry a firearm or ammunition. The term "firearms ", includes any
  lethal firearm, t.<fr other weapon of ·any description from which nny
  shot, bullet, or other missile can be dischl\l'ged, or any pl\l't thereof.
  1t does not include antiques or firearms possessed as trophies of an;v
  war, although no nmnmnition mav be purchnsed therefor. ·Amm11n1-
  t.ion is defined to be ammunition for suoh firearms, and it also includes
  grenades, bombs1 and similar missilea; the firearm cer~ficate is granted
• by the 'chlef of pollce in the. district in whir.h the applicant resides, if
. the po!ice ·officer i;i satisfied that the applicant h~ _good reason. for           •
  llC'l.ulrmg the certifie11.te, and that he cnn be pernuttcd to have the
  fire~.nn without dnngar to the public snfety, and u pon payment o£ a
  presc.-ibed ree, which is 5 powids for the first period of 3     years,  and
  il is n :newable every 3· years for 2·pounds 6 shillings. There is muc'h
  more to the statute, but that is sufficient t-0 set up the comparison l
  have in view as to homicides in OUl' country and in otber countries
  and ns to the character o! legislation Great Britoin has found it
  de11irable to enact in an endeavor to control this homicide tendenov.
    - Mr, ,A:LLEN. In tbnt connection, there u1·e two thin~s that will vei-v·
  greatly reduce tl1e .enormous number oi homicides m thil> countrf,
  I believe. one of t11e1n ls the. rl'gistrnt.ion of firearms. In EnglMd, as
  you soe, the provfaions are very severe, compared with what tbe
  Attorney Gener11l is s~ggesting in this bill.. In England, it is neatly
  $25 for tb6 first 3 ye11rs. The other mutter is a matter for the StRt.es. ·
  Wbcm y-0u can get a. provision that requires 48 hours or any grenter
  timo between the time when the tJllrSOn purchllStls ·the gun and tho
  time .when it is delivered, and that.is the lnw in numerous States 11ow,
  you thereby pre-vent a very lnrge number of suicides, voluntary homi-
   cid11s., bocnuse. in rnllDy, many suicides, where P.cople go 'n!'.ld buy n
  ~un, 1f there is i.. deJn,y o{ 1!8 bom'S boforo dolivory, tho msurnnce
   uompnnics say that it will greatly fossl'n tho number of suicides.
      Tho CHAlRMA.N. · We t,bnnk you, Gen:ersl, {01• your llfP!lDrl~:oco u.nd
   the testimony you h11ve gh•en ·tile committ~e. Got1(1.rl\ K<!onan, 11ow
   m.uch m ore t1me WO\lld yolt roctuire?               ·
   · ·Mr. KEENAN . . 'I ,viii no t require vocy inucb n101'0 ti'mo.
                                                                     Exhibit A, Pg. 853
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                                                                             133
       'l'he CnAtR~rA.'i. 1\ie will he.ve anot.her session. tomoJTO\V1 iC thnt iB "
   'j\gl'eon blo.                      .
       General REc&ono. Jn view ol the rending Into tho minutes of cer-
   tnln data which tmme from our office hr General ·Allen, 'rtiay I be                I I

   permit ted to extend my remarks by l;eading !nto the minute;s certa.in·
  otl1e.r datft.?          .                                                      ,
       The CBAJ RMAN. Without .o bjection, you ffil\Y do so. The Chair
   desires to state that we will have another SllSSion tomom>w, and it is
  our purpose to close tho hearings tomorrow.                   -"
       General RECKORD, We shall not need over an hour, unless the com-
   mittee takes up our time in ask;ng questions.                    .           ·
       M r .. Kl:l:NA.N . I.have a hrief statement 1 would like to mnke. at
   'this time, and tf111.t is, we haYe no desire to enter into a controversial
  subject. Each nnd every provision that has been submitt.00 to this
  committee has recP.ived study from the Department or Justice and
   the a{lptovnl of the Attorney ·General. In appearing before this
   comnuttee, at the very beginning, the Attonu.iy General stated that
   we were, to some extent, feeling our way about in attempting to
  grapple with a tremendously important. prohlem. We had sugges-
. tions from orie or the members of this committee with reference to the
   advisabjlity, if practical, of e. registration feature, I t was following
   his suggestion that we had a conference with the other branches of
   the Government. T would not ht1.ve the committee under the hn-
                                                                                      .     (

  prcssion that t he Departn1ent of Justice submitted o. bill· for this
  <iommit tee's consideration. without investigating, wi thin· the time
   permitted,, the ,x natters of law involved therein. For example, 'with
   reference ·OO t,he matter of registration of firearms; recourse was had
   to the practice followed under the Hamson Act which we have
  attempted to follow generally, in the taxation features. !fhere we.
  find that although the provision with reference to ~x.isting dnags was
  not specified in tbc act itself, regulations were promulgated by the
  Treasury Department which required certain memoranda to be
  inscribed a.s a record upon the artic.le 80ld, on the boxes and con-
   t11iners, whio~ the Treasury Department felt was o. reason able regu-
  lation looking toward the oollection of the tax 11pon the article.
       We have no d ooisions of the Supreme Court that we 'ti're able t.o
   find to guide us, but we believe the souno principle of law to be that
  ti. provision fo.r registration of all firearms would be constitut ional if
  it be attempted nnd considered to be a .rensonahlo regulation, and a
   rea.sonnble protective stet> taken by the lnw enforcement agency to
  coUcct the tax provided m tho.main body of the act . I may soy,
   from such inquiry os we have m ade, we have been unable to find tha t
   tb11t regulation has been nttaoked in any court of this country up to
   this timo, which afforded us some reason to believe that a sin1ilar
   regulation with l'cference to the registration. of firearws, might
   receive and probably will recci,·e offiCJal snnction as the exercise of
  constitut~onal pow~r, and wit~ ~he provi~on, if you plenso, that ~ur
   act proVldes that i1 My portion . thereof is Jound to be unco11st1t1)-
   tion11l1 it will not invalidate tho entire. act.         '              .
       Mr. VmsoN. There is <1uito n difference in the application· dt the
   U.w, as I see i t 1. to 0. firearm OO\V owned and posscssftd lc~ally, with
   roferenco ~ registrnt.ion, and tho power ~ cause rcgi'stri:t1on of D!e-.
   1irms ncqmrc<I sul1s<'q11ent to tha c1Tect1ve date of the act, which
                            ,.
                                                                   Exhibit A, Pg. 854
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                                                                                                        .

                                         NJl.'rIONAL FmEAR.MS ACT
                                         '                                                          '
                 compels the payment' of tho tnx; und0r your bill, you do riot require
                iutymentof the tftx on the firearm now possessed'?               .
                    Mr. KEENAN . That is right. I do not think we would have such \
                .power.
 I                  Mr. V1NSON, Your power 1mder the t.axing statute would apply to
                 those weapons, but I cannot see by any stretth of imnginatlon how
                you go back and apply the ·taxing.power as a basis for registration,
                 when there is no tax applied on those we11pons thitt nre now possessed
                and are required to be registered.
                    Mr. Kt:i:NAN. Of course, ull such firen.rms referred to in thiA a.et a.re
                 ta:iroble upon tro.nsfer. ·
                    Mr. Vmso-N. I understo.nd tho.t.
                    Mr. KEENAN. It might be that it would be hcild to bo constitutionnl,
                as o. proper provision t.o determine the identity and ownership of the
                firearm, so that when they were transfetred a proper check-1.lp could
                hm•.                                                             ·
                  Mr. VrnsoN. It might be you could require the tax on the transfer.
                What.I am speaking of is, under the taxing power, when you have to
                pay a d ollar for the transfer, that you r equire registration, ·and then 1
                cannot see how you use the taxing powe.r to reguire registration when .
                no tnx is involved.
                  Mr. KElilNAN. There is no ta'K involved then, but tltere would be1n
                the lut.ure.
                  Mr. VmsoN. If the registration applied ns of the time when the tn.K .
                accrued., there might be some argument. Ior it, but .f or the life of me,.
                seriously7l c-nnnot see how you ate going to use the taxing' power to
                require registrntion of an nrt.icle that does not req11ire the payment of
          ·:'   ·the· tax.     ·
                   Mr. HILL. Would it not be used in determining whether or not thu
I                po,rticulnr firearm was subject to the tax?
                   J\i.(r. KEENAN. '!'hat is the precise eoint.
                   Mr. YtN.soN. Th°"'doesnotdeternu.ne it; thnt is a fact ; .whetberthe
                tireo.rm is t~bl~   or not is 0. f act .- When you estu.blish tho.t" fact, if
                you do establish the fact thnt the man mmcd it before the effective
                date of the' act, then there is no tax. ·
                  ' Mr. KEENAN. Mr. Vinson, using the same analogy in connection
                wit.h t.he drugs, the Federal Government had a bsolutely no control
                over the drugs that existed at the time the Harrison Act been.me lnw.                   ,,
                    Mr. VINSON. Of course, .I t:hink there is quito a difference.
, ~  ..             Mr. KEENA~. ResJ.>ectfullY.o I 90 not sec t.he difference in the
                nnoJogy. They roqulI'e certttm things to he done under pennlty! but
,,              ypu do not hn.ve the matter subiect to taxation. Referrtng ngn n to
                the British la.w, they have no dilliculty; they do D.(lt have the same
                constitutional limitations nnd constitutionoJ questions that we have.
                I said thnt I would only tnke n. minute, nnd I do not wnnt to impose
                upon the committee, but tho point I nm trying to make· is ·we are
                struggling with n difticult problem, with limited powers of the Federnl
                Government. It Is what we believe to be n growing need fol' some
                                                                                                   .. .
                Fedeml legislation, and tho inspiration for which we l'oceivcd, not
                from buronuorn.tic membors of n centrnlfaed go\lernment, if such there
                be, .but from the inte'mnt.ionnl police ohids qf t.his country, tho lnrgest
                organization of its kind 1 whlch includes in its membership prnctionlly
                every police chief in tho c9untry.                            ·
                                                                                     Exhibit A, Pg. 855
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                                                                                                 .......
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                           NA3'l0NAL l'mEAIUIS ACT                     <
                                                                             185       ,,
     J.i:r. Yt~SoN. They did not·nskloJ' the l'Ogistro.tion ol \\·enpons?
     Mr. KEE.VAN. Tlley asked fo1· it ut tha hoginnin~. Tbe Attorney •
  General was inclined to believe that Uie snme thing could be 11rrivoo
  nt through using the tn.~ng power, uncler the sii.liis ta.\" provision
  nnd under the con1merco nud trnnspo1·tntion cl'auses, nnd it WB9 clue
  to tho sµggtist ion of regilitration mndo in this committee thnt we
 11.tt<m1pted to work out P:>met.hing whi'ch we respectfully still bc:ili.,vt•
  would hose -a good ch.once tAl po.ss the test. Ir it would not, it would
  not invnlidato the net in it~ antirety.
     Mr. VuvsoN. llow would you make thn.t t-Ost.? Unde.r the llln-
 gungo of the bill, how would ;-ou make the tAlst !
     Mr. Kt:E'NAN. I suppol!6 ~lw test would urrive, in ca.so u ulm1 pos-
 sessed n. firennn describe1.I in the net, 11.nd J>t'ior to the offe<'tive duto
 of tho net, be utternpted to trunsfe1.· it in 10 t.et-stnte ·c.omm1.wce; th fit.
  would bo one w11.y .                                        ,..
     Mt. VINSON. f thought you ngrced yes to.r<hLy·t hnt section 11 could               •
  \•ory well comeout.                                    .        .
     Mr. KEENAN. It could come out, b~cttuse ;. us I inte1·prct. t he aet,
  llny mon who is found in possessioJ) ofn firoorm after tbe 4 moniht1
 pcrfod, tl1ere would bu tt presumpliim &h1it. ho noquired it olter t.ho-
 etfecth·e date o:f the act . Tl1en, ii we attempt to apply the act, we
 hnve found the mon in possession of tho tironnn; it was not ideotiffod ;
 he did not have the 11tnrnp on it; then be would be subjert t<• Q.l'rest
 nnd indictment un1l when he clime before t he court you could, I sup-
 pose, test the sullicienoy of the indictment.
    ·i·Ir. VINSON. You luwe two propositions; you ·h ave a lioe d1·1Lwu
 as tct when he acquired it, W"ltether he ncciuil'ed it before or nfter tho
 effective dnte of t he act. lt mny bo constitutional; I howl not, o(
 roun;l.'.,in,·estignted 'it. 1•xha~1sth·ely. Jt. mny, ho cons_titution~I under
 tho tn.~'ln"" po~er, In make 1t nn offonso fo1· l11m t.o fail to register the
 wenpon a1tar the elfer.til"'~d1tt.e-of tho act. lt becomes a !net for tho
 j1Jry t-0 deterl'J)ine, \\:h11n J1e pl'Ol'Uted i.t. If ti.Icy sn:v _he is.gui!ty, the
 co1u·t.enn s11.y thnt lt wns en the bnsrs tlmt, hfl ncqwred it mter the
 elfoctivo dnte of tho o.ct. I connot see how y()ll 111·0 going to tt,st the
 4"onstitutionnlity ns it nffc.cts tl1c rogistrotfon or the weapon prior· to
  tbe effective dnto of the n.ct..                          ·     -·              ·
     Mt. }II.LL. I s tbet& ony gonernl penal provisivn in tho stututo thut.
  WOUid upply to ll fojlure to rogiste1• I\ Wl'f\pon 1 llllOCr tlie provisions
 ol this proposed nctT                                               ·
    1'-1r. KEENAN. Th(lro it> no genOTnl ponnl pro\'ision.
     Mr. HILL. Is thorc uny genornl lJCnol ~ll'OVision? .
     Mr. K l:l!NAN. Un<.101• the net, it is n(lt '' violation of the n<'L; tl111ro
 is no ponnlty provided, ond it .is not 11 violntion.                    -      ·
     Mr.1HtLL. Jn sorno c.:nst~s, where you rl.'.qui1·e n m11n to do .n crnrtnin
 thing, 'J1e ·mn_y bf' <•ovorecl nn\!c1· som"o g<mornl ponnl ptovision if he
 does not do it.
     Mr. KEEKAN. It is not i n this .act, os I intorprot it.
     Mr. HILL. J t. is cithru· t.rno ih11t. tho .ll'('dor11l G0Yorbm41n t hns tho
 pow(!r to rcquil'c it 01· jt 1locs not hu,·o the p11\rcr.                             •
     ~tr. hEENAK. Thnt is C'orroet .
     Mr. llit.L. ""hy clo you not 1111t soni l'thing ill'tllel'{' to enfn1·co thu t.
 lcgi81otion? ·
                                                                  Exhibit A, Pg. 856
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     136                     NATIONAL FlilEARMB AC'r
                                              •
                              '                                                    ,.
       MY. KEENAN. Renlly, whnt we uro after is the crook ,\·ho hns not
     regi~terecl, ntid wo do not bo)jevo he is ~oing to register. ·
            Mr. HILL. . Tbe law-abiding citizen. prob'a.bly might not register;
       what lll'e you going t-0 do if be does not regU!ter?
            Mr. KEENA~. lf· the ~w-abldi1_1g citizen does not register, nnd
      <foes .not got mto any kmd of difficulty that would cause• hun to
      oome to the notice of tho polico,.and there are not going to be snoop-
      ing squads going around. froi:n house to house to see wl10 ·does.,und
       who dolls hot possess nrrns; t11is is a pructicnl piece of legisliition.
           Mr. VrNBON. You get tho benefit undt1.r section 5, pnragrnpl1 (b),
      .in regnrd tQ the presumption.         .                                 ~
           Mr. KEENAN. The prcsumpt~on i;5 applied to ~he gangster. ,
           Mr. VtNSON. That"p resurnption ts there, but that does not touch
       the question of whether it is a good thing or a bad thing;"thut does
       not touch. the constitutional power. -       .                       .
           Mr. KEENA.N. It all comes to tliis point; I nm nhuost tempted to
     ·sny, even nt the eleventh hour, that it is quite evident there is o. good
      deal of difference o.f opinion in the committee ns to whether there
      abould be fingerprinting, or anything that tnight. be considered a
      burdensome regulation. I bope, if we are going to do nnything this
     ·session, it mi~ht be considered whether or not it will be prncticnl
       to .eliminate fingerprints, nnd -whether or not general registn~tion
    . would. receive more sympnthetfo he!lring fro]Il. s.~me m~mb~rs of the
      committee thnn nttemptmg to obl11m fingerprmtmg leg1slnt1on. We
      fool there Is n.n \lrgent.need to do .something. . Our prnctico.l experi-
      11nce causes us to believe that you are not going to solye the problein
       r.if the roving gnngster and apprehend him and put him a.way before
       he kills people il · you strike at the machine gun only, tbe crook
      is clever; he is enterprising and he is going bnck to his very effective
      Colt ancl other .45 automatics, if be is restricted.
      _ The CBAITIMAN. We will ndjpurn until 10 o'clock toll}orrow morn-
       mg.
            (Thoreupo11, nt 12:20· p.m. an adjournment wns lnkcn until      to·
      morrow, May 10, 1934 1 11t 10 11.m.)




I                                                                     Exhibit A, Pg. 857
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                              .-
                              NATIONAL -FIREARMS. ACT

                                  WBDNBSDAY, MAY 161 1934

                                      · · . Hou.sE OF REPRESF.NTATtvEa;
                                           CoMMI'M'EE ON WAYS ANO MEANS,
                                                            ·           H'asM11¢cm, D:O.
         Tho committee mot at IO u..m., Hon. Samuel B. Hill presiding.
         Mr. Uu.r.. General Record, you mnJ'.procecd with your witnesses,
      either yourself or anyone else you mn.y dcsignnte.
         Genernl REcKORD. Congressman Hill, wo would like· this morning
      to have the committee henr Mr. Imlny, who is nn nttorney. wit.11
      offices in the District. of Columbia, and who hns lind long cxpc.rienco
      with t110 matter of firhnrms lcgislntioo o.s a memlicr of the American
      Bnr Association. His experience is s\tl!h that we believe he can
      bring out some point.'! in connection With this proposed legislation
      wJ1ich lrn.vo not been brought out up to this time.
                                  .
      - Mr. Hn.1 •. The committee 'will be very glnd to hoar·.Mr. Imlay.
           STATEMENT OF CHARLES V. IMLAY, $ASHINGTON,
                                           ...        D.C•
       Mr. IMLAY. I appreciate tho privilege of making a statement thi£J
      morning, but pJcii.se let rne·nsk yom· indulgence, however, because or
      a cold tl111t has somewlu1t interfered with my hearing p1u:isnge.s, and
      if you wiU bear with me and let me mnke my s tntoment, I shall be·
    . - glad to answer nny q_uestions then.
            Mr. HtLL. Please givo' your name, nddrnss 1 and the cnpacity iu
         which you nppQar.                                                      ·
         , Mr. IMLAY. My nnme is ChnrJes V. Imlay; my profession is
       · attorney at Jo.w, and my studv of firearms legislation liu.s. been in·
         connection wibb my membership         u1   the National Conierenecof Com-
        missioners on Uniform. Stnte '. Lnws. TJint ·corifuronce is composed
         of two or more roprescntn.tives Crom oach of the vnrious States, which
         meets o.nnul\Uy_under tho name of the National Conference of Com-
         missioners on Uniform Stnte Laws, nnd it bns been cngngcd for some·
         45 :yen.rs in prepn:ring nnd recommending to tho Sto.tos for adoption,
         vnr1ous uniform Stnw laws: Jt is nffilinf.lid with tho Americnn Bor
         Association, although 'distinct from it, and the American ·nar Asso~
         ciation functions-through it, recoiving Crom it, in tho first inatnnco~
         before it nets upon them, nny proposed unifom1 Strito laws.                   ·
             My membol'$f1iJ> in thot r.011£crc1ieo wns f,ho occni'lion for my gl''ing '
         11 i;tudv, w'hi(.'h hn.s.11ow lasted for some 11 or I 2 yon.rs, on this sub:.
         jc~t or firl!llTlllS Jcgislntion . \'\'Jion WC hc~nn ·thnt study SOmo l J.
        yenrs ngo ,\,e were t.old thnt it wns iJnpo~siblei tha.t there could bo no
    , such thing us Ii uniform fire11nns law; that wo would fail just as tl10
                          '   I                •    '   '       •   •         Exhibit
                                                                                137 ' A,
                                                                                      ' Pg. 858
                                      ••
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  -0onrerence llRcl foiled in' n uniform divor('o l11w. It$ conspi1•uo11s sur-
   <1eSs with the l"Ommercinl 1wts is known t.o everyhody; hut when we
   app,mnched tho mntter we sought first to find just \Wrnt the e!l.isting
   lnws in the vnrious StRtcs nre on firearms legislation, 7md we ·round
   thllt ~tis n n~ut,tcr iri whir.h St11te control hal'I progressed_ t.11 complete-.
   ness 1n f>l'llCtl<'Rlly nll of the. Stiites, 1rnd 'we fmlnci thnt it hns nlw-ityR
   heen nssumcd thnt it wns n 1nnt'tor of Stnte regulntion, ns distinguished
  from Fodernl regulntiou.                                                         "
      Tho .t~nditionn.I fotm or fil·o.11riW\ log,i11la!Jion lit1R hecn to. TCC~gnl~e
   tho ~cg1·t11niH"Y of the po&se'is1on of t•1>1·tn111 well.pons, to forbid tho
   carryiug of ron('~enled wenpnns, nnd in those States in whi!·h progr~s
   had hoon mnde in the way o{ re1wl11tinn, the efTcJJ't hnd bren made·to
   follo'\r doi<ely the iclentity of wenpons nnd tho•itlcntity of purchnsern,
 , and tnldng those n.o; the h11sre, this nnifo1·111 firennns 1ll·t wh.ifh h1\s
   been referred to 11 good ninny t1mc1', 111111 which I in trodm·ed i11 t.hc
   record when l first spoke here 2 weeks 11go, wns ·passed to emhor!y
   those f eat111·es.                        ·                                  .'   ''
      Now, Mr. Alll.'n, who spoke ut co11sidcrahle length yesterday nnd
  tile day before, t>rou~ht to .your attention the work ,tl111t was done hy
   the Natio1111l Crime Com11ussion, and he told you how the NationnJ. ·
   Crime ConuniS&ion took 11p t1Jis work, but I am not sure tbRt Mr.
  Allr.n emphasized the feet t11at the N ntional Crime Commission in its
   work p roceeded on the theory of 11 St11t(I law nnd State control and
  State re!!ulntion. .\Ve neve;r' hoard from the Crime Con\rnission in
  the direction of n. Peder11l lnw. • \re woTked with the Crime Commis-
  sion, and when this nnifo1·m net that is. spnken of was first passed by
  the Nntionnl Conference, 11pprovcd hy the.bn.r association in Denver,·
  in 1926, when it wn.s reoalled from the legislo:ture, it was not; as 1-ifr.
  Allen says, ~E'Ct1use it rcct>i,~e1' u.ni\•t•rsnl oppo~itio_u; it WllS heeau~e
  the11ew pre::11dent of the Amencan hnr a..<\Soc1ation requested t hat 1t
  he withdrawn for further C1onsidrr11tion. The Jnet o! thr. matter wns
  that'. t.h~ onlv opposition thM. ~or(l~ from it wns the. opposite of the. :
  oppos1t1on thnt Mr. Alle.n pomtcd out. The Governor of .Arir.nna .
  thou~ht it wos   too      dl'ltstic, >tncl thnt is the pecnlinrlY c10ntrovcrsi11l
  nature of oil firc11rins rogulat,ion. One mnn will tell yp11 it L'} too ·
  drnstio nn<I ont~ wiH tell _you it is too Jihrrnl.                          •. _.
      Whot t.lw Nntionnl Cri111e Commission sought to do in their droJt·
 .of n prOJlO!l'Nl uniform net wn.s to t.nke the uniform· ne t, thu.t ltnd r.onio
  out of tlw Nut.io1111I Conferrnr.(' 11nd the Rnr As::ioolotio1i'; t11ko i~ .          I'
   provis!ons nlmost 95 pel'Cet~t i11 toto, tH1;d then incorporate jn.1t tho· ·
   New 1011k theory of the.SuJltvnn Low, which, i;o for·ns I know, hM mot
·:llOCCJJtifnce i.n only tlrrco or fo11r Stntlls or tho Union-Kew Jersoy1 ·
 .M'1lsanchusetts, nnd probo.hly one or tAl'O others. · Th9y proposed n
 .State lnw, 11nd thh1 is tho first timo in the prcsontntion of this bill '
  ·before this committee, that nnvon{I hna ever sought to st\Y thnt this
   vrry difrlcult. m11tt<>r could ha iumdlP.d by Fed11rt1l lnw, 1m1t with nll
 'deferenoo to ilia Attorney. Ornernl Md Jue oble nssistRnt; nnd to Mr\
   Allen, and to 11.ll otl1ers 'Who hnvo nd voclltcd, U1is propQS(\d Fedoral
  lnw! I ~isl1 to sny Ut!1t my <ixy>e_ri~nee of .11 yonrs in Hui..study of t11is .
   svbJOCt nutlrns me tlunk thn.t it 1s impoiunblc tn regulate 1t hy Ft1dtlrnl 1
lnw.                                                           .     •
    First of all, Mr. Keontln says that he htlB the analogy of tho Hnrri-
·son ~ct, and that: that e.1~illogy is verv elo!IO. I Wft~ looking OV(lt the
 ;Ilarnson Ac.t agllln Inst night, to Yct1fy aome of m,y study of tha• sub- A, Pg. 859
                                                                    Exhibit
                                                                     •   ..      •
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                                        NATIO~Ab     FlREARi\LS J.\CT                        139
             ject.      'l'h'o Hntrison Act nttl.'mpts t,o· set up a syst1om ol Hconsing
              da11lers, oud then o. systom by which p1u·cbnsos from denlars nre made
              by mo11ru. of an order which establishes identification,, but when we
              havu f-0und that llS tho nnnlogy, then the annlogy stops, beenuse when
             JOU ge.t by the dealer who purchases from the mnnulacturer; we will
             1'ny, ns you get clown t9 th(I patient, tho patient docs not get the drug
             fln nn order but he gets thr. drug bcctw\\o his physician pr~cribes it
              for him, nnd you have, therefore, nn entirclv diffeiient s1t!>ject matter.
                 I ( you were to try to fo1d exact. 1malol{y botwet'n t,he Harrison Act
              n.nd its systom ~f regulntion 1md npply 1t ~o ftr~n1·ms regnlotion1 you
              would have to mtrocluc·e a aecond story rn thi.q structure, nnct you
              would have to find 1\ place whore n pnrtic1tlar potentnto, liken doctor
              of n1e<liciue, sn&s, ''Now, having satisfied tho law in the pu.rohase
             of o. firearm , I lln1 U1e dispcnc;N i I nm going to dispense tho firearm to
             A and Band C ilnd D ''1 an<i so forth, so thnt the normnl nr.coi;sity for
             ~ho J)OS$0SSi(m of tne:pistol-<'·f!Il bo S~tisfiod by liOffit'\bOdj thllt l\dmin-
             1stors ~ho law according to !us ;:;upr.nor knowledge.
                 'l'nkiog thll l'l'g11ln.tio11 . ~1 . the Harri;;on Ar.t, as far its it goes, it
             sturtecl out ln 19i.4 1u11lor co11ditio11s where there. wns. no Cully devel-
             oped -State regula tion in existo11co i11 tbia country,'1md f,he 011'Pelience
             from 1914 to elute, over t.l1e period of 20· years, hos demonstrated the
            ·! act thnt i.t does not succeed by itsoU.uucl tti11.t it cannot S\IC<'COO by
             1tsel.(, 1-..nd tha.t was demonstrnted so '1tlly some 5 or 6 yf!llts ago to
             t.ho 1>ffici11ls of th~ Ruroa.u nf N!\fl'(ltfo~ in the T1·ens11ry Department. .
              ~ha~ they Co\lnd. it necos~nr,.v to form11lnto nnd propose a so-called
             " uniform nu1·cnt1c drug net• for the States, and thnt so-called ''nnr·
             cotic dn!g 1rnt" for11111l11ted hy them/or tho Stntos, 'Yl\S brought l1efore
             1he Nntionnl Conforon<'e of C mnm1ssionera on Umform State Lnws,
             by them promulgntcd, 1\J>proved hy the IlRr Assol'iution nt its meot.-
             ing in this ('ity 2 ,ye11rs 11gc), in 1?8Z, rccotnmonded to the St11t01;, nnd
             thus far has bee1\ 11doptod hy eight Stntes in the short period fram
             1932 to dnt,c, 11.nd is on the po.int of be\ng ach)ptl.'d by one <W two others;
             n.nd I ven~urc to 1we1Hct th11t within 2 more yenrs h will ·l)o tho Jnw
             o[ 1wnctic11lly every j11ri!l<lictlon in the United Stutes, whirh mcnns,
             T snhmit, th11t the H11rrison Nnrcotic A(·t, o 1"C1dornl 11rt, by itself
             cnnnot suuccod hut must depoud upon n rigid, <'!11't'ful. 1111d con-
             $c.ientious enfor<'emcnt of a Stnte l11w on the 1111hjeet.
                 Tho rcnson why you cnn 11rlminister n Stt1tn Jo,\., nnd t his proposed
      ,.    .r1nrcotic 1tcL do!'~ i11 fo<1t duplicoto the pl'oviiiions of tho Hu.rnson Act/
           · is t111~t. your lllOthod of <111forcemcnt is 1mm!'dillte nnd in thr, hnnds o
             dti11('ns Utnt 11r1• 1-i<Jllt. then' to do it., nncl suppnrt11d by tho public
             s~11t.imo11~ of 1\ll f.l1f.' people in th() eommunity.
.',              Some mci1tio.11 wns m•1d~ yestrrd11y nncl tho d11y hc>for<' 11bo11t
             fls11ctulo.tl 1s liceusos. ThCI hshet·n111n'R liconsc l111s bl•1m enforced so
              well ng11irrnt nourcsidctf't:; hcc1111st1 tlto nonresi(IC111t is 1.1 bri~ht ond
             !!hining mr11·J; wJ1c11 he comes to llsh in tho i;trrnm or lnko or n com·
             munity. · J wont 2 Vl'fll'!\ ogo int.() tho oxtrN110 so11tl1wostom <:ounty
             of your St..11to, .M r. Chnir1111111 1 111111 thoro In t.J111t ht>o11tif11l Lnk(1 Snn-
              beol1d1 l fished, 111Hl whoo 1 got Ill~ licuni<o to llsh, hcco use T trind to
             obey tho l11w of tho Stnt<', <'Xp!ms1vt1 us it wns, l httd to pny $5 to
              fo1h for one d11y, nnd I did not c11tch nnv tis)\, Jt is nov• 25 cO'nte.
                 '.I'ho 0HA111 ~!M'1. Yo \! 1\1ill hnvo to go buck 11omo time one! get your
              $fi worth .
              •
                                                                                Exhibit A, Pg. 860
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                           •
            Mr. htL,\Y. Wbnt 1 did was to go to t.lu.1 country store lllld t.horc:t
         tbe keeper of the storo gnvo men receipt for my $5 ond tlte additional
         ~O cent.s which ~he United Stintcs chnrges me, .ond he gin-e mo a r~ojpt ; _
     I m t he name of the game wurden.                                       ·
    '/ ,· Let us imagine thot you would a t tempt here to erect a o«tio1111l
   / fishing-license system, and you- would get that same stort1keeper to
         administer it for you. Yon wollid have an t>Xnct. duplicate of whnt · ·
        you are teying to do here, in saying that. alongside of the syswrn oC
         regulations in the St.ates that now exists, with roference to firenffllS,
         n fU'Slem of r~tion which lia.s gained ground. under the influence of
-•       the uniform act. whir.h requires an application that fullY .identifies the
         applice.n't and that fumislic!l to tho police tLo information as to who it
         is that is applying for the pi!ltol nnd requires the lapse of- 4~ hours
         before the pistol can be _got. Now, let us suppose that we erect nn
I
I
         en tirely different and distinct system of. regulation by the . Upited
        Statos. .According to sections 3 and 4 here, in which we· haw the
        deo.Jer liccn.se, in whioh we provide for the order and for ·t he st11mps,
         are we going to nsk the St.ates t o wiihdraw?
            When the Volst.ead A.et began to be unpopular and irksome, aoru&
        or the States withdrew State control, and· I bclie"'e said somewhat
        hypocritically that they were withdm\ring State control bccn,use
        .Federal control was suffi<'ient.. Now, I venture to say'thatif you were
         to erect an elabonto system of United States or Feelers.I control like
         th.is, eit~ier yo11 are fomg to ho,ve .~ troubfosome duplication _of State
        and national cont.ro or you nre gowg to ask the State to W'lthdra.w.
         N<,>wt jf yo11 get a picture of this form of regulation, you can see just
        what it means. &et.ion 4 of the net--                    ·
            Mr. B1LL. Of the original net or the red.raft?                 ·
            M.r. }MJ;A'1._ I nm &peAkixu? of the revised draft. Section 4 of t.hl)
        l'Ovised draft says thnt i~ shall b.e unlawful Cur 3ny person to transfer a.
         firoorm except in pursuance ot a written ordot from the person sccl<lng
         to obtain such article, oo 8ll application fr>rm issued in blank, in
        duplicate, !or that purpose by the commiwiloner. In one of theso
         remote counties of wl1ich we were speaking a momen t ago, let Ut>
         lmaipne two householctcrs sit!lated close by; let us ~agine one o f them
        commg to the other·o.nd nskmg for n perfectly leg1tmtp.te purpose tllo
        loan of a riil.e or a shotgun. Those are not affet\tOO by this act, but let
         ue suppose thaL he asks for tho loan of ti pistol, which, I boliove, is
         recogmzild as perfectly legitimM.e when it Is lcept by a.hoasobolder in
        hia house. The owMr will naturally loo.n ;~to 11im, fltld if ho tokes it
         mllis band he is violating the FederoJ law hccruJBO he has not t11e
         ordtl'r lllid·tbe stomps, n.nd I.he pistol hni.t t>r.cn trl\osferr-ed, becaueQ, if
         you look back nt the definition of th e word "trnnsfor" you will find
         that itmetms .to sell, to leuse, td Joan; end yon luivo n man com11,1itting
   ·, , I\ crimo by a perfectly nntur1il, normal !\Ct of l.iorrowing a pistol !ron1
         his neighbor.                   , - ·                 .           . .   ·
       - Mr. 1'11EADWAY. "\.Vould you mind' o.n iotol'rA1pt.ion? "'
             Mr. h.1.LAY: No,
            Mr. Tnl:ADWAY. T110 rtnson I want to intcl'tnpt the.re w11s to seo
         whct~1er you are st1111ting wjtb n good promise i-n tl1ot you sny tl111t,lt
         this neighbor went to nn ndf1>ining hmiso it would be natural t.hot tho
         owner of the pist.ol sbould loan .it to him: .A11 ~ neigbb >rty act, tbnt
         i~ truo 1 \)ut have you not ovorlooked the (net thnt if I.ho noighbo'r l1116"
            . pistol. in his poseeaaion, if this bill sl1011ld become Jo.w, ho mu11t,
        .th1Lt                                                             Exhibit A, Pg. 861
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   umlt•r the conditions under wbieh he 1111!1 lt1 ha.vo it nigistcrcd. ln
   olLor words, this fart o! registration woulcJ bt' obsolu oo knowlcd~l\ to
   hi111 whereby he sliould sco that he should get in line with rcsprr.t to
   thnt pistol. Do 1 make myself clcnr?
        Mr, IMLAY . Yes, your s tnt.€-ment is rlcnr. ·
       1\llr. TREADWAY . \Vhl\t. is your reoetion ro that viewpoint?
        Mr. J~1i.Av. Yoµr stntcmont is clear, but. yet ir "'e assume thn.t. it
   w1111 registered or w1ls not registered, whether it is rc.,"1.stercd or not,
   tlao Joi.Ill of it under those c:ircumst.n.nceJ:J i~ ll violaltion of tho la.w.
       Mr. TnEAZ>WAY. ;i\hsolut~ly.
        ~.fr. IMLAY. And iyou have p-reciscly the snmo unhappy conditinn
   thnt you bnd under,the Volst"'nd Act., where Lic1uors v.•ere eantrulmtld,
   mul where :my trnnsfer of the liquor neccs!\itntes cit.her Ii \tiolntion of
   th9 lnw or a very ~Jnhoroto system of °"fionnge ond c-ont.rol.
       l hnd occo.pion nbout 2 years ago to sol t\. drug store in this District
   nt public auction, and wo 11Ad o,·fow quarts of gin llild n few quarts of            •
 . wl11sky in tha.t drt1g s\.Qrl). Three or four inspectqrs from the Pro-               •
   hibition Unit were tl1orc•, 11nd thoy were nii t~nder about th11t gin and
   whisky ns u. mother would be about. a 2-week--0ld infant. They
   stood around for houN, and they finally ro\ieved us of embnrre.ssmcnt
   hy tnking it to tl1o st.or11go rooms of the Prohibition l .Tnit. You h11vo
   sot. up n system of Ferfornl espionngo, Fed11r11l visitation, and yon hrwo
   mnclo 11 crimionl bI 11 mnn wl10 borrows n. pistol of his nei~hbor, unless.
   ho ~oos through/ thi'l system. Even und~r tho most rigid system of
   lic1•nsing 1iutompbiles or titling autornobile!i, thcro is no difficulty in
   borrowing an automobilo. ·1c tho analo~ of· the nutomobilc-titlo
   3ystem is sound, then this system of rcgislrntion ought to be plinblo
   enough to i;et awo.y from the necessity of violnting the law 'if you hnnd
   I\ mnn 11 p1Stol to exnmine und givo his opinion on.
       ~fr. ~fcConKACK. From n pmct.ical angle, do you plnce pistols IUld
   l\llt..omobiles in1the some category? Let u.s get nt this from a. practical
   point. oI ''icw. Lookini nt. it. from u practical standpoint. do you put
   n g ull and o.n automobile in I.he sumo category, lllld do you put a t;\m
   ond liquor in the i;o.me category?
       Mr. bn.Av.1No ; f.. rlo not. I· think tho pm is n dangerous in11lr11-
   mon t.
        Mr. M cCoaM.\Clt Jt is inherently d11ngc.rous, ici it n nt 'l A gun is
   J•llll(<'rous from the be.ginning. is it not?
        Mr. htLA\'. J.\ ~irn 111 don~etoits; u pi... tvl is ilnngerons. I do not
   wnn t. to give U\o conunit.tco the in1pr6!;."lion tJml I nm r11t,M 011 lhiA
   11\1hjr.c t. in either dlrnct.ion.
       Mr. ~1~0RMAC'lt. I lllll not convoying my state of mind. ~f\'
   11t.oto of mind is npcn; { wnnt, to listen IA\ rill Lhe evidence nncl I w11uftl
   liko to ~ct your stnto 11{ mind ns to whoth<'r o'r not you wont. mo, os
   11 m1Jmbcr of this rommitt.•c, fio scrinrn;ly c•m1sidcr the nrg11111011 t t.1111 t
   ~1111s and automohilc:s nre i11 tho sn1nt' 1•11tcgory, so rnr ns horrowinc
   1, Cl)Occm<'d, frnm o procticol nnglo. 'iVo will nhminate the thMrrtirnl
     ido.
        Mr. hlt.A Y. Prnrticnllv, harrowing n (llllll'I is more dnngero1111 thnn
   borrowio ao A\l toniol>ilo.                     •
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                                                                   Exhibit A, Pg. 862
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         11 gun; woulf! you loan it
         would Joan an automobile?
                                      J
                                      me ·,vith tbe samestote or mind thot
                                                         -
                                                                               y~u
           Mr. IMLAY. If I knew1you.
     '     Mr. M cCoRMAOJ(. You nro n romnrkoblo man. I would not loan
         a gun to tny best.frien /without an explanation froiu him as to what
         he wanted it (or.                                                 · ·
           Mr. hU...\Y. I will ti d that qualiftcntion; I will go 11long with you
         on that qnnlificntfon, hat l would want. to know wlrnt be wanted
         it for.
            ~1r. McConMACK. And thPrc would be a lot of other nwntBl
         st-ring:; Bttnehed to t c loM of tbo gun.        .     ·    .
            1v[r. bn-16 ,._ Yes.
             Mr. ?vfcCon:!>tAC We arc bumnn beinr;i;, nnd l t hi nk we arc pr11c·-
         .ticnl men. Taki~ tho angle of prohibition which yo11 spoke about.
         Y 011 talk11d abo t the public i;tate of mind. You t1d<lrcssod t,hat
         argnmt:>.nt to thteornmittee to indiente the puf>lic. state of otind \Vitia
         referenc.c t.o r> hibit.ion and the fort Lhnt theore.tir.nlly, under this
         bill, the same ouditions n1ight o~t.. That is the purpose of your
         argument?                         ,1  '
             ~[r. IMLAl". 1Yes; that is it.
             ~fr. McColQIACK. It nil rests itpon wh11t tho 1>11blit s tnte of nrind
         was and might be'?            •'.                                 •
           Mr. IMLAY. Yes..
--          Mr. 1\i[cCORMACK. Do you think the public si11t e or mind would
         he the some with reference to regulnting the si1le, or eli:minn ting the
         sale or transfer for a consideration for commercinl pUlposes of fire-
         anns, n:; t hat whic{t revolted agninst whut l on mnny occasions lerm~d
         the in1J>racticnl inequities of prohibition?              · "
            MrflMLAi. I do. I think the public state of mind will be the
         satne.                                                  •
            Mr. McConMACK. You think t1H1t 11 us nn .ttvernge citizen, "when
         I rend in the pttper of sornebody borrowing a gun irom "Jo'm Jon('s ",
         of his being arrested hecnuse ho hnd n ot eolnplied \nth I.he lim·, that
         I nm going to have tJint snme feeling of ~-evolb that I l11td when the
         prohibition ltiw wns on the statui.e hooks'
            Mr. .IMLAY. 1 nm not suie thu.t you individually will h ttve.
            Mr. McConMACK. I nm t nlking ubout the average mun.
            Mr. IMLAY. 1 am· sure.the nvcruge J1\an will.
            Mr. McCon111AcK. Thnt is nll 1 consider myself, the nvero~e ml'ln . .
             Mr. hlLAY. I think when you get int.o thnt remote county of North
         Carolina, or you get into n rl'motc county o( any othcr Stntc, you nrc
         going to find thnt feeling.
             Mr. M cCORMACK. Prohibition nevt•r bothered Nol'th Cllrolinu or
         nn,y other of those State,s. They hnd their liquor nll during prohibi-
          tion, nlthot1gl1 it bothered certnin other sections of the. c01111try.
         Those thin1::.rs have n prn.cticnl wny of ndjusting themselves.
             Mr, IMLAY. When you got into tho r cJnotc sections of nny one of
         our ~tnt.M, you nro gomg to fin(l ti great Rvorsion ~o the Oovenunont'e
         commg m there nnd controlhn~ them on those tlu.ngs.
             Mr. McConM.ACK. Agnin, to get your stntc of rcili1d', nro you op-
          posed to nny kind of Fcdorol regulation of firenrms?         ·
             Mr. lvt.Ar.' I nm O{>Jlosud to Federal regulation of fir<1nr1m1 , othnr
          than n fom1 of rcgulnt1on that stops where the Munn Act·&tof>s.
                                                                            Exhibit A, Pg. 863
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                                      • N'ATIONAJ'.. l"IDEARMS AC'I'
                                          '   .'                                        143:/.
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            '                 .. -#

                .\!fr. ~·lcCoRMACK. I anf not nrguiug with you: Do not think
         • becnuse 1 ask questions, that I nm arguing with you. ,1 want to get
            yotu' stnte of• mind to· the extent thiit it will eno.ble me to obto.in
            -0viden.ce so tbnt I mo.y form nz1        o inion. You nre not 'opposing ,n. .,..
            regulnt.ion of some'kind?              ·       · ,                '
                )f'r. }MLA Y. I nm not oppose t,o u. !011111 of Federal reg1ilntion thnti
            stops whe1·e the Mnnn Act stops, confining itself to int~rstnte com-·
           'merqe, o~· w!:ich goes' as (ar ns some of the acts passed in the Stnte
            proliihition history, whi.<ih were in nid of the State1 nn act which
            would 11111ke it unlnwfol t.o t)'n'nsport W<'npons thnt wpuld· be in
            \'iolntion of Stn.te lnws on the subject.                 "       ·               :
            · Mtiy I r<1fer for ti m<>ment to".the umtter of r1:~sll'11t.h~n, because
            r •do not. w11nt t-0 to.kc too much tune. I ho.ve set torth some of ·these
            viows in th£> record, in thatie ttrticles whit'h I hod printed there. '
               Stlction 5 provides for (t regist.rntion 11( these types or w-enpons,
           iuducllng revolvers. Now·, •if we were to nssullle 'tho.t everybody in
            thl' United Stl\tes would come ,for\rnrd nnd register his weapon, l
           wo11ld·s11r J!O to it, nnd l would be w.ith this legislution heart ttnd soul .
            I n.m .n1't hl!Hiatecf witb tho Nationul Rifle Associution ond l nn1 not
     • · ullilinted· ":i th the nrms mnuuflicturers. I hnve never hn.d o. i'etn.iner
          .from u.ny or them. 'I nm not affiliated with nny orgnnizo.tion on this
          -subjert: On the other band, l ttpl cormected \vitll this organization ·.
            wrnrh, in. I\.. disit;iterestecl \Vnyk~.~9 ~o~ght to, le11rn whnt th~ .State law
           on the ·s11b1ect JS, 11nd t.O loo ..nt 1t 1mpnrtllllly from a d1S1nterested
      - - stit!ldp'Oint or formulating n.nd t'ec~mmending· to the $tates ll uniform..
           litw on thr subject., nnrl \ve looked 'ut this mntter or firearms regi~trll• •
            tion, nnd we considered"itrvety cnrefUlly .
               •-\n 0 tht>r o.n e of the things thnt surprised me in ~fr. Allen's state-
            ment is thnt he ndvocntccl this registmtiou pl'O\"ision1 bceliuse the
           dr11rt of 11 proposed IBW fol'lnulll't ed by the Nntiounl e 1•ime Commis-
           sion did not contain nny regiRtr1ttion featur'-0 1 imd I looked ut the
··        '<Lrnft of th'e net Inst nigbt agoin to veri'fy tlrnt t11ct. The nrst time I
         ·ever h£>n.rd Mr. Allen,. nnd I lit\ VO hen.rd bim for o. good mnny yco.rs
           sny 11nyt.hin0' about registration w11s when he stood here 1111d tn.lked '
            to ,vou gt•ntlemen about reglstr:11tio11 nm! tnlkcd of it ·,LS something
            wlucli, in · the words of St. Po.ul, wns I\ thing to ho l1oped fo.-. In
           other. words, everybody is not going to co1110 forwnrd 11nd 11egist.er his
           1m11. We 11ope tlmt some of tliem will, so WI.' incorpomte section no.
           5 wlthout 11ny penalty attached to it, nnd w0 bop<1 thnt more n.ncl •
            mo1·~ of them will come· forwn.rd 1mtl register their guns, ·s o tlmt us
           cncb ye11r rolls by we will hllvc more 11nd lnore registered gi1hs. · ·
               :\fr. V1Nsor-:. \\i'hnt is the pu rpose of the registrutiou of the ·g1m11
          now owned?                  -
                Mi:· lMLA)·. The p111'Jl0S!'l or rcgi:itrnlhtn ia, tu.tl10it ·minds, frymkly,
          ii pohl'e meosuro.     ·                               . ·     · ·    , ·' •.
              Mr. VJ.NsoN. Whut · would it effect11nte? Thn J·egistr11tion is for
          t.l1e purpose. of dctormining ownership, nnd the time when the party
          owns it. ln othor wordH, thoir dnim is. with regur~ to registerin~
          rcvoh·ers nncJ pistols now owned tlll\t if they catch 1\ m11n with a
          pi'3t10J nnd it is not registered, it is l1ard for t hem to dotenniue whether
          i t wns nt·quired subsequent to th<I olffccth·e dnte ()( tho act or prior
          thereto. Do not 1111 rovolvcrs 11nd pistols .hnYe f1IC'tol'y numbers that
          ~et.ermine when they l'l\1'118 from the factory or wi1en tliey wofo •
          111nn11{n<'turod?                                                 Exhibit
                                                                                 . A, Pg. 864
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          .
     Ivfr. hu.. A'Y. Yes.
     Mr. VtNBON. Would not that show whether the r;iln hu.d b~n
   acquired subseq_uent to the efl'eotive du.ta of thll net?
      .Mr. ha.._.\Y. Yes; and to that e.'Ct.ent it operates. To the ext.en~
   that they find somebody with ft contrabnnd weapon, not regjstel'ed,
   the aet succeeds.
      Mr. V1NsoN: Could not they find that without requiring this nntr-
   constitutional measure to be inserted in the bill?
      Mr. lMLAY.. It can be accomplished under a. Stute lo.w better than
   under a national law.                           "
      Mr. V:m110N. I know,- but even under this ln,w could not the d:IB--
   trict attorney, without mu<'b trouble, ascertain from tho !11otory when
   that gun was mo.nufactU:red?                                        'lo
      Mr. IMLAY. Absolutely.
      Mr. VINBON. Certainly a person could not IlaYe had it before it wn&               1
                                                                                          '

   me.11ufactured.
      Ml'. IMLAY. The system of identification from the factory, or-
   id~ntification in ·c onnection with purchnse, is fully•elfectivc.                        ~'(·
      Mr. VL.'ITSON. 1 am. speaking a.bout the pistols nnd revolvers t hat
   are now owned, before the effective date of the net. I think I co.n
   see a lino between pistols and guns now owned and those 11cquirea
   subsequent ,to the effective do.ta of the act.           ,    :
~     Mr. httAv: .Yes; it can be iiecertain!?d1 Mr. Congressmnn. U
 . can be ascertamed by that process, tho.t does not ho.ve the effect of
   ereating a great body of law-breakers, who do not tnke the time or
   the tro'u ble oo register their pistols.
      Mr. VmsoN. Ao<,! it con be ;iscerto.ined ·w ithout·Coagress enncting
   what might be an nnticonstitu\.ional provision?
      Mr. 1Mt..A.Y. Yes. The registration feature bas been tried and hos
   foiled, and I should invite yoUl' o.ttention po.rticulo.rly, Mr. Vinson,
   t o page 79 of volun1e 2·of the record,, where I have pointed out that
   t,he Arkansas lo.w pussed in 1923 reqlli.ring o. State-wHle registration -
   wo.s abolished the followin.g year as being unwo~knble,\ and there oll
   page 79 of volume no. 2 of the •record I have CJted the net. of 1923
   m Arkansas, and I ho.ve cited the act of 1924 in which the ·registra-
   tion feature was nbolished. Frankly the registration feature was in-
   tended to: aft'ect a certain class of lawless persons whose pistols they
   wanted to have registerc<J, but those people did not come forwo.rd .
   lt did not Teao.h those people, and then, on the other side, there were-
   a great ~any people who1 froi;n indi~fere~ce 1 stubbornness, or obsti-
   oaey, which was the same attitude Iflanifested toward the Volstead
   Act1 refused to register their JrUDB, and 2 )'enrs later I happened to
   be .111 Detroit, where the N ~tionol Conlere.nco was mectirig, and w&
   were discussing these things, and this registration feature, And one
   of _the leading citizens of that State which l)ad passed the registration
   feature.that year, in the spring of 1925, said: "Today is the dny 'fhon
   we· ate supposed to register our pistols. I am not going to register
    mine." Michlgan stilf hes tho.t rogistration feo.ture. l have no~ fol~
   lowtid it olosely since 1925. It was teenilcted in the ·aot of 1927, <but
    J ventnte to say th11t you r.an go to Det.roit or to 11.ny other city· or.
    town i'n M\cmgan an!l' you can fmd co"ntle.ss weapons which or~ not
        'ate'red r    ··      , : ,·            ··                         ·
    ~-he ·Ct:r'Arn¥1\:N. ·Ar1nyoo op11osed t-0 the:•1>rinciple-o~ Ngistryi.tion,
    either by tbe Stnte or 'tbe Federal 'Government?          1l ·     Exhibit
                                                                         , ·· , A, Pg. 865
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               Mt«'lVLA.Y. l Bil\. opposed to the ronn: of registration, either by the
             Ste.to or Federal Government, that consists in requiting everybody to
            <!Oma forward and .register a pistol. It is unworkable; i't did not
             wor.k in .Arkansas, and they repealed it in Arkansas.
               Mr. UJCKlNSON. What roll.SOD did he give for not registering?
               Mr. IMLAY. He is a bad citizen; he is a good l~W-yer and a man of
             means, and I do not justify hl,m: It is bad citfaensbip; it is bad
            citizenshlp whether it is a violation of the V9lstead·Act or a violation
            -0f the Firelir~ ReA,>istration A-ct.     ·                 ·
               M.r. CooPER. How many State!!' of the Union now have the State
            registration requirement?                      ·                        .
            • M.r. I MLAY. None, except Michigan, and, I believe, Wisconsin. .
               Mr. CooPEn. You say the act in Michigan was repealed about a
            year after it was enaotea? ·
              Mr. !MLAY." Yes.
               Mr. Coo~E.R. ~ou cite the instance. of. one citizen '~bo, you sa71 is
            not a good citizen, from the State ofM1ch1gaii who declmed to ttgiste.r
\'if.       bis pistol?        ·
               Mr. lMLA\'. Yes.                     '
        i      Mr. COOPER. Does the con~ersation .w hich you bad with one man
            ~ont.ral yolll' conclusions or your views on this proposed legislation?
               Mr. ·11.tw.Y. I did not understand.         ·                 ·
               Mr. CooPER. Does that conversation which you had with one man
            <!Ontrol and influence your views on this whole subject matter?
               Mr. I MLAY. No. I was told that was the general aHitude of
            rebellion.                                        .                 ..
               Mr. CooPER.. Ravo you been to the State of Aikansas?                .
              Mr. iltLAY. I b,ave been there flince, but I rely, not eo much
            upon being there, but upon tnlk.ing with men familiar with this
            su~iect.               ·                                      .
               M.r. CooPJm. Have you mQde any considerable investigation of the
            sentimeqt down. there on that matter?                            ' ·
               Mr. IMLAY. 1 am relying upon what was told me by my fellow com-
            missioners from tho State of Arka.llsa8, upon their .knowledge, what
            they: la;iew.        ·
               Mr. COOPER. Is this man with whom you had the conversation,                  ')
            whom you spoke of, one o'f the com.missioners?
              Mr. IMLAY. Yes.
              Mr. CooPER. And you say he is a bn.d citizen.?
             Mr. l~LAY, Yes.                     ·
             ~{r. CooPEB.. I huve been interested in your observation relative
        • to the Mann Act.- with reference to the interstate questiOn involved
          bore. Would you objeot to a reusonublc rest.riction on the interstate
          transportation of pistols?                       •         ·
             Mr. IMLAY. Formulated in this w11y;yes.                       _    _
             Mr. OooPER. And you would object to any reasonable restrict.ion
          on the interstnto tnrnsportation of pistols?       ·               .
             Mr. I~Y\ I would not Mr. Cooper. I would be williilg. t-0 see
          an Mt pass"ed tho.t would dec).Q.ro tbnt when the pistol in the original
          package has crossed the State line-it becomes local introstnte oommerco
          and.i\!._s~bje_ct to 1oc.nl roguln.tion.
             MF: 'CooPER. Do you think your rather theoroticru views of 010
          lrentrornb of tho subject would work out very sntisfllct-Otily?
                 ·-     .
                                                                       Exhibit A, Pg. 866
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 146                                        .
                          :s'ATL01iAL FtnEAllMS  '
                                                ACTr

     Mr. h&LAl'. Mr. Cooper, I OJO just bold enough to sny i tiaink my
  views o.re not theoret1clll but practical, tor this rcl\Son: 'fhati 1
  believe I au1 talking obout. l system of l'egulation tha.t is traditi()ll•il
  in this country,  ana   hos existed for 150 years.. It· is only within
  recent yeo,rs thllt. there has been any attempt · to make any exact
  identification of the purchos~, and mnny States, following th<>
· theory of the uniform act, or, in some few States, following tlif'
  theory of the Sullivan Act, have proceeded by that sy.;tem of regula-
  tion, N.ow, if an Act.of Congress were to declare that whe~ the pistol
  crosses the State boundary it then ceases to be in the jurisdiction ,of .
  Congress, but is in the jurisdiction of the State, then the State or
  Ne\\" York could ~pply the Sullivan Act, or t he State of ~tQryland
  could apply their svsteru of regulation, or tl1e State of Pcnusyh·Miu
  could apply the uniform act, or the.·District or Columbia cottld npply
  the uniform act. I think .'·ou,were here when I spol<e of the .florrison
 A<lt.
 . Mr. CooeEn. Yes.                                              ·
   Mr. lMLA\'. You would bave what they ha,·o today in the HarrL.~n
Act; ~OU \\·ould bnve the State and the'Xnt.ion working together on -
tihe t.liing.                                                  ' .
   Mr. COOPER. Do you contemplate that the State a.utborities a.od
the Federal outhoritfes will not work togetbn under tbis propo!uil?                    ••
• M.r. IMLAY. Not if there is duplicn.tion .  ·
   Mr. CooPEn. Did I understn:.1d vou to sav tho.t nlthottgll th~
Federal.Government.-passed tlte. Hnra·lsori N o.1•cotic Act, that then th1•
various States ol the Union bnd to poss 11 similny· or identicnl net to
that?                                                (
   Mr. IMLAY. Yes.
   Mr. COOPER. Is not thot. the t.ype of cooperntion 11nd \\"Orkin~
to_gether thnt might bC> rensonnbly expected \tnder legislntion of t his              "
type?
   Mr. IMLAY. 1n those local nlll'cotie :nets, t:l1e Stnte law' \\till uJti-
mately supersede the national act.
   Mr. CooPEB. I respectfully submit tbo.t you are in e.rror on thrd..
   Mr. IMLAY. P erhaps I am.
   M:r. COOPER. From my experience and observation, thot is not the
result at all.
   Mr. IMLAY. I will noJ contend with you on that.
   Mr. COOPER. It is my experiettcc in the <:ourts, altl1ouitlt my Stute,,._
has nn aniinarcotic act, OS I recall, patterned after the 1fnrrison Act '.
still <>ffenders are consfontJy arraigned before the Federal court. If··
your knowledge of this subject matter is gained from your experience
undrr that act1 I am afraid you are not making tbe contribubon her&
that vou would h'"ke to make 11nd that we would like to Juive vou mo.kc.                ,,
   Mr. IMLAY. ·it will rest with your judgment_ and the jodg01ent of
your colleagues ns to whether I hn.ve or have not.\mnde tl contribution.
I o.m wrong in 11sing the word "supersede.'' Let me qunliry that; lot.
me qualify the entire stntement by snying the Unifonn State Ln.w is
o nly 2 years old, so my answer is rather n. prediction than the state·
ment of 0. C1rnt._. Whn.t I an~cipat.e is· tl1nt·the conviction on t·he ..ru1rt
of the officers m th.e. N 11rcot1cs Bul'()nn thnt they needed the help of
a State law, which caused them fo dtnft it, o.nd hns brought nbout
the eonctment of a Stn.to law, will men.n t hat they will rely very Exhibit
                                                                     heavilyA, Pg. 867
upon State contro1. Now what I o.nticipnle1 nod l mny' be' \\Tong,                   " .
'.,
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                                                         r
              and T say it with deference to Y.Our a~erienco, .what I nntici{?ate is
               th&t the bnlk of I.he responsibility will fe!lt upon the Stntc m the
              enforcement o{ those rules.                               •
                  Mr. CooPEn. Thero is no disposition on my part to nrguo with
              you. 'l nm trying to get nt something t1.1.11giblc1 something wo can
              tukc bold of, t.o see if there is sonic wo,y to control this mntt.er whioh
              wo nJI wnnt, you nnd 1, nnd I nm sure the other members of the
             'cotnmittee too. ?vly experience l111s not ut all been along tbe line ol
              thnt indicated by you with reCc,rence to the Nnrcotic Act. It eo
              bnppens that I 111wo hl\d somo limite(I <'Xperfonce with cnses coming
              under that net. l t hos occlJJTed thnt nn offender might be Uidicted
              under the Federal act ond ltnder tho Stato act nt. the same iime, pnd '
              in prncticc the Stnte conrt$, in my purt of t he country, will wsnt for
              tlio Federal court to net nnd yield jurisdiction of the mnttcr to the
 ' ,          Federal court. It li11s n)so been my· observation .that in my pnrt of
              the country there nrc pru·hnps 10 ol these narcotic cnscs proscmited
              in the Ft>derol cou;t where ther-0 would be one in the State court.,
              olthougl1 the offensc would be n violntion af both Federal nnd St11te
              luw. When you moke the stntemen~ U1ftt lt'gja1ation of t.his type is
              going to require Stn te l<>!ris1ation tbnt will supe.rsedr the li'edernl
              fogislnt,jon, and you baso tJ1ot upon the wcporience oI the N orootic
       - Act, m.v e.xpl"rienco j>revents me from foUowiog in thnt conclusior).
                  ~lr. IMLAY. I submit thnt t.o your judgment.
                  Mr. McConMACX. Whot State do you r.ome from?
                  !vlr. l1>1LA v . . I IUTI from ·the District of Oolumbin.                             -·
                  Mr. ~1cConMACK. l appreciate what ~1r. Cooper says, but I t.hiok
              that in our State our conditions Me a little difrerent. In my sect.ion
              there ~re a ~ot of proser.i~tions in the ~late courts., I suppose, if we.
              were cliscussm<> t·be question. as o. <JU€lStlO'D o! ~enence, 1 would nor.
              want the genUemnn to b e placed m the. pf}!lit.ion of ninkin~ 1m n.:gu~
              ment wlt'ich., at least, does oot support somo of the co11ditions which
              exist in some sections of the count ry. Tbere is n tremendous .number
              of prosecutions in t,he State courts in Mnssnoll\lsett.s, the minor
              enses. The Federol courts take up tbe serious ones, but tho police ol
              Boston cntcl1 some wit.Ji elope in their possession; They bring them
              in or ci,tcb tl)etn selling dope nnd tl111 Federol court muy Jt,ter to.kc
              jurisdiction, but there is a considornblo number of prosecutions in
              tbe State court.... My only reason for tbnt .is ·Dot to <'lltltrodict my
          \ friend from T ennessee 'but in order tht\t if Ywere in this gentleman's
          • position, and if I cntert.R.ined the sntne thoughts, r would llltLkC tho
              s1UTie argmnen t he did, f.t1,sed on experience, assuming I ugroo wit.Ji
              the gontlcrnnn.                       ·
                  Mr . hn.AY. Mr. Chnirmtll1, mo.y I conclutle in just about 2m\nut.es?
                  The CHAIRMAN. I J1ope you Will be o.ble to conclude soon. \Vo
        1. desil'c to finish t h1.1 henr1r1g t his morning.                 ·
                  Mr. 1111.:.AY. J nm willing to ngr<'t>, in rc.sponsc to the suggestions
              just m11de., froJn t\. police standpomt, from tho standpoint o ( prosrcu-
              tiot1, like Mr. All1rn, tl111t flu-re arc ccrtnin tilings th1tt might be done
              that wlll mako th(' lnw tight and will oid tho police 11nd sid the proi;c-
              ~l_lt<>rs, but you 111'1' Jt1 ~isJnti.ng fo!° .r.itfaetls ~d whe.n ,YO\l toke l~e
              lu.etory of firel\rms nnd their legitunatt~ 11~11 m tbc history of tJw1
              c•n1mtry, what do you find ? You find Hint law nnd order bns otwnyz;,
              liccn rnforecd by 't hr .<'itizen bodv nnd vot1 r:l\n. go no": into somo of
           1
             ,011r rurol section~ 1111d you fBn f1nd it Is plill true, ns Exhibit         A, Pg.
                                                                                  it w11s in tl1c 868
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enrly part of the Republic, that when the sheriff goes alter ii gangster,
he cnn go fro~ housil to house nnd he can be sure Lhere 1s ~ house-
bolde_r there with a Wllapou. It wa.s once a shotgun or a rifle, but
it is now a pistol, !llld the weapon is as much a part of the eqµipment
of thnt household ns thli Bible on t he mantle, but when. you 'go into
th& city, and much of this Jogislatiolll has come out of the city, you
find a differen t situation. I ask you, before attempting a system of
regulation like , this, that you consider somebody other thnn the
attorneys general, somebody ot.her than ~he police, and consider the
Citizen, the one that is primarily affected. l thank you.
  · Mr. Hu.i.. I want to ask 2 or 3 questions. Using the tenn "fire.-
arm" as it is defined in th.is proposed legislation,    ao
                                                         you think that
tber~ is sufficient law now to properly and ndiiquately regulate the
use o! them?                  .
    Mr. f.MLA Y. To regulate what?
    ~It. HtLL. The use of such firea:rms.
  Mr. IMLAY. yes.
 · Mr. HILL. That is, for the protection of society and having in
view particularly the development of certain classes Qf ctltninals
that have grown up in this country ·within recent times.
   ~fr. 11\Uu\Y. ·yes.                             .
   Mr. !JILL. In other words, you cfo not feel there is any need uf
any.further re.g uh1tion of firearms'!
   Mr. hu.,\Y. . Not of Federal regulation.                             - -
   ~fr. HILL. You said it was impossible to l'cgulate by Federal laws?
   Mr. ilu.AY, l thljik 501 yes.                        . .        ";:•     --
   Mr. H1LL. Did you mean it wns ilnpossible, or is it from ym1r yiew-~
point undesirable?                              .
   Mr. lMJ.AY , I tJUnk both. ~Ir. Hill, l think ·when 2vfr. Keenan
fronklv confessed t.hat he got by the Constitution by making the·
oontro1 ·measute n. t.uing mensure thn.t it is rep_ugnant to me. I t is
repug!1ant for th!l Attorney: .Gen~ral to teU you .lie ~ets by the Con-
st1tu t1on ·by calhng an act m th'e proan1ble .n tflxmg mc11sure and
ending _by sayin15 t.ho.t it mo.y be cited us the National Fireanns Act.
   Mr. HtLL. If it is lawful to do it, it is not n cnse of getting by the
Constitution.                              ·         ··
   Mr. IMLAY. It is side-step.ping tho Constit11tion. .                  ..
   Mr. H1LL. II you cnn do 1t lnwfuJly 11n(!er tbe tnxmg power, ~t JS
perfectly legitinui.tQ legislation, is it not?
   Mr. IMLAY. Ii is legit imate when you tnko iho lottct· of thu luw,
but not the si>irit.                             ·
   Mr. HILL. Y 011 ore opposed to noy li'cclcml rcg11ln Lion; th nt. is your
attitude?
   Mr. IMLAY. Except inn luuitcd sense.                          •
   Mr. HtLL. And you !mY you have been working or~ !he flrtlpusul ot
a uniform firon1·n15 regulntion under Stnto lnws?               ·
   l\llr. htllAY. Thiit is r ight..
   Mr. Hu.i.. You J111ve not eucccoded in obtoining u11ifur1nit.y in
that respect?                            ·            _ - ·~
   Mr. IMLAY. We luwo mrtdo very good progress. Somo 10 or 12
Sto.tes hnve .pnssod tho uniform oct.                         · ·
   Mr. RILL. But it l111s not in 1t m.ntorinl w11y contributed towurd
thesupptcssion of kidnaping·tlnd bank robbery and general gnngsl.or
                                                                    Exhibit A, Pg. 869
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       oper111.ious thnt- cross Stote lines and nre not '";thin thu juri.sdfotfon
       of the State oourts, in thoir full nnd··eomprehensivc sco1>c?
          11r. IMLAY. Not uoticenbly, and I do nQt know tbnt nny fireDl'm
       low does, noticenbly.       ·                  .. ·
          Mr. Iln,i,. II you hove Federal regulation such as is proposed hero,
       whereby the Department of ,Justice nn<l the Pedcrnl See rot. Service
       force con take jurisclic'tion of the 1n0;ttc'r, cl() yon not t·hink thnt it
       would contribute lnrgely townrd the stomping out of tJ1is khid of
       crime, toword which t11e legislation is directed?
          ;\fr. IMLA v. I think not. If it woulcl, J v:oul<i bo for it,.   .
       · Mr. TREADWA v. I would like to follow you o momt\nt nnd plencl
       ignorance. You referred- to the 1_>ossibility of side-stepping- the Con-
       stitution. The one feature of tins hill tho.t nl>peols to nie iii ge,tting
       rid of nmchlnc guns.' H the Constituticm is s1de-stepped·to bring in
,·     a ta.xing meusure in orclcr to secure regllln.tion of this nature, why
       could not we side--stcp it once more anll provcnt1 by some kind of
       Fc<ierol stntute., the manufacture of m11cbme guns?_ \'\1l1ere, in the
       Constitution, are we so' terribly tied clown thut we co.nnot prcvc.n t
       the n1nnufo.c~ure of instruments of >mcb n. serious Jestructi\"e nntu~
       as these o'rc to Jrnmnn Jifo?
          Mr. IMLAL If the courts ore willing -to soy tbo.t a machine gun is
       so fo.r contrnbu,nd, or such n. dangerous thing; that wns the theory of
       some o( tl1e eurlier prohibition ~1cts. If U1e courts are willing to say
       t.bot n mocbine gun is a nuisance, o.n<l insofar ns Congress can legis-·
       Jato it legislates ~hem out of. existence, or for example, if they say
       they sholl not sb1p nny ntnchme gun ncross the border at nll, if the
       court.s will go thnt fur, I am perfectly willing to see some regulntiog>
       o{ machine pms thnt will confine their mnnufocture ond their use
       entirely to tlie police. We 11ave Mr. Treadwny,·n uniform mncbine->
       gun net.. I have not mentioned timt before, but tbis unironn mor.hine-
       gun net hus been approved by the Americon .Bor .Assoorntion, os '"ell
       ns the n1\tional conforonce, w])ich approved it in its 1933 meeting,
      ·and this law .is designed to accomplish in the States in legislation
       n.gninst inn.chine g(Jns the smne thing tbnt .the uniform net :s with
       reference to pistols.                                                       ,
          Mr. TnEADWA \', That is n t·ccom11u.mdntion you 11rc 1!111ldng to the
       Stnire?
         Mr, IMLAY. Yos.                                                  .
         ~tr. Tnt:ADWA \'. Jt has 11ot.hing to Jo           with tho :Fcdc-ral Govom-
       ment?                                            .                   ,
           Mr. l ML.A Y. I d1ink prrhnps n butter answor to your q\1ostion is
      .thnt thore is now prnding bcfon1 the Committee on Interstate and
      'Forc•ign Commerce of the Housl.'l ll.R. 9399, which is a liill t-0 prevent
       the shipment of mnohinA guns, submacl1ine guns, 'sn\vcd-olf shotguns
       i~od l>ullet-proof Yt~sts ·in interstate com.merce. I bcli<we · that if
       Congress Wt>rc to 'pnf;S that ncti 11s~1uning thnt the courts would con-
       stn10 it 11.s I think; they would, us ,sufliciontly dnnge.rous to prevent
       t.l1<'ir sl1ip111c11t. nlloget)rnr, 1 b11JiC\'!l thot la occoniplisbtid by that
       WI.                                                                               ~
          Mr. TnEAnwA\'. '!'hat, would not ~o ns for nii lice' J<'ctlcro1 prohibi-
       tion 11i;ain:.t 111roiufoct11r(', if W<.l 1.:m1l!l ~ct by ,\·ith thnt.
          :rvrr: ht LA'"· It. clocn.i 1101.
                                                                      Exhibit A, Pg. 870
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       150                          l'l'ATlONAL FllIRAl'tMFI AOT

          l\ol r. TREADWAY. You spoko about whother tll(I conrl!I wo1t11i sup-
 (J    port s1ich a proposition. I am not a lawyer, nS prohnbly you will
       t'Oe from my line of questioning, hut what dofonso is thorn the POR·         of
       sessioll or manufacturo o{ nuicliino guns. outsi.do o[ thl\ country it.•mlf
       using them in cnoo of wnr or in connllctioll with V<1ry dnngcrom1 police
       needs? What other gooii purpoRO csu be ~orv<1rl hy tlm mnnufocturo
        of any such articlo?                   ·             ,
         . Mr. JMLA Y . Thero id no gooil .1rnrpos11 t>xcopt p olicl', hnnlt gl1BmR,
        Government irimrds in huiltlinJtfl1          ct
                                                  cotorn; t.l11.1y 11ro tho only onr.s
        th Rt bu~ht to hnvo thorn. · ·
           Mr. 1-n~:AllWAY, A11 a Jnatt<lr·of jnt<'roiit., in your j11clgnwnt how
        many' machine guns could ho usod for lct,ritimnto J>Urposcs 1111ch as
        you nl'Q naming now?
           Mr. IMLAY. 1 should suy, in U111 Distl'id or Cnl11111hi11 , p orhnp!I                                •
        100 ought to be enough. 'l'hera aro .some \\·11gons tl111.t .go nbout. th~                          '
        streets, from tho Trensur)' Dopnrtnrnnt to tho n11ron11 of F:ngrnving
       ·nnd Pl'inting equipped Wlth them:           ·                     ·
           Mr. 1'nEADWAY. This Jm..ci just come to my nt wntion t.l1iR morning,
        in n. very unoHicinl wily, but J undmi;Mtid U1nt t.horo is in thiR city
      - f.bduy 1m nutomohilo c»1111ippcd with mnchino guns thnt 'YRR cn11t11red
        in Chicngo by the Dopn.rtmont of .ht!lt.icm n1rout.ci thnt llllll tl10 most
       .comploto mcchn.nicnl dcvicr.A concoivobfo n~inflt lrnmnn lifo. . I cnn-
        not soo why some form of fogtslntion cnnnot ho onnr.0011 wifll1in tho .
        provi!!ions or the Constitution ti.int will uhsolutoly ovm~orno t ho
        posaihilit;fi not of tn\nsporting it in ink\n;tnto contmP-rro-thnt l 'fo(ll
       confident wo could r"gulate-hnt why p11nnit t!t(lir mnnufunturo't'
       As o. result or ponnitting thoir munufncturo, cvon t.houµh tJ1l'y muy ho
       tronsportod c:ontrnry to interatnto commerce rftµ11lntiom1 t.lll'Y run
       be usod in this to1Tibly dCRt.ruct.ivo wny on nn nutomobilr., mul t.hoy
'•     are sot off, o.s l .underatnnd, hy 1111 dcctricrJ connection.
          Mr. IMLAY. . 1 nm in fnvor. of Stnto lu.wR thnt forhid tho n111n11fnc-
       t11ro of machine gun~ <1xcopt for thoilft fow U!IO!I.
          ~Ir. 'J'nJo:ADWAY. You r.nnnot go AA fnr ns to s1~y tl111t. WI' r11n Ricl1•·
       step 'tho Const.it.ution s11fliciontly to prciv<lnt th(lit 111u1111fo<" t11ro'l
          Mr. 1~U.AY. l t.hinJ< tmt.. l t.liink :vo11 r1111 Jllli>l!I n hill whid1 s11y;>
       you cnnnot 11hi{> 111n<'l1ino J:."llll!l nc1..1!li;. :-it11tn lim111 . ..'.thot. i11 11!" for ~1:oi
       the Jl,fnnn Art itoes.                                                                        .
          ~1r. 'l'111·:AoWA v. Mr. lr.Ynn!l tn<'nlions on in lt>rl'~tinj! unnloi;o• of
       nprnm. A Jl'edr.rnl !ltnt11to· 111•(\V(1nt.q thnt. hru1'1' 1111rn11fnrt111•rll, ih11•>1
       it not'?
          Mr. hrLAY. J nm not fomilinr wi t.Ii Umt. I clc) lmt know 1\·lwt.l111r
       there is fl !lr.pnrnl(I Clpinm nrt >ol' not.
          ~tr. )ham. I wnnt le~ 111o1k U1i; wihu1Hfl 11 11u11st.i11n. l>o .vou)~now of
       nny 110WN' otJ1ot tl111n tl1C1 tnxm~ powl'r nml t.lw tmwc•r to r<'i.:11lnto
       inWTlllllto <~lllllTIHll'l'(I hy which WC ro11Jrl pro vonl. t,h11 lllllllllfnl't.Ul'll of
       l1rnnrnn1?                    ·   .    .     ·                 -
          Mr. I MLAY. 1 know i)f          no1•t.l1N' J>oWN'. !\h. <'h11irm11n, J .1.hi11k
       1 hav<• tn.ken 11no11~h t.i1irn.
          Mr. Kt~•:NAN. I wonclm· if f 111 i~la t lru p1•rmif.fo1I to osk lli<l 1\·ihlrAA
       ono quosticii1'f                                                     .          ·           ' ·
          Thi\ C nA11tMAN. 1L iA 1·01ht1t• 1\1\ 11n111m11l 1•111111r!lt.,
          ~tr. Kt~ f:NAN. 01:,.!f I 11111y hnn1 1.11(1 ljlll'!lfion 11!4kl'cl or thr witnos~.
          Tl.!<1 C'llAHtM/\N, vvitlio11t' ohj1•r.tio11, yo u mn:v n~ k n' 'lllMliou:
                                                                                             Exhibit A, Pg. 871
                                                        •
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                                                                                                       '
                                                                                                      151
           Mr. KP.ENAN. R(•fN'<lnco hn:i hnrn It> I.ho octioil of ~ mornbrr or I\
         committo<i with whi(;h 1.ho witnos.-i 11orv<1d, 1111<l l i;?Ot horo 11 fittln lt1tn,'
         ond l do not k11ow wh11t the rnmmit.t<'.tl w1111 1 hut 11 mmnhur of that
         rnnnmitt.cn 111111111 tho 01w11 i;t11tA.J1111mt thnt. Junlid not int<(lncl to 1·omply
         with thl' St.nt.c1 Jnw w li<·h J'N111irl'll rfl~i:1tr11lion or lirc11r11u1. I only
         W1Ult to know Whht thllt l'(lltllllitf,oo w11.i<; \V11>< thut 1~ COlil11tH.t,oo of tho
         Amnrimm Hor A>1sc1<~i 11 t icm on l fniforrn ~t1~l.1• L11w:<1, o:r how w1111 1,ft()
         ~\Olllllli tU~ l'hOS(lll?
             The C11A11ntAN. Cnu you 1\11s\~N' thc- <tHi>Sti<'n!
             Mr. KF.~:NAN. Yon toltl 11hnut u JU1Ul who .inid ho would not 1'011111ly
         with n Stuto lnw with rt'>llH'Ct to tho rcMi11tr1~tion oI ft pistnl, n romom·
         IH•r or IL com mitt.en with \'Oii,
    "-     Mr. IJ,tt,AT. 111' wus ,;ol- 1111 ·tho 1·0111111itfoo; ho wn>< 11 1:it,ii:(ln of
         l><•troit.
           Mr. K~:~:NAN . Wnll h<' intoro!ltcd ill tho uniform Stute. Jnw, or wns
         he ('OlllHWtt•il with it'?
           Mr. h!LAY. flt• \I'll!! t.olking with u~ ttlmot· our n(·t, and our 11ro-
         po~c!d Ut!t.                                                          '.
            Mr. 1'11EADWA Y. '.l'hil< hrl\ring, 1ms run 1Joni: J1r.rl' for Sl'Vllrol duv11
     01111 ht1!1 krpt j!oiu~ 1ilo11g t11t' :;mun linr'-'I. l do not, know whotlirr
     JIO.)' rc•11rrsr11lnt.iVflll or t.i1c imlustry, 1n1m11r1u•Lt1r(ll"!I o~ pistols, dfll'llM
     to hil 1rnrrl. 'l'lwro huvfl hrr11 gl'nlJl'Jttl'll lwro e1ontinuo11HIV r<•prr...
     "({ntiui,: the inclt1i;try, t111rl. i~ wo nrc ~uin~ to rn111j1lrtl1 th11 hc•ntltl1'9
     t.l1i:; morning, l wi:;h t.lwy 1111µ:l1t ht' giv••n tinw, if,t. 1(1y wnnt it.
         ,The> C'11AJn~rAN , 'f'ho Uhnir will stttlll tlt11t Mr.. Nid1ols wns in tnv
     ofli1·1., nnd ltr suid he would•iikn·!i Jninut••i.;.                                    ·
     STATEMENT                 OP FRANK C. NICHOLS. VICE PRESIDBNT. COIT
                        PATENT FIREAJWS !UNUFACTURlliO CO.
•
        ' Thci <'HAtRMAN . 'J']t(I f'l111ir will 11tn10 lhut. Wt\ 11111~1. if t'l)flf;(•nuhl.v
     pn1e11ihll\1 cl~o t,ho l1m1l'inJ..".'I hcforo 1ioo11. Mr. Nidwls, 1 tole! ,v1111
      tf111 of.lltlt iin,Y litnl if it. Wt\R 11~roo11hli1 1.0 tJic1 l'Ommilll'-01 WO WOnlcl
     f~ivo you !i minut.1·:<. J'lt•nflCl ~ivo ,\'OUI' 11111110 111111 i11 whnt c11p1wil,;\"
     y ou 11 pp~111'.                                                           -
          f\h'. N 1c1101.s. M.v 11110•11 i~ Fr1u1k C. Nithol~; I 11111 vico pn111lcl<'l\t.
     of Colt. J'11tc•11t Firnnr111>1 l\1111111(ncL11ri11~ C'o. l\lr. f'lmir1111111 111111
     1!•'t11l0t11£o11 1 fltrN' •II'<' t.wo point>< I wnut to htiu~ 111~, on!\ ·in whic·h l
     think · v1111 will he• ·p11rlic•11lnrh· inlN'1-st1•d, 1111m1•Jv, thr ·rd4'f'<llHlO t(1
     m111·hi1°1c>     !!"""·     Mv 1·mnp1111\: ii; lht• onlv 111111111fi1t·l 11rur of 11111rl1i1111
     l!flll~ in tltr l1uil1•1t' Stntl•ic1 111iil our l11q:1•~L 111111 ptin1·ip11l rlic111t i1< lhl\
      l htit.l'tl St.ttt.ci; Onvf'rt11nc111t. 'l'hn 1a1ll'hi110 1-(1111 ,,. 11111. tL wo11po11 th1l(.
     1'1111 liO U~l\d \vitlt 1111\111111!1'••0 of ('Oll\'l'rtit1 llC'(\ Cll'Ntllit1ftWl-io11 10 1111' dlll'll'I
     of r111w11l!l tlrnt th11 b<1p111·t1111~111. of J11Mti1•11 ,is 11rtor. \\'11 tlo 1101 11111ko
     H1th111u1·lrinu ~Un:;.                            ,
          Mt'. T1n:AnwA v. 'Vl111t i11 tho di,. 1i1u~ti1m l1111,w1•011 11 1111ll'hi1111 l,tllll
     11111l 1111hlntll'hi1111 ~1111'c'
          l\11'. NrcnuJ,fl. A 1111h111nc•hinl'- i,:u11 j,. n icmull ll'(lnpou, 11!1 dc>s 1•tll11' d
     Io you y<'.-;ttmln :v hy l\11'. I\ N'llJm, ·wh i1•h 1•1111 ho r.11 rriril 1111/IN• tho
     1·11111.. "' is •111I~1111111.i1:, wi I h 11 ii ro 111 rl•NI. l111ltli Ill! u:; lii~h IU' r,ou
     ••11 rtvi<l!'I'~, w It i1'11 !'Ii 111 ply ~pu rl<11 lil'I'.                                      -
          f\lr" VrNHON, \Vito n11tr111fiwt1m•:l th11>11'?
          1\11'. Nw110J.s, \\'1• 111111111r111·~11rc•1l I r.,ouo of ·u1u:1" i11 19:!1 f111· tho
      ,\11t11. (>i-dnn111·0 Co., Nc~w Yol')\, Thi\ At1h) 01~l111ittl'.t' ('11 ,Exhibit                  A, Pg. 872
                                                                                            111·1• J'lf•'l'J'l'tl
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                                                                                                    I

       to on pngo 66 of r.h e J1earing of April 18. They do not nnd never did
      mn.nufo(!ture 11 nto<'l1ine gull or n subnrnehme ·gwi. How m11'11y they
      hnire foft, nnd whnt their method .of merrhnndising wns1 1 do not
      know. It wus.the jnvention oC Col. John Thompson, formm·ly Chief'
      of Ordtui.nce, nnd wns clcsiimed fol".purely o. militnry weapon, shooting
      only I), pistol Cnrt1idge, It W09 l)Ot SUCCl1SSful OS 0. military Wl'ilpon;
      ruid, 1u1fortuno.tely, I think we c.nn stu.te correctly, they._were n ·hit.
      cnt'elrss in thrir method of merchnndising. It got            mtu
                                                                    the Liru11ls of
      t.!1e dealers, nnd some of' the dealers were not entirely 1:eSjJ0115ihlc:
     ,r will nsk the privilr.ge of filing t his catnlog with. thC\ clerk, -illos-
      trnting nnd desrribin"' e.~nctl.v what a m11cl1ine gun is. 'ft; is not soli;I
      commercinUy; itjs sold for st:ric.tly militnr~· purposes to this Govern-·
      ment nnd to foreign governments, if we nre: .lucky enough to' gl•t
      foreign ~outrnels.                                                       ·•
                                                                                         •   { I;
          ~Ir.''VrNsON. Do I unclrl'stnnd todny thnt. there is lfo mnmtf11C't11l'er
     in this rourtt•tY 11111king o. s11bn1nchi11e gun?                      .        •
       'l'\1r. N1cnots, ~o, SJr; 1m)es.<i 1he is 1n11kiur it under·cover.
         The CHAIBMAN. T!u.•1-C would be -no objet-t.ion, if it is such u me.11t11•c:-
     to society nnd there is no demnnd• for it, to. n Jnw ngninst its being-
     trnnsported in inte1-stQ.te rommerce?          '              -      ·        ..
        Mr. NrcBoui. No:rie wbnt<.wer, nnd frankly, gentlemen, it s hould
     not be mnnufnt•htre<l.                                                 '. •
        Mr. HILL. "'11ere dill the mncblne g1111s come from thnt ore in u~~
     in this country now?                                   '          .
        Mr. Ntc;Ho~s, In    my  opinion, they linV'e hr.en stoll\11.
        lVfr. }fI.LL. St-0lm from wl1nt source?       , ·          ·
        Mr. N1cu0Ls. Stolen from police depnrtments, priSQns, nnd from
     deniers who got them sbortly nfter the nrn1111fnct11.re bego.n, nod
     before they were stopped or fl.g reed to ~top.                      ·
        Mr. HrL.L. ls t.here u.ny importation of t.hnt kind of gun?
        Mr. N1cHOLB. Not to tny knowledge..
        l\1r. HILL. Where did the polif(e depnrtment.s·get t.beir supplies?
        Mr. NwuoLs. From Ure Auto :Ordnance Co. .
        Mr. Hn,L. Those 15,000 which.l fou murlUfncturod wcro1or the Aut<>
     Ordnnnce Co.?                   ·   '
        Mr. N1cnoLB. Yes, sir.
        Mr. HlLL. Tbo.t supR!y, is gp1d1111lly being exhnustcd, 1 t.oko it, ns
     Io.r as the -Auto Ordnunre Co. 1s concerned?
        Mr. N 1cn0Ls. Yes.
        Mr. TR&ADWAY. ·Those nre submnc.l1inc guns?
     . 11 r. N IOJJOLB. Y cs.               -
        Mr. RE~D. Shortly after the war, the Orqnnnce Dcpnrl-mcnt put
     on s:.le' qmte n number of gnns, among them some Colt .32 revolvers
     in a .45 frame, nnd t,bey wore sol<l to poop.le out.over the country for n
     small sum, I think, around $4, Did thC1y nt that time have mnc11lnc·
     guns for snle, in the so.me way?
        Mr. N1ctt0Ls. No, sir,                                    1.

..      Mr. R»EJ•, Do yoh believe thut these 1nn'cl1ine guns nro mnnu-
     Cncturod by the criminals themsclvQs, or through some orgnni;o:ntion oC
      tl1e criminals?         .                              · ··
         Mr. N1cB0Ls. Thev could ho, very cnsily.      ·
        Mr. HrLL. Wher(l i1o they got tho ummunjtion for tho subri\nehin~
      gun?
                                                                          Exhibit A, Pg. 873
                     -- .
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                                             .             ~
                                                                                                    -153 -
                                        NATIONAL FIIlE~MS ACT
      I
                                                                                     ."
                ) •( r. N1caots. They con buy the-amm'~ni~ion 'nt ~~y :sporting-goods
           st-0re.          ··                   ..       .             .... .   •                  •'
                !vfr. V1NSON. They shoot an onlin1u-y pistol cil.rtridge? ·
                Mr. N IClfOLS. Ycs.                                 ,                     •
               The CaA1nMAN. Ofwbatcaliber? .. . ;·:
               '.\fr. N1cH0Ls..45.                      ·                     •         ,                .
         · Th'e Ctt.AJRUAN. Referring to the question of }[r. Re&! 11s to the
          -possibllit.~· of ~nnnu~ncturing machine gu_             1!s by the u~}l_nwful clemt:nt,
         it would rolJmrc qmte a set.up in the way: of n foc.tory. to do tbnt,
          would itnot7                       ,-           ·-· . .      1·                 •     •       · .,
         '-'.l\fr. N1cHOLs. NQ, sir. You 11re reforring to the machine guns;
         l 11111 referring to thesubmnchineguns.                        ': ·
               The CHAIRMAN. I nm tolking abont snhmuchine guns. . .                                ·
               ~Ir. N1ctt0Ls. A cle,•er gunsmith or o, clever locksmith ·could _p11t                         '
• I '     <>nt:    of thos~  together IH1t it   would     be-t1   c-rttde    job;-although  it would
         shoot.                             •         .                · .         :.               ·
               '.\fr. H 1LL. )fr. Treadway referred to a f11Jly l'qui1iped niltomobile.
               '.\1r. Trend wny. Yes; it is in the.city today. .                                      .
               Mr. .H f LL. Thnt was not o. crude·n.ffair, wus tt?. · '
        I ~fr. NICHOLS'. That Jnny hn,•e bclin u Thompsbn submachine.gun.
          l cannot conceive, if you will study that catalogue, how tbey could
          use n. mnchine gun.                       -
              J\1.r. TREADWAY. In n.n automobile?
             · ~fr;· N'1cn0Lt>. Ye8; in an automobile, or 1mywhere else. ·l\fa<Jh1ne
         guns nre only m1muf11ctured by my company ·in . tliis coimtry, o.nd · .
         thev nre ·nil cham bercd, for shooting the high-power military ,cart- · ·
      ._ ridge. ·· -          •                   .               '               ·               '            J
               The CHAIRMAN. \\'l~nt is .t he t1pproxi111ute weight of o. innchlno
         gun?                    ·              ··                   '" .
           , )1r. N tcHQLS. Sixty-live to ninety pounds.
           1 The CnA11t~rc         They nro too hea·n' to"be. cnr1ied:
           I !\fr. 1\tCHOLS. •CS.              •
                                                                      '
           1 :\>fr. \"JxaoN. Yo certainly could equip 0.11 nutomobile wii.h -. a
           1~111chin<1 ~uu.       ··           ·       ·     ·                       ·,
            l Mr. Tnt:AOWAY\. T~lnt wns whn.t. I \\'RS told.
               ~fr: V1:-isoN. Yo!rlmdouhtcdly ci>uld plnnt 11 mnd1inc gun in ,an
           1rntomobile and use it from IUl automobile.
             I ~fr. N 1cn0Ls. Jt .would. he 11 very inconvenient. thing to do nn!l I
           doube \'ery much if any cri111innl or crook or racketeer would rci;o.rt
          · tb thnt typo of w!'npon. .                           .. .          .
             I ~fr. EvANS. ) - 011 said your mo.rkQt wus nlmost e."\~h1sivelv to the
            t; nite.d l:'tR ws Government?                                  ·
               Mr. Nti::UOLS. Yes; and .such foreign go\'('flllllents ns we enn i;('ll,
            I  ~1r.,EVANS. Do you have nny.othl'r demnnds ut nll?
               ~1r. :NicJtoLs. No, sir.          ·             ·
                                                                                                                   r
               ~1r. E VANS. lfyou should h1wc, would you sdl one?
                J\1r. N1cHOLS, No, sir. .                  ·
                '.\fr. Ev.ANS. Are you .restricted by law or re~ulation or otherwise1
                ]\rfr. N 1cnoL$. Not thl\t 1 know of, c~octly,
             Mr. Tni::ADWAY. You use your                  own good judgment. ns to the
           ~ustomers you ought to deal with?
                ;\Ir. N1CHOL8. Y es.
                                                                                              Exhibit A, Pg. 874
                                                                                                         I
                                                                                                         I
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            -.· -.
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         · ·Mr. EvANS. Your ron~en1·woulfl not,, 1m'ci.er nny wnd\tions, sell
          anyone but··somo..P?hlfr func\,ion1.r,r or K,Over.n montnl H! ·cmo~·? ,
             Mr. .N 1c11oi.s. Either the. Governmcmt or n· duly at .• hor1zeu sµb-
          sidiary thereof.                      " ·             · ·            .        ·~
             Mr. Ev ANS • .Tho.tis nn ~varitible rule th,at rou }),ave?
             Mr. NrcHoi.si Absolutely; there is no oxce)>tion ..
             Mr. Ev.ws. H ns that alwnys beenyo.ur rul~? . . ·                              •
             Mr. NICHOLS • .Always.               .     . . .. " "                       .    · .·
             Mr. Ev ANS. So thnt any machine gun that may- be in the ho.nda of ·
      _• racketeers did not come through your soles department1.or otherwise?
             Mr. NICHOLS. No,:sir; and furthermore, I <Jo not~betieve there are
          any mnohiae gt.m s in the ~111.nds of racketeers; submachine gups; ye!:l,
         but we never sold those.                   . ·    -'   . · "              ·
             Mr. EvANS. Yon.sold' 15,000? ,                      .
                                                                                                                         ••
             Mr'. Ntcno'Ls. Yes; t-0 tl1e Auoo Ordnance Co.                                                      1(
         . Mr. EVANS. • Are t.hey restricted in their !lnle or distribution of those
         moclllne guns?                   ·             · ·        . ._                     ·        ·
             Mr. N1cnor;s. I do not believe in the ~n.rly days.they were.
             Mr. EVANS. That hns not·been·so long ago.                · ..
          . Mr. N1cu0La. It was in 1921.                                                                        "'
             Mr. Ev ANS. That is 13 years ngo. Those macltlne g uns could very
        .well-be in use yet, cotlld tl1ey not?           ·                              . · \
        · . Mr. N1cno11s. Yes; they nre in use. ·                                    · ·      ,· •
.            Mr. Ev A.NS. Do you think those are the ones in the hands of the
' '      racketeers?                          '                        .         ..             • "
            ·Mr, NweoLS. Yes,~.                      ··     . . .            .                    .
         ' Mr. Ev.A.Ns. Tluit explnins where the racketeers OJ'C getting·machine
         guns, i n part, nt lea.st.         . · ··            . ·                     ·    •            '
             M.r. REED. That ·exactly is the point I wns· trying to make when "
         I questioned tbe witnes$· before, that right after t he war they sold a
        -great number of implements suell as revolvers and things of that
         kind as surplu.sage.. They had been slightly used but they were
         apparently .in good condition. Doe!:l anybody know hQw many or                                     \
         these machine gnlU[ or submachine guns the Ordnnnco Department
         sold indiscriinrnately'/                                          .         ·
             M"r. ~EENAN. They did not sell any. He refers· to the Auto Ord~ ,
         nnnce Co., which is a p r ivate· co'rporat.icin. Mr. Ryo.n, the president
         of thnt oompany, has already a11pe11red. As I understand, the Colt
         Co. man ufactured and· seld 15,000 submachine guns to the ~uto ·
         Ordnance Co.
             Mr. REED. Wbat did they want them for?
             Mr. }{EJ!<NAN. They owned the patent on the Tl1ompson machine ·'
         ltlln and they wanted t~em _to &ell.at a -profit nnd ma~c some money;
         1t wns n puro commercinl tr&n·.:1nct1on.             ... . : .              '                 ,
             Mr. REl'D. They '>old thorn to nnybody1 mdiscnmmntely?·
             Mr. Kt<:ENAN. They sold thern to dealors or nnybodr tpnt wanted
       . them. l think tl1orc is no mystery about, that; I think Mr. Ryan·
         \vould admit it.                       .                   .          ·           .       .
             Mr. Ev A.NB. I Wlirit. to know ii this bill is oriact.cd"into lnw, would                                •
         it bo possible for anoihbr batch of submachine guns. to· got into the
          mnrkot in some wa)'.'?        •
             Mr. NrottoLS. I do not soo how. .
             Mr. Ev~NS, ~do you sny, Mr. Keenan?
                                                                                         Exhibit A, Pg. 875
                                                                                                      -     .
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                                                                                         155
           Mr. :KEENAN. I tllink in the firs~ plnoe there ia not. illlY legitunate
          manufncLuror o! machi ne guns.
           Mr. EvANs. But tht>y could still manufacture them.
           Mr, KEENAN. I imagine they could, but it would require elaborate
         cquip)ncnt:                    \      ·                ,
         · Mr. V1~sot1r. Th.'}y enn st.ill !llanufncture, oven with the Ill~'· .
           Mr. EvANS. Why not make 1t strong enough to make thnt1mposs1-
         blc?                                                 ·                  ·       _
            Mr. VrNsoN. You run into !the constitutional l)l'evisione.
                   The CHuRM~. lt would be a q uestion of whether you took the
               profit. ou t of it.                                                  '
                   Mt. Ev ANS. I am in tavor of making it im1)ossiblc to milnu facturo
              inst.nimcmts of that kind.
                   ~Ir. TREADWAY, lsn 't tfiis the unlortunfite situ&tion? .According to .
   11• '      Mr.      Nichols, I\ subn.11101\ine g'!n, crude th~ugb it mllY. be, on~ be put . -
               tog.ether by an ordmat1ly bnght mcchon1c. That is the s1t11ation,
               and if th11t·is going to rcnch the racketeer, you cannot ovcroomc it.
                   Mr. J:<;vANS. He would be a . bootlegger in the business, ond you
              tlllnnot. stop bootlegging.                                     .          .
                   Mr. TREADWAY. You say that so fa.r os 1.he present supply of t~ese
              dangerous submachine guns is concerned, you think they ure boi11g
              llll'l!cly stolen from police hendquarters?
                   Mr., N1cJioLS.,,Thoso used by the gangsters. The Auto Ordnance
              Co., as l undcrstaiill, still ,hnvo, lfut I do not know how many, a quan•
              tity oi the 15,000 thnt wc1'.c made in 1921.                  '
                   l\ltr. TREADWAY. 'Vhcy~rc allowed to sell them without any re$tric-
              "io11s'l
                  !vb. Nxcaots. I think not.                  .
                   MF. KEENAN, There is no Federal law.
                   Mr. TREADWAY. They ore situated in New York; is there 11 New
              )," ork State lllw that prohihi ts tbem from being sold in the Stato rif •
             New York?                                              .     .                   ..
\,
 \                 Mr.     KEENAN.   I  cannot    answer   that.      Jlre
                                                                    There      severnl States
              , ,·hich huvc luws. Illinois hhs such n lu.w 1md 't'exns hos nlso. · · • . ··:· .~
             · Mr. TREADWAY· . New York you d'o not know about?
                   Mr. KEENAN. l can.not answer that.
                   Mr. TnEADWAY. I fLS!lumc these ure storod in New York?
                   Mr. 'KEENAN. " re have on agreement, a code ~ement., whoroby
              thoy do~ot distribute or sell tnem to noyone wtthou t. the s~ifio
              permission of tho Department of Just.ice, ll.tld I would like to hnvo
              tho l'Ct'Ord show that this company hOB lil'ed up to that agreement and
              bna acted in an honor1lhle foshion.                ·
                   Mr. TREADWAY. len'~ it i1 !net that those three men who nro on
         '. trinl for murder in Muesachusetts today, in connect.ion with t.ho kill-                 •
           '· it1g of•~ policeman nud bnnk officinls secured their big,supply' of those
              ~oarona Ii 1 nn e:.xhibition in nn armory somowI1ero in Massachus11tts
              which they              'nto?
                   Mr. NtcHOLS.         at ie my undeTStooding.
                   Mr. 'fn.tA.DWAY. Ao<! th11t is nn illuetmtion thn.t led you to say
              tbnt the prest1nt &~'J'.)ply iiJ beisig st-0len, I llilsutn9? . ·
                   Mr. N ICROLS. 1'. \18.
                  Mr. EVANS. Mr. Chnirmnn, it occum to m11th11t13 years ego when

                ·~                                                       '     .
              lhie concern bo11gl1t these 16,000 eubmo.ohino guns, it 'Ulldoubtodly ,
              hod'1lru>nl n111hority to b,uy l\nd sell them nt· that timo. IsExhibit
                                                                                  it.not A,
                                                                                     '
                                                                                            Pg. 876
                                                                                         vory'
                                       . •.                 I                               •.
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          likely that they have the same legal nuthority to sell them n.ow thAt
          they had then?                                           .            '
            Mr. NICHOLS. As far u.s I know. ·                                           •
             Mr. EVANS. You would know about it iI New York had passed n '
        . .law in the meantime? .       --- · ·                  · ·    •
             Mr. Nicaoi.s. I do not know of any law in New York that·covers,
          that point.         I                               .

         · Mr, E~ANS. I (>1'6S\lIDe they- are selling those guns yet,           ·
             Mr. VJNSON. Mr. Keenan, as I undsrstood him, said. that they had
         s!g~ed a code ngr~ement and that this concern .did not sell the sub-
         m&chine gun except whero_:mch sule wns approved by tho Depart,.
          ment of Justice.
           - Mr. KEENAN. That is correct. We have no practical problem ·
         with reference to machine guns mado by legitimate manufacturers or
         dispensed by legitimate persons. There are, in several parts of our                 ' I'
         country, bootleg organizations tbo.t are manttfucturing t hem., in
         accordance with reports from special agents.
        ' Mr. V1NaON. You are speaking of submachine guns?
             Mr. KEENAN, Submachine guns; yes.            .             .
             Mr. McCLmTic. What is the name of the company that owns
         the machine guns in New.York at the present time and bow were they
         acquired?
             Mr.'N1cH0Ls. They are named the Auto Ordnance Co. I do not
         know the address. We ma~ula-0tUNd u~er a...contract in 1921 1
          151000 of those submnchi.n e guns, not. machine gunA, btrt submachine
         guns,·for them.               ·
             Mr. MCCLINTIC . For whom?                            -
             Mr. N10a0Ls. For the Auto Ordnance Co., Nnw York City.
I            l.\ilr. ~{oOL1NTtc. ·They bought them and p!lid the regulor price?
             Mr. N1c110LS~ They bougl1t thent rutd paid us tbe conitnct price.
[         \~e had nothing to do with tb~e sale or distribution anywhere at nny


I         t11ne. .                                          -          ·   .
             Mr. TREADWA Y. Until there wns a (',odeo.greementreached with tlto
          firm, they •Were abl~.. to dispose Of them le.gitin111tely to SUt'b CUS;              .,I
I.        tomers as miltht apply, without rp.striction, either of a 1''eder11l natul't'
          or under tho 'New York Stnte lnw, 11s fll.r Rll•WO can learn.
             Mr. ?vlcCLtNTtc. Do you bave llny information as to ho_w many
          they now ha'Ve on hand?                         ·      .
             Mr: NrcnoLS. 'l'hey have never ordered ariy since the original
      • · contractt imd I do not beHcvc th11y will. If th11y r nn get out of thnt
          <l11nl whole, I do not think th<'y will go hack.
              Mr. Hn.L. \Vlint wns th e other proµ osition you wantod to submitf
            · Mr. NtcHOLa. It w11s 11hout J.he tnx in tho n11•1is11ro under discussion,
          nnd for this reason, for in11ny, many yonra wo' have distributed our
          product through a selected number of jobbers, wholesale.rs, and
          retail de11lers. Vi' e do not sell to tho (',onaumer or the user under any
              . umstances. TJte~re is DO profit in this business, to speak. of, to the
          <:ire
          del_ller. He ~ill not pay this t.n.x ; ho will gq 6ut -of business.. You c11n
          quite approc1ate, I ohev<', whl\nl thet 1.-aves 1Ul:' ·\Ve will not et\11
    ,     the user; we refer him now to bis nonrcst deruer, give him the name, if
          you please if thni will help him amy. I dm1bt ~ery much', gentlome.n -
          af; under tbia measure we woi1ld bo just.ificil in continuing in this.1u1111il
          "rms business. •                                          .
              Mr. TRr.:ADWA y, Yiou n;ioan piAtol11 and rcwolv'1m?              Exhibit A, Pg. 877
'                                                                               I
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                             NAnONAL FffiEARMS ACT                            157
                                                                 .
          Mr. NICHOLS. Yes· spto.king solely ns to pistols a.nd revolvel'S.       -
         Mr: Tn'EADWAY.     You    Iceh tbn.t the inconvenience of this registra-
     tion and the ta!'Cation wouletpracticall.y do away with the demand for " •
     legitimate sale of your goods?                      ·              .
         1"1r. N rcHOLS. Yes, sir.            .                .          ·
         Mr. HILL. You have reference to tho sue or the ta7'; not' to the priD-
     <.'.iple, but. to tbe amount of the tn.x, {lo you not?                 ·
         Mr. NICHOLS. Yes,· to the 11IDou11t of' llie tnx; nnd ruso I a.m con-
     sidering that in many Stntes n. law olrondy exists where the dealers
     pnys such a. tax to handle smoll nrms.            ·                      ·
         Mr. H1Lv. If you take away tl1e tax feature entirely, this bill goe.s
     out of the picture.                                                    ·
         .Mr. Nrnnois. I undershw<l thttt.                      '
         Mt. McCLrNTtc. ·what otJu~r articles does your concern manu-
i
     facture?
         ¥r. NICHOLS; We manufacture
                                     ~
                                             a
                                                                   .
                                                   molded compound material,        . .,'
                                                                                           .
     such ns bottle cnps, tube cops:, nnd certnin lines n{ electrical equip-
     ment. We me.nu!acture d~h-wsshing machines Qf large types.
         Mr. McCLINITC. Y 011 do not manufacture shotguns? · .
         Mr: NtcHoLs. No sir.
         Mr. McCt.mT.Ic. Not.bing of t.hat character?
       Mr. N10H0Ls. No, sir.          •      .
         Mr. McCLINT1~. You d'o ho.ve quite a.n e:ttensive foreign businees,
      d.o 3'0U not?                                                   . ·
         Mr. N1cROLS. On n.rms we have had, up to the pl'esel)t depression.
         Mr. McCLINTic. Then Hie placing of o. ·to.JI on pistols does not
      necessRrily ,mean that your concern would go out of business?
         Mr. N1bR<>Ls. No.            _                      ·1
    \ 1\1.r. McCi..tNTIO. What you have in mind is that you might sto1>
      tno.king pistols?
    '-.-Mr. NtcaoLs. \Vo might stop making 11.Dd selling pistols. I
     'w onder if you gentJemen want tho.t brqught about. ~we were very
      Vl\hiable to the GovNnment during the war.. We cannot maintain
      a plunt to assist the Govenunent in cu.se of wnr, unless we co.n stay in          ..
      the business. We have been in business nee.l'ly 100 yen.rs, an honor-
      11'h!~ business and n.-Je.gitimo.to .business. We '11ave US6d the utmost
      co.re in the distribution nnd sale of our product. .
         1\1r. 'VINS-ON.- What is the average Stnte tnx upon deniers lor the
      slile of pistols and rovotvers?                          ·
        '}.-Ir. NtCHOLs. 1 am very sorry, bnt,I cnnnot give tho.t.
         Mr. VINSON. Cnn you give tl1e 1n11ximum?                '
         ~ir. NICHOLS. $5 to $10.
         Mr. VtNSON. This substitute '&Ill, ns I see i t, cnlls upon .t,he donler
      to pay $200 a year. That is quite some ditTerenc~
         :Mr. McC'uNTJC. WhBt wo11ld be t.ho <'ffoct of th.egisln.t;iqn if'n.
      now provision wore ndded which wo11ld exempt duly organized rifle
      clubs or pistol clubs, o~nized under some Fedl'rnl supervisionf
      Would not that· nllow those thnt are intorcst.cd in nmrksmnnship nod
      pistol shooting to oorry qn in n. sntisf11c~ory mnnne.r? ·
         1'1r. NICHOLS. To I\ certnin extent.
                                                                                       '
         Mr. McCLlNTlC. l think that snoh U: provision along IJ111t lino cifu ..
      bCI odded to the lC1gislo tion.                         · •·          ·
         Mr. N1cnoL~. ·The prose!'ltnt.ion 1uong thnt line by Oenernl Reckord
      yeaterdny, I tlunk, covel'S it very Cully. I am not 1t.lnwycr; I am a
           n8278-H4':--11                                            Exhibit A, Pg. 878
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      plain, ordinJP'Y busID:esa man, and sometimes I tJUn!c no~ a "Very good
      one. The other _pomt I w~ted to touch upon JS this: That the
      rascals that the Department of Justice wants to get hold of is a
      difficult matter. The first thing the Tacketeer and the bad man
      does when he gets hold of a gun, and they .w on't bi.ty it; is to chisel
      out every identifying lntll'k on the weapon. We keep a record reli-
     giously, and we ask our customers to keep a record of where they a.re
     eold.                                              ·
         Mr. H~L. This bill provides against that; iii rrovides for that
     contingency, where they.obliterate the number1 as understand.
         Mr.'N1ceoLB. Would that stop hiIQ from domg it?
         Mt. Hn.L. It would not stop 1iim from getting the gun.
         Mr. N1cnoi.a. Would it stop.him from taking off the.number?
         Mr'. Hn.r.. No;J>ut it would make it an oflenseif be did take it off.
         Mr. NICHOLS, JSut you ore talking about the registration.
         Mr. Hn.L. It is not expected, as I understand, that he will regist.er.
         Mr. N1csoxa. No.
         Mr. Hn.t.. He will bave the gim in his possession; he may have
     chiseled tbs number otf1 but if you find him with that kind of a gun,
     not ~t.ered, then he 11as comm.itte<l an offense.
         Mr. Nrcuor.s. What is not regi_stered? He does not register in .the
,    fi:nrt. place. I may be thick. on this; Mr. Keenan ha11 been ·the soul
     of courtesy to me on two <?CM8i~ns, but I ~llllll~t get through
     where the matter of registration, the licensmg, tbe 6ngerpnnting,
                                                                      mr   h.ead
     photograp~, if you please, are going to get that bad man or hefp
     to geti him..         ,
         Mr. RBlilD. I do not know that I can make it clear t.o y ou, but here
     is my understaading: That if they find the man with• 1the weapon,
     with the number chlSeled off, the then has in his possession l!Otnething
     unlawt~i and it raises a· presmnption of guilt against him.
          Mr• .NICHOLS. Yes, sir.
      · ·Mr.. REED. And that aids the Department of Justice in the prosecu-
     tion of tJ\e man; that is .the theory of it.      •                           "
         Mr. HrLt.. It enables them to hold him until the case is investignted .
         .Mr. VmsoN. It subjects hinit<> a fine of $2,000 or imprisomnent
     of noe mor6 than 5 ye8.l'!!.
         Mr. NICBOloS• .Even SOj nut    wliere is the advantage of registration?
         Mr. Ev..ws. It seems to ine that is the answer.
          Mr. VINSON. Hie point is you could have that offense for that
      thing without the necilsRity for registration. You can trace a revolver
      from the factory; it h118 boon done hundreds of times; it is more cum-
      bersome,_ perliaps, than if you ·simply had to look at a list. The point·
      tho gentleman is makin_g is "f.O~ could have_ li.n ofrense with !11gard
     .to the erasure of an 1iientifymg mark without the necess.lty of
     registre t.ion.                ·                   '
       Mr. N tcBOLS. That is my understn.ndjng:           .
       MT. EvANs. The primiµy purpose of the r~tratio11, as ·1 get it,
     is to ~isb a means whereby one may have le19timat.e possession o( a
     gun. 18 tt not?
        Mr. N1cmot.s. I beg your pardon?                    '
        Mr. EvANB•. The p1,1rp0se of registrt\tion is"f.Q legitimatize the poa.-
     aesSion. o( firearms. ·
       Mr. Ntcnot.s. For pistols and rev11lvere.
                                                                  Exhibit A, Pg. 879
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                            N.&.:rlONAL l"fBlUBMS .Af!r     •                169
       Mr- EvAl'iS. 1 have o. pistol which wns given me 25 yelllB ago. i
    h11.ve not soon it lor-10 years, but U this law passes I will have to have
    that pistol registered. That meal.IS T, 11.m in 1&.wful j>O:SsClSl!ion of that
    pistol and nobody' can gues&aon it, 1>ut if my neighbor h88 a pistol,
    not registered, as Mr. Reed points out, there is some presumption
    that he has that illegitimately. Is it 11ot a good thing w have the
    registration, then?                              -                          . ·
       Mr. N ICBOLS. I am afraid on certain of your questions 1WJ re1)ly
     would be prejudiced because I am in the busineis. -
        Mt. MCCLINTIC. I have before me a statementi ol lour company
    whichs.hows that in 1932 you had a profit of $20,795 an in 1933 it had
    increased to $675,132. I WllS just wondering whether the increase of
    law violation, gangster operation, and so forth, had brought . about
     any increase m the sale of articles which you manufacture'! .
        Mr. NrcHOLS. No, sir.
        Mr. McCLJNTIC. How do you account for this enormous increase
    in profit?
                                                                                    . ~




        Mr. NtosoLs. That increase in/rofit as you haveJ"ead if, was in
     connection with a con_tract I close with the .Argentine Gover,mncn~
     fu 1926, and for one reason or another, we were unable to find out
     we completed this contl'act but they did not pay it until 1933, and
     that is reflected in tho increasG. Tlist wss for machine guns.
        Mr. McCLINTJC, That is anticipated profit?
        Mr. NtoBOUI. They paid it in 1933.
        Mr. McCLINnc. Then the impression is lmt by you·\vith the com·
     mitteethatyourcompanydealse:ctcusivelywith manyforeignDAtions?
        Mr. N1caox.s. Yes., sir; we did prior to the depression.
        Mr. McCLINTIC. The (act that we would put in a limitation on                  I
     pistols would not in any way cause you to go out of business, would it?
     It might reduce your pistol sales to a sm8.ll e.tjent, but it is liable to
     be made up by some ·sttuation in foreign·cOJmtries whieh bring about
    -e.n inerease in business.                 -..
        Mr. N1cBoLS. No, sir; not in sme.11 arms.
        Mr. REED. The thing 1 have in ntlnd, l cannot see· the point in
     t~~&l these small dealers. 'I will take my own home wwn, which
     is typ1ca] oi many town-; in °?Rn~$trict. There are several htndwaro
     stores. One man will be se ·         arms beca~ b<i handles .t hem in
     connection with sporting goods. I do not kiiow how many such
     there might be a dozen or more hMdling firelU'IllS. Hyon          rut
     stores the.re are in DlYi town; I suppose in this little town .of 17,000
    •of S200 on them, I can see where 9 out of 10. would go out o business
                                                                           a tax
     rather tnan pay any such tax. The. profit is too small.
        Mr. 1'{tcsoLs. ~d you would put that tax on revolvers and pistols,
     where he may sell 8 or 10 a yettr.            ·
        Mr. REED. I think the tax is too large; I do not t11ink it accom-
     plishes a.n:y great purpose. You may require them· to keep rec~rds,
      but when it comes to a tax of that size, I think .i t is too llU'ge.
        Mr. MoCLINTIC. Does the gentleman have in mind the t hought
      that he pays no tax on the kind of firearms that are most in demand,
      shotguns and rifles, which are the two killds of weapons bought.by:
      the sportsmen?                 ·      · ·•
        Mr•. REEJ>. A lot of pooplo havo Mbbiee. . I b3ve qllito a number
      of tevolversl· I like to ·shoot at tlµ-gete. I b~ve a .22 Colt and I
•     have the Co t,.32 in A5 lrames1.whioh I toke down to the f&nn and
                                                                      Exhibit A, Pg. 880
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                                   I

     shoot at targets wtth, It is o; hobby. Alter you use one so_Jong,
     you like t.o try something new. I can see where t.b e small dealer·
     will sell a number or such W'eaj>ons.
        Mr. McCLINTIC. We are bound to admit that it would reduce tho
     number of dealers.
        Mr. "REED. It seems we migl1t a.ccomplish the purp<>se without
     destroyirig the dealer, without to.~g him out of business.
        Mr. McCLINTIC. I have thought 'that if the present situation
     ex:ist..'i tJU'Oughout the Nation, with respect to kidnaping, we l'tlquire
     something pretty strong.
        Mr. REl!U). I Will do anything that stops )<idno.ping. The question ,
     is, whether you a.re going to do it without putting on the heavy tax.
        Mr. HlLL. 1 think this is a matt0J' for executive session.
        Mr. EvANs. How many States in tl,10 Uniou have laws ~gainst
     cfl!'Ij'IDg_ concealed weapo.ns on the person?
        Mr. KEENAN. I should say approximately three fourths.
        Mr. EVANS. Some have no prohibition oJong that. line?
        Mr. KEENAN. No; some have none.
        Mr. BILL. Who is the next witness?
        Gener~l REcKORD. This gentleman W88 not our witness. H o and
     Mt. B~n Wel'6 ment.ioned by the cba.innan.                           .
      · Mr. BJLt.. Does Mr.. Harrington wish to me.!<o a stawment?
        General R~KORt>. All we would like to say in closirig is what we
    .have stated re~atedly, that we aTe willing to withdraw any objection
     that we have mterposed if tbis bill is made to apply to machine guns,           •
     submachine guns, and sawed-off .shotguns. We will go ,along with
     such a bill as tbat. We will take either bill that has been proposed
    if they will eliminate pistols and revolvers, and ·we suggest they do
    it for a ,Y.ear or two and try ,it out. If in a year or two, with all the
     other bills that have been passed, and the colwnns of newspapers
     stated last night that the &nnte and House were in agre<>m.ent on
     those bills, and with this os fl. m.aehlne-gun bill sole~v1 we believe the
    Department of Justice will get the men they are after. ~If they ·find
    they co.nnot do it, then we Will come along and try to work out ·the
    .niatter ·of Eistols anu revolvers,
        Mr. McCLINTJC. What would you so.y along the line of a com-
    promise by adding to the legislation a section which would allow
     pist<il clubs o.nd·certain organizations to be exempt. from the provisions
     of this legislation{ in order to take ca.re oI those who are conscientious
    in the thou~ht o promoting mnrkemnoeb.ip and. t~gs of that Jcind?
        General REcKoRo. Mr. Cooper asked me pre.ct1ca.lly that ·same
     question. I told him tbt1it we had agreed, in an effort to get together
J    with t11e DepsTtment of Justice1 to o.ooept. SU'}h an n!Ilen~n;ient,
     n.lthough we are not favorable to 1t, because &t. will look like it JS an-
I    effort on our pnrt to force peo{lle to join our orgnnizntion.
        Mr. VINSON. There will be tnore folks nftooted who aro not members
I    of pistol c1ube..
        General REcxonl>. ·~lillfons will be affected. II this bill is ba!Jically
    'right, you do not need to lllfcept. our mtirr\bors, fl.Ild we are not asking
     you to except them. We ask you to elinu"nate pisto.la and revolvera
     and rnnke it o. mncl1ine-t,'11n bill and lot us t.ry it.
        Mr. M cOLJNTIO- We mm take care pf the membership bnsinass;
     wo can write e.n QJD.ondmont so t\8 to foot it so· thn~ en org1mIZ~tion that
                                                                    Exhibit A, Pg. 881
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                 had no n1Blll~rship lee could have the privilege, of participating in
                 matches of this kind.
                   General R"ECKO.RD; I would ~e, f<>r _tbe benefit ot ~be re1iord1 if
                 Mr. Soth Gordon ~hti be pemutted tO read a resolution. He nas
                 handed me a resolution whic11 his organization h11.s passed.
                           STM'EJDNT 01' SETH OORDON, WABBINGTO~, D.O.
                   Mr. Goano~. This is a resolutiol> of the I.znak Walton Lengue of
                 .America. The Izaak Walton League of A,merioa, at its convention
     I   J.      ~Aprill recomrneI}ded tha~ there be n1:> legislation o( this kind 11t this
                 time ana. passed this resolution.
                   ~. Hn..J... It may be included in the record.
                   (The reROlution referred to i,-; as follows:)
                 11.EBOLll'l:ION ADOPTED BY 'Tll1: TWELFTIJ ANN tJAt. CONVEl!lTION OF Tll6 lL\Ai;
                              WAI.TON Ll!lAOUll OF AP.UlRICA 1 ORTOA00 1 ltl.., JANl1AIW aJ, 103t
                   Whereas 110me 13 million citizens in this Nation, both mun and women, take
                 part in the sport of hunting, both with rifle und sbotgun, rille and pistol tnrgot
                 ahooth1g, and the sport of shooting cla,y birds; a11d
                   Whereas it is moat desirable t hat the youth of this land, hoth boys and girls,
                 should be taugbt the proper use of firearms while young and thus, lo a great -
                 m.caeure, prevent. tbe occa.siono.I accident generally boro of ignorance o{ the
             _ proper handling or firearma; and ·
                      Whereas, during the past rew 1ears, thirtountry has been experiencing a dis~
               graceful wave or crime and dommation of gangs and raeketeeis in many or our
               leading and most erospcrous citltu1; and                                            .
                      Wl1creas a certruu element of our citizens propose, a~ a control to this dlsgrn.ce-
               ful ciriroe W&'Ve, the control and restTiotion of the sale of all firearma Of wbatao-
         r-...;e;,,;,v:.. er:...nature, and to prevent by law the tTnining o( the youtl.i of this la11d in tlte
                              ( firearms; and        '               .              '          ·
                      Wltereas at tho present time there are certain bills before the Nat:onal Con-
               gresM designed to restrict th.e use &nd sale ol fireattru1 in t!lls coimtry; &lld .
                      WllerC48 such lnws will merely_dissnm the. law-abiding citizens nnd will in no
               wt.1.:/ prevent· the crook, the robber, and the gangster from getting fireanna, lllld
               it is self-evident to any thinl<iug pen;on ih3t the real remedy to our crime situa-
               tion is not in disarming the luw-a.blding 11itizell8 but, on the other- hand, the
               diligent.onforecmont or suob·1awa 111> we now bavo; Therefore be it
                       Reaowed, That the Twelfth l\nmml Oouvuntion of .tile I21>11k Wnlton League of
               America, in it.a annual convention aasembled, ibis 20th day of Aprfl 1934 go on
               record WI being oppolied to any and a.11 antlJircarma lcgisllltion that will in A'n,Y
               way o..lfeot the right of our citizens to own a.nd bear 11ru1s freely,
                                                                  '
                    STATEMENT Ol7.TOSIP1l B. KEENAN, ASSISTANT ATTORNEY
                                           GENERA:!.
                                                           '
                   l.1r. Btu. M.r. Keenan, do you have anything fur.tbar?
                   Mr. K."EEN~. 1 do; but I would as soon put it in the record. It ia
                 veri brief; I will not burden the col1Ulllttee; it ia merely this: For
                 the· purpose of the record, and ~o there will be no misunderstanding,
               · a common impression bas been created tbut the legitimate firearms~
                 mo.nu£acturing companies of this country have opposed salutary
                 reguln.tions of firearms from a selfish viewpoint. I want, t.o say thn.t
                 I bnve been iti communication with the large.st -mnnufacturera1 and I
                 have found that their attitude was nn extremely decent and {air one.
                 They have attempted to work with the Depnrtment of Justice and
                 in some way to preserve the "legitimate business interests, and to
                 w.ork out the best J.>..roposal avt\ifable.                •
                    Mr. TnE.\DWAY. Jsn't your statement. bomo out by the ·testimony
                 or Mr, Nichols? Ht> waa em[lbatio in hia statement tha~ hisExhibit  A, Pg. 882
                                                                               compaQY
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wants to abide by the proper ~egulntions of the Government in con-
trolling the illegitimate sale ol these weapons.
 · Mr. KEENAN. That is correct. I cannot overempbasize that.
There has been a rea.I effort made along that line, o.nd we feel that the
opposition to rules n.nd regulations that would not be burdensome
come from those whom we term hobbyists; but the legitimate enter-
prises, reflecting an investment of capita l and the jobs of the cm-
ployees,·have shown a splendid sx>irit of cooperation with the Depart-
ment of Justice. I do .not. want this occnsion to go by: with some
contrary notion prevailing. I t doea n.ppenr-nnd ·I think it would
be agreed to by Mr. Nichols-that today such companies 'ns he repre-
sents l\ro not making mo11c.y 1n the manufacture and sale of small
Jirenrins to individuals. On the contrary1 they are losing money;
they Mt?. in red ink. Mr. Nichols says. t11at is correct. If we do
eventuaUy ourtail the distribution of .firearms, we will not be destroy- .
in~ the profits ol legi.ttma.te industry. The fact is, they arc not oper-
atmg 11.t a profit iA the mnnufacture and distribution of small firenrms.
We Will let thnt spenk for whatever it means., So many times refer-
ence has been made by members of tbe.comnuttee to this unconst1tu-
tionol l~lation. Before this hen.ring closes I would like respectfully
to call attention to the cruie of Nigro v. The United StateR, found in
volume 276, Uni ted Stntes 3tt2, which is a decision by Chief Justice Tnft,
decided April 9, 1928., in int;wpretation of the Harriso.n Narcotic
Act.
   Mr. T.nEADWAY. l:Ins that n direct bearing on our problem?
   Mr. KEENAN. It bas on IJie constitutionali ~y ol tl\e provisions set
lorth.                                                     .
   M r . TREADWAY. I suggest that Mr. Keenan Cumlsh Q, synopsis of
it.
   Mr. Hn.L. Ht)w long a decision is.it?
. Mr. KEENAN. It is qui~ long o.nJ invollfed. I think it might be
epitomized.
  Mr. TttEADWAY . Will you mnke a.synopsis of it?
  Mr. KEENAN. Yes.
  Mr. VINSON. What is 'tl1e constitutional point mvolved?
   Mr. KllE~AN. The point involved is where o. tn.x is required to be
paiCl by cartnin persons under the Harrison Narcotic Act, and whether
other pe~ns tbnn those required to pay ~he tux r.an be required to
perf?rm c~ to r.omply with the. law, which t.h e Congr~smen will
see ts ge ting dangerously close m ano.Iogy to the precise matter
involved ere1...!19 far os .the ·~onstitutiona1:ity is. concerned. ,
   Mr. R n.L. I ou are refernng to the registration fenture?
   Mr. KElilNAN. Yes. I think w1,1 ought to4i.ns\\'er one question, par- .
tict11arly1 usk~d bY. t~e Congr~man frc:>m Cnlifomia, as to what ·
good reguitre.tion will ao. I think t he pomt hn.s escaped some mem-
bers of th0 committee that hnve not attonded all of the sessions.
Wrtbout-registration, _thore is no w11y_ to get o.t tho control of fire-
o.rms now possossod, before the elTectlve date of the net. l t would
be helpful m the prosecution of cneos where fironrms woro in posses-·
sion of t hose go.1:1gsters roaming the lands, whicl1 wero acquired
previous to tJia 'lnnobnent. of tl10 ru!t.       ·
   Mr. V1NsON . V\1hy di'd yo~ not provido for r~gistrntion in Lhe orig-
inal bill?
                                                                Exhibit A, Pg. 883
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•
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         Mr. KEENAN. My IUISWer to that is we luul not given it sufficient.
                                                              or
      t.hougbt to exhaust nll the possi~ilitios Federo.1 control.
         Mr. V1NsoN, You had given it thought ooough to cause the Att.or-
      noy Oeneru.l to so.y that lie was afraid it, w11s not constitutional.
         Mr. KEENAN. l think I ought to answer that the matter of registro.·                                       ..
      tion1 following the provisions of the n arcotic aot, not tbe terms of tho _.
      net 1>ut the rcgulnttons promulgnted1 bnd not been tnken up wlth the
      Att-Orney Genernl o.t tbe tirll.e he made the stnternent.
         Mr. V.msoN. He eicyressetl his view at that tinio.
         ~1r. KEENAN. I thtnk the Attorney Ocnorol oxpn'SSCd no clafinito
     opjnion o! its unconstitutionality. b ut lie bad some doubt.
         Mr. VtNSO"ti. He said be was afraid i~ wos unconstitution11l .
       . Mr. l{EENAN. Ho su.id he Wl\S nfr11id It wus unoonstitution11l, 1U1d
     we got the suggestion while discussing it with the committee, and from
     f.urther consultation with another brancb of the Government,, otbor
     than t11e D epnr tment of Justice.
         Mr. REED. With teg,ard to tlie 'registration, what we·are seeking to
     do is when n criminal comes into court to prevent him from escaping
     prmw.cntion by his saying that he pu:rchu.sed t.hc weapon prior to the                                        •
     enactment of the st.atute, "'-
         Mr. KEENA.N. ExMt.ly.                  ·
         Mr. VmsoN. Oriruinal or law~abitling citi:r.en1 if he did he.ve it prior
     to tlie effective date of tb.e act, under the la\v tnere is no ~Ity.
         Mr. KEENAN. 'l'here is a penalty if he tr1ineport.s it m interstate
     comnierce.                      .
         Mr. VJNsoN. But I thought you indfonted yesterdliy, or the day
     before, or some other time, that becnuse there was no .crime in the
     possession of it that tbCl'e was so.me coosidortitioo to be given to the
     iden tbot you ougb.t .not. to make it a crime t.Q.tronsport it across St.ate
     Jjpe.s.
        ~·b~ KEENAN. 1 did not int.end to oonvey that idea.
        Mr. VINSON. You conveyed it to me.
        Mr. KEENAN. I did not mt@d to so.y other tl1111J this: No j>ennlty
     was provided for the failure to register, although the Treasury Dep~rt­
     roent bo.s suggested thot such a penalty be provided in the act, but
     it was left out, because we wanted to got a bill, from a practical
    ·standpoint, that might receive the favorable oonsidere.tion of the
     commi.tt ee, realizing tl111t there would be grco.t opposition, os hoa
     developed, from I.hose opposin~ the measure, even to the point o(
     one man saying, "I am not gomg to U1e trouble oI registering nnd
     givmg my nnme llJld nddr~." ·                                . -
        (Mr. Keeno.Ji subsequently submitted the following est.imat.e of the
     o.nnual revenue to ho derived from the propuscd firearms tax measure
     and an·amendment to seotion· 4 o f tho .proposed act upon the e1igges:..
     tion of Mr. McClintic:)                                              •
     Salca of new firenrms1 60,00011 year ••••••• ••••••.•••• '.:· --·--- ~- · - $6()1 000
     .$111\:11 and tTanafere or Ulllld ftroarma, 40,000 a '.\'llAr •••••• :··---·----·· · 40, 00.,
      R evenue from ta:t on doAIOll' nm.I po.wnbrokefl!:
             200 whole641crs and 2,000 ret'f'Ucrs ot SIOO c6Clh •••••••••••• • •••• 220, oOo
              IQO J>&.•mbrokcra 8\ $300 1111ch•.•. - - - •••• • • • • •••• ··-- ••• ·-- --· SO, 000
      R ev... nue from trur cm m1<clltnc-gun J1U1Dt'lract11rens:
              20 Mies o.t $200 caoh . ................ ....... ..... ........'\...                4, ()()()
              • roo.nufllctun.-ni ni !$GI)() cnch. _.• ___ •• •• • • _•••• • _·-. ___ ••• ••• • • 2; 000
                                                                                         .
               Toinl-- · -M ·· ·· · · ~·· · · -· M -·- - --- - ··- ·· ·· ~· ·- - ~~-- ----- Exhibit   A, Pg. 884
                                                                                            -- · · 850,000
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     Th11 ~titnated number of new and ueed ·weapon• hu ~n made from t1g11res
 &hOl'l'ing Ute preswt nlY"11ue derived from tb.c lautfon o[ piatola a11d rovolven
 rrom Ure- number or machlne 111111a eold annuaT!y1 Imm tlle number of .Pistole an~
 J'OV~l\'.<:l'!I manufactured lo t'!tio country.I wbfill1. h111 fluetuated from approiu-
 matcly 165,000 in 1920 to 00,000 In J9;j;j 1 and from t.b u 11u!Ilber of llcen84)" ob-
 t.alncd In New York Olty in JOiJ3 to p11roballe piAtolu111d revolvers.
     Si:c. 4. (a} It ehall be unlawful for any pcfQj)ll to trnnsfer a 1ire11rm1 <ixO()pt In.
plll'!luancc of a written order from the person aoold11g to obtain such nrtlchi, on
11n appllcation form ioued In bhmk i11 duplie11tu for Llu•t (lUJ'J>08C by \he Oom•
 mlNsl'onor. JC tho np11Ueant le e. !IIOmber·or tlll}' AMOGlatlon, dC8igJlated by tho
 Commlulone.r, which, Jn good faith, fa organbcd for \ho purpose of, and 18 engagM
It; argot nhontlng or lmnting,auch order abaJl ldcntlly the o.ppllcant ns a m~moo:r
01 aueh nasoeilltion. lf\>1111 other cnses auch or<lcr ahcdl identify tile applle.t\nt by
11uch me1rne or jde11tifico.tion u may be presctl~d by reg11utio"" nnder this o.c1t:
 f1'ixtid(d, Thnt if tlic &J)JlliCA11£ ie an individual suoh idc11tiliution sbaU b1qlndc
finge111rinta thereof.                                                     -
  Mr. HILL. Thisclosos the hearingi on tl11.1bill, as far asl om adviaed.
  General REcKono. I Jesire to extend my remarks if it is agreeable
to the committee.                                                        ·
  Mr. H tLt;. Without objeotion you moy                       me
                                                         any additional s tate-
ment. you desire.                                                          ·
  (The etatem.ent. referred to is as follows:)
  The circula.r ttlatiV'e. to H.R. 9066, referred to by Mr. Allen, was not bl'Olld·
esat., llecauae by tli~tinio It bad been deliveTCld to 1111 IU' tho printer and Ure n1111ea-
saq eopy o! tho bill to accompany tbe circular ba.d been obtained &nd printed,
conferenQCa were ll.lrell.dy under way With tJ\o lltt1>r11ey General's Omcci 111111
lndlc&tions were at th&t thno that several illlpott&nt ohanges would be llllldo In
tbe origlnnl dtart of the biU. Having. no desire to aprend misinformation, tho
mt.lling .of this J11tter \\'II.If withheld, and it wae fi11111ly deetroyed about G week
ago. A consl:lerable number of Individual copies or the lotter and tbo llOCOln•
panylng bill were malled, pr1ncl11ally fn response to Inquiries from sportsmcm, but
ID et.~ case a per1011Al letter accompanying the printed circular pointA.1.d out that
111.ny of the comment. would probably not applJI to the rcdm!tiug of the but oo
whleh we 11-ert: working mtb the Attorney GeJ1eratlll Offlee.
  Tile attempt whieb WM made by Mr. Allen tu luve the Impression in tho ml:ndA
or the cotnllilttee tbt.t thl.t circular wsa btoadcaaL throughout the United SIA~
wt.a therefore cnti~ly unwartt.uted. I n vie'Wof lbo fact that the repl't'8Mta.tiv(-o
of tho DupAl'tmcnt ot Justice at tbe committee hearhtg on Monday tJus Jiit!\
bad 'befln personally advli;® tltat tWs letter wos J1ovur bre>Bdcast, the effort u11 tt1c
part or Mr. Allen to Juve this impre8llion with tho committl!I! can scarcclyhe
credited aa!ythlrlg .mom than o, dclibere.to o.tt-0mpt. to di•credit tho National
Rifle A.ssoci 100 in the eyes of tho committee mcmbcll'll.
  Thn atatem nte made in tho ciroul.cir were the r111mlt of careful eltAlllblation of
the provtalona of the bill u orll(lna.Uy drafted. M11oh or tho fault tlu~t Mr. Allen
found 'WIU1 this tcttcr appaarotl to be baaed on tl10 fa.ct ttu.t the totter dltl uot ·
apply to ibe bill in it. p1WOnt form. The ll'tte.r u writtcm bAd 11othing \o clo wit~
tho blll In ita prNC!11t fonn but Mflll"l'Cld ~ the orlgfnal drnrt. Many of tut' cum
monte do, bowiuOT, •till •t'IPIY to the TCdrart aa autimtttod on the l4th by Mr.
Keenan. Evei;y statement l!Ollcarnlng tho p robable elfootivcnCS!! of thn bill 18
•nbtt.antlAtod by whAt would 11ppc11r to be. atuplc ev~e to wanant the oxprcn·
aton of auch opinion.                                         7
   The history of the ao-onllecl "Sullivan law" Tn Now York State ls an c~ooUcmt
oxample. Thia law wM orl11in11lly enacted to t11ku tho pl.a.ee of t.he cunve11tlo1111.I
prohlb.i tion agair1s~ tl•o 11nrrylng or concealed wuuvu11~ more than 20 ycaflJ n.g(I.
AcldltfonaJ efforts to adcl teeth to the law !\ave 001111 1111 abnoat annual ocourre11ee
aud II.ave fuJally reached the p<>fnt or c:ompleto prohlbltlun of the usu of 1 Ulue In
1111mo CM!Cltion.s of tl10 State.         ·                                 ·
  I~ MS&!&Oh0&eti4, U111 l1l~tory or the firearm~ IMv luaa been the same.               Orl$i·
D.t.lly t. law prohlbitlug lllf• 01tnyin~ o! conecalod wcapona, ihe MAB8acho•ott•
t.w wu o.mendcd oo M to roquirc tla1 a pcrmi~ be obtaCnccl ftom the polil!G ~toro
& pfml Of rc'•olver mfgM bo pttT'OllllScd. Thu        '°'"'
                                                         o.lilo rcc11.1lred that a f)Orrol~ l>o
ol>t.aln1Jd to poa8Ct!& " plet.o1 or revolver in U1c T1oc~o or place ot busincse, &11 wo.11
"~ • .,peclal fonn or f>Cflnlt to c~\'TY oonce&lcd.    A~ In tl\0 cn~e or the SuUlvun law,

                                                                                 Exhibit A, Pg. 885
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                               RATJONAL P1llll.AB:J,{$ ACT                                   165
   tho Ma.esachusetta law ,11118 had the p\"lloUenl olfOGt ot diMrming h onest <1ltiio11~
  W'l tllou t disA.rming tlie cJ'lmJnat 4uordingly, thlll year in M11SS&Ch1111ut1« thu
  eonventiona.I etep waa taken of introducing a bill will.ah would require a peJ"mlt
  from tl1e police fn order to p11rehase any firearm, rlno, or aholgun 118 well &A plMtol
  or revolver And tho n:i1lntrntioo of .Ruch anne ·Alrondy l)Oa11C'.911ed.
      Jn M ichigan the hintoryof firoarms legielation pMAllol~ that of New York nnd
  MuMnohusctts. Startl111t from the fundamcnt.41 cooccnled-weapollJi Jaw, t hci IAW.
  111>11 001111 e xp1Lndcd And ma.de roorc 11cvere until to<lhy tho regulation.a oovcr rilfo~
 1111tl ~hutrcuus as \VClll llll pi•tol!J ar1il rcvolvcra. ThlH law hll.!I already liue.n In
 1ilfcct In Michigan fo r 3 ur q ycarB, but fortuu awly i t is being 6&nely sdmir'ii~tcrcll
  by " a1111erinteodentof StllLc police who is favomulc t.o oivilion •nu1ll-Mn\3 prnotfco.
  WhAt  ,,.ill     happen whon u. obo.roge in ndmJni•trii.tivc officers becomes nct~ry
  ~•11uot 1>e foretoTd.
      1n Pennsylvani11 tho ume hlat-Or,;t of firearmJ> rcmulation has applied. Fi~t,
 the conooalc:d-wcaro1ta faw, Uwn a bill based on the. unlform·fircarm.s 11.et, and 11uW'
 at~nn>la on the par·t o Ctl•c'llamn reform groups ~, , puL 'more t(:cth into tlm u11ffjlrm
 Get by requiring a (lOflOO potlfllt (or the pnrcho.t!O or rifles a nd shotguns ·an1J Ahl•
 munition, of all type~.                             .                        -                 · -
      The history of the ait1111tron in West Virginia hllJJ bnnn the. snmc. The ronnon
 tl111t tha u nifonn-firearrns bill hos not been odov w<t hi Illinois lip to this limo lu111
 been because of the efforts of the reform elem e11t to Add to the unifotm act pro•
 v(Alotll! l'CQUiring B permit to purchase, proV.il!iOll (01' tho fingerprinting Of bulJot~ 1
 go-<talJcd, and various other tbcorclioil pla1ur tor di111mnin1t the crbnlu&I.
      In CllliCoroia the.1<tllry bA'I heon the sstne. Frnrn ilte h~Ts of tlt.ll concoolod·
 we~pona law, Caijfon1[i• went to a very exc:ell1111t fnrm or revolver, pi,tn(, trnd
 maohine-t!'m regulat ion blU!Cll 1111 th&pn>l'isiQDll of tJ1g uoirmm act. The W1>1l1tn't
 ol'girnizahona in CtLUtornfa, partieltlMly iu oull lllloU•>n of toe State, ho.ve hoen
    artioulsrly active in dem311din~ that t hi11 law Ix! uo.n<le siill more .1Siricl. And
f    HllBpect that.some or thu potit1011a mentioned by Mr. J<eeuon M h1wi11g cume
from ·women's orgo.niU}tl11n$ favoring strict F odC!r1.1l llrunrms tcgi"ll\tiott h11\•0 come
 fnllll l,heac particular gr.M•J>• iu Ca ltrornis, as w11 ~ 1111w that the_)· bs\'e foTWll~<led
•imll11r pcti.tiona t o their llepro~cntntives ond &1111toM 111 Congress from tl m(J t o
 t ime.                                                                                     _
     Thero. is no rCJ1son tu bollave. 11n tbe 1'ace of the oviitcncc supplied ~om nit
 p11r1.<1 or the country over A hmg period of tim\;, tlmt 1''cdcrol firearms leglafot11111
 would not follo"· the Ua\1Rl trr.rn1 : Yicst, the 111!11piion of some k ind of a J.'c(lcrl\I
tlN-...anru1 bill~ se<:ond, t he ottort ti• .. ~ngtllen il3 Jl""'iGh•n1;. ·!lncl to p ut rout<> ~ih
fnt.o ft : ft.nd finally, the nlfor~ In 001npletely 1liruirm tJll' avcrnge dtiten on 01~
 t.llrory tlU>t by &n dojllg we wo11ld be able to bet l.Clr Am i•.;t t.!Je,mnod c.ri111r1wl 11ntl
l!t"'I) ln(Lny people frlill't •mieitlCJ,
     '1'11m<t1 is another r-0Aj;o11 for lJclieving thnt thie Ft•tloml leJ:l~lrttfo11 would t·nkO.
                                                                                                      •
 tlio turn incUCAted. Tho prop11110nts of this hi\), l•1clut\J11g thn reprcscntnitvlllt of
tho Dcpnrtment ur Jnstlco, hnvc rcv.cntcclly •tlltoll I.hi•~ tl1oy know this l.illl t~
not fdenl but thot they wunt to make n atnl't. 'l'hn l1>gic11I question is " A ~1.t•t~
townrd whnt? "                              ·-
     Further.more, M r. JCccn ..11 hna n:aid very ftanldy tl\11t the itfeal solution of th!•
problem wo11ld pro"babll' bto to have the mon11 tnct uro of nil types of firurm.
cmtiroly in Uie lmndG or tltc Government ~Ullll, \x>onuNe tllll" GoYC.r:OURnt co11ld
                 w           w
011111 l'\!rll8e sell ~n1~ anyone it migl1t oltOO<tO t.o refu~e.
   • Wiien the impot't&n~o <J[ i n1ioing 011r a.lile-bodlcd cHiic1111 in the use of ~111&1\
nml8 ..,. a measuro of n11\Jo11nl defcru:c was suggcot(ld to Mr. J<et>niu1, he c>:11rc.&11od
the op iniou tha t if1At WllJJ o f rcmtiv·ely sma.li in1pur\tince, because the ousi WAr
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      x                                                           Exhibit A, Pg. 887
Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 215 of 250




                         Exhibit 30

   (Testimony of Police Chief J. Thomas Manger)




                                                                Exhibit A, Pg. 888
   Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 216 of 250




                      Statement of J. Thomas Manger,
                  President, Major Cities Chiefs Association
               Chief of Police, Montgomery County, Maryland


                                 before the
                         Committee of the Judiciary
                                   of the
                            United States Senate


                             December 6, 2017


                                 HEARING:
Firearm Accessory Regulation and Enforcing Federal and State Reporting to the
          National Instant Criminal Background Check System (NICS)




                                                                       Exhibit A, Pg. 889
       Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 217 of 250



Chairman Grassley, Ranking Member Feinstein, distinguished Members of the Committee, I am
Tom Manger, Chief of the Montgomery County (Maryland) Police Department and President of the
Major Cities Chiefs Association, representing the largest police agencies in America and the ten largest in
Canada. As the officials responsible for public safety in every major urban area, we know first-hand
about gun violence. As the sole representative of local law enforcement today, I speak for the men and
women who run toward the gunfire and not away from it. I speak for those protect the victims of gun
violence, and I speak for officers who have died by gun violence.

We commend Chairman Grassley for holding this hearing because we recognize that political
sensitivities and controversy can be difficult at times like this. But recent tragedies show that this is a
time for leadership and courage, and the Chairman has responded. For American law enforcement, we
truly thank Chairman Grassley for ordering the hearing today.

Ranking Member Feinstein we applaud your unwavering support for victims of gun crimes and your
relentless pursuit of measures to curb gun violence in America. Today I will describe how we strongly
support your proposed legislation.

On behalf of American law enforcement, let me say It is our greatest hope that Democrats and
Republicans can come together and adopt measures to protect the public from harm – because public
safety should not be a partisan issue. Perhaps today will be a step in the direction of strong bipartisan
leadership.

National Trends:

Gun violence continues to be the number one threat for homicides in the major cities I represent. Worse
yet, our nation has witnessed a number of devastating mass murders such as the shooting in Sutherland
Springs, Texas by a mentally disturbed subject; the massacre of more than a thousand shots fired on the
public in Las Vegas, Nevada; and not long ago, the tragedy in Charleston, South Carolina by a white
supremacist who should not have had access to guns. Before these mass murders, previous cases from
Arizona and Virginia serve as bloody reminders that the current system is just not working.

We need to come together to protect the public. A device that results in a military attack, equivalent to
full automatic firing – must be stopped. Bump stocks and similar devices have no legitimate sporting or
hunting purpose. Likewise, the screening process for individuals looking to purchase a firearm or
ammunition has had many loopholes for far too long and NICS must be strengthened.

                                      Bump Stock Accessory Devices

Las Vegas, NV

On October 1, 2017, attendees of a music festival in Las Vegas, Nevada experienced a horrific hail of
gunfire - 1,100 rounds in a matter of minutes. The worst mass murder in the history of our Nation – and
it was attributable the devastating number of rounds fired. Stephen Paddock fired more than a
thousand rounds because of a device that you must prohibit – the Bump Stock.

Paddock was able to stockpile twenty-three firearms, ammunition, and a variety of high-capacity
magazines with the ability of holding 100 rounds each in his suite at the hotel. The firearms found in his
room were four DDM4 rifles, three FN-15 rifles, one AR-15 rifle with forward front grip, one .308-caliber
AR-10 rifle, one AK-47 rifle, at least one custom made LMT rifle, and a handgun.



                                                                                                   Exhibit A, Pg. 890
       Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 218 of 250



Twelve of those guns were outfitted with the Bump Stock accessory that you are considering today.
Paddock was able to fire approximately 90 rounds every 10 seconds into the crowd below. This deadly
device has only one purpose – it enables a gunman to fire rounds at a speed equivalent to that of an
automatic firearm without removing their finger from the trigger. While it is illegal for private citizens to
possess fully automatic firearms, Bump Stocks are legal under current federal law.

The sole and pointless purpose of the Bump Stock is to accelerate the rate of fire to equal fully
automatic firepower - exactly what Congress attempted to stop with previous legislation that bars fully
automatic weapons. To prevent such horrific mass murders in the future, Major Cities Chiefs strongly
support Senator Feinstein’s proposal to ban Bump Stocks and similar devices. We appeal to Senators
from both parties to join with Senator Feinstein and make S. 1916 a bipartisan effort to prevent another
tragedy like the massacre in Las Vegas.

How can this device be justified for sporting or hunting? The assailant in Las Vegas left 58 dead and over
546 injured within a ten-minute time frame. Major Cities Chiefs are calling upon Congress to act now
and give to ATF the authority to stop the carnage which results from a military rate of fire.

Appeals from Houston and Las Vegas

At our recent meeting in Philadelphia, the Acting Director of ATF who has testified today advised all the
Chiefs that ATF does not now have the authority under Federal law to bar this device and new legislation
is required to do so. I have submitted for the record a letter from Houston Chief Art Acevedo who
supports S 1916 and notes that bump stock legislation is “common sense” legislation to protect the
public.

Today I am also entering into the record a letter from Sheriff Joe Lombardo of Las Vegas, in which he
likewise calls for action by Congress to give ATF authority to take action against the Bump Stock device
and prevent further tragedies. In the aftermath of the worst mass homicide in our history, Sheriff
Lombardo has appealed to Congress to empower ATF to protect the public. Surely the Committee can
find a bipartisan way forward to protect the public from another tragedy of this magnitude.



                       National Instant Criminal Background Check System (NICS)

Sutherland Springs, Texas Case Study-November 2017:

The tragedy in Texas exemplifies a broad systemic weakness in NICS. On November 5, 2017, 26-year-old
gunman Devin Patrick Kelley entered the First Baptist Church in Sutherland Springs, Texas. There he
murdered 26 individuals and injured 20 others. Like the Las Vegas shooter, Kelley also died at his own
hand after a self-inflicted head shot. This shooting is the deadliest mass shooting by one person in the
state of Texas, and the fifth-deadliest mass shooting in the United States to date.

Kelley entered the church wearing tactical gear and carrying an AR-15 pattern Ruger AR-556 semi-
automatic rifle. He walked up and down the aisles of the church firing in the pews. Law enforcement
later reported for evidence they found 15 empty AR-15 rifle magazines capable of holding 30 rounds
each at the scene. Two additional firearms were later found in Kelley’s vehicle; a Glock 9 mm and a
Ruger .22-caliber.




                                                                                                   Exhibit A, Pg. 891
       Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 219 of 250



As this hearing has demonstrated, Kelley should have been barred from the purchase of firearms or
ammunition because of his mental health history and prior criminal convictions. He was charged with
assaulting his wife and with fracturing his toddler skull. Kelley openly made death threats against the
superior officers who charged him and was caught sneaking various firearms onto the Air Force base
where he worked. When he was dismissed from the Air Force with a bad conduct discharge, the Air
Force failed to record this conviction in the FBI’s National Crime Information Center (NCIC) database
which is used by the National Instant Criminal Background Check System (NICS) database. Surely a
textbook example of a prohibited person – but NICS failed more than just a record of conviction.

Mental Health and Domestic Violence

This case raises a broader question for the Committee – Does the current NICS law adequately cover
mental health and domestic violence? Kelley was admitted to a mental healthcare facility in New Mexico
after his threats against others and himself. He escaped from that facility, and was apprehended and
brought back until being taken for court-martial. It was later found that he used computers at the facility
to order numerous weapons and tactical gear.

Testimony today has explained the loopholes and failures in NICS, allowing a prohibited person to
purchase multiple weapons. Despite his military courts-martial and discharge, and despite his
documented history of mental illness, Kelley was able to purchase four guns at licensed gun dealers in
Colorado between 2014 and 2017.

That’s why we strongly support Senator Cornyn’s proposal to strengthen NICS. The “Fix NICS Act of
2017” is a major step to strengthen communications between the FBI’s background check
system and reporting Federal and State agencies regarding both criminal and mental health
records. We support comprehensive efforts to ensure that Federal agencies and States will
produce NICS implementation plans and correct current deficiencies that result in persons
being cleared who should not be allowed to purchase firearms.
Today we thank Senator Cornyn because this measure represents the beginning of a process to
strengthen NICS, not the end of it. Much more can be done to strengthen the criminal and
mental health provisions of NICS to ensure that every State reports comprehensive and
consistent information. Recent tragedies should help to inform Congress on how to strengthen
procedures, reporting, and also the definitions that were intended to protect the public from
those who perpetrated recent mass shootings.
Support from Houston and Las Vegas
Houston Chief Art Acevedo strongly supports the measure introduced by his Senator from Texas. Chief
Acevedo goes further to call on Congress to expand background checks. Sheriff Joe Lombardo of Las
Vegas also calls on Congress to swiftly adopt this long overdue measure to strengthen NICS. These and
other law enforcement executives join me in calling for swift passage of the legislation.

Ongoing Priority to Strengthen the National Instant Criminal Background Check System (NICS):

But the incidents that gave rise to the hearing today were only the most recent reminders of what was
already known – we can and should do much more to stop these mass murders.




                                                                                                 Exhibit A, Pg. 892
       Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 220 of 250



Charleston, SC

In June of 2015, white supremacist Dylann Roof murdered nine parishioners. The Charleston shooting
exemplifies yet another loophole in NICS. In this case, the arrest and conviction were not properly
recorded and interpreted by the FBI. When he testified before Congress, former FBI Director Comey
stated that Roof should have been barred from a gun purchase but failures in NICS allowed the shooter
to slip though the bureaucracy and acquire the guns he ultimately used to kill nine innocent persons.

The shooter was able to purchase the gun for the massacre because of the “default proceed” provision
in NICS which allows the sale to go through after 72-hours even if something insufficient or inconclusive
comes back on a background record check. FBI data shows that the default proceed provision has
resulted in gun sales to more than 15,000 prohibited individuals in a five-year period.

Tucson, AZ

Former Congresswoman Gabby Giffords was the victim of a deranged shooter in Tucson, Jared Lee
Loughner. In 2011, Loughner murdered six people and injured another thirteen. Like the recent Texas
shooter, when purchasing the firearm, Loughner’s background check came up as satisfactory. But he had
a documented background of mental instability and the state of Arizona prohibits the possession of
firearms by anyone found to be a danger to themselves or to others. Loughner had been also been
suspended from his community college for “mental problems” and they would not allow him to return
to the school until he obtained a clearance of his indicated issues by a mental healthcare professional.

Congresswoman Giffords thankfully survived the incident and still speaks about gun violence today,
including the issues now pending before Congress.

Blacksburg, VA

The 2016 shooting at Virginia Tech in Blacksburg, Virginia is yet another example of a mentally ill person
who slipped through the process. Shooter Seung Hui Cho was declared a danger to himself and was
directed into psychiatric care. While a student at Virginia Tech, he submitted numerous pieces of writing
with references to violence to an extent that concerned both his classmates and his professors. With
such a background, Cho was still able to then purchase two firearms necessary for his shooting of 32
people on the Virginia Tech campus because his name did not appear within the NICS database.

                                      Universal Background Check

Today the Committee has focused on cases where NICS should have barred a gun purchase from a
licensed dealer – but the Committee surely recognizes that this is incomplete and only part of the
problem.

Morgantown, WV

In 2014, Jody Lee Hunt was able to buy a gun and murder four people. He had previously been convicted
of a felony kidnapping and sentenced to ten years in prison for abducting a former girlfriend. This should
have prevented him from being able to purchase firearms or ammunition as a background check would
have been flagged with his felony conviction status, but he was able to find a 9-mm handgun for
purchase through the use of a Facebook advertisement. He used the weapon to murder a business
associate he disliked, a former girlfriend and her current boyfriend, his own cousin, and later himself.




                                                                                                Exhibit A, Pg. 893
       Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 221 of 250



As Chiefs of Police, we must ask why does Congress require background checks for only some gun
purchases, but not all of them? You should not consider strengthening NICS without also considering
how background checks may be expanded to cover all gun purchases. In the letter submitted by
Houston Chief Acevedo regarding the recent Texas shooting, he notes that even if the killer had been
barred from buying through a licensed gun dealer, he could have simply purchased the weapons
elsewhere.

This is not a controversy for the majority of Americans. A 2013 Gallop Poll showed that 91% would vote
for a measure requiring criminal background checks for all gun sales.

Bipartisan Leadership

I would like to close as I began – with a call for a bipartisan coalition to curb gun violence. The cases
examined today represent lessons learned, but the real tragedy is that we had already learned those
lessons from previous, horrible incidents. Now is a time for long overdue action and we look to you for
leadership to prevent future mass murders.

Whether a rookie or a seasoned police executive, we have taken a solemn oath to protect the public for
harm. Members of Congress share that duty with every officer on the street.

We ask that you make today the beginning of a bipartisan and comprehensive dialog to strengthen
legislation to curb gun violence. The two measures before the Committee will take us down a path to
meaningful reform and protection of the public, but they should be only the first steps toward reducing
gun violence.

Speaking for the Chiefs and Sheriffs I represent from the Nation’s largest cities – we will be with you for
every step of that journey.




                                                                                                  Exhibit A, Pg. 894
 Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 222 of 250




                          Exhibit 31

(Workers’ Comp Benefits: How Much is a Limb Worth?)




                                                                 Exhibit A, Pg. 895
Workers’ Compensation Benefits:
                    Case        How Much is a Limb Worth?
                           1:18-cv-02988-DLF        Document 1-3https://projects.propublica.org/graphics/workers-compensation-bene...
                                                                    Filed 12/18/18 Page 223 of 250




                                                             Workers’ Comp Benefits:
                                                            How Much is a Limb Worth?
                               by Lena Groeger and Michael Grabell, ProPublica, and Cynthia Cotts, special to ProPublica, Mar. 5, 2015

                              If you suffer a permanent injury on the job, you’re typically entitled to compensation for the
                              damage to your body and your future lost wages. But depending on the state, benefits for the
                                                  same body part can differ dramatically. Related Story »

                                                          Ever filed for workers’ comp? Help ProPublica investigate.



                                                  Select a state to see the maximum it pays for different body parts.



             The average maximum compensation for one                               Index Finger                in      The USA          is $24,474




                                                                                                                                          Exhibit A, Pg. 896
1 of 3                                                                                                                                           6/15/18, 5:41 PM
Workers’ Compensation Benefits:
                    Case        How Much is a Limb Worth?
                           1:18-cv-02988-DLF        Document 1-3https://projects.propublica.org/graphics/workers-compensation-bene...
                                                                    Filed 12/18/18 Page 224 of 250


                Oregon             Federal             Kentucky            Nevada        New Hampshire          Illinois
                $95,723            $86,788             $81,375            $68,006           $65,988            $58,557




               Tennessee           Vermont        District of Columbia    Montana            Iowa            Pennsylvania
               $56,668             $53,326             $51,199            $50,976           $50,645            $47,550




             North Carolina       New York              Hawaii           Connecticut        Virginia           Delaware
               $41,400             $37,198             $36,156            $35,676           $33,845            $33,279




               Michigan         South Carolina           Ohio              Maine           Nebraska           Washington
                $31,160            $30,642             $30,170            $28,209           $26,635            $26,610




                 Idaho           South Dakota           Indiana            Kansas          Wisconsin           Missouri
                $26,527            $24,675             $24,272            $24,176           $24,150            $22,325




                                                                                                             Exhibit A, Pg. 897
2 of 3                                                                                                                     6/15/18, 5:41 PM
Workers’ Compensation Benefits:
                    Case        How Much is a Limb Worth?
                           1:18-cv-02988-DLF        Document 1-3https://projects.propublica.org/graphics/workers-compensation-bene...
                                                                    Filed 12/18/18 Page 225 of 250


         NOTE: Compensation for the loss of certain body parts is only one part of a larger system. States may be more or less generous
         in other aspects of their workers' comp benefits.


         SOURCES: ProPublica research of state workers’ compensation laws. See the full methodology for details. Data last updated Feb 27, 2015.
         Additional research by Abbie Nehring.




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                                                                                                                                                   Exhibit A, Pg. 898
3 of 3                                                                                                                                                  6/15/18, 5:41 PM
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                         Exhibit 32

(Verified Declaration of former ATF Acting Chief of
                FTB Rick Vasquez)




                                                                Exhibit A, Pg. 899
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               Bureau of Alcohol, Tobacco, Firearms, and Explosives

____________________________________
                                            )
                                            )              Docket No. ATF 2017R-22
Bump-Stock-Type Devices                     )
                                            )              RIN 1140-AA52
                                            )




          VERIFIED DECLARATION OF RICHARD (RICK) VASQUEZ


       I, Richard (Rick) Vasquez, am competent to state and declare the following based

on my training, experience, personal knowledge and prior qualification by the federal

court as an expert:

   1. I am a former employee of the Bureau of Alcohol, Tobacco, Firearms and

       Explosives (“ATF”), where over my 14 year tenure, I held the titles of senior

       Technical Expert, Assistant Chief of the Firearms Technology Branch (“FTB”)

       Acting Chief of the FTB, and Acting Chief of the Firearms Training Branch.

   2. In these roles, I was responsible for evaluating firearms, non-firearms, and firearm

       accessories, consistent with the Standard Operating Procedures of the FTB, and

       making determinations on whether a particular item constituted a firearm, non-

       firearm or merely a firearm accessory. Additionally, I provided instruction on

       definitions of firearms in the Gun Control Act and the National Firearms Act, for

       ATF.

   3. As a result of my knowledge, experience and training, I have been qualified as an

       expert by numerous federal courts, including in the case of U.S. v. One Historic

       Arms Model54RCCS, No. 1:09-CV-00192-GET.



                                                                                       Exhibit A, Pg. 900
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4. During my tenure with ATF, in my capacity as Assistant Chief of the FTB and the

     senior Technical Expert for the ATF, I evaluated the Slide Fire stock and

     concluded, consistent with my Slide Fire Analysis (see Exhibit 1), that the Slide

     Fire stock was neither a firearm nor machinegun under the Gun Control Act nor

     under the National Firearms Act.

5. My conclusion that the Slide Fire stock was neither a firearm nor machinegun was

     reviewed by ATF Chief Counsel and higher authorities within ATF and affirmed.

6.   I have reviewed the video to be submitted by Firearms Policy Coalition as

     Exhibit 28 to its Comment in Docket No. ATF 2017R-22, RIN 1140-AA52.

7. The video depicts an individual, Adam Kraut, Esq., firing a Slide Fire stock, in

     the only three possible ways to fire a bump-stock-device (i.e. (1) single shot with

     the Slide Fire stock, locked; (2) single shot with the Slide Fire Stock, unlocked;

     and (3) as the NPR describes (83 Fed. Reg. 13444), unlocked, with the shooter

     maintaining “constant forward pressure with the non-trigger hand on the barrel-

     shroud or fore-grip of the rifle, and constant rearward pressure on the device’s

     extension ledge with the shooter’s trigger finger.”

8. The video fully, explicitly, and accurately depicts the function of bump-stock-

     devices, including, but not limited to, the function and operation of the firearm’s

     trigger, which is exactingly consistent with my evaluation and review of the Slide

     Fire stock during my tenure with ATF and my Slide Fire Analysis (see Exhibit

     A).

9. Specifically, as depicted in the video,




                                          2
                                                                                    Exhibit A, Pg. 901
    Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 229 of 250




           a. The bump-stock-device neither self-acts nor self-regulates, as the bump-

               stock never fires, in any of the three possible ways to fire a bump-fire-

               device, more than one round, per function of the trigger, even while the

               shooter maintained constant pressure on the extension ledge. In fact, as

               explicitly and accurately depicted in the slow motion portions, the bump-

               stock-device requires two functions of the trigger before a subsequent

               round can be discharged (i.e. after the firearm is discharged for the first

               time, the trigger must be fully released, reset, and then fully pulled

               rearward for a subsequent round to be discharged); 1

           b. Bump-stock-devices do not permit a continuous firing cycle with a single

               pull of the trigger, as the video clearly depicts that the trigger must be

               released, reset, and fully pulled rearward before the subsequent round can

               be fired; 2

           c. The bump-stock-device requires additional physical manipulation of the

               trigger by the shooter, as the video clearly depicts that the trigger must be




1
  It must be noted, as made explicitly clear in the slow motion portions of the video, that
the bump-stock-device actually requires over-releasing of the trigger, as the shooter’s
finger travels past the trigger reset by approximately a half-inch, before beginning the
sequence to fire a subsequent round (e.g. video at 3:46 – 3:51; 3:52 – 3:55; 3:56 – 4:00).
Thus, the video makes extremely evident and clear that bump-stock-devices are actually
slower than a trained shooter, as a trained shooter, such as Jerry Miculek, would
immediately begin the sequence to fire a subsequent round after the trigger resets.
2
 If the device had permitted continuous firing cycle with a single pull of the trigger, the
video would depict a scenario identical to Exhibit 26 of Firearm Policy Coalition’s
Comment (also available at https://www.youtube.com/watch?v=NwQ1aZnVLFA),
where it clearly and accurately depicts the emptying of the entire magazine, while the
shooter maintains constant pressure on the trigger.


                                              3
                                                                                            Exhibit A, Pg. 902
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              released, reset, and fully pulled rearward before the subsequent round can

              be fired;

          d. Even when the shooter maintains constant forward pressure with the non-

              trigger hand on the barrel shroud or fore-grip of the rifle, and maintains

              the trigger finger on the device’s extension ledge with constant rearward

              pressure, after the first shot is discharged, the trigger must be released,

              reset, and pulled completely rearward, before the subsequent round is

              discharged. See video at 3:47 – 4:01. This is no different than any factory

              semi-automatic firearm; and,

          e. The bump-stock-device does not permit automatic fire by harnessing the

              recoil energy of the firearm. Harnessing the energy would require the

              addition of a device such as a spring or hydraulics that could automatically

              absorb the recoil and use this energy to activate itself. If it did harness the

              recoil energy, the bump-stock equipped firearm in the video would have

              continued to fire, while the shooter’s finger remained on the trigger, after

              pulling it rearwards without requiring the shooter to release and reset the

              trigger and then pull the trigger completely reward for a subsequent round

              to be fired.

10.   The cyclic rate of a firearm is neither increased nor decreased by the use of a

      bump-stock-device, as the cyclic rate of a particular firearm is the mechanical rate

      of fire, which can be explained in laymen’s terms as how fast the firearm cycles

      (i.e. loads, locks, fires, unlocks, ejects), which is an objective, not subjective,

      mechanical standard.




                                             4
                                                                                            Exhibit A, Pg. 903
  Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 231 of 250




 11.   A factory semi-automatic and fully-automatic (i.e. machinegun) firearm,

       manufactured by the same manufacturer, will have identical cyclic rates, unless

       the machinegun version has some form of rate reducing mechanism; whereby, the

       machinegun version may have a slower cyclic rate than the semi-automatic

       version.

 12.   All factory semi-automatic firearms have an inherent ability to be bump fired, as

       the act of bump firing is a technique, which does not require any device, and can

       be performed through, among other things, the use of one’s finger, belt loop or

       rubber band.

 13.   A firearm in a bumpstock/slidefire stock cannot be a machinegun because it

       requires an individual to activate the forward motion of the stock when the

       firearm is fired. Additionally, it requires a thought process of the individual to

       continually pull the trigger when the stock is pulled forward bringing the trigger

       into contact with the finger.



                                       *     *       *


       I declare under penalty of perjury that the foregoing is true and correct. Executed

on June 18, 2018.


                                              _________________________________
                                              Richard Vasquez




                                             5
                                                                                       Exhibit A, Pg. 904
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                        Exhibit A




                                6
                                                                Exhibit A, Pg. 905
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                                  Slide Fire Analysis
                                     Rick Vasquez

When ATF makes a classification on any device, part, or firearm, the classification
is based on the definitions in the Gun Control Act (GCA) and the National
Firearms Act (NFA). Also, classifications are based on any previous Rulings or
court decisions based on the GCA and the NFA.
The task of making evaluations is relegated to the Firearms Technology Branch
(FTB). As the senior Technical Expert for ATF it was my role to render an opinion
or concur or disagree with opinions rendered by technicians of the FTB. In relation
to the Slide Fire examination, since it was submitted as a device that would
enhance the rate of fire of an AR type firearm, the predominant definition used by
FTB for classification was the definition of a machinegun
The complete definition of a machinegun is as follows:
As defined in 26 United States Code, Chapter 53, section 5845(b) Machinegun.
The term 'machinegun' means any weapon which shoots, is designed to shoot, or
can be readily restored to shoot, automatically more than one shot, without manual
reloading, by a single function of the trigger. The term shall also include the frame
or receiver of any such weapon, any part designed and intended solely and
exclusively, or combination of parts designed and intended, for use in converting a
weapon into a machinegun, and any combination of parts from which a
machinegun can be assembled if such parts are in the possession or under the
control of a person.
The first sentence of the definition of a machinegun designed to shoot, or can be
readily restored to shoot, automatically more than one shot, without manual
reloading, by a single function of the trigger,” is the basis for the determination
that a slide fire stock is not a machinegun. Additionally, it was not classified as,
any part designed and intended solely and exclusively, or combination of parts
designed and intended for use in converting a weapon into a machinegun, a
conversion device.
Another key component in determining what should be classified as a machinegun
is understanding what a single function of the trigger is. Pulling and releasing of
the trigger is two functions. The single function is pulling the trigger straight to the
rear and causing a weapon to fire. If a shooter initially pulls and holds the trigger
to the rear and a firearm continues to shoot continuously, that is a firearm shooting



                                                                               Exhibit A, Pg. 906
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                                           2


more than one shot with the single function of a trigger. This is critical to
understanding why or why not a firearm is classified as a machinegun.
The Slide Fire does not fire automatically with a single pull/function of the trigger.
It is designed to reciprocate back and forth from the inertia of the fired cartridge.
When firing a weapon with a Slide Fire, the trigger finger sits on a shelf and the
trigger is pulled into the trigger finger. Once the rifle fires the weapon, due to the
push and pull action of the stock and rifle, the rifle will reciprocate sufficiently to
recock and reset the trigger. It then reciprocates forward and the freshly cocked
weapon fires again when the trigger strikes the finger on its forward travel.
After lengthy analysis, ATF could not classify the slide fire as a machinegun or a
machinegun conversion device, as it did not fit the definition of a machinegun as
stated in the GCA and NFA.
Method of Evaluation:
An item that has been submitted for classification is logged in and assigned to a
firearm enforcement officer (technician) for evaluation and classification. A
tracking number is assigned and it awaits its place in the queue.
The following are procedures for how items were evaluated when I was a member
of the Firearms Technology Branch. There may have been changes to those
processes so I can only speak to the processes during the timeframe that I was
employed at FTB.
Firearms and firearm-related accessories are submitted to the FTB for analysis
from the public and firearms industry. The item is generally accompanied by a
letter of request on how the submitter wants the item to be classified as. There are
many categories of classification. For example: Is it an importable firearm? Is it a
sporting firearm? Will it shoot automatically and be classified as a machinegun?
Does a component fit the definition of an accessory or a firearm, and so forth.
Housed in the FTB are Standard Operation Procedures (SOPs) that memorialize
the method of evaluation for most things that are submitted. Once a technician
begins the evaluation, he will follow these SOPs in his evaluation. Many of the
items submitted are redundant and have been seen time and time again. These
items are reviewed and approved by the supervisor and the evaluation is over. For
example, handguns for importation have a factoring criteria that must meet certain
points to be imported.




                                                                                Exhibit A, Pg. 907
     Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 235 of 250

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Items such as the Slide Fire bump fire stock is a device that would have had
additional scrutiny, especially since a device of this nature had not been previously
approved. Once again, any evaluation is based on the definitions held in the GCA,
NFA, previous opinions and rulings. These laws were implemented by Congress.
Rulings and opinions were authored by council with input from the Department of
Treasury and the Department of Justice.
The definition of a machinegun as stated above was used for the foundation of the
classification of the Slide Fire and it did not meet the definition of a machinegun.
This opinion was sent to Chief Counsel and higher authority for review. After
much study on how the device operates, the opinion, based on definitions in the
GCA and NFA, was that the Slide Fire was not a machinegun nor a firearm, and,
therefore, did not require any regulatory control.
Conclusion:
The methodology of evaluation listed above has been condensed for the reader.
ATF is tasked with making classifications of items based on the GCA and NFA.
Personal opinions are not tolerated in the classification process. The Slide Fire
bump fire stock was properly classified in accordance with the definitions codified
in 1968 in the GCA and Title II of the GCA which is the NFA.


Rick Vasquez
Former Assistant Chief and Acting Chief of the Firearms Technology Branch
Firearms Consultant and Security Advisor




                                                                             Exhibit A, Pg. 908
Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 236 of 250




                         Exhibit 33

 (Verified Declaration of Jonathan Patton of Patton
               Media and Consulting)




                                                                Exhibit A, Pg. 909
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                 Bureau of Alcohol, Tobacco, Firearms, and Explosives

                                             )
                                             )               Docket No. ATF 2017R-22
Bump-Stock-Type Devices                      )
                                             )               RIN 1140-AA52




                VERIFIED DECLARATION OF JONATHAN PATTON

      I, Jonathan Patton, am competent to state and declare the following based on my

personal knowledge:

 1.    I am the owner of Patton Media and Consulting.

 2.   On June 14, 2018, I accompanied Attorney Adam Kraut to the range to capture

      video footage of a firearm equipped with a Slidefire Solutions, Inc. SSAR-15 SBS

       stock.

 3.    The footage was captured using two separate cameras ..

 4.   For high speed footage, I utilized an Edgertronic SC2+ which recorded in a

      resolution of 720P at a rate of 4,400 frames per second ("FPS").

 5.    For normal footage, I utilized a Sony A7R2, which recorded in a resolution of 4K

       at a rate of 30 FPS.

 6.   During the filming, I captured Attorney Kraut shooting the firearm from three

       different angles with the high speed camera and one angle with the other camera.

 7.    The high speed camera was utilized to show a wide angle shot of the firearm

       being fired with the stock in its locked position, single handed with the stock in its

      unlocked position, and as the NPR describes (83 Fed. Reg. 13444), unlocked,

       with the shooter maintaining "constant forward pressure with the non-trigger hand



                                             1

                                                                                       Exhibit A, Pg. 910
  Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 238 of 250



        on the barrel-shroud or fore-grip of the rifle, and constant rearward pressure on

        the device's extension ledge with the shooter's trigger finger.".

 8.     The same three scenarios were filmed close up on both the right and left hand side

        of the firearm to show the interaction of the finger and trigger.

 9.     The resulting footage was incorporated into the video which is attached to the

        Firearm's Policy Coalition's Comments in Opposition to Proposed Rule ATF

        2017R-22 as Exhibit 28

 10.    Unedited, the slow motion footage contained in the video totaled 18 minutes and

         5 seconds long.

 11 . In an effort to make the resulting exhibit more easily digestible, I edited the

        footage.

 12.     Other than the text additions, the only alterations to the footage of the firearm

        being shot was the speeding up of certain sequences as indicated on screen.

 13.    The footage in the exhibit is a true and accurate representation of what is depicted

        in the raw footage that was captured at the range.



       I declare under penalty of perjury that the foregoing is true and correct to the best of

my information, knowledge and belief.



DATED: June 18, 2018




                                               2

                                                                                         Exhibit A, Pg. 911
Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 239 of 250




                         Exhibit 34

(FICG’s Letter on Behalf of FPC to Acting Director
                    Brandon)




                                                                Exhibit A, Pg. 912
                Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 240 of 250
FIREARMS INDUSTRY CONSULTING GROUP
                                                                                        A Division of Civil Rights Defense Firm, P.C.


Joshua Prince
Adam Kraut                                                                                                                                Phone: 888-202-9297
Jorge Pereira                                                                                                                                Fax: 610-400-8439




                                                                     June 15, 2018

Thomas E. Brandon
Bureau of Alcohol, Tobacco, Firearms and Explosives
99 New York Avenue, N.E.,
Washington, DC 20226

RE: ATF 2017R-22
    RIN: 1140-AA52
    Request of Firearms Policy Foundation and Firearms Policy Coalition for Hearing

Dear Acting Director Brandon,

    Pursuant to 18 U.S.C. § 926(b) and 83 Federal Register 13456, Firearms Policy Foundation
and Firearms Policy Coalition, through its counsel, Firearms Industry Consulting Group, a division
of Civil Rights Defense Firm, P.C., hereby formally requests opportunity to be heard on ATF
2017R-22, RIN: 1140-AA52, prior to the enactment of any final rule.

     Thanking you for your time and assistance in this matter, I am

                                                                                               Respectfully Yours,
                                                                                               Firearms Industry Consulting Group




                                                                                               Joshua G. Prince
                                                                                               joshua@civilrightsdefensefirm.com
jgp/web
Matter no. 10377




      Firearms Industry Consulting Group® (FICG®), a division of Civil Rights Defense Firm, P.C. • 646 Lenape Road, Bechtelsville, PA 19505 • 888-202-9297
                                        FirearmsIndustryConsultingGroup.com • © 2007 - 2016 CivilRightsDefenseFirm.com
                                   Your PA Firearms Lawyer® and PA Gun Attorney®. Also home to Armor Piercing Arguments®!                       Exhibit A, Pg. 913
Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 241 of 250




                         Exhibit 35

(FPC’s Letter in Opposition to the ANPR of January
                    25, 2018)




                                                                Exhibit A, Pg. 914
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Thursday, January 25, 2018

VIA FAX (202-648-9741) & FEDERAL eRULEMAKING PORTAL
(http://www.regulations.gov)

Vivian Chu
Mailstop 6N-518
Office of Regulatory Affairs
Enforcement Programs and Services
Bureau of Alcohol, Tobacco, Firearms, and Explosives (“BATFE”)
99 New York Ave. NE
Washington, D.C. 20226

Docket No.: 2017R-22

Docket ID:     ATF-2018-0001

Regarding: Advance notice of proposed rulemaking; request for comments re
           “Application of the Definition of Machinegun to Bump Fire Stocks
           and Other Similar Devices”

Position:      STRONGLY OPPOSED


Dear Ms. Chu:

      I write you today on behalf of Firearms Policy Coalition (“FPC”)—a
grassroots, non-partisan, 501(c)4 public benefit organization—and our law-
abiding members and supporters across the United States. The purposes and
objectives of FPC are to protect and defend the Constitution of the United
States and the People’s rights, privileges and immunities deeply rooted in this
Nation’s history and tradition, especially the inalienable, fundamental, and
individual right to keep and bear arms; to protect, defend, and advance the
means and methods by which the People of the United States may exercise
those rights, including, but not limited to, the acquisition, collection,
transportation, exhibition, carry, care, use, and disposition of arms for all
lawful purposes, including, but not limited to, self-defense, hunting, and




            4212 NORTH FREEWAY BOULEVARD • SUITE 6 • SACRAMENTO • CA • 95834
                                       firearmspolicy.org
                                                                               Exhibit A, Pg. 915
  Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 243 of 250
To:        Vivian Chu, Bureau of Alcohol, Tobacco, Firearms, and Explosives
Regarding: Docket 2017R-22 (ANPRM re “Application of the Definition of Machinegun to
           Bump Fire Stocks and Other Similar Devices”)
Position:  STRONGLY OPPOSED
Page:      2 of 6

service in the appropriate militia for the common defense of the Republic and
the individual liberty of its citizens; to foster and promote the shooting sports
and all lawful uses of arms; and to foster and promote awareness of, and public
engagement in, all of the above.


       Specifically, we write you to express our concerns about and strong
opposition to the Bureau of Alcohol, Tobacco, Firearms, and Explosives
(hereinafter “BATFE”, the Bureau)’s advance notice of proposed rulemaking
(“ANPRM”) regarding the “Application of the Definition of Machinegun to
Bump Fire Stocks and Other Similar Devices” (no. 2017R-22, online at
https://www.federalregister.gov/d/2017-27898). Some FPC members and
supporters currently own, or plan to own, devices that would be subject to the
proposed rulemaking. Unless otherwise specified, the following comments are
responsive to multiple questions presented in the BATFE’s ANPRM.


       This troubling ANPRM raises serious constitutional concerns, including
the violation of the separation of powers, abdication or improper delegation of
authority, violation of fundamental rights guaranteeing citizens due process,
protection against discriminatory and arbitrary enforcement of vague laws,
and violation of the Takings Clause—not to mention an affront to the
fundamental, individual Second Amendment right to keep and bear arms.
Should the Department of Justice (“DOJ”) and BATFE pursue this attempt to
unlawfully and unconstitutionally exceed their statutory authority through
regulatory efforts like this targeting these non-firearm devices, FPC (and
almost certainly many others) will be forced to seek judicial relief.


       The DOJ and BATFE clearly lack the statutory authority to re-define
the targeted devices as “machineguns.” Indeed, as Mr. John R. Spencer (then-
Chief of the BATFE’s Firearms Technology Branch) admitted in his letter
dated June 7, 2010, “bump-fire” stocks have “no automatically functioning
mechanical parts or springs and performs no automatic mechanical function




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                                                                                Exhibit A, Pg. 916
  Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 244 of 250
To:        Vivian Chu, Bureau of Alcohol, Tobacco, Firearms, and Explosives
Regarding: Docket 2017R-22 (ANPRM re “Application of the Definition of Machinegun to
           Bump Fire Stocks and Other Similar Devices”)
Position:  STRONGLY OPPOSED
Page:      3 of 6

when installed....Accordingly, we find that the ‘bump-stock’ is a firearm part
and is not regulated as a firearm under Gun Control Act or the National
Firearms Act.” (See BATFE letter 903050:MMK, 3311/2010-434, available
online at http://bit.ly/atf-re-bumpfire-stock.) BATFE even expressly concedes
in the “Requests for Public Input” of this very ANPRM that: The “[BATFE]
does not have the authority to regulate firearm parts and accessories...” (See
“SUPPLEMENTARY INFORMATION” subsection III, “Requests for Public
Input”, online at http://bit.ly/batfe-anprm-bumpfire-stocks.)


       The Congress, through its enacted legislation, has specifically defined
the term “machinegun” to mean a “weapon which shoots, is designed to shoot,
or can be readily restored to shoot, automatically more than one shot, without
manual reloading, by a single function of the trigger.” 26 U.S.C. § 5845(b).
(While the term also includes “the frame or receiver of any such weapon, any
part designed and intended solely and exclusively, or combination of parts
designed and intended, for use in converting a weapon into a machinegun, and
any combination of parts from which a machinegun can be assembled if such
parts are in the possession or under the control of a person,” those provisions
are not relevant here.) And BATFE has adopted a definition of “machine gun”
(at 27 C.F.R. § 478.11) that, appropriately, mirrors the statutory definition.


       “Bump fire” stocks and similar subject devices are not “firearms” or
“machineguns” under the law. And the regulatory definition cannot be
expanded to include such devices without prior authorizing legislation
similarly expanding the definition of “machinegun” under the statutes. Util.
Air Regulatory Group v. EPA, 134 S. Ct. 2427, 2445 (2014) (quoting National
Assn. of Home Builders v. Defenders of Wildlife, 551 U.S. 644, 665 (2007) (“An
agency has no power to ‘tailor’ legislation to bureaucratic policy goals by
rewriting unambiguous statutory terms. Agencies exercise discretion only in
the interstices created by statutory silence or ambiguity; they must always
‘give effect to the unambiguously expressed intent of Congress.’”); Wyeth v.




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                                                                                Exhibit A, Pg. 917
  Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 245 of 250
To:        Vivian Chu, Bureau of Alcohol, Tobacco, Firearms, and Explosives
Regarding: Docket 2017R-22 (ANPRM re “Application of the Definition of Machinegun to
           Bump Fire Stocks and Other Similar Devices”)
Position:  STRONGLY OPPOSED
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Levine, 555 U.S. 555, 588 (2009) (conc. opn. of Breyer, J.) (citations
omitted)(“[A] federal agency may pre-empt state law only when and if it is
acting within the scope of its congressionally delegated authority . . . [for] an
agency literally has no power to act, let alone pre-empt the validly enacted
legislation of a sovereign State, unless and until Congress confers power upon
it.”).


         That is the end of the analysis, and this proposed rulemaking (no.
2017R-22) should be abandoned or withdrawn accordingly.


         However, we also address some of the questions in the ANPRM.
Specifically, as to question 21 (“In your experience, where have you seen these
devices for sale and which of these has been the most common outlet from
which consumers have purchased these devices (e.g., brick and mortar retail
stores; online vendors; gun shows or similar events; or private sales between
individuals)?”), we comment as follows:


         FPC has knowledge of “bump stock” devices being sold or offered for sale
         at “brick and mortar” licensed firearm retailers, gun shows, by private
         sellers, and on the Internet. On information and belief, FPC believes
         that Internet sales are the primary channel for sales of subject devices.


         Regarding question 22 (“Based on your experience or observations, what
is (or has been) the price range for these devices?”), we comment as follows:


         FPC has knowledge of subject devices having a price range of $150-350
         per device. However, due to recent market conditions (i.e., demand
         exceeding supply), FPC has seen and received recent reports of subject
         devices being offered for sale and/or fetching over $1,000 per device.




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                                                                                Exhibit A, Pg. 918
  Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 246 of 250
To:        Vivian Chu, Bureau of Alcohol, Tobacco, Firearms, and Explosives
Regarding: Docket 2017R-22 (ANPRM re “Application of the Definition of Machinegun to
           Bump Fire Stocks and Other Similar Devices”)
Position:  STRONGLY OPPOSED
Page:      5 of 6

       Regarding question 23 (“For what purposes are the bump stock devices
used or advertised?”), we comment as follows:


       FPC has knowledge of subject devices being used and advertised for
       lawful purposes throughout the United States, including self-defense,
       except where they may be prohibited under state or local laws.


                                         ***


       This proposed rulemaking would provide no public benefit (indeed, the
proposed rulemaking articulates none), and yet it would certainly come at
great societal and individual costs.


       These costs would necessarily include likely millions of dollars in
BATFE implementation and enforcement costs, in addition to potentially
millions of dollars in fending off the inevitable litigation arising from the
serious constitutional and statutory violations engendered by this regulatory
process. Moreover, American taxpayers would also likely be stuck with the bill
for the plaintiffs’ attorneys fees and costs should the government fail in
attempting to defend this illegal and unconstitutional action.


       And the extraordinary costs to American fundamental principles –
stemming from the illegal aggrandizement of the executive branch by
regulatory fiat that would deprive untold citizens of essential constitutional
protections – is impossible to completely measure.


       But, perhaps as a silver lining, an illegal rulemaking (such as is
proposed here) would provide an excellent vehicle for the Supreme Court to re-
visit and eliminate the made-up judicial construct of agency deference under
Auer, Chevron, and Encino Motorcars. See Auer v. Robbins, 519 U.S. 452
(1997); Chevron U.S.A. Inc. v. Natural Resources Defense Council, Inc., 467




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                                                                                Exhibit A, Pg. 919
  Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 247 of 250
To:        Vivian Chu, Bureau of Alcohol, Tobacco, Firearms, and Explosives
Regarding: Docket 2017R-22 (ANPRM re “Application of the Definition of Machinegun to
           Bump Fire Stocks and Other Similar Devices”)
Position:  STRONGLY OPPOSED
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U.S. 837 (1984); Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117 (2016) (“As
in other areas of our jurisprudence concerning administrative agencies, [] we
seem to be straying further and further from the Constitution without so much
as pausing to ask why. We should stop to consider that document before
blithely giving the force of law to any other agency ‘interpretations’ of federal
statutes.” Michigan v. Environmental Protection Agency, 576 U. S. ____ (2015)
(Thomas, J., concurring) (internal citation omitted)).


       If the Congress wishes to re-define “machineguns” to include the
targeted devices, it may attempt to do so through legislation—but not without
incurring political and financial costs. And some members’ cynical efforts to
lay these costs at the feet of the BATFE (and law-abiding people) for their own
political convenience should be rejected.


       For these and other reasons too numerous to list here, we urge the DOJ
and BATFE to immediately abandon the proposed rulemaking on “bump fire”
stocks and similar devices.


       Please do not hesitate to contact us at policy@fpchq.org or 4212 North
Freeway Boulevard, Suite 6, Sacramento, California, 95834, if we can be of any
further assistance.




       Sincerely,




       Brandon Combs
       President




                                   firearmspolicy.org
                                                                                Exhibit A, Pg. 920
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                       Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 249 of 250
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    The Alcohol Tobacco Firearms and Explosives Bureau (ATF) Proposed Rule: Application of
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                 Your comment:

                 Comment:
                 Position: STRONGLY OPPOSED

                 Please see our attached letter regarding docket no. 2017R-22 (docket ID ATF-
                 2018-0001) regarding “Application of the Definition of Machinegun to Bump
                 Fire Stocks and Other Similar Devices”.

                 Uploaded File(s) (Optional)
                     fpc-2017R-22-2018-1-25.pdf: success


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                                                                                                    Exhibit A, Pg. 922
                       Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 250 of 250
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                 Last Name:                                    Blvd. Suite 6
                 Combs                                                         Email Address:
                                                               City:           policy@fpchq.or
                 Organization                                  Sacramento      g
                 Name:
                 Firearms Policy                               Country:            Phone Number:
                 Coalition                                     United States       916-378-5785

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                                                                                                 Exhibit A, Pg. 923
